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                    Exhibit
                      A



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                    UNITED STATES DISTRICT COURT

    CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION

CITY OF LONG BEACH, a municipal               )   CASE NO.: 2:16-cv-03493-
corporation; COUNTY OF LOS                    )   FMO-AS
ANGELES, a political subdivision; CITY        )
OF CHULA VISTA, a municipal
corporation; CITY OF SAN DIEGO, a             )   Honorable Fernando M. Olguin
municipal corporation; CITY OF SAN            )
JOSE, a municipal corporation; CITY OF        )   CLASS ACTION
                                                  SETTLEMENT
OAKLAND, a municipal corporation;             )   AGREEMENT
CITY OF BERKELEY, a municipal                 )
corporation; CITY OF SPOKANE, a               )
municipal corporation; CITY OF                )
TACOMA, a municipal corporation;
CITY OF PORTLAND, a municipal                 )
corporation; PORT OF PORTLAND, a              )
port district of the State of Oregon;         )
BALTIMORE COUNTY, a political                 )
subdivision; MAYOR AND CITY                   )
COUNCIL OF BALTIMORE; all                     )
individually and on behalf of all others
similarly situated,                           )
                                Plaintiffs,   )
v.                                            )
                                              )
MONSANTO COMPANY; SOLUTIA                     )
INC.; and PHARMACIA LLC; and                  )
DOES 1 through 100,                           )
                      Defendants.




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                                          EXHIBITS

Exhibit A-   List of Initial Settlement Class Members

Exhibit B-   List of U.S. EPA 303(d) water bodies impaired by PCBs

Exhibit C-   List of U.S.G.S. HUC 12 Watersheds that contain and/or immediately adjoin a
             303(d) water body impaired by PCBs

Exhibit D-   TMDL Fund Entities List with Allocation

Exhibit E-   Qualifying Sediment Site Entities

Exhibit F-   Sediment Sites Application

Exhibit G-   Special Needs Fund, Part A Application

Exhibit H-   Special Needs Fund, Part B Application

Exhibit I-   Direct Notice

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This Settlement Agreement (“Settlement Agreement”), including its attached Exhibits, is entered
into as of this 24th day of June, 2020, and amended on the 28th of December, 2020, by and among
Plaintiffs City of Long Beach; Mayor and City Council of Baltimore; Baltimore County; City of
Berkeley; City of Chula Vista; County of Los Angeles; City of Oakland; City of Portland; Port of
Portland; City of San Diego; City of San Jose; City of Spokane; and City of Tacoma (collectively,
on behalf of themselves and on behalf of the Settlement Class Members) and Defendant
(collectively, “the Parties”) to settle and compromise the Action and to discharge the Released
Parties as set forth herein.

                                         I. RECITALS

WHEREAS, the former Monsanto Company manufactured a class of industrial chemicals called
polychlorinated biphenyls (“PCBs”) between the 1930s and 1977.

WHEREAS, Plaintiffs’ Counsel filed the following actions against Defendant in federal district
courts related to Monsanto’s manufacture, sale, testing, disposal, release, marketing, promotion or
management of PCBs: City of Long Beach v. Monsanto Co., Case No. 2:16-CV-03493-FMO-AS
(C.D. Cal.); City of Berkeley v. Monsanto Co., Case No. 5:16-cv00071-EJD (N.D. Cal.); City of
San Diego v. Monsanto Co., Case No. 3:15-CV-00578-WQH-AGS (S.D. Cal.); City of Oakland v.
Monsanto Co., Case No. 5:15-cv-5152-EJD (N.D. Ca.); City of San Jose v. Monsanto Co., Case
No. 5:15-cv-03178-EJD (N.D. Cal.); Mayor and City Council of Baltimore v. Monsanto Co., Case
No. 1:19-cv-00483-RDB); City of Chula Vista v. Monsanto Co., Case No. 3:18-CV-01942-BEN-
JMA (S.D. Cal.); County of Los Angeles; L.A. County Flood Control District v. Monsanto Co.,
Case No. 2:19-CV-0464-GW-AFM (C.D. Cal.); Port of Portland v. Monsanto Co., Case No. 3:17-
cv-00015-PK (D. Ore.); City of Portland v. Monsanto Co., Case No. 3:16-cv-01418-MO (D. Ore.);
City of Spokane v. Monsanto Co., Case No. 2:15-CV-00201-SMJ (E.D. Wa.) (collectively referred
to as “the Underlying Actions”).

WHEREAS, Plaintiffs asserted various claims against Defendant for alleged PCB-related
environmental impairments, including impairments to water bodies. Plaintiffs alleged that PCBs
are present at sites and public properties, including in stormwater, stormwater and wastewater
systems, water bodies, sediment, natural resources, fish and wildlife. Plaintiffs sought
compensatory damages and injunctive and equitable relief.

WHEREAS, Defendant filed motions to dismiss in each case, resulting in the dismissal of some
but not all claims.

WHEREAS, the Parties have been engaged in extensive and voluminous fact and expert discovery
over several years. For example, the Parties took 51 depositions in the City and County of San
Diego Unified Port District cases, and Defendant filed three motions for summary judgment. The
Court heard oral arguments on these motions on December 6, 2019. The Court granted summary
judgment with respect to the City of San Diego’s claims as well as the County of San Diego Unified
Port District’s purpresture claims. Defendant filed four motions for summary judgment in the City
of Spokane case, which are still pending.

WHEREAS, Plaintiffs’ Counsel conducted extensive investigations into the facts and
circumstances related to this litigation, including consulting with experts, interviewing potential



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witnesses, and researching and studying legal principles applicable to the issues of liability,
damages, jurisdiction and procedure.

WHEREAS, informal settlement discussions led to a confidential mediation process. The Parties,
through their counsel, attended and participated in a confidential mediation process conducted by
retired Magistrate Judge Jay C. Gandhi (“the Mediator”), who is an experienced, independent
mediator, and further engaged in additional extensive communications with the Mediator and each
other.

WHEREAS, prior to and during the mediation sessions, the Parties exchanged information and
documents which allowed each side to further evaluate their claims and defenses.

WHEREAS, Plaintiffs’ experts, along with their Counsel, have developed an Allocation Process
that would allow Settlement Funds to be paid to Settlement Class Members based on several
objective criteria.

WHEREAS, Plaintiffs intend to file a proposed amended complaint in City of Long Beach in
conjunction with this Settlement Agreement that seeks certification of a nationwide settlement
class to encompass “As of June 24, 2020 only, but not later, all NPDES Phase I and II city, town,
village, borough, township, and independent port district Municipal Separate Storm Sewer System
(“MS4”) permittees with jurisdictional boundaries within a HUC 12 Watershed that contains
and/or is immediately adjoining a 303(d) water body impaired by PCBs and all NPDES Phase I
and II county MS4 permittees with urbanized, unincorporated boundaries within a HUC 12
Watershed that contains and/or is immediately adjoining a 303(d) water body impaired by PCBs.”

WHEREAS, Plaintiffs believe that the claims asserted in the Action have merit; however, taking
into account the extensive burdens and expense of litigation, including the risks and uncertainties
associated with protracted trials and appeals, as well as the fair, cost-effective and assured method
of resolving the claims of the Settlement Class, Plaintiffs and their Counsel have concluded that
the Settlement Agreement provides substantial benefits to the Settlement Class, and is fair,
reasonable, adequate, and in the best interests of Plaintiffs and the Settlement Class.

WHEREAS, Defendant denies Plaintiffs’ allegations and believes that the Action is without merit;
however, Defendant has also taken into account the uncertainty, risk, delay, and costs inherent in
litigation and agreed to enter into the Settlement Agreement to avoid any further litigation
expenses and inconvenience and to remove the distraction of burdensome and protracted litigation.

WHEREAS, it is the intention and desire of the Parties to compromise, resolve, dismiss and release
all allegations, disputes, and claims for damages or equitable relief, regardless of the legal theory
or type or nature of damages claimed, relating to city, town, county, borough, village, township,
and special port district permittees’ claims regarding PCBs that are the subject of this Settlement
on the terms set forth in the Settlement Agreement that have been or could have been brought by
Plaintiffs themselves, and on behalf of Settlement Class Members, against Defendant.

WHEREAS, the Parties agree that the Settlement is fair, reasonable, and adequate, and is an
appropriate nationwide resolution accomplished through the benefits, releases, and orders set forth
in or attached to this Settlement Agreement.



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WHEREAS, the Parties desire not only to end further burdensome and protracted litigation but
also to create the payment and release of claims as set forth herein.

NOW, THEREFORE, without an admission or concession on the part of Plaintiffs on the lack of
merit of the Action or an admission or concession of liability or wrongdoing or the lack of merit
of any defense by Defendant, it is stipulated and agreed by Defendant and Plaintiffs, acting for
themselves and on behalf of the Settlement Class, that, on the following terms and conditions, the
Action shall be settled and dismissed with prejudice as among Plaintiffs, the Settlement Class, and
Defendant upon Final Approval of the Court after the hearing(s) provided for in the Settlement;
and the Settlement Class Members shall release all Released Claims against Defendant and all
Released Parties.

                                       II. DEFINITIONS

1.      As used in this Settlement Agreement, the following terms shall have the defined meanings
set forth below.

2.      “303(d) water body impaired by PCBs” means and refers to a water body listed on the
United States Environmental Protection Agency (“EPA”) Clean Water Act Section 303(d) list of
waters impaired or threatened by polychlorinated biphenyls.

3.      “Action” means the case originally captioned City of Long Beach v. Monsanto Co., Case
No. 2:16-CV-03493-FMO-AS, originally filed in the United States District Court for the Central
District of California on May 19, 2016.

4.     “Allocation” or “Allocation Process” means the process of fairly dividing the total
Settlement Fund to determine the “Allocated Amount” payable to each Settlement Class Member
from the Settlement Funds.

5.     “Allocation Algorithm” means and refers to the algorithm used to calculate the TMDL
Allocation, as described in Paragraph 78(b) and corresponding footnote 1.

6.     “Allocated Amount” means the portion of the total Settlement Fund payable to each
Settlement Class Member.

7.     “Attorneys’ Fees and Expenses” means the amounts approved by the Court for payment to
Class Counsel, which shall include attorneys’ fees, costs, litigation expenses, and fees and
expenses of the Special Master and consulting experts assigned to assist the Special Master in
developing the Allocation. The Parties will split equally the costs and expenses for implementing
the Allocation by the Special Master; however, Defendant’s share of the Special Master’s costs
and expenses shall not exceed $100,000. Any additional costs and expenses for implementing the
Allocation shall be paid by Class Counsel. Attorneys’ Fees and Expenses does not include Claims
Administration Expenses.

8.      “Category 4b” means and refers to the TMDL alternative process described in the EPA’s
Integrated Reporting Guidance for Sections 303(d), 305(b), and 314 of the Clean Water Act
(USEPA 2005a, 2006).



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9.     “Claims Process” means the process by which Settlement Class Members may request and
receive settlement benefits.

10.    “Claims Administration Expenses” means all reasonable costs and expenses incurred in (1)
the notice process, which includes all costs incurred in connection with preparing, printing,
publishing, and mailing the Direct Notice; and (2) the administration process, which includes all
costs and expenses incurred to hire a Class Action Settlement Administrator and costs of
processing claims and administering the Settlement Agreement. These costs shall be paid by
Defendant. Claims Administration Expenses does not include the costs and expenses of the Special
Master and any consulting experts assigned to assist the Special Master in developing the
Allocation Process.

11.    “Class Action Settlement Administrator” means Steven Weisbrot of Angeion Group, LLC.

12.    “Co-Class Counsel” means John Gomez of Gomez Trial Attorneys, 655 W. Broadway,
Suite 1700, San Diego, CA 92101; Richard Gordon and Martin Wolf of Gordon, Wolf & Carney,
100 W. Pennsylvania Ave, Suite 100, Towson, MD 21204; and John R. Wertz, 2345 Willow St,
San Diego, CA 92106.

13.    “Court” means the United States District Court for the Central District of California.

14.     “Defendant” means Monsanto Company, Solutia Inc., and Pharmacia LLC (the former
Monsanto Company), including each and all past, present, or future, direct or indirect,
predecessors, successors (including but not limited to successors by merger or acquisition), parents
(including intermediate parents and ultimate parents), subsidiaries, affiliated or related companies,
divisions, partnerships, and joint ventures; and any past, present, or future officer, director,
member, shareholder, employee, partner, trustee, representative, agent, servant, insurer, attorney,
predecessor, successor, or assignee of any of the above.

15.    “Defendant’s Counsel” means the following, either individually or collectively:

                Mark D. Anstoetter
                Brent Dwerlkotte
                SHOOK, HARDY & BACON LLP
                2555 Grand Blvd.
                Kansas City, MO 64108
                Phone: (816) 474-6550



16.    “Direct Notice” means the form of notice described in Section V.

17.     “Effective Date” means the latest date on which: (a) if no appeal has been taken from the
Final Approval Order, the date on which the time to appeal therefrom has expired; or (b) if any
appeal has been taken from the Final Order, the date on which all appeals therefrom, including
petitions for rehearing or reargument, petitions for rehearing en banc and petitions for certiorari or
any other form of review, have been finally disposed of and/or have expired in a manner that



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affirms the Final Order; or (c) on any other agreed date if Plaintiffs’ Counsel and Defendant’s
Counsel agree in writing.

18.    “Final Approval Order” means the order to be entered by the Court pursuant to the
Settlement Agreement that finally approves the Settlement.

19.    “EPA” means and refers to the United States Environmental Protection Agency.

20.    “HUC 12 Watershed” means and refers to a United States Geological Survey (“USGS”)
12-Digit Hydrologic Unit Code Watershed.

21.    “Imperviousness” means and refers to the percentage of an area that is considered
impervious per the USGS Geodatabase.

22.    “Independent port district” means and refers to a port district that is a separate or
independent public legal entity, and does not mean, refer to, or include port districts that are
agencies or departments of another public entity.

23.    “Initial Settlement Class Members” means and refers to those 2,528 cities, towns, villages,
townships, boroughs, counties and independent port districts identified in Exhibit A in accordance
with the Settlement Class definition, effective as of June 24, 2020 only, but not later.

24.   “Lead Class Counsel” means Scott Summy, John Fiske, and Carla Burke Pickrel of Baron
& Budd, P.C.

25.    “Litigating Entities” means and refers to the following list of Initial Settlement Class
Members: City of Chula Vista, City of San Diego, Unified Port District of San Diego, City of Long
Beach, County of Los Angeles, City of San Jose, City of Berkeley, City of Oakland, City of
Portland, Port of Portland, City of Seattle, City of Tacoma, City of Spokane, City of Baltimore,
and Baltimore County.

26.    “Mediator” means retired magistrate Judge Jay C. Gandhi.

27.    “Named Class Plaintiffs” means City of Long Beach; Mayor and City Council of
Baltimore; Baltimore County; City of Berkeley; City of Chula Vista; County of Los Angeles; City
of Oakland; City of Portland; Port of Portland; City of San Diego; City of San Jose; City of
Spokane; and City of Tacoma.

28.    “Notice” means the Court-approved form of notice of this Settlement Agreement to the
Settlement Class, as described in Section V below, and substantially in the forms attached hereto
as Exhibit I (Direct Notice). “Notice Plan” means the plan for disseminating Notice to the
Settlement Class, which shall include direct notice in the manner and form set forth below in
Section V.

29.     “Noticed Parties” means and refers to those Settlement Class Members that have received
notification of potential responsibility or liability, including those noticed Potentially Responsible
Parties (“PRPs”), as used and defined within the context of a respective regulatory action,



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including but not limited to the U.S. EPA Superfund Site Program, U.S. EPA Sediment Site
Program, or Clean Water Act TMDL Program.

30.    “NPDES” means and refers to the United States Environmental Protection Agency
National Pollutant Discharge Elimination System, including its permit program, created by the
Clean Water Act of 1972, as amended.

31.    “Opt-Out Entity” means and refers to those Initial Settlement Class Members that have
timely and properly requested to be excluded from the Settlement Class pursuant to the terms of
this Agreement.

32.    “Parties” means Plaintiffs and Defendant.

33.    “PCB” or “PCBs” means and refers to polychlorinated biphenyls.

34.     “Person” means an individual, corporation, partnership, limited partnership, association,
joint stock company, estate, legal representative, trust, unincorporated association, business, legal
entity, government or any political subdivision or agency thereof.

35.      “Phase I” means and refers to the NPDES Stormwater program’s 1990 Phase I regulation
of cities, towns, boroughs, villages, townships, counties, and independent port districts. There are
273 Phase I Initial Class Members.

36.      “Phase II” means and refers to the NPDES Stormwater program’s 1999 Phase II regulation
of cities, towns, boroughs, villages, townships, counties, and independent port districts. There are
2,255 Phase II Initial Class Members.

37.      “Plaintiffs’ Counsel” means the following, either individually or collectively, in whole or
in part:

          Scott Summy                                John P. Fiske
          Carla Burke Pickrel                        BARON & BUDD, PC
          BARON & BUDD, PC                           11440 W. Bernardo Court, Suite 265
          3102 Oak Lawn Ave., # 1100                 San Diego, CA 92127
          Dallas, Texas 75219

          John Gomez                                 John R. Wertz
          Gomez Trial Attorneys                      2345 Willow St,
          655 W. Broadway, Suite 1700                San Diego, CA 92106.
          San Diego, CA 92101

          Richard Gordon
          Martin Wolf
          Gordon, Wolf & Carney
          100 W. Pennsylvania Ave, Suite 100
          Towson, MD 21204




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38.    “Preliminary Approval Order” means the order to be entered by the Court pursuant to the
Settlement Agreement.

39.     “Qualifying Sediment Sites” means and refers to the nine (9) sites listed in Paragraph
79(b). Qualifying Sediments Sites are effective as of June 24, 2020 only, but not later.

40.    “Qualifying Sediment Site Entities” means and refer to the twelve (12) Initial Settlement
Class Members listed in Paragraph 79(c). Qualifying Sediment Site Entities are effective as of
June 24, 2020 only, but not later.

41.     “Released Claims” means all claims which were or could have been alleged in this Action,
including but not limited to any claim for attorneys’ fees, expenses, and costs. Nothing in this
Settlement Agreement will preclude or affect any action under the Comprehensive Response,
Compensation and Liability Act (“CERCLA”) or similar state Superfund statutes and applicable
regulations. This Agreement shall in no way affect any administrative test claims related to the
California Water Board. The Releases provided herein shall be mutual between Plaintiffs,
Settlement Class Members, and Releasing Persons, on the one hand, and Defendant and Released
Persons on the other hand. Releasing Persons release only Released Persons as defined herein.

42.     “Released Persons” means Defendant and any Affiliate of Defendant, including but not
limited, to Bayer AG, Pfizer Inc., and Eastman Chemical Company. “Affiliate” under this
Settlement means each and all past, present, or future, direct or indirect, predecessors, successors
(including but not limited to successors by merger or acquisition), parents (including intermediate
parents and ultimate parents), subsidiaries, affiliated or related companies, divisions, partnerships,
and joint ventures; and any past, present, or future officer, director, shareholder, employee, partner,
trustee, representative, agent, servant, insurer, attorney, predecessor, successor, or assignee of any
of the above.

43.    “Releasing Persons” means Named Class Plaintiffs and all Settlement Class Members, and
each of their past, present, or future, direct or indirect, predecessors, successors (including but not
limited to successors by merger or acquisition), parents (including intermediate parents and
ultimate parents), subsidiaries, affiliated or related companies, divisions, partnerships, and joint
ventures; and any past, present, or future officer, director, shareholder, employee, partner, trustee,
representative, agent, servant, insurer, attorney, predecessor, successor, or assignee of any of the
above.

44.     “Responsible Parties” means and refers to those Settlement Class Members that have been
designated as potentially responsible or liable parties, as used and defined within the context of a
respective regulatory program, including the U.S. EPA Superfund Site Program, U.S. EPA
Sediment Site Program, or Clean Water Act TMDL Program.

45.    “Sediment Sites” means and refers to those sites wherein PCBs have contaminated
sediment through stormwater contribution, including sites from only the following three lists: (1)
U.S. EPA Superfund Sites, (2) U.S. EPA Large Sediment Sites, and (3) Clean Water Act Category
4b Sites/Waters, exclusive of sites receiving combined sewer overflow discharges from
Defendant’s manufacture of PCBs.

46.    “Sediment Sites Fund Application” means and refers to Exhibit F.


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47.     “Sediment Sites Fund” means and refers to the $150,000,000 fund (subject to any
adjustment pursuant to Paragraph 79(e)) to be allocated among the Qualifying Sediment Site
Entities in accordance with the provisions of Paragraph 79.

48.     “Sediment Sites Appeals and Reserve Fund” means and refers to the appeals reserve fund
equal to or less than 10% of the value of the Sediment Site Fund, as established in the discretion
of the Special Master.

49.    “Settlement” means the settlement set forth in this Settlement Agreement.

50.    “Settlement Agreement” means this document which describes the Settlement.

51.     “Settlement Class” means and refers to “As of June 24, 2020 only, but not later, all NPDES
Phase I and II city, town, village, borough, township, and independent port district MS4 permittees
with jurisdictional boundaries within a HUC 12 Watershed that contains and/or is immediately
adjoining a 303(d) water body impaired by PCBs and all NPDES Phase I and II county MS4
permittees with urbanized, unincorporated boundaries within a HUC 12 Watershed that contains
and/or is immediately adjoining a 303(d) water body impaired by PCBs.”

52.     “Settlement Class” means the Settlement Class above and any and all sub-classes contained
therein, as of June 24, 2020 only, but not later.

53.    “Settlement Class Allocation” means and refers to the process of Allocating the Class
Benefit as described throughout this Settlement Agreement, including but not limited to those
paragraphs under Section “IV. SETTLEMENT BENEFITS AND ALLOCATION.”

54.    “Settlement Class Members” means all persons who are members of the Settlement Class
and who do not timely and properly request exclusion from the Settlement Class pursuant to the
terms of this Agreement.

55.    “Settling Parties” means Settlement Class Members and Defendant.

56.  “Settlement Funds” means the amount of the Settlement to be paid to Settlement Class
Members as explained in Section IV.

57.    “USGS” means and refers to the United States Geological Survey.

58.    “Special Master” means the individual(s) who the Parties will move the Court to appoint
pursuant to Federal Rule of Civil Procedure 53, and who will be responsible for working with the
Allocation Experts to allocate certain Settlement Funds, make final Allocation determinations,
implement the Allocation, and direct distribution of Settlement Funds, as necessary to further
develop and implement the Allocation.

59.     “Special Master Allocation” means and refers to the process by which the Special Master
allocates the Sediment Sites Fund, Special Needs, Part A Fund, and Special Needs, Part B Fund.

60.    “Special Needs Funds” means and refers to those funds allocated to the Special Needs
Fund, including Part A and Part B.


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61.    “Special Needs Fund, Part A” means and refers to those funds allocated to Part A of the
Special Needs Fund, equal to $57,105,000.

62.    “Special Needs Fund, Part A Application” means and refers to Exhibit G.

63.    “Special Needs Fund, Part B” means and refers to those funds allocated to Part B of the
Special Needs Fund, equal to $50,000,000.

64.    “Special Needs Fund, Part B Application” means and refers to Exhibit H.

65.    “TMDL” means and refers to Total Maximum Daily Load pursuant to Section 303(d) of
the Clean Water Act, and collectively at times may refer to TMDL Alternatives or TMDL Direct-
to-Implementation regulatory processes.

66.     “TMDL Alternative” means and refers to the TMDL Alternative regulatory process as
defined and used in Section 303(d) of the Clean Water Act, 33 U.S.C § 1251 et seq. (as amended)
(“Clean Water Act”).

67.   “TMDL Direct-to-Implementation” means and refers to a regulatory method of
implementing and enforcing a TMDL Alternative, and/or means and refers to an alternative
method to enforce Section 303(d) of the Clean Water Act in lieu of a TMDL.

68.   “TMDL Fund Entities” means and refers to those Initial Settlement Class Members listed
on Exhibit D. TMDL Fund Entities are effective as of June 24, 2020 only, but not later.

                                    III. REQUIRED EVENTS

69.     In conjunction with filing the executed Settlement Agreement with the Court, Named Class
Plaintiffs shall file a motion for leave to file an Amended Class Action Complaint naming City of
Long Beach; Mayor and City Council of Baltimore; Baltimore County; City of Berkeley; City of
Chula Vista; County of Los Angeles; City of Oakland; City of Portland; Port of Portland; City of
San Diego; City of San Jose; City of Spokane; and City of Tacoma as Named Class Plaintiffs and
seeking certification of the following Settlement Class:

       Settlement Class:

               As of June 24, 2020 only, but not later, all NPDES Phase I and II
               city, town, village, borough, township, and independent port district
               MS4 permittees with jurisdictional boundaries within a HUC 12
               Watershed that contains and/or is immediately adjoining a 303(d)
               water body impaired by PCBs and all NPDES Phase I and II county
               MS4 permittees with urbanized, unincorporated boundaries within
               a HUC 12 Watershed that contains and/or is immediately adjoining
               a 303(d) water body impaired by PCBs.

70.     Within a reasonable time following the filing of the Motion for Preliminary Approval, the
Parties also agree to file joint motions to stay all the pending litigations. The joint motions to stay
will seek to stay each case until the Effective Date of the Settlement as defined in this Settlement


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Agreement. However, if the Settlement Agreement is not approved and/or does not become
effective, all litigation between Named Class Plaintiffs and Defendant will be restored without
prejudice to their respective positions in the Underlying Actions as if the Settlement Agreement,
any application for its approval by the Court, and the filing of the proposed Amended Class Action
Complaint in the City of Long Beach Action had not been made, submitted or filed. The Parties
shall file a joint Motion for Conditional Certification of Settlement Class, Preliminary Approval
of Settlement, Approval of Notice Plan, Appointment of Notice Administrator, and Appointment
of Class Counsel (“Motion for Preliminary Approval”). The Motion for Preliminary Approval
shall, among other things:

       (a)     Include supporting declarations from the Special Master, Judge (Ret.) Jay Gandhi,
               and the proposed Class Action Settlement Administrator, Steven Weisbrot of
               Angeion Group, LLC; and

       (b)     Seek entry of a proposed Preliminary Approval Order which would, for settlement
               purposes only, certify the Settlement Class; preliminarily approve the Settlement
               Agreement; approve the proposed Notice Plan, including the Direct Notice, as set
               forth in Exhibit I and Section V of this Settlement Agreement; appoint Steven
               Weisbrot as the Class Action Settlement Administrator; appoint Judge (Ret.) Jay
               Gandhi as the Special Master to implement the Allocation (with the assistance of
               Mediator Lexi Myers and Allocation Experts Michael Trapp and Rob Hesse);
               appoint Lead and Co-Class Counsel; schedule the Final Approval Hearing; and set
               a briefing schedule for the Final Approval Hearing.

71.      In accordance with the Court’s Preliminary Approval Order, the Parties shall subsequently
file a joint Motion for Final Approval of Settlement (“Motion for Final Approval”). The Motion
shall seek entry of a proposed Final Approval Order that would, among other things: grant final
approval of the Settlement Agreement and direct its implementation pursuant to its terms and
conditions; discharge and release the Released Persons, and each of them, from the Released
Claims; permanently bar and enjoin all Releasing Persons from instituting, maintaining, or
prosecuting, either directly or indirectly, any lawsuit that asserts Released Claims; direct that the
Action be dismissed with prejudice and without costs; state pursuant to Federal Rule of Civil
Procedure 54(b) that there is no just reason for delay and directing that the Final Approval Order
and Judgment is a final, appealable order; and reserve to the Court continuing and exclusive
jurisdiction over the Settling Parties with respect to the Settlement Agreement and the Final
Approval Order. In particular, the proposed Final Approval Order shall specify that, without in
any way affecting the finality of the Final Approval Order, the Court expressly retains exclusive
and continuing jurisdiction over the Parties, including the Settlement Class, in all matters relating
to the administration, consummation, validity, enforcement and interpretation of the Settlement
Agreement and the Final Approval Order, including, without limitation, for the purpose of: (a)
enforcing the terms and conditions of the Settlement Agreement and negotiations and resolving
any disputes that arise out of the implementation or enforcement of the Settlement Agreement; (b)
entering such additional orders, if any, as may be necessary or appropriate to protect or effectuate
the Final Order and the Settlement Agreement (including, without limitation, orders enjoining
persons or entities pursuing any claims), or to ensure the fair and orderly administration of the
Settlement; and (c) entering any other necessary or appropriate orders to protect and effectuate this



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Court’s retention of continuing jurisdiction over the Settlement Agreement and the Parties in
matters relating to the implementation or enforcement of the Settlement Agreement.

                   IV. SETTLEMENT BENEFITS AND ALLOCATION

72.     Settlement Class Members will receive a settlement check from the Class Action
Settlement Administrator based on the Settlement Class Allocation method developed by Lead
Class Counsel, the Special Master, and the Named Class Plaintiffs’ consulting experts. Under
Plaintiffs’ Settlement Class Allocation, four separate funds will be created, including: (1)
Monitoring Fund; (2) TMDL/TMDL Alternative/TMDL Direct-to-Implementation Fund (“TMDL
Fund”); (3) Sediment Sites Fund; and (4) Special Needs Fund.

73.     Settlement benefits vary based on the Settlement Class Members’ status as described in
Paragraphs 76-80 below. Subject to Paragraph 79(e), Monsanto Company, on behalf of the entities
described in Paragraphs 14 and 42, agrees to pay, within thirty (30) days of the Effective Date of
this Agreement, into the Class Action Settlement Administrator’s escrow account a lump sum up
to five hundred and fifty million dollars ($550,000,000). The payment shall be made as soon as
possible and at the earliest reasonable direction by the Special Master who will provide the
Allocation Amount to the Class Action SettlementAdministrator. In addition, Monsanto Company,
on behalf of the entities described in Paragraphs 14 and 42, agrees to pay Attorneys’ Fees and
Expenses as provided under Section VII of the Settlement Agreement. Monsanto Company, on
behalf of the entities described in Paragraphs 14 and 42, also agrees to pay Claims Administration
Expenses.

74.    Subject to Paragraph 79(e), any remainder or unclaimed Settlement Funds, that are
remaining or unclaimed one (1) year after the date of disbursement of those particular funds, shall
be redistributed, at the direction of the Special Master to the Class Action Settlement
Administrator, to Settlement Class Members that received an allocation under Special Needs Fund,
Part B on a pro-rata basis.

75.    Class Member Identification

               “As of June 24, 2020 only, but not later, all NPDES Phase I and II
               city, town, village, borough, township, and independent port district
               MS4 permittees with jurisdictional boundaries within a HUC 12
               Watershed that contains and/or is immediately adjoining a 303(d)
               water body impaired by PCBs and all NPDES Phase I and II county
               MS4 permittees with urbanized, unincorporated boundaries within
               a HUC 12 Watershed that contains and/or is immediately adjoining
               a 303(d) water body impaired by PCBs.”

       Initial Settlement Class Members are identified in accordance with the Class Definition
       using three publicly maintained and available databases, as follows: (1) the U.S. EPA
       303(d) list of bodies of water impaired by PCBs; (2) USGS HUC 12 Watersheds; (3) U.S.
       Census Bureau.

       (a)     The list of Initial Settlement Class Members is attached hereto as Exhibit A.



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      (b)    The list of U.S. EPA 303(d) water bodies impaired by PCBs is attached hereto as
             Exhibit B.

      (c)    The list of USGS HUC 12 Watersheds that contain and/or immediately adjoin
             303(d) water bodies impaired by PCBs is attached hereto as Exhibit C.

      The following geospatial and data overlay analyses reveal the total, finite list of Initial
      Settlement Class Members:

      First, all 303(d) water bodies impaired by PCBs were identified. Then, all USGS HUC 12
      Watersheds, which contain and/or are immediately adjoining all 303(d) water bodies
      impaired by PCBs, were identified. Thirdly, as of June 24, 2020 only, but not later, the
      NPDES Phase I and II city, town, village, borough, township, and independent port district
      MS4 permittees with jurisdictional boundaries within a HUC 12 Watershed that contains
      and/or is immediately adjoining a 303(d) water body impaired by PCBs and all NPDES
      Phase I and II county MS4 permittees with urbanized, unincorporated boundaries within a
      HUC 12 Watershed that contains and/or is immediately adjoining a 303(d) water body
      impaired by PCBs, were identified. The U.S. Census Bureau database was used to identify
      all class members except townships, which were originally identified as MS4 permittees
      by EPA and then confirmed using the U.S. Census Bureau database.

      The total number of Initial Settlement Class Members, as identified in Exhibit A, is 2,528.

76.   Settlement Class Allocation

      The Settlement Funds of five hundred and fifty million dollars ($550,000,000) will be
      allocated into four separate Allocation Funds as follows:

      (a)    Monitoring Fund:       $42,895,000

      (b)    TMDL Fund:             $250,000,000

      (c)    Sediments Fund:        $150,000,000

      (d)    Special Needs Fund: $107,105,000

      Each Allocation Fund will be allocated as described in each corresponding section, below.

77.   Monitoring Fund:

      The Monitoring Fund will provide a minimum payment to all Settlement Class Members
      as consideration for a class release. The funds are intended to pay for PCB sampling and/or
      any other mitigation efforts in the Settlement Class Member’s sole discretion, as part of
      compliance with applicable law. The total number of nationwide class members is 2,528,
      each of which will receive payment from the Monitoring Fund as follows:

      The Monitoring Fund provides payment at four levels based on whether the Initial
      Settlement Class Member is a Phase I or Phase II NPDES Permittee, and whether the Initial


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      Settlement Class Member contains a population of at least 100,000. Independent port
      districts are excluded from the population consideration and therefore included in levels
      above 100,000. Phase I Permittees are generally larger than Phase II Permittees. There are
      two hundred and seventy-three (273) Phase I Initial Settlement Class Members, and there
      are two thousand two hundred and fifty-five (2,255) Phase II Initial Settlement Class
      Members. Notwithstanding of any other payment made within the Allocation, Phase I
      Initial Settlement Class Members with populations greater than or equal to 100,000 and
      Phase I independent port districts each will receive thirty thousand dollars ($30,000); Phase
      I Initial Settlement Class Members with populations less than 100,000 each will receive
      twenty thousand dollars ($20,000); Phase II Initial Settlement Class Members with
      populations greater than or equal to 100,000 and Phase II independent port districts each
      will receive twenty-five thousand dollars ($25,000); Phase II Initial Settlement Class
      Members with populations less than 100,000 each will receive fifteen thousands dollars
      ($15,000). Any amounts allocated to a Settlement Class Member that opts out will be
      reallocated within the formula for the Monitoring Fund.

      (a)    Phase I ≥ 100,000 pop. and Phase I independent port districts: 124 x $30,000 =
             $3,720,000

      (b)    Phase I < 100,000 pop.: 149 x $20,000 = $2,980,000

      (c)    Phase II ≥ 100,000 pop. and Phase II independent port districts: 237 x $25,000 =
             $5,925,000

      (d)    Phase II < 100,000 pop.: 2018 x $15,000 = $30,270,000

78.   TMDL Fund:

      (a)    TMDL Fund. The TMDL Fund is allocated two hundred and fifty million dollars
             ($250,000,000) and includes only those Initial Settlement Class Members that are
             subject to and/or responsible for, as of June 24, 2020 only, but not later, a TMDL,
             TMDL Alternative, or TMDL Direct-to-Implementation regulation, promulgated
             or updated after January 1, 2010, wherein PCB is a named constituent. There are
             two hundred and forty-two (242) TMDL Fund Entities, as of June 24, 2020 only,
             but not later, as listed in and attached hereto as Exhibit D. TMDL funds are intended
             to compensate Settlement Class Members for restitution and remediation including
             mitigation of contaminated property, stormwater, and/or stormwater systems,
             including compliance with a TMDL. Any amounts allocated to a Settlement Class
             Member that opts out will be reallocated within the formula for the TMDL Fund.

      (b)    Allocation Algorithm. The TMDL Funds of $250,000,000 are further allocated
             among all 242 TMDL Fund Entities using the following TMDL Allocation
             Calculation: for all TMDL Fund Entities, multiply (1) the total jurisdictional area
             within any HUC 12 Watershed that contains and/or is immediately adjoining a
             303(d) water body with a PCB TMDL, by (2) the USGS Geodatabase
             Imperviousness of such jurisdictional area (known as “Weighted Imperviousness”).




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                    Then, proportionally normalize1 all Weighted Imperviousness values to calculate a
                    weighted, relative percentage for each TMDL Fund Entity. Lastly, multiply (1) the
                    weighted, relative percentage for each TMDL Fund Entity, by (2) the total fund less
                    Population Factor Awards. A 0.7 multiplier is applied to any TMDL Fund Entity
                    with a population of less than one hundred thousand (100,000).

            (c)     Large Population Factor. To account for population as a factor in the equitable
                    allocation of the TMDL Fund, each TMDL Fund Entity town, city, village,
                    borough, or township with a population of more than 1 million, and each TMDL
                    Fund Entity county with a population of more than 2 million, will receive a
                    Population Factor Award of $2 million.

            (d)     Maximum Allowance. No TMDL Fund Entity shall recover more than seven
                    million five hundred thousand dollars ($7,500,000) as an absolute maximum
                    recovery under the TMDL Fund, regardless of whether a Population Factor Award
                    would otherwise have provided for an amount greater than $7,500,000.

 79.        Sediment Sites Fund:

            (a)     Sediment Sites Fund. Subject to Paragraph 79(e), the Sediment Sites Fund is
                    initially allocated one hundred and fifty million dollars ($150,000,000) and
                    includes those Initial Settlement Class Members that, as of June 24, 2020 only, but
                    not later, are a Noticed Party or named Responsible Party in at least one of three
                    types of regulated Sediment Sites wherein PCBs have contaminated sediments due
                    to stormwater contribution. The three types of Sediments Sites include only the
                    following: (1) U.S. EPA Superfund Sites, (2) U.S. EPA Large Sediment Sites,
                    and/or (3) Clean Water Act Category 4b Sites/Waters. Sediment Site funds are
                    intended to compensate Class Members for restitution and remediation, including
                    mitigation of contaminated property, stormwater and/or stormwater systems, and
                    including compliance with a regulatory process.

            (b)     Qualifying Sediment Sites. The following is the list of the nine (9) Sediment Sites
                    wherein at least one Initial Settlement Class Member, as of June 24, 2020 only, but
                    not later, is a Noticed Party or named Responsible Party due to stormwater
                    contribution of PCBs: Diamond Alkali-Lower Passaic River (Newark, New
                    Jersey); Newtown Creek (New York, New York); Gowanus Canal (New York,
                    New York); Lower Duwamish Waterway (Seattle, Washington); Portland Harbor
                    (Portland, Oregon); Commencement Bay, Near Shore/Tide Flats (Tacoma,


 1
     TMDL fund class member portion =

              Class member’s impervious TMDL land area
 (                                                              )𝑥   (Total TMDL fund – Σ population bonus)*
     Σ Impervious TMDL land areas of all TMDL fund class members

 *TMDL fund class member exceeding 3% of total TMDL fund will be capped at 3% of the total TMDL fund. These
 TMDL fund class members will be subtracted from the proportional calculation of the TMDL fund. A 0.7 multiplier
 is applied to any TMDL Fund Entity with a population of less than 100,000.



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            Washington); Harbor Island (Lead) (Seattle, Washington); Pacific Sound
            Resources (Seattle, Washington); San Diego Bay (San Diego, California).

      (c)   Qualifying Sediment Site Entities. The following is the list of the twelve (12)
            Initial Settlement Class Members that, as of June 24, 2020 only but not later, are
            Noticed Parties or named Responsible Parties, due to stormwater contribution of
            PCBs, in at least one Sediment Site: City of Newark, New Jersey; City of New
            York, New York; City of Seattle, Washington; King County, Washington; Port of
            Seattle, Washington; City of Tukwila, Washington; City of Tacoma, Washington;
            Port of Tacoma, Washington; City of Portland, Oregon; Port of Portland, Oregon;
            City of San Diego, California; Port of San Diego, California.

      (d)   Special Master Allocation. The Sediment Sites Fund will be further allocated
            among the Qualifying Sediment Site Entities identified in Paragraph 79(c) above,
            other than any Opt-Out Litigating Entity, pursuant to a Court-appointed Special
            Master, who will equitably allocate Sediment Site funds, upon application, based
            on the totality and relativity of the following PCB-caused factors: past costs and
            expenses spent as of the date of the application for Sediment Site remediation; past
            costs and expenses spent as of the date of the application for other mitigation
            required due to the Sediment Site; as estimated, including with documents and
            evidence the future costs and expenses that will be spent for Sediment Site
            remediation; as estimated, including with documents and evidence the future costs
            and expenses that will be spent for mitigation required due to the Sediment Site;
            and any other important factors or information deemed relevant by the Special
            Master. The Special Master will rely solely on the application and documents
            submitted and will not include oral advocacy, presentation, interview, or interactive
            process. All applications and documents submitted to the Special Master for the
            Allocation will be and will remain confidential, and subject to Federal Rule of
            Evidence section 408 and state law equivalent code sections, to this Settlement
            Allocation process and shall not be disclosed or shared beyond the review of the
            following: the Special Master, the Allocation Experts, Lead Class Counsel, the
            Class Action Settlement Administrator, and the Court. At the discretion of the
            Special Master, Defendant may have access to the information for business
            purposes only, such as insurance or other business needs, provided however that
            such materials are maintained by Defendant as confidential to the extent legally
            allowable. The Class Action Settlement Administrator shall also provide Monsanto
            with a quarterly accounting of the Settlement Funds and any distributions made as
            part of the Allocation. Documents related to the Portland Harbor Superfund Site
            shall remain confidential in any event during the pendency of the Portland Harbor
            Superfund Site action. The standard for any judicial oversight or review, if any, of
            the Special Master will be a “de novo” standard.

      (e)   Sediment Sites Application. The Sediment Sites Application is attached hereto as
            Exhibit F. To the extent a non-Litigating Entity Qualifying Sediment Site Entity
            opts out of the Settlement Class, or a Qualifying Sediment Site Entity does not opt
            out but fails to submit an Application, the Special Master will rely on the Allocation
            Experts to determine, upon application completed by the Allocation Experts, the


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            allocation amount that could have been otherwise allocated to the Qualifying
            Sediment Site Entity that did not submit an application. Settlement Class Members
            that do not return a completed application or that return a late application will forfeit
            the right to appeal as described in subsection (f) below, but will not forfeit the
            receipt of Reserve Funds, distributed pro-rata after all appeals are exhausted.
            Settlement Funds allocated to any non-Opt-Out Qualifying Sediment Entities shall
            be disbursed in accordance with this Agreement. Settlement Funds allocated to any
            non-Litigating Entity Qualifying Sediment Site Entity Opt-Outs shall be disbursed
            to all non-Opt-Out Qualifying Sediment Site Entities on a pro-rata basis as
            determined by the Special Master. For each Opt-Out Litigating Entity Qualifying
            Sediment Site Entity, the Sediment Sites Fund shall be reduced by $12,500,000
            ($150,000,000/12=$12,500,000) and this amount shall be subtracted from the total
            Settlement Fund in Paragraph 73, with the balance of the Sediment Sites Fund being
            allocated to the Non-Opt-Out Qualifying Sediment Site Entities.

      (f)   Sediment Site Allocation Appeals and Reserve Funds. The Special Master shall
            use the Sediment Sites Application to inform, guide, and design an equitable
            allocation among all eligible applicants. The Special Master may, but is not
            required to, create an appeals process by utilizing a Sediment Sites Appeals Reserve
            Fund of up to ten percent (10%) of the final Sediment Sites Fund amount, after any
            adjustment pursuant to Paragraph 79(e) above. If created by the Special Master, the
            appeals process will allow for one (1) de novo appeal from each eligible applicant,
            and any decisions will be at the discretion of the Special Master. The appeals
            process, if any, shall be conducted within an efficient time-frame so as not to hinder
            the progress of the overall Allocation. The appeals process, if any, shall include
            only a two (2) page written appeal explaining the basis for the appeal, referring only
            to the original application as evidence of such basis. Any Sediment Sites Appeals
            Reserve Funds remaining after all appeals have been decided by the Special Master
            shall be redistributed to all Sediment Site Settlement Class Members on a pro-rata
            basis. All final decisions of the Special Master, after any appeals process, if any,
            will be final, binding, and unappealable.

80.   Special Needs Funds:

      (a)   Special Needs Funds. The Special Needs Fund is allocated $107,105,000, and
            further allocated into two separate parts known as Special Needs Fund, Part A
            ($57,105,000), and Special Needs Fund, Part B ($50,000,000).

      (b)   Special Needs Fund, Part A. Special Needs Fund, Part A is allocated fifty seven
            million one hundred and five thousand dollars ($57,105,000) to compensate and
            accommodate those Litigating Entities whose time, energy, effort, attorney work
            product, costs, expenses, and risk of litigation helped to cause the entire Class
            Settlement, for the benefit of all 2,528 Initial Settlement Class Members.

      (c)   Litigating Entities. Special Needs Fund, Part A is available only to those Initial
            Settlement Class Members that are Litigating Entities. Litigating Entities are Initial
            Settlement Class Members that, as of June 24, 2020 only, but not later, (1) have


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            filed tort, public nuisance, and/or product liability lawsuits against Defendants for
            PCB contamination of stormwater and sediment, and/or (2) that are Named Class
            Members. Litigating Entities include only the following fifteen (15) Initial
            Settlement Class Members: City of Chula Vista, City of San Diego, Unified Port
            District of San Diego, City of Long Beach, County of Los Angeles, City of San
            Jose, City of Berkeley, City of Oakland, City of Portland, Port of Portland, City of
            Seattle, City of Tacoma, City of Spokane, City of Baltimore, and Baltimore County.

      (d)   Special Master Allocation. Special Needs Fund, Part A, will be further allocated
            pursuant to a Court-appointed Special Master, who will equitably and reasonably
            allocate Part A funds, upon application, based on the totality and relativity of the
            following factors: whether outside counsel was retained; whether a lawsuit was
            filed; how long the lawsuit was filed at the time of Preliminary Class Approval; the
            case posture and procedure of any lawsuit; the amount, time, energy, cost, and
            productivity during discovery with Defendants; the retention of experts; the
            development of expert testimony and reports; the preparation and presentation of
            experts for deposition; the litigation of significant motions, including but not
            limited to motions to dismiss, discovery motions, motions for summary judgment
            or adjudication, in limine motions, and other motions; and any other important
            factors or information deemed relevant by the Special Master as having a
            significant impact on, or catalyst for, this Settlement. The Special Master will rely
            solely on the application and documents submitted and will not include oral
            advocacy, presentation, interview, or interactive process. All applications and
            documents submitted to the Special Master for the Allocation will be and will
            remain confidential, and subject to Federal Rule of Evidence section 408 and state
            law equivalent code sections, to this Settlement Allocation process and shall not be
            disclosed or shared beyond the review of the following: the Special Master, the
            Allocation Experts, Lead Class Counsel, the Class Action Settlement
            Administrator, and the Court. The Class Action Settlement Administrator shall also
            provide Monsanto with a quarterly accounting of the Settlement Funds and any
            distributions made as part of the Allocation. The standard for any judicial oversight
            or review, if any, of the Special Master will be a “de novo” standard. The Special
            Master will give attention and consideration to any Litigating Entity that has
            incurred attorneys’ fees to outside counsel, other than Lead or Co-Class Counsel.
            The Special Master will reasonably and equitably prioritize and reimburse any
            Litigating Entity that, through outside counsel other than Lead or Co-Class
            Counsel, incurred reasonable, documented out-of-pocket litigation costs.

      (e)   Restrictions. Litigating Entities, which as of October 2019, were under contract
            for representation by Lead or Co-Class Counsel shall not recover for outside
            counsel fees in the Special Needs Fund, Part A. Litigating Entities that retained
            outside counsel, and that were not under contract for representation by Lead or Co-
            Class Counsel, may apply for and receive, subject to Special Master Allocation, an
            equitable and reasonable allocation for such outside counsel, including attorneys’
            fees and costs. Nothing herein shall prevent any Litigating Entity from applying for
            and receiving, subject to Special Master Allocation, an equitable allocation for in-
            house or general counsel fees, overhead, salaries, time, energy, costs, resources,


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            and/or attention, including but not limited to city attorneys, county counsel, and/or
            general counsel.

      (f)   Application and Forfeiture. The Special Needs Fund, Part A Application is
            attached hereto as Exhibit G. The Special Master shall use the Special Needs Fund,
            Part A Application to inform, guide, and design an equitable allocation among all
            eligible applicants. Litigating Entities that do not timely return a completed
            application forfeit any right to Part A Funds.

      (g)   Part A Appeals and Reserve Funds. The Special Master may, but is not required
            to, create an appeals process by utilizing a Part A Appeals Reserve Fund of up to
            ten percent (10%) of the $57,105,000 fund. If created by the Special Master, the
            appeals process will allow for one (1) de novo appeal from each eligible applicant,
            and any decisions will be the discretion of the Special Master. The appeals process,
            if any, shall be conducted within an efficient time-frame so as not to hinder the
            progress of the overall Allocation. The appeals process, if any, shall include only a
            two (2) page written appeal explaining the basis for the appeal, referring only to the
            original application as evidence of such basis. Any Part A Appeals Reserve Funds
            remaining after all appeals have been decided by the Special Master shall be
            redistributed to all Litigating Entities on a pro-rata basis. All final decisions of the
            Special Master, after any appeals process, if any, will be final, binding, and
            unappealable.

      (h)   Special Needs Fund, Part B. Special Needs Fund, Part B, is allocated fifty million
            dollars ($50,000,000) and available to all Settlement Class Members who apply and
            make a showing, in the discretion of the Special Master, of a significant regional,
            state, or national benefit, cost, or contribution regarding 303(d) bodies of water
            impaired by PCBs through stormwater and/or dry weather runoff, and such benefit,
            cost, or contribution is not otherwise encompassed within any other part of this
            Allocation.

      (i)   Special Master Allocation, Application, and Forfeiture. The Special Needs
            Fund, Part B Application is attached hereto as Exhibit H. The Special Master shall
            use the Special Needs Fund, Part B Application to equitably allocate Part B Funds
            among only those who apply. Settlement Class Members who do not apply will
            receive no Part B Funds. Application does not guarantee that the Special Master
            will allocate Part B Funds to the applicant. Some Part B applicants may not receive
            any Part B Funds. The Special Master shall use the Special Needs Fund, Part B
            Application to inform, guide, and design an equitable allocation among all eligible
            applicants. The Special Master will rely solely on the application and documents
            submitted and will not include oral advocacy, presentation, interview, or interactive
            process. All applications and documents submitted to the Special Master for the
            Allocation will be and will remain confidential, and subject to Federal Rule of
            Evidence section 408 and state law equivalent code sections, to this Settlement
            Allocation process and shall not be disclosed or shared beyond the review of the
            following: the Special Master, the Allocation Experts, Lead Class Counsel, the
            Claims Administrator, and the Court. At the discretion of the Special Master,


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              Defendant may have access to the information for business purposes only, such as
              insurance or other business needs, provided however that such materials are
              maintained by Defendant as confidential to the extent legally allowable. The Class
              Action Settlement Administrator shall also provide Monsanto with a quarterly
              accounting of the Settlement Funds and any distributions made as part of the
              Allocation. Documents related to the Portland Harbor Superfund Site shall remain
              confidential in any event during the pendency of the Portland Harbor Superfund
              Site action. Settlement Class Members that do not timely return a completed
              application forfeit any right to Part B Funds.

       (j)    Part B Appeals and Reserve Funds. The Special Master may, but is not required
              to, create an appeals process by utilizing a Part B Appeals Reserve Fund of up to
              ten percent (10%) of the $50,000,000 fund. If created by the Special Master, the
              appeals process will allow for one (1) de novo appeal from each eligible applicant,
              and any decisions, including regarding eligibility, will be the discretion of the
              Special Master. The appeals process, if any, shall be conducted within an efficient
              time-frame so as not to hinder the progress of the overall Allocation. The appeals
              process, if any, shall include only a two (2) page written appeal explaining the basis
              for the appeal, referring only to the original application as evidence of such basis.
              Any Part B Appeals Reserve Funds remaining after all appeals have been decided
              by the Special Master shall be redistributed to all Part B awarded applicants only
              on a pro-rata basis. Part B applicants who did not receive an award under either an
              initial application or an appeal will not receive any pro-rata distribution after all
              appeals are exhausted. All final decisions of the Special Master, after any appeals
              process, if any, will be final, binding, and unappealable.

       (k)    Part B Equitable Purpose. The Special Master may, in his sole discretion, fairly
              and reasonably, and consistent with the intention and general structure of the terms
              of the Allocation, equitably balance monetary allocations to Settlement Class
              Members to the extent that any did not receive a proper and appropriate Allocation
              in accordance with the terms herein.

81.    [Intentionally omitted by the Parties.]

 V. NOTICE OF PROPOSED SETTLEMENT TO SETTLEMENT CLASS MEMBERS

82.     Notice of the Settlement to Settlement Class Members shall be provided pursuant to orders
of the Court.

83.     The Parties agree that reasonable notice of this Agreement consistent with Due Process
requirements of the United States Constitution shall be given to any and all Settlement Class
Members. To effectuate such notice, Lead Class Counsel has agreed to engage the Class Action
Settlement Administrator to advise them and administer the Notice process. Although Lead Class
Counsel will be responsible for ensuring the Notice process is effectuated, Defendant’s Counsel
will have continued involvement in the Notice process. The text of the Notice and the mechanisms
for distributing the Notices shall be subject to the approval of the Court and shall be the
responsibility of the Class Action Settlement Administrator.


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Initial Settlement Class Members have been identified in accordance with the Class Definition
using three publicly maintained and available databases, as follows: (1) the U.S. EPA 303(d) list
of bodies of water impaired by PCBs; (2) USGS HUC 12 Watersheds; (3) U.S. Census Bureau.
Initial Settlement Class Members are identified as:

       As of June 24, 2020 only, but not later, all NPDES Phase I and II city, town,
       village, borough, township, and independent port district MS4 permittees
       with jurisdictional boundaries within a HUC 12 Watershed that contains
       and/or is immediately adjoining a 303(d) water body impaired by PCBs and
       all NPDES Phase I and II county MS4 permittees with urbanized,
       unincorporated boundaries within a HUC 12 Watershed that contains and/or
       is immediately adjoining a 303(d) water body impaired by PCBs.

84.     As part of the Notice Plan, the Class Action Settlement Administrator shall send the Direct
Notices, substantially in the form attached hereto as Exhibit I, by U.S. Mail, to each member of
the Settlement Class identified by the Parties through reasonable efforts as set forth above. All
reasonable efforts will be made to notify each Class Member’s in-house counsel or managing
executive. Lead Class Counsel shall promptly provide this information to the Class Action
Settlement Administrator who shall then mail Direct Notice within five days after the issuance of
the Preliminary Approval Order, unless otherwise directed by the Court. The Class Action
Settlement Administrator will promptly log each Direct Notice that is returned as undeliverable
and shall provide copies of the log to Class Counsel and Defense Counsel. The Class Action
Settlement Administrator shall take reasonable steps to re-mail all undeliverable Direct Notices to
updated addresses provided by the National Change of Address Database maintained by the United
States Post Office or by other means. In the event that any Direct Notice mailed to a Settlement
Class Member is returned as undeliverable a second time, then no further mailing shall be required.
Where the Class Action Settlement Adminstrator re-mails Direct Notice, the sixty (60) day
deadlines to request exclusion or object as set forth in Sections VI.A and B shall apply from the
date of the initial mailing attempt that was returned as undeliverable.

85.     The Direct Notice, substantially in the form attached as Exhibit I or in such other form as
directed by the Court, shall advise Settlement Class Members of the following:

       (a)     General Terms: The Notice shall contain a plain and concise description of the
               nature of the Action; the fact of preliminary certification of the Settlement Class
               for settlement purposes; and the proposed Settlement itself, including a description
               of the Settlement Class Members, the benefits under the proposed Settlement, and
               what claims are released under the proposed Settlement.

       (b)     Requests for Exclusion: The Notice shall inform Settlement Class Members that
               they have the right to exclude themselves from (opt out of) the Settlement. The
               Notice shall provide the deadlines and procedures for exercising this right.

       (c)     Objections: The Notice shall inform Settlement Class Members of their right to
               object to the proposed Settlement and appear at the Final Approval Hearing. The
               Notice shall provide the deadlines and procedures for exercising these rights.



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       (d)     The Notice shall inform Settlement Class Members about the amounts being sought
               by Class Counsel as Attorneys’ Fees and Expenses.

86.      The Class Action Settlement Administrator shall maintain records of all of its activities,
including logs of all telephone calls received and all mailings, and shall maintain an electronic
database reflecting the running tally of all calls received and number and types of materials mailed
by it in connection with this Settlement.

87.     Pursuant to the Class Action Fairness Act of 2005, 28 U.S.C. § 1715(b), Defendant’s
Counsel shall serve notice of the settlement via First Class Mail on the appropriate federal and
state officials no later than ten (10) calendar days after the filing of this Settlement Agreement
with the Court. A proposed form of CAFA notice, without the accompanying attachments, is
attached as Exhibit J.

88.     The Class Action Settlement Administrator shall be responsible for, without limitation: (a)
printing, mailing or arranging for the mailing of the Direct Notices; (b) handling returned mail not
delivered to Settlement Class Members; (c) attempting to obtain updated address information for
any Direct Notices returned without a forwarding address; (d) making any additional mailings
required under the terms of this Settlement Agreement; (e) receiving and maintaining on behalf of
the Court any Settlement Class Member correspondence regarding requests for exclusion and/or
objections to the Settlement; (f) forwarding written inquiries to Class Counsel or their designee for
a response, if warranted; and (g) otherwise implementing and/or assisting with the dissemination
of the Notice of the Settlement. The Class Action Settlement Administrator shall also be
responsible for, without limitation, implementing the terms of the Claims Process and related
administrative activities.

89.     If the Class Action Settlement Administrator fails to perform adequately on behalf of
Defendant or the Settlement Class, the Parties may agree to remove the Class Action Settlement
Administrator. If counsel cannot resolve the issue after a good faith attempt to do so, they will
refer the matter to the Court for resolution.

90.    The Class Action Settlement Administrator may retain one or more persons to assist in the
completion of his or her responsibilities as reasonably necessary to fulfill the Class Action
Settlement Administrator’s duties herein.

91.     Not later than twenty-one (21) days before the date of the Final Approval Hearing, the
Class Action Settlement Administrator shall file with the Court a list of those persons who have
opted out of or objected to the Settlement. The Class Action Settlement Administrator shall also
file with the Court proof, by affidavit or declaration, of the aforesaid publications and mailings as
well as the details outlining the scope, method and results of the Notice program.

92.    The Class Action Settlement Administrator and the Parties shall promptly after receipt
provide copies of any requests for exclusion, objections and/or related correspondence to each
other.

93.    The cost of the above Notice shall be paid by Defendant.




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          VI. OBJECTIONS/REQUESTS FOR EXCLUSION/CANCELLATION

A.     Requests for Exclusion

94.      A Settlement Class Member may opt out of the Settlement Class. To exercise this exclusion
right, the Settlement Class Member must send a written notification of the decision to request
exclusion via certified or first class mail to the Class Action Settlement Administrator. The request
for exclusion must bear the signature of the Settlement Class Member (even if represented by
counsel), and the Settlement Class Member’s current address and telephone number. If the
Settlement Class Member has entered into a written or oral agreement to be represented by counsel,
the request for exclusion shall also be signed by the attorney who represents the Settlement Class
Member. Such requests must be postmarked or personally delivered on such schedule as the Court
may direct. In seeking Preliminary Approval of this Agreement, the Parties will request that the
deadline for submission of requests for exclusion shall be set on a date no less than sixty (60) days
after the Direct Notices are mailed. That deadline will be stated in the Direct Notice. Exclusions
sent by any Settlement Class Member to incorrect locations shall not be valid. The Class Action
Settlement Administrator shall forward within five (5) days copies of any written requests for
exclusion to Lead Class Counsel and Defendant’s Counsel. A list reflecting all requests for
exclusion shall be filed with the Court by the Class Action Settlement Administrator no later than
twenty-one (21) days before the Final Approval Hearing. If a potential Settlement Class Member
files a request for exclusion, he or she may not file an objection under Paragraphs 98-101.

95.    Any Settlement Class Member who has not timely and properly filed a written request for
exclusion as provided in Paragraph 94 shall be bound by the Settlement and all subsequent
proceedings, orders, and judgments, including, but not limited to, the Release and Final Approval
Order. Any Settlement Class Member who elects to opt out of the Settlement Class pursuant to
this Agreement shall not be entitled to relief under or affected by this Agreement.

96.     Settlement Class Members who have elected to opt out of the Settlement Class may
withdraw their opt out requests prior to the Effective Date, but only if they accept the benefits and
terms of this Settlement and dismiss with prejudice any other pending action against Defendant
arising out of PCB-related impairments to water bodies.

97.     Lead Class Counsel shall have the right to contact persons who file exclusion requests and
to challenge the timeliness and validity of any exclusion requests, as well as the right to effect the
withdrawal of any exclusion filed in error and any exclusion request which a Settlement Class
Member wishes to withdraw for purposes of participating in the Settlement as set forth in this
Agreement. The Court shall determine whether any of the contested opt-outs are valid.

B.     Objections

98.     A Settlement Class Member may object to the Settlement. To exercise this objection right,
the Settlement Class Member must provide written notice of the objection via certified or first
class mail to the Court and the Class Action Settlement Administrator. The objection must bear
the signature of the Settlement Class Member (even if represented by counsel), the Settlement
Class Member’s current address and telephone number, and state the exact nature of the objection
including any legal support the Settlement Class Member wishes to introduce in support of the



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objection, and whether or not the Settlement Class Member intends to appear at the Final Approval
Hearing. If the Settlement Class Member is represented by counsel, the objection shall also be
signed by the attorney who represents the Settlement Class Member and state whether the attorney
representing the objector will appear at the Final Approval Hearing. Such objection must be
postmarked or personally delivered on such schedule as the Court may direct. In seeking
Preliminary Approval of this Agreement, the Parties will request that the deadline for submission
of notice of objections shall be set on a date no less than sixty (60) days after the Direct Notices
are mailed. Objections sent by any Settlement Class Member to incorrect locations shall not be
valid.

99.   The Class Action Settlement Administrator shall forward any objection(s) to Class Counsel
and Defendant’s Counsel within five (5) days of receipt.

100. Any Settlement Class Member who fails to comply with the provisions of Paragraph 94-
98 above shall waive and forfeit any and all rights to appear separately and/or to object, and shall
be bound by all the terms of this Settlement Agreement and by all subsequent proceedings, orders
and judgments, including, but not limited to, the Release, the Final Order and the Final Judgment
in the Actions. The exclusive means for any challenge to this Settlement shall be through the
provisions of this Section VI.B. Without limiting the foregoing, any challenge to the Settlement or
Final Approval Order shall be pursuant to appeal under the Federal Rules of Appellate Procedure
and not through a collateral attack.

101. Any Settlement Class Member who objects to the Settlement shall be entitled to all of the
benefits of the Settlement if this Settlement Agreement and the terms contained herein are
approved, as long as the objecting Settlement Class Member complies with all requirements of this
Settlement Agreement applicable to Settlement Class Members, including the timely submission
of an Application and other requirements herein.

C.     Cancellation

102. Before the Parties move the Court for Final Approval of the Settlement, Defendant has the
option to withdraw from the settlement, if any Named Class Action Plaintiff listed in Paragraph
27 or more than two percent (2%) of the Settlement Class Members opt out of the Settlement.

                         VII. ATTORNEYS’ FEES AND EXPENSES

103. In advance of the date set by the Court for Objections, Class Counsel agrees to request
approval of an award of all Attorneys’ Fees and Expenses in a total amount not to exceed
$98,000,000 to be paid in addition to the total Settlement Fund for Settlement Class Members.
Class Counsel’s Attorneys’ Fees and Expenses are separate and apart from, and therefore will not
be deducted from, the Settlement Fund. Defendant agrees to pay only the amount of Attorneys’
Fees and Expenses actually awarded by the Court within thirty (30) days of the Effective Date.
The amount of Attorneys’ Fees and Expenses was negotiated during the mediation process after
the substantive terms of the Settlement, including the Settlement Fund amount for Settlement Class
Members, were finalized. In support of its request for a Court award of Attorneys’ Fees and
Expenses, Lead Class Counsel may attach a declaration of the Mediator, declarations of other
experts, and additional supporting documentation.



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104. If the request for an award of Attorneys’ Fees and Expenses is finally approved by the
Court and upheld on any appeal, then Defendant shall pay the amount ordered by the Court via
electronic transfer to Lead Class Counsel within thirty (30) days after the Effective Date, provided
that Lead Class Counsel has submitted appropriate routing information and payment information
reasonably necessary for Defendant to process such transfer.

105. Lead Class Counsel shall distribute Attorneys’ Fees and Expenses to Co-Class Counsel.
Should a dispute arise regarding the distribution, the cost shall be borne by Class Counsel. Neither
this Agreement nor the Class Benefit are conditioned on the award of any particular amount of
Class Counsel Attorneys’ Fees and/or Expenses. No Attorneys’ Fees and/or Expenses will be paid
from the Settlement Fund.

                                  VIII. MUTUAL RELEASE

106. Upon entry of the Final Approval Order, Defendant and Released Persons will have
released all claims arising from PCB contamination that were or could have been alleged against
any Named Class Plaintiffs, Settlement Class Members, and/or Releasing Persons. Upon entry of
the Final Approval Order, the Releasing Persons will have released the Released Persons from the
Released Claims. All Releases provided herein shall be mutual between Plaintiffs, Class Members,
and Releasing Persons, on the one hand, and Defendant and Released Persons on the other hand.
Nothing in this Agreement shall affect or limit any defenses Defendant may have in or against any
claims or actions asserted against Defendant by any person or persons who are not parties to this
Settlement Agreement for any Released Claim, including but not limited to any defense based on
protection from contribution claims or actions under any applicable federal, state, or local law.

107. Each Settlement Class Member agrees to be responsible for any liens, interests, actions, or
claims asserted by any third party, in a derivative manner, for or against the portion of Settlement
Funds allocated to that Settlement Class Member, including without limitation, any derivative
actions or claims asserted by any insurers, agents, representatives, successors, predecessors,
assigns, attorneys, bankruptcy trustees, and any and all other persons, firms, corporations,
associations, and other legal entities who may claim through them in a derivative manner.

108. If any Settlement Class Member brings an action or asserts a claim against Defendant
contrary to the terms of the Settlement Agreement, Defendant shall provide Lead Class Counsel
with a copy of the Settlement Class Member’s complaint. Lead Class Counsel agrees to contact
counsel of record for the Settlement Class Member and advise him or her of the Settlement
Agreement.

                            IX. MISCELLANEOUS PROVISIONS

A.     For Settlement Purposes Only/No Admissions

109. The Settlement Agreement is for settlement purposes only, and neither the fact of, nor any
provision contained in, this Agreement or its Exhibits, nor any action taken hereunder shall
constitute, be construed as, or be admissible in evidence as an admission of: (a) the validity of any
claim or allegation by Plaintiffs, or of any defense asserted by Defendant in the Action; (b) the
propriety of class certification or proceeding in whole or in part on a classwide basis for purposes
of litigation and/or trial in this Action or any future action against one or more Defendant or any


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Released Party; or (c) any wrongdoing, fault, violation of law, or liability of any kind on the part
of any Defendant or Released Party.

110. In the event that this Agreement does not become effective for any reason, this Agreement
shall become null and void and of no further force and effect. In such instance, this Agreement
and any negotiations, statements, communications, proceedings, and pleadings relating thereto,
and the fact that the Parties agreed to the Agreement, shall be without prejudice to the rights of
Plaintiffs or Defendant or any Settlement Class Member, shall not be used for any purpose
whatsoever in any subsequent proceeding in this Action or in any other action in any court or
tribunal, and shall not be construed as an admission or concession by any party of any fact, matter,
or allegation. In the event that this Agreement does not become effective, Plaintiffs, Defendant,
and the Settlement Class Members shall be restored without prejudice to their respective positions
as if the Agreement, any application for its approval by the Court, and the proposed amended
complaint in the City of Long Beach action had not been made, submitted, or filed.
Notwithstanding the foregoing, in the event that the Court should refuse to approve any material
part of this Agreement or the Exhibits thereto or if, on appeal, an appellate court fails to affirm the
judgment entered pursuant to this Agreement, then the Parties may (but are not obligated to) agree
in writing to amend this Agreement and proceed with the Settlement as so amended. Neither any
award to a Named Class Plaintiff in an amount less than that sought, nor an award of attorneys’
fees, costs, and disbursement to Class Counsel in an amount less than that requested by Class
Counsel, nor a reversal on appeal of any such award shall be deemed to be a modification of a
material part of this Agreement that causes the Agreement to become null and void pursuant to
this section.

B.     Alternative Dispute Resolution

111. So that the Settling Parties do not have to return to Court, if any disputes arise out of
finalization of the settlement documentation or out of the Settlement itself, said disputes are to be
resolved by the Mediator first by way of mediation. If for any reason the Mediator is unavailable
or has a conflict, the Settling Parties will agree on a substitute neutral so that this clause may be
enforced without returning to Court. If the Settling Parties cannot agree upon a substitute neutral,
they will jointly petition either the Mediator or the Court to select a neutral for them to enforce
this clause.

112. If the Parties cannot resolve disputes via mediation, the Court will retain jurisdiction to
enforce the terms of this Agreement and will be the ultimate arbiter of any disagreements.

113. Nothing in this provision is intended to prevent the Court from exercising its authority to
inquire about the bases for settlement, settlement terms, the implementation of the settlement, or
the information provided to the Court in connection with preliminary or final approval of the
Settlement.

C.     Exclusive Remedy; Dismissal of Actions; Continuing Jurisdiction of the Court

114. Each and every Settlement Class Member who has not requested exclusion pursuant to this
Agreement submits to the jurisdiction of the Court and will be bound by the terms of this
Settlement (including, without limitation, any and all releases).



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115. This Agreement shall be the sole and exclusive remedy for any and all Released Claims,
and upon entry of the Final Judgment by the Court, each Settlement Class Member who has not
opted out of the Class shall be barred from initiating, asserting, or prosecuting any such Released
Claims against Defendant.

116.   Upon the entry of the Final Approval Order, this Action will be dismissed with prejudice.

117. No later than ten (10) days following the Effective Date, the Parties shall file a joint
stipulation of voluntary dismissal with prejudice and without costs under Fed. R. Civ. P. 41 in each
of the related Underlying Actions.

D.     Best Efforts

118. The Parties, Lead Class Counsel, Co-Class Counsel, and Defendant’s Counsel agree to use
their best efforts to obtain Court approval of this Settlement, and agree to support all terms of the
Settlement Agreement in documents filed with the Court. They further agree to execute all such
additional documents as shall be reasonably necessary to carry out the provisions of this
Agreement.

E.     Administrative Costs

119. Except as provided in Sections V (Notice) and VII (Attorneys’ Fees and Expenses), each
of the Named Class Plaintiffs and the Defendant shall be solely responsible for his, her, or its own
costs and expenses.

F.     Taxes

120. Plaintiffs, Settlement Class Members, Lead Class Counsel, and Co-Class Counsel shall be
responsible for paying any and all federal, state, and local taxes due on any payments made to
them pursuant to the Settlement Agreement.

G.     Public Statements

121. Lead Class Counsel, Co-Class Counsel, and Defendant’s Counsel shall not disparage the
terms of this Settlement Agreement.

H.     Complete Agreement

122. This Settlement Agreement and its Exhibits represent the complete agreement as to each
and every term agreed to by and among Named Class Plaintiffs, the Settlement Class Members,
and Defendant. The Settlement contemplated by this Agreement is not subject to any condition not
expressly provided for herein, and there exist no collateral or oral agreements relating to the subject
matter of the Agreement. In entering into this Settlement Agreement, no Party has made or relied
on any warranty, promise, inducement or representation not specifically set forth herein. Any
agreement purporting to change or modify the terms of this Agreement or the Exhibits hereto must
be in writing, signed by Lead Class Counsel and Defendant’s Counsel. The Parties agree that
California law applies to the interpretation of this Agreement.



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123. All the Exhibits attached hereto or referred to herein are incorporated as if fully set forth
in the body of the Agreement.

I.     Headings for Convenience Only

124. The headings in this Settlement Agreement are for the convenience of the reader only and
shall not affect the meaning or interpretation of this Settlement Agreement.

J.     No Party Is the Drafter

125. None of the Parties shall be considered to be the primary drafter of this Settlement
Agreement or any provision hereof for the purpose of any rule of interpretation or construction
that might cause any provision to be construed against the drafter.

K.     Binding Effect

126. This Settlement Agreement shall be binding according to its terms upon, and inure to the
benefit of, Named Class Plaintiffs, Settlement Class Members, and Defendant, and their respective
agents, successors, and assigns.

L.     Authorization to Enter Settlement Agreement

127. Lead Class Counsel represents that they are fully authorized to conduct settlement
negotiations with counsel for Defendant on behalf of Named Class Plaintiffs and the Settlement
Class Members, and to enter into, and to execute, this Settlement Agreement on behalf of Named
Class Plaintiffs and the Settlement Class Members, subject to Court approval pursuant to Federal
Rule of Civil Procedure 23(e).

128. Defendant represents and warrants that: (a) it has all requisite corporate power and
authority to execute, deliver and perform this Agreement and to consummate the transactions
contemplated hereby; (b) the execution, delivery, and performance of this Agreement have been
duly authorized by all necessary corporate action on the part of Defendant; (c) its signatories to
the Agreement have full authority to sign on behalf of and to bind Defendant to its terms; and (d)
this Agreement has been duly and validly executed and delivered by Defendant and constitutes its
legal, valid and binding obligations.

129. Lead Class Counsel and Defendant’s Counsel represent that they have been fully
authorized to execute this Agreement on behalf of their respective clients.

M.     Execution in Counterparts

130. This Settlement Agreement may be executed in counterparts, and the execution of
counterparts shall have the same effect as if all Parties had signed the same instrument. Facsimile
signatures shall be considered as valid signatures as of the date signed, although the original
signature dates shall thereafter be appended to the Settlement Agreement. This Settlement
Agreement shall not be deemed executed until signed by Lead Class Counsel and Defendant’s
Counsel.



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N.     California Civil Code § 1542

131. The Parties have read, understood, and consulted with their attorneys and have been fully
advised by them as to the contents and meaning of Section 1542 of the Civil Code of California,
which provides that:

              A general release does not extend to claims which the creditor does
              not know or suspect to exist in his or her favor at the time of
              executing the release, which if known by him or her must have
              materially affected his or her settlement with the debtor.

              The Parties shall be deemed to have knowingly and voluntarily
              waived and relinquished all rights and benefits afforded by
              California Civil Code Section 1542, and by any comparable
              statutory provision or common law rule that provides, in sum or
              substance, that a general release does not extend to claims which the
              party does not know or suspect to exist in its favor at the time of
              executing the release, which if known by it must have materially
              affected the settlement. The Parties hereby agree and acknowledge
              that this waiver is an essential term of this Settlement Agreement
              without which the consideration given herein by Defendant would
              not have been given.

        IN WITNESS THEREOF, the Parties have executed this Settlement Agreement as of the
dates set forth below.

       Signatures start on next page




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      CITY OF LONG BEACH,
      a municipal corporation


      By: _                  3"•                   Date:
              Thomas B. Modica
              City Manager            SECTION 301 OF
                                   THE CITY CHARTER

      Approved as to form:

      CHARLES PARKIN, City Attorney


      By:                    ^                     Date:
                                                   Date:   ^^   ^
                    Deputy




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  DATED: December 22, 2020          COUNTY OF LOS ANGELES


                                     ____________________
                                 By_____________________________
                                      FICE OF
                                   OFFICE  OF THE COUNTY
                                                     COUNT COUNSEL
                                   Rodrigo A. Castro-Silva, Acting County Counsel
                                   Scott Kuhn, Assistant County Counsel
                                   Andrea Ross, Principal Deputy County Counsel
                                   Tracy Swann, Senior Deputy County Counsel
                                   Joseph Mellis, Deputy County Counsel

                                    Attorneys for Plaintiff
                                    COUNTY OF LOS ANGELES




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   DATED: December 23, 2020          ____________________________________

                                     CITY OF CHULA VISTA

                                     By__________________________________
                                        Maria Kachadoorian, City Manager




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    DATED: December 28, 2020         CITY OF SAN DIEGO.


                                                                     .We»_o   v
                                           Chief Financial Officer



    DATED: December 28, 2020         MARA W ELLIOTT, City Attorney



                                           Mark Ankcom
                                           Chief Deputy City Attorney




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     DATED:   December 22, 2020         CITY OF SAN JOSE
                                               Nora Jt/mwi
                                        By:    Nora Frimann (Dec 22,2020 11:48 PST)




                                        NORA FRIMANN
                                        City Attorney
                                        Office of the City Attorney
                                        200 E. Santa Clara Street, 16th Floor
                                        San Jose California 95113-1905
                                        Tel: (408) 535-1900
                                        Email: caomain@sanioseca.gov

                                        Attorneys for City of San Jose




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      DATED: December 22, 2020          CITY
                                          TY OF OAKLAND
                                             OF OAKLAN
                                                    AND

                                        By:
                                        Barbara    Parker
                                           bara J. Pa
                                                   P arker
                                        City Attorney for the City of Oakland
                                        One Frank H. Ogawa Plaza, 6th Floor
                                        Oakland, CA 94612
                                        (510) 238-3601
                                        Counsel for the City of Oakland
                                        Subject to City Council Approval




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        DATED: December 28, 2020           CITY OF BERKELEY

                                           By:
                                                    Farimah Faiz Brown
                                                    City Attorney




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                                    FINAL FOR EXECUTION

                                            CITY OF SPOKAN


                                            By:^/AdJruAra/itJ'
                                                  Nadine Woodward. Mayor
                                                  Cityof Spokane
                                                  Subject to City Council Approval
       DATED:
                    IX/ji f/S-Q^O


       Attest:
                                            Approved as ti/fbra'i:

                                                            /

       City Clerk
                                                      z.    r
                                            Assistant City Attorney
                                                                    //




                         **
                              gS-S!£5fj




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                                    #:8182
                   FINAL FOR EXECUTION

                         CITY OF TACOMA

                         _________________________
                         Elizabeth A. Pauli
                         Tacoma City Manager

                         Date: 12/28/2020




                         Date: 12/28/2020

                         Approved as to Form:


                         William C. Fosbre
                         Tacoma City Attorney
                         Date: 12/28/2020




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                             FINAL FOR EXECUTION

     DATED: VeLhgboZO               CITY OF PORTLAND


                                    Karen L. Moynahan, O No. 954924
                                    Chief Deputy City Attorney
                                    Email: karen.movnahan@portlandoregon.gov
                                    Subject to Portland City Council Approval




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DocuSign Envelope ID: 29B05F9F-4949-4F6F-816A-153CD22B1ED4


                                                    FINAL FOR EXECUTION

            DATED: December 21, 2020                         THE PORT OF PORTLAND


                                                             By: _________________________________

                                                             Print Name: Curtis Robinhold

                                                             As Its: Executive Director
                                                                    12/21/2020
                                                             Date: ________________________________

                                                             APPROVED FOR LEGAL SUFFICIENCY
                                                             FOR THE PORT:

                                                             By: __________________________________
                                                             Counsel for The Port of Portland




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                          FINAL FOR EXECUTION


WITNESS:                            BALTIMORE COUNTY, MARYLAND


_________________________
                 12.23.2020   By:   ________________________________
                                                                 12.23.2020
                                    Stacy L. Rodgers            Date
                                    County Administrative Officer
                                    Baltimore County Administrative Office
                                    400 Washington Avenue
                                    Towson, Maryland 21204
                                    (410) 887-2450
                                    srodgers@baltimorecountymd.gov

                                    Approved for Form and
                                    Legal Sufficiency
                                                                      12.23.2020
                                    ________________________________
                                    James R. Benjamin, Jr.       Date
                                    County Attorney
                                    Baltimore County Office of Law
                                    400 Washington Avenue
                                    Towson, Maryland 21204
                                    (410) 887-4420
                                    jrbenjamin@baltimorecountymd.gov
                                    Bar No. 27056




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                            FINAL FOR EXECUTION

   DATED: December 28, 2020    MAYOR AND CITY COUNCIL OF BALTIMORE

                               __________________________________________
                               Dana P. Moore, Acting City Solicitor

                               Baltimore City Department of Law
                               100 N. Holliday Street, Suite 109
                               Baltimore, MD 21202
                               443-388-2190
                               Law.danapmoore@baltimorecity.gov
                                Sara.gross@baltimorecity.go
                                v




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                          FINAL FOR EXECUTION

DATED: December 28, 2020     Monsanto Company




                             William B. Dodero
                             Vice President & Assistant General Counsel
                             Global Head Litigation
                             Bayer U.S. LLC
                             100 Bayer Boulevard
                             Whippany NJ 07981
                             United States


                             Monsanto Company as power of attorney for Pharmacia
                             LLC.




                             _____________________________________
                             William B. Dodero
                             Vice President & Assistant General Counsel
                             Global Head Litigation
                             Bayer U.S. LLC
                             100 Bayer Boulevard
                             Whippany NJ 07981
                             United States



                             Monsanto Company as power of attorney for Solutia, Inc.




                             William B. Dodero
                             Vice President & Assistant General Counsel
                             Global Head Litigation
                             Bayer U.S. LLC
                             100 Bayer Boulevard
                             Whippany NJ 07981
                             United States




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            Exhibit
              A



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  Exhibit A – Initial Settlement Class Members

                                               MS4 NPDES
   Class Member         State     Population                   Settlement Amount
                                               Phase I or II
   Anniston AL           AL           21,924        2             $    15,000
   Calhoun County AL     AL          115,018        2             $    25,000
   Etowah County AL      AL          102,849        2             $    25,000
   Gadsden AL            AL           35,622        2             $    15,000
   Glencoe AL            AL            5,148        2             $    15,000
   Hokes Bluff AL        AL            4,279        2             $    15,000

   Oxford AL             AL           21,197        2             $    15,000
   Rainbow City AL       AL            9,559        2             $    15,000
   Shelby County AL      AL          211,430        1             $    30,000
   Southside AL          AL            8,650        2             $    15,000
   West Memphis AR       AR           25,211        2             $    15,000
   Agoura Hills CA       CA           20,693        1             $    20,000
   Alameda CA            CA           79,061        1             $    20,000
   Alameda County CA     CA        1,650,306        1             $    30,000
   Albany CA             CA           19,729        1             $    20,000
   American Canyon CA    CA           20,350        2             $    15,000
   Anaheim CA            CA          350,848        1             $    30,000
   Antioch CA            CA          111,074        1             $    30,000
   Arcadia CA            CA           58,359        1             $    20,000
   Arcata CA             CA           18,099        2             $    15,000
   Arroyo Grande CA      CA           18,067        2             $    15,000
   Artesia CA            CA           16,846        1             $    20,000
   Azusa CA              CA           49,749        1             $    20,000
   Baldwin Park CA       CA           76,337        1             $    20,000
   Bellflower CA         CA           77,681        1             $    20,000
   Belmont CA            CA           27,192        1             $    20,000
   Belvedere CA          CA            2,124        2             $    15,000
   Benicia CA            CA           28,121        2             $    15,000
   Berkeley CA           CA          121,487        1             $    30,000
   Beverly Hills CA      CA           34,477        1             $    20,000
   Big Bear Lake CA      CA            5,235        1             $    20,000
   Bradbury CA           CA            1,078        1             $    20,000
   Brawley CA            CA           26,066        2             $    15,000
   Brentwood CA          CA           60,599        1             $    20,000
   Brisbane CA           CA            4,716        1             $    20,000
   Buena Park CA         CA           83,113        1             $    20,000
   Burlingame CA         CA           30,449        1             $    20,000




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                                                 MS4 NPDES
  Class Member             State   Population                    Settlement Amount
                                                 Phase I or II
  Butte County CA           CA        226,529         2             $    25,000
  Calabasas CA              CA         24,113         1             $    20,000
  Calexico CA               CA         40,046         2             $    15,000
  Capitola CA               CA         10,178         2             $    15,000
  Carson CA                 CA         92,710         1             $    20,000
  Cerritos CA               CA         50,436         1             $    20,000
  Chico CA                  CA         91,733         2             $    15,000
  Chula Vista CA            CA        266,610         1             $    30,000
  Claremont CA              CA         35,934         1             $    20,000
  Coachella CA              CA         44,832         1             $    20,000
  Colma CA                  CA          1,512         1             $    20,000
  Colusa County CA          CA         21,553         2             $    15,000
  Compton CA                CA         97,410         1             $    20,000
  Concord CA                CA        129,014         1             $    30,000
  Contra Costa County CA    CA      1,137,194         1             $    30,000
  Coronado CA               CA         25,107         1             $    20,000
  Corte Madera CA           CA          9,868         2             $    15,000
  Costa Mesa CA             CA        113,092         1             $    30,000
  Covina CA                 CA         48,466         1             $    20,000
  Culver City CA            CA         39,317         1             $    20,000
  Cupertino CA              CA         60,955         1             $    20,000
  Cypress CA                CA         48,877         1             $    20,000
  Daly City CA              CA        106,941         1             $    30,000
  Del Mar CA                CA          4,354         1             $    20,000
  Dixon CA                  CA         19,759         2             $    15,000
  Downey CA                 CA        113,066         1             $    30,000
  Duarte CA                 CA         21,763         1             $    20,000
  Dublin CA                 CA         59,561         1             $    20,000
  East Palo Alto CA         CA         29,823         1             $    20,000
  El Centro CA              CA         44,021         2             $    15,000
  El Cerrito CA             CA         25,459         1             $    20,000
  El Dorado County CA       CA        186,082         2             $    25,000
  El Monte CA               CA        115,657         1             $    30,000
  El Segundo CA             CA         16,860         1             $    20,000
  Emeryville CA             CA         11,782         1             $    20,000
  Encinitas CA              CA         62,980         1             $    20,000
  Eureka CA                 CA         27,162         2             $    15,000
  Fairfield CA              CA        114,545         1             $    30,000
  Folsom CA                 CA         77,088         1             $    20,000
  Foster City CA            CA         34,297         1             $    20,000
  Fountain Valley CA        CA         56,503         1             $    20,000




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                                               MS4 NPDES
  Class Member          State    Population                    Settlement Amount
                                               Phase I or II
  Fremont CA             CA         233,378         1             $    30,000
  Garden Grove CA        CA         174,805         1             $    30,000
  Gardena CA             CA          59,961         1             $    20,000
  Gilroy CA              CA          55,409         2             $    15,000
  Glendora CA            CA          51,947         1             $    20,000
  Gonzales CA            CA           8,448         2             $    15,000
  Grover Beach CA        CA          13,586         2             $    15,000
  Hawaiian Gardens CA    CA          14,448         1             $    20,000
  Hawthorne CA           CA          87,835         1             $    20,000
  Hayward CA             CA         159,147         1             $    30,000
  Hercules CA            CA          25,413         1             $    20,000
  Hermosa Beach CA       CA          19,750         1             $    20,000
  Hillsborough CA        CA          11,477         1             $    20,000
  Hollister CA           CA          37,533         2             $    15,000
  Humboldt County CA     CA         135,000         2             $    25,000
  Huntington Beach CA    CA         200,541         1             $    30,000
  Huntington Park CA     CA          58,780         1             $    20,000
  Imperial Beach CA      CA          27,365         1             $    20,000
  Imperial CA            CA          17,092         2             $    15,000
  Imperial County CA     CA         180,268         2             $    25,000
  Indian Wells CA        CA           5,325         1             $    20,000
  Indio CA               CA          88,340         1             $    20,000
  Industry CA            CA             207         1             $    20,000
  Inglewood CA           CA         110,470         1             $    30,000
  Irvine CA              CA         265,721         1             $    30,000
  Irwindale CA           CA           1,429         1             $    20,000
  La Mesa CA             CA          59,824         1             $    20,000
  La Palma CA            CA          15,762         1             $    20,000
  La Quinta CA           CA          40,812         1             $    20,000
  La Verne CA            CA          32,413         1             $    20,000
  Lafayette CA           CA          26,154         1             $    20,000
  Lake Elsinore CA       CA          63,861         1             $    20,000
  Lakewood CA            CA          80,997         1             $    20,000
  Larkspur CA            CA          12,392         2             $    15,000
  Lawndale CA            CA          33,086         1             $    20,000
  Lemon Grove CA         CA          26,805         1             $    20,000
  Livermore CA           CA          89,535         1             $    20,000
  Lomita CA              CA          20,665         1             $    20,000
  Long Beach CA          CA         469,435         1             $    30,000
  Los Alamitos CA        CA          11,646         1             $    20,000
  Los Altos CA           CA          30,750         1             $    20,000




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                                                  MS4 NPDES
  Class Member              State   Population                    Settlement Amount
                                                  Phase I or II
  Los Angeles CA             CA      3,969,262         1             $    30,000
  Los Angeles County CA      CA     10,120,540         1             $    30,000
  Lynwood CA                 CA         71,087         1             $    20,000
  Malibu CA                  CA         12,861         1             $    20,000
  Manhattan Beach CA         CA         35,664         1             $    20,000
  Marin County CA            CA        260,633         2             $    25,000
  Marina CA                  CA         21,655         2             $    15,000
  Martinez CA                CA         38,324         1             $    20,000
  Marysville CA              CA         12,194         2             $    15,000
  Menlo Park CA              CA         33,986         1             $    20,000
  Mill Valley CA             CA         14,355         2             $    15,000
  Millbrae CA                CA         22,773         1             $    20,000
  Milpitas CA                CA         77,878         1             $    20,000
  Monrovia CA                CA         37,079         1             $    20,000
  Monterey CA                CA         28,633         2             $    15,000
  Monterey County CA         CA        434,767         2             $    25,000
  Moraga CA                  CA         17,439         1             $    20,000
  Morgan Hill CA             CA         44,393         2             $    15,000
  Mountain View CA           CA         80,852         1             $    20,000
  Napa CA                    CA         79,781         2             $    15,000
  Napa County CA             CA        141,185         2             $    25,000
  National City CA           CA         61,038         1             $    20,000
  Newark CA                  CA         45,857         1             $    20,000
  Newport Beach CA           CA         86,647         1             $    20,000
  Norwalk CA                 CA        106,002         1             $    30,000
  Novato CA                  CA         55,939         2             $    15,000
  Oakland CA                 CA        420,798         1             $    30,000
  Oakley CA                  CA         40,680         1             $    20,000
  Orange CA                  CA        140,434         1             $    30,000
  Orange County CA           CA      3,170,707         1             $    30,000
  Orinda CA                  CA         19,510         1             $    20,000
  Oroville CA                CA         19,018         2             $    15,000
  Oxnard CA                  CA        207,754         1             $    30,000
  Pacific Grove CA           CA         15,616         2             $    15,000
  Pacifica CA                CA         39,247         1             $    20,000
  Palm Desert CA             CA         52,096         1             $    20,000
  Palo Alto CA               CA         67,406         1             $    20,000
  Palos Verdes Estates CA    CA         13,558         1             $    20,000
  Paradise CA                CA         26,505         2             $    15,000
  Paramount CA               CA         54,840         1             $    20,000
  Pasadena CA                CA        141,833         1             $    30,000




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                                                   MS4 NPDES
  Class Member               State   Population                    Settlement Amount
                                                   Phase I or II
  Petaluma CA                 CA         60,486         2             $    15,000
  Pico Rivera CA              CA         63,542         1             $    20,000
  Piedmont CA                 CA         11,385         1             $    20,000
  Pinole CA                   CA         19,328         1             $    20,000
  Pismo Beach CA              CA          8,174         2             $    15,000
  Pittsburg CA                CA         70,797         1             $    20,000
  Placer County CA            CA        379,288         2             $    25,000
  Pleasant Hill CA            CA         34,906         1             $    20,000
  Pleasanton CA               CA         82,314         1             $    20,000
  Pomona CA                   CA        152,637         1             $    30,000
  Port Hueneme CA             CA         22,265         1             $    20,000
  Port of San Diego           CA       #N/A             1             $    30,000
  Port of Stockton            CA       #N/A             1             $    30,000
  Rancho Cordova CA           CA         72,183         1             $    20,000
  Rancho Palos Verdes CA      CA         42,343         1             $    20,000
  Red Bluff CA                CA         14,147         2             $    15,000
  Redondo Beach CA            CA         67,905         1             $    20,000
  Redwood City CA             CA         85,328         1             $    20,000
  Richmond CA                 CA        109,652         1             $    30,000
  Rio Vista CA                CA          8,613         2             $    15,000
  Riverside County CA         CA      2,382,570         1             $    30,000
  Rolling Hills CA            CA          1,883         1             $    20,000
  Rolling Hills Estates CA    CA          8,216         1             $    20,000
  Ross CA                     CA          2,480         2             $    15,000
  Sacramento CA               CA        494,324         1             $    30,000
  Sacramento County CA        CA      1,511,510         1             $    30,000
  Salinas CA                  CA        157,144         1             $    30,000
  San Anselmo CA              CA         12,573         2             $    15,000
  San Bernardino County
  CA                          CA      2,134,174         1             $    30,000
  San Bruno CA                CA         43,166         1             $    20,000
  San Buenaventura
  (Ventura) CA                CA        110,127         1             $    30,000
  San Carlos CA               CA         29,903         1             $    20,000
  San Diego CA                CA      1,403,865         1             $    30,000
  San Diego County CA         CA      3,310,280         1             $    30,000
  San Dimas CA                CA         34,283         1             $    20,000
  San Francisco CA            CA        872,795         1             $    30,000
  San Francisco County CA     CA        872,795         1             $    30,000
  San Joaquin County CA       CA        732,185         1             $    30,000
  San Jose CA                 CA      1,030,359         1             $    30,000
  San Leandro CA              CA         90,666         1             $    20,000




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                                                 MS4 NPDES
  Class Member             State   Population                    Settlement Amount
                                                 Phase I or II
  San Luis Obispo County
  CA                        CA        281,958         2             $    25,000
  San Mateo CA              CA        104,420         1             $    30,000
  San Mateo County CA       CA        768,204         1             $    30,000
  San Pablo CA              CA         31,018         1             $    20,000
  San Rafael CA             CA         58,932         2             $    15,000
  San Ramon CA              CA         75,708         1             $    20,000
  Sand City CA              CA            382         2             $    15,000
  Santa Ana CA              CA        334,175         1             $    30,000
  Santa Clara CA            CA        126,561         1             $    30,000
  Santa Clara County CA     CA      1,929,581         1             $    30,000
  Santa Cruz CA             CA         64,452         2             $    15,000
  Santa Cruz County CA      CA        274,702         2             $    25,000
  Santa Fe Springs CA       CA         17,983         1             $    20,000
  Santa Monica CA           CA         92,330         1             $    20,000
  Sausalito CA              CA          7,137         2             $    15,000
  Scotts Valley CA          CA         11,929         2             $    15,000
  Seal Beach CA             CA         24,437         1             $    20,000
  Seaside CA                CA         34,276         2             $    15,000
  Sierra Madre CA           CA         11,040         1             $    20,000
  Signal Hill CA            CA         11,621         1             $    20,000
  Solana Beach CA           CA         13,417         1             $    20,000
  Solano County CA          CA        439,300         2             $    25,000
  Sonoma County CA          CA        503,249         1             $    30,000
  South El Monte CA         CA         20,837         1             $    20,000
  South Gate CA             CA         95,396         1             $    20,000
  South San Francisco CA    CA         67,286         1             $    20,000
  Stanton CA                CA         38,655         1             $    20,000
  Stockton CA               CA        306,407         1             $    30,000
  Suisun City CA            CA         29,391         1             $    20,000
  Sunnyvale CA              CA        153,633         1             $    30,000
  Sutter County CA          CA         95,898         2             $    15,000
  Temple City CA            CA         36,301         1             $    20,000
  Tiburon CA                CA          9,156         2             $    15,000
  Torrance CA               CA        146,660         1             $    30,000
  Tustin CA                 CA         80,357         1             $    20,000
  Union City CA             CA         75,438         1             $    20,000
  Vallejo CA                CA        121,064         1             $    30,000
  Ventura County CA         CA        848,921         1             $    30,000
  Vernon CA                 CA            113         1             $    20,000
  Walnut CA                 CA         29,971         1             $    20,000
  Walnut Creek CA           CA         69,235         1             $    20,000




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                                               MS4 NPDES
  Class Member           State   Population                    Settlement Amount
                                               Phase I or II
  Watsonville CA          CA         53,808         2             $    15,000
  West Covina CA          CA        107,607         1             $    30,000
  West Hollywood CA       CA         36,614         1             $    20,000
  West Sacramento CA      CA         52,946         2             $    15,000
  Westminster CA          CA         91,602         1             $    20,000
  Whittier CA             CA         86,732         1             $    20,000
  Wildomar CA             CA         36,034         1             $    20,000
  Yolo County CA          CA        215,530         2             $    25,000
  Yuba City CA            CA         66,308         2             $    15,000
  Yuba County CA          CA         75,002         2             $    15,000
  Ansonia CT              CT         18,807         2             $    15,000
  Bridgeport CT           CT        146,353         2             $    25,000
  Derby CT                CT         12,564         2             $    15,000
  Groton CT               CT          9,093         2             $    15,000
  Hartford CT             CT        123,679         2             $    25,000
  Milford CT              CT         52,550         2             $    15,000
  New Haven CT            CT        130,424         2             $    25,000
  New London CT           CT         27,024         2             $    15,000
  Norwalk CT              CT         88,487         2             $    15,000
  Shelton CT              CT         41,261         2             $    15,000
  Stamford CT             CT        129,042         1             $    30,000
  Stonington CT           CT            898         2             $    15,000
  Waterbury CT            CT        108,473         2             $    25,000
  West Haven CT           CT         54,644         2             $    15,000
  Delaware City DE        DE          1,818         1             $    20,000
  Dover DE                DE         37,236         2             $    15,000
  Elsmere DE              DE          6,053         1             $    20,000
  Middletown DE           DE         21,174         2             $    15,000
  New Castle County DE    DE        537,750         1             $    30,000
  New Castle DE           DE          5,033         1             $    20,000
  Newark DE               DE         33,264         2             $    15,000
  Newport DE              DE          1,042         1             $    20,000
  Wilmington DE           DE         70,919         1             $    20,000
  Honolulu County HI      HI        992,692         1             $    30,000
  Bettendorf IA           IA         35,742         2             $    15,000
  Buffalo IA              IA          1,286         2             $    15,000
  Carter Lake IA          IA          3,799         2             $    15,000
  Cedar Rapids IA         IA        131,169         2             $    25,000
  Council Bluffs IA       IA         62,490         2             $    15,000
  Davenport IA            IA        102,395         2             $    25,000
  Dubuque IA              IA         58,287         2             $    15,000




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                                               MS4 NPDES
  Class Member           State   Population                    Settlement Amount
                                               Phase I or II
  Le Claire IA            IA          3,967         2             $    15,000
  Riverdale IA            IA            437         2             $    15,000
  Lewiston ID             ID         32,645         2             $    15,000
  Post Falls ID           ID         31,546         2             $    15,000
  Algonquin IL            IL         30,913         2             $    15,000
  Alorton IL              IL          1,942         2             $    15,000
  Alsip IL                IL         19,225         2             $    15,000
  Alton IL                IL         26,892         2             $    15,000
  Antioch IL              IL         14,315         2             $    15,000
  Arlington Heights IL    IL         75,864         2             $    15,000
  Aurora IL               IL        200,945         2             $    25,000
  Barrington Hills IL     IL          4,236         2             $    15,000
  Barrington IL           IL         10,332         2             $    15,000
  Bartonville IL          IL          6,329         2             $    15,000
  Batavia IL              IL         26,368         2             $    15,000
  Beach Park IL           IL         13,990         2             $    15,000
  Bedford Park IL         IL            591         2             $    15,000
  Belleville IL           IL         41,857         2             $    15,000
  Bellevue IL             IL          1,987         2             $    15,000
  Bellwood IL             IL         19,173         2             $    15,000
  Belvidere IL            IL         25,223         2             $    15,000
  Berkeley IL             IL          5,173         2             $    15,000
  Bethalto IL             IL          9,316         2             $    15,000
  Bolingbrook IL          IL         74,427         2             $    15,000
  Boone County IL         IL         53,594         2             $    15,000
  Bridgeview IL           IL         16,445         2             $    15,000
  Broadview IL            IL          7,847         2             $    15,000
  Brookfield IL           IL         18,842         2             $    15,000
  Buffalo Grove IL        IL         41,419         2             $    15,000
  Burbank IL              IL         28,996         2             $    15,000
  Cahokia IL              IL         14,255         2             $    15,000
  Calumet City IL         IL         36,925         2             $    15,000
  Carbon Cliff IL         IL          2,011         2             $    15,000
  Carbondale IL           IL         25,926         2             $    15,000
  Carpentersville IL      IL         38,228         2             $    15,000
  Carterville IL          IL          5,870         2             $    15,000
  Cary IL                 IL         17,843         2             $    15,000
  Caseyville IL           IL          4,045         2             $    15,000
  Champaign County IL     IL        209,961         2             $    25,000
  Champaign IL            IL         87,156         2             $    15,000
  Channahon IL            IL         12,647         2             $    15,000




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                                                MS4 NPDES
  Class Member            State   Population                    Settlement Amount
                                                Phase I or II
  Cherry Valley IL         IL          2,900         2             $    15,000
  Chicago Heights IL       IL         30,146         2             $    15,000
  Chicago IL               IL      2,718,946         2             $    25,000
  Chicago Ridge IL         IL         14,288         2             $    15,000
  Chillicothe IL           IL          6,209         2             $    15,000
  Coal Valley IL           IL          3,777         2             $    15,000
  Collinsville IL          IL         24,753         2             $    15,000
  Colona IL                IL          5,151         2             $    15,000
  Columbia IL              IL         10,216         2             $    15,000
  Cook County IL           IL      5,199,000         2             $    25,000
  Cortland IL              IL          4,326         2             $    15,000
  Country Club Hills IL    IL         16,813         2             $    15,000
  Countryside IL           IL          5,995         2             $    15,000
  Crainville IL            IL          1,401         2             $    15,000
  Crest Hill IL            IL         20,691         2             $    15,000
  Crestwood IL             IL         10,921         2             $    15,000
  Creve Coeur IL           IL          5,225         2             $    15,000
  Crystal Lake IL          IL         40,144         2             $    15,000
  Decatur IL               IL         76,199         2             $    15,000
  Deerfield IL             IL         18,981         2             $    15,000
  DeKalb County IL         IL        103,984         2             $    25,000
  DeKalb IL                IL         42,716         2             $    15,000
  Des Plaines IL           IL         58,478         2             $    15,000
  Dolton IL                IL         22,974         2             $    15,000
  DuPage County IL         IL        931,680         2             $    25,000
  Dupo IL                  IL          3,903         2             $    15,000
  East Alton IL            IL          6,108         2             $    15,000
  East Dubuque IL          IL          1,628         2             $    15,000
  East Dundee IL           IL          3,177         2             $    15,000
  East Moline IL           IL         21,183         2             $    15,000
  East Peoria IL           IL         22,861         2             $    15,000
  East St. Louis IL        IL         26,819         2             $    15,000
  Edwardsville IL          IL         25,117         2             $    15,000
  Elgin IL                 IL        112,322         2             $    25,000
  Elk Grove Village IL     IL         33,047         2             $    15,000
  Evanston IL              IL         75,302         2             $    15,000
  Evergreen Park IL        IL         19,708         2             $    15,000
  Fairview Heights IL      IL         16,677         2             $    15,000
  Flossmoor IL             IL          9,400         2             $    15,000
  Forest Park IL           IL         14,067         2             $    15,000
  Fox Lake IL              IL         10,532         2             $    15,000




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                                               MS4 NPDES
  Class Member          State    Population                    Settlement Amount
                                               Phase I or II
  Fox River Grove IL     IL           4,651         2             $    15,000
  Franklin Park IL       IL          18,165         2             $    15,000
  Geneva IL              IL          21,837         2             $    15,000
  Germantown Hills IL    IL           3,486         2             $    15,000
  Gilberts IL            IL           7,741         2             $    15,000
  Glencoe IL             IL           8,946         2             $    15,000
  Glenview IL            IL          47,725         2             $    15,000
  Glenwood IL            IL           8,948         2             $    15,000
  Golf IL                IL             489         2             $    15,000
  Granite City IL        IL          28,852         2             $    15,000
  Grayslake IL           IL          20,986         2             $    15,000
  Green Oaks IL          IL           3,835         2             $    15,000
  Gurnee IL              IL          30,900         2             $    15,000
  Hainesville IL         IL           3,661         2             $    15,000
  Hampton IL             IL           1,790         2             $    15,000
  Hartford IL            IL           1,373         2             $    15,000
  Harwood Heights IL     IL           8,575         2             $    15,000
  Hawthorn Woods IL      IL           8,199         2             $    15,000
  Henry County IL        IL          49,511         2             $    15,000
  Hickory Hills IL       IL          14,045         2             $    15,000
  Highland Park IL       IL          29,699         2             $    15,000
  Highwood IL            IL           5,353         2             $    15,000
  Hillside IL            IL           8,111         2             $    15,000
  Hodgkins IL            IL           1,907         2             $    15,000
  Hoffman Estates IL     IL          51,871         2             $    15,000
  Homer Glen IL          IL          24,431         2             $    15,000
  Homewood IL            IL          19,240         2             $    15,000
  Indian Head Park IL    IL           3,811         2             $    15,000
  Inverness IL           IL           7,565         2             $    15,000
  Island Lake IL         IL           8,079         2             $    15,000
  Johnsburg IL           IL           6,309         2             $    15,000
  Joliet IL              IL         148,001         2             $    25,000
  Justice IL             IL          12,924         2             $    15,000
  Kane County IL         IL         531,463         2             $    25,000
  Kendall County IL      IL         124,592         2             $    25,000
  Kenilworth IL          IL           2,541         2             $    15,000
  La Grange IL           IL          15,693         2             $    15,000
  La Grange Park IL      IL          13,536         2             $    15,000
  Lake Barrington IL     IL           4,920         2             $    15,000
  Lake Bluff IL          IL           5,675         2             $    15,000
  Lake County IL         IL         704,644         2             $    25,000




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                                               MS4 NPDES
  Class Member           State   Population                    Settlement Amount
                                               Phase I or II
  Lake Forest IL          IL         19,410         2             $    15,000
  Lake in the Hills IL    IL         28,817         2             $    15,000
  Lake Villa IL           IL          8,748         2             $    15,000
  Lakemoor IL             IL          6,053         2             $    15,000
  Lakewood IL             IL          3,875         2             $    15,000
  Lansing IL              IL         28,185         2             $    15,000
  Lemont IL               IL         16,957         2             $    15,000
  Libertyville IL         IL         20,480         2             $    15,000
  Lincolnshire IL         IL          7,278         2             $    15,000
  Lincolnwood IL          IL         12,572         2             $    15,000
  Lindenhurst IL          IL         14,534         2             $    15,000
  Lockport IL             IL         25,176         2             $    15,000
  Long Grove IL           IL          8,034         2             $    15,000
  Loves Park IL           IL         23,436         2             $    15,000
  Machesney Park IL       IL         22,887         2             $    15,000
  Macon County IL         IL        110,784         2             $    25,000
  Macon IL                IL          1,136         2             $    15,000
  Madison County IL       IL        265,733         2             $    25,000
  Madison IL              IL          3,845         2             $    15,000
  Marion IL               IL         17,657         2             $    15,000
  Matteson IL             IL         19,242         2             $    15,000
  Maywood IL              IL         23,844         2             $    15,000
  McCullom Lake IL        IL          1,013         2             $    15,000
  McHenry County IL       IL        307,296         2             $    25,000
  McHenry IL              IL         26,635         2             $    15,000
  Melrose Park IL         IL         25,406         2             $    15,000
  Midlothian IL           IL         14,750         2             $    15,000
  Milan IL                IL          5,084         2             $    15,000
  Minooka IL              IL         11,259         2             $    15,000
  Moline IL               IL         42,400         2             $    15,000
  Monee IL                IL          5,126         2             $    15,000
  Montgomery IL           IL         19,616         2             $    15,000
  Morton Grove IL         IL         23,302         2             $    15,000
  Mount Carmel IL         IL          7,021         2             $    15,000
  Mount Prospect IL       IL         55,196         2             $    15,000
  Mount Zion IL           IL          5,849         2             $    15,000
  Mundelein IL            IL         31,441         2             $    15,000
  Niles IL                IL         29,717         2             $    15,000
  Norridge IL             IL         14,537         2             $    15,000
  North Aurora IL         IL         17,346         2             $    15,000
  North Barrington IL     IL          3,008         2             $    15,000




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                                                MS4 NPDES
  Class Member            State   Population                    Settlement Amount
                                                Phase I or II
  North Chicago IL         IL         29,941         2             $    15,000
  Northbrook IL            IL         33,547         2             $    15,000
  Northfield IL            IL          5,504         2             $    15,000
  Northlake IL             IL         11,380         2             $    15,000
  Oak Forest IL            IL         27,893         2             $    15,000
  Oak Lawn IL              IL         56,494         2             $    15,000
  Oakwood Hills IL         IL          2,046         2             $    15,000
  Olympia Fields IL        IL          4,920         2             $    15,000
  Orland Park IL           IL         58,997         2             $    15,000
  Oswego IL                IL         34,479         2             $    15,000
  Palatine IL              IL         69,010         2             $    15,000
  Palos Heights IL         IL         12,490         2             $    15,000
  Palos Hills IL           IL         17,475         2             $    15,000
  Palos Park IL            IL          4,862         2             $    15,000
  Park City IL             IL          7,532         2             $    15,000
  Park Forest IL           IL         21,822         2             $    15,000
  Pekin IL                 IL         32,764         2             $    15,000
  Peoria County IL         IL        185,073         2             $    25,000
  Peoria Heights IL        IL          5,934         2             $    15,000
  Peoria IL                IL        114,189         2             $    25,000
  Plainfield IL            IL         42,937         2             $    15,000
  Pontoon Beach IL         IL          5,703         2             $    15,000
  Port Barrington IL       IL          1,487         2             $    15,000
  Prairie Grove IL         IL          1,865         2             $    15,000
  Prospect Heights IL      IL         16,299         2             $    15,000
  Rapids City IL           IL            957         2             $    15,000
  Richton Park IL          IL         13,644         2             $    15,000
  River Grove IL           IL         10,177         2             $    15,000
  Riverdale IL             IL         13,462         2             $    15,000
  Riverwoods IL            IL          3,645         2             $    15,000
  Robbins IL               IL          5,498         2             $    15,000
  Rochester IL             IL          3,753         2             $    15,000
  Rock Island County IL    IL        145,230         2             $    25,000
  Rock Island IL           IL         38,257         2             $    15,000
  Rockdale IL              IL          1,953         2             $    15,000
  Rockford IL              IL        147,781         2             $    25,000
  Rockton IL               IL          7,494         2             $    15,000
  Rolling Meadows IL       IL         24,088         2             $    15,000
  Romeoville IL            IL         39,724         2             $    15,000
  Roscoe IL                IL         10,562         2             $    15,000
  Rosemont IL              IL          4,185         2             $    15,000




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                                                   MS4 NPDES
  Class Member               State   Population                    Settlement Amount
                                                   Phase I or II
  Round Lake Beach IL         IL         27,732         2             $    15,000
  Round Lake Heights IL       IL          2,706         2             $    15,000
  Round Lake IL               IL         18,519         2             $    15,000
  Round Lake Park IL          IL          7,630         2             $    15,000
  Roxana IL                   IL          1,473         2             $    15,000
  Sangamon County IL          IL        198,004         2             $    25,000
  Sauget IL                   IL            171         2             $    15,000
  Schaumburg IL               IL         74,650         2             $    15,000
  Schiller Park IL            IL         11,729         2             $    15,000
  Sherman IL                  IL          4,673         2             $    15,000
  Shorewood IL                IL         17,040         2             $    15,000
  Skokie IL                   IL         64,494         2             $    15,000
  Sleepy Hollow IL            IL          3,312         2             $    15,000
  South Barrington IL         IL          4,929         2             $    15,000
  South Beloit IL             IL          7,696         2             $    15,000
  South Chicago Heights IL    IL          4,120         2             $    15,000
  South Elgin IL              IL         22,387         2             $    15,000
  South Holland IL            IL         21,901         2             $    15,000
  South Roxana IL             IL          2,019         2             $    15,000
  Spring Grove IL             IL          5,677         2             $    15,000
  Springfield IL              IL        116,540         2             $    25,000
  St. Charles IL              IL         32,676         2             $    15,000
  St. Clair County IL         IL        270,342         2             $    25,000
  Steger IL                   IL          9,462         2             $    15,000
  Stone Park IL               IL          4,931         2             $    15,000
  Swansea IL                  IL         13,543         2             $    15,000
  Sycamore IL                 IL         17,878         2             $    15,000
  Tazewell County IL          IL        133,887         2             $    25,000
  Thornton IL                 IL          2,468         2             $    15,000
  Tinley Park IL              IL         56,985         2             $    15,000
  Tolono IL                   IL          3,475         2             $    15,000
  Tower Lakes IL              IL          1,257         2             $    15,000
  University Park IL          IL          7,030         2             $    15,000
  Urbana IL                   IL         42,524         2             $    15,000
  Vernon Hills IL             IL         26,318         2             $    15,000
  Volo IL                     IL          5,203         2             $    15,000
  Wadsworth IL                IL          3,722         2             $    15,000
  Washington IL               IL         16,805         2             $    15,000
  Washington Park IL          IL          3,964         2             $    15,000
  Wauconda IL                 IL         13,801         2             $    15,000
  Waukegan IL                 IL         88,174         2             $    15,000




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  Class Member            State   Population                    Settlement Amount
                                                Phase I or II
  West Chicago IL          IL         27,330         2             $    15,000
  West Dundee IL           IL          7,361         2             $    15,000
  Westchester IL           IL         16,603         2             $    15,000
  Western Springs IL       IL         13,461         2             $    15,000
  Wheeling IL              IL         38,479         2             $    15,000
  Will County IL           IL        688,648         2             $    25,000
  Willow Springs IL        IL          5,751         2             $    15,000
  Wilmette IL              IL         27,357         2             $    15,000
  Winnebago County IL      IL        286,054         2             $    25,000
  Winnetka IL              IL         12,494         2             $    15,000
  Winthrop Harbor IL       IL          6,777         2             $    15,000
  Wonder Lake IL           IL          3,897         2             $    15,000
  Wood River IL            IL         10,223         2             $    15,000
  Woodstock IL             IL         25,128         2             $    15,000
  Worth IL                 IL         10,739         2             $    15,000
  Yorkville IL             IL         18,858         2             $    15,000
  Zion IL                  IL         24,072         2             $    15,000
  Alexandria IN            IN          5,017         2             $    15,000
  Allen County IN          IN        369,778         2             $    25,000
  Anderson IN              IN         55,082         2             $    15,000
  Angola IN                IN          8,604         2             $    15,000
  Arcadia IN               IN          1,660         2             $    15,000
  Auburn IN                IN         13,012         2             $    15,000
  Bartholomew County IN    IN         82,313         2             $    15,000
  Battle Ground IN         IN          1,921         2             $    15,000
  Bedford IN               IN         13,272         2             $    15,000
  Bloomington IN           IN         84,396         2             $    15,000
  Boone County IN          IN         64,168         2             $    15,000
  Bristol IN               IN          1,668         2             $    15,000
  Brooklyn IN              IN          1,579         2             $    15,000
  Brownsburg IN            IN         25,365         2             $    15,000
  Carmel IN                IN         90,762         2             $    15,000
  Cedar Lake IN            IN         12,205         2             $    15,000
  Chesterfield IN          IN          2,490         2             $    15,000
  Chesterton IN            IN         13,377         2             $    15,000
  Cicero IN                IN          4,818         2             $    15,000
  Clark County IN          IN        115,598         2             $    25,000
  Clarksville IN           IN         21,617         2             $    15,000
  Columbia City IN         IN          8,888         2             $    15,000
  Columbus IN              IN         47,306         2             $    15,000
  Crawfordsville IN        IN         16,051         2             $    15,000




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                                               MS4 NPDES
  Class Member          State    Population                    Settlement Amount
                                               Phase I or II
  Crown Point IN         IN          29,247         2             $    15,000
  Daleville IN           IN           1,597         2             $    15,000
  Dayton IN              IN           1,624         2             $    15,000
  Delaware County IN     IN         115,676         2             $    25,000
  East Chicago IN        IN          28,429         2             $    15,000
  Edgewood IN            IN           1,863         2             $    15,000
  Edinburgh IN           IN           4,569         2             $    15,000
  Elkhart County IN      IN         203,652         2             $    25,000
  Elkhart IN             IN          52,487         2             $    15,000
  Ellettsville IN        IN           6,616         2             $    15,000
  Evansville IN          IN         118,915         2             $    25,000
  Fishers IN             IN          89,868         2             $    15,000
  Floyd County IN        IN          76,697         2             $    15,000
  Fort Wayne IN          IN         263,777         2             $    25,000
  Fortville IN           IN           3,998         2             $    15,000
  Frankfort IN           IN          15,780         2             $    15,000
  Goshen IN              IN          32,919         2             $    15,000
  Grant County IN        IN          66,680         2             $    15,000
  Greensburg IN          IN          11,825         2             $    15,000
  Greenwood IN           IN          56,416         2             $    15,000
  Griffith IN            IN          16,234         2             $    15,000
  Hamilton County IN     IN         315,990         2             $    25,000
  Hamilton IN            IN           1,572         2             $    15,000
  Hammond IN             IN          77,104         2             $    15,000
  Hancock County IN      IN          73,728         2             $    15,000
  Hendricks County IN    IN         160,369         2             $    25,000
  Highland IN            IN          22,731         2             $    15,000
  Hobart IN              IN          28,293         2             $    15,000
  Howard County IN       IN          82,317         2             $    15,000
  Huntertown IN          IN           6,671         2             $    15,000
  Huntington IN          IN          17,096         2             $    15,000
  Indianapolis IN        IN         857,488         1             $    30,000
  Ingalls IN             IN           2,440         2             $    15,000
  Jasper IN              IN          15,431         2             $    15,000
  Jeffersonville IN      IN          46,831         2             $    15,000
  Johnson County IN      IN         151,575         2             $    25,000
  Jonesville IN          IN             192         2             $    15,000
  Kendallville IN        IN           9,851         2             $    15,000
  Knox County IN         IN          37,331         2             $    15,000
  Kokomo IN              IN          57,644         2             $    15,000
  Kosciusko County IN    IN          78,742         2             $    15,000




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                                               MS4 NPDES
  Class Member           State   Population                    Settlement Amount
                                               Phase I or II
  Lafayette IN            IN         72,024         2             $    15,000
  Lake County IN          IN        704,192         2             $    25,000
  Lake Station IN         IN         12,048         2             $    15,000
  LaPorte County IN       IN        110,254         2             $    25,000
  Lawrence IN             IN         48,364         2             $    15,000
  Lebanon IN              IN         15,696         2             $    15,000
  Leo-Cedarville IN       IN          3,758         2             $    15,000
  Logansport IN           IN         17,744         2             $    15,000
  Long Beach IN           IN          1,160         2             $    15,000
  Lowell IN               IN          9,528         2             $    15,000
  Madison County IN       IN        129,297         2             $    25,000
  Madison IN              IN         11,845         2             $    15,000
  Marion IN               IN         28,386         2             $    15,000
  Martinsville IN         IN         11,619         2             $    15,000
  McCordsville IN         IN          6,518         2             $    15,000
  Michigan City IN        IN         31,148         2             $    15,000
  Mishawaka IN            IN         48,923         2             $    15,000
  Monroe County IN        IN        145,748         2             $    25,000
  Montgomery County IN    IN         38,249         2             $    15,000
  Mooresville IN          IN          9,599         2             $    15,000
  Morgan County IN        IN         69,628         2             $    15,000
  Muncie IN               IN         69,174         2             $    15,000
  Munster IN              IN         22,833         2             $    15,000
  New Albany IN           IN         36,511         2             $    15,000
  New Castle IN           IN         17,351         2             $    15,000
  New Chicago IN          IN          1,968         2             $    15,000
  New Haven IN            IN         15,462         2             $    15,000
  Newburgh IN             IN          3,270         2             $    15,000
  Noblesville IN          IN         60,186         2             $    15,000
  Osceola IN              IN          2,483         2             $    15,000
  Parker City IN          IN          1,369         2             $    15,000
  Pendleton IN            IN          4,264         2             $    15,000
  Peru IN                 IN         11,109         2             $    15,000
  Plymouth IN             IN          9,982         2             $    15,000
  Portage IN              IN         36,584         2             $    15,000
  Porter County IN        IN        167,522         2             $    25,000
  Porter IN               IN          4,820         2             $    15,000
  Randolph County IN      IN         25,110         2             $    15,000
  Richmond IN             IN         36,569         2             $    15,000
  Roseland IN             IN            633         2             $    15,000
  Sellersburg IN          IN          8,770         2             $    15,000




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                                                MS4 NPDES
  Class Member            State   Population                    Settlement Amount
                                                Phase I or II
  Seymour IN               IN         19,365         2             $    15,000
  Shelby County IN         IN         44,259         2             $    15,000
  Shelbyville IN           IN         19,009         2             $    15,000
  South Bend IN            IN        101,884         2             $    25,000
  Southport IN             IN          1,761         2             $    15,000
  Speedway IN              IN         12,133         2             $    15,000
  St. Joseph County IN     IN        269,484         2             $    25,000
  Steuben County IN        IN         34,354         2             $    15,000
  Terre Haute IN           IN         60,655         2             $    15,000
  Tippecanoe County IN     IN        190,504         2             $    25,000
  Trail Creek IN           IN          2,010         2             $    15,000
  Valparaiso IN            IN         32,963         2             $    15,000
  Vanderburgh County IN    IN        181,306         2             $    25,000
  Vigo County IN           IN        107,851         2             $    25,000
  Vincennes IN             IN         17,575         2             $    15,000
  Wabash County IN         IN         31,504         2             $    15,000
  Wabash IN                IN         10,143         2             $    15,000
  Warrick County IN        IN         62,066         2             $    15,000
  Warsaw IN                IN         14,561         2             $    15,000
  Washington IN            IN         12,073         2             $    15,000
  West Lafayette IN        IN         47,548         2             $    15,000
  West Terre Haute IN      IN          2,237         2             $    15,000
  Yorktown IN              IN         11,167         2             $    15,000
  Zionsville IN            IN         26,063         2             $    15,000
  Bel Aire KS              KS          7,649         2             $    15,000
  Derby KS                 KS         23,642         2             $    15,000
  Hutchinson KS            KS         41,224         2             $    15,000
  Johnson County KS        KS        585,921         2             $    25,000
  Kechi KS                 KS          2,003         2             $    15,000
  Lawrence KS              KS         95,648         2             $    15,000
  Mulvane KS               KS          6,301         2             $    15,000
  Park City KS             KS          7,703         2             $    15,000
  Sedgwick County KS       KS        513,188         2             $    25,000
  Valley Center KS         KS          7,338         2             $    15,000
  Wichita KS               KS        390,549         1             $    30,000
  Ashland KY               KY         20,871         2             $    15,000
  Boone County KY          KY        119,379         2             $    25,000
  Bowling Green KY         KY         65,663         2             $    15,000
  Boyd County KY           KY         49,606         2             $    15,000
  Campbell County KY       KY         90,614         2             $    15,000
  Campbellsville KY        KY         11,370         2             $    15,000




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                                               MS4 NPDES
  Class Member          State    Population                    Settlement Amount
                                               Phase I or II
  Daviess County KY      KY          96,706         2             $    15,000
  Greenup KY             KY           1,137         2             $    15,000
  Hardin County KY       KY         106,956         2             $    25,000
  Henderson KY           KY          27,952         2             $    15,000
  Jefferson County KY    KY         767,711         1             $    30,000
  Kenton County KY       KY         159,954         2             $    25,000
  Oldham County KY       KY          60,435         2             $    15,000
  Owensboro KY           KY          59,261         2             $    15,000
  Paducah KY             KY          25,033         2             $    15,000
  West Point KY          KY             866         2             $    15,000
  Agawam Town MA        MA           28,693         2             $    15,000
  Amesbury Town MA      MA           17,337         2             $    15,000
  Attleboro MA          MA           44,413         2             $    15,000
  Boston MA             MA          680,470         1             $    30,000
  Cambridge MA          MA          115,730         2             $    25,000
  Chelsea MA            MA           40,288         2             $    15,000
  Chicopee MA           MA           55,342         2             $    15,000
  Easthampton Town MA   MA           16,051         2             $    15,000
  Everett MA            MA           46,011         2             $    15,000
  Fall River MA         MA           89,288         2             $    15,000
  Franklin Town MA      MA           32,971         2             $    15,000
  Gardner MA            MA           20,542         2             $    15,000
  Haverhill MA          MA           63,236         2             $    15,000
  Holyoke MA            MA           40,266         2             $    15,000
  Lawrence MA           MA           79,870         2             $    15,000
  Lowell MA             MA          111,250         2             $    25,000
  Lynn MA               MA           93,406         2             $    15,000
  Malden MA             MA           61,159         2             $    15,000
  Marlborough MA        MA           39,793         2             $    15,000
  Medford MA            MA           57,849         2             $    15,000
  Melrose MA            MA           28,118         2             $    15,000
  Methuen Town MA       MA           49,972         2             $    15,000
  New Bedford MA        MA           95,070         2             $    15,000
  Newburyport MA        MA           17,939         2             $    15,000
  Newton MA             MA           88,604         2             $    15,000
  North Adams MA        MA           13,068         2             $    15,000
  Northampton MA        MA           28,561         2             $    15,000
  Pittsfield MA         MA           42,977         2             $    15,000
  Quincy MA             MA           94,133         2             $    15,000
  Revere MA             MA           54,021         2             $    15,000
  Somerville MA         MA           80,902         2             $    15,000




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                                                 MS4 NPDES
  Class Member             State   Population                    Settlement Amount
                                                 Phase I or II
  Springfield MA           MA         154,278         2             $    25,000
  Waltham MA               MA          62,923         2             $    15,000
  Watertown Town MA        MA          35,141         2             $    15,000
  West Springfield Town
  MA                       MA          28,619         2             $    15,000
  Weymouth Town MA         MA          55,914         2             $    15,000
  Winthrop Town MA         MA          18,543         2             $    15,000
  Worcester MA             MA         185,139         1             $    30,000
  Aberdeen MD              MD          15,534         2             $    15,000
  Annapolis MD             MD          39,286         2             $    15,000
  Anne Arundel County
  MD                       MD         567,665         1             $    30,000
  Baltimore County MD      MD         828,616         1             $    30,000
  Baltimore MD             MD         615,849         1             $    30,000
  Berwyn Heights MD        MD           3,263         2             $    15,000
  Bladensburg MD           MD           9,412         2             $    15,000
  Brentwood MD             MD           3,480         2             $    15,000
  Calvert County MD        MD          91,028         2             $    15,000
  Capitol Heights MD       MD           4,521         2             $    15,000
  Cecil County MD          MD         102,567         2             $    25,000
  Charles County MD        MD         157,336         1             $    30,000
  Cheverly MD              MD           6,454         2             $    15,000
  Chevy Chase MD           MD           2,968         2             $    15,000
  Chevy Chase View MD      MD             979         2             $    15,000
  Chevy Chase Village MD   MD           2,046         2             $    15,000
  College Park MD          MD          32,204         2             $    15,000
  Colmar Manor MD          MD           1,461         2             $    15,000
  Cottage City MD          MD           1,359         2             $    15,000
  District Heights MD      MD           5,990         2             $    15,000
  Edmonston MD             MD           1,493         2             $    15,000
  Elkton MD                MD          15,681         2             $    15,000
  Fairmount Heights MD     MD           1,522         2             $    15,000
  Forest Heights MD        MD           2,576         2             $    15,000
  Garrett Park MD          MD           1,043         2             $    15,000
  Glen Echo MD             MD             269         2             $    15,000
  Glenarden MD             MD           6,183         2             $    15,000
  Greenbelt MD             MD          23,252         2             $    15,000
  Harford County MD        MD         250,361         1             $    30,000
  Havre de Grace MD        MD          13,468         2             $    15,000
  Hyattsville MD           MD          18,261         2             $    15,000
  Kensington MD            MD           2,355         2             $    15,000
  Landover Hills MD        MD           1,647         2             $    15,000




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                                                 MS4 NPDES
  Class Member             State   Population                    Settlement Amount
                                                 Phase I or II
  Laurel MD                MD          25,885         2             $    15,000
  Montgomery County MD     MD       1,040,245         1             $    30,000
  Mount Rainier MD         MD           8,111         2             $    15,000
  New Carrollton MD        MD          12,961         2             $    15,000
  North Brentwood MD       MD             555         2             $    15,000
  Prince George's County
  MD                       MD         907,939         1             $    30,000
  Riverdale Park MD        MD           7,233         2             $    15,000
  Seat Pleasant MD         MD           4,775         2             $    15,000
  Somerset MD              MD           1,271         2             $    15,000
  Takoma Park MD           MD          17,629         2             $    15,000
  University Park MD       MD           2,649         2             $    15,000
  Portland ME              ME          66,898         2             $    15,000
  South Portland ME        ME          25,538         2             $    15,000
  Westbrook ME             ME          18,360         2             $    15,000
  York County ME           ME         202,663         2             $    25,000
  Algonac MI                MI          4,047         2             $    15,000
  Allegan County MI         MI        114,995         2             $    25,000
  Allen Park MI             MI         27,348         2             $    15,000
  Ann Arbor MI              MI        121,035         1             $    30,000
  Auburn Hills MI           MI         22,932         2             $    15,000
  Auburn MI                 MI          2,112         2             $    15,000
  Barton Hills MI           MI            301         2             $    15,000
  Battle Creek MI           MI         51,451         2             $    15,000
  Bay City MI               MI         33,351         2             $    15,000
  Bay County MI             MI        104,469         2             $    25,000
  Belleville MI             MI          3,889         2             $    15,000
  Benton Harbor MI          MI          9,910         2             $    15,000
  Berkley MI                MI         15,356         2             $    15,000
  Berrien County MI         MI        154,473         2             $    25,000
  Beverly Hills MI          MI         10,426         2             $    15,000
  Bingham Farms MI          MI          1,162         2             $    15,000
  Birmingham MI             MI         21,130         2             $    15,000
  Bloomfield Hills MI       MI          4,011         2             $    15,000
  Bridgman MI               MI          2,251         2             $    15,000
  Brighton MI               MI          7,641         2             $    15,000
  Buchanan MI               MI          4,335         2             $    15,000
  Burton MI                 MI         28,682         2             $    15,000
  Cadillac MI               MI         10,386         2             $    15,000
  Calhoun County MI         MI        134,370         2             $    25,000
  Cass County MI            MI         51,288         2             $    15,000
  Center Line MI            MI          8,300         2             $    15,000




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                                                 MS4 NPDES
  Class Member             State   Population                    Settlement Amount
                                                 Phase I or II
  Clawson MI                MI         12,041         2             $    15,000
  Clinton County MI         MI         77,619         2             $    15,000
  Clio MI                   MI          2,517         2             $    15,000
  Davison MI                MI          4,957         2             $    15,000
  Dearborn Heights MI       MI         56,082         2             $    15,000
  Dearborn MI               MI         95,018         2             $    15,000
  Detroit MI                MI        676,883         2             $    25,000
  DeWitt MI                 MI          4,653         2             $    15,000
  Dexter MI                 MI          4,603         2             $    15,000
  Dimondale MI              MI          1,248         2             $    15,000
  Douglas MI                MI          1,297         2             $    15,000
  East Grand Rapids MI      MI         11,704         2             $    15,000
  East Lansing MI           MI         49,018         2             $    15,000
  Eastpointe MI             MI         32,635         2             $    15,000
  Eaton County MI           MI        109,165         2             $    25,000
  Ecorse MI                 MI          9,283         2             $    15,000
  Edwardsburg MI            MI          1,227         2             $    15,000
  Essexville MI             MI          3,342         2             $    15,000
  Farmington Hills MI       MI         81,561         2             $    15,000
  Farmington MI             MI         10,580         2             $    15,000
  Fenton MI                 MI         11,315         2             $    15,000
  Ferndale MI               MI         20,213         2             $    15,000
  Ferrysburg MI             MI          2,994         2             $    15,000
  Flat Rock MI              MI          9,924         2             $    15,000
  Flint MI                  MI         97,026         1             $    20,000
  Flushing MI               MI          8,002         2             $    15,000
  Franklin MI               MI          3,262         2             $    15,000
  Fraser MI                 MI         14,625         2             $    15,000
  Fremont MI                MI          4,028         2             $    15,000
  Galesburg MI              MI          2,066         2             $    15,000
  Garden City MI            MI         26,808         2             $    15,000
  Genesee County MI         MI        408,901         2             $    25,000
  Gibraltar MI              MI          4,523         2             $    15,000
  Grand Beach MI            MI            277         2             $    15,000
  Grand Blanc MI            MI          7,895         2             $    15,000
  Grand Haven MI            MI         10,964         2             $    15,000
  Grand Ledge MI            MI          7,819         2             $    15,000
  Grand Rapids MI           MI        196,546         2             $    25,000
  Grandville MI             MI         16,016         2             $    15,000
  Grosse Pointe Farms MI    MI          9,208         2             $    15,000
  Grosse Pointe MI          MI          5,224         2             $    15,000




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                                                 MS4 NPDES
  Class Member             State   Population                    Settlement Amount
                                                 Phase I or II
  Grosse Pointe Park MI     MI         11,198         2             $    15,000
  Grosse Pointe Woods MI    MI         15,563         2             $    15,000
  Hamtramck MI              MI         21,934         2             $    15,000
  Harper Woods MI           MI         13,952         2             $    15,000
  Hazel Park MI             MI         16,619         2             $    15,000
  Highland Park MI          MI         10,909         2             $    15,000
  Holland MI                MI         33,512         2             $    15,000
  Howell MI                 MI          9,595         2             $    15,000
  Hudsonville MI            MI          7,344         2             $    15,000
  Huntington Woods MI       MI          6,360         2             $    15,000
  Ingham County MI          MI        289,937         2             $    25,000
  Inkster MI                MI         24,603         2             $    15,000
  Jackson County MI         MI        160,125         2             $    25,000
  Jackson MI                MI         32,718         2             $    15,000
  Kalamazoo County MI       MI        261,317         2             $    25,000
  Kalamazoo MI              MI         75,833         2             $    15,000
  Keego Harbor MI           MI          3,051         2             $    15,000
  Kent County MI            MI        643,927         2             $    25,000
  Kentwood MI               MI         51,753         2             $    15,000
  Lake Angelus MI           MI            308         2             $    15,000
  Lake Orion MI             MI          3,128         2             $    15,000
  Lansing MI                MI        116,635         2             $    25,000
  Lathrup Village MI        MI          4,160         2             $    15,000
  Lexington MI              MI          1,107         2             $    15,000
  Linden MI                 MI          3,879         2             $    15,000
  Livingston County MI      MI        188,582         2             $    25,000
  Livonia MI                MI         94,471         1             $    20,000
  Macomb County MI          MI        868,739         2             $    25,000
  Madison Heights MI        MI         30,256         2             $    15,000
  Marine City MI            MI          4,120         2             $    15,000
  Marysville MI             MI          9,725         2             $    15,000
  Mason MI                  MI          8,482         2             $    15,000
  Melvindale MI             MI         10,403         2             $    15,000
  Michiana MI               MI            182         2             $    15,000
  Midland MI                MI         41,880         2             $    15,000
  Milan MI                  MI          6,021         2             $    15,000
  Milford MI                MI          6,501         2             $    15,000
  Monroe MI                 MI         19,911         2             $    15,000
  Mount Clemens MI          MI         16,365         2             $    15,000
  Mount Morris MI           MI          2,888         2             $    15,000
  Muskegon County MI        MI        173,242         2             $    25,000




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                                                  MS4 NPDES
  Class Member              State   Population                    Settlement Amount
                                                  Phase I or II
  Muskegon Heights MI        MI         10,755         2             $    15,000
  Muskegon MI                MI         38,173         2             $    15,000
  New Baltimore MI           MI         12,367         2             $    15,000
  Niles MI                   MI         11,267         2             $    15,000
  North Muskegon MI          MI          3,791         2             $    15,000
  Northville MI              MI          5,990         2             $    15,000
  Norton Shores MI           MI         24,374         2             $    15,000
  Novi MI                    MI         59,617         2             $    15,000
  Oak Park MI                MI         29,881         2             $    15,000
  Oakland County MI          MI      1,251,126         2             $    25,000
  Orchard Lake Village MI    MI          2,446         2             $    15,000
  Ottawa County MI           MI        283,907         2             $    25,000
  Owosso MI                  MI         14,625         2             $    15,000
  Oxford MI                  MI          3,553         2             $    15,000
  Parchment MI               MI          1,844         2             $    15,000
  Pinckney MI                MI          2,426         2             $    15,000
  Pleasant Ridge MI          MI          2,488         2             $    15,000
  Plymouth MI                MI          9,127         2             $    15,000
  Pontiac MI                 MI         60,154         2             $    15,000
  Port Huron MI              MI         29,201         2             $    15,000
  Portage MI                 MI         48,362         2             $    15,000
  River Rouge MI             MI          7,532         2             $    15,000
  Riverview MI               MI         12,165         2             $    15,000
  Rochester Hills MI         MI         73,852         2             $    15,000
  Rochester MI               MI         13,097         2             $    15,000
  Rockford MI                MI          6,211         2             $    15,000
  Rockwood MI                MI          3,199         2             $    15,000
  Romeo MI                   MI          3,625         2             $    15,000
  Romulus MI                 MI         23,466         2             $    15,000
  Roosevelt Park MI          MI          3,800         2             $    15,000
  Roseville MI               MI         47,650         2             $    15,000
  Royal Oak MI               MI         59,225         2             $    15,000
  Saginaw County MI          MI        192,525         2             $    25,000
  Saginaw MI                 MI         48,919         2             $    15,000
  Saline MI                  MI          9,188         2             $    15,000
  South Lyon MI              MI         11,772         2             $    15,000
  South Rockwood MI          MI          1,645         2             $    15,000
  Southfield MI              MI         73,485         2             $    15,000
  Southgate MI               MI         29,250         2             $    15,000
  Sparta MI                  MI          4,348         2             $    15,000
  Spring Lake MI             MI          2,466         2             $    15,000




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                                                   MS4 NPDES
  Class Member               State   Population                    Settlement Amount
                                                   Phase I or II
  Springfield MI              MI          5,203         2             $    15,000
  St. Clair County MI         MI        159,444         2             $    25,000
  St. Clair MI                MI          5,348         2             $    15,000
  St. Clair Shores MI         MI         59,799         2             $    15,000
  St. Joseph MI               MI          8,289         2             $    15,000
  Sterling Heights MI         MI        132,528         1             $    30,000
  Stevensville MI             MI          1,133         2             $    15,000
  Swartz Creek MI             MI          5,534         2             $    15,000
  Sylvan Lake MI              MI          1,860         2             $    15,000
  Taylor MI                   MI         61,563         2             $    15,000
  Trenton MI                  MI         18,362         2             $    15,000
  Troy MI                     MI         84,095         2             $    15,000
  Utica MI                    MI          4,927         2             $    15,000
  Vicksburg MI                MI          3,271         2             $    15,000
  Village of Clarkston MI     MI            932         2             $    15,000
  Village of Grosse Pointe
  Shores MI                   MI          2,867         2             $    15,000
  Walker MI                   MI         24,835         2             $    15,000
  Walled Lake MI              MI          7,196         2             $    15,000
  Warren MI                   MI        135,233         1             $    30,000
  Washtenaw County MI         MI        366,488         2             $    25,000
  Wayland MI                  MI          4,197         2             $    15,000
  Wayne County MI             MI      1,760,095         2             $    25,000
  Wayne MI                    MI         17,053         2             $    15,000
  Westland MI                 MI         82,089         2             $    15,000
  Wixom MI                    MI         13,841         2             $    15,000
  Wolverine Lake MI           MI          4,594         2             $    15,000
  Woodhaven MI                MI         12,547         2             $    15,000
  Wyandotte MI                MI         25,113         2             $    15,000
  Wyoming MI                  MI         75,654         2             $    15,000
  Ypsilanti MI                MI         21,062         2             $    15,000
  Zeeland MI                  MI          5,583         2             $    15,000
  Zilwaukee MI                MI          1,563         2             $    15,000
  Anoka County MN            MN         346,665         2             $    25,000
  Anoka MN                   MN          17,412         2             $    15,000
  Apple Valley MN            MN          51,963         2             $    15,000
  Arden Hills MN             MN          10,355         2             $    15,000
  Austin MN                  MN          24,913         2             $    15,000
  Benton County MN           MN          39,670         2             $    15,000
  Big Lake MN                MN          10,658         2             $    15,000
  Blaine MN                  MN          63,251         2             $    15,000
  Bloomington MN             MN          85,495         2             $    15,000




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                                                 MS4 NPDES
  Class Member             State   Population                    Settlement Amount
                                                 Phase I or II
  Brooklyn Center MN       MN          30,951         2             $    15,000
  Brooklyn Park MN         MN          79,899         2             $    15,000
  Burnsville MN            MN          61,335         2             $    15,000
  Carver County MN         MN         100,380         2             $    25,000
  Carver MN                MN           4,639         2             $    15,000
  Champlin MN              MN          24,288         2             $    15,000
  Chanhassen MN            MN          25,451         2             $    15,000
  Chaska MN                MN          26,108         2             $    15,000
  Clay County MN           MN          62,983         2             $    15,000
  Cloquet MN               MN          12,017         2             $    15,000
  Columbia Heights MN      MN          19,731         2             $    15,000
  Coon Rapids MN           MN          62,381         2             $    15,000
  Cottage Grove MN         MN          35,897         2             $    15,000
  Crystal MN               MN          23,029         2             $    15,000
  Dakota County MN         MN         417,732         2             $    25,000
  Dayton MN                MN           5,426         2             $    15,000
  Duluth MN                MN          86,058         2             $    15,000
  Eagan MN                 MN          66,356         2             $    15,000
  East Grand Forks MN      MN           8,681         2             $    15,000
  Eden Prairie MN          MN          64,023         2             $    15,000
  Edina MN                 MN          51,448         2             $    15,000
  Elk River MN             MN          24,270         2             $    15,000
  Fairmont MN              MN          10,159         2             $    15,000
  Falcon Heights MN        MN           5,565         2             $    15,000
  Forest Lake MN           MN          19,565         2             $    15,000
  Fridley MN               MN          27,520         2             $    15,000
  Golden Valley MN         MN          21,413         2             $    15,000
  Grant MN                 MN           4,129         2             $    15,000
  Hastings MN              MN          22,694         2             $    15,000
  Hennepin County MN       MN       1,235,875         2             $    25,000
  Hermantown MN            MN           9,481         2             $    15,000
  Hilltop MN               MN             750         2             $    15,000
  Hopkins MN               MN          18,144         2             $    15,000
  Houston County MN        MN          18,694         2             $    15,000
  Inver Grove Heights MN   MN          35,120         2             $    15,000
  La Crescent MN           MN           5,040         2             $    15,000
  Lakeville MN             MN          62,039         2             $    15,000
  Lauderdale MN            MN           2,514         2             $    15,000
  Lilydale MN              MN             851         2             $    15,000
  Mankato MN               MN          41,781         2             $    15,000
  Maple Grove MN           MN          69,711         2             $    15,000




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                                               MS4 NPDES
  Class Member          State    Population                    Settlement Amount
                                               Phase I or II
  Maplewood MN          MN           40,273         2             $    15,000
  Mendota Heights MN    MN           11,270         2             $    15,000
  Mendota MN            MN              211         2             $    15,000
  Minneapolis MN        MN          415,239         1             $    30,000
  Minnetonka MN         MN           52,473         2             $    15,000
  Monticello MN         MN           13,429         2             $    15,000
  Moorhead MN           MN           42,507         2             $    15,000
  Mounds View MN        MN           13,011         2             $    15,000
  New Brighton MN       MN           22,556         2             $    15,000
  New Hope MN           MN           20,931         2             $    15,000
  New Ulm MN            MN           13,287         2             $    15,000
  Newport MN            MN            3,466         2             $    15,000
  North Branch MN       MN           10,294         2             $    15,000
  North Mankato MN      MN           13,713         2             $    15,000
  Olmsted County MN     MN          153,137         2             $    25,000
  Osseo MN              MN            2,759         2             $    15,000
  Otsego MN             MN           16,134         2             $    15,000
  Plymouth MN           MN           77,377         2             $    15,000
  Prior Lake MN         MN           25,792         2             $    15,000
  Proctor MN            MN            3,048         2             $    15,000
  Ramsey County MN      MN          509,389         2             $    25,000
  Ramsey MN             MN           26,231         2             $    15,000
  Red Wing MN           MN           16,352         2             $    15,000
  Redwood Falls MN      MN            4,984         2             $    15,000
  Richfield MN          MN           36,040         2             $    15,000
  Robbinsdale MN        MN           14,503         2             $    15,000
  Rochester MN          MN          113,927         2             $    25,000
  Rosemount MN          MN           23,933         2             $    15,000
  Roseville MN          MN           35,726         2             $    15,000
  Sartell MN            MN           17,342         2             $    15,000
  Sauk Rapids MN        MN           13,483         2             $    15,000
  Savage MN             MN           30,674         2             $    15,000
  Scott County MN       MN          143,340         2             $    25,000
  Shakopee MN           MN           40,486         2             $    15,000
  Sherburne County MN   MN           93,266         2             $    15,000
  Shoreview MN          MN           26,599         2             $    15,000
  South St. Paul MN     MN           20,246         2             $    15,000
  Spring Lake Park MN   MN            6,483         2             $    15,000
  St. Anthony MN        MN            9,037         2             $    15,000
  St. Cloud MN          MN           67,768         2             $    15,000
  St. Joseph MN         MN            6,770         2             $    15,000




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                                                  MS4 NPDES
  Class Member              State   Population                    Settlement Amount
                                                  Phase I or II
  St. Louis County MN       MN         199,925         2             $    25,000
  St. Louis Park MN         MN          48,865         2             $    15,000
  St. Michael MN            MN          17,176         2             $    15,000
  St. Paul MN               MN         303,155         1             $    30,000
  St. Paul Park MN          MN           5,370         2             $    15,000
  St. Peter MN              MN          11,758         2             $    15,000
  Stearns County MN         MN         156,996         2             $    25,000
  Stillwater MN             MN          19,244         2             $    15,000
  Sunfish Lake MN           MN             541         2             $    15,000
  Victoria MN               MN           8,914         2             $    15,000
  Waite Park MN             MN           7,612         2             $    15,000
  Washington County MN      MN         252,650         2             $    25,000
  Wayzata MN                MN           4,533         2             $    15,000
  West St. Paul MN          MN          19,743         2             $    15,000
  Winona MN                 MN          27,031         2             $    15,000
  Woodbury MN               MN          68,526         2             $    15,000
  Arnold MO                 MO          21,123         2             $    15,000
  Bellefontaine Neighbors
  MO                        MO          10,615         2             $    15,000
  Bel-Nor MO                MO           1,419         2             $    15,000
  Bel-Ridge MO              MO           2,710         2             $    15,000
  Berkeley MO               MO           8,979         2             $    15,000
  Black Jack MO             MO           6,935         2             $    15,000
  Calverton Park MO         MO           1,272         2             $    15,000
  Cape Girardeau County
  MO                        MO          78,441         2             $    15,000
  Cape Girardeau MO         MO          39,298         2             $    15,000
  Charlack MO               MO           1,359         2             $    15,000
  Clayton MO                MO          16,678         2             $    15,000
  Cool Valley MO            MO           1,171         2             $    15,000
  Country Club Hills MO     MO           1,268         2             $    15,000
  Creve Coeur MO            MO          18,615         2             $    15,000
  Crystal City MO           MO           4,765         2             $    15,000
  Dellwood MO               MO           4,908         2             $    15,000
  Ferguson MO               MO          20,915         2             $    15,000
  Florissant MO             MO          51,700         2             $    15,000
  Hanley Hills MO           MO           2,108         2             $    15,000
  Hannibal MO               MO          17,660         2             $    15,000
  Hazelwood MO              MO          25,383         2             $    15,000
  Herculaneum MO            MO           3,905         2             $    15,000
  Jackson MO                MO          14,874         2             $    15,000
  Jefferson County MO       MO         223,345         2             $    25,000




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                                                MS4 NPDES
  Class Member            State   Population                    Settlement Amount
                                                Phase I or II
  Jennings MO             MO          14,835         2             $    15,000
  Moline Acres MO         MO           2,383         2             $    15,000
  Normandy MO             MO           4,924         2             $    15,000
  Northwoods MO           MO           4,147         2             $    15,000
  Norwood Court MO        MO             958         2             $    15,000
  Olivette MO             MO           7,836         2             $    15,000
  Overland MO             MO          15,783         2             $    15,000
  Pagedale MO             MO           3,299         2             $    15,000
  Pevely MO               MO           5,788         2             $    15,000
  Riverview MO            MO           2,875         2             $    15,000
  St. Charles County MO   MO         390,599         2             $    25,000
  St. Charles MO          MO          69,314         2             $    15,000
  St. John MO             MO           6,425         2             $    15,000
  St. Louis County MO     MO         998,025         2             $    25,000
  St. Louis MO            MO         312,389         2             $    25,000
  University City MO      MO          34,612         2             $    15,000
  Vinita Park MO          MO           2,166         2             $    15,000
  Southaven MS            MS          53,161         2             $    15,000
  Cascade County MT       MT          81,536         2             $    15,000
  Great Falls MT          MT          58,879         2             $    15,000
  Kalispell MT            MT          22,549         2             $    15,000
  Apex NC                  NC         47,449         2             $    15,000
  Cary NC                  NC        162,426         2             $    25,000
  Clayton NC               NC         20,043         2             $    15,000
  Durham NC                NC        265,355         1             $    30,000
  Garner NC                NC         28,750         2             $    15,000
  Knightdale NC            NC         14,742         2             $    15,000
  Morrisville NC           NC         24,723         2             $    15,000
  Raleigh NC               NC        459,194         1             $    30,000
  Cass County ND           ND        174,271         2             $    25,000
  Fargo ND                 ND        120,126         2             $    25,000
  Grand Forks County ND    ND         70,515         2             $    15,000
  Grand Forks ND           ND         56,740         2             $    15,000
  Omaha NE                 NE        465,554         1             $    30,000
  Dover NH                 NH         31,319         2             $    15,000
  Nashua NH                NH         88,664         2             $    15,000
  Portsmouth NH            NH         21,666         2             $    15,000
  Rochester NH             NH         30,564         2             $    15,000
  Somersworth NH           NH         11,876         2             $    15,000
  Strafford County NH      NH        123,196         2             $    25,000
  Absecon NJ               NJ          8,200         2             $    15,000




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                                                MS4 NPDES
  Class Member            State   Population                    Settlement Amount
                                                Phase I or II
  Allenhurst NJ            NJ            486         2             $    15,000
  Allentown NJ             NJ          1,804         2             $    15,000
  Alloway Township NJ      NJ          3,331         2             $    15,000
  Alpha NJ                 NJ          2,285         2             $    15,000
  Alpine NJ                NJ          1,849         2             $    15,000
  Asbury Park NJ           NJ         15,678         2             $    15,000
  Atlantic City NJ         NJ         38,294         2             $    15,000
  Atlantic Highlands NJ    NJ          4,282         2             $    15,000
  Audubon NJ               NJ          8,673         2             $    15,000
  Audubon Park NJ          NJ          1,005         2             $    15,000
  Avalon NJ                NJ          1,269         2             $    15,000
  Avon-by-the-Sea NJ       NJ          1,786         2             $    15,000
  Barnegat Light NJ        NJ            582         2             $    15,000
  Barrington NJ            NJ          6,745         2             $    15,000
  Bay Head NJ              NJ            972         2             $    15,000
  Bayonne NJ               NJ         65,351         2             $    15,000
  Beach Haven NJ           NJ          1,170         2             $    15,000
  Beachwood NJ             NJ         11,168         2             $    15,000
  Bellmawr NJ              NJ         11,415         2             $    15,000
  Belmar NJ                NJ          5,666         2             $    15,000
  Belvidere NJ             NJ          2,589         2             $    15,000
  Bergenfield NJ           NJ         27,327         2             $    15,000
  Berlin NJ                NJ          7,558         2             $    15,000
  Berlin Township NJ       NJ          5,489         2             $    15,000
  Beverly NJ               NJ          2,496         2             $    15,000
  Bloomingdale NJ          NJ          8,105         2             $    15,000
  Bogota NJ                NJ          8,408         2             $    15,000
  Boonton NJ               NJ          8,308         2             $    15,000
  Bordentown NJ            NJ          3,831         2             $    15,000
  Bound Brook NJ           NJ         10,333         2             $    15,000
  Bradley Beach NJ         NJ          4,231         2             $    15,000
  Bridgeton NJ             NJ         24,905         2             $    15,000
  Brielle NJ               NJ          4,698         2             $    15,000
  Brigantine NJ            NJ          8,937         2             $    15,000
  Brooklawn NJ             NJ          1,914         2             $    15,000
  Buena NJ                 NJ          4,407         2             $    15,000
  Burlington NJ            NJ          9,822         2             $    15,000
  Butler NJ                NJ          7,706         2             $    15,000
  Caldwell NJ              NJ          7,982         2             $    15,000
  Camden NJ                NJ         73,974         2             $    15,000
  Cape May NJ              NJ          3,490         2             $    15,000




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                                                 MS4 NPDES
  Class Member             State   Population                    Settlement Amount
                                                 Phase I or II
  Cape May Point NJ         NJ            279         2             $    15,000
  Carlstadt NJ              NJ          6,181         2             $    15,000
  Carneys Point Township
  NJ                        NJ          7,774         2             $    15,000
  Carteret NJ               NJ         23,664         2             $    15,000
  Chesilhurst NJ            NJ          1,621         2             $    15,000
  Clayton NJ                NJ          8,571         2             $    15,000
  Clementon NJ              NJ          4,894         2             $    15,000
  Cliffside Park NJ         NJ         24,622         2             $    15,000
  Clifton NJ                NJ         85,141         2             $    15,000
  Collingswood NJ           NJ         13,924         2             $    15,000
  Corbin City NJ            NJ            495         2             $    15,000
  Cresskill NJ              NJ          8,681         2             $    15,000
  Deal NJ                   NJ            731         2             $    15,000
  Delaware Township NJ      NJ          4,460         2             $    15,000
  Dumont NJ                 NJ         17,678         2             $    15,000
  Dunellen NJ               NJ          7,273         2             $    15,000
  East Orange NJ            NJ         64,425         2             $    15,000
  East Rutherford NJ        NJ          9,748         2             $    15,000
  Eatontown NJ              NJ         12,238         2             $    15,000
  Edgewater NJ              NJ         11,913         2             $    15,000
  Egg Harbor City NJ        NJ          4,147         2             $    15,000
  Elizabeth NJ              NJ        128,074         2             $    25,000
  Elmer NJ                  NJ          1,323         2             $    15,000
  Elmwood Park NJ           NJ         20,096         2             $    15,000
  Emerson NJ                NJ          7,588         2             $    15,000
  Englewood Cliffs NJ       NJ          5,348         2             $    15,000
  Englewood NJ              NJ         28,136         2             $    15,000
  Essex Fells NJ            NJ          2,102         2             $    15,000
  Estell Manor NJ           NJ          1,710         2             $    15,000
  Fair Haven NJ             NJ          5,954         2             $    15,000
  Fair Lawn NJ              NJ         33,074         2             $    15,000
  Fairview NJ               NJ         14,256         2             $    15,000
  Fanwood NJ                NJ          7,659         2             $    15,000
  Fieldsboro NJ             NJ            530         2             $    15,000
  Florence Township NJ      NJ         12,599         2             $    15,000
  Fort Lee NJ               NJ         37,187         2             $    15,000
  Franklin Lakes NJ         NJ         10,732         2             $    15,000
  Frenchtown NJ             NJ          1,358         2             $    15,000
  Garfield NJ               NJ         31,530         2             $    15,000
  Garwood NJ                NJ          4,333         2             $    15,000
  Gibbsboro NJ              NJ          2,234         2             $    15,000




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                                               MS4 NPDES
  Class Member           State   Population                    Settlement Amount
                                               Phase I or II
  Glassboro NJ            NJ         19,735         2             $    15,000
  Glen Ridge NJ           NJ          7,588         2             $    15,000
  Glen Rock NJ            NJ         11,805         2             $    15,000
  Gloucester City NJ      NJ         11,257         2             $    15,000
  Hackensack NJ           NJ         44,283         2             $    15,000
  Haddon Heights NJ       NJ          7,498         2             $    15,000
  Haddonfield NJ          NJ         11,380         2             $    15,000
  Haledon NJ              NJ          8,323         2             $    15,000
  Hammonton NJ            NJ         14,246         2             $    15,000
  Harrison NJ             NJ         16,055         2             $    15,000
  Harvey Cedars NJ        NJ            339         2             $    15,000
  Hasbrouck Heights NJ    NJ         12,076         2             $    15,000
  Haworth NJ              NJ          3,419         2             $    15,000
  Hawthorne NJ            NJ         18,782         2             $    15,000
  Highland Park NJ        NJ         14,000         2             $    15,000
  Highlands NJ            NJ          4,803         2             $    15,000
  Hi-Nella NJ             NJ            861         2             $    15,000
  Hoboken NJ              NJ         53,673         2             $    15,000
  Ho-Ho-Kus NJ            NJ          4,096         2             $    15,000
  Interlaken NJ           NJ            798         2             $    15,000
  Island Heights NJ       NJ          1,643         2             $    15,000
  Jersey City NJ          NJ        260,626         2             $    25,000
  Keansburg NJ            NJ          9,791         2             $    15,000
  Kearny NJ               NJ         41,589         2             $    15,000
  Kenilworth NJ           NJ          8,159         2             $    15,000
  Keyport NJ              NJ          7,056         2             $    15,000
  Kinnelon NJ             NJ         10,132         2             $    15,000
  Lake Como NJ            NJ          1,711         2             $    15,000
  Lakehurst NJ            NJ          2,682         2             $    15,000
  Lambertville NJ         NJ          3,814         2             $    15,000
  Laurel Springs NJ       NJ          1,872         2             $    15,000
  Lavallette NJ           NJ          1,828         2             $    15,000
  Lawnside NJ             NJ          2,902         2             $    15,000
  Leonia NJ               NJ          9,094         2             $    15,000
  Lincoln Park NJ         NJ         10,353         2             $    15,000
  Linden NJ               NJ         42,282         2             $    15,000
  Lindenwold NJ           NJ         17,363         2             $    15,000
  Linwood NJ              NJ          6,818         2             $    15,000
  Little Ferry NJ         NJ         10,811         2             $    15,000
  Little Silver NJ        NJ          5,869         2             $    15,000
  Loch Arbour NJ          NJ            182         2             $    15,000




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                                               MS4 NPDES
  Class Member          State    Population                    Settlement Amount
                                               Phase I or II
  Lodi NJ                NJ          24,475         2             $    15,000
  Long Branch NJ         NJ          30,654         2             $    15,000
  Longport NJ            NJ             866         2             $    15,000
  Magnolia NJ            NJ           4,278         2             $    15,000
  Manasquan NJ           NJ           5,819         2             $    15,000
  Mantoloking NJ         NJ             251         2             $    15,000
  Manville NJ            NJ          10,293         2             $    15,000
  Margate City NJ        NJ           6,071         2             $    15,000
  Matawan NJ             NJ           8,810         2             $    15,000
  Maywood NJ             NJ           9,672         2             $    15,000
  Medford Lakes NJ       NJ           4,043         2             $    15,000
  Merchantville NJ       NJ           3,720         2             $    15,000
  Metuchen NJ            NJ          13,684         2             $    15,000
  Middlesex NJ           NJ          13,624         2             $    15,000
  Midland Park NJ        NJ           7,246         2             $    15,000
  Milford NJ             NJ           1,189         2             $    15,000
  Milltown NJ            NJ           7,037         2             $    15,000
  Millville NJ           NJ          27,913         2             $    15,000
  Monmouth Beach NJ      NJ           3,215         2             $    15,000
  Moonachie NJ           NJ           2,737         2             $    15,000
  Mount Ephraim NJ       NJ           4,602         2             $    15,000
  Mountain Lakes NJ      NJ           4,293         2             $    15,000
  Mountainside NJ        NJ           6,832         2             $    15,000
  National Park NJ       NJ           2,976         2             $    15,000
  Neptune City NJ        NJ           4,721         2             $    15,000
  New Brunswick NJ       NJ          56,215         2             $    15,000
  New Milford NJ         NJ          16,579         2             $    15,000
  New Providence NJ      NJ          12,716         2             $    15,000
  Newark NJ              NJ         280,628         2             $    25,000
  North Arlington NJ     NJ          15,693         2             $    15,000
  North Caldwell NJ      NJ           6,627         2             $    15,000
  North Haledon NJ       NJ           8,460         2             $    15,000
  North Plainfield NJ    NJ          21,629         2             $    15,000
  North Wildwood NJ      NJ           3,849         2             $    15,000
  Northfield NJ          NJ           8,312         2             $    15,000
  Northvale NJ           NJ           4,871         2             $    15,000
  Norwood NJ             NJ           5,810         2             $    15,000
  Oakland NJ             NJ          12,988         2             $    15,000
  Oaklyn NJ              NJ           3,968         2             $    15,000
  Ocean City NJ          NJ          11,247         2             $    15,000
  Ocean Gate NJ          NJ           2,003         2             $    15,000




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                                                  MS4 NPDES
  Class Member              State   Population                    Settlement Amount
                                                  Phase I or II
  Oceanport NJ               NJ          5,705         2             $    15,000
  Old Bridge Township NJ     NJ         65,815         2             $    15,000
  Oradell NJ                 NJ          8,129         2             $    15,000
  Palisades Park NJ          NJ         20,518         2             $    15,000
  Palmyra NJ                 NJ          7,201         2             $    15,000
  Paramus NJ                 NJ         26,607         2             $    15,000
  Passaic NJ                 NJ         70,086         2             $    15,000
  Paterson NJ                NJ        145,682         2             $    25,000
  Paulsboro NJ               NJ          5,928         2             $    15,000
  Pemberton NJ               NJ          1,358         2             $    15,000
  Pennington NJ              NJ          2,529         2             $    15,000
  Penns Grove NJ             NJ          4,835         2             $    15,000
  Pennsville Township NJ     NJ         12,629         2             $    15,000
  Perth Amboy NJ             NJ         51,802         2             $    15,000
  Phillipsburg NJ            NJ         14,384         2             $    15,000
  Pine Beach NJ              NJ          2,146         2             $    15,000
  Pine Hill NJ               NJ         10,449         2             $    15,000
  Pitman NJ                  NJ          8,826         2             $    15,000
  Plainfield NJ              NJ         50,416         2             $    15,000
  Pleasantville NJ           NJ         20,280         2             $    15,000
  Point Pleasant Beach NJ    NJ          4,533         2             $    15,000
  Point Pleasant NJ          NJ         18,499         2             $    15,000
  Pompton Lakes NJ           NJ         11,036         2             $    15,000
  Port Republic NJ           NJ          1,072         2             $    15,000
  Princeton NJ               NJ         31,031         2             $    15,000
  Prospect Park NJ           NJ          5,865         2             $    15,000
  Quinton Township NJ        NJ          2,489         2             $    15,000
  Rahway NJ                  NJ         29,310         2             $    15,000
  Ramsey NJ                  NJ         14,952         2             $    15,000
  Red Bank NJ                NJ         12,119         2             $    15,000
  Ridgefield NJ              NJ         11,243         2             $    15,000
  Ridgefield Park NJ         NJ         12,915         2             $    15,000
  Ridgewood NJ               NJ         25,259         2             $    15,000
  Ringwood NJ                NJ         12,293         2             $    15,000
  River Edge NJ              NJ         11,519         2             $    15,000
  Riverdale NJ               NJ          4,229         2             $    15,000
  Riverton NJ                NJ          2,700         2             $    15,000
  Rockleigh NJ               NJ            530         2             $    15,000
  Roseland NJ                NJ          5,849         2             $    15,000
  Roselle NJ                 NJ         21,513         2             $    15,000
  Roselle Park NJ            NJ         13,576         2             $    15,000




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                                                 MS4 NPDES
  Class Member             State   Population                    Settlement Amount
                                                 Phase I or II
  Rumson NJ                 NJ          6,799         2             $    15,000
  Runnemede NJ              NJ          8,328         2             $    15,000
  Rutherford NJ             NJ         18,433         2             $    15,000
  Salem NJ                  NJ          4,808         2             $    15,000
  Sayreville NJ             NJ         44,335         2             $    15,000
  Sea Bright NJ             NJ          1,382         2             $    15,000
  Sea Girt NJ               NJ          1,779         2             $    15,000
  Sea Isle City NJ          NJ          2,070         2             $    15,000
  Seaside Heights NJ        NJ          2,889         2             $    15,000
  Seaside Park NJ           NJ          1,547         2             $    15,000
  Secaucus NJ               NJ         19,563         2             $    15,000
  Shiloh NJ                 NJ            497         2             $    15,000
  Ship Bottom NJ            NJ          1,136         2             $    15,000
  Shrewsbury NJ             NJ          4,108         2             $    15,000
  Shrewsbury Township NJ    NJ          1,008         2             $    15,000
  Somerdale NJ              NJ          5,458         2             $    15,000
  Somers Point NJ           NJ         10,422         2             $    15,000
  Somerville NJ             NJ         12,009         2             $    15,000
  South Amboy NJ            NJ          8,630         2             $    15,000
  South Bound Brook NJ      NJ          4,520         2             $    15,000
  South Plainfield NJ       NJ         23,883         2             $    15,000
  South River NJ            NJ         16,072         2             $    15,000
  South Toms River NJ       NJ          3,752         2             $    15,000
  Spotswood NJ              NJ          8,307         2             $    15,000
  Spring Lake Heights NJ    NJ          4,595         2             $    15,000
  Spring Lake NJ            NJ          2,953         2             $    15,000
  Stockton NJ               NJ            519         2             $    15,000
  Stone Harbor NJ           NJ            827         2             $    15,000
  Stratford NJ              NJ          6,972         2             $    15,000
  Summit NJ                 NJ         21,921         2             $    15,000
  Surf City NJ              NJ          1,175         2             $    15,000
  Swedesboro NJ             NJ          2,590         2             $    15,000
  Tenafly NJ                NJ         14,693         2             $    15,000
  Teterboro NJ              NJ             68         2             $    15,000
  Tinton Falls NJ           NJ         17,736         2             $    15,000
  Toms River Township NJ    NJ         88,707         2             $    15,000
  Totowa NJ                 NJ         10,826         2             $    15,000
  Trenton NJ                NJ         83,387         2             $    15,000
  Tuckerton NJ              NJ          3,378         2             $    15,000
  Union Beach NJ            NJ          5,564         2             $    15,000
  Ventnor City NJ           NJ         10,197         2             $    15,000




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                                               MS4 NPDES
  Class Member           State   Population                    Settlement Amount
                                               Phase I or II
  Vineland NJ             NJ         60,339         2             $    15,000
  Voorhees Township NJ    NJ         29,221         2             $    15,000
  Waldwick NJ             NJ          9,899         2             $    15,000
  Wallington NJ           NJ         11,560         2             $    15,000
  Wanaque NJ              NJ         11,678         2             $    15,000
  Watchung NJ             NJ          6,025         2             $    15,000
  Wenonah NJ              NJ          2,235         2             $    15,000
  West Cape May NJ        NJ          1,001         2             $    15,000
  West Long Branch NJ     NJ          7,941         2             $    15,000
  West Wildwood NJ        NJ            565         2             $    15,000
  Westfield NJ            NJ         30,055         2             $    15,000
  Westville NJ            NJ          4,187         2             $    15,000
  Wildwood Crest NJ       NJ          3,125         2             $    15,000
  Wildwood NJ             NJ          5,080         2             $    15,000
  Woodbine NJ             NJ          2,473         2             $    15,000
  Woodbridge Township
  NJ                      NJ         99,997         2             $    15,000
  Woodbury Heights NJ     NJ          2,991         2             $    15,000
  Woodbury NJ             NJ          9,912         2             $    15,000
  Woodland Park NJ        NJ         12,543         2             $    15,000
  Woodlynne NJ            NJ          2,924         2             $    15,000
  Wood-Ridge NJ           NJ          8,506         2             $    15,000
  Woodstown NJ            NJ          3,475         2             $    15,000
  Wrightstown NJ          NJ            783         2             $    15,000
  Albuquerque NM         NM         559,626         1             $    30,000
  Bernalillo County NM   NM         678,165         2             $    25,000
  Bernalillo NM          NM           9,278         2             $    15,000
  Corrales NM            NM           8,547         2             $    15,000
  Los Ranchos de
  Albuquerque NM         NM           6,127         2             $    15,000
  Rio Rancho NM          NM          94,500         2             $    15,000
  Sandoval County NM     NM         140,471         2             $    25,000
  Santa Fe County NM     NM         148,888         2             $    25,000
  Santa Fe NM            NM          83,811         2             $    15,000
  Albany County NY        NY        307,628         2             $    25,000
  Albany NY               NY         97,939         2             $    15,000
  Amityville NY           NY          9,495         2             $    15,000
  Angola NY               NY          2,111         2             $    15,000
  Asharoken NY            NY            651         2             $    15,000
  Atlantic Beach NY       NY          1,904         2             $    15,000
  Babylon NY              NY         12,076         2             $    15,000
  Baldwinsville NY        NY          7,474         2             $    15,000




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                                                 MS4 NPDES
  Class Member             State   Population                    Settlement Amount
                                                 Phase I or II
  Baxter Estates NY         NY          1,056         2             $    15,000
  Bayville NY               NY          6,715         2             $    15,000
  Beacon NY                 NY         14,171         2             $    15,000
  Bellerose NY              NY          1,170         2             $    15,000
  Bellport NY               NY          2,071         2             $    15,000
  Binghamton NY             NY         44,401         2             $    15,000
  Black River NY            NY          1,283         2             $    15,000
  Blasdell NY               NY          2,622         2             $    15,000
  Briarcliff Manor NY       NY          7,528         2             $    15,000
  Brightwaters NY           NY          3,065         2             $    15,000
  Brockport NY              NY          8,280         2             $    15,000
  Bronxville NY             NY          6,363         2             $    15,000
  Brookville NY             NY          3,577         2             $    15,000
  Buchanan NY               NY          2,256         2             $    15,000
  Buffalo NY                NY        256,960         2             $    25,000
  Camillus NY               NY          1,217         2             $    15,000
  Castleton-on-Hudson NY    NY          1,471         2             $    15,000
  Cedarhurst NY             NY          6,658         2             $    15,000
  Centre Island NY          NY            411         2             $    15,000
  Chemung County NY         NY         88,898         2             $    15,000
  Cohoes NY                 NY         16,840         2             $    15,000
  Colonie NY                NY          7,797         2             $    15,000
  Cornwall-on-Hudson NY     NY          2,924         2             $    15,000
  Cove Neck NY              NY            302         2             $    15,000
  Croton-on-Hudson NY       NY          8,184         2             $    15,000
  Depew NY                  NY         15,142         2             $    15,000
  Dering Harbor NY          NY             11         2             $    15,000
  Dobbs Ferry NY            NY         11,080         2             $    15,000
  Dutchess County NY        NY        293,049         2             $    25,000
  East Hampton NY           NY          1,113         2             $    15,000
  East Hills NY             NY          7,142         2             $    15,000
  East Rochester NY         NY          6,588         2             $    15,000
  East Rockaway NY          NY          9,787         2             $    15,000
  Elmira Heights NY         NY          3,919         2             $    15,000
  Elmira NY                 NY         27,604         2             $    15,000
  Elmsford NY               NY          4,992         2             $    15,000
  Endicott NY               NY         12,916         2             $    15,000
  Erie County NY            NY        918,479         2             $    25,000
  Fairport NY               NY          5,377         2             $    15,000
  Farmingdale NY            NY          8,852         2             $    15,000
  Fishkill NY               NY          2,089         2             $    15,000




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                                                MS4 NPDES
  Class Member            State   Population                    Settlement Amount
                                                Phase I or II
  Floral Park NY           NY         15,942         2             $    15,000
  Flower Hill NY           NY          4,793         2             $    15,000
  Fort Edward NY           NY          3,301         2             $    15,000
  Freeport NY              NY         43,140         2             $    15,000
  Garden City NY           NY         22,473         2             $    15,000
  Glen Cove NY             NY         27,250         2             $    15,000
  Glens Falls NY           NY         14,356         2             $    15,000
  Grand View-on-Hudson
  NY                       NY            292         2             $    15,000
  Great Neck Estates NY    NY          2,841         2             $    15,000
  Great Neck NY            NY         10,200         2             $    15,000
  Great Neck Plaza NY      NY          6,968         2             $    15,000
  Green Island NY          NY          2,596         2             $    15,000
  Greenport NY             NY          2,211         2             $    15,000
  Hamburg NY               NY          9,568         2             $    15,000
  Harrison NY              NY         27,955         2             $    15,000
  Hastings-on-Hudson NY    NY          7,985         2             $    15,000
  Haverstraw NY            NY         12,061         2             $    15,000
  Head of the Harbor NY    NY          1,471         2             $    15,000
  Hempstead NY             NY         55,380         2             $    15,000
  Hewlett Bay Park NY      NY            431         2             $    15,000
  Hewlett Harbor NY        NY          1,274         2             $    15,000
  Hewlett Neck NY          NY            471         2             $    15,000
  Highland Falls NY        NY          3,824         2             $    15,000
  Hilton NY                NY          5,842         2             $    15,000
  Horseheads NY            NY          6,504         2             $    15,000
  Hudson Falls NY          NY          7,113         2             $    15,000
  Huntington Bay NY        NY          1,432         2             $    15,000
  Irvington NY             NY          6,550         2             $    15,000
  Island Park NY           NY          4,815         2             $    15,000
  Islandia NY              NY          3,340         2             $    15,000
  Jefferson County NY      NY        116,594         2             $    25,000
  Johnson City NY          NY         14,599         2             $    15,000
  Kenmore NY               NY         15,168         2             $    15,000
  Kensington NY            NY          1,172         2             $    15,000
  Kings Point NY           NY          5,161         2             $    15,000
  Kingston NY              NY         23,164         2             $    15,000
  Lackawanna NY            NY         17,851         2             $    15,000
  Lake Grove NY            NY         11,119         2             $    15,000
  Lake Success NY          NY          3,098         2             $    15,000
  Lancaster NY             NY         10,145         2             $    15,000
  Larchmont NY             NY          6,117         2             $    15,000




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                                               MS4 NPDES
  Class Member         State     Population                    Settlement Amount
                                               Phase I or II
  Lattingtown NY        NY            1,774         2             $    15,000
  Laurel Hollow NY      NY            2,023         2             $    15,000
  Lawrence NY           NY            6,538         2             $    15,000
  Lewiston NY           NY            2,586         2             $    15,000
  Lindenhurst NY        NY           27,033         2             $    15,000
  Liverpool NY          NY            2,248         2             $    15,000
  Lloyd Harbor NY       NY            3,681         2             $    15,000
  Long Beach NY         NY           33,516         2             $    15,000
  Lynbrook NY           NY           19,555         2             $    15,000
  Malverne NY           NY            8,537         2             $    15,000
  Mamaroneck NY         NY           19,273         2             $    15,000
  Manorhaven NY         NY            6,602         2             $    15,000
  Massapequa Park NY    NY           17,114         2             $    15,000
  Matinecock NY         NY              828         2             $    15,000
  Menands NY            NY            3,943         2             $    15,000
  Mill Neck NY          NY              964         2             $    15,000
  Monroe County NY      NY          743,531         2             $    25,000
  Mount Vernon NY       NY           68,234         2             $    15,000
  Munsey Park NY        NY            2,719         2             $    15,000
  Muttontown NY         NY            3,652         2             $    15,000
  Nassau County NY      NY        1,356,463         2             $    25,000
  New Hartford NY       NY            1,823         2             $    15,000
  New Hempstead NY      NY            5,374         2             $    15,000
  New Hyde Park NY      NY            9,842         2             $    15,000
  New Rochelle NY       NY           79,446         2             $    15,000
  New York Mills NY     NY            3,255         2             $    15,000
  New York NY           NY        8,475,976         1             $    30,000
  Newburgh NY           NY           28,263         2             $    15,000
  Niagara County NY     NY          211,534         2             $    25,000
  Niagara Falls NY      NY           48,643         2             $    15,000
  Nissequogue NY        NY            1,741         2             $    15,000
  North Haven NY        NY              877         2             $    15,000
  North Hills NY        NY            5,742         2             $    15,000
  North Syracuse NY     NY            6,758         2             $    15,000
  North Tonawanda NY    NY           30,582         2             $    15,000
  Northport NY          NY            7,342         2             $    15,000
  Nyack NY              NY            6,944         2             $    15,000
  Old Brookville NY     NY            2,185         2             $    15,000
  Old Field NY          NY              908         2             $    15,000
  Old Westbury NY       NY            4,716         2             $    15,000
  Oneida County NY      NY          230,348         2             $    25,000




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                                                 MS4 NPDES
  Class Member            State   Population                     Settlement Amount
                                                 Phase I or II
  Onondaga County NY       NY        464,033          2             $    25,000
  Ontario County NY        NY        109,267          2             $    25,000
  Orange County NY         NY        378,047          2             $    25,000
  Orchard Park NY          NY          3,156          2             $    15,000
  Oriskany NY              NY          1,355          2             $    15,000
  Ossining NY              NY         25,248          2             $    15,000
  Oyster Bay Cove NY       NY          2,256          2             $    15,000
  Patchogue NY             NY         12,431          2             $    15,000
  Peekskill NY             NY         23,945          2             $    15,000
  Pelham Manor NY          NY          5,611          2             $    15,000
  Pelham NY                NY          6,968          2             $    15,000
  Piermont NY              NY          2,542          2             $    15,000
  Pittsford NY             NY          1,351          2             $    15,000
  Plandome Heights NY      NY          1,024          2             $    15,000
  Plandome Manor NY        NY              888        2             $    15,000
  Plandome NY              NY          1,436          2             $    15,000
  Pomona NY                NY          3,201          2             $    15,000
  Poquott NY               NY              940        2             $    15,000
  Port Chester NY          NY         29,494          2             $    15,000
  Port Jefferson NY        NY          7,770          2             $    15,000
  Port of New York         NY       #N/A              2             $    25,000
  Port Washington North
  NY                       NY          3,204          2             $    15,000
  Poughkeepsie NY          NY         30,153          2             $    15,000
  Putnam County NY         NY         98,812          2             $    15,000
  Quogue NY                NY              998        2             $    15,000
  Rensselaer County NY     NY        159,334          2             $    25,000
  Rensselaer NY            NY          9,285          2             $    15,000
  Rochester NY             NY        207,729          2             $    25,000
  Rockland County NY       NY        312,502          2             $    25,000
  Rockville Centre NY      NY         24,564          2             $    15,000
  Roslyn Estates NY        NY          1,241          2             $    15,000
  Roslyn Harbor NY         NY          1,099          2             $    15,000
  Roslyn NY                NY          2,839          2             $    15,000
  Russell Gardens NY       NY              950        2             $    15,000
  Rye Brook NY             NY          9,481          2             $    15,000
  Rye NY                   NY         15,910          2             $    15,000
  Saddle Rock NY           NY              942        2             $    15,000
  Sag Harbor NY            NY          2,274          2             $    15,000
  Sagaponack NY            NY              322        2             $    15,000
  Sands Point NY           NY          2,869          2             $    15,000
  Saratoga County NY       NY        227,048          2             $    25,000




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                                                   MS4 NPDES
  Class Member               State   Population                    Settlement Amount
                                                   Phase I or II
  Saugerties NY               NY          3,864         2             $    15,000
  Scarsdale NY                NY         17,830         2             $    15,000
  Scottsville NY              NY          1,933         2             $    15,000
  Sea Cliff NY                NY          5,060         2             $    15,000
  Shoreham NY                 NY            539         2             $    15,000
  Sleepy Hollow NY            NY         10,153         2             $    15,000
  Sloan NY                    NY          3,578         2             $    15,000
  Solvay NY                   NY          6,358         2             $    15,000
  South Floral Park NY        NY          1,788         2             $    15,000
  South Glens Falls NY        NY          3,568         2             $    15,000
  South Nyack NY              NY          3,505         2             $    15,000
  Southampton NY              NY          3,275         2             $    15,000
  Spencerport NY              NY          3,650         2             $    15,000
  Stewart Manor NY            NY          1,968         2             $    15,000
  Suffolk County NY           NY      1,486,804         2             $    25,000
  Syracuse NY                 NY        143,181         2             $    25,000
  Tarrytown NY                NY         11,489         2             $    15,000
  Thomaston NY                NY          2,629         2             $    15,000
  Tonawanda NY                NY         14,851         2             $    15,000
  Troy NY                     NY         49,593         2             $    15,000
  Tuckahoe NY                 NY          6,604         2             $    15,000
  Ulster County NY            NY        179,080         2             $    25,000
  Upper Brookville NY         NY          1,748         2             $    15,000
  Upper Nyack NY              NY          2,160         2             $    15,000
  Utica NY                    NY         60,616         2             $    15,000
  Valley Stream NY            NY         37,626         2             $    15,000
  Village of the Branch NY    NY          1,795         2             $    15,000
  Voorheesville NY            NY          2,802         2             $    15,000
  Wappingers Falls NY         NY          5,565         2             $    15,000
  Warren County NY            NY         64,428         2             $    15,000
  Washington County NY        NY         63,343         2             $    15,000
  Washingtonville NY          NY          5,743         2             $    15,000
  Waterford NY                NY          2,173         2             $    15,000
  Watervliet NY               NY         10,118         2             $    15,000
  Webster NY                  NY          5,514         2             $    15,000
  Wesley Hills NY             NY          5,847         2             $    15,000
  West Haverstraw NY          NY         10,255         2             $    15,000
  Westbury NY                 NY         15,331         2             $    15,000
  Westchester County NY       NY        970,556         2             $    25,000
  Westhampton Beach NY        NY          1,758         2             $    15,000
  White Plains NY             NY         58,002         2             $    15,000




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                                               MS4 NPDES
  Class Member           State   Population                    Settlement Amount
                                               Phase I or II
  Whitesboro NY           NY          3,660         2             $    15,000
  Woodbury NY             NY         10,851         2             $    15,000
  Woodsburgh NY           NY            781         2             $    15,000
  Yonkers NY              NY        200,083         2             $    25,000
  Yorkville NY            NY          2,602         2             $    15,000
  Youngstown NY           NY          1,907         2             $    15,000
  Akron OH                OH        198,021         1             $    30,000
  Allen County OH         OH        103,561         2             $    25,000
  Amherst OH              OH         12,091         2             $    15,000
  Ashland OH              OH         20,437         2             $    15,000
  Ashtabula OH            OH         18,241         2             $    15,000
  Aurora OH               OH         15,862         2             $    15,000
  Avon Lake OH            OH         23,651         2             $    15,000
  Avon OH                 OH         22,811         2             $    15,000
  Barberton OH            OH         26,165         2             $    15,000
  Bay Village OH          OH         15,378         2             $    15,000
  Beachwood OH            OH         11,703         2             $    15,000
  Beavercreek OH          OH         46,458         2             $    15,000
  Bedford Heights OH      OH         10,633         2             $    15,000
  Bedford OH              OH         12,704         2             $    15,000
  Bellaire OH             OH          4,143         2             $    15,000
  Bellbrook OH            OH          7,144         2             $    15,000
  Bellefontaine OH        OH         13,122         2             $    15,000
  Belpre OH               OH          6,427         2             $    15,000
  Berea OH                OH         18,918         2             $    15,000
  Blue Ash OH             OH         12,152         2             $    15,000
  Bowling Green OH        OH         31,438         2             $    15,000
  Bratenahl OH            OH          1,172         2             $    15,000
  Brecksville OH          OH         13,470         2             $    15,000
  Broadview Heights OH    OH         19,255         2             $    15,000
  Brook Park OH           OH         18,739         2             $    15,000
  Brooklyn Heights OH     OH          1,519         2             $    15,000
  Brookville OH           OH          5,878         2             $    15,000
  Brunswick OH            OH         34,646         2             $    15,000
  Bucyrus OH              OH         11,928         2             $    15,000
  Butler County OH        OH        378,443         2             $    25,000
  Campbell OH             OH          7,931         2             $    15,000
  Canal Fulton OH         OH          5,434         2             $    15,000
  Canal Winchester OH     OH          7,971         2             $    15,000
  Canfield OH             OH          7,292         2             $    15,000
  Canton OH               OH         71,273         2             $    15,000




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                                               MS4 NPDES
  Class Member           State   Population                    Settlement Amount
                                               Phase I or II
  Carlisle OH             OH          5,313         2             $    15,000
  Celina OH               OH         10,274         2             $    15,000
  Centerville OH          OH         23,812         2             $    15,000
  Cheviot OH              OH          8,313         2             $    15,000
  Cincinnati OH           OH        299,707         2             $    25,000
  Circleville OH          OH         13,856         2             $    15,000
  Clark County OH         OH        134,701         2             $    25,000
  Clayton OH              OH         13,178         2             $    15,000
  Clermont County OH      OH        203,053         2             $    25,000
  Cleveland Heights OH    OH         44,896         2             $    15,000
  Cleveland OH            OH        387,708         2             $    25,000
  Columbus OH             OH        866,918         1             $    30,000
  Coshocton OH            OH         11,074         2             $    15,000
  Cridersville OH         OH          1,818         2             $    15,000
  Cuyahoga County OH      OH      1,254,482         2             $    25,000
  Cuyahoga Falls OH       OH         49,249         2             $    15,000
  Cuyahoga Heights OH     OH            618         2             $    15,000
  Dayton OH               OH        140,858         1             $    30,000
  Deer Park OH            OH          5,689         2             $    15,000
  Defiance OH             OH         16,664         2             $    15,000
  Delaware County OH      OH        196,923         2             $    25,000
  Delaware OH             OH         38,794         2             $    15,000
  Dover OH                OH         12,826         2             $    15,000
  Doylestown OH           OH          3,097         2             $    15,000
  Dublin OH               OH         45,819         2             $    15,000
  East Canton OH          OH          1,588         2             $    15,000
  East Cleveland OH       OH         17,314         2             $    15,000
  East Liverpool OH       OH         10,703         2             $    15,000
  Eastlake OH             OH         18,179         2             $    15,000
  Elyria OH               OH         53,877         2             $    15,000
  Englewood OH            OH         13,480         2             $    15,000
  Erie County OH          OH         75,023         2             $    15,000
  Euclid OH               OH         47,501         2             $    15,000
  Fairborn OH             OH         33,525         2             $    15,000
  Fairfield County OH     OH        152,656         2             $    25,000
  Fairfield OH            OH         42,643         2             $    15,000
  Fairlawn OH             OH          7,515         2             $    15,000
  Fairview Park OH        OH         16,391         2             $    15,000
  Findlay OH              OH         41,294         2             $    15,000
  Forest Park OH          OH         18,710         2             $    15,000
  Fostoria OH             OH         13,311         2             $    15,000




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                                               MS4 NPDES
  Class Member           State   Population                    Settlement Amount
                                               Phase I or II
  Franklin County OH      OH      1,274,580         2             $    25,000
  Franklin OH             OH         11,755         2             $    15,000
  Fremont OH              OH         16,213         2             $    15,000
  Garfield Heights OH     OH         28,013         2             $    15,000
  Geauga County OH        OH         93,902         2             $    15,000
  Germantown OH           OH          5,497         2             $    15,000
  Girard OH               OH          9,459         2             $    15,000
  Glenwillow OH           OH            935         2             $    15,000
  Grafton OH              OH          6,218         2             $    15,000
  Grandview Heights OH    OH          7,681         2             $    15,000
  Greene County OH        OH        165,315         2             $    25,000
  Grove City OH           OH         40,030         2             $    15,000
  Groveport OH            OH          5,610         2             $    15,000
  Hamilton County OH      OH        811,572         2             $    25,000
  Hamilton OH             OH         62,244         2             $    15,000
  Hanover OH              OH          1,167         2             $    15,000
  Harrison OH             OH         11,094         2             $    15,000
  Hartville OH            OH          3,017         2             $    15,000
  Heath OH                OH         10,627         2             $    15,000
  Highland Hills OH       OH            966         2             $    15,000
  Hilliard OH             OH         35,127         2             $    15,000
  Huber Heights OH        OH         38,014         2             $    15,000
  Hudson OH               OH         22,249         2             $    15,000
  Huron OH                OH          6,952         2             $    15,000
  Independence OH         OH          7,139         2             $    15,000
  Ironton OH              OH         10,787         2             $    15,000
  Jefferson County OH     OH         66,941         2             $    15,000
  Kent OH                 OH         30,077         2             $    15,000
  Kettering OH            OH         55,261         2             $    15,000
  Kirtland OH             OH          6,811         2             $    15,000
  Lake County OH          OH        229,623         2             $    25,000
  Lakewood OH             OH         50,542         2             $    15,000
  Lancaster OH            OH         39,844         2             $    15,000
  Lawrence County OH      OH         60,681         2             $    15,000
  Lebanon OH              OH         20,608         2             $    15,000
  Licking County OH       OH        171,993         2             $    25,000
  Lima OH                 OH         37,291         2             $    15,000
  Lithopolis OH           OH          1,443         2             $    15,000
  Lorain County OH        OH        306,619         2             $    25,000
  Lorain OH               OH         63,707         2             $    15,000
  Louisville OH           OH          9,337         2             $    15,000




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                                                MS4 NPDES
  Class Member            State   Population                    Settlement Amount
                                                Phase I or II
  Loveland OH              OH         12,715         2             $    15,000
  Lowellville OH           OH          1,110         2             $    15,000
  Lucas County OH          OH        432,783         2             $    25,000
  Lyndhurst OH             OH         13,637         2             $    15,000
  Macedonia OH             OH         11,892         2             $    15,000
  Mahoning County OH       OH        230,375         2             $    25,000
  Mansfield OH             OH         46,709         2             $    15,000
  Maple Heights OH         OH         22,545         2             $    15,000
  Marble Cliff OH          OH            676         2             $    15,000
  Marietta OH              OH         13,594         2             $    15,000
  Marion OH                OH         36,373         2             $    15,000
  Martins Ferry OH         OH          6,722         2             $    15,000
  Marysville OH            OH         23,488         2             $    15,000
  Mason OH                 OH         32,928         2             $    15,000
  Massillon OH             OH         32,310         2             $    15,000
  Maumee OH                OH         13,858         2             $    15,000
  Medina County OH         OH        176,901         2             $    25,000
  Medina OH                OH         26,215         2             $    15,000
  Mentor OH                OH         46,900         2             $    15,000
  Mentor-on-the-Lake OH    OH          7,386         2             $    15,000
  Miami County OH          OH        104,587         2             $    25,000
  Miamisburg OH            OH         19,964         2             $    15,000
  Middleburg Heights OH    OH         15,660         2             $    15,000
  Middletown OH            OH         48,885         2             $    15,000
  Milford OH               OH          6,884         2             $    15,000
  Monroe OH                OH         13,506         2             $    15,000
  Montgomery County OH     OH        531,863         2             $    25,000
  Montgomery OH            OH         10,672         2             $    15,000
  Moraine OH               OH          6,448         2             $    15,000
  Mount Healthy            OH          6,073         2             $    15,000
  Munroe Falls OH          OH          5,059         2             $    15,000
  Navarre OH               OH          1,877         2             $    15,000
  New Franklin OH          OH         14,159         2             $    15,000
  New Middletown OH        OH          1,578         2             $    15,000
  New Philadelphia OH      OH         17,462         2             $    15,000
  Newark OH                OH         48,944         2             $    15,000
  Newburgh Heights OH      OH          2,094         2             $    15,000
  Newton Falls OH          OH          4,566         2             $    15,000
  Niles OH                 OH         18,355         2             $    15,000
  North Canton OH          OH         17,369         2             $    15,000
  North College Hill OH    OH          9,316         2             $    15,000




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                                               MS4 NPDES
  Class Member          State    Population                    Settlement Amount
                                               Phase I or II
  North Olmsted OH       OH          31,911         2             $    15,000
  North Randall OH       OH           1,005         2             $    15,000
  North Ridgeville OH    OH          33,028         2             $    15,000
  North Royalton OH      OH          30,347         2             $    15,000
  Northwood OH           OH           5,380         2             $    15,000
  Norton OH              OH          12,048         2             $    15,000
  Norwood OH             OH          19,917         2             $    15,000
  Oakwood OH             OH           9,015         2             $    15,000
  Oakwood OH             OH           3,685         2             $    15,000
  Oberlin OH             OH           8,327         2             $    15,000
  Obetz OH               OH           4,886         2             $    15,000
  Olmsted Falls OH       OH           8,931         2             $    15,000
  Ontario OH             OH           6,088         2             $    15,000
  Orange OH              OH           3,283         2             $    15,000
  Oregon OH              OH          20,019         2             $    15,000
  Ottawa County OH       OH          40,486         2             $    15,000
  Ottawa Hills OH        OH           4,442         2             $    15,000
  Painesville OH         OH          19,791         2             $    15,000
  Parma Heights OH       OH          20,178         2             $    15,000
  Parma OH               OH          79,646         2             $    15,000
  Pataskala OH           OH          15,436         2             $    15,000
  Perrysburg OH          OH          21,421         2             $    15,000
  Pickerington OH        OH          20,047         2             $    15,000
  Piqua OH               OH          20,887         2             $    15,000
  Portage County OH      OH         162,595         2             $    25,000
  Portsmouth OH          OH          20,363         2             $    15,000
  Powell OH              OH          12,809         2             $    15,000
  Ravenna OH             OH          11,531         2             $    15,000
  Reading OH             OH          10,297         2             $    15,000
  Richland County OH     OH         121,280         2             $    25,000
  Richmond Heights OH    OH          10,451         2             $    15,000
  Rittman OH             OH           6,583         2             $    15,000
  Riverlea OH            OH             567         2             $    15,000
  Riverside OH           OH          25,058         2             $    15,000
  Rocky River OH         OH          20,330         2             $    15,000
  Rossford OH            OH           6,511         2             $    15,000
  Salem OH               OH          11,879         2             $    15,000
  Sandusky OH            OH          24,982         2             $    15,000
  Seven Hills OH         OH          11,688         2             $    15,000
  Shaker Heights OH      OH          27,635         2             $    15,000
  Sharonville OH         OH          13,817         2             $    15,000




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                                                     MS4 NPDES
  Class Member                 State   Population                    Settlement Amount
                                                     Phase I or II
  Shawnee Hills OH              OH            773         2             $    15,000
  Sheffield Lake OH             OH          9,000         2             $    15,000
  Sheffield OH                  OH          4,087         2             $    15,000
  Sidney OH                     OH         20,613         2             $    15,000
  Silverton OH                  OH          4,765         2             $    15,000
  Solon OH                      OH         23,083         2             $    15,000
  South Euclid OH               OH         21,721         2             $    15,000
  South Point OH                OH          3,903         2             $    15,000
  Springboro OH                 OH         18,402         2             $    15,000
  Springdale OH                 OH         11,229         2             $    15,000
  Springfield OH                OH         58,893         2             $    15,000
  St. Bernard OH                OH          4,370         2             $    15,000
  Stark County OH               OH        373,449         2             $    25,000
  Steubenville OH               OH         18,059         2             $    15,000
  Stow OH                       OH         34,733         2             $    15,000
  Streetsboro OH                OH         14,713         2             $    15,000
  Strongsville OH               OH         44,748         2             $    15,000
  Struthers OH                  OH         10,308         2             $    15,000
  Summit County OH              OH        541,646         2             $    25,000
  Swanton OH                    OH          3,830         2             $    15,000
  Sylvania OH                   OH         18,887         2             $    15,000
  Tallmadge OH                  OH         17,560         2             $    15,000
  The Village of Indian Hill
  OH                            OH          5,865         2             $    15,000
  Tiffin OH                     OH         17,547         2             $    15,000
  Tipp City OH                  OH          9,898         2             $    15,000
  Toledo OH                     OH        278,780         1             $    30,000
  Toronto OH                    OH          5,063         2             $    15,000
  Trenton OH                    OH         12,769         2             $    15,000
  Trotwood OH                   OH         24,350         2             $    15,000
  Troy OH                       OH         25,735         2             $    15,000
  Trumbull County OH            OH        201,709         2             $    25,000
  Twinsburg OH                  OH         18,871         2             $    15,000
  Union OH                      OH          6,610         2             $    15,000
  University Heights OH         OH         13,167         2             $    15,000
  Upper Arlington OH            OH         35,239         2             $    15,000
  Urbana OH                     OH         11,388         2             $    15,000
  Valley View OH                OH          2,007         2             $    15,000
  Valleyview OH                 OH            639         2             $    15,000
  Vandalia OH                   OH         15,064         2             $    15,000
  Wadsworth OH                  OH         23,097         2             $    15,000
  Walton Hills OH               OH          2,298         2             $    15,000




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                                                   MS4 NPDES
  Class Member              State   Population                     Settlement Amount
                                                   Phase I or II
  Warren County OH           OH        226,582          2             $    25,000
  Warren OH                  OH         39,811          2             $    15,000
  Warrensville Heights OH    OH         13,269          2             $    15,000
  Washington Court House
  OH                         OH         14,145          2             $    15,000
  Waterville OH              OH          5,481          2             $    15,000
  Wayne County OH            OH        116,670          2             $    25,000
  West Carrollton OH         OH         12,941          2             $    15,000
  Westlake OH                OH         32,377          2             $    15,000
  Wickliffe OH               OH         12,723          2             $    15,000
  Willoughby Hills OH        OH          9,510          2             $    15,000
  Willoughby OH              OH         22,863          2             $    15,000
  Willowick OH               OH         14,129          2             $    15,000
  Wood County OH             OH        129,808          2             $    25,000
  Woodlawn OH                OH          3,304          2             $    15,000
  Worthington OH             OH         14,629          2             $    15,000
  Wyoming OH                 OH          8,530          2             $    15,000
  Xenia OH                   OH         26,290          2             $    15,000
  Youngstown OH              OH         64,358          2             $    15,000
  Zanesville OH              OH         25,348          2             $    15,000
  Albany OR                  OR         52,689          2             $    15,000
  Benton County OR           OR         89,743          2             $    15,000
  Clackamas County OR        OR        406,794          1             $    30,000
  Fairview OR                OR          9,361          1             $    20,000
  Gladstone OR               OR         12,078          1             $    20,000
  Gresham OR                 OR        111,813          1             $    30,000
  Happy Valley OR            OR         19,357          1             $    20,000
  Keizer OR                  OR         38,765          2             $    15,000
  Lake Oswego OR             OR         38,658          1             $    20,000
  Linn County OR             OR        122,730          2             $    25,000
  Marion County OR           OR        335,816          2             $    25,000
  Millersburg OR             OR          1,672          2             $    15,000
  Milwaukie OR               OR         21,013          1             $    20,000
  Multnomah County OR        OR        803,741          1             $    30,000
  Oregon City OR             OR         36,027          1             $    20,000
  Polk County OR             OR         81,468          2             $    15,000
  Port of Portland           OR       #N/A              1             $    30,000
  Portland OR                OR        643,136          1             $    30,000
  Rivergrove OR              OR              369        1             $    20,000
  Salem OR                   OR        166,599          1             $    30,000
  Troutdale OR               OR         16,693          2             $    15,000
  West Linn OR               OR         26,634          1             $    20,000




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                                               MS4 NPDES
  Class Member          State    Population                    Settlement Amount
                                               Phase I or II
  Wilsonville OR         OR          23,670         1             $    20,000
  Aldan PA               PA           4,158         2             $    15,000
  Avalon PA              PA           4,617         2             $    15,000
  Avoca PA               PA           2,623         2             $    15,000
  Avondale PA            PA           1,399         2             $    15,000
  Baldwin Township PA    PA           1,934         2             $    15,000
  Bellevue PA            PA           8,204         2             $    15,000
  Ben Avon Heights PA    PA             367         2             $    15,000
  Ben Avon PA            PA           1,766         2             $    15,000
  Berks County PA        PA         415,748         2             $    25,000
  Berwick PA             PA          10,159         2             $    15,000
  Big Beaver PA          PA           1,901         2             $    15,000
  Birdsboro PA           PA           5,125         2             $    15,000
  Briar Creek PA         PA             684         2             $    15,000
  Bridgeport PA          PA           4,575         2             $    15,000
  Bridgeville PA         PA           5,053         2             $    15,000
  Bristol PA             PA           9,609         2             $    15,000
  Bristol Township PA    PA          53,751         2             $    15,000
  Brookhaven PA          PA           8,041         2             $    15,000
  Bryn Athyn PA          PA           1,392         2             $    15,000
  Bucks County PA        PA         625,925         2             $    25,000
  Camp Hill PA           PA           7,918         2             $    15,000
  Canonsburg PA          PA           8,867         2             $    15,000
  Carnegie PA            PA           7,936         2             $    15,000
  Castle Shannon PA      PA           8,215         2             $    15,000
  Catawissa PA           PA           1,500         2             $    15,000
  Centerport PA          PA             359         2             $    15,000
  Chalfont PA            PA           4,046         2             $    15,000
  Chester County PA      PA         516,813         2             $    25,000
  Chester Heights PA     PA           2,615         2             $    15,000
  Chester PA             PA          33,973         2             $    15,000
  Chester Township PA    PA           4,084         2             $    15,000
  Clifton Heights PA     PA           6,695         2             $    15,000
  Collingdale PA         PA           8,791         2             $    15,000
  Colwyn PA              PA           2,552         2             $    15,000
  Conshohocken PA        PA           8,032         2             $    15,000
  Coraopolis PA          PA           5,577         2             $    15,000
  Courtdale PA           PA             725         2             $    15,000
  Cressona PA            PA           1,614         2             $    15,000
  Danville PA            PA           4,603         2             $    15,000
  Darby PA               PA          10,697         2             $    15,000




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                                                MS4 NPDES
  Class Member            State   Population                    Settlement Amount
                                                Phase I or II
  Darby Township PA        PA          9,276         2             $    15,000
  Darlington PA            PA            242         2             $    15,000
  Dauphin County PA        PA        274,266         2             $    25,000
  Delaware County PA       PA        563,490         2             $    25,000
  Delaware Water Gap PA    PA            715         2             $    15,000
  Downingtown PA           PA          7,928         2             $    15,000
  Doylestown PA            PA          8,300         2             $    15,000
  Dupont PA                PA          2,684         2             $    15,000
  Duryea PA                PA          4,861         2             $    15,000
  East Lansdowne PA        PA          2,671         2             $    15,000
  Easton PA                PA         27,051         2             $    15,000
  Eddystone PA             PA          2,410         2             $    15,000
  Edwardsville PA          PA          4,719         2             $    15,000
  Emsworth PA              PA          2,402         2             $    15,000
  Erie PA                  PA         98,239         2             $    15,000
  Exeter PA                PA          5,594         2             $    15,000
  Exeter Township PA       PA         25,724         2             $    15,000
  Folcroft PA              PA          6,627         2             $    15,000
  Forty Fort PA            PA          4,114         2             $    15,000
  Franklin Park PA         PA         14,439         2             $    15,000
  Glenfield PA             PA            210         2             $    15,000
  Glenolden PA             PA          7,158         2             $    15,000
  Great Bend PA            PA            684         2             $    15,000
  Green Tree PA            PA          4,913         2             $    15,000
  Hallstead PA             PA          1,239         2             $    15,000
  Hamburg PA               PA          4,354         2             $    15,000
  Harrisburg PA            PA         49,172         2             $    15,000
  Hatboro PA               PA          7,432         2             $    15,000
  Heidelberg PA            PA          1,226         2             $    15,000
  Horsham Township PA      PA         26,503         2             $    15,000
  Hughestown PA            PA          1,377         2             $    15,000
  Hulmeville PA            PA            993         2             $    15,000
  Ingram PA                PA          3,268         2             $    15,000
  Ivyland PA               PA          1,042         2             $    15,000
  Jenkintown PA            PA          4,440         2             $    15,000
  Kenhorst PA              PA          2,869         2             $    15,000
  Kennett Square PA        PA          6,160         2             $    15,000
  Kingston PA              PA         12,891         2             $    15,000
  Kingston Township PA     PA          6,895         2             $    15,000
  Laflin PA                PA          1,441         2             $    15,000
  Lake City PA             PA          2,952         2             $    15,000




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                                                 MS4 NPDES
  Class Member             State   Population                    Settlement Amount
                                                 Phase I or II
  Langhorne Manor PA        PA          1,430         2             $    15,000
  Langhorne PA              PA          1,592         2             $    15,000
  Lansdowne PA              PA         10,642         2             $    15,000
  Larksville PA             PA          4,403         2             $    15,000
  Laureldale PA             PA          3,895         2             $    15,000
  Lawrence Park Township
  PA                        PA          3,850         2             $    15,000
  Leesport PA               PA          1,886         2             $    15,000
  Luzerne County PA         PA        317,018         2             $    25,000
  Malvern PA                PA          3,428         2             $    15,000
  Marcus Hook PA            PA          2,402         2             $    15,000
  McDonald PA               PA          2,086         2             $    15,000
  Mechanicsburg PA          PA          8,995         2             $    15,000
  Media PA                  PA          5,356         2             $    15,000
  Midway PA                 PA            885         2             $    15,000
  Milford Township PA       PA         10,073         2             $    15,000
  Millbourne PA             PA          1,161         2             $    15,000
  Montgomery County PA      PA        820,084         2             $    25,000
  Moosic PA                 PA          5,744         2             $    15,000
  Morrisville PA            PA          8,583         2             $    15,000
  Morton PA                 PA          2,667         2             $    15,000
  Narberth PA               PA          4,353         2             $    15,000
  Nescopeck PA              PA          1,545         2             $    15,000
  New Britain PA            PA          2,963         2             $    15,000
  New Castle PA             PA         24,060         2             $    15,000
  New Hope PA               PA          2,497         2             $    15,000
  Newtown PA                PA          2,244         2             $    15,000
  Norristown PA             PA         34,511         2             $    15,000
  Northampton County PA     PA        301,364         2             $    25,000
  Norwood PA                PA          5,893         2             $    15,000
  Old Forge PA              PA          7,990         2             $    15,000
  Parkside PA               PA          2,327         2             $    15,000
  Penndel PA                PA          2,188         2             $    15,000
  Pennsbury Village PA      PA            664         2             $    15,000
  Philadelphia PA           PA      1,576,390         1             $    30,000
  Phoenixville PA           PA         16,945         2             $    15,000
  Pittston Township PA      PA          3,378         2             $    15,000
  Plymouth PA               PA          5,814         2             $    15,000
  Plymouth Township PA      PA         17,594         2             $    15,000
  Port Clinton PA           PA            313         2             $    15,000
  Pottstown PA              PA         22,703         2             $    15,000
  Pottsville PA             PA         14,340         2             $    15,000




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                                                   MS4 NPDES
  Class Member               State   Population                    Settlement Amount
                                                   Phase I or II
  Pringle PA                  PA            958         2             $    15,000
  Prospect Park PA            PA          6,488         2             $    15,000
  Reading PA                  PA         88,145         2             $    15,000
  Ridley Park PA              PA          7,039         2             $    15,000
  Riverside PA                PA          1,890         2             $    15,000
  Rockledge PA                PA          2,541         2             $    15,000
  Rose Valley PA              PA            948         2             $    15,000
  Rosslyn Farms PA            PA            420         2             $    15,000
  Royersford PA               PA          4,776         2             $    15,000
  Rutledge PA                 PA            798         2             $    15,000
  Sewickley Hills PA          PA            726         2             $    15,000
  Sharon Hill PA              PA          5,685         2             $    15,000
  Shillington PA              PA          5,289         2             $    15,000
  Shoemakersville PA          PA          1,378         2             $    15,000
  Sinking Spring PA           PA          4,091         2             $    15,000
  Sugar Notch PA              PA            967         2             $    15,000
  Swarthmore PA               PA          6,249         2             $    15,000
  Swoyersville PA             PA          4,955         2             $    15,000
  Taylor PA                   PA          5,980         2             $    15,000
  Thornburg PA                PA            445         2             $    15,000
  Trainer PA                  PA          1,846         2             $    15,000
  Trappe PA                   PA          3,526         2             $    15,000
  Tullytown PA                PA          1,931         2             $    15,000
  Upland PA                   PA          3,309         2             $    15,000
  Upper St. Clair Township
  PA                          PA         19,743         2             $    15,000
  Warrior Run PA              PA            575         2             $    15,000
  West Chester PA             PA         20,021         2             $    15,000
  West Conshohocken PA        PA          1,394         2             $    15,000
  West Grove PA               PA          2,850         2             $    15,000
  West Pittston PA            PA          4,764         2             $    15,000
  West Reading PA             PA          4,201         2             $    15,000
  West View PA                PA          6,641         2             $    15,000
  West Wyoming PA             PA          2,681         2             $    15,000
  Wormleysburg PA             PA          3,073         2             $    15,000
  Wyoming PA                  PA          3,019         2             $    15,000
  Wyomissing PA               PA         10,432         2             $    15,000
  Yardley PA                  PA          2,470         2             $    15,000
  Yatesville PA               PA            606         2             $    15,000
  Yeadon PA                   PA         11,494         2             $    15,000
  Central Falls RI            RI         19,480         2             $    15,000
  Cranston RI                 RI         81,188         2             $    15,000




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                                               MS4 NPDES
  Class Member         State     Population                    Settlement Amount
                                               Phase I or II
  East Providence RI    RI           47,492         2             $    15,000
  Pawtucket RI          RI           71,798         2             $    15,000
  Providence RI         RI          179,720         2             $    25,000
  Warwick RI            RI           80,977         2             $    15,000
  Woonsocket RI         RI           41,567         2             $    15,000
  Laurens County SC     SC           66,656         2             $    15,000
  Pickens County SC     SC          123,042         2             $    25,000
  Alcoa TN              TN            9,690         2             $    15,000
  Anderson County TN    TN           75,583         2             $    15,000
  Bartlett TN           TN           58,853         2             $    15,000
  Blount County TN      TN          128,259         2             $    25,000
  Bristol TN            TN           26,968         2             $    15,000
  Chattanooga TN        TN          177,104         1             $    30,000
  Farragut TN           TN           22,210         2             $    15,000
  Hamilton County TN    TN          357,858         2             $    25,000
  Knox County TN        TN          455,650         2             $    25,000
  Knoxville TN          TN          185,193         1             $    30,000
  Lenoir City TN        TN            9,077         2             $    15,000
  Loudon County TN      TN           51,348         2             $    15,000
  Marion County TN      TN           28,351         2             $    15,000
  Maryville TN          TN           28,448         2             $    15,000
  Memphis TN            TN          653,184         1             $    30,000
  Monroe County TN      TN           45,879         2             $    15,000
  Oak Ridge TN          TN           28,956         2             $    15,000
  Portland TN           TN           12,553         2             $    15,000
  Roane County TN       TN           52,862         2             $    15,000
  Shelby County TN      TN          936,759         2             $    25,000
  Signal Mountain TN    TN            8,531         2             $    15,000
  Sumner County TN      TN          179,143         2             $    25,000
  Alamo TX              TX           19,596         2             $    15,000
  Alton TX              TX           16,810         2             $    15,000
  Alvin TX              TX           26,210         2             $    15,000
  Angleton TX           TX           19,381         2             $    15,000
  Arcola TX             TX            2,280         2             $    15,000
  Arlington TX          TX          394,780         1             $    30,000
  Balch Springs TX      TX           25,270         2             $    15,000
  Baytown TX            TX           76,544         2             $    15,000
  Bedford TX            TX           49,554         2             $    15,000
  Bellaire TX           TX           18,824         2             $    15,000
  Benbrook TX           TX           22,934         2             $    15,000
  Bexar County TX       TX        1,929,530         2             $    25,000




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                                                 MS4 NPDES
  Class Member             State   Population                    Settlement Amount
                                                 Phase I or II
  Blue Mound TX             TX          2,492         2             $    15,000
  Brazoria County TX        TX        353,778         2             $    25,000
  Cameron County TX         TX        422,137         2             $    25,000
  Chambers County TX        TX         40,247         2             $    15,000
  Clear Lake Shores         TX          1,190         2             $    15,000
  Clute TX                  TX         11,525         2             $    15,000
  Cockrell Hill TX          TX          4,276         2             $    15,000
  Colleyville TX            TX         26,186         2             $    15,000
  Cove TX                   TX            519         2             $    15,000
  Dallas County TX          TX      2,592,844         2             $    25,000
  Dallas TX                 TX      1,324,477         1             $    30,000
  Dalworthington Gardens
  TX                        TX          2,388         2             $    15,000
  Deer Park TX              TX         34,034         2             $    15,000
  Dickinson TX              TX         20,563         2             $    15,000
  Donna TX                  TX         16,617         2             $    15,000
  Edcouch TX                TX          3,328         2             $    15,000
  Edinburg TX               TX         93,053         2             $    15,000
  Euless TX                 TX         54,902         2             $    15,000
  Fort Bend County TX       TX        743,303         2             $    25,000
  Fort Worth TX             TX        856,902         1             $    30,000
  Freeport TX               TX         12,050         2             $    15,000
  Friendswood TX            TX         39,411         2             $    15,000
  Galena Park TX            TX         11,097         2             $    15,000
  Galveston County TX       TX        328,822         2             $    25,000
  Galveston TX              TX         50,238         2             $    15,000
  Grand Prairie TX          TX        192,300         2             $    25,000
  Haltom City TX            TX         44,485         2             $    15,000
  Harlingen TX              TX         65,289         2             $    15,000
  Harris County TX          TX      4,629,189         1             $    30,000
  Helotes TX                TX          8,781         2             $    15,000
  Hidalgo County TX         TX        850,798         2             $    25,000
  Hidalgo TX                TX         13,774         2             $    15,000
  Hitchcock TX              TX          7,824         2             $    15,000
  Houston TX                TX      2,309,752         1             $    30,000
  Hurst TX                  TX         39,164         2             $    15,000
  Hutchins TX               TX          5,622         2             $    15,000
  Irving TX                 TX        240,086         1             $    30,000
  Jacinto City TX           TX         10,754         2             $    15,000
  Kemah TX                  TX          2,001         2             $    15,000
  Kennedale TX              TX          7,931         2             $    15,000
  La Feria TX               TX          7,133         2             $    15,000




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                                                  MS4 NPDES
  Class Member              State   Population                    Settlement Amount
                                                  Phase I or II
  La Joya TX                 TX          4,269         2             $    15,000
  La Marque TX               TX         16,374         2             $    15,000
  La Porte TX                TX         35,477         2             $    15,000
  Lake Jackson TX            TX         27,268         2             $    15,000
  Lake Worth TX              TX          4,973         2             $    15,000
  Lancaster TX               TX         39,192         2             $    15,000
  League City TX             TX        101,800         2             $    25,000
  Leon Valley TX             TX         11,373         2             $    15,000
  Mansfield TX               TX         66,217         2             $    15,000
  McAllen TX                 TX        142,418         2             $    25,000
  Mercedes TX                TX         16,625         2             $    15,000
  Mesquite TX                TX        139,824         1             $    30,000
  Mission TX                 TX         83,788         2             $    15,000
  Missouri City TX           TX         74,190         2             $    15,000
  Mont Belvieu TX            TX          5,568         2             $    15,000
  Nassau Bay TX              TX          4,084         2             $    15,000
  North Richland Hills TX    TX         69,999         2             $    15,000
  Palmhurst TX               TX          2,719         2             $    15,000
  Palmview TX                TX          5,756         2             $    15,000
  Pantego TX                 TX          2,549         2             $    15,000
  Pasadena TX                TX        154,632         2             $    25,000
  Pearland TX                TX        116,332         2             $    25,000
  Pharr TX                   TX         77,846         2             $    15,000
  Richland Hills TX          TX          8,093         2             $    15,000
  Richwood TX                TX          3,883         2             $    15,000
  River Oaks TX              TX          7,706         2             $    15,000
  Saginaw TX                 TX         22,884         2             $    15,000
  San Antonio TX             TX      1,488,512         1             $    30,000
  San Benito TX              TX         24,524         2             $    15,000
  San Juan TX                TX         36,835         2             $    15,000
  Sansom Park TX             TX          4,880         2             $    15,000
  Santa Fe TX                TX         13,288         2             $    15,000
  Seabrook TX                TX         13,768         2             $    15,000
  Seagoville TX              TX         16,362         2             $    15,000
  Southside Place TX         TX          1,848         2             $    15,000
  Stafford TX                TX         18,478         2             $    15,000
  Tarrant County TX          TX      2,024,925         2             $    25,000
  Taylor Lake Village TX     TX          3,666         2             $    15,000
  Texas City TX              TX         48,052         2             $    15,000
  Watauga TX                 TX         24,674         2             $    15,000
  Webster TX                 TX         11,144         2             $    15,000




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                                                   MS4 NPDES
  Class Member               State   Population                    Settlement Amount
                                                   Phase I or II
  Weslaco TX                  TX         39,929         2             $    15,000
  West University Place TX    TX         15,649         2             $    15,000
  Westworth Village TX        TX          2,673         2             $    15,000
  White Settlement TX         TX         17,235         2             $    15,000
  Wilmer TX                   TX          4,083         2             $    15,000
  American Fork UT            UT         28,660         2             $    15,000
  Bluffdale UT                UT         11,717         2             $    15,000
  Cedar Hills UT              UT         10,301         2             $    15,000
  Draper UT                   UT         47,084         2             $    15,000
  Eagle Mountain UT           UT         28,869         2             $    15,000
  Highland UT                 UT         18,465         2             $    15,000
  Lehi UT                     UT         61,675         2             $    15,000
  Lindon UT                   UT         10,854         2             $    15,000
  Orem UT                     UT         96,865         2             $    15,000
  Pleasant Grove UT           UT         38,485         2             $    15,000
  Provo UT                    UT        116,573         2             $    25,000
  Salt Lake County UT         UT      1,120,684         2             $    25,000
  Saratoga Springs UT         UT         26,596         2             $    15,000
  Spanish Fork UT             UT         38,683         2             $    15,000
  Springville UT              UT         32,970         2             $    15,000
  Utah County UT              UT        590,082         2             $    25,000
  Vineyard UT                 UT          4,143         2             $    15,000
  Abingdon VA                 VA          8,034         2             $    15,000
  Alexandria VA               VA        157,045         2             $    25,000
  Arlington County VA         VA        231,582         1             $    30,000
  Augusta County VA           VA         74,793         2             $    15,000
  Bristol VA                  VA         16,843         2             $    15,000
  Chesapeake VA               VA        237,591         1             $    30,000
  Chesterfield County VA      VA        338,414         1             $    30,000
  Danville VA                 VA         41,641         2             $    15,000
  Fairfax County VA           VA      1,143,229         1             $    30,000
  Fairfax VA                  VA         23,835         2             $    15,000
  Falls Church VA             VA         13,782         2             $    15,000
  Fredericksburg VA           VA         28,379         2             $    15,000
  Hampton VA                  VA        135,238         1             $    30,000
  Henrico County VA           VA        325,589         1             $    30,000
  Hopewell VA                 VA         22,553         2             $    15,000
  James City County VA        VA         73,994         2             $    15,000
  Loudoun County VA           VA        385,524         2             $    25,000
  Lynchburg VA                VA         80,038         2             $    15,000
  Manassas Park VA            VA         16,143         2             $    15,000




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                                                MS4 NPDES
  Class Member            State   Population                    Settlement Amount
                                                Phase I or II
  Manassas VA              VA         41,435         2             $    15,000
  Montgomery County VA     VA         98,254         2             $    15,000
  Newport News VA          VA        180,179         1             $    30,000
  Norfolk VA               VA        245,843         1             $    30,000
  Petersburg VA            VA         31,698         2             $    15,000
  Poquoson VA              VA         11,943         2             $    15,000
  Portsmouth VA            VA         95,094         1             $    20,000
  Prince William County
  VA                       VA        457,023         1             $    30,000
  Radford VA               VA         17,420         2             $    15,000
  Richmond VA              VA        204,451         2             $    25,000
  Roanoke County VA        VA         93,371         2             $    15,000
  Roanoke VA               VA         99,572         2             $    15,000
  Salem VA                 VA         25,438         2             $    15,000
  Stafford County VA       VA        143,578         2             $    25,000
  Staunton VA              VA         24,266         2             $    15,000
  Suffolk VA               VA         89,322         2             $    15,000
  Vienna VA                VA         16,482         2             $    15,000
  Vinton VA                VA          8,043         2             $    15,000
  Virginia Beach VA        VA        451,136         1             $    30,000
  York County VA           VA         67,812         2             $    15,000
  Burlington VT            VT         42,303         2             $    15,000
  Essex Junction VT        VT         10,386         2             $    15,000
  South Burlington VT      VT         18,921         2             $    15,000
  St. Albans VT            VT          6,821         2             $    15,000
  Winooski VT              VT          7,159         2             $    15,000
  Asotin County WA        WA          22,275         2             $    15,000
  Auburn WA               WA          78,660         2             $    15,000
  Bainbridge Island WA    WA          24,165         2             $    15,000
  Bellevue WA             WA         141,927         2             $    25,000
  Bellingham WA           WA          87,038         2             $    15,000
  Benton County WA        WA         193,652         2             $    25,000
  Bothell WA              WA          44,818         2             $    15,000
  Bremerton WA            WA          40,536         2             $    15,000
  Brier WA                WA           6,814         2             $    15,000
  Burien WA               WA          51,435         2             $    15,000
  Burlington WA           WA           8,719         2             $    15,000
  Camas WA                WA          22,586         2             $    15,000
  Centralia WA            WA          16,859         2             $    15,000
  Chelan County WA        WA          75,977         2             $    15,000
  Clark County WA         WA         465,310         1             $    30,000
  Clarkston WA            WA           7,344         2             $    15,000




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                                               MS4 NPDES
  Class Member           State   Population                    Settlement Amount
                                               Phase I or II
  Clyde Hill WA          WA           3,290         2             $    15,000
  Cowlitz County WA      WA         104,826         2             $    25,000
  Des Moines WA          WA          31,379         2             $    15,000
  Douglas County WA      WA          41,426         2             $    15,000
  DuPont WA              WA           9,404         2             $    15,000
  East Wenatchee WA      WA          13,894         2             $    15,000
  Edgewood WA            WA          10,659         2             $    15,000
  Edmonds WA             WA          41,757         2             $    15,000
  Ellensburg WA          WA          19,763         2             $    15,000
  Federal Way WA         WA          97,241         2             $    15,000
  Fife WA                WA          10,063         2             $    15,000
  Franklin County WA     WA          90,315         2             $    15,000
  Gig Harbor WA          WA           9,493         2             $    15,000
  Grant County WA        WA          94,512         2             $    15,000
  Kelso WA               WA          11,976         2             $    15,000
  Kenmore WA             WA          22,524         2             $    15,000
  Kennewick WA           WA          80,153         2             $    15,000
  Kent WA                WA         128,316         2             $    25,000
  King County WA         WA       2,166,602         1             $    30,000
  Kirkland WA            WA          88,062         2             $    15,000
  Kitsap County WA       WA         263,283         2             $    25,000
  Lacey WA               WA          47,366         2             $    15,000
  Lake Forest Park WA    WA          13,362         2             $    15,000
  Lakewood WA            WA          59,741         2             $    15,000
  Lewis County WA        WA          76,622         2             $    15,000
  Longview WA            WA          37,033         2             $    15,000
  Lynnwood WA            WA          38,061         2             $    15,000
  Medina WA              WA           3,266         2             $    15,000
  Mercer Island WA       WA          25,618         2             $    15,000
  Milton WA              WA           8,169         2             $    15,000
  Moses Lake WA          WA          22,470         2             $    15,000
  Mount Vernon WA        WA          34,506         2             $    15,000
  Mountlake Terrace WA   WA          21,135         2             $    15,000
  Newcastle WA           WA          11,599         2             $    15,000
  Normandy Park WA       WA           6,700         2             $    15,000
  Olympia WA             WA          50,728         2             $    15,000
  Pasco WA               WA          71,618         2             $    15,000
  Pierce County WA       WA         860,072         1             $    30,000
  Port of Olympia        WA        #N/A             2             $    25,000
  Port of Seattle        WA        #N/A             1             $    30,000
  Port of Tacoma         WA        #N/A             1             $    30,000




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                                                MS4 NPDES
  Class Member            State   Population                    Settlement Amount
                                                Phase I or II
  Port Orchard WA         WA          13,833         2             $    15,000
  Poulsbo WA              WA          10,308         2             $    15,000
  Puyallup WA             WA          40,344         2             $    15,000
  Redmond WA              WA          62,863         2             $    15,000
  Renton WA               WA         101,638         2             $    25,000
  Richland WA             WA          54,742         2             $    15,000
  SeaTac WA               WA          29,181         2             $    15,000
  Seattle WA              WA         710,510         1             $    30,000
  Sedro-Woolley WA        WA          11,495         2             $    15,000
  Selah WA                WA           7,723         2             $    15,000
  Shoreline WA            WA          55,751         2             $    15,000
  Skagit County WA        WA         123,709         2             $    25,000
  Snohomish County WA     WA         787,695         1             $    30,000
  Spokane County WA       WA         497,143         2             $    25,000
  Spokane Valley WA       WA          95,794         2             $    15,000
  Spokane WA              WA         214,990         2             $    25,000
  Steilacoom WA           WA           6,262         2             $    15,000
  Tacoma WA               WA         210,268         1             $    30,000
  Thurston County WA      WA         273,721         2             $    25,000
  Tukwila WA              WA          20,217         2             $    15,000
  Tumwater WA             WA          22,380         2             $    15,000
  Union Gap WA            WA           6,154         2             $    15,000
  University Place WA     WA          32,984         2             $    15,000
  Vancouver WA            WA         178,627         2             $    25,000
  Walla Walla County WA   WA          60,094         2             $    15,000
  Washougal WA            WA          15,467         2             $    15,000
  Wenatchee WA            WA          34,228         2             $    15,000
  West Richland WA        WA          14,216         2             $    15,000
  Whatcom County WA       WA         216,569         2             $    25,000
  Woodinville WA          WA          12,054         2             $    15,000
  Yakima County WA        WA         249,691         2             $    25,000
  Yakima WA               WA          93,572         2             $    15,000
  Algoma WI                WI          3,075         2             $    15,000
  Allouez WI               WI         13,841         2             $    15,000
  Appleton WI              WI         74,433         2             $    15,000
  Ashwaubenon WI           WI         17,184         2             $    15,000
  Bayside WI               WI          4,410         2             $    15,000
  Bellevue WI              WI         15,570         2             $    15,000
  Beloit WI                WI         36,691         2             $    15,000
  Big Bend WI              WI          1,315         2             $    15,000
  Brookfield WI            WI         39,200         1             $    20,000




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                                                MS4 NPDES
  Class Member            State   Population                    Settlement Amount
                                                Phase I or II
  Brown County WI          WI        259,546         2             $    25,000
  Brown Deer WI            WI         12,051         2             $    15,000
  Burlington WI            WI         10,658         2             $    15,000
  Butler WI                WI          1,821         2             $    15,000
  Caledonia WI             WI         24,841         2             $    15,000
  Calumet County WI        WI         49,600         2             $    15,000
  Cedarburg WI             WI         11,503         2             $    15,000
  Chippewa County WI       WI         63,526         2             $    15,000
  Chippewa Falls WI        WI         14,003         2             $    15,000
  Combined Locks WI        WI          3,577         2             $    15,000
  Cudahy WI                WI         18,980         2             $    15,000
  Dane County WI           WI        530,885         2             $    25,000
  De Pere WI               WI         24,850         2             $    15,000
  Delafield WI             WI          7,502         2             $    15,000
  Douglas County WI        WI         43,351         2             $    15,000
  Eau Claire County WI     WI        102,941         2             $    25,000
  Eau Claire WI            WI         68,276         2             $    15,000
  Eden WI                  WI            874         2             $    15,000
  Elmwood Park WI          WI            506         2             $    15,000
  Fitchburg WI             WI         28,814         1             $    20,000
  Fond du Lac County WI    WI        102,201         2             $    25,000
  Fond du Lac WI           WI         42,853         2             $    15,000
  Fox Point WI             WI          6,705         2             $    15,000
  Franklin WI              WI         36,262         2             $    15,000
  Glendale WI              WI         13,078         2             $    15,000
  Grafton WI               WI         11,583         2             $    15,000
  Green Bay WI             WI        104,719         2             $    25,000
  Greendale WI             WI         14,256         2             $    15,000
  Greenfield WI            WI         36,943         1             $    20,000
  Hobart WI                WI          8,555         2             $    15,000
  Holmen WI                WI          9,843         2             $    15,000
  Howard WI                WI         19,318         2             $    15,000
  Howards Grove WI         WI          3,245         2             $    15,000
  Hudson WI                WI         13,605         2             $    15,000
  Janesville WI            WI         64,029         2             $    15,000
  Jefferson County WI      WI         84,485         2             $    15,000
  Kaukauna WI              WI         15,941         2             $    15,000
  Kenosha County WI        WI        167,954         2             $    25,000
  Kenosha WI               WI         99,485         2             $    15,000
  Kewaskum WI              WI          4,153         2             $    15,000
  Kimberly WI              WI          6,735         2             $    15,000




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                                               MS4 NPDES
  Class Member           State   Population                    Settlement Amount
                                               Phase I or II
  Kohler WI               WI          2,087         2             $    15,000
  Kronenwetter WI         WI          7,587         2             $    15,000
  La Crosse County WI     WI        117,733         2             $    25,000
  La Crosse WI            WI         51,851         2             $    15,000
  Lake Hallie WI          WI          6,625         2             $    15,000
  Lannon WI               WI          1,167         2             $    15,000
  Little Chute WI         WI         11,289         2             $    15,000
  Madison WI              WI        252,485         1             $    30,000
  Manitowoc WI            WI         32,845         2             $    15,000
  Maple Bluff WI          WI          1,344         2             $    15,000
  Marathon County WI      WI        135,057         2             $    25,000
  Marinette WI            WI         10,615         2             $    15,000
  McFarland WI            WI          8,427         2             $    15,000
  Menasha WI              WI         17,698         2             $    15,000
  Menomonee Falls WI      WI         36,755         2             $    15,000
  Mequon WI               WI         23,476         2             $    15,000
  Merrill WI              WI          9,157         2             $    15,000
  Merton WI               WI          3,599         2             $    15,000
  Middleton WI            WI         19,062         1             $    20,000
  Milton WI               WI          5,556         2             $    15,000
  Milwaukee County WI     WI        948,301         1             $    30,000
  Milwaukee WI            WI        597,123         1             $    30,000
  Monona WI               WI          8,170         1             $    20,000
  Mosinee WI              WI          3,992         2             $    15,000
  Mount Pleasant WI       WI         26,699         2             $    15,000
  Mukwonago WI            WI          7,823         2             $    15,000
  Muskego WI              WI         24,867         2             $    15,000
  Neenah WI               WI         25,845         2             $    15,000
  New Berlin WI           WI         39,770         2             $    15,000
  North Bay WI            WI            237         2             $    15,000
  North Fond du Lac WI    WI          5,088         2             $    15,000
  Oak Creek WI            WI         36,037         2             $    15,000
  Oconomowoc Lake WI      WI            590         2             $    15,000
  Oconomowoc WI           WI         16,558         2             $    15,000
  Oliver WI               WI            407         2             $    15,000
  Omro WI                 WI          3,566         2             $    15,000
  Onalaska WI             WI         18,627         2             $    15,000
  Oshkosh WI              WI         66,517         2             $    15,000
  Outagamie County WI     WI        184,755         2             $    25,000
  Ozaukee County WI       WI         88,327         2             $    15,000
  Paddock Lake WI         WI          2,984         2             $    15,000




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                                               MS4 NPDES
  Class Member           State   Population                    Settlement Amount
                                               Phase I or II
  Pewaukee WI             WI         14,332         1             $    20,000
  Pewaukee WI             WI          8,184         2             $    15,000
  Pleasant Prairie WI     WI         20,759         2             $    15,000
  Plover WI               WI         12,651         2             $    15,000
  Port Washington WI      WI         11,656         2             $    15,000
  Portage WI              WI         10,349         2             $    15,000
  Racine County WI        WI        194,913         2             $    25,000
  Racine WI               WI         77,455         2             $    15,000
  Richfield WI            WI         11,618         2             $    15,000
  River Falls WI          WI         15,336         2             $    15,000
  River Hills WI          WI          1,599         2             $    15,000
  Rock County WI          WI        161,394         2             $    25,000
  Rothschild WI           WI          5,310         2             $    15,000
  Saukville WI            WI          4,465         2             $    15,000
  Schofield WI            WI          2,184         2             $    15,000
  Sheboygan County WI     WI        115,099         2             $    25,000
  Sheboygan Falls WI      WI          7,853         2             $    15,000
  Sheboygan WI            WI         48,576         2             $    15,000
  Sherwood WI             WI          2,878         2             $    15,000
  Shorewood Hills WI      WI          2,039         2             $    15,000
  Shorewood WI            WI         13,423         2             $    15,000
  South Milwaukee WI      WI         21,124         2             $    15,000
  St. Croix County WI     WI         87,603         2             $    15,000
  St. Francis WI          WI          9,471         2             $    15,000
  Stevens Point WI        WI         26,363         2             $    15,000
  Stoughton WI            WI         13,126         1             $    20,000
  Suamico WI              WI         12,535         2             $    15,000
  Superior WI             WI         26,334         2             $    15,000
  Superior WI             WI            660         2             $    15,000
  Sussex WI               WI         10,773         2             $    15,000
  Thiensville WI          WI          3,182         2             $    15,000
  Twin Lakes WI           WI          6,062         2             $    15,000
  Two Rivers WI           WI         11,211         2             $    15,000
  Washington County WI    WI        134,386         2             $    25,000
  Waukesha WI             WI         68,376         2             $    15,000
  Waukesha County WI      WI        398,561         2             $    25,000
  Waunakee WI             WI         13,581         2             $    15,000
  Wausau WI               WI         38,430         2             $    15,000
  West Bend WI            WI         31,654         2             $    15,000
  West Milwaukee WI       WI          4,181         2             $    15,000
  West Salem WI           WI          4,983         2             $    15,000




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   Class Member          State    Population                   Settlement Amount
                                               Phase I or II
   Weston WI              WI          15,099        2             $    15,000
   Whitefish Bay WI       WI          14,061        2             $    15,000
   Wind Point WI          WI           1,703        2             $    15,000
   Winnebago County WI    WI         169,637        2             $    25,000
   Wisconsin Rapids WI    WI          17,898        2             $    15,000
   Belle WV              WV            1,185        2             $    15,000
   Benwood WV            WV            1,332        2             $    15,000
   Bethlehem WV          WV            2,396        2             $    15,000
   Bluefield WV          WV           10,056        2             $    15,000
   Ceredo WV             WV            1,340        2             $    15,000
   Charleston WV         WV           48,784        2             $    15,000
   Chesapeake WV         WV            1,482        2             $    15,000
   Clarksburg WV         WV           15,883        2             $    15,000
   Dunbar WV             WV            7,473        2             $    15,000
   Eleanor WV            WV            1,577        2             $    15,000
   Fairmont WV           WV           18,489        2             $    15,000
   Follansbee WV         WV            2,801        2             $    15,000
   Glen Dale WV          WV            1,440        2             $    15,000
   Huntington WV         WV           47,592        2             $    15,000
   Kenova WV             WV            3,094        2             $    15,000
   Marmet WV             WV            1,432        2             $    15,000
   McMechen WV           WV            1,810        2             $    15,000
   Montgomery WV         WV            1,570        2             $    15,000
   Moundsville WV        WV            8,647        2             $    15,000
   Nitro WV              WV            6,655        2             $    15,000
   Parkersburg WV        WV           30,373        2             $    15,000
   Poca WV               WV              986        2             $    15,000
   South Charleston WV   WV           12,723        2             $    15,000
   St. Albans WV         WV           10,454        2             $    15,000
   Vienna WV             WV           10,474        2             $    15,000
   Weirton WV            WV           18,867        2             $    15,000
   Wellsburg WV          WV            2,624        2             $    15,000
   Wheeling WV           WV           27,408        2             $    15,000
   Williamstown WV       WV            2,931        2             $    15,000
   Winfield WV           WV            2,350        2             $    15,000




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            Exhibit
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   Exhibit B- List of U.S. EPA 303(d) water bodies impaired by PCBs

    State   Waterbody ID                Waterbody Name                           Region
    AL      AL03150106-0514-100         Choccolocco Creek
    AL      AL03150106-0603-111         Coosa River (Logan Martin Lake)
    AL      AL03150106-0603-112         Coosa River (Logan Martin Lake)
    AL      AL03150106-0803-100         Coosa River (Logan Martin Lake)
    AL      AL03150106-0204-101         Coosa River (Lake Neely Henry)
    AL      AL03150106-0204-102         Coosa River (Lake Neely Henry)
    AL      AL03150107-0503-110         Coosa River (Lay Lake)
    AL      AL03150106-0810-102         Coosa River (Lay Lake)
    AL      AL03150107-0301-102         Coosa River (Lay Lake)
    AL      AL03150106-0507-102         Choccolocco Creek
    CA      CAE5100000020041005163014   DELTA WATERWAYS (NORTHERN PORTION)       CENTRAL VALLEY
            CAB110000002002010817362
    CA      6                           EUREKA PLAIN HU, HUMBOLDT BAY            NORTH COAST
            CAB203120101998121717170
    CA      7                           SAN FRANCISCO BAY, CENTRAL               SAN FRANCISCO BAY
            CAB206100101998092810094
    CA      5                           SAN PABLO BAY                            SAN FRANCISCO BAY
            CAB207100202001101713505
    CA      5                           SUISUN BAY                               SAN FRANCISCO BAY
            CAB801110001999030810195
    CA      6                           ANAHEIM BAY                              SANTA ANA
            CAB801110001999032309525
    CA      4                           HUNTINGTON HARBOUR                       SANTA ANA
            CAB801140001999032214185
    CA      9                           NEWPORT BAY, LOWER                       SANTA ANA
    CA      CAC4031100020050916175043   VENTURA MARINA JETTIES                   LOS ANGELES
    CA      CAC4031100020050920160349   PORT HUENEME PIER                        LOS ANGELES
    CA      CAE2071001019980929134510   SACRAMENTO SAN JOAQUIN DELTA             SAN FRANCISCO BAY
    CA      CAL5181200020020430135809   OROVILLE, LAKE
    CA      CAL8017100019990208151909   BIG BEAR LAKE                            SANTA ANA
                                        SALINAS RIVER (LOWER, ESTUARY TO NEAR
            CAR309110102002100719310    GONZALES RD CROSSING, WATERSHEDS
    CA      2                           30910 AND 30920)                         CENTRAL COAST
            CAR519210001998081314202    AMERICAN RIVER, LOWER (NIMBUS DAM TO
    CA      1                           CONFLUENCE WITH SACRAMENTO RIVER)        CENTRAL VALLEY
                                        NATOMAS EAST MAIN DRAINAGE CANAL
            CAR519210001998081710174    (AKA STEELHEAD CREEK, UPSTREAM OF
    CA      0                           CONFLUENCE WITH ARCADE CREEK)            CENTRAL VALLEY
                                        NATOMAS EAST MAIN DRAINAGE CANAL
            CAR519210002002120915020    (AKA STEELHEAD CREEK, DOWNSTREAM OF
    CA      7                           CONFLUENCE WITH ARCADE CREEK)            CENTRAL VALLEY
                                        FEATHER RIVER, LOWER (LAKE OROVILLE
            CAR519220001998081716105    DAM TO CONFLUENCE WITH SACRAMENTO
    CA      7                           RIVER)                                   CENTRAL VALLEY
            CAR520100001999012614075    SACRAMENTO RIVER (RED BLUFF TO KNIGHTS
    CA      2                           LANDING)
            CAR304120221998082708470
    CA      9                           SAN LORENZO RIVER                        CENTRAL COAST
            CAR305100301998082611515
    CA      2                           PAJARO RIVER                             CENTRAL COAST
    CA      CAL2053005020000304122049   ANDERSON RESERVOIR                       SAN FRANCISCO BAY




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   State   Waterbody ID                Waterbody Name                           Region
   CA      CAL2055003120050519182844   STEVENS CREEK RESERVOIR                  SAN FRANCISCO BAY
   CA      CAL2066001220020129134014   SAN PABLO RESERVOIR                      SAN FRANCISCO BAY
                                       DELTA WATERWAYS (STOCKTON SHIP
   CA      CAE5440000020021115141407   CHANNEL)                                 CENTRAL VALLEY
                                       NEWPORT BAY, UPPER (ECOLOGICAL
   CA      CAE8011400019990323090803   RESERVE)                                 SANTA ANA
                                       FEATHER RIVER, SOUTH FORK (FROM LITTLE
           CAR518110502002050214371    GRASS VALLEY RESERVOIR TO LAKE
   CA      8                           OROVILLE, BUTTE AND PLUMAS COUNTIES)
           CAR518120002002061014413    FEATHER RIVER, NORTH FORK (BELOW LAKE
   CA      2                           ALMANOR)                                 CENTRAL VALLEY
           CAR719470001999020511141    COACHELLA VALLEY STORM WATER
   CA      5                           CHANNEL                                  COLORADO RIVER BASIN
           CAR723100001999020510294
   CA      8                           NEW RIVER (IMPERIAL COUNTY)              COLORADO RIVER BASIN
           CAR723100001999020515032
   CA      3                           IMPERIAL VALLEY DRAINS                   COLORADO RIVER BASIN
   CA      CAX4041200019990922170849   LAS TUNAS BEACH                          LOS ANGELES
   CA      CAX4041600019990922144015   CARBON BEACH                             LOS ANGELES
   CA      CAX4043500019990923104303   PARADISE COVE BEACH                      LOS ANGELES
                                       LOS ANGELES RIVER ESTUARY (QUEENSWAY
   CA      CAE4051200020020226101749   BAY)                                     LOS ANGELES
           CAB204100101998092513132
   CA      2                           SAN FRANCISCO BAY, LOWER                 SAN FRANCISCO BAY
           CAB205100001998091616483
   CA      9                           SAN FRANCISCO BAY, SOUTH                 SAN FRANCISCO BAY
           CAB405120002000022908210
   CA      7                           LOS ANGELES HARBOR - CONSOLIDATED SLIP   LOS ANGELES
   CA      CAL8023100019990208151100   ELSINORE, LAKE                           SANTA ANA
   CA      CAL2043002420050519181540   DEL VALLE RESERVOIR                      SAN FRANCISCO BAY
           CAR510000002002121011433    SACRAMENTO RIVER (KNIGHTS LANDING TO
   CA      0                           THE DELTA)                               CENTRAL VALLEY
   CA      CAX4041600019990922162849   LA COSTA BEACH                           LOS ANGELES
   CA      CAX4043700019990924083852   TRANCAS BEACH (BROAD BEACH)              LOS ANGELES
   CA      CAX4051100019990923080316   MALAGA COVE BEACH                        LOS ANGELES
   CA      CAX8011400020021003083908   BALBOA BEACH                             SANTA ANA
   CA      CAE2071002019980928134605   CARQUINEZ STRAIT                         SAN FRANCISCO BAY
   CA      CAL2011201220050602211738   SOULAJULE RESERVOIR                      SAN FRANCISCO BAY
   CA      CAL2042003020060515154933   LAKE CHABOT (ALAMEDA CO)                 SAN FRANCISCO BAY
   CA      CAL5154000020000209142817   THERMALITO AFTERBAY
   CA      CAL5154000020000209143205   THERMALITO FOREBAY
   CA      CAX4043100020000312160831   AMARILLO BEACH                           LOS ANGELES
   CA      CAX4043400019990922153218   ESCONDIDO BEACH                          LOS ANGELES
   CA      CAX4043500019990923104958   POINT DUME BEACH                         LOS ANGELES
   CA      CAX4044400019990923074411   NICHOLAS CANYON BEACH                    LOS ANGELES
   CA      CAX4051200019990922141809   CABRILLO BEACH (OUTER)                   LOS ANGELES
                                       DOMINGUEZ CHANNEL ESTUARY (UNLINED
   CA      CAE4051200020050203154519   PORTION BELOW VERMONT AVE)               LOS ANGELES
           CAB203120101998092912055
   CA      9                           RICHARDSON BAY                           SAN FRANCISCO BAY
           CAB405120002005020712213
   CA      3                           LOS ANGELES/LONG BEACH INNER HARBOR      LOS ANGELES
   CA      CAX4041300019990924081553   TOPANGA BEACH                            LOS ANGELES
   CA      CAX4043100019990923130035   PUERCO BEACH                             LOS ANGELES
   CA      CAX4051100019990923124251   PORTUGUESE BEND BEACH                    LOS ANGELES
   CA      CAX4051200019990923110403   POINT FERMIN PARK BEACH                  LOS ANGELES




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   State   Waterbody ID                Waterbody Name                              Region
   CA      CAX4051300020000407104603   CASTLEROCK BEACH                            LOS ANGELES
   CA      CAX8011100019991013153527   HUNTINGTON BEACH STATE PARK                 SANTA ANA
                                       PACIFIC OCEAN SHORELINE, IMPERIAL BEACH
   CA      CAC9101000020050918172745   PIER                                        SAN DIEGO
           CAR403110002000022815091
   CA      0                           RIO DE SANTA CLARA/OXNARD DRAIN NO. 3       LOS ANGELES
   CA      CAX4041500019990922165924   LAS FLORES BEACH                            LOS ANGELES
   CA      CAX4044100019990923134843   ROBERT H. MEYER MEMORIAL BEACH              LOS ANGELES
   CA      CAX4051100019990922154626   FLAT ROCK POINT BEACH AREA                  LOS ANGELES
   CA      CAX4051100019990922172103   LONG POINT BEACH                            LOS ANGELES
   CA      CAX4051100019990924085839   WHITES POINT BEACH                          LOS ANGELES
   CA      CAX4051100019990924093655   ABALONE COVE BEACH                          LOS ANGELES
   CA      CAX8011100019991013160405   SEAL BEACH                                  SANTA ANA
   CA      CAL4055200019980918113803   PUDDINGSTONE RESERVOIR                      LOS ANGELES
   CA      CAC3102402120100404115848   PACIFIC OCEAN AT AVILA BEACH (AVILA PIER)
           CAR723100001999020509302
   CA      3                           ALAMO RIVER                                 COLORADO RIVER BASIN
   CA      CAX4042100019990923084019   MALIBU LAGOON BEACH (SURFRIDER)             LOS ANGELES
   CA      CAX4043600019990924091850   ZUMA BEACH (WESTWARD BEACH)                 LOS ANGELES
   CA      CAX4044100020000301091908   SEA LEVEL BEACH                             LOS ANGELES
   CA      CAX4051100019990922105503   BLUFF COVE BEACH                            LOS ANGELES
   CA      CAX4051200019990923132934   REDONDO BEACH                               LOS ANGELES
           CAB204400102002093015493    CENTRAL BASIN, SAN FRANCISCO (PART OF SF
   CA      7                           BAY, CENTRAL)                               SAN FRANCISCO BAY
   CA      CAX4043100019990922101223   BIG ROCK BEACH                              LOS ANGELES
   CA      CAX4051100019990922164306   INSPIRATION POINT BEACH                     LOS ANGELES
   CA      CAX4051100019990923153531   ROYAL PALMS BEACH                           LOS ANGELES
   CA      CAE2044001020020129151327   MISSION CREEK                               SAN FRANCISCO BAY
                                       OAKLAND INNER HARBOR (PACIFIC DRY-
           CAB204200402002093018415    DOCK YARD 1 SITE, PART OF SF BAY,
   CA      1                           CENTRAL)                                    SAN FRANCISCO BAY
           CAB405180002005020809210    LOS ANGELES/LONG BEACH OUTER HARBOR
   CA      7                           (INSIDE BREAKWATER)                         LOS ANGELES
           CAB405120001999092115174
   CA      0                           SAN PEDRO BAY NEAR/OFF SHORE ZONES          LOS ANGELES
           CAB910100001999021013242
   CA      2                           SAN DIEGO BAY                               SAN DIEGO
   CA      CAL4051501020000228155002   ECHO PARK LAKE                              LOS ANGELES
   CA      CAL4051200020000229084938   MACHADO LAKE (HARBOR PARK LAKE)             LOS ANGELES
   CA      CAT4051200020000229133322   COLORADO LAGOON                             LOS ANGELES
           CAB405180002000022911391
   CA      9                           LOS ANGELES HARBOR - FISH HARBOR            LOS ANGELES
   CA      CAL5154000020080810185534   ROBINSONS RIFFLE POND (BUTTE COUNTY)
   CA      CAL4031100019990203110047   MCGRATH LAKE                                LOS ANGELES
   CA      CAL2073201020050519182313   LAFAYETTE RESERVOIR                         SAN FRANCISCO BAY
           CAB405130001999092116431
   CA      8                           SANTA MONICA BAY OFFSHORE/NEARSHORE         LOS ANGELES
           CAB801140002005020117251
   CA      0                           RHINE CHANNEL                               SANTA ANA
           CAB405120002005020117510    LOS ANGELES HARBOR - INNER CABRILLO
   CA      0                           BEACH AREA                                  LOS ANGELES
           CAB405120002005020710495
   CA      4                           LOS ANGELES HARBOR - CABRILLO MARINA        LOS ANGELES
   CA      CAL2043008020050624182314   SHADOW CLIFFS RESERVOIR                     SAN FRANCISCO BAY
                                       LIS WB INNER - BRIDGEPORT HARBOR,
   CT      CT-W1_001-SB                BRIDGEPORT




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   State   Waterbody ID        Waterbody Name                              Region
                               LIS CB INNER - HOUSATONIC RIVER (MOUTH),
   CT      CT-C1_019-SB        MILFORD
   CT      CT4000-00_02        CONNECTICUT RIVER-02
                               LIS EB INNER - CONNECTICUT RIVER
   CT      CT-E1_024-SB        (MOUTH), OLD LYME
                               LIS EB INNER - CONNECTICUT RIVER (LOWER),
   CT      CT-E1_029-SB        ESSEX
   CT      CT3805-00-3-L7_01   VERSAILLES POND (SPRAGUE)
                               LIS CB INNER - NEW HAVEN HARBOR, NEW
   CT      CT-C1_013-SB        HAVEN
   CT      CT-C2_017-SB        LIS CB SHORE - MORRIS COVE, NEW HAVEN
                               LIS EB INNER - CONNECTICUT RIVER (UPPER),
   CT      CT-E1_031-SB        CHESTER
   CT      CT4000-00_03        CONNECTICUT RIVER-03
                               LIS CB INNER - QUINNIPIAC RIVER (MOUTH),
   CT      CT-C1_014-SB        NEW HAVEN
   CT      CT-C1_017           LIS CB INNER - OYSTER RIVER, MILFORD
   CT      CT4000-00_01        CONNECTICUT RIVER-01
   CT      CT5200-00-4-L2_01   HANOVER POND (MERIDEN)
   CT      CT3805-00_02        LITTLE RIVER (SPRAGUE)-02
                               LIS CB SHORE - HOUSATONIC RIVER MOUTH,
   CT      CT-C2_024-SB        STRATFORD
   CT      CT5200-00_03        QUINNIPIAC RIVER-03
   CT      CT5200-00_04        QUINNIPIAC RIVER-04
   CT      CT6100-00_02a       BLACKBERRY RIVER (NORTH CANAAN)-02A         HOUSATONIC RIVER
   CT      CT3805-00-3-L6_01   PAPERMILL POND (SPRAGUE)
                               LIS CB INNER - WEST RIVER (LOWER), WEST
   CT      CT-C1_015-SB        HAVEN
   CT      CT6100-00_02b       BLACKBERRY RIVER (NORTH CANAAN)-02B         HOUSATONIC RIVER
   CT      CT5200-00_05        QUINNIPIAC RIVER-05
   CT      CT7103-00-2-L5_01   PEMBROKE LAKES (BRIDGEPORT)
                               LIS CB SHORE - NEW HAVEN HARBOR (WEST),
   CT      CT-C2_018-SB        WEST HAVEN
   CT      CT6100-00_01        BLACKBERRY RIVER (NORTH CANAAN)-01
                               LIS CB INNER - WEST RIVER (UPPER), WEST
   CT      CT-C1_022           HAVEN
                               LIS WB INNER - BLACK ROCK HARBOR,
   CT      CT-W1_002-SB        BRIDGEPORT
   CT      CT5200-00_06        QUINNIPIAC RIVER-06
   CT      CT-C1_012           LIS CB INNER - MORRIS CREEK, EAST HAVEN
   CT      CT-C1_016           LIS CB INNER - COVE RIVER, WEST HAVEN
                               LIS CB MIDSHORE - NEW HAVEN HARBOR,
   CT      CT-C3_015-SB        NEW HAVEN
   DC      DCPMS00E_03         POTOMAC DC
   DC      DCTCO01L_00         CHESAPEAKE AND OHIO CANAL
   DC      DCTOR01R_00         OXON RUN
   DC      DCTDA01R_00         DALECARLIA TRIBUTARY
   DC      DCPMS00E_01         POTOMAC DC
   DC      DCTFD01R_00         FORT DAVIS TRIBUTARY
   DC      DCANA00E_02         ANACOSTIA DC
   DC      DCRCR00R_01         ROCK CREEK DC
   DC      DCPMS00E_02         POTOMAC DC
   DC      DCTWB00R_02         WATTS BRANCH DC
   DC      DCPWC04E_00         WASHINGTON SHIP CHANNEL
   DC      DCPTB01L_00         TIDAL BASIN




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   State   Waterbody ID           Waterbody Name                              Region
   DC      DCRCR00R_02            ROCK CREEK DC
   DC      DCTBR01R_00            BROAD BRANCH
   DC      DCTFC01R_00            FORT CHAPLIN RUN
   DC      DCTTX27R_00            TEXAS AVENUE TRIBUTARY
   DC      DCANA00E_01            ANACOSTIA DC
   DC      DCAKL00L_00            KINGMAN LAKE
                                                                              CHRISTINA RIVER
   DE      DE120-004-01_(A)       LOWER CHRISTINA CREEK - MAINSTEM            WATERSHED
                                                                              APPOQUINIMINK RIVER
   DE      DE010-001-02_(A)       APPOQUINIMINK RIVER - FRESH TIDAL           WATERSHED
                                                                              CHESAPEAKE AND
   DE      DE090-001_(A)          CHESAPEAKE AND DELAWARE CANAL               DELAWARE CANAL
                                  LOWER SAINT JONES - OLD LONDON BRIDGE       SAINT JONES RIVER
   DE      DE290-001-01_(A)       TO MOUTH                                    WATERSHED
                                  UPPER SAINT JONES - SILVER LAKE TO OLD      SAINT JONES RIVER
   DE      DE290-001-02_(A)       LEBANON ROAD                                WATERSHED
                                                                              APPOQUINIMINK RIVER
   DE      DE010-001-01_(A)       APPOQUINIMINK RIVER - SALINE TIDAL          WATERSHED
                                                                              SAINT JONES RIVER
   DE      DE290-L02_(A)          SILVER LAKE                                 WATERSHED
                                                                              CHRISTINA RIVER
   DE      DE120-001_(A)          CHRISTINA RIVER - LOWER                     WATERSHED
                                                                              CHRISTINA RIVER
   DE      DE120-002_(A)          CHRISTINA RIVER - MIDDLE                    WATERSHED
                                                                              SAINT JONES RIVER
   DE      DE290-002_(E)          WYOMING MILL POND                           WATERSHED
                                  LITTLE MILL CREEK AND WILOW RUN -           CHRISTINA RIVER
   DE      DE120-007-01_(A)       CHESTNUT RUN TO CHRISTINA RIVE              WATERSHED
                                  RED LION - LOWER FROM ROUTE 13 TO           RED LION CREEK
   DE      DE270-001-01_(A)       MOUTH                                       WATERSHED
                                  LOWER SHELLPOT CREEK - HEAD OF TIDE TO      SHELLPOT CREEK
   DE      DE300-001-01_(A)       MOUTH                                       WATERSHED
                                                                              BRANDYWINE CREEK
   DE      DE040-001_(A)          LOWER BRANDYWINE - MAINSTEM                 WATERSHED
                                  RED CLAY CREEK - PA-DE LINE TO WHITE CLAY   RED CLAY CREEK
   DE      DE260-001_(A)          CREEK                                       WATERSHED
                                                                              APPOQUINIMINK RIVER
   DE      DE010-L02_(A)          SILVER LAKE                                 WATERSHED
                                  UPPER CHRISTINA RIVER - UPPER -             CHRISTINA RIVER
   DE      DE120-003_(A)          MAINSTEM                                    WATERSHED
                                                                              CHRISTINA RIVER
   DE      DE120-L02_(A)          BECKS POND                                  WATERSHED
                                                                              SAINT JONES RIVER
   DE      DE290-L01_(A)          MOORES LAKE                                 WATERSHED
                                                                              CHRISTINA RIVER
   DE      DE120-L01_(A)          SMALLEYS POND                               WATERSHED
   GA      GAR031501020801        Coosawattee River
   GA      GAR031501020811        Coosawattee River
   HI      HI-OAHU-PEARL HARBOR   PEARL HARBOR                                OAHU
   IA      IA 05-PLA-00285-L_0    MCKINLEY LAKE
   IA      IA 06-WEM-00265-L_0    CARTER LAKE
   IA      IA 02-CED-02250-L_0    CEDAR LAKE
   IL      IL_DL 07               KICKAPOO CREEK                              LOWER ILLINOIS
   IL      IL_E 04                SANGAMON RIVER                              LOWER ILLINOIS
   IL      IL_E 24                SANGAMON RIVER                              LOWER ILLINOIS
   IL      IL_GB 11               DUPAGE RIVER                                UPPER ILLINOIS




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   State   Waterbody ID        Waterbody Name              Region
   IL      IL_GB 16            DUPAGE RIVER                UPPER ILLINOIS
                                                           UPPER MISSISSIPPI -
   IL      IL_J 36             MISSISSIPPI RIVER           MERAMEC
                                                           UPPER MISSISSIPPI - SKUNK
   IL      IL_M 02             MISSISSIPPI RIVER           - WAPSIPINICON
   IL      ILRTF _RTF          FOX                         UPPER ILLINOIS
   IL      ILRTF _RTQ          GRASS                       UPPER ILLINOIS
   IL      ILRTF _RTR          MARIE (LAKE)                UPPER ILLINOIS
   IL      ILRTF _RTU          PISTAKEE                    UPPER ILLINOIS
   IL      ILPQ02 _PQ 02       KISHWAUKEE RIVER            ROCK RIVER
   IL      ILPQ10 _PQ 13       KISHWAUKEE RIVER            ROCK RIVER
   IL      ILPQ12 _PQ 12       KISHWAUKEE RIVER            ROCK RIVER
   IL      ILPQ14 _PQ 14       KISHWAUKEE RIVER            ROCK RIVER
   IL      ILPQC06 _PQC 05     S. BR. KISHWAUKEE RIVER     ROCK RIVER
   IL      ILPQC06 _PQC 06     S. BR. KISHWAUKEE RIVER     ROCK RIVER
   IL      ILPQC06 _PQC 09     S. BR. KISHWAUKEE RIVER     ROCK RIVER
   IL      ILPQC07_PQC 13      S. BR. KISHWAUKEE RIVER     ROCK RIVER
   IL      ILPW01_PW 02        PECATONICA RIVER            ROCK RIVER
   IL      ILK06 _K 21         MISSISSIPPI RIVER           UPPER MISSISSIPPI - SALT
   IL      ILLDD01_LDD 23      CEDAR CREEK
   IL      ILA31 _A 31         OHIO RIVER                  LOWER OHIO
   IL      ILA33 _A 33         OHIO RIVER                  LOWER OHIO
                                                           UPPER MISSISSIPPI -
   IL      ILA34 _A 34         OHIO RIVER                  MERAMEC
   IL      ILP04 _P 04         ROCK RIVER                  ROCK RIVER
   IL      ILP04 _P 24         ROCK RIVER                  ROCK RIVER
   IL      ILP04 _P 25         ROCK RIVER                  ROCK RIVER
   IL      ILP06 _P 06         ROCK RIVER                  ROCK RIVER
   IL      ILP06 _P 21         ROCK RIVER                  ROCK RIVER
   IL      ILP14 _P 23         ROCK RIVER                  ROCK RIVER
   IL      ILP15 _P 15         ROCK RIVER                  ROCK RIVER
   IL      ILP20 _P 20         ROCK RIVER                  ROCK RIVER
   IL      ILE25 _E 25         SANGAMON RIVER              LOWER ILLINOIS
   IL      ILE26 _E 26         SANGAMON RIVER              LOWER ILLINOIS
   IL      ILO13 _O 13         KASKASKIA RIVER             KASKASKIA RIVER
   IL      ILO15 _O 02         KASKASKIA RIVER             KASKASKIA RIVER
   IL      ILO15 _O 15         KASKASKIA RIVER             KASKASKIA RIVER
   IL      ILO15 _O 17         KASKASKIA RIVER             KASKASKIA RIVER
   IL      ILG11 _G 11         DESPLAINES RIVER            UPPER ILLINOIS
   IL      ILG23 _G 23         DESPLAINES RIVER            UPPER ILLINOIS
   IL      ILG30 _G 07         DESPLAINES RIVER            UPPER ILLINOIS
   IL      ILG30 _G 15         DESPLAINES RIVER            UPPER ILLINOIS
   IL      ILG30 _G 22         DESPLAINES RIVER            UPPER ILLINOIS
   IL      ILG30 _G 30         DESPLAINES RIVER            UPPER ILLINOIS
   IL      ILG30 _G 36         DESPLAINES RIVER            UPPER ILLINOIS
   IL      ILGL09 _GL 03       SALT CREEK                  UPPER ILLINOIS
   IL      ILGL09 _GL 09       SALT CREEK                  UPPER ILLINOIS
   IL      ILGL09 _RGZX        BUSSE WOODS                 UPPER ILLINOIS
   IL      ILH01 _H 01         CALUMET-SAG CHANNEL         UPPER ILLINOIS
   IL      ILHBD04_HBD 04      THORN CREEK
   IL      ILDK12 _DK 12       MACKINAW RIVER              LOWER ILLINOIS
   IL      ILDK12 _DK 19       MACKINAW RIVER              LOWER ILLINOIS
   IL      ILDK13 _DK 13       MACKINAW RIVER              LOWER ILLINOIS
   IL      ILDK17 _DK 17       MACKINAW RIVER              LOWER ILLINOIS
   IL      ILDK17 _DK 20       MACKINAW RIVER              LOWER ILLINOIS




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   State   Waterbody ID        Waterbody Name              Region
   IL      ILDK17 _DK 21       MACKINAW RIVER              LOWER ILLINOIS
   IL      ILDL01 _DL 01       KICKAPOO CREEK              LOWER ILLINOIS
   IL      ILDT22 _DT 18       FOX RIVER                   UPPER ILLINOIS
   IL      ILDT22 _DT 20       FOX RIVER                   UPPER ILLINOIS
   IL      ILDT22 _DT 23       FOX RIVER                   UPPER ILLINOIS
   IL      ILDT38_DT 38        FOX RIVER                   UPPER ILLINOIS
   IL      ILDT38_DT 58        FOX RIVER                   UPPER ILLINOIS
   IL      ILDT46 _DT 02       FOX RIVER                   UPPER ILLINOIS
   IL      ILDT46 _DT 41       FOX RIVER                   UPPER ILLINOIS
   IL      ILDV03 _DV 06       MAZON RIVER                 UPPER ILLINOIS
   IL      ILDV04 _DV 04       MAZON RIVER                 UPPER ILLINOIS
   IL      ILE09 _E 09         SANGAMON RIVER              LOWER ILLINOIS
   IL      ILE16 _E 05         SANGAMON RIVER              LOWER ILLINOIS
   IL      ILE16 _E 11         SANGAMON RIVER              LOWER ILLINOIS
   IL      ILE16 _E 16         SANGAMON RIVER              LOWER ILLINOIS
   IL      ILE16 _E 27         SANGAMON RIVER              LOWER ILLINOIS
   IL      ILE16 _E 32         SANGAMON RIVER              LOWER ILLINOIS
                                                           UPPER MISSISSIPPI -
   IL      ILI84 _I 84         MISSISSIPPI RIVER           MERAMEC
   IL      ILJ83 _J 05         MISSISSIPPI RIVER           UPPER MISSISSIPPI - SALT
                                                           UPPER MISSISSIPPI -
   IL      IL_M 12             MISSISSIPPI RIVER           MAQUOKETA - PLUM
                                                           UPPER MISSISSIPPI -
   IL      IL_N 06             BIG MUDDY RIVER             MERAMEC
   IL      IL_OW 03            LAKE FORK                   KASKASKIA RIVER
   IL      ILPW06 _PW 06       PECATONICA RIVER            ROCK RIVER
   IL      ILPW07_PW 07        PECATONICA RIVER            ROCK RIVER
   IL      ILPW08_PW 04        PECATONICA RIVER            ROCK RIVER
   IL      ILPW13 _PW 13       PECATONICA RIVER            ROCK RIVER
   IL      ILPWB01 _PWB 01     SUGAR RIVER                 ROCK RIVER
   IL      ILPWB01 _PWB 03     SUGAR RIVER                 ROCK RIVER
   IL      ILREA _REA          DECATUR                     LOWER ILLINOIS
                                                           UPPER MISSISSIPPI -
   IL      ILRNA _RNA          CRAB ORCHARD                MERAMEC
   IL      ILD31 _D 31         ILLINOIS RIVER              LOWER ILLINOIS
   IL      ILD32_D 32          ILLINOIS RIVER
   IL      ILCA03 _CA 02       SKILLET FK.                 WABASH RIVER
   IL      ILCA03 _CA 05       SKILLET FK.                 WABASH RIVER
   IL      ILCA06 _CA 06       SKILLET FK.                 WABASH RIVER
   IL      ILCA06 _CA 08       SKILLET FK.                 WABASH RIVER
   IL      ILCA06 _CA 09       SKILLET FK.                 WABASH RIVER
                                                           UPPER MISSISSIPPI -
   IL      ILNJ07 _NJ 10       CASEY FK.                   MERAMEC
   IL      ILK03 _K 17         MISSISSIPPI RIVER           UPPER MISSISSIPPI - SALT
                                                           UPPER MISSISSIPPI - SKUNK
   IL      ILK04 _K 22         MISSISSIPPI RIVER           - WAPSIPINICON
                                                           UPPER MISSISSIPPI -
   IL      ILMQ01 _MQ 01       GALENA RIVER                MAQUOKETA - PLUM
                                                           UPPER MISSISSIPPI -
   IL      ILMQ01 _MQ 02       GALENA RIVER                MAQUOKETA - PLUM
                                                           UPPER MISSISSIPPI -
   IL      ILN11 _N   11       BIG MUDDY RIVER             MERAMEC
   IL      ILD01 _D   01       ILLINOIS RIVER              LOWER ILLINOIS
   IL      ILD09 _D   09       ILLINOIS RIVER              LOWER ILLINOIS
   IL      ILD10 _D   10       ILLINOIS RIVER              UPPER ILLINOIS




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   State   Waterbody ID        Waterbody Name              Region
   IL      ILD16 _D 16         ILLINOIS RIVER              LOWER ILLINOIS
   IL      ILD20 _D 20         ILLINOIS RIVER              LOWER ILLINOIS
   IL      ILD23 _D 23         ILLINOIS RIVER              UPPER ILLINOIS
   IL      ILD30 _D 30         ILLINOIS RIVER              LOWER ILLINOIS
   IL      ILB06 _B 06         WABASH RIVER                WABASH RIVER
   IL      ILB07 _B 01         WABASH RIVER                WABASH RIVER
   IL      ILB07 _B 03         WABASH RIVER                WABASH RIVER
   IL      ILBPJC06 _BPJCA     BONEYARD CREEK              WABASH RIVER
   IL      ILPQ10 _PQ 10       KISHWAUKEE RIVER            ROCK RIVER
   IL      ILPQC06 _PQC 02     S. BR. KISHWAUKEE RIVER     ROCK RIVER
   IL      ILPQC06 _PQC 11     S. BR. KISHWAUKEE RIVER     ROCK RIVER
   IL      ILLDD01_LDD-C3      CEDAR CREEK
   IL      ILP14 _P 14         ROCK RIVER                  ROCK RIVER
   IL      ILG11 _G 03         DESPLAINES RIVER            UPPER ILLINOIS
   IL      ILGBK05_GBK 05      W. BR. DUPAGE RIVER
   IL      ILGI02 _GI 02       CHIC. SAN. & SHIP CANAL     UPPER ILLINOIS
   IL      ILGL09 _GL          SALT CREEK                  UPPER ILLINOIS
   IL      ILGLA01_GLA 04      ADDISON CR.                 UPPER ILLINOIS
   IL      ILH02 _H 02         CALUMET-SAG CHANNEL         UPPER ILLINOIS
   IL      ILHCC07 _HCC 07     N. BR. CHICAGO RIVER        UPPER ILLINOIS
   IL      ILDJHD01_SDZA       BRACKEN                     LOWER ILLINOIS
   IL      ILDK13 _DK 04       MACKINAW RIVER              LOWER ILLINOIS
   IL      ILDK13 _DK 15       MACKINAW RIVER              LOWER ILLINOIS
   IL      ILE09 _E 06         SANGAMON RIVER              LOWER ILLINOIS
                                                           UPPER MISSISSIPPI -
   IL      ILJMAC02 _RJM       FRANK HOLTEN 3              MERAMEC
   IL      IL_OW 02            LAKE FORK                   KASKASKIA RIVER
   IL      ILCA03 _CA 03       SKILLET FK.                 WABASH RIVER
                                                           UPPER MISSISSIPPI -
   IL      ILNJ07 _NJ 07       CASEY FK.                   MERAMEC
                                                           UPPER MISSISSIPPI -
   IL      ILNJ07 _NJ 14       CASEY FK.                   MERAMEC
                                                           UPPER MISSISSIPPI -
   IL      ILNJ07 _NJ 28       CASEY FK.                   MERAMEC
   IL      IL_HBD 02           THORN CREEK                 UPPER ILLINOIS
   IL      ILRTF _RTI          CHANNEL                     UPPER ILLINOIS
   IL      ILPQ10 _PQ 07       KISHWAUKEE RIVER            ROCK RIVER
   IL      ILLAKEMICHIGAN_5    WAUKEGAN HARBOR             LAKE MICHIGAN
   IL      ILLDD01_LDD-C6      CEDAR CREEK
   IL      ILA32 _A 32         OHIO RIVER                  LOWER OHIO
   IL      ILOW01 _OW 01       LAKE FORK                   KASKASKIA RIVER
   IL      ILP09 _P 09         ROCK RIVER                  ROCK RIVER
   IL      ILO13 _O 35         KASKASKIA RIVER             KASKASKIA RIVER
   IL      ILO13 _O 37         KASKASKIA RIVER             KASKASKIA RIVER
   IL      ILG30 _G 26         DESPLAINES RIVER            UPPER ILLINOIS
   IL      ILGI03 _GI 03       CHIC. SAN. & SHIP CANAL     UPPER ILLINOIS
                                                           SOUTHWESTERN LAKE
   IL      ILHAA01_RHO         CALUMET                     MICHIGAN
   IL      ILDT22 _DT 06       FOX RIVER                   UPPER ILLINOIS
   IL      ILDT22 _DT 22       FOX RIVER                   UPPER ILLINOIS
   IL      ILDT38_DT 09        FOX RIVER                   UPPER ILLINOIS
   IL      ILDT46 _DT 36       FOX RIVER                   UPPER ILLINOIS
   IL      ILE16 _E 13         SANGAMON RIVER              LOWER ILLINOIS
   IL      ILG01 _G 12         DESPLAINES RIVER            UPPER ILLINOIS
   IL      ILG01 _G 24         DESPLAINES RIVER            UPPER ILLINOIS




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   State   Waterbody ID        Waterbody Name              Region
                                                           SOUTHWESTERN LAKE
   IL      ILQ01 _QC 03        WAUKEGAN RIVER              MICHIGAN
   IL      ILCA06 _CA 07       SKILLET FK.                 WABASH RIVER
   IL      ILD05 _D 05         ILLINOIS RIVER              LOWER ILLINOIS
   IL      ILPW01_PW 01        PECATONICA RIVER
   IL      ILLDD01_LDD-A1      CEDAR CREEK
   IL      ILO13 _O 31         KASKASKIA RIVER             KASKASKIA RIVER
   IL      ILG30 _G 32         DESPLAINES RIVER            UPPER ILLINOIS
   IL      ILGL09 _GL 10       SALT CREEK                  UPPER ILLINOIS
   IL      ILH01 _RHH          SAGANASHKEE                 UPPER ILLINOIS
   IL      ILHA04_HA 04        LITTLE CALUMET RIVER N.
   IL      ILHAB01_HAB 41      GRAND CALUMET RIVER
   IL      ILHBD04_RHI         SAUK TRAIL                  UPPER ILLINOIS
   IL      ILDT38_DT 03        FOX RIVER                   UPPER ILLINOIS
   IL      ILDT46 _DT 01       FOX RIVER                   UPPER ILLINOIS
   IL      ILE16 _E 30         SANGAMON RIVER              LOWER ILLINOIS
   IL      ILG01 _G 01         DESPLAINES RIVER            UPPER ILLINOIS
   IL      IL_HCCA02           NORTH SHORE CHANNEL         UPPER ILLINOIS
   IL      ILGL09 _GL 19       SALT CREEK                  UPPER ILLINOIS
   IL      ILHAA01_HAA 01      CALUMET RIVER
   IL      ILDT46 _DT 11       FOX RIVER                   UPPER ILLINOIS
   IL      ILDT46 _DT 46       FOX RIVER                   UPPER ILLINOIS
   IL      ILRTF _RTD          CATHERINE                   UPPER ILLINOIS
   IL      ILLDD01_LDD-C1      CEDAR CREEK
   IL      ILG11 _G 39         DESPLAINES RIVER            UPPER ILLINOIS
   IL      ILG30 _G 28         DESPLAINES RIVER            UPPER ILLINOIS
   IL      ILG30 _G 35         DESPLAINES RIVER            UPPER ILLINOIS
   IL      ILHCC08 _HCC 08     N. BR. CHICAGO RIVER        UPPER ILLINOIS
   IL      ILHCCA01_HCCA04     N. SHORE CHANNEL
                                                           SOUTHWESTERN LAKE
   IL      ILQ01 _QA C4        PETTIBONE CREEK             MICHIGAN
                                                           SOUTHWESTERN LAKE
   IL      ILQ01 _QC 05        WAUKEGAN RIVER              MICHIGAN
                                                           UPPER MISSISSIPPI - SKUNK
   IL      ILLDD01_LDD-C3A     CEDAR CREEK                 - WAPSIPINICON
   IL      ILGI02 _GI 06       CHIC. SAN. & SHIP CANAL     UPPER ILLINOIS
   IL      ILHC01 _HC 01       S. BR. CHICAGO RIVER        UPPER ILLINOIS
   IL      ILDT38_DT 69        FOX RIVER                   UPPER ILLINOIS
                                                           SOUTHWESTERN LAKE
   IL      ILQ01 _QAA D1       S. BR. PETTIBONE CREEK      MICHIGAN
   IL      ILHC01 _HCB 01      CHICAGO RIVER               UPPER ILLINOIS
                                                           SOUTHWESTERN LAKE
   IL      IL_HA 05            LITTLE CALUMET RIVER N.     MICHIGAN
   IL      ILLDD01_LDD-C2      CEDAR CREEK
   IL      ILHCC08 _HCC 02     N. BR. CHICAGO RIVER        UPPER ILLINOIS
   IL      ILPW08_PW 08        PECATONICA RIVER            ROCK RIVER
   IL      ILHBA01_RHZI        MIDLOTHIAN RESERVOIR        UPPER ILLINOIS
                                                           SOUTHWESTERN LAKE
   IL      ILHAA01_RHA         WOLF                        MICHIGAN
                                                           UPPER MISSISSIPPI -
   IL      ILJ81 _RJC          HORSESHOE (MADISON)         MERAMEC
   IL      ILPQCL01_RPZG       SYCAMORE LAKE               ROCK RIVER
                                                           UPPER MISSISSIPPI -
   IL      ILJMAC02 _RJK       FRANK HOLTEN 1              MERAMEC
   IL      ILG30 _SGF          SCHILLER POND               UPPER ILLINOIS




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   State   Waterbody ID        Waterbody Name                         Region
                                                                      UPPER MISSISSIPPI -
   IL      ILNDB01_RNZH        CAMPUS                                 MERAMEC
   IN      INB0186_00A         ROCK CREEK - UNNAMED TRIBUTARY         WABASH RIVER
   IN      INB0186_00J         ROCK CREEK - UNNAMED TRIBUTARY         WABASH RIVER
                               WEST FORK LITTLE WILDCAT CREEK -
   IN      INB0722_T1036B      UNNAMED TRIBUTARY                      WABASH RIVER
                               WILDCAT CREEK, MIDDLE FORK - UNNAMED
   IN      INB0737_01D         TRIBUTARY                              WABASH RIVER
                               WILDCAT CREEK, SOUTH FORK- UNNAMED
   IN      INB0744_T1019E      TRIBUTARY                              WABASH RIVER
   IN      INA0365_T1067       ST. JOSEPH RIVER                       WESTERN LAKE ERIE
   IN      INA0371_00          DAVIS DITCH AND TRIBS                  WESTERN LAKE ERIE
   IN      INA0375_P1024       CEDARVILLE RESERVOIR - LOWER           WESTERN LAKE ERIE
   IN      INA0393_T1033       CEDAR CREEK-MAINSTEM                   WESTERN LAKE ERIE
   IN      INA0399_T1037       CEDAR CREEK                            WESTERN LAKE ERIE
   IN      INA03A4_M1042       ST. JOSEPH RIVER                       WESTERN LAKE ERIE
   IN      INA03A4_P1044       ST. JOSEPH RESERVOIR                   WESTERN LAKE ERIE
   IN      INA03P1002_00       CLEAR LAKE                             WESTERN LAKE ERIE
   IN      INW08H7_M1070       EAST FORK WHITE RIVER                  WABASH RIVER
   IN      INW0191_M1038       WHITE RIVER                            WABASH RIVER
   IN      INW01AF_T1047       FALL CREEK                             WABASH RIVER
   IN      INW01B5_T1050       FALL CREEK-DEVON CREEK                 WABASH RIVER
   IN      INA0465_00          JUNK DITCH AND OTHER TRIBS             WESTERN LAKE ERIE
   IN      INA0465_T1002       ST. MARYS RIVER                        WESTERN LAKE ERIE
   IN      INA0511_M1007       MAUMEE RIVER                           WESTERN LAKE ERIE
   IN      INB0164_00          WABASH RIVER AND TRIBUTARY             WABASH RIVER
   IN      INB0171_T1002       WABASH RIVER MAINSTEM                  WABASH RIVER
   IN      INB01E1_M1010       WABASH RIVER MAINSTEM                  WABASH RIVER
   IN      INB01E3_M1029       WABASH RIVER MAINSTEM                  WABASH RIVER
   IN      INB01F2_M1013       WABASH RIVER MAINSTEM                  WABASH RIVER
   IN      INB01G3_M1019       WABASH RIVER MAINSTEM                  WABASH RIVER
   IN      INW041C_T1007       BIG BLUE RIVER                         WABASH RIVER
   IN      INW0552_T1013       FLATROCK RIVER-WILLOW PARK             WABASH RIVER
   IN      INW0623_M1013       EAST FORK WHITE RIVER                  WABASH RIVER
   IN      INW0665_M1021       EAST FORK WHITE RIVER                  WABASH RIVER
   IN      INW0822_M1003       EAST FORK WHITE R-TUNNELTON            WABASH RIVER
   IN      INW0894_T1023       SALT CREEK                             WABASH RIVER
   IN      INW08A3_M1058       EAST FORK WHITE RIVER                  WABASH RIVER
   IN      INH6_00             OHIO RIVER - CANNELTON TO NEWBURGH     LOWER OHIO
   IN      INH8_M01            OHIO RIVER - EVANSVILLE TO UNIONTOWN   LOWER OHIO
                                                                      SOUTHEASTERN LAKE
   IN      INJ01C6_T1001       VAN NATTA DITCH                        MICHIGAN
                                                                      SOUTHEASTERN LAKE
   IN      INJ01D3_M1012       ST. JOSEPH RIVER                       MICHIGAN
                                                                      SOUTHEASTERN LAKE
   IN      INJ01F5_M1009       ST. JOSEPH RIVER                       MICHIGAN
                                                                      SOUTHEASTERN LAKE
   IN      INJ01G6_00          CHRISTIANA CREEK-OUTLET (MICHIGAN)     MICHIGAN
   IN      INN04JE_00          LITTLE BLUE RIVER-ALTON                LOWER OHIO
   IN      INP0948_T1008       PATOKA RIVER                           WABASH RIVER
   IN      INP0964_T1011       PATOKA RIVER                           WABASH RIVER
   IN      INP0969_T1015       PATOKA RIVER                           WABASH RIVER
   IN      INP0981_T1016       PATOKA RIVER                           WABASH RIVER
   IN      INV0339_03          TANNERS CREEK (LAWRENCEBURGH, IN)      MIDDLE OHIO
   IN      INV0345_00          NORTH HOGAN CREEK-WILMINGTON           MIDDLE OHIO




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   State   Waterbody ID        Waterbody Name                           Region
   IN      INV034B_00          SOUTH HOGAN CREEK-COCHRAN                MIDDLE OHIO
                                                                        SOUTHWESTERN LAKE
   IN      INC0121_T1001       INDIANA HARBOR CANAL - MAIN CHANNEL      MICHIGAN
                                                                        SOUTHWESTERN LAKE
   IN      INC0164_T1086       LITTLE CALUMET RIVER                     MICHIGAN
                                                                        SOUTHWESTERN LAKE
   IN      INC0164_T1108       PORTAGE BURNS WATERWAY                   MICHIGAN
                                                                        SOUTHWESTERN LAKE
   IN      INC0173_T1020       TRAIL CREEK                              MICHIGAN
   IN      INW01G6_M1094       WHITE RIVER                              WABASH RIVER
   IN      INW0221_M1009       WHITE RIVER                              WABASH RIVER
   IN      INW0229_M1013       WHITE RIVER                              WABASH RIVER
                               WHITE RIVER - ELNORA TO SMOTHERS CR
   IN      INW025A_M1033       CUTOFF                                   WABASH RIVER
                               WHITE RIVER - EDWARDSPORT TO INDIAN
   IN      INW0272_M1036       CREEK                                    WABASH RIVER
   IN      INW0291_M1039       WHITE RIVER - MAYSVILLE                  WABASH RIVER
   IN      INW02A3_M1052       WHITE RIVER                              WABASH RIVER
   IN      INW02AA_M1055       WHITE RIVER                              WABASH RIVER
                               YELLOW RIVER - LISTENBERGER/CLIFFTON
   IN      INK0165_00          DITCHES                                  UPPER ILLINOIS
   IN      INK0166_01          YELLOW RIVER                             UPPER ILLINOIS
                               YELLOW RIVER - UNNAMED TRIBUTARY
   IN      INK0166_T1002       (MARSHALL CO)                            UPPER ILLINOIS
   IN      INK0166_T1006       BICKLE DITCH                             UPPER ILLINOIS
   IN      INK016A_01          YELLOW RIVER                             UPPER ILLINOIS
   IN      INK016A_T1002       CANNON DITCH                             UPPER ILLINOIS
   IN      INK0187_M1112       KANKAKEE RIVER                           UPPER ILLINOIS
   IN      INK01A1_01          WOLF CREEK (UPSTREAM OF SR 49)           UPPER ILLINOIS
   IN      INK01A2_00          WOLF CREEK-HICKAM LATERAL                UPPER ILLINOIS
   IN      INV0384_01          LAUGHERY CREEK, SOUTH FORK               MIDDLE OHIO
   IN      INW0115_T1005       WHITE RIVER                              WABASH RIVER
   IN      INW011C_T1008       WHITE RIVER                              WABASH RIVER
   IN      INW0148_T1018       WHITE RIVER - ANDERSON TO INDIAN CR      WABASH RIVER
   IN      ING0314_00          WHITEWATER RIVER - PRONGHORN RUN         GREAT MIAMI RIVER
   IN      ING0314_T1003       WHITEWATER RIVER, WEST FORK              GREAT MIAMI RIVER
   IN      ING0348_T1010       WHITEWATER RIVER, WEST FORK              GREAT MIAMI RIVER
                               WHITEWATER RIVER (UPSTREAM OF
   IN      ING0389_T1019       WHISTLE CREEK)                           GREAT MIAMI RIVER
   IN      ING0389_T1020       WHITEWATER RIVER - MAINSTEM              GREAT MIAMI RIVER
   IN      ING038A_00          LOGAN CREEK AND OTHER TRIBS              GREAT MIAMI RIVER
                               OHIO RIVER - OHIO STATE LINE TO
   IN      INH1_00             MARKLAND DAM                             MIDDLE OHIO
   IN      INH3_00             OHIO RIVER - KENTUCKY R TO BATTLE CR     LOWER OHIO
   IN      INH3_M01            OHIO RIVER - BATTLE CR TO MCALPINE DAM   LOWER OHIO
   IN      INH4_00             OHIO RIVER - MCALPINE TO GREENWOOD, KY   LOWER OHIO
   IN      INH5_00             OHIO RIVER - SALT CR TO CANNELTON        LOWER OHIO
   IN      INB0881_M1015       WABASH RIVER                             WABASH RIVER
                               WABASH RIVER - SUGAR CR TO LTL RACCOON
   IN      INB08F1_M1023       CR (VERMILLION)                          WABASH RIVER
   IN      INB08K2_T1029       BIG RACCOON CREEK - MECCA                WABASH RIVER
   IN      INB08M4_M1033       WABASH RIVER                             WABASH RIVER
   IN      INB1041_00          SUGAR CREEK TRIBUTARIES NEAR GARFIELD    WABASH RIVER
   IN      INB1043_T1005       LITTLE SUGAR CREEK                       WABASH RIVER
   IN      INB1046_00          WALNUT FORK - ABOVE LITTLE SUGAR CREEK   WABASH RIVER




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   State   Waterbody ID        Waterbody Name                           Region
   IN      INB1054_T1007       SUGAR CREEK                              WABASH RIVER
   IN      INB105A_T1011       SUGAR CREEK                              WABASH RIVER
   IN      INB1067_T1012       SUGAR CREEK                              WABASH RIVER
   IN      INB1069_T1013       SUGAR CREEK-MAIN STEM                    WABASH RIVER
   IN      INB1176_M1006       WABASH RIVER-ASHMORE CREEK (ILL)         WABASH RIVER
   IN      INB11F4_M1012       WABASH RIVER-BUZZARD POND                WABASH RIVER
   IN      INB11H1_M1014       WABASH RIVER                             WABASH RIVER
   IN      INB11M1_M1019       WABASH RIVER                             WABASH RIVER
   IN      INB1333_M1005       WABASH RIVER                             WABASH RIVER
   IN      INB1354_M1007       WABASH RIVER                             WABASH RIVER
                               GEYER DITCH - GORDON AIRPORT/
   IN      INK0116_00          CRUMSTOWN                                UPPER ILLINOIS
   IN      INK011A_00          KANKAKEE RIVER-SOUSLEY LAKE-TASCHER DT   UPPER ILLINOIS
   IN      INK0125_03          POTATO CREEK-KARTOFFEL CREEK             UPPER ILLINOIS
   IN      INB0663_T1021       TIPPECANOE RIVER                         WABASH RIVER
   IN      INB0666_T1022       TIPPECANOE RIVER                         WABASH RIVER
   IN      INB0667_T1023       TIPPECANOE RIVER                         WABASH RIVER
   IN      INB0669_T1024       TIPPECANOE RIVER                         WABASH RIVER
   IN      INB06A3_P1031       LAKE SHAFER                              WABASH RIVER
   IN      INK01B3_M1020B      KANKAKEE RIVER                           UPPER ILLINOIS
   IN      INK01C4_M1021       KANKAKEE RIVER                           UPPER ILLINOIS
   IN      INK01C5_T1106       WILLIAMS DITCH                           UPPER ILLINOIS
   IN      INK0235_00          BICE DITCH (LOWER) - OTHER TRIBUTARIES   UPPER ILLINOIS
   IN      INK0243_T1005       IROQUOIS RIVER                           UPPER ILLINOIS
   IN      INK0244_T1006       IROQUOIS RIVER                           UPPER ILLINOIS
   IN      INK0247_T1008       IROQUOIS RIVER                           UPPER ILLINOIS
   IN      INK0254_T1011       IROQUOIS RIVER                           UPPER ILLINOIS
                               SUGAR CREEK (DOWNSTREAM OF EARL
   IN      INK0272_02          PARK, IN)                                UPPER ILLINOIS
   IN      INK0335_T1004       LITTLE CALUMET RIVER                     UPPER ILLINOIS
   IN      INK0335_T1005       LITTLE CALUMET RIVER                     UPPER ILLINOIS
   IN      INN01EH_T1003       SILVER CREEK                             LOWER OHIO
   IN      INN04A3_00          INDIAN CREEK-DEVILS BACKBONE             LOWER OHIO
   IN      INB0441_T1006       EEL RIVER - MAINSTEM                     WABASH RIVER
   IN      INB0444_T1009       EEL RIVER - MAINSTEM                     WABASH RIVER
   IN      INB0451_T1013       EEL RIVER - MAINSTEM                     WABASH RIVER
   IN      INB0464_T1018       EEL RIVER - MAINSTEM                     WABASH RIVER
   IN      INB0471_T1019       EEL RIVER - MAINSTEM                     WABASH RIVER
   IN      INB0475_T1020       EEL RIVER - MAINSTEM                     WABASH RIVER
   IN      INB0511_M1001       WABASH RIVER - MAINSTEM                  WABASH RIVER
   IN      INB0532_M1003       WABASH RIVER - MAINSTEM                  WABASH RIVER
   IN      INB0533_M1004       WABASH RIVER - MAINSTEM                  WABASH RIVER
   IN      INB0534_M1005       WABASH RIVER - MAINSTEM                  WABASH RIVER
   IN      INB06F8_M1097       TIPPECANOE RIVER                         WABASH RIVER
   IN      INB071A_T1034       WILDCAT CREEK - MAINSTEM                 WABASH RIVER
                               WILDCAT CREEK (UPSTREAM OF SPRING
   IN      INB0721_T1008       RUN)                                     WABASH RIVER
   IN      INB0726_T1012       WILDCAT CREEK - MAINSTEM                 WABASH RIVER
   IN      INB0727_T1040       WILDCAT CREEK - MAINSTEM                 WABASH RIVER
   IN      INB072A_T1016       WILDCAT CREEK - MAINSTEM                 WABASH RIVER
   IN      INB01HB_T1030       PIPE CREEK                               WABASH RIVER
   IN      INB01HD_00          PIPE CREEK                               WABASH RIVER
   IN      INB01J2_M1021       WABASH RIVER MAINSTEM                    WABASH RIVER
   IN      INB0218_01          SALAMONIE RIVER                          WABASH RIVER
   IN      INB0242_T1002       SALAMONIE RIVER-LANCASTER                WABASH RIVER




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   State   Waterbody ID        Waterbody Name                        Region
   IN      INB0248_00          SALAMONIE RIVER (BELOW DAM)           WABASH RIVER
                               MISSISSINEWA RIVER - MAINSTEM ABOVE
   IN      INB0311_T1001       LTL MISSISSINEWA R                    WABASH RIVER
   IN      INB0316_T1005       MISSISSINEWA RIVER - MAINSTEM         WABASH RIVER
   IN      INB0317_T1006       MISSISSINEWA RIVER - MAINSTEM         WABASH RIVER
   IN      INB0321_T1007       MISSISSINEWA RIVER - MAINSTEM         WABASH RIVER
                               MISSISSINEWA RIVER (DOWNSTREAM OF
   IN      INB0354_T1018       BARREN CREEK)                         WABASH RIVER
   IN      INB035A_T1018       MISSISSINEWA RIVER - MAINSTEM         WABASH RIVER
                               MISSISSINEWA RIVER (DOWNSTREAM OF
   IN      INB036A_00          DAM)                                  WABASH RIVER
   IN      INB0412_T1000       EEL RIVER                             WABASH RIVER
   IN      INB0414_T1002       EEL RIVER - MAINSTEM                  WABASH RIVER
   IN      INB0432_T1003       EEL RIVER (EAST OF CR 500W)           WABASH RIVER
   IN      INB055B_T1008       DEER CREEK                            WABASH RIVER
   IN      INB055C_T1009       DEER CREEK                            WABASH RIVER
   IN      INB0561_M1010       WABASH RIVER - MAINSTEM               WABASH RIVER
   IN      INB0635_T1011       TIPPECANOE RIVER                      WABASH RIVER
   IN      INB0641_T1013       TIPPECANOE RIVER                      WABASH RIVER
   IN      INB0648_T1014       TIPPECANOE RIVER                      WABASH RIVER
   IN      INB0654_T1018       TIPPECANOE RIVER                      WABASH RIVER
   IN      INB06CB_00          HONEY CREEK - SHAFER DAM              WABASH RIVER
                               TIPPECANOE RIVER (UPSTREAM OF
   IN      INB06D1_00          TIMMONS DITCH)                        WABASH RIVER
                               TIPPECANOE RIVER (DOWNSTREAM OF
   IN      INB06D1_01          TIMMONS DITCH)                        WABASH RIVER
   IN      INB06E1_00          PIKE CREEK (WHITE)                    WABASH RIVER
   IN      INB0744_T1019       SOUTH FORK WILDCAT CREEK - MAINSTEM   WABASH RIVER
   IN      INB074B_T1021       SOUTH FORK WILDCAT CREEK              WABASH RIVER
   IN      INB074D_T1022       SOUTH FORK WILDCAT CREEK              WABASH RIVER
   IN      INB074D_T1029       SOUTH FORK WILDCAT CREEK              WABASH RIVER
   IN      INB0826_T1045       WEA CREEK                             WABASH RIVER
   IN      INB0827_T1013       ELLIOT DITCH                          WABASH RIVER
   IN      INB0829_T1039       WEA CREEK - ELLIOT DT TO MOUTH        WABASH RIVER
   IN      INB0831_M1003       WABASH RIVER - D/S WEA CREEK          WABASH RIVER
   IN      INB0854_00          MUD PINE CREEK-BRISCO                 WABASH RIVER
   IN      INB0861_T1011       BIG PINE CREEK                        WABASH RIVER
   IN      INB0186_00H         ROCK CREEK - UNNAMED TRIBUTARY        WABASH RIVER
   IN      INB0186_00E         GORDON DITCH                          WABASH RIVER
   IN      INA0371_T1059       ST. JOSEPH RIVER                      WESTERN LAKE ERIE
   IN      INA0393_T1034       CEDAR CREEK                           WESTERN LAKE ERIE
   IN      INA0398_T1036       CEDAR CREEK                           WESTERN LAKE ERIE
   IN      INW08H3_M1067       EAST FORK WHITE RIVER                 WABASH RIVER
   IN      INW08H4_M1068       EAST FORK WHITE RIVER                 WABASH RIVER
   IN      INW0194_M1053       WHITE RIVER                           WABASH RIVER
   IN      INW01ED_M1082       WHITE RIVER-HENDERSON BRIDGE          WABASH RIVER
   IN      INA0516_M1005       MAUMEE RIVER                          WESTERN LAKE ERIE
   IN      INB0162_00          WABASH RIVER
   IN      INB0186_00          ROCK CREEK - LOWER MIDDLE             WABASH RIVER
   IN      INB01F1_M1012       WABASH RIVER MAINSTEM                 WABASH RIVER
   IN      INB01F8_M1015       WABASH RIVER MAINSTEM                 WABASH RIVER
   IN      INB01G4_M1020       WABASH RIVER MAINSTEM                 WABASH RIVER
   IN      INW07B7_M1005       MUSCATATUCK RIVER                     WABASH RIVER
   IN      INW089D_T1031       SALT CREEK                            WABASH RIVER
   IN      INW08A3_M1009       EAST FORK WHITE RIVER                 WABASH RIVER




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   State   Waterbody ID        Waterbody Name                          Region
   IN      INW08C5_M1011       EAST FORK WHITE RIVER                   WABASH RIVER
   IN      INH9_00             OHIO RIVER - UNIONTOWN TO WABASH R      LOWER OHIO
                               PIGEON RIVER (DOWNSTREAM OF SCTOO,      SOUTHEASTERN LAKE
   IN      INJ01C6_02          IN)                                     MICHIGAN
   IN      INP0961_T1009       PATOKA RIVER                            WABASH RIVER
   IN      INP0966_T1013       PATOKA RIVER                            WABASH RIVER
   IN      INP0985_T1017       PATOKA RIVER                            WABASH RIVER
   IN      INP0985_T1070       PATOKA RIVER - ABOVE HOUCHINS DT        WABASH RIVER
   IN      INV0345_T1039       HOGAN CREEK                             MIDDLE OHIO
                                                                       SOUTHWESTERN LAKE
   IN      INC0143_02          BURNS DITCH (OSRW)                      MICHIGAN
   IN      INW01FJ_T1091       WHITE LICK CREEK                        WABASH RIVER
   IN      INW01G3_M1093       WHITE RIVER                             WABASH RIVER
   IN      INW01J3_M1104       WHITE RIVER-PARAGON BRIDGE              WABASH RIVER
   IN      INW0226_M1012       WHITE RIVER                             WABASH RIVER
   IN      INW0231_M1026       WHITE RIVER                             WABASH RIVER
   IN      INW0241_T1019       RICHLAND CREEK                          WABASH RIVER
   IN      INW0258_M1030       WHITE RIVER                             WABASH RIVER
   IN      INW0259_M1032       WHITE RIVER                             WABASH RIVER
   IN      INW0275_M1037       WHITE RIVER - WHEATLAND                 WABASH RIVER
   IN      INW02AC_M1056       WHITE RIVER                             WABASH RIVER
   IN      INK0166_T1005       YELLOW RIVER - UNNAMED TRIBUTARY        UPPER ILLINOIS
   IN      INK0166_T1006B      BOLEN DITCH                             UPPER ILLINOIS
   IN      INK0199_T1015       CROOKED CREEK                           UPPER ILLINOIS
   IN      INW0114_T1004       WHITE RIVER                             WABASH RIVER
   IN      INW0145_00          KILLBUCK CREEK                          WABASH RIVER
   IN      INW0159_00          PIPE CREEK - HAMILTON COUNTY            WABASH RIVER
   IN      INW0173_T1033       WHITE RIVER - RIVERWOOD TO CICERO CR    WABASH RIVER
   IN      ING034B_00          WHITEWATER RIVER                        GREAT MIAMI RIVER
   IN      ING0376_00          SHORT CREEK AND OTHER TRIBS             GREAT MIAMI RIVER
   IN      ING037B_T1016       WHITEWATER RIVER, EAST FORK             GREAT MIAMI RIVER
                               OHIO RIVER - MARKLAND TO KENTUCKY
   IN      INH2_00             RIVER                                   MIDDLE OHIO
   IN      INH4_M01            OHIO RIVER - GREENWOOD, KY TO SALT CR   LOWER OHIO
   IN      INB0871_M1014       WABASH RIVER - ATTICA                   WABASH RIVER
   IN      INB0891_M1019       WABASH RIVER                            WABASH RIVER
   IN      INB08E1_M1050A      WABASH RIVER                            WABASH RIVER
   IN      INB08K2_00          BIG RACCOON CREEK TRIBUTARIES - MECCA   WABASH RIVER
   IN      INB1041_T1003       SUGAR CREEK - GARFIELD                  WABASH RIVER
   IN      INB1056_T1008       SUGAR CREEK                             WABASH RIVER
   IN      INB1059_T1010       SUGAR CREEK                             WABASH RIVER
   IN      INB1194_M1007       WABASH RIVER                            WABASH RIVER
   IN      INB11H2_M1015       WABASH RIVER                            WABASH RIVER
   IN      INB11M3_M1020       WABASH RIVER                            WABASH RIVER
   IN      INB13A1_M1011       WABASH RIVER                            WABASH RIVER
   IN      INB13A3_M1012       WABASH RIVER                            WABASH RIVER
                                                                       SOUTHEASTERN LAKE
   IN      INJ01T4_M1003       ST. JOSEPH RIVER                        MICHIGAN
                               POTATO CREEK (DOWNSTREAM OF WORSTER
   IN      INK0124_02          LAKE)                                   UPPER ILLINOIS
   IN      INK0131_T1003       KANKAKEE RIVER - MAINSTEM               UPPER ILLINOIS
   IN      INK0133_T1004       KANKAKEE RIVER - MAINSTEM               UPPER ILLINOIS
   IN      INB0662_T1020       TIPPECANOE RIVER                        WABASH RIVER
   IN      INB066B_T1025       TIPPECANOE RIVER                        WABASH RIVER
   IN      INB0684_T1027       TIPPECANOE RIVER                        WABASH RIVER




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   State   Waterbody ID        Waterbody Name                            Region
   IN      INK01B3_M1020A      KANKAKEE RIVER                            UPPER ILLINOIS
                               IROQUOIS RIVER (DOWNSTREAM OF
   IN      INK0226_T1004B      RENSSELAER, IN)                           UPPER ILLINOIS
   IN      INK0251_T1010       IROQUOIS RIVER                            UPPER ILLINOIS
   IN      INK0272_01          SUGAR CREEK (UPSTREAM OF EARL PARK, IN)   UPPER ILLINOIS
   IN      INK0272_T1003       SUGAR CREEK - UNNAMED TRIBUTARY           UPPER ILLINOIS
   IN      INK0272_T1006       SUGAR CREEK - UNNAMED TRIBUTARY           UPPER ILLINOIS
   IN      INK02F3_00          DEARDURFF DITCH AND OTHER TRIBUTARYS      UPPER ILLINOIS
   IN      INK02F3_T1014       BEAVER CREEK                              UPPER ILLINOIS
   IN      INN04F6_T1039       BLUE RIVER                                LOWER OHIO
   IN      INN04F7_T1008       BLUE RIVER                                LOWER OHIO
   IN      INB0435_T1005       EEL RIVER - MAINSTEM                      WABASH RIVER
   IN      INB0447_T1011       EEL RIVER - MAINSTEM                      WABASH RIVER
   IN      INB0462_T1017       EEL RIVER - MAINSTEM                      WABASH RIVER
   IN      INB0476_T1027       EEL RIVER - MAINSTEM                      WABASH RIVER
   IN      INB06F5_M1094       TIPPECANOE RIVER                          WABASH RIVER
                               WILDCAT CREEK (DOWNSTREAM OF SPRING
   IN      INB0721_T1009       RUN)                                      WABASH RIVER
   IN      INB0722_T1036       LITTLE WILDCAT CREEK - WEST FORK          WABASH RIVER
   IN      INB0728_T1014       WILDCAT CREEK - MAINSTEM                  WABASH RIVER
                               WILDCAT CREEK (U/S OF UNNAMED
   IN      INB0729_T1015       TRIBUTARY AT PRINCE WM RD)                WABASH RIVER
   IN      INB0222_01          SALAMONIE RIVER                           WABASH RIVER
   IN      INB0242_01          SALAMONIE RIVER                           WABASH RIVER
   IN      INB0312_T1002       LITTLE MISSISSINEWA RIVER MAINSTEM        WABASH RIVER
   IN      INB0313_T1003       MISSISSINEWA RIVER - MAINSTEM             WABASH RIVER
   IN      INB0357_T1024       MISSISSINEWA RIVER - MAINSTEM             WABASH RIVER
   IN      INB035D_T1019       MISSISSINEWA RIVER - MAINSTEM             WABASH RIVER
                               EEL RIVER (EAST OF EEL RIVER FORT
   IN      INB0413_T1001       MONUMENT)                                 WABASH RIVER
   IN      INB0558_T1009       DEER CREEK (AT CAMDEN)                    WABASH RIVER
   IN      INB0573_M1012       WABASH RIVER - MAINSTEM                   WABASH RIVER
   IN      INB0618_T1003       TIPPECANOE RIVER                          WABASH RIVER
   IN      INB0631_T1009       TIPPECANOE RIVER                          WABASH RIVER
   IN      INB0644_T1041       TIPPECANOE RIVER AND TRIBUTARY            WABASH RIVER
   IN      INB0649_T1015       TIPPECANOE RIVER                          WABASH RIVER
   IN      INB0737_01          WILDCAT CREEK, MIDDLE FORK                WABASH RIVER
   IN      INB074E_T1023       SOUTH FORK WILDCAT CREEK                  WABASH RIVER
   IN      INB0186_00C         ROCK CREEK - UNNAMED TRIBUTARY            WABASH RIVER
   IN      INB0186_00G         ROCK CREEK - UNNAMED TRIBUTARY            WABASH RIVER
   IN      INB0186_00D         WHITELOCK DITCH                           WABASH RIVER
                               WILDCAT CREEK, MIDDLE FORK - UNNAMED
   IN      INB0737_01C         TRIBUTARY                                 WABASH RIVER
   IN      INA0367_T1058       ST. JOSEPH RIVER                          WESTERN LAKE ERIE
   IN      INW0192_M1052       WHITE RIVER                               WABASH RIVER
                               WHITE RIVER-HAVERSTICK CREEK/HOWLAND
   IN      INW0195_M1054       DITCH TRIBUTARYS                          WABASH RIVER
   IN      INW0198_M1055       WHITE RIVER                               WABASH RIVER
   IN      INW01B2_T1049       FALL CREEK                                WABASH RIVER
   IN      INW01B6_T1051       FALL CREEK                                WABASH RIVER
   IN      INW01CB_T1071       EAGLE CREEK-DAM TO LITTLE EAGLE CREEK     WABASH RIVER
   IN      INW01E3_M1079       WHITE RIVER                               WABASH RIVER
   IN      INW01E6_M1081       WHITE RIVER                               WABASH RIVER
   IN      INA03P1011_00       HAMILTON LAKE                             WESTERN LAKE ERIE
   IN      INA0518_M1004       MAUMEE RIVER                              WESTERN LAKE ERIE




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   State   Waterbody ID        Waterbody Name                           Region
   IN      INA051A_M1003       MAUMEE RIVER                             WESTERN LAKE ERIE
   IN      INA051D_M1001       MAUMEE RIVER                             WESTERN LAKE ERIE
   IN      INB0164_T1001       WABASH RIVER MAINSTEM                    WABASH RIVER
   IN      INB0187_T1001       EIKENBERRY DITCH                         WABASH RIVER
   IN      INB01FA_M1017       WABASH RIVER MAINSTEM                    WABASH RIVER
   IN      INB01G1_M1018       WABASH RIVER MAINSTEM                    WABASH RIVER
   IN      INW0418_T1005       BIG BLUE RIVER                           WABASH RIVER
   IN      INW0627_M1014       EAST FORK WHITE RIVER                    WABASH RIVER
   IN      INW0643_M1016       EAST FORK WHITE RIVER                    WABASH RIVER
   IN      INW0664_M1020       EAST FORK WHITE RIVER                    WABASH RIVER
   IN      INW0892_T1021       CLEAR CREEK                              WABASH RIVER
   IN      INW0893_T1022       CLEAR CREEK                              WABASH RIVER
   IN      INW0899_T1028       PLEASANT RUN                             WABASH RIVER
   IN      INW08E4_M1014       EAST FORK WHITE RIVER                    WABASH RIVER
   IN      INH8_00             OHIO RIVER - GREEN RIVER TO EVANSVILLE   LOWER OHIO
                                                                        SOUTHEASTERN LAKE
   IN      INJ01C6_T1001A      VAN NATTA DITCH - UNNAMED TRIBUTARY      MICHIGAN
   IN      INP0986_T1018       PATOKA RIVER                             WABASH RIVER
   IN      INP0987_T1019       PATOKA RIVER                             WABASH RIVER
                               TANNERS CREEK (UPSTREAM OF GREENDALE,
   IN      INV0339_01          IN)                                      MIDDLE OHIO
   IN      INB13D2_M1018       WABASH RIVER                             WABASH RIVER
                                                                        SOUTHWESTERN LAKE
   IN      INC0121_00          INDIANA HARBOR CANAL - LAKE GEORGE BR    MICHIGAN
   IN      INE017C_01          ANDERSON RIVER                           LOWER OHIO
   IN      INW01J9_M1106       WHITE RIVER                              WABASH RIVER
   IN      INW0224_M1011       WHITE RIVER                              WABASH RIVER
   IN      INW0235_M1027       WHITE RIVER                              WABASH RIVER
   IN      INW0297_M1040       WHITE RIVER                              WABASH RIVER
                               YELLOW RIVER - UNNAMED TRIBUTARY
   IN      INK0166_T1001       (MARSHALL CO)                            UPPER ILLINOIS
   IN      INK0166_T1006A      SARBER DITCH                             UPPER ILLINOIS
   IN      INK0183_M1011       KANKAKEE RIVER-ENGLISH LAKE              UPPER ILLINOIS
   IN      INK0187_M1012       KANKAKEE RIVER                           UPPER ILLINOIS
   IN      INK0195_T1013       CROOKED CREEK                            UPPER ILLINOIS
   IN      INK0197_T1014       CROOKED CREEK                            UPPER ILLINOIS
   IN      INK01A1_02          WOLF CREEK (DOWNSTREAM OF SR 49)         UPPER ILLINOIS
   IN      INK01A1_T1008       WOLF CREEK - UNNAMED TRIBUTARY           UPPER ILLINOIS
   IN      INV0385_01          LAUGHERY CREEK                           MIDDLE OHIO
   IN      INW0112_T1002       WHITE RIVER                              WABASH RIVER
   IN      INW0119_T1006       WHITE RIVER                              WABASH RIVER
   IN      INW0126_T1010       WHITE RIVER                              WABASH RIVER
   IN      INW0132_T1014       WHITE RIVER                              WABASH RIVER
   IN      INW0172_T1032       WHITE RIVER - DUCK CR TO RIVERWOOD       WABASH RIVER
   IN      INW0177_T1041       STONEY CREEK                             WABASH RIVER
   IN      INE024A_T1003       PIGEON CREEK-KLEYMEYER PARK              LOWER OHIO
   IN      ING034D_00          WHITEWATER RIVER                         GREAT MIAMI RIVER
   IN      ING037C_T1017       WHITEWATER RIVER, EAST FORK              GREAT MIAMI RIVER
   IN      INB0863_T1012       BIG PINE CREEK EXC                       WABASH RIVER
                               WABASH RIVER - LTL VERMILLION R TO
   IN      INB08E6_M1051       SUGAR CR                                 WABASH RIVER
   IN      INB08M3_M1032       WABASH RIVER                             WABASH RIVER
                               WABASH RIVER - OTTER CREEK TO ABOVE
   IN      INB1142_M1002       WABASH GEN STA OUTFALL                   WABASH RIVER
   IN      INB1145_M1003       WABASH RIVER                             WABASH RIVER




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   State   Waterbody ID        Waterbody Name                          Region
   IN      INB1156_M1004       WABASH RIVER-TERRE HAUTE AREA           WABASH RIVER
   IN      INB11C4_M1009       WABASH RIVER                            WABASH RIVER
   IN      INB11F1_M1010       WABASH RIVER                            WABASH RIVER
   IN      INB11F3_M1011       WABASH RIVER                            WABASH RIVER
   IN      INB1316_M1003       WABASH RIVER                            WABASH RIVER
   IN      INB1341_M1006       WABASH RIVER-GREATHOUSE CREEK (ILL)     WABASH RIVER
   IN      INB1361_M1008       WABASH RIVER                            WABASH RIVER
   IN      INB1382_M1010       WABASH RIVER                            WABASH RIVER
   IN      INB13A4_M1013       WABASH RIVER                            WABASH RIVER
                                                                       SOUTHEASTERN LAKE
   IN      INJ01T2_M1005       ST. JOSEPH RIVER                        MICHIGAN
                                                                       SOUTHEASTERN LAKE
   IN      INJ01T3_M1004       ST. JOSEPH RIVER                        MICHIGAN
                                                                       SOUTHEASTERN LAKE
   IN      INJ01T6_M1001       ST. JOSEPH RIVER                        MICHIGAN
   IN      INB0682_M1026       TIPPECANOE RIVER                        WABASH RIVER
                               IROQUOIS RIVER (UPSTREAM OF
   IN      INK0226_T1004A      RENSSELAER, IN)                         UPPER ILLINOIS
   IN      INK0235_T1019       SLOUGH CREEK                            UPPER ILLINOIS
                               IROQUOIS RIVER-SOUTH CONCORD BRANCH
   IN      INK025A_T1012       (ILL)                                   UPPER ILLINOIS
   IN      INK0272_T1004       SUGAR CREEK - UNNAMED TRIBUTARY         UPPER ILLINOIS
   IN      INK0336_T1002       LITTLE CALUMET RIVER                    UPPER ILLINOIS
   IN      INN04A1_00          INDIAN CREEK-NORTH KARST AREA           LOWER OHIO
   IN      INN04A4_00          INDIAN CREEK-BLUE SPRING                LOWER OHIO
   IN      INB0448_T1012       EEL RIVER - MAINSTEM                    WABASH RIVER
   IN      INB0457_T1015       EEL RIVER - MAINSTEM                    WABASH RIVER
   IN      INB0521_M1002       WABASH RIVER - MAINSTEM                 WABASH RIVER
   IN      INB06F5_M1096       TIPPECANOE RIVER                        WABASH RIVER
   IN      INB071C_T1026       KOKOMO CREEK                            WABASH RIVER
   IN      INB0722_00          LITTLE WILDCAT CREEK - EAST FORK        WABASH RIVER
   IN      INB01J4_M1022       WABASH RIVER MAINSTEM                   WABASH RIVER
   IN      INB0216_00          SALAMONIE RIVER - MILLER DITCH          WABASH RIVER
   IN      INB0224_00          SALAMONIE RIVER - EAST CREEK            WABASH RIVER
   IN      INB0236_00          SALAMONIE RIVER - CUSTARD DRAIN         WABASH RIVER
   IN      INB0312_00          GETTINGER DITCH AND OTHER TRIBUTARIES   WABASH RIVER
   IN      INB0315_T1004       MISSISSINEWA RIVER - MAINSTEM           WABASH RIVER
   IN      INB0324_T1009       MISSISSINEWA RIVER - MAINSTEM           WABASH RIVER
   IN      INB0326_T1010       MISSISSINEWA RIVER - MAINSTEM           WABASH RIVER
   IN      INB0327_T1011       MISSISSINEWA RIVER - MAINSTEM           WABASH RIVER
   IN      INB0351_T1015       MISSISSINEWA RIVER - MAINSTEM           WABASH RIVER
   IN      INB0352_T1016       MISSISSINEWA RIVER - MAINSTEM           WABASH RIVER
   IN      INB0432_T1004       EEL RIVER - MAINSTEM                    WABASH RIVER
   IN      INB0562_M1011       WABASH RIVER - MAINSTEM                 WABASH RIVER
   IN      INB0621_T1004       TIPPECANOE RIVER                        WABASH RIVER
   IN      INB0624_T1006       TIPPECANOE RIVER                        WABASH RIVER
   IN      INB06E2_M1093       TIPPECANOE RIVER                        WABASH RIVER
   IN      INB0751_T1028       WILDCAT CREEK                           WABASH RIVER
   IN      INB0186_00I         ROCK CREEK - UNNAMED TRIBUTARY          WABASH RIVER
                               WILDCAT CREEK, MIDDLE FORK - UNNAMED
   IN      INB0737_01E         TRIBUTARY                               WABASH RIVER
   IN      INW08H5_M1069       EAST FORK WHITE RIVER                   WABASH RIVER
                               WHITE RIVER, EAST FOR (UPSTREAM OF
   IN      INW08H7_M1069       BEECH CREEK)                            WABASH RIVER
   IN      IN_05120201010100   WHITE RIVER                             WABASH RIVER




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   State   Waterbody ID        Waterbody Name                         Region
   IN      IN_05120208170010   EAST FORK WHITE RIVER                  WABASH RIVER
   IN      INW0198_M1118       WHITE RIVER                            WABASH RIVER
   IN      INW01D6_M1075       WHITE RIVER                            WABASH RIVER
   IN      INA0466_T1022       ST. MARYS RIVER                        WESTERN LAKE ERIE
   IN      INA0514_M1006       MAUMEE RIVER                           WESTERN LAKE ERIE
   IN      INA051C_M1002       MAUMEE RIVER                           WESTERN LAKE ERIE
   IN      INW0414_T1003       BIG BLUE RIVER                         WABASH RIVER
   IN      INW0415_T1004       BIG BLUE RIVER                         WABASH RIVER
   IN      INW0451_T1018       BIG BLUE RIVER-SR44                    WABASH RIVER
   IN      INW0455_T1020       BIG BLUE RIVER                         WABASH RIVER
   IN      INW0811_M1001       EAST FORK WHITE RIVER                  WABASH RIVER
   IN      INW0826_M1005       EAST FORK WHITE RIVER                  WABASH RIVER
   IN      INW0842_M1006       EAST FORK WHITE RIVER                  WABASH RIVER
                               EAST FORK WHITE RIVER (ABOVE BEDFORD
   IN      INW0845_M1053       WATER INTAKE)                          WABASH RIVER
   IN      INW0899_T1027       SALT CREEK                             WABASH RIVER
   IN      INW089B_T1029       SALT CREEK                             WABASH RIVER
   IN      INW08A2_M1008       EAST FORK WHITE RIVER                  WABASH RIVER
   IN      INH7_00             OHIO RIVER - NEWBURGH TO GREEN R       LOWER OHIO
                                                                      SOUTHEASTERN LAKE
   IN      INJ01C6_01          PIGEON RIVER (UPSTREAM OF SCOTT, IN)   MICHIGAN
   IN      INP0928_T1005       PATOKA RIVER                           WABASH RIVER
   IN      INP0968_T1014       PATOKA RIVER                           WABASH RIVER
   IN      INP0986_T1072       PATOKA RIVER - CUTOFF BY HOUCHINS DT   WABASH RIVER
   IN      INP0988_T1020       PATOKA RIVER                           WABASH RIVER
   IN      INB13C1_M1015       WABASH RIVER
   IN      INB13D1_M1017       WABASH RIVER                           WABASH RIVER
                                                                      SOUTHWESTERN LAKE
   IN      INC0142_T1009       LITTLE CALUMET RIVER                   MICHIGAN
                                                                      SOUTHWESTERN LAKE
   IN      INC0143_01          BURNS DITCH                            MICHIGAN
                                                                      SOUTHWESTERN LAKE
   IN      INC0181G_G1093      LAKE MICHIGAN SHORELINE-DUNES          MICHIGAN
   IN      INW01FJ_00          MONICAL BRANCH                         WABASH RIVER
   IN      INW01G1_M1092       WHITE RIVER                            WABASH RIVER
   IN      INW01J6_M1105       WHITE RIVER                            WABASH RIVER
   IN      INW0223_M1010       WHITE RIVER                            WABASH RIVER
   IN      INW022F_M1014       WHITE RIVER                            WABASH RIVER
   IN      INW022F_M1061       WHITE RIVER                            WABASH RIVER
   IN      INK013C_T1007       KANKAKEE RIVER-MAINSTEM                UPPER ILLINOIS
   IN      INK01A1_T1003       LATERAL NO 77                          UPPER ILLINOIS
   IN      INK01A1_T1004       WOLF CREEK - UNNAMED TRIBUTARY         UPPER ILLINOIS
   IN      INV0378_00          LAUGHERY CREEK-MUD LICK                MIDDLE OHIO
   IN      INW0147_T1017       KILLBUCK CREEK - TO MOUTH              WABASH RIVER
   IN      ING0376_T1013       WHITEWATER RIVER, EAST FORK            GREAT MIAMI RIVER
   IN      ING0376_T1027       WHITEWATER RIVER, EAST FORK            GREAT MIAMI RIVER
   IN      INB0886_M1018       WABASH RIVER                           WABASH RIVER
                               WABASH RIVER - MILL CR TO BELOW LTL
   IN      INB08E6_M1022       VERMILLION R                           WABASH RIVER
   IN      INB1051_T1006       SUGAR CREEK                            WABASH RIVER
   IN      INB1057_T1009       SUGAR CREEK                            WABASH RIVER
   IN      INB11A5_M1008       WABASH RIVER-RIVERVIEW                 WABASH RIVER
   IN      INB1311_M1001       WABASH RIVER                           WABASH RIVER
   IN      INB1331_M1004       WABASH RIVER                           WABASH RIVER
   IN      INB1381_M1009       WABASH RIVER                           WABASH RIVER




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   State   Waterbody ID        Waterbody Name                          Region
   IN      INB13A5_M1014       WABASH RIVER-WABASH LEVEE DITCH (ILL)   WABASH RIVER
   IN      INK0134_T1005       KANKAKEE RIVER-MAINSTEM                 UPPER ILLINOIS
   IN      INB06A2_M1095       TIPPECANOE RIVER                        WABASH RIVER
   IN      INK0272_T1002       SUGAR CREEK - UNNAMED TRIBUTARY         UPPER ILLINOIS
   IN      INB0461_T1016       EEL RIVER - MAINSTEM                    WABASH RIVER
   IN      INB0476_T1021       EEL RIVER - MAINSTEM                    WABASH RIVER
   IN      INB0477_T1023       EEL RIVER - MAINSTEM                    WABASH RIVER
   IN      INB0717_T1001       WILDCAT CREEK                           WABASH RIVER
                               WILDCAT CREEK - UPSTREAM OF WATER
   IN      INB071A_T1025       INTAKE                                  WABASH RIVER
   IN      INB0722_T1009       KELLY WEST DITCH                        WABASH RIVER
   IN      INB0727_T1013       WILDCAT CREEK - MAINSTEM                WABASH RIVER
                               WILDCAT CREEK (D/S OF UNNAMED
   IN      INB0729_T1016       TRIBUTARY AT PRINCE WM RD)              WABASH RIVER
   IN      INB0233_00          SALAMONIE RIVER                         WABASH RIVER
                               SALAMONIE RIVER (DOWNSTREAM OF
   IN      INB0241_01          DETAMORE DITCH)                         WABASH RIVER
   IN      INB0354_T1017       MISSISSINEWA RIVER - MAINSTEM           WABASH RIVER
   IN      INB0362_T1021       MISSISSINEWA RIVER - MAINSTEM           WABASH RIVER
   IN      INB0431_T1003       EEL RIVER                               WABASH RIVER
   IN      INB074A_T1020       SOUTH FORK WILDCAT CREEK - MAINSTEM     WABASH RIVER
   IN      INB0813_M1001       WABASH RIVER                            WABASH RIVER
   IN      INB0829_00          WEA CREEK TRIBUTARIES                   WABASH RIVER
   IN      INB0839_M1006       WABASH RIVER                            WABASH RIVER
   IN      INB0854_T1053       MUD PINE CREEK                          WABASH RIVER
                               EAST FORK LITTLE WILDCAT CREEK -
   IN      INB0722_00B         UNNAMED TRIBUTARY                       WABASH RIVER
                               WILDCAT CREEK, MIDDLE FORK - UNNAMED
   IN      INB0737_01A         TRIBUTARY                               WABASH RIVER
                               WILDCAT CREEK, MIDDLE FORK - UNNAMED
   IN      INB0737_01B         TRIBUTARY                               WABASH RIVER
   IN      INW01CE_T1072       EAGLE CREEK-NEELD DITCH/BLUE LAKE       WABASH RIVER
   IN      INW01D2_M1059       WHITE RIVER                             WABASH RIVER
   IN      INW01D4_M1060       WHITE RIVER                             WABASH RIVER
   IN      INW01D8_M1076       WHITE RIVER                             WABASH RIVER
   IN      INB0163_00          WABASH RIVER - THREEMILE CREEK          WABASH RIVER
   IN      INB01F5_M1014       WABASH RIVER MAINSTEM                   WABASH RIVER
   IN      INW041B_T1006       BIG BLUE RIVER                          WABASH RIVER
   IN      INW0641_M1015       EAST FORK WHITE R-REDDINGTON            WABASH RIVER
   IN      INW0662_M1019       EAST FORK WHITE RIVER                   WABASH RIVER
   IN      INW089C_T1030       SALT CREEK-DARK HOLLOW KARST AREA       WABASH RIVER
   IN      INW08E1_M1012       EAST FORK WHITE RIVER                   WABASH RIVER
   IN      INW08E2_M1013       EAST FORK WHITE RIVER                   WABASH RIVER
   IN      INP0947_T1007       PATOKA RIVER                            WABASH RIVER
                                                                       SOUTHWESTERN LAKE
   IN      INC0121G_G1075      LAKE MICHIGAN SHORELINE WEST OF IHC     MICHIGAN
                                                                       SOUTHWESTERN LAKE
   IN      INC0121G_G1078      INDIANA HARBOR                          MICHIGAN
                               GRAND CALUMET RIVER - GARY TO INDIANA   SOUTHWESTERN LAKE
   IN      INC0122_T1097       HARBOR CANAL                            MICHIGAN
   IN      INE01F8_T1007       LITTLE PIGEON CREEK                     LOWER OHIO
   IN      INW0218_T1006       BEANBLOSSOM CREEK                       WABASH RIVER
   IN      INW0251_M1028       WHITE RIVER                             WABASH RIVER
   IN      INK0147_T1009       KANKAKEE RIVER                          UPPER ILLINOIS
   IN      INK0166_T1004       YELLOW RIVER - UNNAMED TRIBUTARY        UPPER ILLINOIS




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   State   Waterbody ID        Waterbody Name                            Region
   IN      INK016A_T1002A      CANNON DITCH                              UPPER ILLINOIS
   IN      INK01A1_T1006A      SCHRADER DITCH - UNNAMED TRIBUTARY        UPPER ILLINOIS
                               WOLF CREEK - UNNAMED TRIBUTARY
   IN      INK01A1_T1007       (WHEATFIELD, IN)                          UPPER ILLINOIS
   IN      INW0113_T1003       WHITE RIVER                               WABASH RIVER
   IN      INW0126_T1012       BUCK CREEK                                WABASH RIVER
   IN      INW0133_T1015       WHITE RIVER - CHESTERFIELD TO ANDERSON    WABASH RIVER
   IN      INW0145_T1016       KILLBUCK CREEK                            WABASH RIVER
   IN      INW014A_T1019       WHITE RIVER-PERKINSVILLE                  WABASH RIVER
   IN      INW0176_T1040       STONEY CREEK                              WABASH RIVER
   IN      INB0882_M1016       WABASH RIVER                              WABASH RIVER
                               WABASH RIVER - WABASH GEN STA TO LOST
   IN      INB1142_M1025       CREEK                                     WABASH RIVER
   IN      INB1174_M1005       WABASH RIVER                              WABASH RIVER
   IN      INK011A_T1001       KANKAKEE RIVER-MAINSTEM                   UPPER ILLINOIS
   IN      INK011D_T1002       KANKAKEE RIVER                            UPPER ILLINOIS
   IN      INK0246_T1007       IROQUOIS RIVER                            UPPER ILLINOIS
   IN      INK0272_T1005       SUGAR CREEK - UNNAMED TRIBUTARY           UPPER ILLINOIS
   IN      INN04F6_T1007       BLUE RIVER                                LOWER OHIO
   IN      INB0442_T1007       EEL RIVER                                 WABASH RIVER
   IN      INB0443_T1008       EEL RIVER                                 WABASH RIVER
   IN      INB0648_T1042       TIPPECANOE RIVER                          WABASH RIVER
   IN      INB0741_00          WILDCAT CREEK, SOUTH FORK                 WABASH RIVER
   IN      INB0742_02          WILDCAT CREEK, SOUTH FORK                 WABASH RIVER
   IN      INB0751_T1024       WILDCAT CREEK - MAINSTEM - OSRW           WABASH RIVER
   IN      INB0814_M1002       WABASH RIVER                              WABASH RIVER
                               WEST FORK LITTLE WILDCAT CREEK -
   IN      INB0722_T1036A      UNNAMED TRIBUTARY                         WABASH RIVER
   IN      INA0385_T1029       CEDAR CREEK                               WESTERN LAKE ERIE
   IN      INW08H9_M1055       EAST FORK WHITE RIVER                     WABASH RIVER
   IN      INW01DA_M1077       WHITE RIVER-MANN CREEK/HARNESS DITCH      WABASH RIVER
   IN      INW0645_M1017       EAST FORK WHITE RIVER                     WABASH RIVER
   IN      INW0661_M1018       EAST FORK WHITE RIVER                     WABASH RIVER
   IN      INW0845_M1007       EAST FORK WHITE RIVER                     WABASH RIVER
   IN      INV0339_02          TANNERS CREEK (GREENDALE, IN)             MIDDLE OHIO
                                                                         SOUTHWESTERN LAKE
   IN      INC0121G_G1074      LAKE MICHIGAN SHORELINE EAST OF IHC       MICHIGAN
                                                                         SOUTHWESTERN LAKE
   IN      INC0122_00          GRAND CALUMET RIVER - HEADWATERS          MICHIGAN
   IN      INW0219_T1007       BEANBLOSSOM CREEK                         WABASH RIVER
   IN      INW0271_M1035       WHITE RIVER - BLACK CR EDWARDSPORT        WABASH RIVER
   IN      INK0166_T1003       UNNAMED DITCH (OAK GROVE, IN)             UPPER ILLINOIS
   IN      INK0189_M1103       KANKAKEE RIVER                            UPPER ILLINOIS
   IN      INW011D_T1009       WHITE RIVER                               WABASH RIVER
   IN      INW0131_T1013       WHITE RIVER                               WABASH RIVER
   IN      INW0157_T1024       PIPE CREEK                                WABASH RIVER
   IN      INW0159_T1026       PIPE CREEK - SWANFELT DT TO COUNTY LINE   WABASH RIVER
   IN      ING0349_T1011       WHITEWATER RIVER, WEST FORK               GREAT MIAMI RIVER
   IN      INB08F2_M1024       WABASH RIVER                              WABASH RIVER
   IN      INB08M1_M1031       WABASH RIVER                              WABASH RIVER
   IN      INB1046_T1014       WALNUT FORK - BELOW LITTLE SUGAR CREEK    WABASH RIVER
                               WABASH RIVER - SPRING CREEK TO OTTER
   IN      INB1138_M1001       CREEK                                     WABASH RIVER
   IN      INB11J1_M1017       WABASH RIVER                              WABASH RIVER
   IN      INB11K4_M1018       WABASH RIVER                              WABASH RIVER




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   State   Waterbody ID        Waterbody Name                           Region
                                                                        SOUTHEASTERN LAKE
   IN      INJ01N6_T1013       ELKHART RIVER                            MICHIGAN
                                                                        SOUTHEASTERN LAKE
   IN      INJ01P1_M1007       ST. JOSEPH RIVER                         MICHIGAN
                                                                        SOUTHEASTERN LAKE
   IN      INJ01T1_M1006       ST. JOSEPH RIVER                         MICHIGAN
   IN      INK01B2_M1019       KANKAKEE RIVER                           UPPER ILLINOIS
   IN      INK0248_T1009       IROQUOIS RIVER                           UPPER ILLINOIS
   IN      INB0445_T1010       EEL RIVER - MAINSTEM                     WABASH RIVER
   IN      INB0477_T1022       EEL RIVER - LOGANSPORT WATER INTAKE      WABASH RIVER
   IN      INB0725_T1011       WILDCAT CREEK - MAINSTEM                 WABASH RIVER
   IN      INB0322_T1008       MISSISSINEWA RIVER - MAINSTEM            WABASH RIVER
   IN      INB0334_T1013       MISSISSINEWA RIVER - MAINSTEM            WABASH RIVER
   IN      INB0335_T1014       MISSISSINEWA RIVER - MAINSTEM            WABASH RIVER
   IN      INB0632_T1010       TIPPECANOE RIVER                         WABASH RIVER
   IN      INB0742_01          WILDCAT CREEK, SOUTH FORK                WABASH RIVER
                               WABASH RIVER - GRANVILLE BRDG TO FLINT
   IN      INB0833_M1004       CREEK                                    WABASH RIVER
   IN      INB0186_00B         ROCK CREEK - UNNAMED TRIBUTARY           WABASH RIVER
   IN      INW08H1_M1066       EAST FORK WHITE RIVER                    WABASH RIVER
   IN      INW01E4_M1080       WHITE RIVER                              WABASH RIVER
   IN      INB0187_00          ROCK CREEK                               WABASH RIVER
                               WABASH RIVER - BELOW HUNTINGTON LAKE
   IN      INB0192_T1009       DAM                                      WABASH RIVER
   IN      INB01F9_M1016       WABASH RIVER MAINSTEM                    WABASH RIVER
   IN      INW0824_M1004       EAST FORK WHITE RIVER                    WABASH RIVER
                                                                        SOUTHEASTERN LAKE
   IN      INJ01F1_M1011       ST. JOSEPH RIVER                         MICHIGAN
   IN      INP0962_T1010       PATOKA RIVER                             WABASH RIVER
   IN      INP0965_T1012       PATOKA RIVER                             WABASH RIVER
   IN      INB13C2_M1016       WABASH RIVER                             WABASH RIVER
                                                                        SOUTHWESTERN LAKE
   IN      INC0143_03          BURNS DITCH                              MICHIGAN
   IN      INE01F6_T1006       LITTLE PIGEON CREEK-RED BUSH             LOWER OHIO
   IN      INW0254_M1029       WHITE RIVER-NEWBERRY TRIBS               WABASH RIVER
                               WHITE RIVER - SMOTHER CR CUTOFF TO
   IN      INW0267_M1034       BLACK CR                                 WABASH RIVER
   IN      INK0138_T1006       KANKAKEE RIVER-MAINSTEM                  UPPER ILLINOIS
   IN      INK0146_T1008       KANKAKEE RIVER                           UPPER ILLINOIS
   IN      INK016A_T1001       YELLOW RIVER - UNNAMED TRIBUTARY         UPPER ILLINOIS
   IN      INK016A_T1003       CAVANAUGH DITCH                          UPPER ILLINOIS
   IN      INK019D_M1105       KANKAKEE RIVER                           UPPER ILLINOIS
   IN      INK01A1_T1006       SCRADER DITCH                            UPPER ILLINOIS
   IN      INV0384_02          LAUGHERY CREEK                           MIDDLE OHIO
   IN      INE024C_T1004       PIGEON CREEK                             LOWER OHIO
   IN      INB0884_M1017       WABASH RIVER                             WABASH RIVER
   IN      INB1315_M1002       WABASH RIVER                             WABASH RIVER
                               UNNAMED CHANNEL (TO AND FROM
   IN      INB06A2_T1004       TIPPECANOE RIVER)                        WABASH RIVER
   IN      INK0272_T1001       SUGAR CREEK - UNNAMED TRIBUTARY          UPPER ILLINOIS
   IN      INB071A_T1006       WILDCAT CREEK - MAINSTEM                 WABASH RIVER
   IN      INB0221_01          SALAMONIE RIVER                          WABASH RIVER
   IN      INB0231_00          SALAMONIE RIVER - RHOTON DITCH           WABASH RIVER
   IN      INB0238_01          SALAMONIE RIVER                          WABASH RIVER




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   State   Waterbody ID        Waterbody Name                         Region
                               SALAMONIE RIVER (DOWNSTREAM OF
   IN      INB0241_02          DETAMORE DITCH)                        WABASH RIVER
   IN      INB0332_T1012       MISSISSINEWA RIVER - MAINSTEM          WABASH RIVER
                               EEL RIVER (WEST OF EEL RIVER FORT
   IN      INB0413_T1002       MONUMENT)                              WABASH RIVER
   IN      INB0635_T1040       TIPPECANOE RIVER                       WABASH RIVER
   IN      INB0638_T1012       TIPPECANOE RIVER                       WABASH RIVER
   IN      INB0742_03          WILDCAT CREEK, SOUTH FORK              WABASH RIVER
                               WABASH RIVER - COUNTY LINE TO LITTLE
   IN      INB0835_M1005       PINE CREEK                             WABASH RIVER
   IN      INB0186_00F         REDDING DITCH                          WABASH RIVER
   IN      INB01E3_M1011       WABASH RIVER MAINSTEM                  WABASH RIVER
   IN      INW0621_M1012       EAST FORK WHITE RIVER                  WABASH RIVER
   IN      INW0813_M1002       EAST FORK WHITE RIVER                  WABASH RIVER
   IN      INW08C1_M1010       EAST FORK WHITE R-SHOALS               WABASH RIVER
                                                                      SOUTHEASTERN LAKE
   IN      INJ01F2_M1010       ST. JOSEPH RIVER                       MICHIGAN
   IN      INP0946_T1006       PATOKA RIVER                           WABASH RIVER
                                                                      SOUTHWESTERN LAKE
   IN      INC0164_T1018       LITTLE CALUMET RIVER - EAST ARM        MICHIGAN
                                                                      SOUTHWESTERN LAKE
   IN      INC0191G_G1092      LAKE MICHIGAN SHORELINE-LAPORTE        MICHIGAN
   IN      INW021A_T1008       BEANBLOSSOM CREEK                      WABASH RIVER
   IN      INK019F_M1104       KANKAKEE RIVER                         UPPER ILLINOIS
   IN      INK01A1_T1005       WOLF CREEK - UNNAMED TRIBUTARY         UPPER ILLINOIS
   IN      INV0384_03          LAUGHERY CREEK                         MIDDLE OHIO
   IN      INW0171_T1027       WHITE RIVER - PIPE CR TO DUCK CR       WABASH RIVER
   IN      ING0362_00          WHITEWATER RIVER                       GREAT MIAMI RIVER
   IN      INB0894_M1020       WABASH RIVER                           WABASH RIVER
                                                                      SOUTHEASTERN LAKE
   IN      INJ01N6_M1008       ST. JOSEPH RIVER                       MICHIGAN
   IN      INB06A1_M1029       TIPPECANOE RIVER                       WABASH RIVER
                               GRAND CALUMET RIVER - ILLINOIS TO
   IN      INK0351_T1001       INDIANA HARBOR CANAL                   UPPER ILLINOIS
   IN      INB0453_T1014       EEL RIVER - MAINSTEM                   WABASH RIVER
   IN      INB0361_T1020       MISSISSINEWA RIVER                     WABASH RIVER
   IN      INB0621_T1037       TIPPECANOE RIVER                       WABASH RIVER
   IN      INB083B_M1007       WABASH RIVER - BELOW INDEPENDENCE      WABASH RIVER
   IN      INK01P1066_00       WORSTER LAKE                           WABASH RIVER
   IN      INB06P1092_00       FREEMAN, LAKE                          WABASH RIVER
   IN      INW01P1048_00       GEIST RESERVOIR                        WABASH RIVER
   IN      INK01P1060_00       LOWER FISH LAKE                        UPPER ILLINOIS
   IN      INP09P1001_00       PATOKA RESERVOIR                       WABASH RIVER
                                                                      SOUTHEASTERN LAKE
   IN      INJ01P1248_00       SYLVAN LAKE                            MICHIGAN
   IN      INB03P1022_00       MISSISSINEWA RESERVOIR                 WABASH RIVER
                                                                      SOUTHEASTERN LAKE
   IN      INJ01P1038_00       LAKE JAMES                             MICHIGAN
   IN      INB06P1019_00       LAKE MAXINKUCKEE                       WABASH RIVER
   IN      INB06P1007_00       WINONA LAKE                            WABASH RIVER
                                                                      SOUTHEASTERN LAKE
   IN      INJ01P1025_00       OLIVER LAKE                            MICHIGAN
   IN      INW01P1036_00       MORSE RESERVOIR                        WABASH RIVER
   IN      ING03P1019_00       BROOKVILLE RESERVOIR                   GREAT MIAMI RIVER
   IN      INW01P1069_00       EAGLE CREEK RESERVOIR                  WABASH RIVER




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   State   Waterbody ID        Waterbody Name                  Region
   IN      INE02P1017_00       HOVEY LAKE                      LOWER OHIO
   IN      INM00G1000_00       LAKE MICHIGAN
   IN      INB11P1028_00       TURTLE CREEK RESERVOIR          WABASH RIVER
   IN      INK01P1089_00       FLINT LAKE                      UPPER ILLINOIS
                                                               SOUTHEASTERN LAKE
   IN      INJ01P1174_00       SIMONTON LAKE                   MICHIGAN
   IN      INB06P1005_00       PIKE LAKE                       WABASH RIVER
                                                               SOUTHEASTERN LAKE
   IN      INJ01P1088_00       UPPER STORY LAKE                MICHIGAN
                                                               SOUTHEASTERN LAKE
   IN      INJ01P1023_00       LAKE WAWASEE                    MICHIGAN
   IN      INB06P1002_00       TIPPECANOE LAKE                 WABASH RIVER
   IN      INB08P1067_00       CECIL M. HARDEN RESERVOIR       WABASH RIVER
                                                               SOUTHEASTERN LAKE
   IN      INJ01P1223_00       RIVIR LAKE                      MICHIGAN
                                                               SOUTHWESTERN LAKE
   IN      INC01P1083_00       MARQUETTE PARK LAGOONS (EAST)   MICHIGAN
   IN      INK01P1055_00       NORTH CHAIN LAKE                UPPER ILLINOIS
   IN      INK01P1022_00       CEDAR LAKE                      UPPER ILLINOIS
   IN      INK01P1073_00       LAKE OF THE WOODS               UPPER ILLINOIS
   IN      INB06P1077_00       PALESTINE LAKE                  WABASH RIVER
                                                               SOUTHEASTERN LAKE
   IN      INJ01P1082_00       PLEASANT LAKE                   MICHIGAN
   IN      INK01P1031_00       STONE LAKE                      UPPER ILLINOIS
                                                               SOUTHEASTERN LAKE
   IN      INJ01P1240_00       HENDERSON LAKE                  MICHIGAN
   IN      INB01P1008_00       J. EDWARD ROUSH LAKE            WABASH RIVER
                                                               SOUTHEASTERN LAKE
   IN      INW07P1040_00       HARDY LAKE                      MICHIGAN
   IN      INB02P1007_00       SALAMONIE RESERVOIR             WABASH RIVER
                                                               SOUTHWESTERN LAKE
   IN      INC01P1002_T1085    MARQUETTE PARK LAGOONS (WEST)   MICHIGAN
                                                               SOUTHEASTERN LAKE
   IN      INJ01P1075_00       FOX LAKE                        MICHIGAN
                                                               SOUTHEASTERN LAKE
   IN      INJ01P1026_00       OLIN LAKE                       MICHIGAN
                                                               SOUTHWESTERN LAKE
   IN      INC01P1083_T1084    MARQUETTE PARK LAGOONS (EAST)   MICHIGAN
                                                               SOUTHWESTERN LAKE
   IN      INC01P1002_00       MARQUETTE PARK LAGOONS (WEST)   MICHIGAN
   IN      INW06P1030_00       GREENSBURG RESERVOIR            WABASH RIVER
   IN      INK01P1091_00       LONG LAKE                       UPPER ILLINOIS
   IN      INK01P1078_00       BASS LAKE                       UPPER ILLINOIS
                                                               LOWER ARKANSAS RIVER
   KS      KS-LA-12-728_1693   CHISHOLM CR                     BASIN
                                                               KANSAS-LOWER
   KS      KS-KR-04-255_20     MUD CR                          REPUBLICAN RIVER BASIN
                                                               KANSAS-LOWER
   KS      KS-KR-04-255_21     KANSAS R                        REPUBLICAN RIVER BASIN
                                                               LOWER ARKANSAS RIVER
   KS      KS-LA-12-728_817    CHISHOLM CR, MIDDLE FORK        BASIN
                                                               LOWER ARKANSAS RIVER
   KS      KS-LA-13-281_3      ARKANSAS R                      BASIN
                                                               KANSAS-LOWER
   KS      KS-KR-04-255_19     KANSAS R                        REPUBLICAN RIVER BASIN




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   State   Waterbody ID              Waterbody Name                           Region
                                                                              KANSAS-LOWER
   KS      KS-KR-04-255_57           STONE HOUSE CR                           REPUBLICAN RIVER BASIN
                                                                              LOWER ARKANSAS RIVER
   KS      KS-LA-12-728_1            LITTLE ARKANSAS R                        BASIN
                                                                              KANSAS-LOWER
   KS      KS-KR-04-255_22           BUCK CR                                  REPUBLICAN RIVER BASIN
                                                                              KANSAS-LOWER
   KS      KS-KR-04-255_56           OAKLEY CR                                REPUBLICAN RIVER BASIN
                                                                              KANSAS-LOWER
   KS      KS-KR-04-255_73           KENT CR                                  REPUBLICAN RIVER BASIN
                                                                              KANSAS-LOWER
   KS      KS-KR-04-255_50           PLUM CR                                  REPUBLICAN RIVER BASIN
                                                                              KANSAS-LOWER
   KS      KS-KR-04-255_9057         STONE HOUSE CR, EAST                     REPUBLICAN RIVER BASIN
                                                                              KANSAS-LOWER
   KS      KS-KR-04-255_23           KANSAS R                                 REPUBLICAN RIVER BASIN
                                                                              KANSAS-LOWER
   KS      KS-KR-04-255_69           BALDWIN CR                               REPUBLICAN RIVER BASIN
                                                                              LOWER ARKANSAS RIVER
   KS      KS-LA-13-728_8            CHISHOLM CR                              BASIN
                                                                              LOWER ARKANSAS RIVER
   KS      KS-LA-11-287_1755         COW CR                                   BASIN
                                                                              KANSAS-LOWER
   KS      KS-KR-04-255_830          STONE HOUSE CR, WEST                     REPUBLICAN RIVER BASIN
   KY      KY491096_01               Drakes Creek 0.0 to 23.4
   KY      KY496312_02               Levisa Fork 5.8 to 15.3
   KY      KY499011_04               Mud River 52.2 to 64.0
   KY      KY499011_03               Mud River 30.9 to 52.2
   KY      KY499011_02               Mud River 9.1 to 30.9
   KY      KY492142_00               Fishtrap Reservoir
   KY      KY493295_00               Green River Reservoir
   KY      KY499011_01               Mud River 0.0 to 9.1
   KY      KY516088_01               Tygarts Creek 0.2 to 25.0
   KY      KY516088_03               Tygarts Creek 36.3 to 45.5
   KY      KYOhioRiver_471.4_475.1   Ohio River 471.4 to 475.1
   KY      KYOhioRiver_475.1_477.6   Ohio River 475.1 to 477.6
   KY      KYOhioRiver_477.6_488.0   Ohio River 477.6 to 488.0
   KY      KYOhioRiver_488.0_593.1   Ohio River 488.0 to 593.1
   KY      KYOhioRiver_319.4_340.8   Ohio River 319.4 to 340.8
   KY      KYOhioRiver_795.7_799.8   Ohio River 795.7 to 799.8
   KY      KYOhioRiver_799.8_802.9   Ohio River 799.8 to 802.9
   KY      KYOhioRiver_802.9_820.1   Ohio River 802.9 to 820.1
   KY      KYOhioRiver_356.6_377.7   Ohio River 356.6 to 377.7
   KY      KY506431_01               West Fork of Drakes Creek 0.0 to 23.3
   KY      KY506431_02               West Fork of Drakes Creek 26.7 to 32.1
   KY      KY505385_01               Town Branch 0.0 to 6.2
   KY      KYOhioRiver_614.9_683.0   Ohio River 614.9 to 683.0
   KY      KYOhioRiver_719.5_735.7   Ohio River 719.5 to 735.7
   KY      KYOhioRiver_735.7_756.4   Ohio River 735.7 to 756.4
   KY      KYOhioRiver_862.1_872.8   Ohio River 862.1 to 872.8
   KY      KYOhioRiver_882.9_894.6   Ohio River 882.9 to 894.6
   KY      KYOhioRiver_920.5_925.8   Ohio River 920.5 to 925.8
   KY      KYOhioRiver_925.8_981.0   Ohio River 925.8 to 981.0
   KY      KY495859_01               Knox Creek 0.0 to 8.0
   KY      KYOhioRiver_826.4_846.3   Ohio River 826.4 to 846.3




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   State   Waterbody ID              Waterbody Name                 Region
   KY      KYOhioRiver_760.6_776.1   Ohio River 760.6 to 776.1
   KY      KYOhioRiver_776.1_789.3   Ohio River 776.1 to 789.3
   KY      KY516088_02               Tygarts Creek 25.0 to 36.3
   KY      KYOhioRiver_608.1_609.2   Ohio River 608.1 to 609.2
   KY      KYOhioRiver_683.0_719.5   Ohio River 683.0 to 719.5
   KY      KYOhioRiver_847.3_853.4   Ohio River 847.3 to 853.4
   KY      KYOhioRiver_853.4_857.6   Ohio River 853.4 to 857.6
   KY      KYOhioRiver_910.3_920.5   Ohio River 910.3 to 920.5
   KY      KYOhioRiver_609.2_614.9   Ohio River 609.2 to 614.9
   KY      KYOhioRiver_857.6_862.1   Ohio River 857.6 to 862.1
   KY      KYOhioRiver_894.6_910.3   Ohio River 894.6 to 910.3
   KY      KYOhioRiver_820.1_826.4   Ohio River 820.1 to 826.4
   KY      KYOhioRiver_464.5_465.2   Ohio River 464.5 to 465.2
   KY      KYOhioRiver_789.3_792.1   Ohio River 789.3 to 792.1
   KY      KY505554_03               Tug Fork 71.9 to 77.7
   KY      KYOhioRiver_872.8_878.2   Ohio River 872.8 to 878.2
   KY      KYOhioRiver_878.2_882.9   Ohio River 878.2 to 882.9
   KY      KYOhioRiver_792.1_793.2   Ohio River 792.1 to 793.2
   KY      KYOhioRiver_793.2_795.7   Ohio River 793.2 to 795.7
   KY      KYOhioRiver_382.9_388.0   Ohio River 382.9 to 388.0
   KY      KYOhioRiver_593.1_595.5   Ohio River 593.1 to 595.5
   KY      KYOhioRiver_317.2_319.4   Ohio River 317.2 to 319.4
   KY      KYOhioRiver_846.3_849.7   Ohio River 846.3 to 849.7
   KY      KYOhioRiver_846.3_847.3   Ohio River 846.3 to 847.3
   KY      KYOhioRiver_756.4_760.6   Ohio River 756.4 to 760.6
   KY      KYOhioRiver_469.3_471.4   Ohio River 469.3 to 471.4
   MA      MA11-02                   NORTH BRANCH HOOSIC RIVER      HOOSIC
   MA      MA11-05                   HOOSIC RIVER                   HOOSIC
   MA      MA21-04                   HOUSATONIC RIVER               HOUSATONIC
   MA      MA21-19                   HOUSATONIC RIVER               HOUSATONIC
   MA      MA21-20                   HOUSATONIC RIVER               HOUSATONIC
   MA      MA21042                   GOODRICH POND                  HOUSATONIC
   MA      MA95-33                   ACUSHNET RIVER                 BUZZARDS BAY
   MA      MA84A-04                  MERRIMACK RIVER                MERRIMACK
   MA      MA84A-05                  MERRIMACK RIVER                MERRIMACK
   MA      MA84A-06                  MERRIMACK RIVER                MERRIMACK
   MA      MA84A-29                  LOWELL CANALS
   MA      MA70-01                   BOSTON HARBOR                  BOSTON HARBOR
   MA      MA82125                   LAKE COCHITUATE                CONCORD
   MA      MA35-04                   MILLERS RIVER                  MILLERS
   MA      MA35-12                   EAST BRANCH TULLY RIVER        MILLERS
   MA      MA35-13                   LAWRENCE BROOK                 MILLERS
   MA      MA72-06                   CHARLES RIVER                  CHARLES
   MA      MA72-07                   CHARLES RIVER                  CHARLES
                                                                    BOSTON HARBOR:
   MA      MA73-01                   NEPONSET RIVER                 NEPONSET
                                                                    BOSTON HARBOR:
   MA      MA73-02                   NEPONSET RIVER                 NEPONSET
                                                                    BOSTON HARBOR:
   MA      MA73-05                   EAST BRANCH                    NEPONSET
   MA      MA51-04                   BLACKSTONE RIVER               BLACKSTONE
   MA      MA51-05                   BLACKSTONE RIVER               BLACKSTONE
   MA      MA51-10                   MILL RIVER                     BLACKSTONE
   MA      MA21-01                   EAST BRANCH HOUSATONIC RIVER   HOUSATONIC
   MA      MA21-02                   EAST BRANCH HOUSATONIC RIVER   HOUSATONIC




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   State   Waterbody ID        Waterbody Name                 Region
   MA      MA21-18             WEST BRANCH HOUSATONIC RIVER   HOUSATONIC
   MA      MA95-43             COPICUT RIVER                  BUZZARDS BAY
   MA      MA95113             NOQUOCHOKE LAKE                BUZZARDS BAY
   MA      MA95171             NOQUOCHOKE LAKE                BUZZARDS BAY
   MA      MA84A-03            MERRIMACK RIVER                MERRIMACK
   MA      MA71-03             MYSTIC RIVER                   BOSTON HARBOR: MYSTIC
   MA      MA34-02             CONNECTICUT RIVER              CONNECTICUT
   MA      MA34-04             CONNECTICUT RIVER              CONNECTICUT
   MA      MA34-05             CONNECTICUT RIVER              CONNECTICUT
   MA      MA35-03             MILLERS RIVER                  MILLERS
   MA      MA35-05             MILLERS RIVER                  MILLERS
   MA      MA35-11             WEST BRANCH TULLY RIVER        MILLERS
   MA      MA72-38             CHARLES RIVER
                                                              BOSTON HARBOR:
   MA      MA73-04             NEPONSET RIVER                 NEPONSET
   MA      MA51-06             BLACKSTONE RIVER               BLACKSTONE
   MA      MA95-38             CLARKS COVE                    BUZZARDS BAY
   MA      MA95170             NOQUOCHOKE LAKE                BUZZARDS BAY
   MA      MA71-06             CHELSEA RIVER                  BOSTON HARBOR: MYSTIC
   MA      MA35-02             MILLERS RIVER                  MILLERS
   MA      MA35-08             OTTER RIVER                    MILLERS
   MA      MA35-15             MORMON HOLLOW BROOK            MILLERS
                                                              BOSTON HARBOR:
   MA      MA73-03             NEPONSET RIVER                 NEPONSET
   MA      MA95-39             APPONAGANSETT BAY              BUZZARDS BAY
   MA      MA95-63             OUTER NEW BEDFORD HARBOR       BUZZARDS BAY
   MA      MA70-04             QUINCY BAY                     BOSTON HARBOR
   MA      MA70-05             QUINCY BAY                     BOSTON HARBOR
   MA      MA71-02             MYSTIC RIVER                   BOSTON HARBOR: MYSTIC
   MA      MA34-01             CONNECTICUT RIVER              CONNECTICUT
   MA      MA35-09             BEAVER BROOK                   MILLERS
   MA      MA35-19             LYONS BROOK                    MILLERS
   MA      MA70-02             BOSTON INNER HARBOR            BOSTON HARBOR
   MA      MA70-11             PLEASURE BAY                   BOSTON HARBOR
   MA      MA82127             LAKE COCHITUATE                CONCORD
   MA      MA35-01             MILLERS RIVER                  MILLERS
   MA      MA35-16             KEYUP BROOK                    MILLERS
   MA      MA72-36             CHARLES RIVER
   MA      MA21071             MOREWOOD LAKE                  HOUSATONIC
   MA      MA95-42             NEW BEDFORD INNER HARBOR       BUZZARDS BAY
   MA      MA95031             CORNELL POND                   BUZZARDS BAY
   MA      MA82020             LAKE COCHITUATE                CONCORD
   MA      MA35-18             WHETSTONE BROOK                MILLERS
                                                              BOSTON HARBOR:
   MA      MA73-28             MOTHER BROOK                   NEPONSET
   MA      MA70-03             DORCHESTER BAY                 BOSTON HARBOR
   MA      MA82126             LAKE COCHITUATE                CONCORD
   MA      MA34-03             CONNECTICUT RIVER              CONNECTICUT
   MA      MA35-14             TULLY RIVER                    MILLERS
   MA      MA35-17             BOYCE BROOK                    MILLERS
                                                              BOSTON HARBOR:
   MA      MA73002             BIRD POND                      NEPONSET
   MA      MA95-62             BUZZARDS BAY                   BUZZARDS BAY
   MA      MA34122             BARTONS COVE                   CONNECTICUT
   MA      MA34124             LOG POND COVE                  CONNECTICUT




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   State   Waterbody ID          Waterbody Name                        Region
   MA      MA72-11               MUDDY RIVER                           CHARLES
   MD      MD-02130610-T         SASSAFRAS RIVER                       SASSAFRAS RIVER
   MD      MD-02130805-R         LOCH RAVEN RESERVOIR                  LOCH RAVEN RESERVOIR
   MD      MD-02130901-T         BACK RIVER                            PATAPSCO RIVER
   MD      MD-02130903-T_BC      BEAR CREEK                            BALTIMORE HARBOR
   MD      MD-02140205-R         ANACOSTIA RIVER                       ANACOSTIA RIVER
   MD      MD-02140101-T         POTOMAC RIVER LOWER TIDAL             POTOMAC RIVER
   MD      MD-02130701-T         BUSH RIVER                            BUSH RIVER
   MD      MD-02130903-T_CB      CURTIS BAY                            BALTIMORE HARBOR
   MD      MD-02130602-T         BOHEMIA RIVER                         BOHEMIA RIVER
   ME      ME0103000307_330R     W BRANCH OF SEBASTICOOK R
   ME      ME0103000308_331R     E BRANCH OF SEBASTICOOK R
   ME      ME0103000309_332R     SEBASTICOOK RIVER
   ME      ME0106000305_630R01   SALMON FALLS R
   ME      ME0106000105_610R07   RED BROOK (SCARBOROUGH, S PORTLAND)
   MI      MI040700010302-01     ST. MARYS RIVER                       LAKE MICHIGAN
   MI      MI040500010806-04     RIVERS/STREAMS IN HUC 040500010806    ST. JOSEPH
   MI      MI040500010807-01     RIVERS/STREAMS IN HUC 040500010807    ST. JOSEPH
   MI      MI040500010807-02     RIVERS/STREAMS IN HUC 040500010807    ST. JOSEPH
   MI      MI040500010807-03     RIVERS/STREAMS IN HUC 040500010807    ST. JOSEPH
   MI      MI040500010808-01     RIVERS/STREAMS IN HUC 040500010808    ST. JOSEPH
   MI      MI040500010809-01     RIVERS/STREAMS IN HUC 040500010809    ST. JOSEPH
   MI      MI040500010901-01     RIVERS/STREAMS IN HUC 040500010901    ST. JOSEPH
   MI      MI040500010902-01     RIVERS/STREAMS IN HUC 040500010902    ST. JOSEPH
   MI      MI040500010903-01     RIVERS/STREAMS IN HUC 040500010903    ST. JOSEPH
   MI      MI040500010904-03     RIVERS/STREAMS IN HUC 040500010904    ST. JOSEPH
   MI      MI040500011107-01     RIVERS/STREAMS IN HUC 040500011107    ST. JOSEPH
   MI      MI040500011301-01     RIVERS/STREAMS IN HUC 040500011301    ST. JOSEPH
   MI      MI040500011302-01     RIVERS/STREAMS IN HUC 040500011302    ST. JOSEPH
   MI      MI040500011303-01     RIVERS/STREAMS IN HUC 040500011303    ST. JOSEPH
   MI      MI040500011304-01     RIVERS/STREAMS IN HUC 040500011304    ST. JOSEPH
   MI      MI040500011304-02     RIVERS/STREAMS IN HUC 040500011304    ST. JOSEPH
   MI      MI040500011401-01     RIVERS/STREAMS IN HUC 040500011401    ST. JOSEPH
   MI      MI040500011402-01     RIVERS/STREAMS IN HUC 040500011402    ST. JOSEPH
   MI      MI040500011403-01     RIVERS/STREAMS IN HUC 040500011403    ST. JOSEPH
   MI      MI040500012001-01     RIVERS/STREAMS IN HUC 040500012001    ST. JOSEPH
   MI      MI040500012208-01     RIVERS/STREAMS IN HUC 040500012208    ST. JOSEPH
   MI      MI040500012209-01     RIVERS/STREAMS IN HUC 040500012209    ST. JOSEPH
   MI      MI040500012301-01     RIVERS/STREAMS IN HUC 040500012301    ST. JOSEPH
   MI      MI040500070211-03     RIVERS/STREAMS IN HUC 040500070211    THORNAPPLE
   MI      MI040500070301-01     RIVERS/STREAMS IN HUC 040500070301    THORNAPPLE
   MI      MI040500070302-01     RIVERS/STREAMS IN HUC 040500070302    THORNAPPLE
   MI      MI040500070303-01     RIVERS/STREAMS IN HUC 040500070303    THORNAPPLE
   MI      MI040500070304-02     RIVERS/STREAMS IN HUC 040500070304    THORNAPPLE
   MI      MI040500070307-01     RIVERS/STREAMS IN HUC 040500070307    THORNAPPLE
   MI      MI040500070307-02     RIVERS/STREAMS IN HUC 040500070307    THORNAPPLE
   MI      MI040500070307-03     RIVERS/STREAMS IN HUC 040500070307    THORNAPPLE
   MI      MI040500070401-01     RIVERS/STREAMS IN HUC 040500070401    THORNAPPLE
   MI      MI040500070402-01     RIVERS/STREAMS IN HUC 040500070402    THORNAPPLE
   MI      MI040500070402-04     RIVERS/STREAMS IN HUC 040500070402    THORNAPPLE
   MI      MI040500070403-01     RIVERS/STREAMS IN HUC 040500070403    THORNAPPLE
   MI      MI040500070404-01     RIVERS/STREAMS IN HUC 040500070404    THORNAPPLE
   MI      MI040500070405-01     RIVERS/STREAMS IN HUC 040500070405    THORNAPPLE
   MI      MI040500070405-03     RIVERS/STREAMS IN HUC 040500070405    THORNAPPLE
   MI      MI040500070405-04     RIVERS/STREAMS IN HUC 040500070405    THORNAPPLE




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040500012507-01   RIVERS/STREAMS IN HUC 040500012507   ST. JOSEPH
   MI      MI040500012508-01   RIVERS/STREAMS IN HUC 040500012508   ST. JOSEPH
   MI      MI040500012508-02   RIVERS/STREAMS IN HUC 040500012508   ST. JOSEPH
   MI      MI040500012509-03   RIVERS/STREAMS IN HUC 040500012509   ST. JOSEPH
   MI      MI040500012601-01   RIVERS/STREAMS IN HUC 040500012601   ST. JOSEPH
   MI      MI040500012601-02   RIVERS/STREAMS IN HUC 040500012601   ST. JOSEPH
   MI      MI040500012602-01   RIVERS/STREAMS IN HUC 040500012602   ST. JOSEPH
   MI      MI040500012603-01   RIVERS/STREAMS IN HUC 040500012603   ST. JOSEPH
   MI      MI040500012604-01   RIVERS/STREAMS IN HUC 040500012604   ST. JOSEPH
   MI      MI040500012604-03   RIVERS/STREAMS IN HUC 040500012604
   MI      MI040500012604-04   RIVERS/STREAMS IN HUC 040500012604
   MI      MI040500012605-01   RIVERS/STREAMS IN HUC 040500012605   ST. JOSEPH
   MI      MI040500012605-02   RIVERS/STREAMS IN HUC 040500012605   ST. JOSEPH
   MI      MI040500012606-02   RIVERS/STREAMS IN HUC 040500012606   ST. JOSEPH
   MI      MI040500012607-01   RIVERS/STREAMS IN HUC 040500012607   ST. JOSEPH
   MI      MI040500012608-01   RIVERS/STREAMS IN HUC 040500012608   ST. JOSEPH
   MI      MI040500012608-05   RIVERS/STREAMS IN HUC 040500012608   ST. JOSEPH
   MI      MI040500020302-01   RIVERS/STREAMS IN HUC 040500020302   BLACK - MACATAWA
   MI      MI040500020403-02   RIVERS/STREAMS IN HUC 040500020403   BLACK - MACATAWA
   MI      MI040500030101-01   RIVERS/STREAMS IN HUC 040500030101   KALAMAZOO
   MI      MI040500030102-01   RIVERS/STREAMS IN HUC 040500030102   KALAMAZOO
   MI      MI040500030103-01   RIVERS/STREAMS IN HUC 040500030103   KALAMAZOO
   MI      MI040500060511-01   RIVERS/STREAMS IN HUC 040500060511   LOWER GRAND
   MI      MI040500060511-02   RIVERS/STREAMS IN HUC 040500060511   LOWER GRAND
   MI      MI040500060511-04   RIVERS/STREAMS IN HUC 040500060511   LOWER GRAND
   MI      MI040500060512-01   RIVERS/STREAMS IN HUC 040500060512   LOWER GRAND
   MI      MI040500060601-03   RIVERS/STREAMS IN HUC 040500060601   LOWER GRAND
   MI      MI040500060601-04   RIVERS/STREAMS IN HUC 040500060601   LOWER GRAND
   MI      MI040500060602-05   RIVERS/STREAMS IN HUC 040500060602   LOWER GRAND
   MI      MI040500060602-06   RIVERS/STREAMS IN HUC 040500060602   LOWER GRAND
   MI      MI040500060603-02   RIVERS/STREAMS IN HUC 040500060603   LOWER GRAND
   MI      MI040500060604-01   RIVERS/STREAMS IN HUC 040500060604   LOWER GRAND
   MI      MI040500060604-02   RIVERS/STREAMS IN HUC 040500060604   LOWER GRAND
   MI      MI040500060605-01   RIVERS/STREAMS IN HUC 040500060605   LOWER GRAND
   MI      MI040500060701-01   RIVERS/STREAMS IN HUC 040500060701   LOWER GRAND
   MI      MI040500060702-01   RIVERS/STREAMS IN HUC 040500060702   LOWER GRAND
   MI      MI040500060704-01   RIVERS/STREAMS IN HUC 040500060704   LOWER GRAND
   MI      MI040500060705-01   RIVERS/STREAMS IN HUC 040500060705   LOWER GRAND
   MI      MI040500060706-01   RIVERS/STREAMS IN HUC 040500060706   LOWER GRAND
   MI      MI040500060707-01   RIVERS/STREAMS IN HUC 040500060707   LOWER GRAND
   MI      MI040500010405-01   RIVERS/STREAMS IN HUC 040500010405   ST. JOSEPH
   MI      MI040500010406-02   RIVERS/STREAMS IN HUC 040500010406   ST. JOSEPH
   MI      MI040500010501-01   RIVERS/STREAMS IN HUC 040500010501   ST. JOSEPH
   MI      MI040500010503-04   RIVERS/STREAMS IN HUC 040500010503   ST. JOSEPH
   MI      MI040500010504-01   RIVERS/STREAMS IN HUC 040500010504   ST. JOSEPH
   MI      MI040500010505-01   RIVERS/STREAMS IN HUC 040500010505   ST. JOSEPH
   MI      MI040500010505-03   RIVERS/STREAMS IN HUC 040500010505   ST. JOSEPH
   MI      MI040500010505-04   RIVERS/STREAMS IN HUC 040500010505   ST. JOSEPH
   MI      MI040500010601-01   RIVERS/STREAMS IN HUC 040500010601   ST. JOSEPH
   MI      MI040500010603-02   RIVERS/STREAMS IN HUC 040500010603   ST. JOSEPH
   MI      MI040500010604-01   RIVERS/STREAMS IN HUC 040500010604   ST. JOSEPH
   MI      MI040500010605-02   RIVERS/STREAMS IN HUC 040500010605   ST. JOSEPH
   MI      MI040500010605-05   RIVERS/STREAMS IN HUC 040500010605   ST. JOSEPH
   MI      MI040500010606-01   RIVERS/STREAMS IN HUC 040500010606   ST. JOSEPH
   MI      MI040500060708-01   RIVERS/STREAMS IN HUC 040500060708   LOWER GRAND




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040500060710-01   RIVERS/STREAMS IN HUC 040500060710   LOWER GRAND
   MI      MI040500060711-02   RIVERS/STREAMS IN HUC 040500060711   LOWER GRAND
   MI      MI040500060712-02   RIVERS/STREAMS IN HUC 040500060712   LOWER GRAND
   MI      MI040500070101-01   RIVERS/STREAMS IN HUC 040500070101   THORNAPPLE
   MI      MI040500070102-01   RIVERS/STREAMS IN HUC 040500070102   THORNAPPLE
   MI      MI040500070201-01   RIVERS/STREAMS IN HUC 040500070201   THORNAPPLE
   MI      MI040500070202-01   RIVERS/STREAMS IN HUC 040500070202   THORNAPPLE
   MI      MI040500070202-02   RIVERS/STREAMS IN HUC 040500070202   THORNAPPLE
   MI      MI040500070203-01   RIVERS/STREAMS IN HUC 040500070203   THORNAPPLE
   MI      MI040500070204-01   RIVERS/STREAMS IN HUC 040500070204   THORNAPPLE
   MI      MI040500070205-01   RIVERS/STREAMS IN HUC 040500070205   THORNAPPLE
   MI      MI040500070206-02   RIVERS/STREAMS IN HUC 040500070206   THORNAPPLE
   MI      MI040500070207-01   RIVERS/STREAMS IN HUC 040500070207   THORNAPPLE
   MI      MI040500070209-01   RIVERS/STREAMS IN HUC 040500070209   THORNAPPLE
   MI      MI040500070209-03   RIVERS/STREAMS IN HUC 040500070209   THORNAPPLE
   MI      MI040500070210-01   RIVERS/STREAMS IN HUC 040500070210   THORNAPPLE
   MI      MI040500070210-03   RIVERS/STREAMS IN HUC 040500070210   THORNAPPLE
   MI      MI040500012303-01   RIVERS/STREAMS IN HUC 040500012303   ST. JOSEPH
   MI      MI040500012304-01   RIVERS/STREAMS IN HUC 040500012304   ST. JOSEPH
   MI      MI040500012305-03   RIVERS/STREAMS IN HUC 040500012305   ST. JOSEPH
   MI      MI040500012306-01   RIVERS/STREAMS IN HUC 040500012306   ST. JOSEPH
   MI      MI040500012307-03   RIVERS/STREAMS IN HUC 040500012307   ST. JOSEPH
   MI      MI040500012308-01   RIVERS/STREAMS IN HUC 040500012308   ST. JOSEPH
   MI      MI040500012308-03   RIVERS/STREAMS IN HUC 040500012308   ST. JOSEPH
   MI      MI040500012402-01   RIVERS/STREAMS IN HUC 040500012402   ST. JOSEPH
   MI      MI040500012403-01   RIVERS/STREAMS IN HUC 040500012403   ST. JOSEPH
   MI      MI040500012404-01   RIVERS/STREAMS IN HUC 040500012404   ST. JOSEPH
   MI      MI040500012405-06   RIVERS/STREAMS IN HUC 040500012405   ST. JOSEPH
   MI      MI040500012406-01   RIVERS/STREAMS IN HUC 040500012406   ST. JOSEPH
   MI      MI040500012501-02   RIVERS/STREAMS IN HUC 040500012501   ST. JOSEPH
   MI      MI040500012502-01   RIVERS/STREAMS IN HUC 040500012502   ST. JOSEPH
   MI      MI040500012504-03   RIVERS/STREAMS IN HUC 040500012504   ST. JOSEPH
   MI      MI040500012506-01   RIVERS/STREAMS IN HUC 040500012506   ST. JOSEPH
   MI      MI040500030104-01   RIVERS/STREAMS IN HUC 040500030104   KALAMAZOO
   MI      MI040500030201-01   RIVERS/STREAMS IN HUC 040500030201   KALAMAZOO
   MI      MI040500030202-02   RIVERS/STREAMS IN HUC 040500030202   KALAMAZOO
   MI      MI040500030203-02   RIVERS/STREAMS IN HUC 040500030203   KALAMAZOO
   MI      MI040500030203-03   RIVERS/STREAMS IN HUC 040500030203   KALAMAZOO
   MI      MI040500030205-01   RIVERS/STREAMS IN HUC 040500030205   KALAMAZOO
   MI      MI040500030302-01   RIVERS/STREAMS IN HUC 040500030302   KALAMAZOO
   MI      MI040500030303-01   RIVERS/STREAMS IN HUC 040500030303   KALAMAZOO
   MI      MI040500030304-01   RIVERS/STREAMS IN HUC 040500030304   KALAMAZOO
   MI      MI040500030306-01   RIVERS/STREAMS IN HUC 040500030306   KALAMAZOO
   MI      MI040500030307-01   RIVERS/STREAMS IN HUC 040500030307   KALAMAZOO
   MI      MI040500030308-01   RIVERS/STREAMS IN HUC 040500030308   KALAMAZOO
   MI      MI040500030309-01   RIVERS/STREAMS IN HUC 040500030309   KALAMAZOO
   MI      MI040500030310-01   RIVERS/STREAMS IN HUC 040500030310   KALAMAZOO
   MI      MI040500030401-01   RIVERS/STREAMS IN HUC 040500030401   KALAMAZOO
   MI      MI040500030402-01   RIVERS/STREAMS IN HUC 040500030402   KALAMAZOO
   MI      MI040500030403-01   RIVERS/STREAMS IN HUC 040500030403   KALAMAZOO
   MI      MI040500040604-01   RIVERS/STREAMS IN HUC 040500040604   UPPER GRAND
   MI      MI040500040604-02   RIVERS/STREAMS IN HUC 040500040604   UPPER GRAND
   MI      MI040500040605-01   RIVERS/STREAMS IN HUC 040500040605   UPPER GRAND
   MI      MI040500040605-03   RIVERS/STREAMS IN HUC 040500040605   UPPER GRAND
   MI      MI040500040606-01   RIVERS/STREAMS IN HUC 040500040606   UPPER GRAND




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040500040607-01   RIVERS/STREAMS IN HUC 040500040607   UPPER GRAND
   MI      MI040500040608-01   RIVERS/STREAMS IN HUC 040500040608   UPPER GRAND
   MI      MI040500040610-01   RIVERS/STREAMS IN HUC 040500040610   UPPER GRAND
   MI      MI040500040611-01   RIVERS/STREAMS IN HUC 040500040611   UPPER GRAND
   MI      MI040500040701-01   RIVERS/STREAMS IN HUC 040500040701   UPPER GRAND
   MI      MI040500040702-01   RIVERS/STREAMS IN HUC 040500040702   UPPER GRAND
   MI      MI040500040407-01   RIVERS/STREAMS IN HUC 040500040407   UPPER GRAND
   MI      MI040500040407-03   WOLF CREEK                           UPPER GRAND
   MI      MI040500040408-01   RIVERS/STREAMS IN HUC 040500040408   UPPER GRAND
   MI      MI040500040410-01   RIVERS/STREAMS IN HUC 040500040410   UPPER GRAND
   MI      MI040500040411-01   RIVERS/STREAMS IN HUC 040500040411   UPPER GRAND
   MI      MI040500040411-02   RIVERS/STREAMS IN HUC 040500040411   UPPER GRAND
   MI      MI040500040501-01   RIVERS/STREAMS IN HUC 040500040501   UPPER GRAND
   MI      MI040500040502-01   RIVERS/STREAMS IN HUC 040500040502   UPPER GRAND
   MI      MI040500040502-02   RIVERS/STREAMS IN HUC 040500040502   UPPER GRAND
   MI      MI040500040503-02   RIVERS/STREAMS IN HUC 040500040503   UPPER GRAND
   MI      MI040500040504-01   RIVERS/STREAMS IN HUC 040500040504   UPPER GRAND
   MI      MI040500040506-01   RIVERS/STREAMS IN HUC 040500040506   UPPER GRAND
   MI      MI040500040507-01   RIVERS/STREAMS IN HUC 040500040507   UPPER GRAND
   MI      MI040500040508-03   RIVERS/STREAMS IN HUC 040500040508   UPPER GRAND
   MI      MI040500040601-01   RIVERS/STREAMS IN HUC 040500040601   UPPER GRAND
   MI      MI040500040602-01   RIVERS/STREAMS IN HUC 040500040602   UPPER GRAND
   MI      MI040500010701-01   RIVERS/STREAMS IN HUC 040500010701   ST. JOSEPH
   MI      MI040500010702-01   RIVERS/STREAMS IN HUC 040500010702   ST. JOSEPH
   MI      MI040500010703-01   RIVERS/STREAMS IN HUC 040500010703   ST. JOSEPH
   MI      MI040500010703-02   RIVERS/STREAMS IN HUC 040500010703   ST. JOSEPH
   MI      MI040500010704-01   RIVERS/STREAMS IN HUC 040500010704   ST. JOSEPH
   MI      MI040500010704-03   RIVERS/STREAMS IN HUC 040500010704   ST. JOSEPH
   MI      MI040500010705-01   RIVERS/STREAMS IN HUC 040500010705   ST. JOSEPH
   MI      MI040500010705-02   RIVERS/STREAMS IN HUC 040500010705   ST. JOSEPH
   MI      MI040500010706-04   RIVERS/STREAMS IN HUC 040500010706   ST. JOSEPH
   MI      MI040500010707-01   RIVERS/STREAMS IN HUC 040500010707   ST. JOSEPH
   MI      MI040500010801-01   RIVERS/STREAMS IN HUC 040500010801   ST. JOSEPH
   MI      MI040500010805-02   RIVERS/STREAMS IN HUC 040500010805   ST. JOSEPH
   MI      MI040500050306-02   RIVERS/STREAMS IN HUC 040500050306   MAPLE
   MI      MI040500050402-01   RIVERS/STREAMS IN HUC 040500050402   MAPLE
   MI      MI040500050403-01   RIVERS/STREAMS IN HUC 040500050403   MAPLE
   MI      MI040500050404-01   RIVERS/STREAMS IN HUC 040500050404   MAPLE
   MI      MI040500050405-01   RIVERS/STREAMS IN HUC 040500050405   MAPLE
   MI      MI040500050406-01   RIVERS/STREAMS IN HUC 040500050406   MAPLE
   MI      MI040500050406-02   RIVERS/STREAMS IN HUC 040500050406   MAPLE
   MI      MI040500050502-01   RIVERS/STREAMS IN HUC 040500050502   MAPLE
   MI      MI040500050502-02   RIVERS/STREAMS IN HUC 040500050502   MAPLE
   MI      MI040500050503-01   RIVERS/STREAMS IN HUC 040500050503   MAPLE
   MI      MI040500050503-02   RIVERS/STREAMS IN HUC 040500050503   MAPLE
   MI      MI040500050504-01   RIVERS/STREAMS IN HUC 040500050504   MAPLE
   MI      MI040500050505-01   RIVERS/STREAMS IN HUC 040500050505   MAPLE
   MI      MI040500060101-01   RIVERS/STREAMS IN HUC 040500060101   LOWER GRAND
   MI      MI040500060102-01   RIVERS/STREAMS IN HUC 040500060102   LOWER GRAND
   MI      MI040500060103-01   RIVERS/STREAMS IN HUC 040500060103   LOWER GRAND
   MI      MI040500060103-02   RIVERS/STREAMS IN HUC 040500060103   LOWER GRAND
   MI      MI040500060401-04   RIVERS/STREAMS IN HUC 040500060401   LOWER GRAND
   MI      MI040500060402-02   RIVERS/STREAMS IN HUC 040500060402   LOWER GRAND
   MI      MI040500060402-03   RIVERS/STREAMS IN HUC 040500060402   LOWER GRAND
   MI      MI040500060402-04   RIVERS/STREAMS IN HUC 040500060402   LOWER GRAND




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040500060403-03   RIVERS/STREAMS IN HUC 040500060403   LOWER GRAND
   MI      MI040500060404-01   RIVERS/STREAMS IN HUC 040500060404   LOWER GRAND
   MI      MI040500060405-02   RIVERS/STREAMS IN HUC 040500060405   LOWER GRAND
   MI      MI040500060405-05   RIVERS/STREAMS IN HUC 040500060405   LOWER GRAND
   MI      MI040500060406-06   RIVERS/STREAMS IN HUC 040500060406   LOWER GRAND
   MI      MI040500060406-07   RIVERS/STREAMS IN HUC 040500060406   LOWER GRAND
   MI      MI040500060406-08   RIVERS/STREAMS IN HUC 040500060406   LOWER GRAND
   MI      MI040500060501-01   RIVERS/STREAMS IN HUC 040500060501   LOWER GRAND
   MI      MI040500060501-02   RIVERS/STREAMS IN HUC 040500060501   LOWER GRAND
   MI      MI040500060502-01   RIVERS/STREAMS IN HUC 040500060502   LOWER GRAND
   MI      MI040500060502-03   RIVERS/STREAMS IN HUC 040500060502   LOWER GRAND
   MI      MI040500060502-05   RIVERS/STREAMS IN HUC 040500060502   LOWER GRAND
   MI      MI040500060503-02   RIVERS/STREAMS IN HUC 040500060503   LOWER GRAND
   MI      MI040500060504-01   RIVERS/STREAMS IN HUC 040500060504   LOWER GRAND
   MI      MI040500060505-01   RIVERS/STREAMS IN HUC 040500060505   LOWER GRAND
   MI      MI040500060505-02   RIVERS/STREAMS IN HUC 040500060505   LOWER GRAND
   MI      MI040500060507-01   RIVERS/STREAMS IN HUC 040500060507   LOWER GRAND
   MI      MI040500060509-02   RIVERS/STREAMS IN HUC 040500060509   LOWER GRAND
   MI      MI040500060510-01   RIVERS/STREAMS IN HUC 040500060510   LOWER GRAND
   MI      MI040500060510-02   RIVERS/STREAMS IN HUC 040500060510   LOWER GRAND
   MI      MI040500010401-01   RIVERS/STREAMS IN HUC 040500010401   ST. JOSEPH
   MI      MI040500010402-01   RIVERS/STREAMS IN HUC 040500010402   ST. JOSEPH
   MI      MI040500010403-01   RIVERS/STREAMS IN HUC 040500010403   ST. JOSEPH
   MI      MI040500010404-01   RIVERS/STREAMS IN HUC 040500010404   ST. JOSEPH
   MI      MI040500010404-06   RIVERS/STREAMS IN HUC 040500010404   ST. JOSEPH
   MI      MI040500050201-01   RIVERS/STREAMS IN HUC 040500050201   MAPLE
   MI      MI040500050202-01   RIVERS/STREAMS IN HUC 040500050202   MAPLE
   MI      MI040500050202-02   RIVERS/STREAMS IN HUC 040500050202   MAPLE
   MI      MI040500050202-03   RIVERS/STREAMS IN HUC 040500050202   MAPLE
   MI      MI040500050203-01   RIVERS/STREAMS IN HUC 040500050203   MAPLE
   MI      MI040500050204-01   RIVERS/STREAMS IN HUC 040500050204   MAPLE
   MI      MI040500050204-02   RIVERS/STREAMS IN HUC 040500050204   MAPLE
   MI      MI040500050204-03   RIVERS/STREAMS IN HUC 040500050204   MAPLE
   MI      MI040500050205-01   RIVERS/STREAMS IN HUC 040500050205   MAPLE
   MI      MI040500050205-02   RIVERS/STREAMS IN HUC 040500050205   MAPLE
   MI      MI040500050205-03   RIVERS/STREAMS IN HUC 040500050205   MAPLE
   MI      MI040500050205-04   RIVERS/STREAMS IN HUC 040500050205   MAPLE
   MI      MI040500050206-01   RIVERS/STREAMS IN HUC 040500050206   MAPLE
   MI      MI040500050207-01   RIVERS/STREAMS IN HUC 040500050207   MAPLE
   MI      MI040500050207-03   RIVERS/STREAMS IN HUC 040500050207   MAPLE
   MI      MI040500050208-01   RIVERS/STREAMS IN HUC 040500050208   MAPLE
   MI      MI040500050208-02   RIVERS/STREAMS IN HUC 040500050208   MAPLE
   MI      MI040500050301-01   RIVERS/STREAMS IN HUC 040500050301   MAPLE
   MI      MI040500050301-04   RIVERS/STREAMS IN HUC 040500050301   MAPLE
   MI      MI040500050302-01   RIVERS/STREAMS IN HUC 040500050302   MAPLE
   MI      MI040500050303-01   RIVERS/STREAMS IN HUC 040500050303   MAPLE
   MI      MI040500050304-01   RIVERS/STREAMS IN HUC 040500050304   MAPLE
   MI      MI040500050305-03   RIVERS/STREAMS IN HUC 040500050305   MAPLE
   MI      MI040500050306-01   RIVERS/STREAMS IN HUC 040500050306   MAPLE
   MI      MI040500070406-01   RIVERS/STREAMS IN HUC 040500070406   THORNAPPLE
   MI      MI040500070406-02   RIVERS/STREAMS IN HUC 040500070406   THORNAPPLE
   MI      MI040500070407-02   RIVERS/STREAMS IN HUC 040500070407   THORNAPPLE
   MI      MI040500070407-03   RIVERS/STREAMS IN HUC 040500070407   THORNAPPLE
   MI      MI040601010301-01   RIVERS/STREAMS IN HUC 040601010301
   MI      MI040601010302-01   RIVERS/STREAMS IN HUC 040601010302




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040601010303-01   RIVERS/STREAMS IN HUC 040601010303
   MI      MI040601010401-03   RIVERS/STREAMS IN HUC 040601010401
   MI      MI040601010403-01   RIVERS/STREAMS IN HUC 040601010403
   MI      MI040601010404-01   RIVERS/STREAMS IN HUC 040601010404
   MI      MI040301100102-01   RIVERS/STREAMS IN HUC 040301100102   ESCANABA
   MI      MI040301100103-01   RIVERS/STREAMS IN HUC 040301100103   ESCANABA
   MI      MI040301100104-01   RIVERS/STREAMS IN HUC 040301100104   ESCANABA
   MI      MI040301100105-01   RIVERS/STREAMS IN HUC 040301100105   ESCANABA
   MI      MI040301100106-01   RIVERS/STREAMS IN HUC 040301100106   ESCANABA
   MI      MI040301100107-01   RIVERS/STREAMS IN HUC 040301100107   ESCANABA
   MI      MI040301100109-01   RIVERS/STREAMS IN HUC 040301100109   ESCANABA
   MI      MI040301100110-01   RIVERS/STREAMS IN HUC 040301100110   ESCANABA
   MI      MI040301100111-01   RIVERS/STREAMS IN HUC 040301100111   ESCANABA
   MI      MI040301100201-01   RIVERS/STREAMS IN HUC 040301100201   ESCANABA
   MI      MI040301100203-01   RIVERS/STREAMS IN HUC 040301100203   ESCANABA
   MI      MI040301100204-01   RIVERS/STREAMS IN HUC 040301100204   ESCANABA
   MI      MI040301100206-01   RIVERS/STREAMS IN HUC 040301100206   ESCANABA
   MI      MI040301100301-01   RIVERS/STREAMS IN HUC 040301100301   ESCANABA
   MI      MI040301100302-01   RIVERS/STREAMS IN HUC 040301100302   ESCANABA
   MI      MI040301100304-01   RIVERS/STREAMS IN HUC 040301100304   ESCANABA
   MI      MI040500060104-01   RIVERS/STREAMS IN HUC 040500060104   LOWER GRAND
   MI      MI040500060104-02   RIVERS/STREAMS IN HUC 040500060104   LOWER GRAND
   MI      MI040500060106-01   RIVERS/STREAMS IN HUC 040500060106   LOWER GRAND
   MI      MI040500060107-01   RIVERS/STREAMS IN HUC 040500060107   LOWER GRAND
   MI      MI040500060108-01   RIVERS/STREAMS IN HUC 040500060108   LOWER GRAND
   MI      MI040500060108-03   RIVERS/STREAMS IN HUC 040500060108   LOWER GRAND
   MI      MI040500060109-01   RIVERS/STREAMS IN HUC 040500060109   LOWER GRAND
   MI      MI040500060201-01   RIVERS/STREAMS IN HUC 040500060201   LOWER GRAND
   MI      MI040500060201-03   RIVERS/STREAMS IN HUC 040500060201   LOWER GRAND
   MI      MI040500060202-01   RIVERS/STREAMS IN HUC 040500060202   LOWER GRAND
   MI      MI040500060202-04   RIVERS/STREAMS IN HUC 040500060202   LOWER GRAND
   MI      MI040500060203-02   RIVERS/STREAMS IN HUC 040500060203   LOWER GRAND
   MI      MI040500060206-01   RIVERS/STREAMS IN HUC 040500060206   LOWER GRAND
   MI      MI040500030404-01   RIVERS/STREAMS IN HUC 040500030404   KALAMAZOO
   MI      MI040500030405-01   RIVERS/STREAMS IN HUC 040500030405   KALAMAZOO
   MI      MI040500030405-02   RIVERS/STREAMS IN HUC 040500030405   KALAMAZOO
   MI      MI040500030406-02   RIVERS/STREAMS IN HUC 040500030406   KALAMAZOO
   MI      MI040500030408-01   RIVERS/STREAMS IN HUC 040500030408   KALAMAZOO
   MI      MI040500030408-04   RIVERS/STREAMS IN HUC 040500030408   KALAMAZOO
   MI      MI040500030409-01   RIVERS/STREAMS IN HUC 040500030409   KALAMAZOO
   MI      MI040500030410-01   RIVERS/STREAMS IN HUC 040500030410   KALAMAZOO
   MI      MI040500030411-02   RIVERS/STREAMS IN HUC 040500030411   KALAMAZOO
   MI      MI040500030501-01   RIVERS/STREAMS IN HUC 040500030501   KALAMAZOO
   MI      MI040500030501-02   RIVERS/STREAMS IN HUC 040500030501   KALAMAZOO
   MI      MI040500030502-01   RIVERS/STREAMS IN HUC 040500030502   KALAMAZOO
   MI      MI040500030503-01   RIVERS/STREAMS IN HUC 040500030503   KALAMAZOO
   MI      MI040500030503-02   RIVERS/STREAMS IN HUC 040500030503   KALAMAZOO
   MI      MI040500030505-01   RIVERS/STREAMS IN HUC 040500030505   KALAMAZOO
   MI      MI040500030506-01   RIVERS/STREAMS IN HUC 040500030506   KALAMAZOO
   MI      MI040500030507-01   RIVERS/STREAMS IN HUC 040500030507   KALAMAZOO
   MI      MI040500030508-01   RIVERS/STREAMS IN HUC 040500030508   KALAMAZOO
   MI      MI040500030509-01   RIVERS/STREAMS IN HUC 040500030509   KALAMAZOO
   MI      MI040500010109-01   RIVERS/STREAMS IN HUC 040500010109   ST. JOSEPH
   MI      MI040500010110-01   RIVERS/STREAMS IN HUC 040500010110   ST. JOSEPH
   MI      MI040500010111-01   RIVERS/STREAMS IN HUC 040500010111   ST. JOSEPH




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040500010201-01   RIVERS/STREAMS IN HUC 040500010201   ST. JOSEPH
   MI      MI040500010202-01   RIVERS/STREAMS IN HUC 040500010202   ST. JOSEPH
   MI      MI040500010203-01   RIVERS/STREAMS IN HUC 040500010203   ST. JOSEPH
   MI      MI040500010203-05   RIVERS/STREAMS IN HUC 040500010203   ST. JOSEPH
   MI      MI040500010204-01   RIVERS/STREAMS IN HUC 040500010204   ST. JOSEPH
   MI      MI040500010204-02   RIVERS/STREAMS IN HUC 040500010204   ST. JOSEPH
   MI      MI040500010207-01   RIVERS/STREAMS IN HUC 040500010207   ST. JOSEPH
   MI      MI040500010209-01   RIVERS/STREAMS IN HUC 040500010209   ST. JOSEPH
   MI      MI040500010301-01   RIVERS/STREAMS IN HUC 040500010301   ST. JOSEPH
   MI      MI040500010302-01   RIVERS/STREAMS IN HUC 040500010302   ST. JOSEPH
   MI      MI040500010303-01   RIVERS/STREAMS IN HUC 040500010303   ST. JOSEPH
   MI      MI040500010304-02   RIVERS/STREAMS IN HUC 040500010304   ST. JOSEPH
   MI      MI040500010306-02   RIVERS/STREAMS IN HUC 040500010306   ST. JOSEPH
   MI      MI040500010306-03   RIVERS/STREAMS IN HUC 040500010306   ST. JOSEPH
   MI      MI040500040703-01   RIVERS/STREAMS IN HUC 040500040703   UPPER GRAND
   MI      MI040500040704-01   RIVERS/STREAMS IN HUC 040500040704   UPPER GRAND
   MI      MI040500040704-02   RIVERS/STREAMS IN HUC 040500040704   UPPER GRAND
   MI      MI040500040704-03   RIVERS/STREAMS IN HUC 040500040704   UPPER GRAND
   MI      MI040500040705-03   RIVERS/STREAMS IN HUC 040500040705   UPPER GRAND
   MI      MI040500040706-01   RIVERS/STREAMS IN HUC 040500040706   UPPER GRAND
   MI      MI040500040708-01   RIVERS/STREAMS IN HUC 040500040708   UPPER GRAND
   MI      MI040500050101-01   RIVERS/STREAMS IN HUC 040500050101   MAPLE
   MI      MI040500050102-01   RIVERS/STREAMS IN HUC 040500050102   MAPLE
   MI      MI040500050103-01   RIVERS/STREAMS IN HUC 040500050103   MAPLE
   MI      MI040500050104-01   RIVERS/STREAMS IN HUC 040500050104   MAPLE
   MI      MI040500050104-02   RIVERS/STREAMS IN HUC 040500050104   MAPLE
   MI      MI040500050105-02   RIVERS/STREAMS IN HUC 040500050105   MAPLE
   MI      MI040201020101-01   RIVERS/STREAMS IN HUC 040201020101   ONTONAGON
   MI      MI040301080309-01   RIVERS/STREAMS IN HUC 040301080309   MENOMINEE
   MI      MI040301080401-01   RIVERS/STREAMS IN HUC 040301080401   MENOMINEE
   MI      MI040301080402-01   RIVERS/STREAMS IN HUC 040301080402   MENOMINEE
   MI      MI040301080403-01   RIVERS/STREAMS IN HUC 040301080403   MENOMINEE
   MI      MI040301080403-02   RIVERS/STREAMS IN HUC 040301080403   MENOMINEE
   MI      MI040301080405-01   RIVERS/STREAMS IN HUC 040301080405   MENOMINEE
   MI      MI040301080406-01   RIVERS/STREAMS IN HUC 040301080406   MENOMINEE
   MI      MI040301080406-02   RIVERS/STREAMS IN HUC 040301080406   MENOMINEE
   MI      MI040301080407-02   RIVERS/STREAMS IN HUC 040301080407   MENOMINEE
   MI      MI040301080407-04   RIVERS/STREAMS IN HUC 040301080407   MENOMINEE
   MI      MI040301080408-01   RIVERS/STREAMS IN HUC 040301080408   MENOMINEE
   MI      MI040301080701-01   RIVERS/STREAMS IN HUC 040301080701   MENOMINEE
   MI      MI040301080702-01   RIVERS/STREAMS IN HUC 040301080702   MENOMINEE
   MI      MI040301080706-01   RIVERS/STREAMS IN HUC 040301080706   MENOMINEE
   MI      MI040301080707-01   RIVERS/STREAMS IN HUC 040301080707   MENOMINEE
   MI      MI040301080708-01   RIVERS/STREAMS IN HUC 040301080708   MENOMINEE
   MI      MI040301080710-02   RIVERS/STREAMS IN HUC 040301080710   MENOMINEE
   MI      MI040301080801-02   RIVERS/STREAMS IN HUC 040301080801   MENOMINEE
   MI      MI040500060207-01   RIVERS/STREAMS IN HUC 040500060207   LOWER GRAND
   MI      MI040500060207-04   RIVERS/STREAMS IN HUC 040500060207   LOWER GRAND
   MI      MI040500060208-01   RIVERS/STREAMS IN HUC 040500060208   LOWER GRAND
   MI      MI040500060209-01   RIVERS/STREAMS IN HUC 040500060209   LOWER GRAND
   MI      MI040500060209-02   RIVERS/STREAMS IN HUC 040500060209   LOWER GRAND
   MI      MI040500060301-01   RIVERS/STREAMS IN HUC 040500060301   LOWER GRAND
   MI      MI040500060302-03   RIVERS/STREAMS IN HUC 040500060302   LOWER GRAND
   MI      MI040500060303-01   RIVERS/STREAMS IN HUC 040500060303   LOWER GRAND
   MI      MI040500060305-01   RIVERS/STREAMS IN HUC 040500060305   LOWER GRAND




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040500060306-01   RIVERS/STREAMS IN HUC 040500060306   LOWER GRAND
   MI      MI040500060307-01   RIVERS/STREAMS IN HUC 040500060307   LOWER GRAND
   MI      MI040500060308-01   RIVERS/STREAMS IN HUC 040500060308   LOWER GRAND
   MI      MI040500060308-03   RIVERS/STREAMS IN HUC 040500060308   LOWER GRAND
   MI      MI040500060309-01   RIVERS/STREAMS IN HUC 040500060309   LOWER GRAND
   MI      MI040500060310-03   RIVERS/STREAMS IN HUC 040500060310   LOWER GRAND
   MI      MI040500060311-02   RIVERS/STREAMS IN HUC 040500060311   LOWER GRAND
   MI      MI040500060312-01   RIVERS/STREAMS IN HUC 040500060312   LOWER GRAND
   MI      MI040500060313-02   RIVERS/STREAMS IN HUC 040500060313   LOWER GRAND
   MI      MI040500060401-01   RIVERS/STREAMS IN HUC 040500060401   LOWER GRAND
   MI      MI040500060401-02   RIVERS/STREAMS IN HUC 040500060401   LOWER GRAND
   MI      MI040201020308-04   RIVERS/STREAMS IN HUC 040201020308   ONTONAGON
   MI      MI040201020309-01   RIVERS/STREAMS IN HUC 040201020309   ONTONAGON
   MI      MI040201020401-02   RIVERS/STREAMS IN HUC 040201020401   ONTONAGON
   MI      MI040201020401-03   RIVERS/STREAMS IN HUC 040201020401   ONTONAGON
   MI      MI040201020401-04   RIVERS/STREAMS IN HUC 040201020401   ONTONAGON
   MI      MI040201020403-01   RIVERS/STREAMS IN HUC 040201020403   ONTONAGON
   MI      MI040201020403-03   RIVERS/STREAMS IN HUC 040201020403   ONTONAGON
   MI      MI040201020404-01   RIVERS/STREAMS IN HUC 040201020404   ONTONAGON
   MI      MI040201020405-01   RIVERS/STREAMS IN HUC 040201020405   ONTONAGON
   MI      MI040201020406-01   RIVERS/STREAMS IN HUC 040201020406   ONTONAGON
   MI      MI040201020407-01   RIVERS/STREAMS IN HUC 040201020407   ONTONAGON
   MI      MI040201020408-01   RIVERS/STREAMS IN HUC 040201020408   ONTONAGON
   MI      MI040201020409-01   RIVERS/STREAMS IN HUC 040201020409   ONTONAGON
   MI      MI040202020101-01   RIVERS/STREAMS IN HUC 040202020101   TAHQUAMENON
   MI      MI040202020101-02   RIVERS/STREAMS IN HUC 040202020101   TAHQUAMENON
   MI      MI040301100305-01   RIVERS/STREAMS IN HUC 040301100305   ESCANABA
   MI      MI040301100306-01   RIVERS/STREAMS IN HUC 040301100306   ESCANABA
   MI      MI040301120201-01   RIVERS/STREAMS IN HUC 040301120201   FISHDAM - STURGEON
   MI      MI040301120202-01   RIVERS/STREAMS IN HUC 040301120202   FISHDAM - STURGEON
   MI      MI040301120203-01   RIVERS/STREAMS IN HUC 040301120203   FISHDAM - STURGEON
   MI      MI040301120205-01   RIVERS/STREAMS IN HUC 040301120205   FISHDAM - STURGEON
   MI      MI040301120207-01   RIVERS/STREAMS IN HUC 040301120207   FISHDAM - STURGEON
   MI      MI040400010208-01   RIVERS/STREAMS IN HUC 040400010208   LITTLE CALUMET - GALIEN
   MI      MI040500010101-01   RIVERS/STREAMS IN HUC 040500010101   ST. JOSEPH
   MI      MI040500010102-01   RIVERS/STREAMS IN HUC 040500010102   ST. JOSEPH
   MI      MI040500010104-01   RIVERS/STREAMS IN HUC 040500010104   ST. JOSEPH
   MI      MI040500010105-01   RIVERS/STREAMS IN HUC 040500010105   ST. JOSEPH
   MI      MI040500010105-04   RIVERS/STREAMS IN HUC 040500010105   ST. JOSEPH
   MI      MI040500010106-01   RIVERS/STREAMS IN HUC 040500010106   ST. JOSEPH
   MI      MI040500010107-01   RIVERS/STREAMS IN HUC 040500010107   ST. JOSEPH
   MI      MI040601020505-02   RIVERS/STREAMS IN HUC 040601020505   MUSKEGON
   MI      MI040601020506-01   RIVERS/STREAMS IN HUC 040601020506   MUSKEGON
   MI      MI040601020506-02   RIVERS/STREAMS IN HUC 040601020506   MUSKEGON
   MI      MI040601020507-02   RIVERS/STREAMS IN HUC 040601020507   MUSKEGON
   MI      MI040601020601-02   RIVERS/STREAMS IN HUC 040601020601   MUSKEGON
   MI      MI040601020603-02   RIVERS/STREAMS IN HUC 040601020603   MUSKEGON
   MI      MI040601020604-01   RIVERS/STREAMS IN HUC 040601020604   MUSKEGON
   MI      MI040601020606-01   RIVERS/STREAMS IN HUC 040601020606   MUSKEGON
   MI      MI040201020202-01   RIVERS/STREAMS IN HUC 040201020202   ONTONAGON
   MI      MI040201020203-01   RIVERS/STREAMS IN HUC 040201020203   ONTONAGON
   MI      MI040201020204-01   RIVERS/STREAMS IN HUC 040201020204   ONTONAGON
   MI      MI040201020205-01   RIVERS/STREAMS IN HUC 040201020205   ONTONAGON
   MI      MI040201020206-01   RIVERS/STREAMS IN HUC 040201020206   ONTONAGON
   MI      MI040201020207-01   RIVERS/STREAMS IN HUC 040201020207   ONTONAGON




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040201020208-01   RIVERS/STREAMS IN HUC 040201020208   ONTONAGON
   MI      MI040201020209-01   RIVERS/STREAMS IN HUC 040201020209   ONTONAGON
   MI      MI040201020210-01   RIVERS/STREAMS IN HUC 040201020210   ONTONAGON
   MI      MI040201020211-01   RIVERS/STREAMS IN HUC 040201020211   ONTONAGON
   MI      MI040301080802-01   RIVERS/STREAMS IN HUC 040301080802   MENOMINEE
   MI      MI040301080804-01   RIVERS/STREAMS IN HUC 040301080804   MENOMINEE
   MI      MI040301080805-01   RIVERS/STREAMS IN HUC 040301080805   MENOMINEE
   MI      MI040301080901-01   RIVERS/STREAMS IN HUC 040301080901   MENOMINEE
   MI      MI040301080902-01   RIVERS/STREAMS IN HUC 040301080902   MENOMINEE
   MI      MI040301080906-01   RIVERS/STREAMS IN HUC 040301080906   MENOMINEE
   MI      MI040301080907-01   RIVERS/STREAMS IN HUC 040301080907   MENOMINEE
   MI      MI040301080908-01   RIVERS/STREAMS IN HUC 040301080908   MENOMINEE
   MI      MI040301080909-01   RIVERS/STREAMS IN HUC 040301080909   MENOMINEE
   MI      MI040301080911-01   RIVERS/STREAMS IN HUC 040301080911   MENOMINEE
   MI      MI040301080912-01   RIVERS/STREAMS IN HUC 040301080912   MENOMINEE
   MI      MI040301080913-01   RIVERS/STREAMS IN HUC 040301080913   MENOMINEE
   MI      MI040301100101-01   RIVERS/STREAMS IN HUC 040301100101   ESCANABA
   MI      MI040601020706-01   RIVERS/STREAMS IN HUC 040601020706   MUSKEGON
   MI      MI040601020801-04   RIVERS/STREAMS IN HUC 040601020801   MUSKEGON
   MI      MI040601020802-01   RIVERS/STREAMS IN HUC 040601020802   MUSKEGON
   MI      MI040601020803-01   RIVERS/STREAMS IN HUC 040601020803   MUSKEGON
   MI      MI040601020803-03   RIVERS/STREAMS IN HUC 040601020803   MUSKEGON
   MI      MI040601020803-05   RIVERS/STREAMS IN HUC 040601020803   MUSKEGON
   MI      MI040601020804-01   RIVERS/STREAMS IN HUC 040601020804   MUSKEGON
   MI      MI040601020805-01   RIVERS/STREAMS IN HUC 040601020805   MUSKEGON
   MI      MI040601020806-04   RIVERS/STREAMS IN HUC 040601020806   MUSKEGON
   MI      MI040601020807-01   RIVERS/STREAMS IN HUC 040601020807   MUSKEGON
   MI      MI040601020808-02   RIVERS/STREAMS IN HUC 040601020808   MUSKEGON
   MI      MI040601020809-01   RIVERS/STREAMS IN HUC 040601020809   MUSKEGON
   MI      MI040601020810-01   RIVERS/STREAMS IN HUC 040601020810   MUSKEGON
   MI      MI040202020101-03   RIVERS/STREAMS IN HUC 040202020101   TAHQUAMENON
   MI      MI040202020102-01   RIVERS/STREAMS IN HUC 040202020102   TAHQUAMENON
   MI      MI040202020103-01   RIVERS/STREAMS IN HUC 040202020103   TAHQUAMENON
   MI      MI040202020104-01   RIVERS/STREAMS IN HUC 040202020104   TAHQUAMENON
   MI      MI040202020105-01   RIVERS/STREAMS IN HUC 040202020105   TAHQUAMENON
   MI      MI040202020105-02   RIVERS/STREAMS IN HUC 040202020105   TAHQUAMENON
   MI      MI040202020106-02   RIVERS/STREAMS IN HUC 040202020106   TAHQUAMENON
   MI      MI040202020107-01   RIVERS/STREAMS IN HUC 040202020107   TAHQUAMENON
   MI      MI040202020201-01   RIVERS/STREAMS IN HUC 040202020201   TAHQUAMENON
   MI      MI040202020202-01   RIVERS/STREAMS IN HUC 040202020202   TAHQUAMENON
   MI      MI040202020203-01   RIVERS/STREAMS IN HUC 040202020203   TAHQUAMENON
   MI      MI040202020301-02   RIVERS/STREAMS IN HUC 040202020301   TAHQUAMENON
   MI      MI040202020303-01   RIVERS/STREAMS IN HUC 040202020303   TAHQUAMENON
   MI      MI040601020103-01   RIVERS/STREAMS IN HUC 040601020103   MUSKEGON
   MI      MI040601020104-01   RIVERS/STREAMS IN HUC 040601020104   MUSKEGON
   MI      MI040601020201-01   RIVERS/STREAMS IN HUC 040601020201   MUSKEGON
   MI      MI040601020204-01   RIVERS/STREAMS IN HUC 040601020204   MUSKEGON
   MI      MI040601020204-02   RIVERS/STREAMS IN HUC 040601020204   MUSKEGON
   MI      MI040601020205-02   RIVERS/STREAMS IN HUC 040601020205   MUSKEGON
   MI      MI040601020206-01   RIVERS/STREAMS IN HUC 040601020206   MUSKEGON
   MI      MI040601020206-02   RIVERS/STREAMS IN HUC 040601020206   MUSKEGON
   MI      MI040601020209-02   RIVERS/STREAMS IN HUC 040601020209   MUSKEGON
   MI      MI040601020302-01   RIVERS/STREAMS IN HUC 040601020302   MUSKEGON
   MI      MI040601020302-03   RIVERS/STREAMS IN HUC 040601020302   MUSKEGON
   MI      MI040601020304-01   RIVERS/STREAMS IN HUC 040601020304   MUSKEGON




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040601020305-01   RIVERS/STREAMS IN HUC 040601020305   MUSKEGON
   MI      MI040601020306-01   RIVERS/STREAMS IN HUC 040601020306   MUSKEGON
   MI      MI040601020307-01   RIVERS/STREAMS IN HUC 040601020307   MUSKEGON
   MI      MI040601020308-01   RIVERS/STREAMS IN HUC 040601020308   MUSKEGON
   MI      MI040601020308-02   RIVERS/STREAMS IN HUC 040601020308   MUSKEGON
   MI      MI040601020309-02   RIVERS/STREAMS IN HUC 040601020309   MUSKEGON
   MI      MI040201020102-01   RIVERS/STREAMS IN HUC 040201020102   ONTONAGON
   MI      MI040201020103-01   RIVERS/STREAMS IN HUC 040201020103   ONTONAGON
   MI      MI040201020104-01   RIVERS/STREAMS IN HUC 040201020104   ONTONAGON
   MI      MI040201020105-01   RIVERS/STREAMS IN HUC 040201020105   ONTONAGON
   MI      MI040201020106-01   RIVERS/STREAMS IN HUC 040201020106   ONTONAGON
   MI      MI040201020108-01   RIVERS/STREAMS IN HUC 040201020108   ONTONAGON
   MI      MI040201020109-01   RIVERS/STREAMS IN HUC 040201020109   ONTONAGON
   MI      MI040201020109-02   RIVERS/STREAMS IN HUC 040201020109   ONTONAGON
   MI      MI040201020110-01   RIVERS/STREAMS IN HUC 040201020110   ONTONAGON
   MI      MI040201020111-01   RIVERS/STREAMS IN HUC 040201020111   ONTONAGON
   MI      MI040201020201-01   RIVERS/STREAMS IN HUC 040201020201   ONTONAGON
   MI      MI040601020310-03   RIVERS/STREAMS IN HUC 040601020310   MUSKEGON
   MI      MI040601020402-03   RIVERS/STREAMS IN HUC 040601020402   MUSKEGON
   MI      MI040601020404-01   RIVERS/STREAMS IN HUC 040601020404   MUSKEGON
   MI      MI040601020405-02   RIVERS/STREAMS IN HUC 040601020405   MUSKEGON
   MI      MI040601020501-02   RIVERS/STREAMS IN HUC 040601020501   MUSKEGON
   MI      MI040601020502-01   RIVERS/STREAMS IN HUC 040601020502   MUSKEGON
   MI      MI040601020503-01   RIVERS/STREAMS IN HUC 040601020503   MUSKEGON
   MI      MI040601020503-02   RIVERS/STREAMS IN HUC 040601020503   MUSKEGON
   MI      MI040601020504-02   RIVERS/STREAMS IN HUC 040601020504   MUSKEGON
   MI      MI040601020505-01   RIVERS/STREAMS IN HUC 040601020505   MUSKEGON
   MI      MI040201020301-02   RIVERS/STREAMS IN HUC 040201020301   ONTONAGON
   MI      MI040201020302-01   RIVERS/STREAMS IN HUC 040201020302   ONTONAGON
   MI      MI040201020303-01   RIVERS/STREAMS IN HUC 040201020303   ONTONAGON
   MI      MI040201020303-03   RIVERS/STREAMS IN HUC 040201020303   ONTONAGON
   MI      MI040201020304-01   RIVERS/STREAMS IN HUC 040201020304   ONTONAGON
   MI      MI040201020304-02   RIVERS/STREAMS IN HUC 040201020304   ONTONAGON
   MI      MI040201020304-03   RIVERS/STREAMS IN HUC 040201020304   ONTONAGON
   MI      MI040201020305-01   RIVERS/STREAMS IN HUC 040201020305   ONTONAGON
   MI      MI040201020306-01   RIVERS/STREAMS IN HUC 040201020306   ONTONAGON
   MI      MI040201020307-02   RIVERS/STREAMS IN HUC 040201020307   ONTONAGON
   MI      MI040201020307-03   RIVERS/STREAMS IN HUC 040201020307   ONTONAGON
   MI      MI040201020308-01   RIVERS/STREAMS IN HUC 040201020308   ONTONAGON
   MI      MI040201020308-03   RIVERS/STREAMS IN HUC 040201020308   ONTONAGON
   MI      MI040601020607-01   RIVERS/STREAMS IN HUC 040601020607   MUSKEGON
   MI      MI040601020701-02   RIVERS/STREAMS IN HUC 040601020701   MUSKEGON
   MI      MI040601020702-02   RIVERS/STREAMS IN HUC 040601020702   MUSKEGON
   MI      MI040601020703-01   RIVERS/STREAMS IN HUC 040601020703   MUSKEGON
   MI      MI040601020703-02   RIVERS/STREAMS IN HUC 040601020703   MUSKEGON
   MI      MI040601020704-01   RIVERS/STREAMS IN HUC 040601020704   MUSKEGON
   MI      MI040601020704-02   RIVERS/STREAMS IN HUC 040601020704   MUSKEGON
   MI      MI040601020704-06   RIVERS/STREAMS IN HUC 040601020704   MUSKEGON
   MI      MI040601020705-01   RIVERS/STREAMS IN HUC 040601020705   MUSKEGON
   MI      MI040202020305-01   RIVERS/STREAMS IN HUC 040202020305   TAHQUAMENON
   MI      MI040202020402-01   RIVERS/STREAMS IN HUC 040202020402   TAHQUAMENON
   MI      MI040202020403-01   RIVERS/STREAMS IN HUC 040202020403   TAHQUAMENON
   MI      MI040202020404-01   RIVERS/STREAMS IN HUC 040202020404   TAHQUAMENON
   MI      MI040202020502-01   RIVERS/STREAMS IN HUC 040202020502   TAHQUAMENON
   MI      MI040202020503-01   RIVERS/STREAMS IN HUC 040202020503   TAHQUAMENON




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040202020504-01   RIVERS/STREAMS IN HUC 040202020504   TAHQUAMENON
   MI      MI040202020505-01   RIVERS/STREAMS IN HUC 040202020505   TAHQUAMENON
   MI      MI040202020506-01   RIVERS/STREAMS IN HUC 040202020506   TAHQUAMENON
   MI      MI040202020507-01   RIVERS/STREAMS IN HUC 040202020507   TAHQUAMENON
   MI      MI040202020508-01   RIVERS/STREAMS IN HUC 040202020508   TAHQUAMENON
   MI      MI040202020508-02   RIVERS/STREAMS IN HUC 040202020508   TAHQUAMENON
   MI      MI040301080301-01   RIVERS/STREAMS IN HUC 040301080301   MENOMINEE
   MI      MI040301080302-01   RIVERS/STREAMS IN HUC 040301080302   MENOMINEE
   MI      MI040301080303-01   RIVERS/STREAMS IN HUC 040301080303   MENOMINEE
   MI      MI040301080304-01   RIVERS/STREAMS IN HUC 040301080304   MENOMINEE
   MI      MI040301080305-01   RIVERS/STREAMS IN HUC 040301080305   MENOMINEE
   MI      MI040301080306-02   RIVERS/STREAMS IN HUC 040301080306   MENOMINEE
   MI      MI040301080308-01   RIVERS/STREAMS IN HUC 040301080308   MENOMINEE
   MI      MI040601010404-02   RIVERS/STREAMS IN HUC 040601010404
   MI      MI040601010405-03   RIVERS/STREAMS IN HUC 040601010405
   MI      MI040601010406-02   RIVERS/STREAMS IN HUC 040601010406
   MI      MI040601010501-01   RIVERS/STREAMS IN HUC 040601010501
   MI      MI040601010503-02   RIVERS/STREAMS IN HUC 040601010503
   MI      MI040601010505-04   RIVERS/STREAMS IN HUC 040601010505
   MI      MI040601010505-05   RIVERS/STREAMS IN HUC 040601010505
   MI      MI040601010506-01   RIVERS/STREAMS IN HUC 040601010506
   MI      MI040601010506-02   RIVERS/STREAMS IN HUC 040601010506
   MI      MI040601010506-03   RIVERS/STREAMS IN HUC 040601010506
   MI      MI040601010506-04   RIVERS/STREAMS IN HUC 040601010506
   MI      MI040601010507-02   RIVERS/STREAMS IN HUC 040601010507
   MI      MI040601010507-03   RIVERS/STREAMS IN HUC 040601010507
   MI      MI040601010508-01   RIVERS/STREAMS IN HUC 040601010508
   MI      MI040601010508-02   RIVERS/STREAMS IN HUC 040601010508
   MI      MI040601010509-01   RIVERS/STREAMS IN HUC 040601010509
   MI      MI040601010509-03   RIVERS/STREAMS IN HUC 040601010509
   MI      MI040601060507-02   RIVERS/STREAMS IN HUC 040601060507   MANISTIQUE
   MI      MI040601060508-01   RIVERS/STREAMS IN HUC 040601060508   MANISTIQUE
   MI      MI040601060509-01   RIVERS/STREAMS IN HUC 040601060509   MANISTIQUE
   MI      MI040601060509-02   RIVERS/STREAMS IN HUC 040601060509   MANISTIQUE
   MI      MI040601060601-01   RIVERS/STREAMS IN HUC 040601060601   MANISTIQUE
   MI      MI040601060602-01   RIVERS/STREAMS IN HUC 040601060602   MANISTIQUE
   MI      MI040601060604-01   RIVERS/STREAMS IN HUC 040601060604   MANISTIQUE
   MI      MI040700020202-01   RIVERS/STREAMS IN HUC 040700020202   CARP-PINE
   MI      MI040700020203-01   RIVERS/STREAMS IN HUC 040700020203   CARP-PINE
   MI      MI040700020204-01   RIVERS/STREAMS IN HUC 040700020204   CARP-PINE
   MI      MI040700020205-01   RIVERS/STREAMS IN HUC 040700020205   CARP-PINE
   MI      MI040700020206-01   RIVERS/STREAMS IN HUC 040700020206   CARP-PINE
   MI      MI041000020407-01   RIVERS/STREAMS IN HUC 041000020407   RAISIN
   MI      MI041000020408-01   RIVERS/STREAMS IN HUC 041000020408   RAISIN
   MI      MI041000020409-02   RIVERS/STREAMS IN HUC 041000020409   RAISIN
   MI      MI041000020409-03   RIVERS/STREAMS IN HUC 041000020409   RAISIN
   MI      MI041000020410-01   RIVERS/STREAMS IN HUC 041000020410   RAISIN
   MI      MI041000020410-02   RIVERS/STREAMS IN HUC 041000020410   RAISIN
   MI      MI041000020410-03   RIVERS/STREAMS IN HUC 041000020410   RAISIN
   MI      MI040802040201-01   RIVERS/STREAMS IN HUC 040802040201   FLINT
   MI      MI040802040202-02   RIVERS/STREAMS IN HUC 040802040202   FLINT
   MI      MI040802040203-01   RIVERS/STREAMS IN HUC 040802040203   FLINT
   MI      MI040802040204-01   RIVERS/STREAMS IN HUC 040802040204   FLINT
   MI      MI040802040205-01   RIVERS/STREAMS IN HUC 040802040205   FLINT
   MI      MI040802040206-01   RIVERS/STREAMS IN HUC 040802040206   FLINT




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040802040208-01   RIVERS/STREAMS IN HUC 040802040208   FLINT
   MI      MI040802040301-01   RIVERS/STREAMS IN HUC 040802040301   FLINT
   MI      MI040802040302-01   RIVERS/STREAMS IN HUC 040802040302   FLINT
   MI      MI040700060305-01   RIVERS/STREAMS IN HUC 040700060305   THUNDER BAY
   MI      MI040700060307-01   RIVERS/STREAMS IN HUC 040700060307   THUNDER BAY
   MI      MI040700060308-02   RIVERS/STREAMS IN HUC 040700060308   THUNDER BAY
   MI      MI040700060309-01   RIVERS/STREAMS IN HUC 040700060309   THUNDER BAY
   MI      MI040700060310-01   RIVERS/STREAMS IN HUC 040700060310   THUNDER BAY
   MI      MI040700060401-01   RIVERS/STREAMS IN HUC 040700060401   THUNDER BAY
   MI      MI040700060402-01   RIVERS/STREAMS IN HUC 040700060402   THUNDER BAY
   MI      MI040700060501-01   RIVERS/STREAMS IN HUC 040700060501   THUNDER BAY
   MI      MI040700060502-01   RIVERS/STREAMS IN HUC 040700060502   THUNDER BAY
   MI      MI040700060503-01   RIVERS/STREAMS IN HUC 040700060503   THUNDER BAY
   MI      MI040700060504-01   RIVERS/STREAMS IN HUC 040700060504   THUNDER BAY
   MI      MI040700060505-01   RIVERS/STREAMS IN HUC 040700060505   THUNDER BAY
   MI      MI040601030303-04   RIVERS/STREAMS IN HUC 040601030303   MANISTEE
   MI      MI040601030305-02   RIVERS/STREAMS IN HUC 040601030305   MANISTEE
   MI      MI040601030306-01   RIVERS/STREAMS IN HUC 040601030306   MANISTEE
   MI      MI040601030306-02   RIVERS/STREAMS IN HUC 040601030306   MANISTEE
   MI      MI040601030307-01   RIVERS/STREAMS IN HUC 040601030307   MANISTEE
   MI      MI040601030308-02   RIVERS/STREAMS IN HUC 040601030308   MANISTEE
   MI      MI040601030309-01   RIVERS/STREAMS IN HUC 040601030309   MANISTEE
   MI      MI040601030310-01   RIVERS/STREAMS IN HUC 040601030310   MANISTEE
   MI      MI040601030310-02   RIVERS/STREAMS IN HUC 040601030310   MANISTEE
   MI      MI040601030310-03   RIVERS/STREAMS IN HUC 040601030310   MANISTEE
   MI      MI040601030402-04   RIVERS/STREAMS IN HUC 040601030402   MANISTEE
   MI      MI040601030403-01   RIVERS/STREAMS IN HUC 040601030403   MANISTEE
   MI      MI040601030404-01   RIVERS/STREAMS IN HUC 040601030404   MANISTEE
   MI      MI040601030405-04   RIVERS/STREAMS IN HUC 040601030405   MANISTEE
   MI      MI040601030406-01   RIVERS/STREAMS IN HUC 040601030406   MANISTEE
   MI      MI040601030406-02   RIVERS/STREAMS IN HUC 040601030406   MANISTEE
   MI      MI040601030503-01   RIVERS/STREAMS IN HUC 040601030503   MANISTEE
   MI      MI040601030504-01   RIVERS/STREAMS IN HUC 040601030504   MANISTEE
   MI      MI040601030505-01   RIVERS/STREAMS IN HUC 040601030505   MANISTEE
   MI      MI040601030601-01   RIVERS/STREAMS IN HUC 040601030601   MANISTEE
   MI      MI040802040408-02   RIVERS/STREAMS IN HUC 040802040408   FLINT
   MI      MI040802040409-02   RIVERS/STREAMS IN HUC 040802040409   FLINT
   MI      MI040802040409-04   RIVERS/STREAMS IN HUC 040802040409   FLINT
   MI      MI040802040501-02   RIVERS/STREAMS IN HUC 040802040501   FLINT
   MI      MI040802040502-01   RIVERS/STREAMS IN HUC 040802040502   FLINT
   MI      MI040802040503-01   RIVERS/STREAMS IN HUC 040802040503   FLINT
   MI      MI040802040505-01   RIVERS/STREAMS IN HUC 040802040505   FLINT
   MI      MI040802040506-01   RIVERS/STREAMS IN HUC 040802040506   FLINT
   MI      MI040802040507-01   RIVERS/STREAMS IN HUC 040802040507   FLINT
   MI      MI040700020208-01   RIVERS/STREAMS IN HUC 040700020208   CARP-PINE
   MI      MI040700020209-01   RIVERS/STREAMS IN HUC 040700020209   CARP-PINE
   MI      MI040700020210-01   RIVERS/STREAMS IN HUC 040700020210   CARP-PINE
   MI      MI040700020211-01   RIVERS/STREAMS IN HUC 040700020211   CARP-PINE
   MI      MI040700030309-01   RIVERS/STREAMS IN HUC 040700030309   LONE LAKE-OCQUEOC
   MI      MI040700040102-01   RIVERS/STREAMS IN HUC 040700040102   CHEBOYGAN
   MI      MI040700040103-02   RIVERS/STREAMS IN HUC 040700040103   CHEBOYGAN
   MI      MI040700040104-01   RIVERS/STREAMS IN HUC 040700040104   CHEBOYGAN
   MI      MI040700040105-01   RIVERS/STREAMS IN HUC 040700040105   CHEBOYGAN
   MI      MI040700040106-01   RIVERS/STREAMS IN HUC 040700040106   CHEBOYGAN
   MI      MI040700040107-01   RIVERS/STREAMS IN HUC 040700040107   CHEBOYGAN




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040700040201-01   RIVERS/STREAMS IN HUC 040700040201   CHEBOYGAN
   MI      MI040700040203-01   RIVERS/STREAMS IN HUC 040700040203   CHEBOYGAN
   MI      MI040601060103-02   RIVERS/STREAMS IN HUC 040601060103   MANISTIQUE
   MI      MI040601060201-01   RIVERS/STREAMS IN HUC 040601060201   MANISTIQUE
   MI      MI040601060203-01   RIVERS/STREAMS IN HUC 040601060203   MANISTIQUE
   MI      MI040601060204-01   RIVERS/STREAMS IN HUC 040601060204   MANISTIQUE
   MI      MI040601060205-01   RIVERS/STREAMS IN HUC 040601060205   MANISTIQUE
   MI      MI040601060206-01   RIVERS/STREAMS IN HUC 040601060206   MANISTIQUE
   MI      MI040601060207-01   RIVERS/STREAMS IN HUC 040601060207   MANISTIQUE
   MI      MI040601060301-03   RIVERS/STREAMS IN HUC 040601060301   MANISTIQUE
   MI      MI040601060302-01   RIVERS/STREAMS IN HUC 040601060302   MANISTIQUE
   MI      MI040601060303-01   RIVERS/STREAMS IN HUC 040601060303   MANISTIQUE
   MI      MI040601060304-01   RIVERS/STREAMS IN HUC 040601060304   MANISTIQUE
   MI      MI040601060305-01   RIVERS/STREAMS IN HUC 040601060305   MANISTIQUE
   MI      MI041000020105-02   RIVERS/STREAMS IN HUC 041000020105   RAISIN
   MI      MI041000020107-01   RIVERS/STREAMS IN HUC 041000020107   RAISIN
   MI      MI041000020108-01   RIVERS/STREAMS IN HUC 041000020108   RAISIN
   MI      MI041000020108-02   RIVERS/STREAMS IN HUC 041000020108   RAISIN
   MI      MI041000020201-01   RIVERS/STREAMS IN HUC 041000020201   RAISIN
   MI      MI041000020202-01   RIVERS/STREAMS IN HUC 041000020202   RAISIN
   MI      MI041000020204-01   RIVERS/STREAMS IN HUC 041000020204   RAISIN
   MI      MI041000020204-03   RIVERS/STREAMS IN HUC 041000020204   RAISIN
   MI      MI041000020205-02   RIVERS/STREAMS IN HUC 041000020205   RAISIN
   MI      MI041000020303-01   RIVERS/STREAMS IN HUC 041000020303   RAISIN
   MI      MI041000020304-01   RIVERS/STREAMS IN HUC 041000020304   RAISIN
   MI      MI041000020305-01   RIVERS/STREAMS IN HUC 041000020305   RAISIN
   MI      MI040700060101-01   RIVERS/STREAMS IN HUC 040700060101   THUNDER BAY
   MI      MI040700060102-01   RIVERS/STREAMS IN HUC 040700060102   THUNDER BAY
   MI      MI040700060103-01   RIVERS/STREAMS IN HUC 040700060103   THUNDER BAY
   MI      MI040700060104-01   RIVERS/STREAMS IN HUC 040700060104   THUNDER BAY
   MI      MI040700060105-01   RIVERS/STREAMS IN HUC 040700060105   THUNDER BAY
   MI      MI040700060201-01   RIVERS/STREAMS IN HUC 040700060201   THUNDER BAY
   MI      MI040700060202-01   RIVERS/STREAMS IN HUC 040700060202   THUNDER BAY
   MI      MI040700060203-01   RIVERS/STREAMS IN HUC 040700060203   THUNDER BAY
   MI      MI040700060204-01   RIVERS/STREAMS IN HUC 040700060204   THUNDER BAY
   MI      MI040700060301-01   RIVERS/STREAMS IN HUC 040700060301   THUNDER BAY
   MI      MI040700060302-02   RIVERS/STREAMS IN HUC 040700060302   THUNDER BAY
   MI      MI040700060303-01   RIVERS/STREAMS IN HUC 040700060303   THUNDER BAY
   MI      MI040601021004-03   RIVERS/STREAMS IN HUC 040601021004   MUSKEGON
   MI      MI040601030101-02   RIVERS/STREAMS IN HUC 040601030101   MANISTEE
   MI      MI040601030102-01   RIVERS/STREAMS IN HUC 040601030102   MANISTEE
   MI      MI040601030105-02   RIVERS/STREAMS IN HUC 040601030105   MANISTEE
   MI      MI040601030105-03   RIVERS/STREAMS IN HUC 040601030105   MANISTEE
   MI      MI040601030106-01   RIVERS/STREAMS IN HUC 040601030106   MANISTEE
   MI      MI040601030107-02   RIVERS/STREAMS IN HUC 040601030107   MANISTEE
   MI      MI040601030109-01   RIVERS/STREAMS IN HUC 040601030109   MANISTEE
   MI      MI040601030109-02   RIVERS/STREAMS IN HUC 040601030109   MANISTEE
   MI      MI040601030201-01   RIVERS/STREAMS IN HUC 040601030201   MANISTEE
   MI      MI040601030202-01   RIVERS/STREAMS IN HUC 040601030202   MANISTEE
   MI      MI040601030202-02   RIVERS/STREAMS IN HUC 040601030202   MANISTEE
   MI      MI040601030203-01   RIVERS/STREAMS IN HUC 040601030203   MANISTEE
   MI      MI040601030203-02   RIVERS/STREAMS IN HUC 040601030203   MANISTEE
   MI      MI040601030204-01   RIVERS/STREAMS IN HUC 040601030204   MANISTEE
   MI      MI040601030204-02   RIVERS/STREAMS IN HUC 040601030204   MANISTEE
   MI      MI040601030205-01   RIVERS/STREAMS IN HUC 040601030205   MANISTEE




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040601030206-03   RIVERS/STREAMS IN HUC 040601030206   MANISTEE
   MI      MI040601030207-01   RIVERS/STREAMS IN HUC 040601030207   MANISTEE
   MI      MI040601030207-02   RIVERS/STREAMS IN HUC 040601030207   MANISTEE
   MI      MI040601030207-03   RIVERS/STREAMS IN HUC 040601030207   MANISTEE
   MI      MI040601030208-01   RIVERS/STREAMS IN HUC 040601030208   MANISTEE
   MI      MI040601030208-02   RIVERS/STREAMS IN HUC 040601030208   MANISTEE
   MI      MI040601030208-03   RIVERS/STREAMS IN HUC 040601030208   MANISTEE
   MI      MI040601030208-04   RIVERS/STREAMS IN HUC 040601030208   MANISTEE
   MI      MI040601030301-02   RIVERS/STREAMS IN HUC 040601030301   MANISTEE
   MI      MI040601030302-01   RIVERS/STREAMS IN HUC 040601030302   MANISTEE
   MI      MI040601030302-02   RIVERS/STREAMS IN HUC 040601030302   MANISTEE
   MI      MI040601030302-03   RIVERS/STREAMS IN HUC 040601030302   MANISTEE
   MI      MI040601030302-04   RIVERS/STREAMS IN HUC 040601030302   MANISTEE
   MI      MI040601030303-02   RIVERS/STREAMS IN HUC 040601030303   MANISTEE
   MI      MI040900050106-01   RIVERS/STREAMS IN HUC 040900050106   HURON
   MI      MI040900050107-03   RIVERS/STREAMS IN HUC 040900050107   HURON
   MI      MI040900050108-01   RIVERS/STREAMS IN HUC 040900050108   HURON
   MI      MI040900050109-01   RIVERS/STREAMS IN HUC 040900050109   HURON
   MI      MI040900050110-01   RIVERS/STREAMS IN HUC 040900050110   HURON
   MI      MI040900050111-05   RIVERS/STREAMS IN HUC 040900050111   HURON
   MI      MI040900050112-01   RIVERS/STREAMS IN HUC 040900050112   HURON
   MI      MI040900050112-02   RIVERS/STREAMS IN HUC 040900050112   HURON
   MI      MI040900050203-01   RIVERS/STREAMS IN HUC 040900050203   HURON
   MI      MI040900050204-01   RIVERS/STREAMS IN HUC 040900050204   HURON
   MI      MI040900050204-02   RIVERS/STREAMS IN HUC 040900050204   HURON
   MI      MI040900050301-03   RIVERS/STREAMS IN HUC 040900050301   HURON
   MI      MI040900050302-01   RIVERS/STREAMS IN HUC 040900050302   HURON
   MI      MI040900050303-03   RIVERS/STREAMS IN HUC 040900050303   HURON
   MI      MI040900050304-01   RIVERS/STREAMS IN HUC 040900050304   HURON
   MI      MI040900050305-01   RIVERS/STREAMS IN HUC 040900050305   HURON
   MI      MI040700040204-01   RIVERS/STREAMS IN HUC 040700040204   CHEBOYGAN
   MI      MI040700040205-01   RIVERS/STREAMS IN HUC 040700040205   CHEBOYGAN
   MI      MI040700040207-01   RIVERS/STREAMS IN HUC 040700040207   CHEBOYGAN
   MI      MI040700040208-02   RIVERS/STREAMS IN HUC 040700040208   CHEBOYGAN
   MI      MI040700040209-01   RIVERS/STREAMS IN HUC 040700040209   CHEBOYGAN
   MI      MI040700040301-01   RIVERS/STREAMS IN HUC 040700040301   CHEBOYGAN
   MI      MI040700040302-01   RIVERS/STREAMS IN HUC 040700040302   CHEBOYGAN
   MI      MI040700040304-01   RIVERS/STREAMS IN HUC 040700040304   CHEBOYGAN
   MI      MI040700040306-01   RIVERS/STREAMS IN HUC 040700040306   CHEBOYGAN
   MI      MI040700040307-01   RIVERS/STREAMS IN HUC 040700040307   CHEBOYGAN
   MI      MI040700040401-01   RIVERS/STREAMS IN HUC 040700040401   CHEBOYGAN
   MI      MI040601030602-01   RIVERS/STREAMS IN HUC 040601030602   MANISTEE
   MI      MI040601030602-02   RIVERS/STREAMS IN HUC 040601030602   MANISTEE
   MI      MI040601030603-01   RIVERS/STREAMS IN HUC 040601030603   MANISTEE
   MI      MI040601030704-02   RIVERS/STREAMS IN HUC 040601030704   MANISTEE
   MI      MI040601030705-03   RIVERS/STREAMS IN HUC 040601030705   MANISTEE
   MI      MI040601050203-01   RIVERS/STREAMS IN HUC 040601050203   BOARDMAN - CHARLEVOIX
   MI      MI040601050205-01   RIVERS/STREAMS IN HUC 040601050205   BOARDMAN - CHARLEVOIX
   MI      MI040601050501-01   RIVERS/STREAMS IN HUC 040601050501   BOARDMAN - CHARLEVOIX
   MI      MI040601050502-01   RIVERS/STREAMS IN HUC 040601050502   BOARDMAN - CHARLEVOIX
   MI      MI040601050504-01   RIVERS/STREAMS IN HUC 040601050504   BOARDMAN - CHARLEVOIX
   MI      MI040601050505-01   RIVERS/STREAMS IN HUC 040601050505   BOARDMAN - CHARLEVOIX
   MI      MI040601050506-03   RIVERS/STREAMS IN HUC 040601050506   BOARDMAN - CHARLEVOIX
   MI      MI040601050507-03   RIVERS/STREAMS IN HUC 040601050507   BOARDMAN - CHARLEVOIX
   MI      MI040601050507-06   RIVERS/STREAMS IN HUC 040601050507   BOARDMAN - CHARLEVOIX




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040601060101-03   RIVERS/STREAMS IN HUC 040601060101   MANISTIQUE
   MI      MI040601060101-04   RIVERS/STREAMS IN HUC 040601060101   MANISTIQUE
   MI      MI040601060102-01   RIVERS/STREAMS IN HUC 040601060102   MANISTIQUE
   MI      MI040900030402-01   RIVERS/STREAMS IN HUC 040900030402   CLINTON
   MI      MI040900030402-04   RIVERS/STREAMS IN HUC 040900030402   CLINTON
   MI      MI040900040001-01   DETROIT RIVER                        DETROIT
   MI      MI040900040101-01   RIVERS/STREAMS IN HUC 040900040101   DETROIT
   MI      MI040900040102-01   RIVERS/STREAMS IN HUC 040900040102   DETROIT
   MI      MI040900040103-03   RIVERS/STREAMS IN HUC 040900040103   DETROIT
   MI      MI040900040201-02   RIVERS/STREAMS IN HUC 040900040201   DETROIT
   MI      MI040900040201-03   RIVERS/STREAMS IN HUC 040900040201   DETROIT
   MI      MI040900040202-01   RIVERS/STREAMS IN HUC 040900040202   DETROIT
   MI      MI040900040203-01   RIVERS/STREAMS IN HUC 040900040203   DETROIT
   MI      MI040900040203-02   RIVERS/STREAMS IN HUC 040900040203   DETROIT
   MI      MI040900040203-08   RIVERS/STREAMS IN HUC 040900040203   DETROIT
   MI      MI040900040302-02   RIVERS/STREAMS IN HUC 040900040302   DETROIT
   MI      MI040900040302-03   RIVERS/STREAMS IN HUC 040900040302   DETROIT
   MI      MI040900040303-01   RIVERS/STREAMS IN HUC 040900040303   DETROIT
   MI      MI040900040401-01   RIVERS/STREAMS IN HUC 040900040401   DETROIT
   MI      MI040700060506-01   RIVERS/STREAMS IN HUC 040700060506   THUNDER BAY
   MI      MI040700060601-01   RIVERS/STREAMS IN HUC 040700060601   THUNDER BAY
   MI      MI040700060602-01   RIVERS/STREAMS IN HUC 040700060602   THUNDER BAY
   MI      MI040700060603-01   RIVERS/STREAMS IN HUC 040700060603   THUNDER BAY
   MI      MI040700060604-02   RIVERS/STREAMS IN HUC 040700060604   THUNDER BAY
   MI      MI040700060605-02   RIVERS/STREAMS IN HUC 040700060605   THUNDER BAY
   MI      MI040700070102-01   RIVERS/STREAMS IN HUC 040700070102   AU SABLE
   MI      MI040700070103-01   RIVERS/STREAMS IN HUC 040700070103   AU SABLE
   MI      MI040700070104-01   RIVERS/STREAMS IN HUC 040700070104   AU SABLE
   MI      MI040700070105-01   RIVERS/STREAMS IN HUC 040700070105   AU SABLE
   MI      MI040700070106-01   RIVERS/STREAMS IN HUC 040700070106   AU SABLE
   MI      MI040700070108-01   RIVERS/STREAMS IN HUC 040700070108   AU SABLE
   MI      MI040700070109-01   RIVERS/STREAMS IN HUC 040700070109   AU SABLE
   MI      MI040700070110-01   RIVERS/STREAMS IN HUC 040700070110   AU SABLE
   MI      MI040700070202-01   RIVERS/STREAMS IN HUC 040700070202   AU SABLE
   MI      MI040700070203-01   RIVERS/STREAMS IN HUC 040700070203   AU SABLE
   MI      MI040700070204-01   RIVERS/STREAMS IN HUC 040700070204   AU SABLE
   MI      MI040700070206-01   RIVERS/STREAMS IN HUC 040700070206   AU SABLE
   MI      MI040700070207-01   RIVERS/STREAMS IN HUC 040700070207   AU SABLE
   MI      MI040700070209-01   RIVERS/STREAMS IN HUC 040700070209   AU SABLE
   MI      MI040700070210-01   RIVERS/STREAMS IN HUC 040700070210   AU SABLE
   MI      MI040700070302-01   RIVERS/STREAMS IN HUC 040700070302   AU SABLE
   MI      MI040601060308-02   RIVERS/STREAMS IN HUC 040601060308   MANISTIQUE
   MI      MI040601060309-01   RIVERS/STREAMS IN HUC 040601060309   MANISTIQUE
   MI      MI040601060310-01   RIVERS/STREAMS IN HUC 040601060310   MANISTIQUE
   MI      MI040601060310-03   RIVERS/STREAMS IN HUC 040601060310   MANISTIQUE
   MI      MI040601060401-01   RIVERS/STREAMS IN HUC 040601060401   MANISTIQUE
   MI      MI040601060408-01   RIVERS/STREAMS IN HUC 040601060408   MANISTIQUE
   MI      MI040601060409-01   RIVERS/STREAMS IN HUC 040601060409   MANISTIQUE
   MI      MI040601060411-01   RIVERS/STREAMS IN HUC 040601060411   MANISTIQUE
   MI      MI040601060501-01   RIVERS/STREAMS IN HUC 040601060501   MANISTIQUE
   MI      MI040601060503-01   RIVERS/STREAMS IN HUC 040601060503   MANISTIQUE
   MI      MI040601060504-01   RIVERS/STREAMS IN HUC 040601060504   MANISTIQUE
   MI      MI040601060505-01   RIVERS/STREAMS IN HUC 040601060505   MANISTIQUE
   MI      MI040900050406-01   RIVERS/STREAMS IN HUC 040900050406   HURON
   MI      MI040900050406-02   RIVERS/STREAMS IN HUC 040900050406   HURON




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040900050407-02   RIVERS/STREAMS IN HUC 040900050407   HURON
   MI      MI040900050407-05   RIVERS/STREAMS IN HUC 040900050407   HURON
   MI      MI041000010201-01   RIVERS/STREAMS IN HUC 041000010201   OTTAWA - STONY
   MI      MI041000020101-01   RIVERS/STREAMS IN HUC 041000020101   RAISIN
   MI      MI041000020102-02   RIVERS/STREAMS IN HUC 041000020102   RAISIN
   MI      MI041000020103-01   RIVERS/STREAMS IN HUC 041000020103   RAISIN
   MI      MI041000020103-02   RIVERS/STREAMS IN HUC 041000020103   RAISIN
   MI      MI040802020304-01   RIVERS/STREAMS IN HUC 040802020304   PINE
   MI      MI040802020305-01   RIVERS/STREAMS IN HUC 040802020305   PINE
   MI      MI040802020306-01   RIVERS/STREAMS IN HUC 040802020306   PINE
   MI      MI040802020307-01   RIVERS/STREAMS IN HUC 040802020307   PINE
   MI      MI040802020308-01   RIVERS/STREAMS IN HUC 040802020308   PINE
   MI      MI040802020309-01   RIVERS/STREAMS IN HUC 040802020309   PINE
   MI      MI040802020310-01   RIVERS/STREAMS IN HUC 040802020310   PINE
   MI      MI040802020312-01   RIVERS/STREAMS IN HUC 040802020312   PINE
   MI      MI040802020312-02   RIVERS/STREAMS IN HUC 040802020312   PINE
   MI      MI040802020401-01   RIVERS/STREAMS IN HUC 040802020401   PINE
   MI      MI040802020403-03   RIVERS/STREAMS IN HUC 040802020403   PINE
   MI      MI040802020404-01   RIVERS/STREAMS IN HUC 040802020404   PINE
   MI      MI040802020501-01   RIVERS/STREAMS IN HUC 040802020501   PINE
   MI      MI040802020502-01   RIVERS/STREAMS IN HUC 040802020502   PINE
   MI      MI040802020503-01   RIVERS/STREAMS IN HUC 040802020503   PINE
   MI      MI040802020504-01   RIVERS/STREAMS IN HUC 040802020504   PINE
   MI      MI040802020504-02   RIVERS/STREAMS IN HUC 040802020504   PINE
   MI      MI040802020505-01   RIVERS/STREAMS IN HUC 040802020505   PINE
   MI      MI040802030410-04   RIVERS/STREAMS IN HUC 040802030410   SHIAWASSEE
   MI      MI040802040101-02   RIVERS/STREAMS IN HUC 040802040101   FLINT
   MI      MI040802040102-01   RIVERS/STREAMS IN HUC 040802040102   FLINT
   MI      MI040802040103-01   RIVERS/STREAMS IN HUC 040802040103   FLINT
   MI      MI040802040103-03   RIVERS/STREAMS IN HUC 040802040103   FLINT
   MI      MI040802040103-05   RIVERS/STREAMS IN HUC 040802040103   FLINT
   MI      MI040802040104-01   RIVERS/STREAMS IN HUC 040802040104   FLINT
   MI      MI040802040104-04   RIVERS/STREAMS IN HUC 040802040104   FLINT
   MI      MI040802040104-05   RIVERS/STREAMS IN HUC 040802040104   FLINT
   MI      MI040802040104-06   RIVERS/STREAMS IN HUC 040802040104   FLINT
   MI      MI040802040105-01   RIVERS/STREAMS IN HUC 040802040105   FLINT
   MI      MI040802040105-03   RIVERS/STREAMS IN HUC 040802040105   FLINT
   MI      MI040900040402-01   RIVERS/STREAMS IN HUC 040900040402   DETROIT
   MI      MI040900040403-01   RIVERS/STREAMS IN HUC 040900040403   DETROIT
   MI      MI040900040404-01   RIVERS/STREAMS IN HUC 040900040404   DETROIT
   MI      MI040900040404-02   RIVERS/STREAMS IN HUC 040900040404   DETROIT
   MI      MI040900040405-01   RIVERS/STREAMS IN HUC 040900040405   DETROIT
   MI      MI040900040407-01   RIVERS/STREAMS IN HUC 040900040407   DETROIT
   MI      MI040900050101-01   RIVERS/STREAMS IN HUC 040900050101   HURON
   MI      MI040900050102-01   RIVERS/STREAMS IN HUC 040900050102   HURON
   MI      MI040900050102-09   RIVERS/STREAMS IN HUC 040900050102   HURON
   MI      MI040900050103-04   RIVERS/STREAMS IN HUC 040900050103   HURON
   MI      MI040900050104-03   RIVERS/STREAMS IN HUC 040900050104   HURON
   MI      MI040900050105-05   RIVERS/STREAMS IN HUC 040900050105   HURON
   MI      MI040802030201-01   RIVERS/STREAMS IN HUC 040802030201   SHIAWASSEE
   MI      MI040802030203-03   RIVERS/STREAMS IN HUC 040802030203   SHIAWASSEE
   MI      MI040802030204-01   RIVERS/STREAMS IN HUC 040802030204   SHIAWASSEE
   MI      MI040802030208-02   RIVERS/STREAMS IN HUC 040802030208   SHIAWASSEE
   MI      MI040802030305-02   RIVERS/STREAMS IN HUC 040802030305   SHIAWASSEE
   MI      MI040802030306-01   RIVERS/STREAMS IN HUC 040802030306   SHIAWASSEE




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   State   Waterbody ID        Waterbody Name                           Region
   MI      MI040802030307-01   RIVERS/STREAMS IN HUC 040802030307       SHIAWASSEE
   MI      MI040802030308-01   RIVERS/STREAMS IN HUC 040802030308       SHIAWASSEE
   MI      MI040802030311-01   RIVERS/STREAMS IN HUC 040802030311       SHIAWASSEE
   MI      MI040802030312-01   RIVERS/STREAMS IN HUC 040802030312       SHIAWASSEE
   MI      MI040802030401-01   RIVERS/STREAMS IN HUC 040802030401       SHIAWASSEE
   MI      MI040900010211-01   RIVERS/STREAMS IN HUC 040900010211       ST. CLAIR
   MI      MI040900010212-01   RIVERS/STREAMS IN HUC 040900010212       ST. CLAIR
   MI      MI040900010213-01   RIVERS/STREAMS IN HUC 040900010213       ST. CLAIR
   MI      MI040900010214-01   RIVERS/STREAMS IN HUC 040900010214       ST. CLAIR
   MI      MI040900010302-01   RIVERS/STREAMS IN HUC 040900010302       ST. CLAIR
   MI      MI040900010304-01   RIVERS/STREAMS IN HUC 040900010304       ST. CLAIR
   MI      MI040900010306-01   RIVERS/STREAMS IN HUC 040900010306       ST. CLAIR
   MI      MI040900020001-01   LAKE ST. CLAIR (MICHIGAN JURISDICTION)   LAKE ST. CLAIR
   MI      MI040802010601-01   RIVERS/STREAMS IN HUC 040802010601       TITTABAWASSEE
   MI      MI040802010602-01   RIVERS/STREAMS IN HUC 040802010602       TITTABAWASSEE
   MI      MI040802010603-02   RIVERS/STREAMS IN HUC 040802010603       TITTABAWASSEE
   MI      MI040802010604-01   RIVERS/STREAMS IN HUC 040802010604
   MI      MI040802020102-02   RIVERS/STREAMS IN HUC 040802020102       PINE
   MI      MI040802020103-01   RIVERS/STREAMS IN HUC 040802020103       PINE
   MI      MI040802020104-01   RIVERS/STREAMS IN HUC 040802020104       PINE
   MI      MI040900010107-01   RIVERS/STREAMS IN HUC 040900010107       ST. CLAIR
   MI      MI040900010108-01   RIVERS/STREAMS IN HUC 040900010108       ST. CLAIR
   MI      MI040900010109-01   RIVERS/STREAMS IN HUC 040900010109       ST. CLAIR
   MI      MI040900010110-01   RIVERS/STREAMS IN HUC 040900010110       ST. CLAIR
   MI      MI040900010111-01   RIVERS/STREAMS IN HUC 040900010111       ST. CLAIR
   MI      MI040900010112-01   RIVERS/STREAMS IN HUC 040900010112       ST. CLAIR
   MI      MI040900010112-02   RIVERS/STREAMS IN HUC 040900010112       ST. CLAIR
   MI      MI040900010113-01   RIVERS/STREAMS IN HUC 040900010113       ST. CLAIR
   MI      MI040900010114-01   RIVERS/STREAMS IN HUC 040900010114       ST. CLAIR
   MI      MI040900050305-03   RIVERS/STREAMS IN HUC 040900050305       HURON
   MI      MI040900050306-01   RIVERS/STREAMS IN HUC 040900050306       HURON
   MI      MI040900050306-02   RIVERS/STREAMS IN HUC 040900050306       HURON
   MI      MI040900050307-01   RIVERS/STREAMS IN HUC 040900050307       HURON
   MI      MI040900050307-02   RIVERS/STREAMS IN HUC 040900050307       HURON
   MI      MI040900050307-04   RIVERS/STREAMS IN HUC 040900050307       HURON
   MI      MI040900050309-03   RIVERS/STREAMS IN HUC 040900050309       HURON
   MI      MI040900050309-06   RIVERS/STREAMS IN HUC 040900050309       HURON
   MI      MI040900050401-01   RIVERS/STREAMS IN HUC 040900050401       HURON
   MI      MI040900050401-02   RIVERS/STREAMS IN HUC 040900050401       HURON
   MI      MI040900050402-04   RIVERS/STREAMS IN HUC 040900050402       HURON
   MI      MI040900050402-05   RIVERS/STREAMS IN HUC 040900050402       HURON
   MI      MI040900050402-06   RIVERS/STREAMS IN HUC 040900050402       HURON
   MI      MI040900050403-03   RIVERS/STREAMS IN HUC 040900050403       HURON
   MI      MI040900050404-01   RIVERS/STREAMS IN HUC 040900050404       HURON
   MI      MI040900050404-04   RIVERS/STREAMS IN HUC 040900050404       HURON
   MI      MI040900050405-01   RIVERS/STREAMS IN HUC 040900050405       HURON
   MI      MI040500030911-03   RIVERS/STREAMS IN HUC 040500030911       KALAMAZOO
   MI      MI040500030912-02   RIVERS/STREAMS IN HUC 040500030912       KALAMAZOO
   MI      MI040500030912-03   RIVERS/STREAMS IN HUC 040500030912       KALAMAZOO
   MI      MI040500030912-06   RIVERS/STREAMS IN HUC 040500030912       KALAMAZOO
   MI      MI040500040101-01   RIVERS/STREAMS IN HUC 040500040101       UPPER GRAND
   MI      MI040500040102-01   RIVERS/STREAMS IN HUC 040500040102       UPPER GRAND
   MI      MI040500040103-01   RIVERS/STREAMS IN HUC 040500040103       UPPER GRAND
   MI      MI040500040104-01   RIVERS/STREAMS IN HUC 040500040104       UPPER GRAND
   MI      MI040500040105-01   RIVERS/STREAMS IN HUC 040500040105       UPPER GRAND




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040500040106-03   RIVERS/STREAMS IN HUC 040500040106   UPPER GRAND
   MI      MI040500040201-01   RIVERS/STREAMS IN HUC 040500040201   UPPER GRAND
   MI      MI040500040202-01   RIVERS/STREAMS IN HUC 040500040202   UPPER GRAND
   MI      MI040500040203-01   RIVERS/STREAMS IN HUC 040500040203   UPPER GRAND
   MI      MI040500040204-01   RIVERS/STREAMS IN HUC 040500040204   UPPER GRAND
   MI      MI040500040205-01   RIVERS/STREAMS IN HUC 040500040205   UPPER GRAND
   MI      MI040802020506-01   RIVERS/STREAMS IN HUC 040802020506   PINE
   MI      MI040802020506-02   RIVERS/STREAMS IN HUC 040802020506   PINE
   MI      MI040802020507-01   RIVERS/STREAMS IN HUC 040802020507   PINE
   MI      MI040802020508-01   RIVERS/STREAMS IN HUC 040802020508   PINE
   MI      MI040802020508-02   RIVERS/STREAMS IN HUC 040802020508   PINE
   MI      MI040802030105-01   RIVERS/STREAMS IN HUC 040802030105   SHIAWASSEE
   MI      MI040802030105-02   RIVERS/STREAMS IN HUC 040802030105   SHIAWASSEE
   MI      MI040802030105-04   RIVERS/STREAMS IN HUC 040802030105   SHIAWASSEE
   MI      MI040802030106-01   RIVERS/STREAMS IN HUC 040802030106   SHIAWASSEE
   MI      MI040802030107-02   RIVERS/STREAMS IN HUC 040802030107   SHIAWASSEE
   MI      MI040802030107-07   RIVERS/STREAMS IN HUC 040802030107   SHIAWASSEE
   MI      MI040802030108-02   RIVERS/STREAMS IN HUC 040802030108   SHIAWASSEE
   MI      MI040802030109-02   RIVERS/STREAMS IN HUC 040802030109   SHIAWASSEE
   MI      MI040900030101-01   RIVERS/STREAMS IN HUC 040900030101   CLINTON
   MI      MI040900030102-01   RIVERS/STREAMS IN HUC 040900030102   CLINTON
   MI      MI040900030103-01   RIVERS/STREAMS IN HUC 040900030103   CLINTON
   MI      MI040900030104-01   RIVERS/STREAMS IN HUC 040900030104   CLINTON
   MI      MI040900030105-01   RIVERS/STREAMS IN HUC 040900030105   CLINTON
   MI      MI040900030106-01   RIVERS/STREAMS IN HUC 040900030106   CLINTON
   MI      MI040900030107-01   RIVERS/STREAMS IN HUC 040900030107   CLINTON
   MI      MI040900030108-02   RIVERS/STREAMS IN HUC 040900030108   CLINTON
   MI      MI040900030301-01   RIVERS/STREAMS IN HUC 040900030301   CLINTON
   MI      MI040900030301-02   RIVERS/STREAMS IN HUC 040900030301   CLINTON
   MI      MI040900030303-01   RIVERS/STREAMS IN HUC 040900030303   CLINTON
   MI      MI040900030304-01   RIVERS/STREAMS IN HUC 040900030304   CLINTON
   MI      MI040900030305-01   RIVERS/STREAMS IN HUC 040900030305   CLINTON
   MI      MI040900030307-01   RIVERS/STREAMS IN HUC 040900030307   CLINTON
   MI      MI040900030309-01   RIVERS/STREAMS IN HUC 040900030309   CLINTON
   MI      MI040900030310-03   RIVERS/STREAMS IN HUC 040900030310   CLINTON
   MI      MI040900030311-01   RIVERS/STREAMS IN HUC 040900030311   CLINTON
   MI      MI040900030312-01   RIVERS/STREAMS IN HUC 040900030312   CLINTON
   MI      MI040500030803-02   RIVERS/STREAMS IN HUC 040500030803   KALAMAZOO
   MI      MI040500030803-04   RIVERS/STREAMS IN HUC 040500030803   KALAMAZOO
   MI      MI040500030804-01   RIVERS/STREAMS IN HUC 040500030804   KALAMAZOO
   MI      MI040500030805-01   RIVERS/STREAMS IN HUC 040500030805   KALAMAZOO
   MI      MI040500030805-03   RIVERS/STREAMS IN HUC 040500030805   KALAMAZOO
   MI      MI040500030806-02   RIVERS/STREAMS IN HUC 040500030806   KALAMAZOO
   MI      MI040500030806-03   RIVERS/STREAMS IN HUC 040500030806   KALAMAZOO
   MI      MI040500030807-01   RIVERS/STREAMS IN HUC 040500030807   KALAMAZOO
   MI      MI040500030808-01   RIVERS/STREAMS IN HUC 040500030808   KALAMAZOO
   MI      MI040500030809-01   RIVERS/STREAMS IN HUC 040500030809   KALAMAZOO
   MI      MI040500030810-01   RIVERS/STREAMS IN HUC 040500030810   KALAMAZOO
   MI      MI040500030810-04   RIVERS/STREAMS IN HUC 040500030810   KALAMAZOO
   MI      MI040500030811-01   RIVERS/STREAMS IN HUC 040500030811   KALAMAZOO
   MI      MI040500030811-02   RIVERS/STREAMS IN HUC 040500030811   KALAMAZOO
   MI      MI040500030811-04   RIVERS/STREAMS IN HUC 040500030811   KALAMAZOO
   MI      MI040802030403-01   RIVERS/STREAMS IN HUC 040802030403   SHIAWASSEE
   MI      MI040802030404-01   RIVERS/STREAMS IN HUC 040802030404   SHIAWASSEE
   MI      MI040802030406-01   RIVERS/STREAMS IN HUC 040802030406   SHIAWASSEE




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040802030407-02   RIVERS/STREAMS IN HUC 040802030407   SHIAWASSEE
   MI      MI040802030407-03   RIVERS/STREAMS IN HUC 040802030407   SHIAWASSEE
   MI      MI040802030409-01   RIVERS/STREAMS IN HUC 040802030409   SHIAWASSEE
   MI      MI040900010001-01   ST. CLAIR RIVER                      ST. CLAIR
   MI      MI040900010101-01   RIVERS/STREAMS IN HUC 040900010101   ST. CLAIR
   MI      MI040900010102-01   RIVERS/STREAMS IN HUC 040900010102   ST. CLAIR
   MI      MI040900010103-01   RIVERS/STREAMS IN HUC 040900010103   ST. CLAIR
   MI      MI040900010104-01   RIVERS/STREAMS IN HUC 040900010104   ST. CLAIR
   MI      MI040900010105-01   RIVERS/STREAMS IN HUC 040900010105   ST. CLAIR
   MI      MI040900010106-01   RIVERS/STREAMS IN HUC 040900010106   ST. CLAIR
   MI      MI040802050301-01   RIVERS/STREAMS IN HUC 040802050301   CASS
   MI      MI040802050302-01   RIVERS/STREAMS IN HUC 040802050302   CASS
   MI      MI040802050303-01   RIVERS/STREAMS IN HUC 040802050303   CASS
   MI      MI040802050303-02   RIVERS/STREAMS IN HUC 040802050303   CASS
   MI      MI040802050304-01   RIVERS/STREAMS IN HUC 040802050304   CASS
   MI      MI040802050304-02   RIVERS/STREAMS IN HUC 040802050304   CASS
   MI      MI040802050305-01   RIVERS/STREAMS IN HUC 040802050305   CASS
   MI      MI040802060103-01   RIVERS/STREAMS IN HUC 040802060103   SAGINAW
   MI      MI040500040206-01   RIVERS/STREAMS IN HUC 040500040206   UPPER GRAND
   MI      MI040500040207-01   RIVERS/STREAMS IN HUC 040500040207   UPPER GRAND
   MI      MI040500040208-01   RIVERS/STREAMS IN HUC 040500040208   UPPER GRAND
   MI      MI040500040209-01   RIVERS/STREAMS IN HUC 040500040209   UPPER GRAND
   MI      MI040500040210-01   RIVERS/STREAMS IN HUC 040500040210   UPPER GRAND
   MI      MI040500040301-01   RIVERS/STREAMS IN HUC 040500040301   UPPER GRAND
   MI      MI040500040302-01   RIVERS/STREAMS IN HUC 040500040302   UPPER GRAND
   MI      MI040802020201-01   RIVERS/STREAMS IN HUC 040802020201   PINE
   MI      MI040802020202-01   RIVERS/STREAMS IN HUC 040802020202   PINE
   MI      MI040802020203-01   RIVERS/STREAMS IN HUC 040802020203   PINE
   MI      MI040802020204-01   RIVERS/STREAMS IN HUC 040802020204   PINE
   MI      MI040802020206-01   RIVERS/STREAMS IN HUC 040802020206   PINE
   MI      MI040802020206-02   RIVERS/STREAMS IN HUC 040802020206   PINE
   MI      MI040802020206-03   RIVERS/STREAMS IN HUC 040802020206   PINE
   MI      MI040802020207-01   RIVERS/STREAMS IN HUC 040802020207   PINE
   MI      MI040802020207-03   RIVERS/STREAMS IN HUC 040802020207   PINE
   MI      MI040802020301-01   RIVERS/STREAMS IN HUC 040802020301   PINE
   MI      MI040802020302-01   RIVERS/STREAMS IN HUC 040802020302   PINE
   MI      MI040802020303-01   RIVERS/STREAMS IN HUC 040802020303   PINE
   MI      MI040900010114-02   RIVERS/STREAMS IN HUC 040900010114   ST. CLAIR
   MI      MI040900010201-01   RIVERS/STREAMS IN HUC 040900010201   ST. CLAIR
   MI      MI040900010202-01   RIVERS/STREAMS IN HUC 040900010202   ST. CLAIR
   MI      MI040900010203-01   RIVERS/STREAMS IN HUC 040900010203   ST. CLAIR
   MI      MI040900010204-01   RIVERS/STREAMS IN HUC 040900010204   ST. CLAIR
   MI      MI040900010205-01   RIVERS/STREAMS IN HUC 040900010205   ST. CLAIR
   MI      MI040900010206-01   RIVERS/STREAMS IN HUC 040900010206   ST. CLAIR
   MI      MI040900010207-01   RIVERS/STREAMS IN HUC 040900010207   ST. CLAIR
   MI      MI040900010208-01   RIVERS/STREAMS IN HUC 040900010208   ST. CLAIR
   MI      MI040900010209-01   RIVERS/STREAMS IN HUC 040900010209   ST. CLAIR
   MI      MI040900010209-04   RIVERS/STREAMS IN HUC 040900010209   ST. CLAIR
   MI      MI040900010210-01   RIVERS/STREAMS IN HUC 040900010210   ST. CLAIR
   MI      MI040900010210-02   RIVERS/STREAMS IN HUC 040900010210   ST. CLAIR
   MI      MI040802050205-01   RIVERS/STREAMS IN HUC 040802050205
   MI      MI040802050206-02   RIVERS/STREAMS IN HUC 040802050206   CASS
   MI      MI040802050207-01   RIVERS/STREAMS IN HUC 040802050207
   MI      MI040802050208-01   RIVERS/STREAMS IN HUC 040802050208   CASS
   MI      MI040802050209-01   RIVERS/STREAMS IN HUC 040802050209   CASS




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040802050209-02   RIVERS/STREAMS IN HUC 040802050209   CASS
   MI      MI040500030901-01   RIVERS/STREAMS IN HUC 040500030901   KALAMAZOO
   MI      MI040500030903-01   RIVERS/STREAMS IN HUC 040500030903   KALAMAZOO
   MI      MI040500030904-02   RIVERS/STREAMS IN HUC 040500030904   KALAMAZOO
   MI      MI040500030904-04   RIVERS/STREAMS IN HUC 040500030904   KALAMAZOO
   MI      MI040500030905-02   RIVERS/STREAMS IN HUC 040500030905   KALAMAZOO
   MI      MI040500030906-01   RIVERS/STREAMS IN HUC 040500030906   KALAMAZOO
   MI      MI040500030907-01   RIVERS/STREAMS IN HUC 040500030907   KALAMAZOO
   MI      MI040500030907-05   RIVERS/STREAMS IN HUC 040500030907   KALAMAZOO
   MI      MI040500030908-04   RIVERS/STREAMS IN HUC 040500030908   KALAMAZOO
   MI      MI040500030909-02   RIVERS/STREAMS IN HUC 040500030909   KALAMAZOO
   MI      MI040500030909-03   RIVERS/STREAMS IN HUC 040500030909   KALAMAZOO
   MI      MI040500030910-01   RIVERS/STREAMS IN HUC 040500030910   KALAMAZOO
   MI      MI040801020206-01   RIVERS/STREAMS IN HUC 040801020206   KAWKAWLIN-PINE
   MI      MI040802010101-01   RIVERS/STREAMS IN HUC 040802010101   TITTABAWASSEE
   MI      MI040802010102-01   RIVERS/STREAMS IN HUC 040802010102   TITTABAWASSEE
   MI      MI040802010103-01   RIVERS/STREAMS IN HUC 040802010103   TITTABAWASSEE
   MI      MI040802010104-01   RIVERS/STREAMS IN HUC 040802010104   TITTABAWASSEE
   MI      MI040802010203-01   RIVERS/STREAMS IN HUC 040802010203   TITTABAWASSEE
   MI      MI040802010204-01   RIVERS/STREAMS IN HUC 040802010204   TITTABAWASSEE
   MI      MI040802010301-01   RIVERS/STREAMS IN HUC 040802010301   TITTABAWASSEE
   MI      MI040802010302-01   RIVERS/STREAMS IN HUC 040802010302   TITTABAWASSEE
   MI      MI040802010303-01   RIVERS/STREAMS IN HUC 040802010303   TITTABAWASSEE
   MI      MI040900030109-03   RIVERS/STREAMS IN HUC 040900030109   CLINTON
   MI      MI040900030110-02   RIVERS/STREAMS IN HUC 040900030110   CLINTON
   MI      MI040900030111-01   RIVERS/STREAMS IN HUC 040900030111   CLINTON
   MI      MI040900030201-03   RIVERS/STREAMS IN HUC 040900030201   CLINTON
   MI      MI040900030203-01   RIVERS/STREAMS IN HUC 040900030203   CLINTON
   MI      MI040900030205-01   RIVERS/STREAMS IN HUC 040900030205   CLINTON
   MI      MI040802040508-01   RIVERS/STREAMS IN HUC 040802040508   FLINT
   MI      MI040802040509-01   RIVERS/STREAMS IN HUC 040802040509   FLINT
   MI      MI040802040510-01   RIVERS/STREAMS IN HUC 040802040510   FLINT
   MI      MI040802040511-01   RIVERS/STREAMS IN HUC 040802040511   FLINT
   MI      MI040802040512-01   RIVERS/STREAMS IN HUC 040802040512   FLINT
   MI      MI040802040513-01   RIVERS/STREAMS IN HUC 040802040513   FLINT
   MI      MI040802050101-01   RIVERS/STREAMS IN HUC 040802050101   CASS
   MI      MI040802050102-01   RIVERS/STREAMS IN HUC 040802050102   CASS
   MI      MI040802050102-02   RIVERS/STREAMS IN HUC 040802050102   CASS
   MI      MI040802050103-01   RIVERS/STREAMS IN HUC 040802050103   CASS
   MI      MI040802050104-01   RIVERS/STREAMS IN HUC 040802050104   CASS
   MI      MI040802050105-01   RIVERS/STREAMS IN HUC 040802050105   CASS
   MI      MI040500030603-03   RIVERS/STREAMS IN HUC 040500030603   KALAMAZOO
   MI      MI040500030604-01   RIVERS/STREAMS IN HUC 040500030604   KALAMAZOO
   MI      MI040500030605-01   RIVERS/STREAMS IN HUC 040500030605   KALAMAZOO
   MI      MI040500030607-01   RIVERS/STREAMS IN HUC 040500030607   KALAMAZOO
   MI      MI040500030607-02   RIVERS/STREAMS IN HUC 040500030607   KALAMAZOO
   MI      MI040500030607-03   RIVERS/STREAMS IN HUC 040500030607   KALAMAZOO
   MI      MI040500030701-11   RIVERS/STREAMS IN HUC 040500030701   KALAMAZOO
   MI      MI040500030702-04   RIVERS/STREAMS IN HUC 040500030702   KALAMAZOO
   MI      MI040500030702-05   RIVERS/STREAMS IN HUC 040500030702   KALAMAZOO
   MI      MI040500030703-01   RIVERS/STREAMS IN HUC 040500030703   KALAMAZOO
   MI      MI040500030801-01   RIVERS/STREAMS IN HUC 040500030801   KALAMAZOO
   MI      MI040500030802-01   RIVERS/STREAMS IN HUC 040500030802   KALAMAZOO
   MI      MI040802010403-03   RIVERS/STREAMS IN HUC 040802010403   TITTABAWASSEE
   MI      MI040802010404-01   RIVERS/STREAMS IN HUC 040802010404   TITTABAWASSEE




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040802010406-01   RIVERS/STREAMS IN HUC 040802010406   TITTABAWASSEE
   MI      MI040802010406-03   RIVERS/STREAMS IN HUC 040802010406   TITTABAWASSEE
   MI      MI040802010407-01   RIVERS/STREAMS IN HUC 040802010407   TITTABAWASSEE
   MI      MI040802010408-01   RIVERS/STREAMS IN HUC 040802010408   TITTABAWASSEE
   MI      MI040802010501-01   RIVERS/STREAMS IN HUC 040802010501   TITTABAWASSEE
   MI      MI040802010502-01   RIVERS/STREAMS IN HUC 040802010502   TITTABAWASSEE
   MI      MI040802010503-01   RIVERS/STREAMS IN HUC 040802010503   TITTABAWASSEE
   MI      MI040802010505-01   RIVERS/STREAMS IN HUC 040802010505   TITTABAWASSEE
   MI      MI040802010506-01   RIVERS/STREAMS IN HUC 040802010506   TITTABAWASSEE
   MI      MI040802010507-01   RIVERS/STREAMS IN HUC 040802010507   TITTABAWASSEE
   MI      MI040802040304-01   RIVERS/STREAMS IN HUC 040802040304   FLINT
   MI      MI040802040305-01   RIVERS/STREAMS IN HUC 040802040305   FLINT
   MI      MI040802040305-02   RIVERS/STREAMS IN HUC 040802040305   FLINT
   MI      MI040802040306-02   RIVERS/STREAMS IN HUC 040802040306   FLINT
   MI      MI040802040307-01   RIVERS/STREAMS IN HUC 040802040307   FLINT
   MI      MI040802040401-01   RIVERS/STREAMS IN HUC 040802040401   FLINT
   MI      MI040802040402-01   RIVERS/STREAMS IN HUC 040802040402   FLINT
   MI      MI040802040403-02   RIVERS/STREAMS IN HUC 040802040403   FLINT
   MI      MI040802040403-03   RIVERS/STREAMS IN HUC 040802040403   FLINT
   MI      MI040802040404-01   RIVERS/STREAMS IN HUC 040802040404   FLINT
   MI      MI040802040405-01   RIVERS/STREAMS IN HUC 040802040405   FLINT
   MI      MI040802040406-01   RIVERS/STREAMS IN HUC 040802040406   FLINT
   MI      MI040802040407-01   RIVERS/STREAMS IN HUC 040802040407   FLINT
   MI      MI040500040304-01   RIVERS/STREAMS IN HUC 040500040304   UPPER GRAND
   MI      MI040500040306-01   RIVERS/STREAMS IN HUC 040500040306   UPPER GRAND
   MI      MI040500040307-01   RIVERS/STREAMS IN HUC 040500040307   UPPER GRAND
   MI      MI040500040307-02   RIVERS/STREAMS IN HUC 040500040307   UPPER GRAND
   MI      MI040500040308-01   RIVERS/STREAMS IN HUC 040500040308   UPPER GRAND
   MI      MI040500040401-02   RIVERS/STREAMS IN HUC 040500040401   UPPER GRAND
   MI      MI040500040402-01   RIVERS/STREAMS IN HUC 040500040402   UPPER GRAND
   MI      MI040500040403-01   RIVERS/STREAMS IN HUC 040500040403   UPPER GRAND
   MI      MI040500040403-02   RIVERS/STREAMS IN HUC 040500040403   UPPER GRAND
   MI      MI040500040404-01   RIVERS/STREAMS IN HUC 040500040404   UPPER GRAND
   MI      MI040500040405-02   RIVERS/STREAMS IN HUC 040500040405   UPPER GRAND
   MI      MI040700070303-01   RIVERS/STREAMS IN HUC 040700070303   AU SABLE
   MI      MI040700070305-01   RIVERS/STREAMS IN HUC 040700070305   AU SABLE
   MI      MI040700070306-02   RIVERS/STREAMS IN HUC 040700070306   AU SABLE
   MI      MI040700070309-01   RIVERS/STREAMS IN HUC 040700070309   AU SABLE
   MI      MI040700070402-01   RIVERS/STREAMS IN HUC 040700070402   AU SABLE
   MI      MI040700070405-01   RIVERS/STREAMS IN HUC 040700070405   AU SABLE
   MI      MI040700070406-01   RIVERS/STREAMS IN HUC 040700070406   AU SABLE
   MI      MI040700070501-02   RIVERS/STREAMS IN HUC 040700070501   AU SABLE
   MI      MI040700070501-04   RIVERS/STREAMS IN HUC 040700070501   AU SABLE
   MI      MI040700070502-01   RIVERS/STREAMS IN HUC 040700070502   AU SABLE
   MI      MI040700070502-04   RIVERS/STREAMS IN HUC 040700070502   AU SABLE
   MI      MI040700070503-01   RIVERS/STREAMS IN HUC 040700070503   AU SABLE
   MI      MI040700070504-01   RIVERS/STREAMS IN HUC 040700070504   AU SABLE
   MI      MI040700070504-02   RIVERS/STREAMS IN HUC 040700070504   AU SABLE
   MI      MI040700070504-04   RIVERS/STREAMS IN HUC 040700070504   AU SABLE
   MI      MI040700070505-01   RIVERS/STREAMS IN HUC 040700070505   AU SABLE
   MI      MI040700070505-02   RIVERS/STREAMS IN HUC 040700070505   AU SABLE
   MI      MI040700070602-01   RIVERS/STREAMS IN HUC 040700070602   AU SABLE
   MI      MI040700070602-02   RIVERS/STREAMS IN HUC 040700070602   AU SABLE
   MI      MI040700070603-01   RIVERS/STREAMS IN HUC 040700070603   AU SABLE
   MI      MI040700070603-02   RIVERS/STREAMS IN HUC 040700070603   AU SABLE




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040700070603-03   RIVERS/STREAMS IN HUC 040700070603   AU SABLE
   MI      MI040700070604-02   RIVERS/STREAMS IN HUC 040700070604   AU SABLE
   MI      MI041000020306-01   RIVERS/STREAMS IN HUC 041000020306   RAISIN
   MI      MI041000020306-02   RIVERS/STREAMS IN HUC 041000020306   RAISIN
   MI      MI041000020307-01   RIVERS/STREAMS IN HUC 041000020307   RAISIN
   MI      MI041000020307-02   RIVERS/STREAMS IN HUC 041000020307   RAISIN
   MI      MI041000020308-02   RIVERS/STREAMS IN HUC 041000020308   RAISIN
   MI      MI041000020309-01   RIVERS/STREAMS IN HUC 041000020309   RAISIN
   MI      MI041000020310-02   RIVERS/STREAMS IN HUC 041000020310   RAISIN
   MI      MI041000020401-01   RIVERS/STREAMS IN HUC 041000020401   RAISIN
   MI      MI041000020402-01   RIVERS/STREAMS IN HUC 041000020402   RAISIN
   MI      MI041000020404-01   RIVERS/STREAMS IN HUC 041000020404   RAISIN
   MI      MI041000020405-01   RIVERS/STREAMS IN HUC 041000020405   RAISIN
   MI      MI041000020406-01   RIVERS/STREAMS IN HUC 041000020406   RAISIN
   MI      MI040802050106-01   RIVERS/STREAMS IN HUC 040802050106   CASS
   MI      MI040802050106-03   RIVERS/STREAMS IN HUC 040802050106   CASS
   MI      MI040802050107-01   RIVERS/STREAMS IN HUC 040802050107   CASS
   MI      MI040802050108-01   RIVERS/STREAMS IN HUC 040802050108   CASS
   MI      MI040601020901-01   RIVERS/STREAMS IN HUC 040601020901   MUSKEGON
   MI      MI040601020903-03   RIVERS/STREAMS IN HUC 040601020903   MUSKEGON
   MI      MI040601020904-01   RIVERS/STREAMS IN HUC 040601020904   MUSKEGON
   MI      MI040601020904-02   RIVERS/STREAMS IN HUC 040601020904   MUSKEGON
   MI      MI040601020904-06   RIVERS/STREAMS IN HUC 040601020904   MUSKEGON
   MI      MI040601020905-04   RIVERS/STREAMS IN HUC 040601020905   MUSKEGON
   MI      MI040601020905-11   RIVERS/STREAMS IN HUC 040601020905   MUSKEGON
   MI      MI040601020906-01   RIVERS/STREAMS IN HUC 040601020906   MUSKEGON
   MI      MI040601020906-02   RIVERS/STREAMS IN HUC 040601020906   MUSKEGON
   MI      MI040601020906-03   RIVERS/STREAMS IN HUC 040601020906   MUSKEGON
   MI      MI040601020906-04   RIVERS/STREAMS IN HUC 040601020906   MUSKEGON
   MI      MI040601021001-03   RIVERS/STREAMS IN HUC 040601021001   MUSKEGON
   MI      MI040601021002-04   RIVERS/STREAMS IN HUC 040601021002   MUSKEGON
   MI      MI040601021002-05   RIVERS/STREAMS IN HUC 040601021002   MUSKEGON
   MI      MI040601021003-07   RIVERS/STREAMS IN HUC 040601021003   MUSKEGON
   MI      MI040601021003-08   RIVERS/STREAMS IN HUC 040601021003   MUSKEGON
   MI      MI040700070605-01   RIVERS/STREAMS IN HUC 040700070605   AU SABLE
   MI      MI040700070606-02   RIVERS/STREAMS IN HUC 040700070606   AU SABLE
   MI      MI040700070607-01   RIVERS/STREAMS IN HUC 040700070607   AU SABLE
   MI      MI040700070608-01   RIVERS/STREAMS IN HUC 040700070608   AU SABLE
   MI      MI040700070608-02   RIVERS/STREAMS IN HUC 040700070608   AU SABLE
   MI      MI040700070609-01   RIVERS/STREAMS IN HUC 040700070609   AU SABLE
   MI      MI040700070609-02   RIVERS/STREAMS IN HUC 040700070609   AU SABLE
   MI      MI040700070609-03   RIVERS/STREAMS IN HUC 040700070609   AU SABLE
   MI      MI040700070702-01   RIVERS/STREAMS IN HUC 040700070702   AU SABLE
   MI      MI040700070703-01   RIVERS/STREAMS IN HUC 040700070703   AU SABLE
   MI      MI040700070704-02   RIVERS/STREAMS IN HUC 040700070704   AU SABLE
   MI      MI040700070704-04   RIVERS/STREAMS IN HUC 040700070704   AU SABLE
   MI      MI040700070705-02   RIVERS/STREAMS IN HUC 040700070705   AU SABLE
   MI      MI040700070706-02   RIVERS/STREAMS IN HUC 040700070706   AU SABLE
   MI      MI040700070706-04   RIVERS/STREAMS IN HUC 040700070706   AU SABLE
   MI      MI040700070707-01   RIVERS/STREAMS IN HUC 040700070707   AU SABLE
   MI      MI040700070708-02   RIVERS/STREAMS IN HUC 040700070708   AU SABLE
   MI      MI040700070709-01   RIVERS/STREAMS IN HUC 040700070709   AU SABLE
   MI      MI040801010412-01   RIVERS/STREAMS IN HUC 040801010412   AU GRES - RIFFLE
   MI      MI040801010412-03   RIVERS/STREAMS IN HUC 040801010412   AU GRES - RIFFLE
   MI      MI040801010502-01   RIVERS/STREAMS IN HUC 040801010502   AU GRES - RIFFLE




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040802050109-01   RIVERS/STREAMS IN HUC 040802050109   CASS
   MI      MI040802050110-01   RIVERS/STREAMS IN HUC 040802050110   CASS
   MI      MI040802050201-01   RIVERS/STREAMS IN HUC 040802050201   CASS
   MI      MI040802050202-01   RIVERS/STREAMS IN HUC 040802050202   CASS
   MI      MI040802050203-02   RIVERS/STREAMS IN HUC 040802050203   CASS
   MI      MI040802050204-01   RIVERS/STREAMS IN HUC 040802050204   CASS
   MI      MI040802050204-02   RIVERS/STREAMS IN HUC 040802050204   CASS
   MI      MI040700040402-01   RIVERS/STREAMS IN HUC 040700040402   CHEBOYGAN
   MI      MI040700040402-02   RIVERS/STREAMS IN HUC 040700040402   CHEBOYGAN
   MI      MI040700040403-01   RIVERS/STREAMS IN HUC 040700040403   CHEBOYGAN
   MI      MI040700040404-01   RIVERS/STREAMS IN HUC 040700040404   CHEBOYGAN
   MI      MI040700040404-02   RIVERS/STREAMS IN HUC 040700040404   CHEBOYGAN
   MI      MI040700050101-01   RIVERS/STREAMS IN HUC 040700050101   BLACK
   MI      MI040700050102-01   RIVERS/STREAMS IN HUC 040700050102   BLACK
   MI      MI040700050203-01   RIVERS/STREAMS IN HUC 040700050203   BLACK
   MI      MI040700050204-01   RIVERS/STREAMS IN HUC 040700050204   BLACK
   MI      MI040700050205-01   RIVERS/STREAMS IN HUC 040700050205   BLACK
   MI      MI040700050206-01   RIVERS/STREAMS IN HUC 040700050206   BLACK
   MI      MI040700050208-02   RIVERS/STREAMS IN HUC 040700050208   BLACK
   MI      MI040700050210-01   RIVERS/STREAMS IN HUC 040700050210   BLACK
   MI      MI040700050212-01   RIVERS/STREAMS IN HUC 040700050212   BLACK
   MI      MI040700050213-01   RIVERS/STREAMS IN HUC 040700050213   BLACK
   MI      MI040700050213-02   RIVERS/STREAMS IN HUC 040700050213   BLACK
   MI      MI040700050302-02   RIVERS/STREAMS IN HUC 040700050302   BLACK
   MI      MI040700050303-02   RIVERS/STREAMS IN HUC 040700050303   BLACK
   MI      MI040700050304-01   RIVERS/STREAMS IN HUC 040700050304   BLACK
   MI      MI040802010304-01   RIVERS/STREAMS IN HUC 040802010304   TITTABAWASSEE
   MI      MI040802010305-01   RIVERS/STREAMS IN HUC 040802010305   TITTABAWASSEE
   MI      MI040802010305-02   RIVERS/STREAMS IN HUC 040802010305   TITTABAWASSEE
   MI      MI040802010306-01   RIVERS/STREAMS IN HUC 040802010306   TITTABAWASSEE
   MI      MI040802010307-01   RIVERS/STREAMS IN HUC 040802010307   TITTABAWASSEE
   MI      MI040802010307-02   RIVERS/STREAMS IN HUC 040802010307   TITTABAWASSEE
   MI      MI040802010308-01   RIVERS/STREAMS IN HUC 040802010308   TITTABAWASSEE
   MI      MI040802010309-02   RIVERS/STREAMS IN HUC 040802010309   TITTABAWASSEE
   MI      MI040802010402-01   RIVERS/STREAMS IN HUC 040802010402   TITTABAWASSEE
   MI      MI040802010402-02   RIVERS/STREAMS IN HUC 040802010402   TITTABAWASSEE
   MI      MI040802010403-01   RIVERS/STREAMS IN HUC 040802010403   TITTABAWASSEE
   MI      MI040700060306-01   RIVERS/STREAMS IN HUC 040700060306   THUNDER BAY
   MI      MI040500012201-01   RIVERS/STREAMS IN HUC 040500012201   ST. JOSEPH
   MI      MI040500012209-02   RIVERS/STREAMS IN HUC 040500012209   ST. JOSEPH
   MI      MI040500012210-01   RIVERS/STREAMS IN HUC 040500012210   ST. JOSEPH
   MI      MI040500070304-01   RIVERS/STREAMS IN HUC 040500070304   THORNAPPLE
   MI      MI040500070306-01   RIVERS/STREAMS IN HUC 040500070306   THORNAPPLE
   MI      MI040500070306-02   RIVERS/STREAMS IN HUC 040500070306   THORNAPPLE
   MI      MI040500012509-02   RIVERS/STREAMS IN HUC 040500012509   ST. JOSEPH
   MI      MI040500020402-02   RIVERS/STREAMS IN HUC 040500020402   BLACK - MACATAWA
   MI      MI040500060703-01   RIVERS/STREAMS IN HUC 040500060703   LOWER GRAND
   MI      MI040500010406-01   RIVERS/STREAMS IN HUC 040500010406   ST. JOSEPH
   MI      MI040500010506-05   RIVERS/STREAMS IN HUC 040500010506   ST. JOSEPH
   MI      MI040500010603-01   RIVERS/STREAMS IN HUC 040500010603   ST. JOSEPH
   MI      MI040500060709-01   RIVERS/STREAMS IN HUC 040500060709   LOWER GRAND
   MI      MI040500070103-01   RIVERS/STREAMS IN HUC 040500070103   THORNAPPLE
   MI      MI040500070104-01   RIVERS/STREAMS IN HUC 040500070104   THORNAPPLE
   MI      MI040500070105-01   RIVERS/STREAMS IN HUC 040500070105   THORNAPPLE
   MI      MI040500070201-03   RIVERS/STREAMS IN HUC 040500070201   THORNAPPLE




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040500070208-01   RIVERS/STREAMS IN HUC 040500070208   THORNAPPLE
   MI      MI040500070209-02   RIVERS/STREAMS IN HUC 040500070209   THORNAPPLE
   MI      MI040500012302-01   RIVERS/STREAMS IN HUC 040500012302   ST. JOSEPH
   MI      MI040500012305-01   RIVERS/STREAMS IN HUC 040500012305   ST. JOSEPH
   MI      MI040500012307-01   RIVERS/STREAMS IN HUC 040500012307   ST. JOSEPH
   MI      MI040500012401-01   RIVERS/STREAMS IN HUC 040500012401   ST. JOSEPH
   MI      MI040500012405-08   RIVERS/STREAMS IN HUC 040500012405   ST. JOSEPH
   MI      MI040500012503-03   RIVERS/STREAMS IN HUC 040500012503   ST. JOSEPH
   MI      MI040500012505-02   RIVERS/STREAMS IN HUC 040500012505   ST. JOSEPH
   MI      MI040500030301-01   RIVERS/STREAMS IN HUC 040500030301   KALAMAZOO
   MI      MI040500030301-02   RIVERS/STREAMS IN HUC 040500030301   KALAMAZOO
   MI      MI040500030305-01   RIVERS/STREAMS IN HUC 040500030305   KALAMAZOO
   MI      MI040500030306-02   RIVERS/STREAMS IN HUC 040500030306   KALAMAZOO
   MI      MI040500030307-02   RIVERS/STREAMS IN HUC 040500030307   KALAMAZOO
   MI      MI040500030308-03   RIVERS/STREAMS IN HUC 040500030308   KALAMAZOO
   MI      MI040500030311-03   RIVERS/STREAMS IN HUC 040500030311   KALAMAZOO
   MI      MI040500030312-02   RIVERS/STREAMS IN HUC 040500030312   KALAMAZOO
   MI      MI040500040603-03   RIVERS/STREAMS IN HUC 040500040603   UPPER GRAND
   MI      MI040500040609-01   RIVERS/STREAMS IN HUC 040500040609   UPPER GRAND
   MI      MI040500040612-01   RIVERS/STREAMS IN HUC 040500040612   UPPER GRAND
   MI      MI040500040503-03   RIVERS/STREAMS IN HUC 040500040503   UPPER GRAND
   MI      MI040500050401-02   RIVERS/STREAMS IN HUC 040500050401   MAPLE
   MI      MI040500050406-03   RIVERS/STREAMS IN HUC 040500050406   MAPLE
   MI      MI040500060102-02   RIVERS/STREAMS IN HUC 040500060102   LOWER GRAND
   MI      MI040500060402-01   RIVERS/STREAMS IN HUC 040500060402   LOWER GRAND
   MI      MI040500060403-02   RIVERS/STREAMS IN HUC 040500060403   LOWER GRAND
   MI      MI040500060406-02   RIVERS/STREAMS IN HUC 040500060406   LOWER GRAND
   MI      MI040500060406-03   RIVERS/STREAMS IN HUC 040500060406   LOWER GRAND
   MI      MI040500060406-05   RIVERS/STREAMS IN HUC 040500060406   LOWER GRAND
   MI      MI040500060406-10   RIVERS/STREAMS IN HUC 040500060406   LOWER GRAND
   MI      MI040500060407-01   RIVERS/STREAMS IN HUC 040500060407   LOWER GRAND
   MI      MI040500060503-04   RIVERS/STREAMS IN HUC 040500060503   LOWER GRAND
   MI      MI040500060506-01   RIVERS/STREAMS IN HUC 040500060506   LOWER GRAND
   MI      MI040500060506-02   RIVERS/STREAMS IN HUC 040500060506   LOWER GRAND
   MI      MI040500060507-04   RIVERS/STREAMS IN HUC 040500060507   LOWER GRAND
   MI      MI040500060508-01   RIVERS/STREAMS IN HUC 040500060508   LOWER GRAND
   MI      MI040500010404-05   RIVERS/STREAMS IN HUC 040500010404   ST. JOSEPH
   MI      MI040500070407-01   RIVERS/STREAMS IN HUC 040500070407   THORNAPPLE
   MI      MI040500070407-04   RIVERS/STREAMS IN HUC 040500070407   THORNAPPLE
   MI      MI040500070408-01   RIVERS/STREAMS IN HUC 040500070408   THORNAPPLE
   MI      MI040601010202-01   RIVERS/STREAMS IN HUC 040601010202   PERE MARQUETTE
   MI      MI040601010304-01   RIVERS/STREAMS IN HUC 040601010304
   MI      MI040601010402-01   RIVERS/STREAMS IN HUC 040601010402
   MI      MI040301100202-01   RIVERS/STREAMS IN HUC 040301100202   ESCANABA
   MI      MI040301100303-01   RIVERS/STREAMS IN HUC 040301100303   ESCANABA
   MI      MI040500060202-05   RIVERS/STREAMS IN HUC 040500060202   LOWER GRAND
   MI      MI040500060203-01   RIVERS/STREAMS IN HUC 040500060203   LOWER GRAND
   MI      MI040500060204-01   RIVERS/STREAMS IN HUC 040500060204   LOWER GRAND
   MI      MI040500030407-02   RIVERS/STREAMS IN HUC 040500030407   KALAMAZOO
   MI      MI040500030408-03   RIVERS/STREAMS IN HUC 040500030408   KALAMAZOO
   MI      MI040500030409-02   RIVERS/STREAMS IN HUC 040500030409   KALAMAZOO
   MI      MI040500030504-01   RIVERS/STREAMS IN HUC 040500030504   KALAMAZOO
   MI      MI040500030504-02   RIVERS/STREAMS IN HUC 040500030504   KALAMAZOO
   MI      MI040500030504-03   RIVERS/STREAMS IN HUC 040500030504   KALAMAZOO
   MI      MI040500030507-06   RIVERS/STREAMS IN HUC 040500030507   KALAMAZOO




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040500030602-01   RIVERS/STREAMS IN HUC 040500030602   KALAMAZOO
   MI      MI040500010205-01   RIVERS/STREAMS IN HUC 040500010205   ST. JOSEPH
   MI      MI040500010206-01   RIVERS/STREAMS IN HUC 040500010206   ST. JOSEPH
   MI      MI040500010305-01   RIVERS/STREAMS IN HUC 040500010305   ST. JOSEPH
   MI      MI040500040707-01   RIVERS/STREAMS IN HUC 040500040707   UPPER GRAND
   MI      MI040500040709-01   RIVERS/STREAMS IN HUC 040500040709   UPPER GRAND
   MI      MI040500040710-01   RIVERS/STREAMS IN HUC 040500040710   UPPER GRAND
   MI      MI040500040710-02   RIVERS/STREAMS IN HUC 040500040710   UPPER GRAND
   MI      MI040500050105-03   RIVERS/STREAMS IN HUC 040500050105   MAPLE
   MI      MI040301080702-03   RIVERS/STREAMS IN HUC 040301080702   MENOMINEE
   MI      MI040301080705-01   RIVERS/STREAMS IN HUC 040301080705   MENOMINEE
   MI      MI040301080710-01   RIVERS/STREAMS IN HUC 040301080710   MENOMINEE
   MI      MI040301080711-02   RIVERS/STREAMS IN HUC 040301080711   MENOMINEE
   MI      MI040500060206-02   RIVERS/STREAMS IN HUC 040500060206   LOWER GRAND
   MI      MI040500060302-02   RIVERS/STREAMS IN HUC 040500060302   LOWER GRAND
   MI      MI040500060304-01   RIVERS/STREAMS IN HUC 040500060304   LOWER GRAND
   MI      MI040500060308-04   RIVERS/STREAMS IN HUC 040500060308   LOWER GRAND
   MI      MI040500060311-01   RIVERS/STREAMS IN HUC 040500060311   LOWER GRAND
   MI      MI040500060312-02   RIVERS/STREAMS IN HUC 040500060312   LOWER GRAND
   MI      MI040500060313-01   RIVERS/STREAMS IN HUC 040500060313   LOWER GRAND
   MI      MI040201020401-01   RIVERS/STREAMS IN HUC 040201020401   ONTONAGON
   MI      MI040202010101-05   RIVERS/STREAMS IN HUC 040202010101   BETSY-CHOCOLAY
   MI      MI040301100307-01   RIVERS/STREAMS IN HUC 040301100307   ESCANABA
   MI      MI040400010101-01   RIVERS/STREAMS IN HUC 040400010101   LITTLE CALUMET - GALIEN
   MI      MI040500010108-01   RIVERS/STREAMS IN HUC 040500010108   ST. JOSEPH
   MI      MI040601020601-01   RIVERS/STREAMS IN HUC 040601020601   MUSKEGON
   MI      MI040601020602-01   RIVERS/STREAMS IN HUC 040601020602   MUSKEGON
   MI      MI040601020605-01   RIVERS/STREAMS IN HUC 040601020605   MUSKEGON
   MI      MI040301080803-01   RIVERS/STREAMS IN HUC 040301080803   MENOMINEE
   MI      MI040301080912-02   RIVERS/STREAMS IN HUC 040301080912   MENOMINEE
   MI      MI040601020803-02   RIVERS/STREAMS IN HUC 040601020803   MUSKEGON
   MI      MI040601020810-02   RIVERS/STREAMS IN HUC 040601020810   MUSKEGON
   MI      MI040202020102-02   RIVERS/STREAMS IN HUC 040202020102   TAHQUAMENON
   MI      MI040202020103-02   RIVERS/STREAMS IN HUC 040202020103   TAHQUAMENON
   MI      MI040202020105-04   RIVERS/STREAMS IN HUC 040202020105   TAHQUAMENON
   MI      MI040202020204-01   RIVERS/STREAMS IN HUC 040202020204   TAHQUAMENON
   MI      MI040601010509-06   RIVERS/STREAMS IN HUC 040601010509   PERE MARQUETTE
   MI      MI040601020101-01   RIVERS/STREAMS IN HUC 040601020101   MUSKEGON
   MI      MI040601020102-01   RIVERS/STREAMS IN HUC 040601020102   MUSKEGON
   MI      MI040601020203-01   RIVERS/STREAMS IN HUC 040601020203   MUSKEGON
   MI      MI040601020203-02   RIVERS/STREAMS IN HUC 040601020203   MUSKEGON
   MI      MI040601020207-01   RIVERS/STREAMS IN HUC 040601020207   MUSKEGON
   MI      MI040601020207-02   RIVERS/STREAMS IN HUC 040601020207   MUSKEGON
   MI      MI040601020208-02   RIVERS/STREAMS IN HUC 040601020208   MUSKEGON
   MI      MI040601020303-01   RIVERS/STREAMS IN HUC 040601020303   MUSKEGON
   MI      MI040601020309-01   RIVERS/STREAMS IN HUC 040601020309   MUSKEGON
   MI      MI040201020107-01   RIVERS/STREAMS IN HUC 040201020107   ONTONAGON
   MI      MI040201020108-02   RIVERS/STREAMS IN HUC 040201020108   ONTONAGON
   MI      MI040601020401-01   RIVERS/STREAMS IN HUC 040601020401   MUSKEGON
   MI      MI040601020406-02   RIVERS/STREAMS IN HUC 040601020406   MUSKEGON
   MI      MI040201020305-02   RIVERS/STREAMS IN HUC 040201020305   ONTONAGON
   MI      MI040201020308-02   RIVERS/STREAMS IN HUC 040201020308   ONTONAGON
   MI      MI040601020607-02   RIVERS/STREAMS IN HUC 040601020607   MUSKEGON
   MI      MI040202020304-01   RIVERS/STREAMS IN HUC 040202020304   TAHQUAMENON
   MI      MI040202020501-01   RIVERS/STREAMS IN HUC 040202020501   TAHQUAMENON




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040301080305-02   RIVERS/STREAMS IN HUC 040301080305   MENOMINEE
   MI      MI040301080307-01   RIVERS/STREAMS IN HUC 040301080307   MENOMINEE
   MI      MI040601010405-01   RIVERS/STREAMS IN HUC 040601010405
   MI      MI040601010509-02   RIVERS/STREAMS IN HUC 040601010509
   MI      MI040601060506-01   RIVERS/STREAMS IN HUC 040601060506   MANISTIQUE
   MI      MI040700020201-01   RIVERS/STREAMS IN HUC 040700020201   CARP-PINE
   MI      MI040700020207-01   RIVERS/STREAMS IN HUC 040700020207   CARP-PINE
   MI      MI040802040202-03   RIVERS/STREAMS IN HUC 040802040202   FLINT
   MI      MI040802040207-01   RIVERS/STREAMS IN HUC 040802040207   FLINT
   MI      MI040802040303-01   RIVERS/STREAMS IN HUC 040802040303   FLINT
   MI      MI040802040303-07   RIVERS/STREAMS IN HUC 040802040303   FLINT
   MI      MI040700060405-01   RIVERS/STREAMS IN HUC 040700060405   THUNDER BAY
   MI      MI040601030306-04   RIVERS/STREAMS IN HUC 040601030306   MANISTEE
   MI      MI040601030310-05   RIVERS/STREAMS IN HUC 040601030310   MANISTEE
   MI      MI040601030401-03   RIVERS/STREAMS IN HUC 040601030401   MANISTEE
   MI      MI040601030401-04   RIVERS/STREAMS IN HUC 040601030401   MANISTEE
   MI      MI040601030402-03   RIVERS/STREAMS IN HUC 040601030402   MANISTEE
   MI      MI040601030405-02   RIVERS/STREAMS IN HUC 040601030405   MANISTEE
   MI      MI040601030502-01   RIVERS/STREAMS IN HUC 040601030502   MANISTEE
   MI      MI040802040409-03   RIVERS/STREAMS IN HUC 040802040409   FLINT
   MI      MI040802040501-01   RIVERS/STREAMS IN HUC 040802040501   FLINT
   MI      MI040802040501-03   RIVERS/STREAMS IN HUC 040802040501   FLINT
   MI      MI040802040504-01   RIVERS/STREAMS IN HUC 040802040504   FLINT
   MI      MI040802040504-02   RIVERS/STREAMS IN HUC 040802040504   FLINT
   MI      MI040802040506-02   RIVERS/STREAMS IN HUC 040802040506   FLINT
   MI      MI040700040101-01   RIVERS/STREAMS IN HUC 040700040101   CHEBOYGAN
   MI      MI040700040202-01   RIVERS/STREAMS IN HUC 040700040202   CHEBOYGAN
   MI      MI040601060202-01   RIVERS/STREAMS IN HUC 040601060202   MANISTIQUE
   MI      MI040601060202-05   RIVERS/STREAMS IN HUC 040601060202   MANISTIQUE
   MI      MI040601060306-01   RIVERS/STREAMS IN HUC 040601060306   MANISTIQUE
   MI      MI040601060307-02   RIVERS/STREAMS IN HUC 040601060307   MANISTIQUE
   MI      MI041000020106-01   RIVERS/STREAMS IN HUC 041000020106   RAISIN
   MI      MI041000020206-02   RIVERS/STREAMS IN HUC 041000020206   RAISIN
   MI      MI041000020302-01   RIVERS/STREAMS IN HUC 041000020302   RAISIN
   MI      MI041000020302-03   RIVERS/STREAMS IN HUC 041000020302   RAISIN
   MI      MI041000020302-05   RIVERS/STREAMS IN HUC 041000020302   RAISIN
   MI      MI041000020302-06   RIVERS/STREAMS IN HUC 041000020302   RAISIN
   MI      MI040700060304-01   RIVERS/STREAMS IN HUC 040700060304   THUNDER BAY
   MI      MI040601021004-07   RIVERS/STREAMS IN HUC 040601021004   MUSKEGON
   MI      MI040601030101-01   RIVERS/STREAMS IN HUC 040601030101   MANISTEE
   MI      MI040601030103-01   RIVERS/STREAMS IN HUC 040601030103   MANISTEE
   MI      MI040601030103-02   RIVERS/STREAMS IN HUC 040601030103   MANISTEE
   MI      MI040601030106-02   RIVERS/STREAMS IN HUC 040601030106   MANISTEE
   MI      MI040601030108-01   RIVERS/STREAMS IN HUC 040601030108   MANISTEE
   MI      MI040601030206-02   RIVERS/STREAMS IN HUC 040601030206   MANISTEE
   MI      MI040601030301-01   RIVERS/STREAMS IN HUC 040601030301   MANISTEE
   MI      MI040601030303-01   RIVERS/STREAMS IN HUC 040601030303   MANISTEE
   MI      MI040900050107-01   RIVERS/STREAMS IN HUC 040900050107   HURON
   MI      MI040900050111-01   RIVERS/STREAMS IN HUC 040900050111   HURON
   MI      MI040900050201-01   RIVERS/STREAMS IN HUC 040900050201   HURON
   MI      MI040900050202-02   RIVERS/STREAMS IN HUC 040900050202   HURON
   MI      MI040900050301-01   RIVERS/STREAMS IN HUC 040900050301   HURON
   MI      MI040900050303-01   RIVERS/STREAMS IN HUC 040900050303   HURON
   MI      MI040700040205-02   RIVERS/STREAMS IN HUC 040700040205   CHEBOYGAN
   MI      MI040700040206-01   RIVERS/STREAMS IN HUC 040700040206   CHEBOYGAN




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040700040303-01   RIVERS/STREAMS IN HUC 040700040303   CHEBOYGAN
   MI      MI040700040305-01   RIVERS/STREAMS IN HUC 040700040305   CHEBOYGAN
   MI      MI040601030604-01   RIVERS/STREAMS IN HUC 040601030604   MANISTEE
   MI      MI040601030701-01   RIVERS/STREAMS IN HUC 040601030701   MANISTEE
   MI      MI040601030701-02   RIVERS/STREAMS IN HUC 040601030701   MANISTEE
   MI      MI040601030702-02   RIVERS/STREAMS IN HUC 040601030702   MANISTEE
   MI      MI040601030702-03   RIVERS/STREAMS IN HUC 040601030702   MANISTEE
   MI      MI040601030703-01   RIVERS/STREAMS IN HUC 040601030703   MANISTEE
   MI      MI040601030703-02   RIVERS/STREAMS IN HUC 040601030703   MANISTEE
   MI      MI040601030703-03   RIVERS/STREAMS IN HUC 040601030703   MANISTEE
   MI      MI040601050503-01   RIVERS/STREAMS IN HUC 040601050503   BOARDMAN - CHARLEVOIX
   MI      MI040900040103-02   RIVERS/STREAMS IN HUC 040900040103   DETROIT
   MI      MI040900040202-02   RIVERS/STREAMS IN HUC 040900040202   DETROIT
   MI      MI040900040301-01   RIVERS/STREAMS IN HUC 040900040301   DETROIT
   MI      MI040900040302-01   RIVERS/STREAMS IN HUC 040900040302   DETROIT
   MI      MI040700060507-01   RIVERS/STREAMS IN HUC 040700060507   THUNDER BAY
   MI      MI040700070101-01   RIVERS/STREAMS IN HUC 040700070101   AU SABLE
   MI      MI040700070107-01   RIVERS/STREAMS IN HUC 040700070107   AU SABLE
   MI      MI040700070205-01   RIVERS/STREAMS IN HUC 040700070205   AU SABLE
   MI      MI040700070208-01   RIVERS/STREAMS IN HUC 040700070208   AU SABLE
   MI      MI040700070209-02   RIVERS/STREAMS IN HUC 040700070209   AU SABLE
   MI      MI040601060402-01   RIVERS/STREAMS IN HUC 040601060402   MANISTIQUE
   MI      MI040601060404-01   RIVERS/STREAMS IN HUC 040601060404   MANISTIQUE
   MI      MI040601060407-01   RIVERS/STREAMS IN HUC 040601060407   MANISTIQUE
   MI      MI040601060412-01   RIVERS/STREAMS IN HUC 040601060412   MANISTIQUE
   MI      MI040601060502-01   RIVERS/STREAMS IN HUC 040601060502   MANISTIQUE
   MI      MI040601060503-04   RIVERS/STREAMS IN HUC 040601060503   MANISTIQUE
   MI      MI040601060505-02   RIVERS/STREAMS IN HUC 040601060505   MANISTIQUE
   MI      MI041000020104-01   RIVERS/STREAMS IN HUC 041000020104   RAISIN
   MI      MI041000020105-01   RIVERS/STREAMS IN HUC 041000020105   RAISIN
   MI      MI040802020303-02   RIVERS/STREAMS IN HUC 040802020303   PINE
   MI      MI040802020402-01   RIVERS/STREAMS IN HUC 040802020402   PINE
   MI      MI040802020403-01   RIVERS/STREAMS IN HUC 040802020403   PINE
   MI      MI040802020403-02   RIVERS/STREAMS IN HUC 040802020403   PINE
   MI      MI040802030410-05   RIVERS/STREAMS IN HUC 040802030410   SHIAWASSEE
   MI      MI040802040101-01   RIVERS/STREAMS IN HUC 040802040101   FLINT
   MI      MI040802040103-02   RIVERS/STREAMS IN HUC 040802040103   FLINT
   MI      MI040802040106-01   RIVERS/STREAMS IN HUC 040802040106   FLINT
   MI      MI040900040406-01   RIVERS/STREAMS IN HUC 040900040406   DETROIT
   MI      MI040802030203-02   RIVERS/STREAMS IN HUC 040802030203   SHIAWASSEE
   MI      MI040802030208-01   RIVERS/STREAMS IN HUC 040802030208   SHIAWASSEE
   MI      MI040802030208-03   RIVERS/STREAMS IN HUC 040802030208   SHIAWASSEE
   MI      MI040802030305-01   RIVERS/STREAMS IN HUC 040802030305   SHIAWASSEE
   MI      MI040900010305-01   RIVERS/STREAMS IN HUC 040900010305   ST. CLAIR
   MI      MI040900050307-05   RIVERS/STREAMS IN HUC 040900050307   HURON
   MI      MI040900050308-01   RIVERS/STREAMS IN HUC 040900050308   HURON
   MI      MI040900050309-02   RIVERS/STREAMS IN HUC 040900050309   HURON
   MI      MI040900050309-04   RIVERS/STREAMS IN HUC 040900050309   HURON
   MI      MI040900050402-02   RIVERS/STREAMS IN HUC 040900050402   HURON
   MI      MI040900050402-03   RIVERS/STREAMS IN HUC 040900050402   HURON
   MI      MI040500040103-05   RIVERS/STREAMS IN HUC 040500040103   UPPER GRAND
   MI      MI040900030302-01   RIVERS/STREAMS IN HUC 040900030302   CLINTON
   MI      MI040900030307-02   RIVERS/STREAMS IN HUC 040900030307   CLINTON
   MI      MI040900030310-01   RIVERS/STREAMS IN HUC 040900030310   CLINTON
   MI      MI040500030805-02   RIVERS/STREAMS IN HUC 040500030805   KALAMAZOO




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040500030808-02   RIVERS/STREAMS IN HUC 040500030808   KALAMAZOO
   MI      MI040802030402-01   RIVERS/STREAMS IN HUC 040802030402   SHIAWASSEE
   MI      MI040802030405-01   RIVERS/STREAMS IN HUC 040802030405   SHIAWASSEE
   MI      MI040802030407-04   RIVERS/STREAMS IN HUC 040802030407   SHIAWASSEE
   MI      MI040802030407-05   RIVERS/STREAMS IN HUC 040802030407   SHIAWASSEE
   MI      MI040802030408-01   RIVERS/STREAMS IN HUC 040802030408   SHIAWASSEE
   MI      MI040900010102-02   RIVERS/STREAMS IN HUC 040900010102   ST. CLAIR
   MI      MI040802020104-02   RIVERS/STREAMS IN HUC 040802020104   PINE
   MI      MI040802020204-05   RIVERS/STREAMS IN HUC 040802020204   PINE
   MI      MI040802020205-01   RIVERS/STREAMS IN HUC 040802020205   PINE
   MI      MI040802020205-03   RIVERS/STREAMS IN HUC 040802020205   PINE
   MI      MI040802020207-05   RIVERS/STREAMS IN HUC 040802020207   PINE
   MI      MI040802050206-01   RIVERS/STREAMS IN HUC 040802050206   CASS
   MI      MI040500030902-02   RIVERS/STREAMS IN HUC 040500030902   KALAMAZOO
   MI      MI040500030904-03   RIVERS/STREAMS IN HUC 040500030904   KALAMAZOO
   MI      MI040500030908-07   RIVERS/STREAMS IN HUC 040500030908   KALAMAZOO
   MI      MI040500030909-01   RIVERS/STREAMS IN HUC 040500030909   KALAMAZOO
   MI      MI040802010201-02   RIVERS/STREAMS IN HUC 040802010201   TITTABAWASSEE
   MI      MI040802010201-03   RIVERS/STREAMS IN HUC 040802010201   TITTABAWASSEE
   MI      MI040900030109-01   RIVERS/STREAMS IN HUC 040900030109   CLINTON
   MI      MI040900030110-01   RIVERS/STREAMS IN HUC 040900030110   CLINTON
   MI      MI040900030201-01   RIVERS/STREAMS IN HUC 040900030201   CLINTON
   MI      MI040900030202-01   RIVERS/STREAMS IN HUC 040900030202   CLINTON
   MI      MI040500030606-01   RIVERS/STREAMS IN HUC 040500030606   KALAMAZOO
   MI      MI040500030702-03   RIVERS/STREAMS IN HUC 040500030702   KALAMAZOO
   MI      MI040500030702-06   RIVERS/STREAMS IN HUC 040500030702   KALAMAZOO
   MI      MI040500030702-09   RIVERS/STREAMS IN HUC 040500030702   KALAMAZOO
   MI      MI040500030801-02   RIVERS/STREAMS IN HUC 040500030801   KALAMAZOO
   MI      MI040802010405-01   RIVERS/STREAMS IN HUC 040802010405   TITTABAWASSEE
   MI      MI040802010406-02   RIVERS/STREAMS IN HUC 040802010406   TITTABAWASSEE
   MI      MI040802010408-02   RIVERS/STREAMS IN HUC 040802010408   TITTABAWASSEE
   MI      MI040802010504-01   RIVERS/STREAMS IN HUC 040802010504   TITTABAWASSEE
   MI      MI040500040303-01   RIVERS/STREAMS IN HUC 040500040303   UPPER GRAND
   MI      MI040500040305-01   RIVERS/STREAMS IN HUC 040500040305   UPPER GRAND
   MI      MI040500040401-01   RIVERS/STREAMS IN HUC 040500040401   UPPER GRAND
   MI      MI040500040405-01   RIVERS/STREAMS IN HUC 040500040405   UPPER GRAND
   MI      MI040500040406-01   RIVERS/STREAMS IN HUC 040500040406   UPPER GRAND
   MI      MI040700070308-01   RIVERS/STREAMS IN HUC 040700070308   AU SABLE
   MI      MI040700070401-01   RIVERS/STREAMS IN HUC 040700070401   AU SABLE
   MI      MI040700070403-01   RIVERS/STREAMS IN HUC 040700070403   AU SABLE
   MI      MI040700070404-01   RIVERS/STREAMS IN HUC 040700070404   AU SABLE
   MI      MI040700070501-01   RIVERS/STREAMS IN HUC 040700070501   AU SABLE
   MI      MI040700070601-01   RIVERS/STREAMS IN HUC 040700070601   AU SABLE
   MI      MI041000020403-01   RIVERS/STREAMS IN HUC 041000020403   RAISIN
   MI      MI040802050106-02   RIVERS/STREAMS IN HUC 040802050106   CASS
   MI      MI040601020905-01   RIVERS/STREAMS IN HUC 040601020905   MUSKEGON
   MI      MI040601020905-06   RIVERS/STREAMS IN HUC 040601020905   MUSKEGON
   MI      MI040700070604-03   RIVERS/STREAMS IN HUC 040700070604   AU SABLE
   MI      MI040802050203-01   RIVERS/STREAMS IN HUC 040802050203   CASS
   MI      MI040700050103-01   RIVERS/STREAMS IN HUC 040700050103   BLACK
   MI      MI040700050104-02   RIVERS/STREAMS IN HUC 040700050104   BLACK
   MI      MI040700050201-01   RIVERS/STREAMS IN HUC 040700050201   BLACK
   MI      MI040700050202-01   RIVERS/STREAMS IN HUC 040700050202   BLACK
   MI      MI040700050211-01   RIVERS/STREAMS IN HUC 040700050211   BLACK
   MI      MI040700050301-01   RIVERS/STREAMS IN HUC 040700050301   BLACK




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040802010303-02   RIVERS/STREAMS IN HUC 040802010303   TITTABAWASSEE
   MI      MI040802010309-01   RIVERS/STREAMS IN HUC 040802010309   TITTABAWASSEE
   MI      MI040802010401-01   RIVERS/STREAMS IN HUC 040802010401   TITTABAWASSEE
   MI      MI040500012004-01   RIVERS/STREAMS IN HUC 040500012004   ST. JOSEPH
   MI      MI040500070303-02   RIVERS/STREAMS IN HUC 040500070303   THORNAPPLE
   MI      MI040500070305-02   RIVERS/STREAMS IN HUC 040500070305   THORNAPPLE
   MI      MI040500012608-02   RIVERS/STREAMS IN HUC 040500012608   ST. JOSEPH
   MI      MI040500060602-01   RIVERS/STREAMS IN HUC 040500060602   LOWER GRAND
   MI      MI040500010502-01   RIVERS/STREAMS IN HUC 040500010502   ST. JOSEPH
   MI      MI040500010602-01   RIVERS/STREAMS IN HUC 040500010602   ST. JOSEPH
   MI      MI040500070105-02   RIVERS/STREAMS IN HUC 040500070105   THORNAPPLE
   MI      MI040500012405-09   RIVERS/STREAMS IN HUC 040500012405   ST. JOSEPH
   MI      MI040500030202-01   RIVERS/STREAMS IN HUC 040500030202   KALAMAZOO
   MI      MI040500030203-01   RIVERS/STREAMS IN HUC 040500030203   KALAMAZOO
   MI      MI040500030310-02   RIVERS/STREAMS IN HUC 040500030310   KALAMAZOO
   MI      MI040500030311-01   RIVERS/STREAMS IN HUC 040500030311   KALAMAZOO
   MI      MI040500040603-02   RIVERS/STREAMS IN HUC 040500040603   UPPER GRAND
   MI      MI040500010703-03   RIVERS/STREAMS IN HUC 040500010703   ST. JOSEPH
   MI      MI040500010806-02   RIVERS/STREAMS IN HUC 040500010806   ST. JOSEPH
   MI      MI040500050306-03   RIVERS/STREAMS IN HUC 040500050306   MAPLE
   MI      MI040500050401-01   RIVERS/STREAMS IN HUC 040500050401   MAPLE
   MI      MI040500050501-02   RIVERS/STREAMS IN HUC 040500050501   MAPLE
   MI      MI040500060406-01   RIVERS/STREAMS IN HUC 040500060406   LOWER GRAND
   MI      MI040500060503-03   RIVERS/STREAMS IN HUC 040500060503   LOWER GRAND
   MI      MI040500060509-01   RIVERS/STREAMS IN HUC 040500060509   LOWER GRAND
   MI      MI040500070408-02   RIVERS/STREAMS IN HUC 040500070408   THORNAPPLE
   MI      MI040601010401-02   RIVERS/STREAMS IN HUC 040601010401
   MI      MI040601010402-04   RIVERS/STREAMS IN HUC 040601010402
   MI      MI040301100108-01   RIVERS/STREAMS IN HUC 040301100108   ESCANABA
   MI      MI040301100108-02   RIVERS/STREAMS IN HUC 040301100108   ESCANABA
   MI      MI040301100205-01   RIVERS/STREAMS IN HUC 040301100205   ESCANABA
   MI      MI040500060105-02   RIVERS/STREAMS IN HUC 040500060105   LOWER GRAND
   MI      MI040500060205-01   RIVERS/STREAMS IN HUC 040500060205   LOWER GRAND
   MI      MI040500030407-03   RIVERS/STREAMS IN HUC 040500030407   KALAMAZOO
   MI      MI040500010110-02   RIVERS/STREAMS IN HUC 040500010110   ST. JOSEPH
   MI      MI040500010205-02   RIVERS/STREAMS IN HUC 040500010205   ST. JOSEPH
   MI      MI040500010208-01   RIVERS/STREAMS IN HUC 040500010208   ST. JOSEPH
   MI      MI040500010304-01   RIVERS/STREAMS IN HUC 040500010304   ST. JOSEPH
   MI      MI040500040705-01   RIVERS/STREAMS IN HUC 040500040705   UPPER GRAND
   MI      MI040500040705-02   RIVERS/STREAMS IN HUC 040500040705   UPPER GRAND
   MI      MI040500050103-02   RIVERS/STREAMS IN HUC 040500050103   MAPLE
   MI      MI040500050105-01   RIVERS/STREAMS IN HUC 040500050105   MAPLE
   MI      MI040301080401-03   RIVERS/STREAMS IN HUC 040301080401   MENOMINEE
   MI      MI040301080402-02   RIVERS/STREAMS IN HUC 040301080402   MENOMINEE
   MI      MI040301080404-02   RIVERS/STREAMS IN HUC 040301080404   MENOMINEE
   MI      MI040301080707-02   RIVERS/STREAMS IN HUC 040301080707   MENOMINEE
   MI      MI040301080801-01   RIVERS/STREAMS IN HUC 040301080801   MENOMINEE
   MI      MI040301080801-03   RIVERS/STREAMS IN HUC 040301080801   MENOMINEE
   MI      MI040500060304-02   RIVERS/STREAMS IN HUC 040500060304   LOWER GRAND
   MI      MI040500060310-01   RIVERS/STREAMS IN HUC 040500060310   LOWER GRAND
   MI      MI040500060310-02   RIVERS/STREAMS IN HUC 040500060310   LOWER GRAND
   MI      MI040201020402-02   RIVERS/STREAMS IN HUC 040201020402   ONTONAGON
   MI      MI040301120204-01   RIVERS/STREAMS IN HUC 040301120204   FISHDAM - STURGEON
   MI      MI040301120206-01   RIVERS/STREAMS IN HUC 040301120206   FISHDAM - STURGEON
   MI      MI040601020605-02   RIVERS/STREAMS IN HUC 040601020605   MUSKEGON




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040301080913-02   RIVERS/STREAMS IN HUC 040301080913   MENOMINEE
   MI      MI040601020801-01   RIVERS/STREAMS IN HUC 040601020801   MUSKEGON
   MI      MI040601020808-01   RIVERS/STREAMS IN HUC 040601020808   MUSKEGON
   MI      MI040601020808-04   RIVERS/STREAMS IN HUC 040601020808   MUSKEGON
   MI      MI040202020301-01   RIVERS/STREAMS IN HUC 040202020301   TAHQUAMENON
   MI      MI040202020302-01   RIVERS/STREAMS IN HUC 040202020302   TAHQUAMENON
   MI      MI040601011011-01   RIVERS/STREAMS IN HUC 040601011011   PERE MARQUETTE - WHITE
   MI      MI040601020202-01   RIVERS/STREAMS IN HUC 040601020202   MUSKEGON
   MI      MI040601020208-01   RIVERS/STREAMS IN HUC 040601020208   MUSKEGON
   MI      MI040601020402-02   RIVERS/STREAMS IN HUC 040601020402   MUSKEGON
   MI      MI040601020403-01   RIVERS/STREAMS IN HUC 040601020403   MUSKEGON
   MI      MI040601020405-01   RIVERS/STREAMS IN HUC 040601020405   MUSKEGON
   MI      MI040601020406-01   RIVERS/STREAMS IN HUC 040601020406   MUSKEGON
   MI      MI040601020504-01   RIVERS/STREAMS IN HUC 040601020504   MUSKEGON
   MI      MI040601020701-01   RIVERS/STREAMS IN HUC 040601020701   MUSKEGON
   MI      MI040601020702-01   RIVERS/STREAMS IN HUC 040601020702   MUSKEGON
   MI      MI040601020702-05   RIVERS/STREAMS IN HUC 040601020702   MUSKEGON
   MI      MI040202020401-03   RIVERS/STREAMS IN HUC 040202020401   TAHQUAMENON
   MI      MI040301060504-01   RIVERS/STREAMS IN HUC 040301060504   BRULE
   MI      MI040601010405-02   RIVERS/STREAMS IN HUC 040601010405
   MI      MI040601010406-01   RIVERS/STREAMS IN HUC 040601010406
   MI      MI040601010505-02   RIVERS/STREAMS IN HUC 040601010505
   MI      MI040601010509-04   RIVERS/STREAMS IN HUC 040601010509
   MI      MI040700060404-01   RIVERS/STREAMS IN HUC 040700060404   THUNDER BAY
   MI      MI040601030304-01   RIVERS/STREAMS IN HUC 040601030304   MANISTEE
   MI      MI040601030305-03   RIVERS/STREAMS IN HUC 040601030305   MANISTEE
   MI      MI040601030501-02   RIVERS/STREAMS IN HUC 040601030501   MANISTEE
   MI      MI040802040408-01   RIVERS/STREAMS IN HUC 040802040408   FLINT
   MI      MI040601060204-03   RIVERS/STREAMS IN HUC 040601060204   MANISTIQUE
   MI      MI040601060301-02   RIVERS/STREAMS IN HUC 040601060301   MANISTIQUE
   MI      MI040601060307-03   RIVERS/STREAMS IN HUC 040601060307   MANISTIQUE
   MI      MI041000020203-01   RIVERS/STREAMS IN HUC 041000020203   RAISIN
   MI      MI041000020205-01   RIVERS/STREAMS IN HUC 041000020205   RAISIN
   MI      MI041000020206-01   RIVERS/STREAMS IN HUC 041000020206
   MI      MI040700060302-01   RIVERS/STREAMS IN HUC 040700060302   THUNDER BAY
   MI      MI040601030105-01   RIVERS/STREAMS IN HUC 040601030105   MANISTEE
   MI      MI040601030107-01   RIVERS/STREAMS IN HUC 040601030107   MANISTEE
   MI      MI040900050106-05   RIVERS/STREAMS IN HUC 040900050106   HURON
   MI      MI040900050108-02   RIVERS/STREAMS IN HUC 040900050108   HURON
   MI      MI040900050110-02   RIVERS/STREAMS IN HUC 040900050110   HURON
   MI      MI040900050304-03   RIVERS/STREAMS IN HUC 040900050304   HURON
   MI      MI040601030606-01   RIVERS/STREAMS IN HUC 040601030606   MANISTEE
   MI      MI040601030705-04   RIVERS/STREAMS IN HUC 040601030705   MANISTEE
   MI      MI040900030401-01   RIVERS/STREAMS IN HUC 040900030401   CLINTON
   MI      MI040900040103-01   RIVERS/STREAMS IN HUC 040900040103   DETROIT
   MI      MI040900040201-01   RIVERS/STREAMS IN HUC 040900040201   DETROIT
   MI      MI040700070106-02   RIVERS/STREAMS IN HUC 040700070106   AU SABLE
   MI      MI040601060308-01   RIVERS/STREAMS IN HUC 040601060308   MANISTIQUE
   MI      MI040601060308-03   RIVERS/STREAMS IN HUC 040601060308   MANISTIQUE
   MI      MI040601060310-02   RIVERS/STREAMS IN HUC 040601060310   MANISTIQUE
   MI      MI040601060406-01   RIVERS/STREAMS IN HUC 040601060406   MANISTIQUE
   MI      MI040601060410-01   RIVERS/STREAMS IN HUC 040601060410   MANISTIQUE
   MI      MI040900050407-01   RIVERS/STREAMS IN HUC 040900050407   HURON
   MI      MI040802020303-03   RIVERS/STREAMS IN HUC 040802020303   PINE
   MI      MI040802020306-02   RIVERS/STREAMS IN HUC 040802020306   PINE




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040802040102-02   RIVERS/STREAMS IN HUC 040802040102   FLINT
   MI      MI040802040105-02   RIVERS/STREAMS IN HUC 040802040105   FLINT
   MI      MI040900050103-03   RIVERS/STREAMS IN HUC 040900050103   HURON
   MI      MI040802010603-01   RIVERS/STREAMS IN HUC 040802010603   TITTABAWASSEE
   MI      MI040802020101-01   RIVERS/STREAMS IN HUC 040802020101   PINE
   MI      MI040900050305-02   RIVERS/STREAMS IN HUC 040900050305   HURON
   MI      MI040900050403-04   RIVERS/STREAMS IN HUC 040900050403   HURON
   MI      MI040500040106-01   RIVERS/STREAMS IN HUC 040500040106   UPPER GRAND
   MI      MI040900030102-03   RIVERS/STREAMS IN HUC 040900030102   CLINTON
   MI      MI040900030305-02   RIVERS/STREAMS IN HUC 040900030305   CLINTON
   MI      MI040900030306-01   RIVERS/STREAMS IN HUC 040900030306   CLINTON
   MI      MI040900030308-01   RIVERS/STREAMS IN HUC 040900030308   CLINTON
   MI      MI040900030310-04   RIVERS/STREAMS IN HUC 040900030310   CLINTON
   MI      MI040500030806-01   RIVERS/STREAMS IN HUC 040500030806   KALAMAZOO
   MI      MI040802030407-01   RIVERS/STREAMS IN HUC 040802030407   SHIAWASSEE
   MI      MI040900010103-02   RIVERS/STREAMS IN HUC 040900010103   ST. CLAIR
   MI      MI040802020204-04   RIVERS/STREAMS IN HUC 040802020204   PINE
   MI      MI040802020205-02   RIVERS/STREAMS IN HUC 040802020205   PINE
   MI      MI040802020207-02   RIVERS/STREAMS IN HUC 040802020207   PINE
   MI      MI040900010209-02   RIVERS/STREAMS IN HUC 040900010209   ST. CLAIR
   MI      MI040500030904-05   RIVERS/STREAMS IN HUC 040500030904   KALAMAZOO
   MI      MI040500030907-02   RIVERS/STREAMS IN HUC 040500030907   KALAMAZOO
   MI      MI040500030911-02   RIVERS/STREAMS IN HUC 040500030911   KALAMAZOO
   MI      MI040802010202-01   RIVERS/STREAMS IN HUC 040802010202   TITTABAWASSEE
   MI      MI040900030205-02   RIVERS/STREAMS IN HUC 040900030205   CLINTON
   MI      MI040500030606-03   RIVERS/STREAMS IN HUC 040500030606   KALAMAZOO
   MI      MI040500030607-04   RIVERS/STREAMS IN HUC 040500030607   KALAMAZOO
   MI      MI040802040403-01   RIVERS/STREAMS IN HUC 040802040403   FLINT
   MI      MI040700070304-01   RIVERS/STREAMS IN HUC 040700070304   AU SABLE
   MI      MI040700070306-01   RIVERS/STREAMS IN HUC 040700070306   AU SABLE
   MI      MI041000020308-01   RIVERS/STREAMS IN HUC 041000020308   RAISIN
   MI      MI040601020905-02   RIVERS/STREAMS IN HUC 040601020905   MUSKEGON
   MI      MI040601020905-10   RIVERS/STREAMS IN HUC 040601020905   MUSKEGON
   MI      MI040700070606-01   RIVERS/STREAMS IN HUC 040700070606   AU SABLE
   MI      MI040700070701-01   RIVERS/STREAMS IN HUC 040700070701   AU SABLE
   MI      MI040700070701-02   RIVERS/STREAMS IN HUC 040700070701   AU SABLE
   MI      MI040700070701-03   RIVERS/STREAMS IN HUC 040700070701   AU SABLE
   MI      MI040801010105-02   RIVERS/STREAMS IN HUC 040801010105   AU GRES - RIFFLE
   MI      MI040801010411-01   RIVERS/STREAMS IN HUC 040801010411   AU GRES - RIFFLE
   MI      MI040500010904-01   RIVERS/STREAMS IN HUC 040500010904   ST. JOSEPH
   MI      MI040500012003-01   RIVERS/STREAMS IN HUC 040500012003   ST. JOSEPH
   MI      MI040500070305-01   RIVERS/STREAMS IN HUC 040500070305   THORNAPPLE
   MI      MI040500070305-03   RIVERS/STREAMS IN HUC 040500070305   THORNAPPLE
   MI      MI040500070402-02   RIVERS/STREAMS IN HUC 040500070402   THORNAPPLE
   MI      MI040500012507-03   RIVERS/STREAMS IN HUC 040500012507   ST. JOSEPH
   MI      MI040500012608-03   RIVERS/STREAMS IN HUC 040500012608   ST. JOSEPH
   MI      MI040500010503-03   RIVERS/STREAMS IN HUC 040500010503   ST. JOSEPH
   MI      MI040500010506-03   RIVERS/STREAMS IN HUC 040500010506   ST. JOSEPH
   MI      MI040500010605-04   RIVERS/STREAMS IN HUC 040500010605   ST. JOSEPH
   MI      MI040500060711-03   RIVERS/STREAMS IN HUC 040500060711   LOWER GRAND
   MI      MI040500012301-02   RIVERS/STREAMS IN HUC 040500012301   ST. JOSEPH
   MI      MI040500012305-02   RIVERS/STREAMS IN HUC 040500012305   ST. JOSEPH
   MI      MI040500012308-02   RIVERS/STREAMS IN HUC 040500012308   ST. JOSEPH
   MI      MI040500012403-03   RIVERS/STREAMS IN HUC 040500012403   ST. JOSEPH
   MI      MI040500012405-01   RIVERS/STREAMS IN HUC 040500012405   ST. JOSEPH




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040500012406-02   RIVERS/STREAMS IN HUC 040500012406   ST. JOSEPH
   MI      MI040500012506-02   RIVERS/STREAMS IN HUC 040500012506   ST. JOSEPH
   MI      MI040500030203-04   RIVERS/STREAMS IN HUC 040500030203   KALAMAZOO
   MI      MI040500030204-03   RIVERS/STREAMS IN HUC 040500030204   KALAMAZOO
   MI      MI040500040605-02   RIVERS/STREAMS IN HUC 040500040605   UPPER GRAND
   MI      MI040500040612-02   RIVERS/STREAMS IN HUC 040500040612   UPPER GRAND
   MI      MI040500040407-02   RIVERS/STREAMS IN HUC 040500040407   UPPER GRAND
   MI      MI040500040411-03   RIVERS/STREAMS IN HUC 040500040411   UPPER GRAND
   MI      MI040500040505-01   RIVERS/STREAMS IN HUC 040500040505   UPPER GRAND
   MI      MI040500040508-01   RIVERS/STREAMS IN HUC 040500040508   UPPER GRAND
   MI      MI040500010706-01   RIVERS/STREAMS IN HUC 040500010706   ST. JOSEPH
   MI      MI040500050501-01   RIVERS/STREAMS IN HUC 040500050501   MAPLE
   MI      MI040500060403-01   RIVERS/STREAMS IN HUC 040500060403   LOWER GRAND
   MI      MI040500060502-02   RIVERS/STREAMS IN HUC 040500060502   LOWER GRAND
   MI      MI040500050207-02   RIVERS/STREAMS IN HUC 040500050207   MAPLE
   MI      MI040601010402-05   RIVERS/STREAMS IN HUC 040601010402
   MI      MI040500060108-02   RIVERS/STREAMS IN HUC 040500060108   LOWER GRAND
   MI      MI040500030406-01   RIVERS/STREAMS IN HUC 040500030406   KALAMAZOO
   MI      MI040500030407-04   RIVERS/STREAMS IN HUC 040500030407   KALAMAZOO
   MI      MI040500030407-05   RIVERS/STREAMS IN HUC 040500030407   KALAMAZOO
   MI      MI040500030408-06   RIVERS/STREAMS IN HUC 040500030408   KALAMAZOO
   MI      MI040500030410-02   RIVERS/STREAMS IN HUC 040500030410   KALAMAZOO
   MI      MI040500030411-01   RIVERS/STREAMS IN HUC 040500030411   KALAMAZOO
   MI      MI040500030508-05   RIVERS/STREAMS IN HUC 040500030508   KALAMAZOO
   MI      MI040500030601-01   RIVERS/STREAMS IN HUC 040500030601   KALAMAZOO
   MI      MI040500010203-02   RIVERS/STREAMS IN HUC 040500010203   ST. JOSEPH
   MI      MI040301080712-01   RIVERS/STREAMS IN HUC 040301080712   MENOMINEE
   MI      MI040500060309-02   RIVERS/STREAMS IN HUC 040500060309   LOWER GRAND
   MI      MI040500060310-04   RIVERS/STREAMS IN HUC 040500060310   LOWER GRAND
   MI      MI040500060313-04   RIVERS/STREAMS IN HUC 040500060313   LOWER GRAND
   MI      MI040201020402-01   RIVERS/STREAMS IN HUC 040201020402   ONTONAGON
   MI      MI040201020403-02   RIVERS/STREAMS IN HUC 040201020403   ONTONAGON
   MI      MI040301100308-01   RIVERS/STREAMS IN HUC 040301100308   ESCANABA
   MI      MI040500010103-01   RIVERS/STREAMS IN HUC 040500010103   ST. JOSEPH
   MI      MI040601020506-03   RIVERS/STREAMS IN HUC 040601020506   MUSKEGON
   MI      MI040601020507-05   RIVERS/STREAMS IN HUC 040601020507   MUSKEGON
   MI      MI040601020402-01   RIVERS/STREAMS IN HUC 040601020402   MUSKEGON
   MI      MI040601020501-01   RIVERS/STREAMS IN HUC 040601020501   MUSKEGON
   MI      MI040601020503-03   RIVERS/STREAMS IN HUC 040601020503   MUSKEGON
   MI      MI040202020304-02   RIVERS/STREAMS IN HUC 040202020304   TAHQUAMENON
   MI      MI040202020507-02   RIVERS/STREAMS IN HUC 040202020507   TAHQUAMENON
   MI      MI040601010504-01   RIVERS/STREAMS IN HUC 040601010504
   MI      MI040601010504-02   RIVERS/STREAMS IN HUC 040601010504
   MI      MI040601010504-05   RIVERS/STREAMS IN HUC 040601010504
   MI      MI040601010505-03   RIVERS/STREAMS IN HUC 040601010505
   MI      MI040601060603-02   RIVERS/STREAMS IN HUC 040601060603   MANISTIQUE
   MI      MI040700020207-02   RIVERS/STREAMS IN HUC 040700020207   CARP-PINE
   MI      MI040601030310-04   RIVERS/STREAMS IN HUC 040601030310   MANISTEE
   MI      MI040601030402-01   RIVERS/STREAMS IN HUC 040601030402   MANISTEE
   MI      MI040802040409-01   RIVERS/STREAMS IN HUC 040802040409   FLINT
   MI      MI040802040410-02   RIVERS/STREAMS IN HUC 040802040410   FLINT
   MI      MI040700060302-03   RIVERS/STREAMS IN HUC 040700060302   THUNDER BAY
   MI      MI040601030104-01   RIVERS/STREAMS IN HUC 040601030104   MANISTEE
   MI      MI040601030104-02   RIVERS/STREAMS IN HUC 040601030104   MANISTEE
   MI      MI040601030202-04   RIVERS/STREAMS IN HUC 040601030202   MANISTEE




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040601030206-01   RIVERS/STREAMS IN HUC 040601030206   MANISTEE
   MI      MI040900050202-01   RIVERS/STREAMS IN HUC 040900050202   HURON
   MI      MI040900050304-02   RIVERS/STREAMS IN HUC 040900050304   HURON
   MI      MI040601030605-01   RIVERS/STREAMS IN HUC 040601030605   MANISTEE
   MI      MI040601050507-01   RIVERS/STREAMS IN HUC 040601050507   BOARDMAN - CHARLEVOIX
   MI      MI040700070301-01   RIVERS/STREAMS IN HUC 040700070301   AU SABLE
   MI      MI040900050407-04   RIVERS/STREAMS IN HUC 040900050407   HURON
   MI      MI040802020311-01   RIVERS/STREAMS IN HUC 040802020311   PINE
   MI      MI040802030204-02   RIVERS/STREAMS IN HUC 040802030204   SHIAWASSEE
   MI      MI040900030310-02   RIVERS/STREAMS IN HUC 040900030310   CLINTON
   MI      MI040802020301-03   RIVERS/STREAMS IN HUC 040802020301   PINE
   MI      MI040900010209-03   RIVERS/STREAMS IN HUC 040900010209   ST. CLAIR
   MI      MI040500030905-01   RIVERS/STREAMS IN HUC 040500030905   KALAMAZOO
   MI      MI040500030907-03   RIVERS/STREAMS IN HUC 040500030907   KALAMAZOO
   MI      MI040801030110-02   RIVERS/STREAMS IN HUC 040801030110   PIGEON-WISCOGGIN
   MI      MI040802010201-01   RIVERS/STREAMS IN HUC 040802010201   TITTABAWASSEE
   MI      MI040900030203-02   RIVERS/STREAMS IN HUC 040900030203   CLINTON
   MI      MI040500030607-05   RIVERS/STREAMS IN HUC 040500030607   KALAMAZOO
   MI      MI040500030702-07   RIVERS/STREAMS IN HUC 040500030702   KALAMAZOO
   MI      MI040500040308-02   RIVERS/STREAMS IN HUC 040500040308   UPPER GRAND
   MI      MI040700070310-01   RIVERS/STREAMS IN HUC 040700070310   AU SABLE
   MI      MI040700070501-03   RIVERS/STREAMS IN HUC 040700070501   AU SABLE
   MI      MI040700070502-03   RIVERS/STREAMS IN HUC 040700070502   AU SABLE
   MI      MI040700070503-02   RIVERS/STREAMS IN HUC 040700070503   AU SABLE
   MI      MI040700070604-01   RIVERS/STREAMS IN HUC 040700070604   AU SABLE
   MI      MI041000020310-01   RIVERS/STREAMS IN HUC 041000020310   RAISIN
   MI      MI040601020810-03   RIVERS/STREAMS IN HUC 040601020810   MUSKEGON
   MI      MI040601020810-04   RIVERS/STREAMS IN HUC 040601020810   MUSKEGON
   MI      MI040601020902-01   RIVERS/STREAMS IN HUC 040601020902   MUSKEGON
   MI      MI040601020905-09   RIVERS/STREAMS IN HUC 040601020905   MUSKEGON
   MI      MI040700070706-03   RIVERS/STREAMS IN HUC 040700070706   AU SABLE
   MI      MI040500010903-02   RIVERS/STREAMS IN HUC 040500010903   ST. JOSEPH
   MI      MI040500012509-01   RIVERS/STREAMS IN HUC 040500012509   ST. JOSEPH
   MI      MI040500012604-02   RIVERS/STREAMS IN HUC 040500012604
   MI      MI040500070203-02   RIVERS/STREAMS IN HUC 040500070203   THORNAPPLE
   MI      MI040500030206-02   RIVERS/STREAMS IN HUC 040500030206   KALAMAZOO
   MI      MI040500040409-01   RIVERS/STREAMS IN HUC 040500040409   UPPER GRAND
   MI      MI040500050503-03   RIVERS/STREAMS IN HUC 040500050503   MAPLE
   MI      MI040500060406-04   RIVERS/STREAMS IN HUC 040500060406   LOWER GRAND
   MI      MI040500060507-02   RIVERS/STREAMS IN HUC 040500060507   LOWER GRAND
   MI      MI040500050305-02   RIVERS/STREAMS IN HUC 040500050305   MAPLE
   MI      MI040601010304-02   RIVERS/STREAMS IN HUC 040601010304
   MI      MI040601010401-01   RIVERS/STREAMS IN HUC 040601010401
   MI      MI040601010402-02   RIVERS/STREAMS IN HUC 040601010402
   MI      MI040500060201-04   RIVERS/STREAMS IN HUC 040500060201   LOWER GRAND
   MI      MI040500030403-03   RIVERS/STREAMS IN HUC 040500030403   KALAMAZOO
   MI      MI040500030601-02   RIVERS/STREAMS IN HUC 040500030601   KALAMAZOO
   MI      MI040500010205-03   RIVERS/STREAMS IN HUC 040500010205   ST. JOSEPH
   MI      MI040301080407-03   RIVERS/STREAMS IN HUC 040301080407   MENOMINEE
   MI      MI040201020308-05   RIVERS/STREAMS IN HUC 040201020308   ONTONAGON
   MI      MI040201020409-02   RIVERS/STREAMS IN HUC 040201020409   ONTONAGON
   MI      MI040301100308-03   RIVERS/STREAMS IN HUC 040301100308   ESCANABA
   MI      MI040601020603-01   RIVERS/STREAMS IN HUC 040601020603   MUSKEGON
   MI      MI040601011010-01   RIVERS/STREAMS IN HUC 040601011010   PERE MARQUETTE - WHITE
   MI      MI040601020205-01   RIVERS/STREAMS IN HUC 040601020205   MUSKEGON




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040601020305-05   RIVERS/STREAMS IN HUC 040601020305   MUSKEGON
   MI      MI040201020307-01   RIVERS/STREAMS IN HUC 040201020307   ONTONAGON
   MI      MI040301080306-01   RIVERS/STREAMS IN HUC 040301080306   MENOMINEE
   MI      MI040601010503-03   RIVERS/STREAMS IN HUC 040601010503
   MI      MI040700060403-01   RIVERS/STREAMS IN HUC 040700060403   THUNDER BAY
   MI      MI040601030401-02   RIVERS/STREAMS IN HUC 040601030401   MANISTEE
   MI      MI040601030405-01   RIVERS/STREAMS IN HUC 040601030405   MANISTEE
   MI      MI040601030405-03   RIVERS/STREAMS IN HUC 040601030405   MANISTEE
   MI      MI040802040410-01   RIVERS/STREAMS IN HUC 040802040410   FLINT
   MI      MI040601060202-04   RIVERS/STREAMS IN HUC 040601060202   MANISTIQUE
   MI      MI040601030107-03   RIVERS/STREAMS IN HUC 040601030107   MANISTEE
   MI      MI040601030704-01   RIVERS/STREAMS IN HUC 040601030704   MANISTEE
   MI      MI040900030402-03   RIVERS/STREAMS IN HUC 040900030402   CLINTON
   MI      MI040900040204-01   RIVERS/STREAMS IN HUC 040900040204   DETROIT
   MI      MI041000010308-01   RIVERS/STREAMS IN HUC 041000010308   OTTAWA - STONY
   MI      MI040900050105-08   RIVERS/STREAMS IN HUC 040900050105   HURON
   MI      MI040802030203-01   RIVERS/STREAMS IN HUC 040802030203   SHIAWASSEE
   MI      MI040802030103-02   RIVERS/STREAMS IN HUC 040802030103   SHIAWASSEE
   MI      MI040500030810-03   RIVERS/STREAMS IN HUC 040500030810   KALAMAZOO
   MI      MI040500030811-05   RIVERS/STREAMS IN HUC 040500030811   KALAMAZOO
   MI      MI040500030604-02   RIVERS/STREAMS IN HUC 040500030604   KALAMAZOO
   MI      MI040601020903-01   RIVERS/STREAMS IN HUC 040601020903   MUSKEGON
   MI      MI040601020905-07   RIVERS/STREAMS IN HUC 040601020905   MUSKEGON
   MI      MI040700050104-01   RIVERS/STREAMS IN HUC 040700050104   BLACK
   MI      MI040700050207-01   RIVERS/STREAMS IN HUC 040700050207   BLACK
   MI      MI040700050209-01   RIVERS/STREAMS IN HUC 040700050209   BLACK
   MI      MI040500070402-03   RIVERS/STREAMS IN HUC 040500070402   THORNAPPLE
   MI      MI040500012507-02   RIVERS/STREAMS IN HUC 040500012507   ST. JOSEPH
   MI      MI040500012606-01   RIVERS/STREAMS IN HUC 040500012606   ST. JOSEPH
   MI      MI040500060602-04   RIVERS/STREAMS IN HUC 040500060602   LOWER GRAND
   MI      MI040500010502-08   RIVERS/STREAMS IN HUC 040500010502   ST. JOSEPH
   MI      MI040500010506-04   RIVERS/STREAMS IN HUC 040500010506   ST. JOSEPH
   MI      MI040500070201-02   RIVERS/STREAMS IN HUC 040500070201   THORNAPPLE
   MI      MI040500012307-02   RIVERS/STREAMS IN HUC 040500012307   ST. JOSEPH
   MI      MI040500012308-04   RIVERS/STREAMS IN HUC 040500012308   ST. JOSEPH
   MI      MI040500012504-02   RIVERS/STREAMS IN HUC 040500012504   ST. JOSEPH
   MI      MI040500030206-01   RIVERS/STREAMS IN HUC 040500030206   KALAMAZOO
   MI      MI040500030311-02   RIVERS/STREAMS IN HUC 040500030311   KALAMAZOO
   MI      MI040500030312-01   RIVERS/STREAMS IN HUC 040500030312   KALAMAZOO
   MI      MI040500040603-01   RIVERS/STREAMS IN HUC 040500040603   UPPER GRAND
   MI      MI040500010805-01   RIVERS/STREAMS IN HUC 040500010805   ST. JOSEPH
   MI      MI040500010806-03   RIVERS/STREAMS IN HUC 040500010806   ST. JOSEPH
   MI      MI040500060502-04   RIVERS/STREAMS IN HUC 040500060502   LOWER GRAND
   MI      MI040500060507-05   RIVERS/STREAMS IN HUC 040500060507   LOWER GRAND
   MI      MI040500060507-06   RIVERS/STREAMS IN HUC 040500060507   LOWER GRAND
   MI      MI040500030407-01   RIVERS/STREAMS IN HUC 040500030407   KALAMAZOO
   MI      MI040301080406-03   RIVERS/STREAMS IN HUC 040301080406   MENOMINEE
   MI      MI040500060302-01   RIVERS/STREAMS IN HUC 040500060302   LOWER GRAND
   MI      MI040500060313-03   RIVERS/STREAMS IN HUC 040500060313   LOWER GRAND
   MI      MI040201020309-02   RIVERS/STREAMS IN HUC 040201020309   ONTONAGON
   MI      MI040201020409-03   RIVERS/STREAMS IN HUC 040201020409   ONTONAGON
   MI      MI040301100308-02   RIVERS/STREAMS IN HUC 040301100308   ESCANABA
   MI      MI040301120207-02   RIVERS/STREAMS IN HUC 040301120207   FISHDAM - STURGEON
   MI      MI040301080908-02   RIVERS/STREAMS IN HUC 040301080908   MENOMINEE
   MI      MI040601020808-03   RIVERS/STREAMS IN HUC 040601020808   MUSKEGON




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   State   Waterbody ID        Waterbody Name                       Region
   MI      MI040201020201-02   RIVERS/STREAMS IN HUC 040201020201   ONTONAGON
   MI      MI040601020310-02   RIVERS/STREAMS IN HUC 040601020310   MUSKEGON
   MI      MI040601020606-02   RIVERS/STREAMS IN HUC 040601020606   MUSKEGON
   MI      MI040202020503-02   RIVERS/STREAMS IN HUC 040202020503   TAHQUAMENON
   MI      MI040601010505-01   RIVERS/STREAMS IN HUC 040601010505
   MI      MI040601010507-01   RIVERS/STREAMS IN HUC 040601010507
   MI      MI040601010508-03   RIVERS/STREAMS IN HUC 040601010508
   MI      MI041000020409-01   RIVERS/STREAMS IN HUC 041000020409   RAISIN
   MI      MI040601030303-05   RIVERS/STREAMS IN HUC 040601030303   MANISTEE
   MI      MI040601030308-01   RIVERS/STREAMS IN HUC 040601030308   MANISTEE
   MI      MI040601030109-03   RIVERS/STREAMS IN HUC 040601030109   MANISTEE
   MI      MI040601060101-05   RIVERS/STREAMS IN HUC 040601060101   MANISTIQUE
   MI      MI040900030402-02   RIVERS/STREAMS IN HUC 040900030402   CLINTON
   MI      MI040601060403-01   RIVERS/STREAMS IN HUC 040601060403   MANISTIQUE
   MI      MI040601060405-01   RIVERS/STREAMS IN HUC 040601060405   MANISTIQUE
   MI      MI040900050407-03   RIVERS/STREAMS IN HUC 040900050407   HURON
   MI      MI040802040103-04   RIVERS/STREAMS IN HUC 040802040103   FLINT
   MI      MI040900010214-02   RIVERS/STREAMS IN HUC 040900010214   ST. CLAIR
   MI      MI040900030310-05   RIVERS/STREAMS IN HUC 040900030310   CLINTON
   MI      MI040900010114-04   RIVERS/STREAMS IN HUC 040900010114   ST. CLAIR
   MI      MI040500030911-01   RIVERS/STREAMS IN HUC 040500030911   KALAMAZOO
   MI      MI040900030204-01   RIVERS/STREAMS IN HUC 040900030204   CLINTON
   MI      MI040900030204-02   RIVERS/STREAMS IN HUC 040900030204   CLINTON
   MI      MI040500030702-02   RIVERS/STREAMS IN HUC 040500030702   KALAMAZOO
   MI      MI040802040306-01   RIVERS/STREAMS IN HUC 040802040306   FLINT
   MI      MI040802040406-03   RIVERS/STREAMS IN HUC 040802040406   FLINT
   MI      MI040700070305-02   RIVERS/STREAMS IN HUC 040700070305   AU SABLE
   MI      MI040500011305-02   RIVERS/STREAMS IN HUC 040500011305   ST. JOSEPH
   MI      MI040500060512-02   RIVERS/STREAMS IN HUC 040500060512   LOWER GRAND
   MI      MI040500060603-01   RIVERS/STREAMS IN HUC 040500060603   LOWER GRAND
   MI      MI040500040606-02   RIVERS/STREAMS IN HUC 040500040606   UPPER GRAND
   MI      MI040500040503-01   RIVERS/STREAMS IN HUC 040500040503   UPPER GRAND
   MI      MI040500040508-02   RIVERS/STREAMS IN HUC 040500040508   UPPER GRAND
   MI      MI040500060406-09   RIVERS/STREAMS IN HUC 040500060406   LOWER GRAND
   MI      MI040500060407-02   RIVERS/STREAMS IN HUC 040500060407   LOWER GRAND
   MI      MI040500060503-01   RIVERS/STREAMS IN HUC 040500060503   LOWER GRAND
   MI      MI040500060504-02   RIVERS/STREAMS IN HUC 040500060504   LOWER GRAND
   MI      MI040500060507-03   RIVERS/STREAMS IN HUC 040500060507   LOWER GRAND
   MI      MI040601010303-02   RIVERS/STREAMS IN HUC 040601010303
   MI      MI040601010402-03   RIVERS/STREAMS IN HUC 040601010402
   MI      MI040500030408-05   RIVERS/STREAMS IN HUC 040500030408   KALAMAZOO
   MI      MI040500030603-01   RIVERS/STREAMS IN HUC 040500030603   KALAMAZOO
   MI      MI040301080404-01   RIVERS/STREAMS IN HUC 040301080404   MENOMINEE
   MI      MI040301080706-02   RIVERS/STREAMS IN HUC 040301080706   MENOMINEE
   MI      MI040201020205-03   RIVERS/STREAMS IN HUC 040201020205   ONTONAGON
   MI      MI040601020803-04   RIVERS/STREAMS IN HUC 040601020803   MUSKEGON
   MI      MI040601020805-02   RIVERS/STREAMS IN HUC 040601020805   MUSKEGON
   MI      MI040601020209-01   RIVERS/STREAMS IN HUC 040601020209   MUSKEGON
   MI      MI040601020301-01   RIVERS/STREAMS IN HUC 040601020301   MUSKEGON
   MI      MI040601020702-04   RIVERS/STREAMS IN HUC 040601020702   MUSKEGON
   MI      MI040601010502-01   RIVERS/STREAMS IN HUC 040601010502
   MI      MI040601030401-01   RIVERS/STREAMS IN HUC 040601030401   MANISTEE
   MI      MI040601030501-01   RIVERS/STREAMS IN HUC 040601030501   MANISTEE
   MI      MI041000020302-02   RIVERS/STREAMS IN HUC 041000020302   RAISIN
   MI      MI040601021004-04   RIVERS/STREAMS IN HUC 040601021004   MUSKEGON




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   State   Waterbody ID        Waterbody Name                          Region
   MI      MI040601030109-04   RIVERS/STREAMS IN HUC 040601030109      MANISTEE
   MI      MI040900050109-02   RIVERS/STREAMS IN HUC 040900050109      HURON
   MI      MI040601030702-01   RIVERS/STREAMS IN HUC 040601030702      MANISTEE
   MI      MI040802040103-06   RIVERS/STREAMS IN HUC 040802040103      FLINT
   MI      MI040802040103-07   RIVERS/STREAMS IN HUC 040802040103      FLINT
   MI      MI040900050309-05   RIVERS/STREAMS IN HUC 040900050309      HURON
   MI      MI040900010101-02   RIVERS/STREAMS IN HUC 040900010101      ST. CLAIR
   MI      MI040500040210-02   RIVERS/STREAMS IN HUC 040500040210      UPPER GRAND
   MI      MI040802020204-02   RIVERS/STREAMS IN HUC 040802020204      PINE
   MI      MI040802020207-04   RIVERS/STREAMS IN HUC 040802020207      PINE
   MI      MI040500030909-04   RIVERS/STREAMS IN HUC 040500030909      KALAMAZOO
   MI      MI040900030204-03   RIVERS/STREAMS IN HUC 040900030204      CLINTON
   MI      MI040700070703-02   RIVERS/STREAMS IN HUC 040700070703      AU SABLE
   MI      MI040500030604-03   RIVERS/STREAMS IN HUC 040500030604      KALAMAZOO
   MI      MI040500012604-05   RIVERS/STREAMS IN HUC 040500012604      ST. JOSEPH
   MI      MI040500070102-02   RIVERS/STREAMS IN HUC 040500070102      THORNAPPLE
   MI      MI040500070206-01   RIVERS/STREAMS IN HUC 040500070206      THORNAPPLE
   MI      MI040500012301-04   RIVERS/STREAMS IN HUC 040500012301      ST. JOSEPH
   MI      MI040500030204-04   RIVERS/STREAMS IN HUC 040500030204      KALAMAZOO
   MI      MI040500050502-03   RIVERS/STREAMS IN HUC 040500050502      MAPLE
   MI      MI040601020507-01   RIVERS/STREAMS IN HUC 040601020507      MUSKEGON
   MI      MI040201020204-04   RIVERS/STREAMS IN HUC 040201020204      ONTONAGON
   MI      MI040601020806-01   RIVERS/STREAMS IN HUC 040601020806      MUSKEGON
   MI      MI040601020310-01   RIVERS/STREAMS IN HUC 040601020310      MUSKEGON
   MI      MI040601020406-03   RIVERS/STREAMS IN HUC 040601020406      MUSKEGON
   MI      MI040601020702-03   RIVERS/STREAMS IN HUC 040601020702      MUSKEGON
   MI      MI040601020704-05   RIVERS/STREAMS IN HUC 040601020704      MUSKEGON
   MI      MI040601020705-02   RIVERS/STREAMS IN HUC 040601020705      MUSKEGON
   MI      MI040700020211-02   RIVERS/STREAMS IN HUC 040700020211      CARP-PINE
   MI      MI040601021004-05   RIVERS/STREAMS IN HUC 040601021004      MUSKEGON
   MI      MI040601021004-06   RIVERS/STREAMS IN HUC 040601021004      MUSKEGON
   MI      MI040601030104-03   RIVERS/STREAMS IN HUC 040601030104      MANISTEE
   MI      MI040601030202-03   RIVERS/STREAMS IN HUC 040601030202      MANISTEE
   MI      MI040601030705-02   RIVERS/STREAMS IN HUC 040601030705      MANISTEE
   MI      MI040601050507-04   RIVERS/STREAMS IN HUC 040601050507      BOARDMAN - CHARLEVOIX
   MI      MI040601050507-08   RIVERS/STREAMS IN HUC 040601050507      BOARDMAN - CHARLEVOIX
   MI      MI040601060101-02   RIVERS/STREAMS IN HUC 040601060101      MANISTIQUE
   MI      MI040802020508-03   RIVERS/STREAMS IN HUC 040802020508      PINE
   MI      MI040900030108-01   RIVERS/STREAMS IN HUC 040900030108      CLINTON
   MI      MI040500030810-02   RIVERS/STREAMS IN HUC 040500030810      KALAMAZOO
   MI      MI040802030410-02   RIVERS/STREAMS IN HUC 040802030410      SHIAWASSEE
   MI      MI040802040513-02   RIVERS/STREAMS IN HUC 040802040513      FLINT
   MI      MI040700070504-03   RIVERS/STREAMS IN HUC 040700070504      AU SABLE
   MI      MI040601020903-05   RIVERS/STREAMS IN HUC 040601020903      MUSKEGON
   MI      MI040601020905-05   RIVERS/STREAMS IN HUC 040601020905      MUSKEGON
   MI      MI040601020905-08   RIVERS/STREAMS IN HUC 040601020905      MUSKEGON
   MI      MI040203000001-01   LAKE SUPERIOR (MICHIGAN JURISDICTION)   LAKE SUPERIOR
                               LAKE MICHIGAN NORTH OF FRANKFORT
   MI      MI040602000001-01   (MICHIGAN JURISDICTION)                 LAKE MICHIGAN
   MI      MI040700070609-04   VAN ETTEN LAKE                          AU SABLE
   MI      MI040802030109-05   LOBDELL LAKE                            SHIAWASSEE
   MI      MI040601020904-05   HESS LAKE                               MUSKEGON
   MI      MI040500010111-02   RANDALL LAKE CHAIN                      ST. JOSEPH
   MI      MI040900050106-04   KENT LAKE                               HURON
   MI      MI040802030108-08   LAKE PONEMAH                            SHIAWASSEE




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   State   Waterbody ID        Waterbody Name                        Region
   MI      MI040900050301-02   WHITMORE LAKE                         HURON
   MI      MI040601040206-03   PLATTE LAKE                           BETSIE-PLATTE
   MI      MI040900050309-01   BARTON POND                           HURON
   MI      MI040500030507-04   GULL LAKE                             KALAMAZOO
   MI      MI040602000001-02   GREEN BAY (LAKE MICHIGAN)             LAKE MICHIGAN
                               LAKE MICHIGAN SOUTH OF FRANKFORT
   MI      MI040602000001-28   (MICHIGAN JURISDICTION)               LAKE MICHIGAN
   MI      MI040802010408-03   SANFORD LAKE                          TITTABAWASSEE
   MI      MI040500020408-01   LAKE MACATAWA                         BLACK - MACATAWA
   MI      MI040601040103-04   NORTH LAKE LEELANAU                   BETSIE - PLATTE
   MI      MI040900030108-08   OSMUN LAKE                            CLINTON
   MI      MI040500030509-02   MORROW POND                           KALAMAZOO
                               CLEAR SPRING LAKE (DEVELOPED GRAVEL
   MI      MI040900030402-05   PIT)                                  CLINTON
   MI      MI040900050101-04   PONTIAC LAKE                          HURON
   MI      MI040601030705-01   MANISTEE LAKE                         MANISTEE
   MI      MI040201030304-01   TORCH LAKE                            KEWEENAW PENINSULA
   MI      MI040500012603-02   LAKE CHAPIN                           ST. JOSEPH
   MI      MI040900050404-02   FORD LAKE/BELLEVILLE LAKE             HURON
   MI      MI040900030103-04   LOON LAKE                             CLINTON
   MI      MI040500030811-03   HAMILTON IMPOUNDMENT (RABBIT RIVER)   KALAMAZOO
   MI      MI040602000001-04   LITTLE BAY DE NOC (LAKE MICHIGAN)     LAKE MICHIGAN
   MI      MI040500010403-03   UNION LAKE                            ST. JOSEPH
   MI      MI040500012405-05   MAPLE LAKE                            ST. JOSEPH
   MI      MI040601020905-03   FREMONT LAKE                          MUSKEGON
   MI      MI040500060507-07   REEDS LAKE                            LOWER GRAND
   MI      MI040803000001-01   LAKE HURON (MICHIGAN JURISDICTION)    LAKE HURON
   MI      MI040500030907-06   ALLEGAN LAKE                          KALAMAZOO
   MI      MI041202000001-01   LAKE ERIE (MICHIGAN JURISDICTION)     LAKE ERIE
   MI      MI040601010509-05   PERE MARQUETTE LAKE
   MI      MI040900030105-02   LAKE ORION                            CLINTON
   MI      MI040900050111-03   WOODLAND LAKE                         HURON
   MI      MI040500010503-02   BARTON LAKE                           ST. JOSEPH
   MI      MI040802040408-03   KEARSLEY RESERVOIR                    FLINT
   MI      MI040500030702-01   FENNER LAKE                           KALAMAZOO
   MI      MI040301100107-02   GOOSE LAKE                            ESCANABA
   MI      MI040601040402-01   GLEN LAKE                             BETSIE - PLATTE
   MI      MI040803000001-02   SAGINAW BAY (LAKE HURON)              LAKE HURON
   MI      MI040900030108-03   CASS LAKE                             CLINTON
   MI      MI040601020104-02   HOUGHTON LAKE                         MUSKEGON
   MI      MI040601050207-01   LAKE CHARLEVOIX                       BOARDMAN - CHARLEVOIX
   MI      MI040900040203-05   WALLED LAKE                           DETROIT
   MI      MI040601050305-01   TORCH LAKE                            BOARDMAN - CHARLEVOIX
   MI      MI040802040403-05   HOLLOWAY RESERVOIR                    FLINT
   MI      MI040802020312-03   ALMA IMPOUNDMENT                      PINE
   MI      MI040601040302-03   GREEN LAKE                            BETSIE - PLATTE
   MI      MI040900050403-02   FORD LAKE/BELLEVILLE LAKE             HURON
   MI      MI040801020106-05   TOBICO MARSH (WETLAND)                KAWKAWLIN-PINE
   MI      MI040900030108-07   TERRY LAKE                            CLINTON
   MI      MI040802030104-02   THOMPSON LAKE                         SHIAWASSEE
   MI      MI040802040306-03   THREAD LAKE                           FLINT
   MI      MI040601020101-02   HIGGINS LAKE                          MUSKEGON
   MI      MI040602000001-03   GRAND TRAVERSE BAY (LAKE MICHIGAN)    LAKE MICHIGAN
   MI      MI040601040305-03   CRYSTAL LAKE                          BETSIE - PLATTE
   MI      MI040900030109-02   STONY CREEK IMPOUNDMENT               CLINTON




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   State   Waterbody ID        Waterbody Name                  Region
   MI      MI040500060311-03   MORRISON LAKE                   LOWER GRAND
   MN      MN07010202-501      SAUK RIVER
   MN      MN07010202-520      SAUK RIVER
   MN      MN07010203-503      MISSISSIPPI RIVER
   MN      MN07010206-509      MISSISSIPPI RIVER
   MN      MN07010206-514      MISSISSIPPI RIVER
   MN      MN07010206-568      MISSISSIPPI RIVER
   MN      MN07040003-627      MISSISSIPPI RIVER
   MN      MN07040004-504      ZUMBRO RIVER
   MN      MN07040006-515      MISSISSIPPI RIVER
   MN      MN07080201-502      CEDAR RIVER
   MN      MN07080201-503      CEDAR RIVER
   MN      MN07030005-504      ST CROIX RIVER
   MN      MN07030005-513      ST CROIX RIVER
   MN      MN07030005-518      ST CROIX RIVER
   MN      MN07040001-504      VERMILLION RIVER
   MN      MN07040001-531      MISSISSIPPI RIVER
   MN      MN09020311-504      RED RIVER OF THE NORTH
   MN      MN09020311-506      RED RIVER OF THE NORTH
   MN      MN09020311-508      RED RIVER OF THE NORTH
   MN      MN09020104-503      RED RIVER OF THE NORTH
   MN      MN09020104-504      RED RIVER OF THE NORTH
   MN      MN09020104-505      RED RIVER OF THE NORTH
   MN      MN09020104-507      RED RIVER OF THE NORTH
   MN      MN09020104-508      RED RIVER OF THE NORTH
   MN      MN09020104-511      RED RIVER OF THE NORTH
   MN      MN09020107-501      RED RIVER OF THE NORTH
   MN      MN09020107-504      RED RIVER OF THE NORTH
   MN      MN09020301-501      RED RIVER OF THE NORTH
   MN      MN09020301-502      RED RIVER OF THE NORTH
   MN      MN09020301-506      RED RIVER OF THE NORTH
   MN      MN09020306-502      RED RIVER OF THE NORTH
   MN      MN09020306-503      RED RIVER OF THE NORTH
   MN      MN09020306-504      RED RIVER OF THE NORTH
   MN      MN09020306-505      RED RIVER OF THE NORTH
   MN      MN09020311-502      RED RIVER OF THE NORTH
   MN      MN07030001-508      ST CROIX RIVER
   MN      MN07020007-599      MINNESOTA RIVER
   MN      MN07020011-501      LE SUEUR RIVER
   MN      MN07020004-504      MINNESOTA RIVER
   MN      MN07020004-509      MINNESOTA RIVER
   MN      MN07020004-516      MINNESOTA RIVER
   MN      MN07020012-501      MINNESOTA RIVER
   MN      MN07020012-502      MINNESOTA RIVER
   MN      MN07020012-503      MINNESOTA RIVER
   MN      MN07020012-505      MINNESOTA RIVER
   MN      MN07020012-506      MINNESOTA RIVER
   MN      MN07030001-502      ST CROIX RIVER
   MN      MN07020007-502      MINNESOTA RIVER
   MN      MN07020007-505      MINNESOTA RIVER
   MN      MN07020007-506      MINNESOTA RIVER
   MN      MN07020007-508      MINNESOTA RIVER
   MN      MN04010201-501      ST LOUIS RIVER (ST LOUIS BAY)
   MN      MN04010201-516      ST LOUIS RIVER
   MN      MN04010201-523      ST LOUIS RIVER




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   State   Waterbody ID        Waterbody Name                          Region
   MN      MN07010202-519      SAUK RIVER
   MN      MN07010206-511      MISSISSIPPI RIVER
   MN      MN07010206-567      MISSISSIPPI RIVER
   MN      MN07040004-502      ZUMBRO RIVER
   MN      MN07060001-509      MISSISSIPPI RIVER
   MN      MN07080201-512      CEDAR RIVER
   MN      MN09020104-502      RED RIVER OF THE NORTH
   MN      MN07030005-502      ST CROIX RIVER
   MN      MN07010206-502      MISSISSIPPI RIVER
   MN      MN09020104-510      RED RIVER OF THE NORTH
   MN      MN09020301-504      RED RIVER OF THE NORTH
   MN      MN09020306-501      RED RIVER OF THE NORTH
   MN      MN09020311-501      RED RIVER OF THE NORTH
   MN      MN07020011-503      UNNAMED CREEK (LITTLE BEAUFORD DITCH)
   MN      MN07020004-517      MINNESOTA RIVER
   MN      MN07020012-507      MINNESOTA RIVER
   MN      MN07020012-532      MINNESOTA RIVER
   MN      MN07030001-506      ST CROIX RIVER
   MN      MN07020007-507      MINNESOTA RIVER
   MN      MN07020007-510      MINNESOTA RIVER
   MN      MN07020007-514      MINNESOTA RIVER
   MN      MN04010201-515      ST LOUIS RIVER
   MN      MN07010206-512      MISSISSIPPI RIVER
   MN      MN07040004-501      ZUMBRO RIVER
   MN      MN07040004-506      ZUMBRO RIVER
   MN      MN07080201-511      CEDAR RIVER
   MN      MN07030005-503      ST CROIX RIVER
   MN      MN07030005-515      ST CROIX RIVER
   MN      MN04010201-533      ST LOUIS RIVER
   MN      MN07010206-505      MISSISSIPPI RIVER
   MN      MN09020301-503      RED RIVER OF THE NORTH
   MN      MN09020301-507      RED RIVER OF THE NORTH
   MN      MN07020004-515      MINNESOTA RIVER
   MN      MN07030001-503      ST CROIX RIVER
   MN      MN07030001-504      ST CROIX RIVER
   MN      MN07030001-505      ST CROIX RIVER
   MN      MN07020007-504      MINNESOTA RIVER
   MN      MN07010206-513      MISSISSIPPI RIVER
   MN      MN07030005-506      ST CROIX RIVER
   MN      MN07010206-504      MISSISSIPPI RIVER
   MN      MN09020311-507      RED RIVER OF THE NORTH
   MN      MN09020107-502      RED RIVER OF THE NORTH
   MN      MN09020107-505      RED RIVER OF THE NORTH
   MN      MN07030001-507      ST CROIX RIVER
   MN      MN07030001-521      ST CROIX RIVER
   MN      MN07020007-559      MINNESOTA RIVER
   MN      MN07020012-504      MINNESOTA RIVER
   MN      MN07020007-503      MINNESOTA RIVER
   MN      MN07020007-512      MINNESOTA RIVER
   MN      MN07030005-507      ST CROIX RIVER
   MN      MN07030005-517      ST CROIX RIVER
   MN      MN07010206-501      MISSISSIPPI RIVER
   MN      MN09020104-509      RED RIVER OF THE NORTH
   MN      MN07020007-560      MINNESOTA RIVER
   MN      MN07020004-506      MINNESOTA RIVER




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   State   Waterbody ID           Waterbody Name                             Region
   MN      MN07030001-501         ST CROIX RIVER
   MN      MN07020007-501         MINNESOTA RIVER
   MN      MN04010201-524         ST LOUIS RIVER
   MN      MN04010201-532         ST LOUIS RIVER
   MN      MN09020104-506         RED RIVER OF THE NORTH
   MN      MN07020004-507         MINNESOTA RIVER
   MN      MN07020007-509         MINNESOTA RIVER
   MN      MN07020007-511         MINNESOTA RIVER
   MN      MN07030005-505         ST CROIX RIVER
   MN      MN07030005-516         ST CROIX RIVER
   MN      MN07020004-511         MINNESOTA RIVER
   MN      MN04010201-513         ST LOUIS RIVER
   MN      MN07010206-510         MISSISSIPPI RIVER
   MN      MN16-0001-00           LAKE SUPERIOR
   MN      MN27-0042-02           MIDDLE TWIN
   MN      MN46-0030-00           BUDD
   MN      MN16-0354-00           WINCHELL
   MN      MN27-0042-03           LOWER TWIN
   MN      MN04010201-531         ST LOUIS RIVER (ST LOUIS BAY)
   MN      MN38-0640-00           OJIBWAY
   MN      MN62-0237-00           NORTH STAR
   MN      MN27-0019-00           NOKOMIS
   MN      MN30-0136-00           GREEN
   MN      MN27-0042-01           UPPER TWIN
   MN      MN82-0159-00           FOREST
   MN      MN69-1345-00           UPPER TWIN POND
   MN      MN04010201-530         ST LOUIS RIVER (ST LOUIS BAY)
   MT      MT76O003_010           Flathead Lake
   MT      MT76P003_010           Whitefish River
   MT      MT76P004_010           Whitefish Lake
   MT      MT41Q001_013           Missouri River
   MT      MT41Q001_011           Missouri River
   NC      NC27-33-(3.5)a         Crabtree Creek (Crabtree Lake)
   NC      NC27-33-(10)b          Crabtree Creek
   NC      NC27-33-4-1            Little Brier Creek
   NC      NC27-34-(4)a           Walnut Creek
   NC      NC27-34-(4)b           Walnut Creek
   NC      NC27-34-6b             Rocky Branch
   NC      NC27-34-(1.7)          Walnut Creek
   NC      NC27-33-(3.5)b         Crabtree Creek (Crabtree Lake)
   NC      NC27-33-4              Brier Creek
                                  YADKIN RIVER (including Tuckertown Lake,
   NC      NC12-(124.5)d          Badin Lake)
   NC      NC27-33-(10)c          Crabtree Creek
   NC      NC27-(22.5)c           NEUSE RIVER
   NC      NC27-34-(1.5)          Walnut Creek (Lake Johnson)
   NC      NC27-34-6a             Rocky Branch
   NC      NC27-33-(10)a          Crabtree Creek
   NC      NC27-34-(1)            Walnut Creek
   NC      NC27-34-(3.5)          Walnut Creek (Lake Raleigh)
   NH      NHEST600031004-07      MILL CREEK
   NH      NHEST600031004-05-03   SWAINS CREEK
   NH      NHEST600030904-04-05   GREAT BAY - COND APPR
                                  LOWER LITTLE BAY GENERAL SULLIVAN
   NH      NHEST600030904-06-15   BRIDGE




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   State   Waterbody ID           Waterbody Name                          Region
   NH      NHEST600031003-03      TAYLOR RIVER
   NH      NHEST600030904-06-12   U LITTLE BAY (SOUTH)
   NH      NHEST600031002-01-01   WITCH CREEK
   NH      NHEST600030903-01-01   BELLAMY RIVER NORTH
   NH      NHEST600030608-01      COCHECO RIVER
   NH      NHEST600030904-04-03   PICKERING BROOK
   NH      NHEST600030904-06-17   OYSTER RIVER MOUTH
   NH      NHEST600030904-06-13   LOWER LITTLE BAY
                                  ATLANTIC OCEAN - HAMPTON BEACH STATE
   NH      NHOCN000000000-02-10   PARK BEACH
   NH      NHOCN000000000-02-14   ATLANTIC OCEAN - FOSS BEACH
                                  HAMPTON/SEABROOK HARBOR - HAMPTON
   NH      NHEST600031004-09-06   HARBOR BEACH
   NH      NHEST600031004-05-04   BROWNS RIVER (UPPER)
   NH      NHEST600031001-03      UPPER SAGAMORE CREEK
   NH      NHEST600031001-11      UPPER PORTSMOUTH HARBOR-NH
   NH      NHEST600030709-01      LAMPREY RIVER
   NH      NHEST600030904-04-02   CROMMET CREEK
   NH      NHEST600031001-01-02   DOVER WWTF SZ-NH
   NH      NHOCN000000000-02-13   ATLANTIC OCEAN - NORTHSIDE PARK BEACH
   NH      NHOCN000000000-08-03   ATLANTIC OCEAN - SUN VALLEY BEACH
   NH      NHEST600031004-01-02   HAMPTON FALLS RIVER (WWTF SZ)
   NH      NHEST600031001-09      SOUTH MILL POND
   NH      NHEST600030904-06-14   LOWER LITTLE BAY MARINA SZ
   NH      NHEST600030904-04-04   FABYAN POINT
   NH      NHEST600031003-04      HAMPTON RIVER BOAT CLUB SZ
   NH      NHEST600030902-01-03   OYSTER RIVER
   NH      NHEST600031002-01-02   BERRYS BROOK
   NH      NHOCN000000000-02-02   ATLANTIC OCEAN - NEW CASTLE BEACH
   NH      NHOCN000000000-07      ATLANTIC OCEAN - PARSONS CREEK
   NH      NHEST600031001-10      NORTH MILL POND
   NH      NHEST600031004-06-01   HUNTS ISLAND CREEK (LOWER)
   NH      NHEST600031004-02-03   BLIND CREEK WWTF SZ
   NH      NHEST600031004-04-01   HAMPTON RIVER WWTF SZ
   NH      NHEST600031001-05      BACK CHANNEL
   NH      NHEST600031001-01-03   UPPER PISCATAQUA RIVER-NH-SOUTH
   NH      NHEST600030902-01-02   OYSTER RIVER (BUNKER CR)
   NH      NHEST600030903-01-02   BELLAMY RIVER SOUTH
   NH      NHEST600030406-01      SALMON FALLS RIVER
   NH      NHOCN000000000-02-04   ATLANTIC OCEAN - PIRATES COVE BEACH
   NH      NHOCN000000000-02-05   ATLANTIC OCEAN - CABLE BEACH
                                  ATLANTIC OCEAN - SEABROOK WWTP
   NH      NHOCN000000000-08-01   OUTFALL
   NH      NHOCN000000000-03-01   BASS BEACH BROOK OUTFALL AREA
                                  ATLANTIC OCEAN - STAR ISLAND WWTF
   NH      NHOCN000000000-09      OUTFALL
   NH      NHEST600031004-08-05   BLOOD CREEK
   NH      NHEST600031001-08      WENTWORTH-BY-THE-SEA
   NH      NHEST600030904-01      WINNICUT RIVER
   NH      NHEST600031003-01      HAMPTON FALLS RIVER
                                  ATLANTIC OCEAN - WALLIS SANDS STATE
   NH      NHOCN000000000-02-16   PARK BEACH
   NH      NHOCN000000000-03-02   ATLANTIC OCEAN - BASS BEACH
   NH      NHOCN000000000-04      ATLANTIC OCEAN - CHAPEL BROOK
   NH      NHEST600031004-03-03   TIDE MILL CREEK




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   State   Waterbody ID           Waterbody Name                            Region
   NH      NHEST600031004-05-01   BROWNS RIVER (LOWER)
   NH      NHEST600031004-09-07   FISH COOP 150 FT SZ
   NH      NHEST600030904-06-10   ADAMS POINT MOORING FIELD SZ
   NH      NHEST600030904-04-06   ADAMS POINT SOUTH - COND APP
   NH      NHEST600030904-06-16   U LITTLE BAY (NORTH)
   NH      NHEST600030904-03      GREAT BAY PROHIB SZ2
   NH      NHEST600031003-02      TAYLOR RIVER
   NH      NHEST600030806-01      SQUAMSCOTT RIVER
   NH      NHEST600030902-01-01   OYSTER RIVER (JOHNSON CR)
   NH      NHOCN000000000-02-06   ATLANTIC OCEAN - SAWYER BEACH
   NH      NHOCN000000000-02-09   ATLANTIC OCEAN - STATE BEACH
   NH      NHOCN000000000-02-12   ATLANTIC OCEAN - NORTH BEACH
                                  ATLANTIC OCEAN - WALLIS SANDS WWTP
   NH      NHOCN000000000-02-15   OUTFALL
   NH      NHOCN000000000-02-18   ATLANTIC OCEAN
                                  HAMPTON/SEABROOK HARBOR - SEABROOK
   NH      NHEST600031004-09-05   HARBOR BEACH
   NH      NHEST600031001-02-01   LOWER PISCATAQUA RIVER - NORTH
   NH      NHEST600031001-02-02   LOWER PISCATAQUA RIVER - SOUTH
   NH      NHEST600030904-02      GREAT BAY PROHIB SZ1
   NH      NHEST600031002-02      LITTLE HARBOR
   NH      NHEST600030904-06-11   ADAMS POINT TRIB
   NH      NHOCN000000000-06      ATLANTIC OCEAN - LITTLE RIVER
   NH      NHEST600031004-06-02   HUNTS ISLAND CREEK (UPPER)
   NH      NHEST600031004-08-04   BLACKWATER RIVER
   NH      NHEST600031004-02-02   TAYLOR RIVER (LOWER)
   NH      NHEST600031004-02-05   NUDDS CANAL
   NH      NHEST600031004-05-02   BACK CREEK
   NH      NHEST600031004-09-08   HAMPTON RIVER MARINA SZ
   NH      NHEST600031004-09-09   HAMPTON/SEABROOK HARBOR
   NH      NHOCN000000000-11      ATLANTIC OCEAN - RYE HARBOR
   NH      NHEST600031001-04      LOWER SAGAMORE CREEK
   NH      NHEST600031001-01-01   UPPER PISCATAQUA RIVER-NH-NORTH
   NH      NHOCN000000000-02-07   ATLANTIC OCEAN - JENNESS BEACH
   NH      NHOCN000000000-02-11   ATLANTIC OCEAN - SEABROOK TOWN BEACH
   NH      NHOCN000000000-05      ATLANTIC OCEAN - EEL POND
   NH      NHOCN000000000-09-02   ATLANTIC OCEAN - STAR ISLAND BEACH
   NH      NHEST600031004-01-03   HAMPTON FALLS RIVER
   NJ      NJ02040202080060-01    LRDV TRIB- DELANCO/EDGEWATER
   NJ      NJ02030101170030-01    HUDSON RIVER (LOWER)
   NJ      NJ02030103010180-01    PASSAIC R UPR (PINE BK BR TO ROCKAWAY)
   NJ      NJ02030103110020-01    POMPTON RIVER
   NJ      NJ02030103120020-01    PECKMAN RIVER (BELOW CG RES TRIB)
   NJ      NJ02030103120090-01    PASSAIC R LWR (SADDLE R TO DUNDEE DAM)
   NJ      NJ02030103120110-01    PASSAIC R LWR (GOEFFLE BK TO PUMP STN)
   NJ      NJ02030103180040-01    OVERPECK CREEK
   NJ      NJ02030103180050-01    HACKENSACK R (BELLMANS CK TO FT LEE RD)
                                  ROCKAWAY R (BOONTON DAM TO STONY
   NJ      NJ02030103030150-01    BROOK)
   NJ      NJ02030103040010-01    PASSAIC R UPR (POMPTON R TO PINE BK)
   NJ      NJ02030103050080-01    PEQUANNOCK R (BELOW MACOPIN GAGE)
   NJ      NJ02030103100070-01    RAMAPO R (BELOW CRYSTAL LAKE BRIDGE)
   NJ      NJ02030103180090-01    HACKENSACK R (AMTRAK BRIDGE TO RT 3)
   NJ      NJ02030104010010-01    NEWARK AIRPORT PERIPHERAL DITCH
   NJ      NJ02030104020030-01    ELIZABETH R (BELOW ELIZABETH CORP BDY)




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   State   Waterbody ID          Waterbody Name                            Region
   NJ      NJ02030104050090-01   RAHWAY RIVER SB
                                 ARTHUR KILL WATERFRONT (BELOW
   NJ      NJ02030104050120-01   GRASSELLI)
   NJ      NJ02030104060020-01   MATAWAN CREEK (ABOVE RAVINE DRIVE)
   NJ      NJ02030104060030-01   MATAWAN CREEK (BELOW RAVINE DRIVE)
   NJ      NJ02030104060060-01   PEWS CREEK TO SHREWSBURY RIVER
   NJ      NJ02030104070070-01   SWIMMING RIVER RESERVIOR / SLOPE BK
                                 PORICY BK/SWIMMING R(BELOW
   NJ      NJ02030104070100-01   SWIMMINGR RD)
   NJ      NJ02030104080020-01   PARKERS CREEK / OCEANPORT CREEK
   NJ      NJ02030104090040-01   SHARK RIVER (ABOVE REMSEN MILL GAGE)
   NJ      NJ02030104090060-01   SHARK RIVER (BELOW REMSEN MILL GAGE)
   NJ      NJ02030104090090-01   ATL DRAINAGE ( SHARK R - DEAL LK)
   NJ      NJ02030104910010-01   RARITAN BAY (WEST OF THORNS CK)
   NJ      NJ02030104910020-01   SANDY HOOK BAY (EAST OF THORNS CK)
   NJ      NJ02030104930010-01   ATL COAST(WHALE POND TO SHARK R)
   NJ      NJ02040301910030-01   ATL CST(RT 37 TO BARNEGAT INLET)
   NJ      NJ02040302050080-01   STEPHEN CREEK (GEHR)
   NJ      NJ02040301160140-01   MULLICA RIVER (39D40M30S TO RT 206)
   NJ      NJ02040301160170-01   SLEEPER BRANCH
   NJ      NJ02040301170080-01   MULLICA RIVER (LOWER BANK RD TO RT 563)
                                 OSWEGO R (ANDREWS RD TO SIM PLACE
   NJ      NJ02040301180060-01   RESV)
   NJ      NJ02040301200080-01   MULLICA RIVER (GSP BRIDGE TO TURTLE CK)
   NJ      NJ02040301210010-01   MULLICA RIVER (BELOW GSP BRIDGE)
   NJ      NJ02040302930010-01   ATL COAST(GREAT EGG TO 34TH ST)
   NJ      NJDELAWARE-RIVER-14   DELAWARE RIVER 1E
   NJ      NJDELAWARE-RIVER-2    DELAWARE RIVER 1C
   NJ      NJDELAWARE-RIVER-8    DELAWARE RIVER 1D
                                 RANCOCAS CK SB (BOBBYSRUN TO
   NJ      NJ02040202050090-01   VINCENTOWN)
   NJ      NJ02040202080030-01   MILL CREEK (WILLINGBORO)
   NJ      NJ02040202080050-01   RANCOCAS CREEK (BELOW RT 130)
   NJ      NJ02040202110030-01   COOPER RIVER (ABOVE EVESHAM ROAD)
                                 COOPER R (WALLWORTH GAGE TO EVESHAM
   NJ      NJ02040202110040-01   RD)
                                 COOPER RIVER (RT 130 TO WALLWORTH
   NJ      NJ02040202110050-01   GAGE)
   NJ      NJ02040202120060-01   ALMONESSON CREEK
                                 NEWTON CREEK (LDRV-KAIGHN AVE TO LT
   NJ      NJ02040202120090-01   CK)
                                 WOODBURY CK (BELOW RT 45)/LDRV TO B T
   NJ      NJ02040202120110-01   CK
                                 REPAUPOCK(BELOWTOMLIN STA
   NJ      NJ02040202140050-01   RD)/CEDARSWAMP
                                 OLDMANS CREEK (CENTER SQ RD TO
   NJ      NJ02040202160050-01   KINGSHWY)
                                 LDRV TRIBS (LAKEVIEW AVE TO OLDMANS
   NJ      NJ02040206020010-01   CK)
   NJ      NJ02040206110060-01   DIVIDING CREEK (BELOW MILL CREEK)
                                 NEW ENGLAND CREEK (KENNY PT TO ELDER
   NJ      NJ02040206110070-01   PT)
                                 MUDDY RUN (INCL PARVINLK TO PALATINE
   NJ      NJ02040206150050-01   LK)




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   State   Waterbody ID          Waterbody Name                            Region
                                 MAURICE RIVER(MENANTICO CK TO
   NJ      NJ02040206170030-01   UNIONLAKE)
   NJ      NJ02040206170050-01   BUCKSHUTEM CREEK (BELOW RT 555)
   NJ      NJ02040206180050-01   MENANTICO CREEK (BELOW RT 552)
   NJ      NJ02040206200030-01   MAURICE RIVER (RT 548 TO MENANTICO CK)
                                 MAURICE RIVER (BELOW LEESBURG) TO
   NJ      NJ02040206200050-01   EASTPT
   NJ      NJ02040206230010-01   BIDWELL CREEK (ABOVE RT 47)
   NJ      NJ02040206230030-01   DIAS CREEK
                                 METEDECONK R SB(BENNETTSPD TO
   NJ      NJ02040301030030-01   74D19M15S)
   NJ      NJ02040301050040-01   BARNEGAT NORTH TRIBS (TIDE CK TO RT 37)
   NJ      NJ02030105120080-01   SOUTH FORK OF BOUND BROOK
                                 RARITAN R LWR (LAWRENCE BK TO MILE
   NJ      NJ02030105120170-01   RUN)
                                 LAWRENCE BK (BELOW
   NJ      NJ02030105130070-01   MILLTOWN/HERBERTS BR)
   NJ      NJ02030105160070-01   SOUTH RIVER (BELOW DUHERNAL LAKE)
   NJ      NJ02030105160090-01   RED ROOT CREEK / CROWS MILL CREEK
                                 LDRV TRIBS (MARSH PT-MAIN ST
   NJ      NJ02040206020020-01   PENNSVILLE)
   NJ      NJ02040206040020-01   FENWICK CREEK / KEASBEYS CREEK
   NJ      NJ02040206040030-01   SALEM R (FENWICK CK TO 39D40M14S DAM)
                                 ALLOWAY CK (QUINTON TO ALLOWAY-
   NJ      NJ02040206060050-01   WDSTWNRD)
   NJ      NJ02040206060060-01   ALLOWAY CREEK (NEW BRIDGE TO QUINTON)
                                 ALLOWAY CK (HANCOCKSBRIDGE TO
   NJ      NJ02040206060080-01   NEWBRIDGE)
   NJ      NJ02040206060100-01   HOPE CREEK / ARTIFICIAL ISLAND
   NJ      NJ02040206070010-01   FISHING CREEK / BUCKS DITCH/PATTYS FORK
   NJ      NJ02040206070020-01   MAD HORSE CK / LITTLE CK / TURNERS FORK
   NJ      NJ02040206090080-01   COHANSEY R (GREENWICH TO 75D17M50S)
                                 MIDDLE MARSH CK (DRUMBOCK TO SEA
   NJ      NJ02040206100010-01   BREEZE)
   NJ      NJ02040206100030-01   BACK CREEK (SEA BREEZE RD TO CEDAR CK)
   NJ      NJ02040206100050-01   CEDAR CREEK (BELOW RT 553)
   NJ      NJ02040206110020-01   FORTESQUE CK / FISHING CK / STRAIGHT CK
   NJ      NJ02040206110030-01   ORANOAKEN CREEK
   NJ      NJ02040206110050-01   DIVIDING CREEK (ABOVE MILL CREEK)
                                 TOMS RIVER (HOPE CHAPEL RD TO BOWMAN
   NJ      NJ02040301060060-01   RD)
                                 TOMS RIVER (OAK RIDGE PARKWAY TO RT
   NJ      NJ02040301060080-01   70)
   NJ      NJ02040301080060-01   TOMS R LWR (RT 166 TO OAK RIDGE PKWY)
                                 MILL CK (BELOW GS
   NJ      NJ02040301130030-01   PARKWAY)/MANAHAWKIN CK
   NJ      NJ02040301160020-01   MULLICA RIVER (ABOVE JACKSON ROAD)
   NJ      NJ02040301160030-01   MULLICA RIVER (RT 206 TO JACKSON ROAD)
   NJ      NJ02040201070020-01   CROSSWICKS CK(BELOW DOCTORS CREEK)
   NJ      NJ02040201070030-01   SHADY BROOK/SPRING LAKE/ROWAN LAKE
   NJ      NJ02040201090020-01   CRAFTS CREEK (BELOW RT 206)
   NJ      NJ02040201090030-01   LDRV TRIBS (ASSISCUNK CK TO BLACKS CK)
   NJ      NJ02040202040050-01   RANCOCAS CREEK NB (BELOW SMITHVILLE)
                                 PASSAIC R UPR (ROCKAWAY TO HANOVER
   NJ      NJ02030103010170-01   RR)




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   State   Waterbody ID          Waterbody Name                            Region
   NJ      NJ02030103120100-01   PASSAIC R LWR (GOFFLE BK TO POMPTON R)
   NJ      NJ02030103140070-01   SADDLE RIVER (BELOW LODI GAGE)
   NJ      NJ02030103150050-01   PASSAIC R LWR (NWK BAY TO 4TH ST BRDG)
                                 HACKENSACK R (FT LEE RD TO ORADELL
   NJ      NJ02030103180030-01   GAGE)
   NJ      NJ02030103180070-01   BERRYS CREEK (BELOW PATERSON AVE)
   NJ      NJ02030103180080-01   HACKENSACK R (RT 3 TO BELLMANS CK)
   NJ      NJ02030103180100-01   HACKENSACK R (BELOW AMTRAK BRIDGE)
   NJ      NJ02030104010020-01   KILL VAN KULL WEST
   NJ      NJ02030104050110-01   WOODBRIDGE CREEK
   NJ      NJ02030104920010-01   ATL COAST(SANDY H TO NAVESINK R)
   NJ      NJ02040301910020-01   ATL COAST (HERRING IS TO RT 37)
                                 MULLICA R (PLEASANT MILLS TO
   NJ      NJ02040301160150-01   39D40M30S)
                                 MULLICA RIVER(TURTLE CK TO LOWER
   NJ      NJ02040301170130-01   BANKRD)
                                 MULLICA R. ( BATSTOR TO NESCOCHAGUE
   NJ      NJ02040301170140-01   LAKE)
   NJ      NJ02040302940040-01   ATL CST(HEREFORD TO CAPE MAY IN)
                                 RANCOCAS CK SB (VINCENTOWN-
   NJ      NJ02040202050080-01   FRIENDSHIPCK)
                                 RANCOCAS CK SW BRANCH (BELOW
   NJ      NJ02040202060100-01   MEDFORD BR)
   NJ      NJ02040202070020-01   RANCOCAS CREEK SB (RT 38 TO BOBBYS RUN)
                                 RANCOCAS CREEK (RT 130 TO MARTINS
   NJ      NJ02040202080040-01   BEACH)
                                 PENNSAUKEN CK NB (INCL STRWBRDGLK-
   NJ      NJ02040202100020-01   NJTPK)
   NJ      NJ02040202120050-01   BIG TIMBER CREEK SB (BELOW BULL RUN)
   NJ      NJ02040202120070-01   LITTLE TIMBER CREEK (GLOUCESTER CITY)
                                 MANTUA CK (EDWARDS RUN TO RD TO
   NJ      NJ02040202130040-01   SEWELL)
   NJ      NJ02040202130050-01   EDWARDS RUN
   NJ      NJ02040202130060-01   MANTUA CREEK (BELOW EDWARDS RUN)
   NJ      NJ02040202160040-01   BEAVER CREEK (OLDMANS CREEK)
   NJ      NJ02040206180030-01   MENANTICO CREEK (ABOVE RT 552)
   NJ      NJ02040206210010-01   RIGGINS DITCH (MOORES BEACH TO EAST PT)
   NJ      NJ02040206220020-01   SLUICE CREEK
                                 BIDWELL CK(BELOW RT 47)-DIAS TO
   NJ      NJ02040206230020-01   GOSHENCK
   NJ      NJ02030105120090-01   SPRING LAKE FORK OF BOUND BROOK
                                 BOUND BROOK (BELOW FORK AT 74D 25M
   NJ      NJ02030105120100-01   15S)
   NJ      NJ02030105120130-01   GREEN BROOK (BELOW BOUND BROOK)
   NJ      NJ02030105160080-01   MILL BROOK / MARTINS CREEK
   NJ      NJ02040206040040-01   SALEM R (BELOW FENWICK CREEK)
                                 STOW CREEK (CANTON ROAD TO JERICHO
   NJ      NJ02040206070060-01   ROAD)
   NJ      NJ02040206070070-01   RACCOON DITCH (STOW CREEK)
   NJ      NJ02040206070080-01   STOW CREEK (BELOW CANTON RD)
                                 COHANSEY R (ROCAPS RUN TO CORNWELL
   NJ      NJ02040206090030-01   RUN)
   NJ      NJ02040206090100-01   COHANSEY R (BELOW GREENWICH)
   NJ      NJ02040206110040-01   MILL CREEK (DIVIDING CREEK)
   NJ      NJ02040301060010-01   TOMS RIVER (ABOVE FRANCIS MILLS)




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   State   Waterbody ID          Waterbody Name                             Region
                                 UNION BRANCH (BELOW BLACKS BR
   NJ      NJ02040301070090-01   74D22M05S)
                                 CROSSWICKS CK(DOCTORS CK-ELLISDALE
   NJ      NJ02040201050070-01   TRIB)
   NJ      NJ02040201090040-01   LDRV TRIBS (BUSTLETON CREEK AREA)
                                 GREENWOOD BR(BELOW COUNTRYLK & MM
   NJ      NJ02040202030090-01   CONFL)
   NJ      NJ02030103120080-01   PASSAIC R LWR (DUNDEE DAM TO F.L. AVE)
   NJ      NJ02030103150030-01   PASSAIC R LWR (SECOND R TO SADDLE R)
   NJ      NJ02030103150040-01   PASSAIC R LWR (4TH ST BR TO SECOND R)
   NJ      NJ02030104060040-01   CHINGARORA CREEK TO THORNS CREEK
   NJ      NJ02030104060050-01   WAACKAACK CREEK
   NJ      NJ02030104080010-01   LITTLE SILVER CREEK / TOWN NECK CREEK
   NJ      NJ02030104930020-01   ATL COAST (SHARK R TO MANASQUAN)
   NJ      NJ02040301170060-01   MULLICA RIVER (RT 563 TO BATSTO RIVER)
   NJ      NJ02040301200050-01   BASS RIVER EB
   NJ      NJ02040202050060-01   RANCOCAS CREEK SB(ABOVE FRIENDSHIP CK)
   NJ      NJ02040202070010-01   BOBBYS RUN
   NJ      NJ02040202070030-01   RANCOCAS CREEK SB (BELOW RT 38)
                                 RANCOCAS CREEK (MARTINS BEACH TO
   NJ      NJ02040202080020-01   NB/SB)
   NJ      NJ02040202090010-01   SWEDE RUN
   NJ      NJ02040202120100-01   WOODBURY CREEK (ABOVE RT 45)
   NJ      NJ02040202150040-01   RACCOON CK (RUSSELL MILL RD TO RT 45)
   NJ      NJ02040206220030-01   DENNIS CREEK (JAKES LANDING RD TO RT 47)
   NJ      NJ02040206220040-01   DENNIS CREEK (BELOW JAKES LANDING RD)
                                 ALLOWAY CK (BELOW HANCOCKSBR) TO
   NJ      NJ02040206060090-01   SALEM R
   NJ      NJ02040206070090-01   PHILLIPS CREEK / JACOBS CREEK
                                 COHANSEY R (75D15M TO/INCL ROCAPS
   NJ      NJ02040206090060-01   RUN)
                                 NANTUXENT CREEK (BELOW NEWPORT
   NJ      NJ02040206100070-01   LANDING)
   NJ      NJ02040301140020-01   MILL BRANCH (BELOW GS PARKWAY)
   NJ      NJ02040201100060-01   ASSISCUNK CREEK (BELOW NECK RD)
   NJ      NJ02030105160100-01   RARITAN R LWR (BELOW LAWRENCE BK)
   NJ      NJ02030101170010-01   HUDSON RIVER (UPPER)
   NJ      NJ02030103180060-01   BERRYS CREEK (ABOVE PATERSON AVE)
   NJ      NJ02030104030010-01   MORSES CREEK / PILES CREEK
                                 RAHWAY RIVER (BELOW ROBINSONS
   NJ      NJ02030104050100-01   BRANCH)
   NJ      NJ02040301910010-01   ATL COAST(MANASQUAN/HERRING IS)
                                 COOPER RIVER NB(BELOW SPRINGDALE
   NJ      NJ02040202110020-01   ROAD)
   NJ      NJ02040202110060-01   COOPER RIVER (BELOW RT 130)
   NJ      NJ02040202120080-01   BIG TIMBER CREEK (BELOW NB/SB CONFL)
   NJ      NJ02040202160060-01   OLDMANS CREEK (BELOW CENTER SQ RD)
   NJ      NJ02040206200020-01   MUSKEE CREEK
                                 DENNIS CK / CEDAR SWAMP(RT 47 TO RT
   NJ      NJ02040206220010-01   550)
   NJ      NJ02040206090070-01   COHANSEY R (75D17M50S TO 75D15M)
   NJ      NJ02040206100020-01   BRIDGES STICKS CREEK / OGDEN CREEK
                                 NANTUXENT CREEK (ABOVE NEWPORT
   NJ      NJ02040206100060-01   LANDING)




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   State   Waterbody ID          Waterbody Name                             Region
                                 NEWPORT NECK (NANTUXENT TO BEADONS
   NJ      NJ02040206110010-01   CK)
   NJ      NJ02030103150010-01   THIRD RIVER
   NJ      NJ02030104070120-01   NAVESINK R MOUTH
                                 SHREWSBURY RIVER (ABOVE NAVESINK
   NJ      NJ02030104080040-01   RIVER)
   NJ      NJ02030104920020-01   ATLCOAST(NAVESINK R TO WHALEPOND)
   NJ      NJ02040302940010-01   ATL COAST(34TH ST TO CORSON INL)
   NJ      NJ02040202100060-01   PENNSAUKEN CK (BELOW NB / SB)
                                 MOSS BRANCH / LITTLE TIMBER CK
   NJ      NJ02040202140040-01   (REPAUPO)
   NJ      NJ02040206200040-01   MAURICE RIVER (LEESBURG TO RT 548)
                                 WEST CK (BELOW PAPERMILLRD) TO
   NJ      NJ02040206210040-01   MOORESBCH
                                 RARITAN R LWR (MILERUN TO I-287
   NJ      NJ02030105120160-01   PISCTWY)
   NJ      NJ02040206060070-01   HARMONY TRIB (ALLOWAY CREEK)
   NJ      NJ02040206070040-01   CANTON DRAIN (BELOW MASKELL MILL)
   NJ      NJ02040201110010-01   LDRV TRIBS (BEVERLY TO ASSISCUNK CK)
   NJ      NJ02030103120070-01   PASSAIC R LWR (FAIR LAWN AVE TO GOFFLE)
   NJ      NJ02030104060010-01   CHEESEQUAKE CREEK / WHALE CREEK
                                 NAVESINK R (BELOW RT
   NJ      NJ02030104070110-01   35)/LOWERSHREWSBURY
   NJ      NJ02030104080030-01   BRANCHPORT CREEK
   NJ      NJ02040302940050-01   ATL CST(CM INLET TO CAPE MAY PT)
   NJ      NJ02040202120120-01   MAIN DITCH / LITTLE MANTUA CREEK
   NJ      NJ02040206190030-01   MANUMUSKIN RIVER (BELOW RT 49)
   NJ      NJ02040206210060-01   EAST CREEK
   NJ      NJ02040206230050-01   FISHING CREEK / FISHING MILL STREAM
   NJ      NJ02040201030010-01   DUCK CREEK AND UDRV TO ASSUNPINK CK
                                 ASSISCUNK CK(NECK RD TO JACKSONVILLE
   NJ      NJ02040201100050-01   RD)
                                 MULLICA RIVER (BATSTOR TO
   NJ      NJ02040301170040-01   PLEASANTMILLS)
                                 COOPER RIVER NB(ABOVE SPRINGDALE
   NJ      NJ02040202110010-01   ROAD)
                                 GREEN CK (NORBURYS LANDNG TO PIERCES
   NJ      NJ02040206230040-01   PT)
   NJ      NJ02040301020010-01   METEDECONK R NB(ABOVE I-195)
   NJ      NJ02040206090050-01   MILL CREEK (BELOW MAPLE HOUSE BK)
   NJ      NJ02040201080030-01   BLACKS CREEK (BELOW BACONS RUN)
   NJ      NJ02030104010030-01   UPPER NY BAY / KILL VAN KULL (74D07M30S)
                                 POMPESTON CK (BELOW RT130/SWEDE TO
   NJ      NJ02040202090030-01   40D)
   NJ      NJ02040206170010-01   HANKINS POND TRIB (MILLVILLE)
   NJ      NJ02040302940020-01   AT COAST(CORSON TO TOWNSENDS IN)
   NJ      NJ02030104910030-01   RARITAN BAY ( DEEP WATER)
   NJ      NJ02030104090030-01   DEAL LAKE
   NJ      NJ02040301920030-01   ATL COAST(HAVEN BCH TO LIT EGG)
   NJ      NJ02040302920020-01   ATL COAST(VENTNOR TO GREAT EGG)
   NJ      NJ02040302910010-01   ATL COAST(LTL EGG TO ABSECON IN)
   NJ      NJ02040302920010-01   ATL COAST(ABSECON IN TO VENTNOR)
   NJ      NJ02040301920010-01   ATL COAST(BARNEGAT TO SURF CITY)
   NJ      NJ02040302940030-01   ATL CST(TOWNSENDS TO HEREFORD IN)
   NJ      NJ02040206230060-01   COX HALL CREEK / MICKELS RUN (TO VILLAS)




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   State   Waterbody ID          Waterbody Name                           Region
   NJ      NJ02040303060201-01   ATL COAST (OFF CAPE MAY PT)
   NJ      NJ02040206230070-01   POND CREEK / CAPE MAY CANAL WEST
   NJ      NJ02040301920020-01   ATL COAST(SURF CITY TO HAVEN BE)
                                 PECOS RIVER (RIO PE├æASCO TO SALT
   NM      NM-2206.A_00          CREEK)
                                 SANDIA CANYON (SIGMA CANYON TO NPDES
   NM      NM-9000.A_047         OUTFALL 001)
                                 RIO GRANDE (COCHITI RESERVOIR TO SAN
   NM      NM-2111_00            ILDEFONSO BND)
                                 CA├æADA AQUA (ARROYO LA MINA TO
   NM      NM-98.A_003           HEADWATERS)
                                 ARROYO DEL PALACIO (RIO GRANDE TO
   NM      NM-98.A_004           HEADWATERS)
   NM      NM-2114_00            ABIQUIU RESERVOIR
   NM      NM-2104_00            ELEPHANT BUTTE RESERVOIR
   NM      NM-2201_00            PECOS RIVER (TX BORDER TO BLACK RIVER)
   NM      NM-2112.A_10          RIO DEL OSO (RIO CHAMA TO HEADWATERS)
                                 PECOS RIVER (BLACK RIVER TO LOWER
   NM      NM-2202.A_00          TANSIL LAKE)
                                 RIO GRANDE (OHKAY OWINGEH BND TO
   NM      NM-2111_10            EMBUDO CREEK)
                                 PECOS RIVER (BRANTLEY RESERVOIR TO RIO
   NM      NM-2206.A_01          PE├æASCO)
                                 RIO GRANDE (NON-PUEBLO ALAMEDA
   NM      NM-2105.1_00          BRIDGE TO HWY 550 BRIDGE)
   NM      NM-2304_00            CONCHAS RESERVOIR
                                 CA├æON DE VALLE (UPPER LANL BND TO
   NM      NM-9000.A_051         HEADWATERS)
                                 RIO GRANDE (ISLETA PUEBLO BND TO
   NM      NM-2105_50            ALAMEDA BRIDGE)
                                 SANTA FE RIVER (SANTA FE WWTP TO
   NM      NM-9000.A_061         NICHOLS RSVR)
                                 PUEBLO CANYON (ACID CANYON TO
   NM      NM-9000.A_043         HEADWATERS)
                                 ARROYO DEL TORO (RIO CHAMA TO
   NM      NM-98.A_006           HEADWATERS)
                                 LOS ALAMOS CANYON (NM-4 TO DP
   NM      NM-9000.A_006         CANYON)
                                 PAJARITO CANYON (WITHIN LANL BELOW
   NM      NM-128.A_08           ARROYO DE LA DELFE)
                                 TWO MILE CANYON (PAJARITO TO
   NM      NM-128.A_15           HEADWATERS)
   NM      NM-128.A_00           CA├æADA DEL BUEY (WITHIN LANL)
                                 LOS ALAMOS CANYON (DP CANYON TO
   NM      NM-9000.A_06B         UPPER LANL BND)
                                 PUEBLO CANYON (BAYO WWTP TO ACID
   NM      NM-97.A_006           CANYON)
                                 NORTH FORK ANCHO CANYON (ANCHO
   NM      NM-9000.A_055         CANYON TO HEADWATERS)
                                 ANCHO CANYON (NORTH FORK TO
   NM      NM-9000.A_046         HEADWATERS)
                                 SANDIA CANYON (WITHIN LANL BELOW
   NM      NM-128.A_11           SIGMA CANYON)
                                 WATER CANYON (WITHIN LANL BELOW
   NM      NM-128.A_13           AREA-A CYN)




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   State   Waterbody ID        Waterbody Name                             Region
                               RIO GRANDE (SANTA CLARA PUEBLO BND TO
   NM      NM-2111_11          OHKAY OWINGEH BND)
                               PUEBLO CANYON (LOS ALAMOS CANYON TO
   NM      NM-99.A_001         BAYO WWTP)
                               CA├æON DE VALLE (LANL GAGE E256 TO
   NM      NM-126.A_00         BURNING GROUND SPR)
                               LOWER TANSIL LAKE/LAKE CARLSBAD
   NM      NM-2203.B_00        (CARLSBAD MUNICIPAL LAKE)
                               PAJARITO CANYON (UPPER LANL BND TO
   NM      NM-9000.A_048       HEADWATERS)
                               CA├æADA DE HORNO (RIO CHAMA TO
   NM      NM-98.A_005         HEADWATERS)
                               POJOAQUE RIVER (SAN ILDEFONSO BND TO
   NM      NM-2111_20          POJOAQUE BND)
   NY      NY-0301-0007        Johnson Creek, Lower, and tribs
   NY      NY-0104-0036        Lake Erie (Northeast Shoreline)
   NY      NY-0302-0025        Mill Creek and tribs
   NY      NY-0302-0024        Irondequoit Cr, Lower, and minor tribs
   NY      NY-0702-0005        Ninemile Creek, Lower, and tribs
   NY      NY-0303-0016        Salmon River, Lower, and minor tribs
   NY      NY-0402-0002        Canadice Lake
   NY      NY-0402-0004        Conesus Lake
   NY      NY-0303-0022        Henderson Bay
   NY      NY-0303-0024        Lake Ontario Shoreline, Eastern
   NY      NY-0303-0002        North Pond
   NY      NY-0301-0018        Round Pond
   NY      NY-0302-0040        Lake Ontario Shoreline, Oswego
   NY      NY-0301-0071        Lake Ontario Shoreline, Western
   NY      NY-0301-0025        Salmon Creek and minor tribs
   NY      NY-0301-0072        Lake Ontario Shoreline, Western
   NY      NY-0302-0041        Lake Ontario Shoreline, Central
   NY      NY-0303-0017        Lake Ontario Shoreline, Eastern
   NY      NY-0303-0031        Lake Ontario Shoreline, Eastern
   NY      NY-0303-0026        Lake Ontario Shoreline, Eastern
   NY      NY-0303-0027        Lake Ontario Shoreline, Eastern
   NY      NY-0301-0055        Eighteenmile Creek, Upp, and minor tribs
   NY      NY-0302-0001        Irondequoit Bay
   NY      NY-0302-0011        East Bay
   NY      NY-0302-0002        Rochester Embayment - East
   NY      NY-0105-0033        Lake Erie (Main Lake, South)
   NY      NY-0301-0002        Eighteenmile Creek, Lower, and tribs
   NY      NY-0104-0030        Eighteenmile Creek, Lower, minor tribs
   NY      NY-0101-0006        Niagara River, Upper, Main Stem
   NY      NY-0301-0015        Long Pond
   NY      NY-0301-0017        Buck Pond
   NY      NY-0302-0042        Lake Ontario Shoreline, Central
   NY      NY-0303-0067        Lower Salmon River Reservoir
   NY      NY-0303-0068        Salmon River, Middle, and tribs
   NY      NY-0302-0045        Lake Ontario Shoreline, Central
   NY      NY-0302-0020        Sodus Bay
   NY      NY-0301-0054        Eighteenmile Creek, Middle, and tribs
   NY      NY-0301-0021        Little Pond
   NY      NY-0702-0021        Onondaga Lake, southern end
   NY      NY-0702-0022        Minor Tribs to Onondaga Lake
   NY      NY-0904-0009        Grass River, Lower, and tribs




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   State   Waterbody ID        Waterbody Name                             Region
   NY      NY-1701-0182        Arthur Kill (Class SD) and minor tribs
   NY      NY-1701-0214        Long Creek/Baldwin Bay/Parsonage Cove
   NY      NY-1701-0375        Nicoll Bay
   NY      NY-1702-0047        Stony Brook Harbor and West Meadow Creek
   NY      NY-1701-0368        Northwest Harbor
   NY      NY-1701-0369        Napeague Bay
   NY      NY-1701-0202        East Bay
   NY      NY-1702-0264        Fishers Island Sound
   NY      NY-1701-0167        Noyack Bay
   NY      NY-1701-0326        Patchogue Bay
   NY      NY-1702-0014        Huntington Bay
   NY      NY-1701-0365        Shelter Island Sound, South, and tribs
   NY      NY-1701-0208        Middle Bay
   NY      NY-1701-0170        Shelter Island Sound, North, and tribs
   NY      NY-1701-0172        Little Peconic Bay
   NY      NY-1702-0229        Centerport Harbor
   NY      NY-1702-0015        Port Jefferson Harbor, North, and tribs
   NY      NY-1701-0165        Great Peconic Bay and minor coves
   NY      NY-1702-0023        Smithtown Bay
   NY      NY-0905-0090        Little River and tribs
   NY      NY-1301-0003        Hudson River (Class B)
   NY      NY-1301-0006        Hudson River (Class I)
   NY      NY-1301-0001        Hudson River (Class A)
   NY      NY-1701-0226        Jamaica Bay, Western, and tribs (Brklynb
   NY      NY-1702-0151        Mill Neck Creek and tidal tribs
   NY      NY-1701-0305        Moriches Bay, East
   NY      NY-1201-0207        Sauquoit Creek, Middle, and tribs
   NY      NY-0707-0003        Skaneateles Creek and tribs
   NY      NY-0801-0190        Black River, Middle, Main Stem
   NY      NY-1301-0094        Hudson River (Class SB), portion
   NY      NY-1310-0003        Valatie Kill, Middle, and tribs
   NY      NY-1301-0276        Hudson River (Class A)
   NY      NY-0801-0191        Kelsey Creek and tribs
   NY      NY-0901-0001        Saint Lawrence River, Main Stem
   NY      NY-1301-0002        Hudson River (Class C)
   NY      NY-1701-0050        Dering Harbor
   NY      NY-1701-0032        Hempstead Bay
   NY      NY-1701-0022        Upper New York Bay
   NY      NY-1701-0041        South Oyster Bay
   NY      NY-1701-0132        West Neck Harbor
   NY      NY-1701-0376        Great Cove
   NY      NY-1701-0320        Bellport Bay
   NY      NY-1702-0007        Eastchester Bay
   NY      NY-1310-0001        Nassau Lake
   NY      NY-0903-0059        Raquette River, Lower, and minor tribs
   NY      NY-0902-0093        St.Regis River, Lower, and tribs
   NY      NY-1102-0018        Hoosic River, Upper, and minor tribs
   NY      NY-1701-0011        Gowanus Canal
   NY      NY-1701-0030        Flanders Bay, East/Center, and tribs
   NY      NY-1701-0005        Jamaica Bay, Eastern, and tribs (Queens)
   NY      NY-1701-0045        Cutchogue Harbor and tidal tribs
   NY      NY-1201-0010        Mohawk River, Main Stem
   NY      NY-1404-0050        Trout Creek, Upper, and tribs
   NY      NY-0801-0250        Black River, Lower, Main Stem
   NY      NY-1101-0005        Upper Hudson, Main Stem




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   State   Waterbody ID        Waterbody Name                             Region
   NY      NY-1101-0043        Upper Hudson, Main Stem
   NY      NY-1102-0002        Hoosic River, Lower, Main Stem
   NY      NY-1102-0017        Hoosic River, Upper, and tribs
   NY      NY-1104-0002        Schroon Lake
   NY      NY-1201-0064        NYS Barge Canal (portion 7)
   NY      NY-1201-0092        Mohawk River/NYS Barge Canal, Main Stem
   NY      NY-0301-0010        Braddock Bay
   NY      NY-1001-0001        Cumberland Bay
   NY      NY-1702-0266        Long Island Sound, Suffolk County, East
   NY      NY-1702-0016        Oyster Bay Harbor
   NY      NY-1702-0018        Cold Spring Harbor, and tidal tribs
   NY      NY-1702-0001        Long Island Sound, Westchester Co Waters
   NY      NY-1201-0212        Sixmile Creek and tribs
   NY      NY-1101-0002        Upper Hudson, Main Stem
   NY      NY-1701-0164        Gardiners Bay and minor tidal tribs
   NY      NY-1701-0040        Great South Bay, Middle
   NY      NY-1701-0038        Moriches Bay, West
   NY      NY-1701-0033        Shinnecock Bay (and Inlet)
   NY      NY-0302-0012        Port Bay
   NY      NY-0301-0068        Rochester Embayment - West
   NY      NY-0301-0069        Lake Ontario Shoreline, Western
   NY      NY-0101-0004        Bergholtz Creek and tribs
   NY      NY-0102-0022        Tonawanda Creek, Lower, Main Stem
   NY      NY-0301-0004        Oak Orchard Cr, Lower, and minor tribs
   NY      NY-0101-0025        Black Rock Canal
   NY      NY-0104-0037        Lake Erie (Main Lake, North)
   NY      NY-0303-0023        Lake Ontario Shoreline, Eastern
   NY      NY-0301-0016        Cranberry Pond
   NY      NY-0303-0025        Guffin Bay
   NY      NY-0702-0007        Geddes Brook and tribs
   NY      NY-1702-0029        Little Neck Bay
   NY      NY-1702-0265        Long Island Sound, Suffolk Co, Central
   NY      NY-1701-0173        Great South Bay, West
   NY      NY-1702-0263        Hempstead Harbor, south, and tidal tribs
   NY      NY-1701-0168        Orient Harbor and minor tidal tribs
   NY      NY-1702-0021        Manhasset Bay, and tidal tribs
   NY      NY-1702-0227        Lloyd Harbor
   NY      NY-1702-0022        Hempstead Harbor, north, and tidal tribs
   NY      NY-1702-0028        Long Island Sound, Nassau County Waters
   NY      NY-1301-0005        Hudson River (Class SB), portion
   NY      NY-1201-0069        Sauquoit Creek, Lower, and minor tribs
   NY      NY-0901-0004        Saint Lawrence River, Main Stem
   NY      NY-1701-0278        Block Island Sound
   NY      NY-1702-0256        Northport Bay
   NY      NY-1702-0259        New Rochelle Harbor
   NY      NY-1702-0003        Hutchinson River, Lower, and tribs
   NY      NY-1310-0024        Valatie Kill, Upper, and tribs
   NY      NY-0901-0015        Saint Lawrence River, Main Stem
   NY      NY-1702-0071        Mamaroneck River, Lower
   NY      NY-1702-0010        East River, Upper
   NY      NY-1102-0016        Hoosic River, Middle, Main Stem
   NY      NY-1201-0093        Mohawk River, Main Stem
   NY      NY-0801-0202        Black River, Lower, Main Stem
   NY      NY-1001-0015        Willsboro Bay
   NY      NY-1701-0185        Erie Basin




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   State   Waterbody ID        Waterbody Name                            Region
   NY      NY-1701-0318        Narrow Bay
   NY      NY-0303-0028        Lake Ontario Shoreline, Eastern
   NY      NY-0103-0001        Buffalo River, Main Stem
   NY      NY-0303-0030        Lake Ontario Shoreline, Eastern
   NY      NY-0301-0070        Lake Ontario Shoreline, Western
   NY      NY-0302-0043        Lake Ontario Shoreline, Central
   NY      NY-0702-0002        Harbor Brook, Lower, and tribs
   NY      NY-0702-0003        Onondaga Lake, northern end
   NY      NY-1701-0180        Raritan Bay (Class SB)
   NY      NY-1701-0216        Reynolds Channel, west
   NY      NY-1702-0027        Long Island Sound, Western Portion
   NY      NY-1701-0044        Southold Bay
   NY      NY-0701-0006        Oswego River, Lower, Main Stem
   NY      NY-1701-0010        Arthur Kill (Class I) and minor tribs
   NY      NY-1101-0042        Upper Hudson, Main Stem
   NY      NY-1102-0003        Hoosic River, Middle, Main Stem
   NY      NY-0104-0032        Lake Erie (Erie Basin)
   NY      NY-0101-0027        Niagara River, Lower, Main Stem
   NY      NY-0301-0053        Lake Ontario Shoreline, Western
   NY      NY-0301-0020        Slater Creek and tribs
   NY      NY-1701-0213        Shell Creek and Barnums Channel
   NY      NY-1702-0146        Glen Cove Creek, Lower, and tribs
   NY      NY-1701-0112        Tiana Bay and tidal tribs
   NY      NY-1310-0002        Kinderhook Lake
   NY      NY-1701-0163        Coecles Harbor
   NY      NY-0901-0002        Saint Lawrence River, Main Stem
   NY      NY-1701-0183        Newark Bay
   NY      NY-1701-0002        Raritan Bay (Class SA)
   NY      NY-0401-0001        Genesee River, Lower, Main Stem
   NY      NY-0303-0029        Lake Ontario Shoreline, Eastern
   NY      NY-0302-0044        Lake Ontario Shoreline, Central
   NY      NY-1701-0181        Raritan Bay (Class I)
   NY      NY-1701-0272        Reeves Bay and tidal tribs
   NY      NY-1702-0142        Manhasset Bay, and tidal tribs
   NY      NY-1702-0228        Huntington Harbor
   NY      NY-1702-0125        Mamaroneck Harbor
   NY      NY-1702-0098        Long Island Sound, Suffolk County, West
   NY      NY-1201-0203        Ballou, Nail Creeks and tribs
   NY      NY-1701-0217        East Rockaway Inlet
   NY      NY-1101-0044        Upper Hudson, Main Stem
   NY      NY-1702-0116        Larchmont Harbor
   NY      NY-0302-0021        Blind Sodus Bay
   NY      NY-0104-0033        Lake Erie (Outer Harbor, North)
   NY      NY-0105-0009        Lake Erie (Dunkirk Harbor)
   NY      NY-0105-0011        Lake Erie (Barcelona Harbor)
   NY      NY-0104-0035        Lake Erie (Northeast Shoreline)
   NY      NY-1701-0179        Lower New York Bay/Gravesend Bay
   NY      NY-1701-0366        Pipes Cove
   NY      NY-1201-0223        Threemile Creek and tribs
   NY      NY-1701-0220        Hog Island Channel
   NY      NY-1201-0091        Mohawk River/NYS Barge Canal, Main Stem
   NY      NY-1702-0019        Mt Sinai Harbor and tidal tribs
   NY      NY-0104-0034        Lake Erie (Outer Harbor, South)
   NY      NY-0302-0017        Little Sodus Bay
   NY      NY-1702-0032        East River, Upper




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   State   Waterbody ID        Waterbody Name                            Region
   NY      NY-1702-0242        Setauket Harbor
   NY      NY-1701-0227        Hallock/Long Beach Bay and tidal tribs
   NY      NY-1702-0063        Milton Harbor
   NY      NY-1701-0184        Kill Van Kull
   NY      NY-1701-0039        Great South Bay, East
   NY      NY-0901-0014        Massena Power Canal
   NY      NY-0101-0028        Chippewa (West) Channel
   NY      NY-0303-0065        South Pond
   NY      NY-0702-0020        Onondaga Lake Outlet
   NY      NY-1702-0260        Port Chester Harbor
   NY      NY-1702-0141        Manhasset Bay, and tidal tribs
   NY      NY-1102-0015        Schaghticoke Reservoir
   NY      NY-1702-0230        Northport Harbor
   NY      NY-1702-0004        Harlem River
   NY      NY-1701-0215        Reynolds Channel, east
   NY      NY-1702-0262        Duck Island Harbor
   NY      NY-1000-0003        Lake Champlain, Main Lake, South
   NY      NY-0501-0012        Koppers Pond
   NY      NY-1000-0001        Lake Champlain, Main Lake, North
   NY      NY-1701-0054        Grant Park Pond
   NY      NY-0303-0011        Chaumont Bay
   NY      NY-1701-0374        Island Park Channel
   NY      NY-1702-0011        East River, Lower
   NY      NY-1702-0005        Flushing Creek/Bay
   NY      NY-0101-0026        Delaware Park Pond
   NY      NY-1000-0004        Lake Champlain, South Lake
   NY      NY-1000-0002        Lake Champlain, Main Lake, Middle
   NY      NY-1701-0370        Fort Pond Bay
   NY      NY-1701-0373        Jones Inlet/Jones Bay
   NY      NY-1702-0012        Westchester Creek
   NY      NY-1701-0004        Lower New York Bay
   OH      OH04100001 020      TENMILE CREEK; OTTAWA RIVER               WESTERN LAKE ERIE
                               ST. JOSEPH RIVER (EAST/WEST BRANCHES TO
   OH      OH04100003 030      DOWNSTREAM BEAR CREEK)                    WESTERN LAKE ERIE
                               OTTAWA RIVER (UPSTREAM SUGAR CREEK
   OH      OH04100007 050      TO MOUTH)                                 WESTERN LAKE ERIE
                               TIFFIN RIVER (DOWNSTREAM MILL CREEK TO
   OH      OH04100006 030      DOWNSTREAM LEATHERWOOD CREEK)             WESTERN LAKE ERIE
                               TIFFIN RIVER (DOWNSTREAM
                               LEATHERWOOD CREEK TO UPSTREAM LICK
   OH      OH04100006 040      CREEK); EXCLUDING TIFFIN RIVER MAINSTEM   WESTERN LAKE ERIE
                               ST. MARY'S RIVER (DOWNSTREAM SIXMILE
                               CREEK TO DOWNSTREAM TWELVEMILE
   OH      OH04100004 020      CREEK)                                    WESTERN LAKE ERIE
                               ST. MARY'S RIVER (DOWNSTREAM
                               TWELVEMILE CREEK TO UPSTREAM
   OH      OH04100004 030      TWENTYSEVEN MILE CREEK [IN])              WESTERN LAKE ERIE
                               BLANCHARD RIVER MAINSTEM
   OH      OH04100008 001      (DOWNSTREAM DUKES RUN TO MOUTH)           WESTERN LAKE ERIE
                               OTTAWA RIVER (HEADWATERS TO
   OH      OH04100007 030      UPSTREAM LITTLE OTTAWA RIVER)             WESTERN LAKE ERIE
                               OTTAWA RIVER (UPSTREAM LITTLE OTTAWA
   OH      OH04100007 040      RIVER TO UPSTREAM SUGAR CREEK)            WESTERN LAKE ERIE




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                               ST. JOSEPH RIVER (DOWNSTREAM BEAR
                               CREEK TO DOWNSTREAM SOL SHANK DITCH
   OH      OH04100003 060      [IN]; EXCLUDING FISH CREEK)               WESTERN LAKE ERIE
                               ST. MARY'S RIVER (HEADWATERS TO
   OH      OH04100004 010      DOWNSTREAM SIXMILE CREEK)                 WESTERN LAKE ERIE
                               TIFFIN RIVER MAINSTEM (DOWNSTREAM
   OH      OH04100006 001      BRUSH CREEK TO MOUTH)                     WESTERN LAKE ERIE
                               MAUMEE RIVER MAINSTEM (INDIANA
   OH      OH04100001 001      BORDER TO LAKE ERIE)                      WESTERN LAKE ERIE
                               BLANCHARD RIVER (DOWNSTREAM POTATO
   OH      OH04100008 020      RUN TO UPSTREAM EAGLE CREEK)              WESTERN LAKE ERIE
                               BLANCHARD RIVER (UPSTREAM EAGLE CREEK
   OH      OH04100008 030      TO UPSTREAM OTTAWA CREEK)                 WESTERN LAKE ERIE
                               BLANCHARD RIVER (UPSTREAM OTTAWA
                               CREEK TO UPSTREAM RILEY CREEK);
   OH      OH04100008 040      EXCLUDING BLANCHARD R.                    WESTERN LAKE ERIE
                               BLANCHARD RIVER (HEADSTREAM TO
   OH      OH04100008 010      DOWNSTREAM POTATO RUN)                    WESTERN LAKE ERIE
                               GRAND RIVER (DOWNSTREAM SWINE CREEK
   OH      OH04110004 020      TO UPSTREAM ROCK CREEK)                   SOUTHERN LAKE ERIE
                               GRAND RIVER (DOWNTRESM ROCK CREEK TO
   OH      OH04110004 040      UPSTREAM MILL CREEK)                      SOUTHERN LAKE ERIE
                               TUSCARAWAS RIVER MAINSTEM
   OH      OH05040001 001      (DOWNSTREAM SIPPO CREEK TO MOUTH)         MUSKIGUM RIVER
                               TUSCARAWAS RIVER (HEADWATERS TO
   OH      OH05040001 010      DOWNSTREAM WOLF CREEK)                    MUSKIGUM RIVER
                               BLACK FORK MOHICAN RIVER
                               (DOWNSTREAM WHETSTONE CREEK TO
   OH      OH05040002 020      DOWNSTREAM ROCKY FORK)                    MUSKINGUM RIVER
   OH      OH04110001 060      WEST BRANCH ROCKY RIVER                   SOUTHERN LAKE ERIE
                               ROCKY RIVER; EAST BRANCH ROCKY R.; LAKE
                               ERIE TRIBUTARIES (WEST OF PORTER CR. TO
   OH      OH04110001 070      WEST OF OF CUYAHOGA R.)                   SOUTHERN LAKE ERIE
                               CUYAHOGA RIVER MAINSTEM
                               (DOWNSTREAM BRANDYWINE CREEK TO
   OH      OH04110002 001      MOUTH INCLUDING OLD RIVER CHANNEL)        SOUTHERN LAKE ERIE
                               CUYAHOGA RIVER (HEADWATERS TO
   OH      OH04110002 010      DOWNSTREAM BLACK BROOK)                   SOUTHERN LAKE ERIE
                               CUYAHOGA RIVER (DOWNSTREAM LITTLE
                               CUYAHOGA RIVER TO DOWNSTREAM
   OH      OH04110002 040      BRANDYWINE CREEK)                         SOUTHERN LAKE ERIE
                               CUYAHOGA RIVER (DOWNSTREAM
                               BRANDYWINE CR. TO DOWNSTREAM
                               TINKERS CR.); EXCLUDING CUYAHOG R.
   OH      OH04110002 050      MAINSTEM                                  SOUTHERN LAKE ERIE
                               TUSCARAWAS RIVER (DOWNSTREAM WOLF
                               CREEK TO DOWNSTREAM SIPPO CREEK);
   OH      OH05040001 030      EXCLUDING CHIPPEWA                        MUSKIGUM RIVER
                               SANDY CREEK (HEADWATERS TO
   OH      OH05040001 040      DOWNSTREAM STILL FORK)                    MUSKIGUM RIVER
   OH      OH04110001 020      WEST BRANCH BLACK RIVER                   SOUTHERN LAKE ERIE
   OH      OH04110003 050      ASHTABULA RIVER                           SOUTHERN LAKE ERIE
                               GRAND RIVER MAINSTEM (DOWNSTREAM
   OH      OH04110004 001      MILL CREEK TO MOUTH)                      SOUTHERN LAKE ERIE
                               GRAND RIVER (HEADWATERS TO
   OH      OH04110004 010      DOWNSTREAM SWINE CREEK)                   SOUTHERN LAKE ERIE




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   State   Waterbody ID        Waterbody Name                            Region
                               HOCKING RIVER (ENTERPRISE TO UPSTREAM
                               MONDAY CREEK); EXCLUDING HOCKING R.
   OH      OH05030204 050      MAINSTEM DST. DUCK CREEK                  UPPER OHIO RIVER
                               WALHONDING RIVER MAINSTEM (ENTIRE
   OH      OH05040003 001      LENGTH)                                   MUSKIGUM RIVER
                               BLACK RIVER; LAKE ERIE TRIBUTARIES EAST
   OH      OH04110001 050      OF BLACK RIVER TO WEST OF PORTER CREEK)   SOUTHERN LAKE ERIE
   OH      OH05030101 070      MIDDLE FORK LITTLE BEAVER CREEK           UPPER OHIO RIVER
                               HOCKING RIVER MAINSTEM (DOWNSTREAM
   OH      OH05030204 001      SCOTT CREEK TO MOUTH)                     UPPER OHIO RIVER
                               HOCKING RIVER (HEADWATERS TO
                               ENTERPRISE); EXCLUDING RUSH CREEK AND
   OH      OH05030204 010      CLEAR CREEK                               UPPER OHIO RIVER
                               SANDY CREEK (DOWNSTREAM STILL FORK TO
   OH      OH05040001 060      MOUTH); EXCLUDING NIMISHILLEN CREEK       MUSKIGUM RIVER
                               CUYAHOGA RIVER (DOWNSTREAM BLACK
                               BROOK TO DOWNSTREAM BREAKNECK
   OH      OH04110002 020      CREEK)                                    SOUTHERN LAKE ERIE
                               EAST BRANCH BLACK RIVER (HEADWATERS
   OH      OH04110001 030      TO DOWNSTREAM COON CREEK)                 SOUTHERN LAKE ERIE
   OH      OH04100010 020      TOUSSAINT CREEK                           WESTERN LAKE ERIE
                               CUYAHOGA RIVER (DOWNSTREAM
                               BREAKNECK CREEK TO DOWNSTREAM LITTLE
   OH      OH04110002 030      CUYAHOGA RIVER)                           SOUTHERN LAKE ERIE
                               PORTAGE RIVER (DOWNSTREAM
                               SOUTH/MIDDLE BRANCHES TO
   OH      OH04100010 050      DOWNSTREAM NORTH BRANCH)                  WESTERN LAKE ERIE
                               PORTAGE RIVER (DOWNSTREAM NORTH
   OH      OH04100010 060      BRANCH TO DOWNSTREAM SUGAR CREEK)         WESTERN LAKE ERIE
                               PORTAGE RIVER (DOWNSTREAM SUGAR
                               CREEK TO MOUTH); LAKE ERIE TRIBUTARIES
   OH      OH04100010 070      WEST OF MARBLEHEAD                        WESTERN LAKE ERIE
   OH      OH05040001 050      NIMISHILLEN CREEK                         MUSKIGUM RIVER
                               MAHONING RIVER MAINSTEM
                               (DOWNSTREAM EAGLE CREEK TO
   OH      OH05030103 001      PENNSYLVANIA BORDER)                      UPPER OHIO RIVER
                               YELLOW CREEK (UPSTREAM TOWN FORK TO
   OH      OH05030101 190      MOUTH)                                    UPPER OHIO RIVER
   OH      OH05030101 340      CROSS CREEK                               UPPER OHIO RIVER
                               MAHONING RIVER (DOWNSTREAM BEECH
   OH      OH05030103 020      CREEK TO DOWNSTREAM BERLIN DAM)           UPPER OHIO RIVER
                               MAHONING RIVER (DOWNSTREAM BERLIN
   OH      OH05030103 030      DAM TO DOWNSTREAM WEST BRANCH)            UPPER OHIO RIVER
                               SANDUSKY RIVER MAINSTEM
                               (DOWNSTREAM TYMOCHTEE CREEK TO
   OH      OH04100011 001      MOUTH)                                    WESTERN LAKE ERIE
                               SANDUSKY RIVER (HEADWATERS TO
   OH      OH04100011 020      UPSTREAM BROKEN SWORD CREEK)              WESTERN LAKE ERIE
                               SANDUSKY RIVER (DOWNSTREAM BROKEN
                               SWORD CREEK TO UPSTREAM TYMOCHTEE
   OH      OH04100011 040      CREEK)                                    WESTERN LAKE ERIE
                               MUSKINGUM RIVER MAINSTEM (ENTIRE
   OH      OH05040004 001      LENGTH)                                   MUSKIGUM RIVER
                               TRIBUTARIES TO PYMATUNING RESERVOIR
   OH      OH05030102 010      (WITHIN OHIO)                             UPPER OHIO RIVER




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   State   Waterbody ID        Waterbody Name                          Region
                               LITTLE BEAVER CREEK (DOWNSTREAM
   OH      OH05030101 090      MIDDLE AND WEST FORKS TO MOUTH)         UPPER OHIO RIVER
                               YELLOW CREEK (HEADWATERS TO
   OH      OH05030101 180      UPSTREAM TOWN FORK)                     UPPER OHIO RIVER
                               MAHONING RIVER (DOWNSTREAM WEST
   OH      OH05030103 040      BRANCH TO UPSTREAM DUCK CREEK)          UPPER OHIO RIVER
                               WAKATOMIKA CREEK (HEADWATERS TO
   OH      OH05040004 020      DOWNSTREAM BRUSHY FORK)                 MUSKIGUM RIVER
                               WAKATOMIKA CREEK (DOWNSTREAM
   OH      OH05040004 030      BRUSHY FORK TO MOUTH)                   MUSKIGUM RIVER
   OH      OH05040001 020      CHIPPEWA CREEK                          MUSKINGUM RIVER
                               EAST BRANCH BLACK RIVER (DOWNSTREAM
   OH      OH04110001 040      COON CREEK TO MOUTH)                    SOUTHERN LAKE ERIE
                               PAINT CREEK (DOWNSTREAM EAST FORK TO
                               UPSTREAM ROCKY FORK); EXCLUDING SUGAR
   OH      OH05060003 050      CR. AND RATT                            SCIOTO RIVER
                               OHIO RIVER TRIBUTARIES (DOWNSTREAM
                               SHORT CREEK TO DOWNSTREAM WHEELING
   OH      OH05030106 040      CREEK)                                  UPPER OHIO RIVER
                               PAINT CREEK MAINSTEM (DOWNSTREAM
   OH      OH05060003 001      ROCKY FORK TO MOUTH)                    SCIOTO RIVER
                               PAINT CREEK (HEADWATERS TO
   OH      OH05060003 010      DOWNSTREAM EAST FORK)                   SCIOTO RIVER
                               OHIO RIVER TRIBUTARIES (DOWNSTREAM
                               OHIO BRUSH CREEK TO UPSTREAM EAGLE
   OH      OH05090201 060      CREEK)                                  MIDDLE OHIO RIVER
                               LITTLE MIAMI RIVER (HEADWATERS TO
   OH      OH05090202 010      UPSTREAM MASSIES CREEK)
                               LITTLE MIAMI RIVER (UPSTREAM MASSIES
   OH      OH05090202 020      CREEK TO DOWNSTREAM BEAVER CREEK)       MIDDLE OHIO RIVER
                               LITTLE MIAMI RIVER (DOWNSTREAM BEAVER
   OH      OH05090202 030      CREEK TO UPSTREAM CAESAR CREEK)
   OH      OH05060001 100      WHETSTONE CREEK                         SCIOTO RIVER
                               OLENTANGY RIVER (DOWNSTREAM FLAT
                               RUN TO DOWNSTREAM DELAWARE RUN);
   OH      OH05060001 110      EXCLUDING WHETSTONE CREEK               SCIOTO RIVER
                               OLENTANGY RIVER (DOWNSTREAM
   OH      OH05060001 120      DELAWARE RUN TO MOUTH)                  SCIOTO RIVER
   OH      OH05060001 210      LITTLE DARBY CREEK                      SCIOTO RIVER
                               BIG DARBY CREEK (DOWNSTREAM LITTLE
   OH      OH05060001 220      DARBY CREEK TO MOUTH)                   SCIOTO RIVER
                               SCIOTO RIVER (DOWNSTREAM BIG DARBY
                               CR. TO UPSTREAM KINNIKINNICK CR.);
   OH      OH05060002 010      EXCLUDING SCIOTO R. MAINSTEM            SCIOTO RIVER
                               SCIOTO RIVER (DOWNSTREAM PAINT CREEK
                               TO UPSTREAM SALT CREEK); EXCLUDING
   OH      OH05060002 060      SCIOTO R. MAINSTEM                      SCIOTO RIVER
                               SALT CREEK (HEADWATERS TO UPSTREAM
   OH      OH05060002 070      QUEER CREEK)                            SCIOTO RIVER
                               TWIN CREEK (UPSTREAM BANTAS FORK TO
   OH      OH05080002 040      MOUTH)                                  GREAT MIAMI RIVER
                               GREAT MIAMI RIVER (DOWNSTREAM TWIN
                               CREEK TO UPSTREAM FOURMILE CREEK);
   OH      OH05080002 050      EXCLUDING GMR MAINSTREAM                GREAT MIAMI RIVER
                               WALNUT CREEK (DOWNSTREAM SYCAMORE
   OH      OH05060001 180      CREEK TO MOUTH)                         SCIOTO RIVER




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   State   Waterbody ID        Waterbody Name                            Region
                               BIG DARBY CREEK (HEADWATERS TO
   OH      OH05060001 190      DOWNSTREAM SUGAR CREEK)                   SCIOTO RIVER
                               BIG DARBY CREEK (DOWNSTREAM SUGAR
   OH      OH05060001 200      CREEK TO UPSTREAM LITTLE DARBY CREEK)     SCIOTO RIVER
   OH      OH05090103 020      PINE CREEK                                MIDDLE OHIO RIVER
                               MAD RIVER (HEADWATERS TO
   OH      OH05080001 150      DOWNSTREAM KINGS CREEK)                   GREAT MIAMI RIVER
                               OLENTANGY RIVER (HEADWATERS TO
   OH      OH05060001 090      DOWNSTREAM FLAT RUN)                      SCIOTO RIVER
                               MAD RIVER (DOWNSTREAM CHAPMAN
                               CREEK TO UPSTREAM MUD CREEK);
                               EXCLUDING BUCK CR. AND MAD R.
   OH      OH05080001 180      MAINSTREAM                                GREAT MIAMI RIVER
                               MAD RIVER (UPSTREAM MUD CREEK TO
   OH      OH05080001 190      MOUTH); EXCLUDING MAD R. MAINSTEM         GREAT MIAMI RIVER
                               GREAT MIAMI RIVER (DOWNSTREAM MAD
                               RIVER TO UPSTREAM BEAR CREEK);
   OH      OH05080002 010      EXCLUDING GMR MAINSTEM                    GREAT MIAMI RIVER
                               WALNUT CREEK (HEADWATERS TO
   OH      OH05060001 170      DOWNSTREAM SYCAMORE CREEK)                SCIOTO RIVER
   OH      OH05030201 120      DUCK CREEK; WEST FORK DUCK CREEK          UPPER OHIO RIVER
                               GREAT MIAMI RIVER (UPST. CHEROKEE MANS
                               RUN TO DOWNSTREAM BOKENGEHALAS
   OH      OH05080001 030      CR.); EXCLUDING MUCHINIPPI CR.            GREAT MIAMI RIVER
                               SCIOTO RIVER (DOWNSTREAM TAYLOR
                               CREEK TO UPSTREAM LITTLE SCIOTO RIVER);
   OH      OH05060001 030      EXCLUDING RUSH                            SCIOTO RIVER
   OH      OH05090203 010      MILL CREEK                                MIDDLE OHIO RIVER
                               BEAVER CREEK (GRAND LAKE ST. MARYS AND
   OH      OH05120101 020      TRIBUTARIES)                              WABASH RIVER
                               LICKING RIVER (SOUTH FORK/ NORTH FORK
                               TO DOWNSTREAM ROCKY FORK); EXCLUDING
   OH      OH05040006 050      LICKING R. MAINSTEM                       MUSKIGUM RIVER
                               SCIOTO RIVER MAINSTEM (DOWNSTREAM
   OH      OH05060001 001      LITTLE SCIOTO RIVER TO MOUTH)             SCIOTO RIVER
                               GREAT MIAMI RIVER MAINSTEM
                               (DOWNSTREAM TAWAWA CREEK TO
   OH      OH05080001 001      MOUTH)                                    GREAT MIAMI RIVER
                               MAD RIVER MAINSTEM (DOWNSTREAM
   OH      OH05080001 003      DONNELS CREEK TO MOUTH)                   GREAT MIAMI RIVER
                               GREAT MIAMI RIVER (DOWNSTREAM
                               BOKENGEHALAS CREEK TO DOWNSTREAM
   OH      OH05080001 040      PLUM CREEK)                               GREAT MIAMI RIVER
                               LAKE ERIE WESTERN BASIN SHORELINE
                               (INCLUDING MAUMEE BAY AND SANDUSKY
   OH      OH24001 001         BAY)                                      WESTERN LAKE ERIE
   OH      OH24001 002         LAKE ERIE CENTRAL BASIN SHORELINE         LAKE ERIE
                               SHADE RIVER (MIDDLE BRANCH AND WEST
   OH      OH05030202 040      BRANCH TO MOUTH)                          UPPER OHIO RIVER
                               LITTLE MIAMI RIVER MAINSTEM
   OH      OH05090202 001      (DOWNSTREAM CAESAR CREEK TO MOUTH)        MIDDLE OHIO RIVER
                               GREAT MIAMI RIVER (DOWNSTREAM
                               FOURMILE CREEK TO MOUTH); EXCLUDING
   OH      OH05080002 090      INDIAN CREEK AND GMR MAINSTEM             GREAT MIAMI RIVER
                               MAD RIVER (DOWNSTREAM KINGS CREEK TO
   OH      OH05080001 160      DOWNSTREAM CHAPMAN CREEK)                 GREAT MIAMI RIVER




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   State   Waterbody ID                Waterbody Name                       Region
                                       TWIN CREEK (HEADWATERS TO UPSTREAM
   OH      OH05080002 030              BANTAS FORK)                         GREAT MIAMI RIVER
                                       WHITEWATER RIVER MAINSTEM (ENTIRE
   OH      OH05080003 001              LENGTH)                              GREAT MIAMI RIVER
   OH      OH24001 003                 LAKE ERIE ISLANDS SHORELINE          LAKE ERIE
   OR      OR1226465454422_0_23.7      JOHNSON CREEK                        LOWER WILLAMETTE
   OR      OR1240483462464_98_142      COLUMBIA RIVER                       CROSSES SUBBASINS
   OR      OR1240483462464_35.2_98     COLUMBIA RIVER                       CROSSES SUBBASINS
   OR      OR1227618456580_0_24.8      WILLAMETTE RIVER                     CROSSES SUBBASINS
   OR      OR1227618456580_24.8_54.8   WILLAMETTE RIVER                     CROSSES SUBBASINS
           PA02F02646_20020111-1205-
   PA      FIT                         LITTLE NESHAMINY CREEK (UNT 02646)   NESHAMINY CREEK
           PA02F02662_20020111-1205-
   PA      FIT                         PARK CREEK (UNT 02662)               NESHAMINY CREEK
           PA02F02664_20020111-1205-
   PA      FIT                         PARK CREEK (UNT 02664)               NESHAMINY CREEK
           PA03C00833_20020111-1210-
   PA      FIT                         SCHUYLKILL RIVER                     TULPEHOCKEN CREEK
           PA03C01846_20020111-1212-
   PA      FIT                         TULPEHOCKEN CREEK                    TULPEHOCKEN CREEK
           PA02F02638_20020111-1205-
   PA      FIT                         LITTLE NESHAMINY CREEK               NESHAMINY CREEK
           PA05E06685_20020111-1217-                                        CATAWISSA-ROARING
   PA      FIT                         SUSQUEHANNA RIVER                    CREEKS
           PA02F02640_20020111-1205-
   PA      FIT                         LITTLE NESHAMINY CREEK (UNT 02640)   NESHAMINY CREEK
           PA02F02642_20020111-1205-
   PA      FIT                         LITTLE NESHAMINY CREEK (UNT 02642)   NESHAMINY CREEK
           PA02F02649_20020111-1205-
   PA      FIT                         LITTLE NESHAMINY CREEK (UNT 02649)   NESHAMINY CREEK
           PA02F02660_20020111-1205-
   PA      FIT                         LITTLE NESHAMINY CREEK (UNT 02660)   NESHAMINY CREEK
           PA20B35393_20020111-1255-
   PA      FIT                         MAHONING RIVER                       BEAVER RIVER
           PA07E10121_20020111-1245-
   PA      FIT                         YELLOW BREECHES CREEK                YELLOW BREECHES CREEK
           PA02F02651_20020111-1205-
   PA      FIT                         LITTLE NESHAMINY CREEK (UNT 02651)   NESHAMINY CREEK
           PA02F02661_20020111-1205-
   PA      FIT                         PARK CREEK                           NESHAMINY CREEK
           PA02F02665_20020111-1205-
   PA      FIT                         PARK CREEK (UNT 02665)               NESHAMINY CREEK
           PA02F02666_20020111-1205-
   PA      FIT                         PARK CREEK (UNT 02666)               NESHAMINY CREEK
           PA02F02645_20020111-1205-
   PA      FIT                         LITTLE NESHAMINY CREEK (UNT 02645)   NESHAMINY CREEK
           PA02F02652_20020111-1205-
   PA      FIT                         LITTLE NESHAMINY CREEK (UNT 02652)   NESHAMINY CREEK
           PA02F02658_20020111-1205-
   PA      FIT                         LITTLE NESHAMINY CREEK (UNT 02658)   NESHAMINY CREEK
           PA02F02687_20020111-1205-
   PA      FIT                         LITTLE NESHAMINY CREEK (UNT 02687)   NESHAMINY CREEK
           PA02F02647_20020111-1205-
   PA      FIT                         LITTLE NESHAMINY CREEK (UNT 02647)   NESHAMINY CREEK
           PA02F02669_20020111-1205-
   PA      FIT                         LITTLE NESHAMINY CREEK (UNT 02669)   NESHAMINY CREEK




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   State   Waterbody ID                Waterbody Name                       Region
           PA02F02670_20020111-1205-
   PA      FIT                         LITTLE NESHAMINY CREEK (UNT 02670)   NESHAMINY CREEK
           PA02F02679_20020111-1205-
   PA      FIT                         LITTLE NESHAMINY CREEK (UNT 02679)   NESHAMINY CREEK
           PA07B10222_20020111-1240-
   PA      FIT                         TRINDLE SPRING RUN                   CONEDOQUINET CREEK
           PA02F02657_20020111-1205-
   PA      FIT                         LITTLE NESHAMINY CREEK (UNT 02657)   NESHAMINY CREEK
           PA02F02663_20020111-1205-
   PA      FIT                         PARK CREEK (UNT 02663)               NESHAMINY CREEK
   RI      RI0001003R-01A              BLACKSTONE RIVER
   RI      RI0002007R-10C              WOONASQUATUCKET RIVER & TRIBS
   RI      RI0002007R-10D              WOONASQUATUCKET RIVER
   RI      RI0001003R-01B              BLACKSTONE RIVER
   RI      RI0006017L-06               MASHAPAUG POND
   SC      SCB-072_S_06                B-072
   SC      SCSV-799_FISH_L_06          SV-799
   SC      SCSV-107_FISH_L_06          SV-107
   TN      TN06010204001_1000          Tellico Reservoir
   TN      TN060200011240_1000         Citico Creek
   TN      TN06020001001_1000          Nickajack Reservoir
   TN      TN060400011163_3000         Beech Creek
   TN      TN06010207026_2000          East Fork Poplar Creek
   TN      TN06010207026_1000          East Fork Poplar Creek
   TN      TN08010210032_2000          Cypress Creek
   TN      TN08010210032_1000          Cypress Creek
   TN      TN06010201723_1000          Goose Creek
   TN      TN08010100001_1100          McKellar Lake
   TN      TN06010207020_1300          Mitchell Branch
   TN      TN06010207001_0100          Poplar Creek Embayment
   TN      TN06010201026_0500          Russell Branch
                                       HOUSTON SHIP CHANNEL/SAN JACINTO
   TX      TX-1005_03                  RIVER TIDAL
                                       HOUSTON SHIP CHANNEL/SAN JACINTO
   TX      TX-1005_04                  RIVER TIDAL
   TX      TX-0805_01                  UPPER TRINITY RIVER
   TX      TX-0805_02                  UPPER TRINITY RIVER
   TX      TX-0805_03                  UPPER TRINITY RIVER
   TX      TX-0805_04                  UPPER TRINITY RIVER
   TX      TX-0805_06                  UPPER TRINITY RIVER
                                       WEST FORK TRINITY RIVER BELOW LAKE
   TX      TX-0806_01                  WORTH
                                       WEST FORK TRINITY RIVER BELOW LAKE
   TX      TX-0806_02                  WORTH
   TX      TX-1001_02                  SAN JACINTO RIVER TIDAL
                                       HOUSTON SHIP CHANNEL/SAN JACINTO
   TX      TX-1005_01                  RIVER TIDAL
   TX      TX-1006_03                  HOUSTON SHIP CHANNEL TIDAL
                                       HOUSTON SHIP CHANNEL/BUFFALO BAYOU
   TX      TX-1007_02                  TIDAL
                                       HOUSTON SHIP CHANNEL/BUFFALO BAYOU
   TX      TX-1007_03                  TIDAL
                                       HOUSTON SHIP CHANNEL/BUFFALO BAYOU
   TX      TX-1007_06                  TIDAL




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   State   Waterbody ID        Waterbody Name                           Region
                               HOUSTON SHIP CHANNEL/BUFFALO BAYOU
   TX      TX-1007_07          TIDAL
                               HOUSTON SHIP CHANNEL/BUFFALO BAYOU
   TX      TX-1007_08          TIDAL
   TX      TX-2202_01          ARROYO COLORADO ABOVE TIDAL
   TX      TX-2202_03          ARROYO COLORADO ABOVE TIDAL
                               CLEAR LAKE CHANNEL (UNCLASSIFIED WATER
   TX      TX-2421A_01         BODY)
   TX      TX-2421_01          UPPER GALVESTON BAY
   TX      TX-2421_03          UPPER GALVESTON BAY
                               DOUBLE BAYOU EAST FORK (UNCLASSIFIED
   TX      TX-2422D_01         WATER BODY)
   TX      TX-2422_01          TRINITY BAY
   TX      TX-2422_02          TRINITY BAY
                               OFFATTS BAYOU (UNCLASSIFIED WATER
   TX      TX-2424D_03         BODY)
   TX      TX-2424_01          WEST BAY
   TX      TX-1906_03          LOWER LEON CREEK
   TX      TX-1906_05          LOWER LEON CREEK
                               TAYLOR BAYOU (UNCLASSIFIED WATER
   TX      TX-2425D_01         BODY)
   TX      TX-2425_01          CLEAR LAKE
   TX      TX-2426_01          TABBS BAY
   TX      TX-2428_01          BLACK DUCK BAY
   TX      TX-2429_01          SCOTT BAY
                               HALLS BAYOU TIDAL (UNCLASSIFIED WATER
   TX      TX-2432C_01         BODY)
   TX      TX-2432_01          CHOCOLATE BAY
   TX      TX-2439_01          LOWER GALVESTON BAY
   TX      TX-2439_02          LOWER GALVESTON BAY
   TX      TX-1101_01          CLEAR CREEK TIDAL
   TX      TX-1101_02          CLEAR CREEK TIDAL
   TX      TX-1102_01          CLEAR CREEK ABOVE TIDAL
   TX      TX-1102_02          CLEAR CREEK ABOVE TIDAL
   TX      TX-1102_03          CLEAR CREEK ABOVE TIDAL
   TX      TX-0702_03          INTRACOASTAL WATERWAY TIDAL
   TX      TX-0804_07          TRINITY RIVER ABOVE LAKE LIVINGSTON
                               CLEAR FORK TRINITY RIVER BELOW
   TX      TX-0829_01          BENBROOK LAKE
                               CLEAR FORK TRINITY RIVER BELOW
   TX      TX-0829_03          BENBROOK LAKE
   TX      TX-0841_02          LOWER WEST FORK TRINITY RIVER
   TX      TX-0901_01          CEDAR BAYOU TIDAL
                               HOUSTON SHIP CHANNEL/BUFFALO BAYOU
   TX      TX-1007_01          TIDAL
   TX      TX-2202_04          ARROYO COLORADO ABOVE TIDAL
   TX      TX-2421_02          UPPER GALVESTON BAY
   TX      TX-2423_01          EAST BAY
   TX      TX-2423_02          EAST BAY
                               OFFATTS BAYOU (UNCLASSIFIED WATER
   TX      TX-2424D_02         BODY)
                               ELLISON CREEK RESERVOIR (UNCLASSIFIED
   TX      TX-0404A_01         WATER BODY)
   TX      TX-2424_02          WEST BAY
   TX      TX-2425A_01         TAYLOR LAKE (UNCLASSIFIED WATER BODY)




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   State   Waterbody ID        Waterbody Name                          Region
   TX      TX-2431_01          MOSES LAKE
   TX      TX-2436_01          BARBOURS CUT
   TX      TX-1101_03          CLEAR CREEK TIDAL
   TX      TX-1102_04          CLEAR CREEK ABOVE TIDAL
   TX      TX-1103_03          DICKINSON BAYOU TIDAL
   TX      TX-1107_01          CHOCOLATE BAYOU TIDAL
   TX      TX-1113_01          ARMAND BAYOU TIDAL
   TX      TX-1113_03          ARMAND BAYOU TIDAL
   TX      TX-1006_07          HOUSTON SHIP CHANNEL TIDAL
                               HOUSTON SHIP CHANNEL/BUFFALO BAYOU
   TX      TX-1007_04          TIDAL
                               DOUBLE BAYOU WEST FORK (UNCLASSIFIED
   TX      TX-2422B_01         WATER BODY)
                               OYSTER BAYOU (UNCLASSIFIED WATER
   TX      TX-2423A_01         BODY)
                               HIGHLAND BAYOU (UNCLASSIFIED WATER
   TX      TX-2424A_01         BODY)
                               HIGHLAND BAYOU (UNCLASSIFIED WATER
   TX      TX-2424A_03         BODY)
   TX      TX-1906_06          LOWER LEON CREEK
                               GOOSE CREEK TIDAL (UNCLASSIFIED WATER
   TX      TX-2426C_01         BODY)
   TX      TX-2430_01          BURNETT BAY
   TX      TX-1103_04          DICKINSON BAYOU TIDAL
   TX      TX-1113_02          ARMAND BAYOU TIDAL
                               CLEAR FORK TRINITY RIVER BELOW
   TX      TX-0829_02          BENBROOK LAKE
                               HOUSTON SHIP CHANNEL/BUFFALO BAYOU
   TX      TX-1007_05          TIDAL
                               HIGHLAND BAYOU (UNCLASSIFIED WATER
   TX      TX-2424A_02         BODY)
   TX      TX-2427_01          SAN JACINTO BAY
   TX      TX-2437_01          TEXAS CITY SHIP CHANNEL
   TX      TX-2438_01          BAYPORT CHANNEL
   TX      TX-1103_02          DICKINSON BAYOU TIDAL
                               HOUSTON SHIP CHANNEL/SAN JACINTO
   TX      TX-1005_02          RIVER TIDAL
   TX      TX-1006_04          HOUSTON SHIP CHANNEL TIDAL
   TX      TX-1006_06          HOUSTON SHIP CHANNEL TIDAL
   TX      TX-2202_02          ARROYO COLORADO ABOVE TIDAL
                               HIGHLAND BAYOU (UNCLASSIFIED WATER
   TX      TX-2424A_04         BODY)
                               OFFATTS BAYOU (UNCLASSIFIED WATER
   TX      TX-2424D_01         BODY)
   TX      TX-1101_04          CLEAR CREEK TIDAL
   TX      TX-1102_05          CLEAR CREEK ABOVE TIDAL
   TX      TX-1103_01          DICKINSON BAYOU TIDAL
   TX      TX-1006_02          HOUSTON SHIP CHANNEL TIDAL
   TX      TX-2201_05          ARROYO COLORADO TIDAL
                               HIGHLAND BAYOU (UNCLASSIFIED WATER
   TX      TX-2424A_05         BODY)
   TX      TX-2425B_01         JARBO BAYOU (UNCLASSIFIED WATER BODY)
   TX      TX-2430A_01         CRYSTAL BAY (UNCLASSIFIED WATER BODY)
   TX      TX-0841_01          LOWER WEST FORK TRINITY RIVER
   TX      TX-1006_01          HOUSTON SHIP CHANNEL TIDAL




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   State   Waterbody ID           Waterbody Name                           Region
   TX      TX-1006_05             HOUSTON SHIP CHANNEL TIDAL
   TX      TX-2425B_02            JARBO BAYOU (UNCLASSIFIED WATER BODY)
   TX      TX-1906_04             LOWER LEON CREEK
   TX      TX-2431A_01            MOSES BAYOU (UNCLASSIFIED WATER BODY)
   UT      UT-L-16020201-004_00   UTAH LAKE
                                                                           TENNESSEE AND BIG SANDY
   VA      VA-Q03R-02-PCB         KNOX CREEK AND TRIBUTARIES               RIVER BASINS
                                                                           POTOMAC AND
                                  BROAD RUN, DIFFICULT RUN, GOOSE CREEK,   SHENANDOAH RIVER
   VA      VA-A08R-01-PCB         PIMMIT RUN                               BASINS
                                                                           POTOMAC AND
                                                                           SHENANDOAH RIVER
   VA      VA-A13R-01-PCB         INDIAN RUN                               BASINS
                                                                           POTOMAC AND
                                                                           SHENANDOAH RIVER
   VA      VA-A15L-01-PCB         LAKE ACCOTINK                            BASINS
                                                                           POTOMAC AND
                                                                           SHENANDOAH RIVER
   VA      VA-A21R-01-PCB         BULL RUN                                 BASINS
   VA      VA-G01E-03-PCB         JAMES RIVER AND VARIOUS TRIBUTARIES      JAMES RIVER BASIN
                                                                           POTOMAC AND
                                                                           SHENANDOAH RIVER
   VA      VA-B32R-02-PCB         SOUTH RIVER                              BASINS
                                                                           POTOMAC AND
                                                                           SHENANDOAH RIVER
   VA      VA-B37R-01-PCB         SOUTH FORK SHENANDOAH RIVER              BASINS
   VA      VA-I09R-01-PCB         JACKSON RIVER                            JAMES RIVER BASIN
   VA      VA-H03R-04-PCB         JAMES RIVER, SLATE RIVER                 JAMES RIVER BASIN
   VA      VA-F13R-13-PCB         PAMUNKEY RIVER                           YORK RIVER BASIN
                                                                           CHESAPEAKE
                                                                           BAY/ATLANTIC/SMALL
   VA      VA-C08E-01-PCB         LYNNHAVEN RIVER SYSTEM                   COASTAL BASINS
                                                                           CHESAPEAKE
                                                                           BAY/ATLANTIC/SMALL
   VA      VA-C08L-01-PCB         LAKE WHITEHURST                          COASTAL BASINS
                                                                           ROANOKE AND YADKIN
   VA      VA-L75L-01-PCB         KERR RESERVOIR                           RIVER BASINS
                                                                           ROANOKE AND YADKIN
   VA      VA-L80L-01-PCB         LAKE GASTON                              RIVER BASINS
                                                                           RAPPAHANNOCK RIVER
   VA      VA-E09R-01-PCB         MOUNTAIN RUN                             BASIN
                                                                           RAPPAHANNOCK RIVER
   VA      VA-E20E-03-PCB         RAPPAHANNOCK RIVER                       BASIN
                                  NEW RIVER, CLAYTOR LAKE, PEAK CREEK,
   VA      VA-N29R-01-PCB         REED CREEK AND STONY CREEK               NEW RIVER BASIN
   VA      VA-F07L-01-PCB         LAKE ANNA AND CON, GMC, AND TRY          YORK RIVER BASIN
                                                                           TENNESSEE AND BIG SANDY
   VA      VA-O06L-01-PCB         SOUTH HOLSTON RESERVOIR                  RIVER BASINS
                                                                           TENNESSEE AND BIG SANDY
   VA      VA-O06R-01-PCB         WOLF CREEK                               RIVER BASINS
                                                                           TENNESSEE AND BIG SANDY
   VA      VA-O07R-01-PCB         BEAVER CREEK AND LITTLE CREEK            RIVER BASINS
   VA      VA-F23R-06-PCB         MATTAPONI RIVER                          YORK RIVER BASIN
   VA      VA-F26E-01-PCB         YORK RIVER BASIN                         YORK RIVER BASIN




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   State   Waterbody ID        Waterbody Name                           Region
                                                                        CHESAPEAKE
                                                                        BAY/ATLANTIC/SMALL
   VA      VA-C01E-17-PCB      CHESAPEAKE BAY & TIDAL TRIBUTARIES       COASTAL BASINS
                                                                        TENNESSEE AND BIG SANDY
   VA      VA-Q04R-01-PCB      LEVISA FORK AND GARDEN CREEK             RIVER BASINS
                                                                        CHOWAN RIVER AND
   VA      VA-K09R-01-PCB      MEHERRIN RIVER                           DISMAL SWAMP BASINS
                               ROANOKE RIVER, BLACKWATER RIVER, SMITH
                               MOUNTAIN LAKE, TINKER CREEK AND PETERS   ROANOKE AND YADKIN
   VA      VA-L12L-01-PCB      CREEK.                                   RIVER BASINS
                                                                        CHESAPEAKE
                                                                        BAY/ATLANTIC/SMALL
   VA      VA-C07E-01-PCB      CHESAPEAKE BAY & TIDAL TRIBUTARIES       COASTAL BASINS
                                                                        ROANOKE AND YADKIN
   VA      VA-L19R-01-PCB      ROANOKE (STAUNTON) RIVER, CUB CREEK      RIVER BASINS
                                                                        ROANOKE AND YADKIN
   VA      VA-L26R-01-PCB      LITTLE OTTER RIVER                       RIVER BASINS
                                                                        POTOMAC AND
                                                                        SHENANDOAH RIVER
   VA      VA-A15R-01-PCB      ACCOTINK CREEK                           BASINS
   VA      VA-G11L-01-PCB      LEE HALL RESERVOIR                       JAMES RIVER BASIN
   VA      VA-F13R-04-PCB      MONCUIN CREEK, WEBB CREEK                YORK RIVER BASIN
                                                                        TENNESSEE AND BIG SANDY
   VA      VA-P11R-03-PCB      GUEST RIVER                              RIVER BASINS
   VA      VA-N36R-01-PCB      BLUESTONE RIVER                          NEW RIVER BASIN
                                                                        CHOWAN RIVER AND
   VA      VA-K41R-05-PCB      WEST NECK CREEK - MIDDLE                 DISMAL SWAMP BASINS
                               DAN RIVER, BANISTER RIVER AND HYCO       ROANOKE AND YADKIN
   VA      VA-L60R-01-PCB      RIVER                                    RIVER BASINS
   VA      VA-I37R-02-PCB      MAURY RIVER                              JAMES RIVER BASIN
   VA      VA-G03R-02-PCB      BAILEY CREEK                             JAMES RIVER BASIN
                                                                        CHESAPEAKE
                                                                        BAY/ATLANTIC/SMALL
   VA      VA-C08L-03-PCB      LITTLE CREEK RESERVOIR                   COASTAL BASINS
                                                                        TENNESSEE AND BIG SANDY
   VA      VA-O10R-01-PCB      NORTH FORK HOLSTON RIVER                 RIVER BASINS
                                                                        CHESAPEAKE
                                                                        BAY/ATLANTIC/SMALL
   VA      VA-C08L-06-PCB      LAKE TRASHMORE - WESTERN POND            COASTAL BASINS
                                                                        POTOMAC AND
                                                                        SHENANDOAH RIVER
   VA      VA-B12R-01-PCB      LEWIS CREEK                              BASINS
   VT      VT04-02L01_01       CHAMP-SOUTH LAKE
   VT      VT05-04L01_02       CHAMP-NORTHEAST ARM
   VT      VT04-01L01_02       CHAMP-OTTER CREEK
   VT      VT05-11L01_01       CHAMP-SHELBURNE BAY
   VT      VT05-07L01_01       CHAMP-ST. ALBANS BAY
   VT      VT04-02L01_02       CHAMP-SOUTH LAKE
   VT      VT05-04L02_01       CHAMP-ISLE LA MOTTE
   VT      VT04-01L01_01       CHAMP-OTTER CREEK
   VT      VT01-02.01          HOOSIC RIVER MAINSTEM
   VT      VT05-09L01_01       CHAMP-MALLETTS BAY
   VT      VT05-04L01_01       CHAMP-NORTHEAST ARM
   VT      VT05-10L01_01       CHAMP-BURLINGTON BAY
   VT      VT05-10L01_02       CHAMP-BURLINGTON BAY
   VT      VT05-04L01_03       CHAMP-NORTHEAST ARM




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   State   Waterbody ID          Waterbody Name                           Region
   VT      VT04-01L01_04         CHAMP-OTTER CREEK
   VT      VT05-11L01_03         CHAMP-SHELBURNE BAY
   VT      VT04-01L02_02         CHAMP-PORT HENRY
   VT      VT05-10L01_03         CHAMP-BURLINGTON BAY
   VT      VT05-09L01_03         CHAMP-MALLETTS BAY
   VT      VT04-01L02_03         CHAMP-PORT HENRY
   VT      VT04-01L02_01         CHAMP-PORT HENRY
   VT      VT05-11L01_02         CHAMP-SHELBURNE BAY
   VT      VT05-09L01_02         CHAMP-MALLETTS BAY
   VT      VT04-01L01_03         CHAMP-OTTER CREEK
   VT      VT05-04L02_02         CHAMP-ISLE LA MOTTE
   VT      VT05-07L01_02         CHAMP-ST. ALBANS BAY
   WA      WA345ZAS-00U-XXU-00   KEECHELUS LAKE                           UPPER YAKIMA
   WA      WA45120G4J5           COLUMBIA RIVER                           ROCK-GLADE
   WA      WAEB21AR-176.385      YAKIMA RIVER                             LOWER YAKIMA
   WA      WAEB21AR-29.109       YAKIMA RIVER                             LOWER YAKIMA
   WA      WAEB21AR-30.827       YAKIMA RIVER                             LOWER YAKIMA
   WA      WAUNK000-30N-31E-27   BUFFALO LAKE                             LOWER LAKE ROOSEVELT
   WA      WAPB56KA-5.071        ELWHA RIVER                              ELWHA-DUNGENESS
   WA      WA518XGQ-14N-30E-27   SCOOTENEY RESERVOIR                      ESQUATZEL COULEE
   WA      WAQE90PI-2.371        WALLA WALLA RIVER                        WALLA WALLA
   WA      WAQZ45UE-19.589       SPOKANE RIVER                            LOWER SPOKANE
   WA      WA47120I1H6           CHELAN LAKE                              CHELAN
   WA      WA47122C4F3           COMMENCEMENT BAY (INNER)                 PUYALLUP-WHITE
   WA      WA47122D3D7           DALCO PASSAGE/POVERTY BAY                PUYALLUP-WHITE
   WA      WADS29ZH-110.293      CHEHALIS RIVER                           UPPER CHEHALIS
   WA      WADS54SI-110.961      PEND OREILLE RIVER                       PEND OREILLE┬á
   WA      WA838LCW-25N-09E-33   CALLIGAN LAKE                            SNOHOMISH
   WA      WAQZ45UE-134.537      SPOKANE RIVER                            MIDDLE SPOKANE
   WA      WAQZ45UE-63.064       LONG LAKE (RESERVOIR)                    LOWER SPOKANE
   WA      WA46119G4H5           COLUMBIA RIVER                           ESQUATZEL COULEE
   WA      WA47122A8E9           BUDD INLET (INNER)                       DESCHUTES
   WA      WAJZ70CP-3.898        LITTLE SPOKANE RIVER                     LITTLE SPOKANE
   WA      WAQZ45UE-91.888       LONG LAKE (RESERVOIR)                    LOWER SPOKANE
   WA      WASV53RP-12.46        SKAGIT RIVER                             LOWER SKAGIT-SAMISH
   WA      WAEB21AR-229.127      YAKIMA RIVER                             UPPER YAKIMA
   WA      WA621COD-02N-03E-34   LACAMAS LAKE                             SALMON-WASHOUGAL
   WA      WA758LBQ-00U-XXU-00   PADDEN LAKE                              NOOKSACK
   WA      WAQZ45UE-101.387      SPOKANE RIVER                            LOWER SPOKANE
   WA      WAQZ45UE-55.823       LONG LAKE (RESERVOIR)                    LOWER SPOKANE
   WA      WAYB86JO-201.023      SNAKE RIVER                              MIDDLE SNAKE
   WA      WA46123C7H4           COLUMBIA RIVER                           GRAYS-ELOKOMAN
   WA      WA47122C8J7           SQUAXIN, PEALE, AND PICKERING PASSAGES   KENNEDY-GOLDSBOROUGH
   WA      WAEB21AR-134.977      YAKIMA RIVER                             LOWER YAKIMA
   WA      WAEB21AR-135.707      YAKIMA RIVER                             LOWER YAKIMA
   WA      WAEG25YW-44.241       COWLITZ RIVER                            COWLITZ
   WA      WAWR93CG-0            LOWER CRAB CREEK                         LOWER CRAB
   WA      WANX00WG-75.039       PALOUSE RIVER                            PALOUSE
   WA      WAIG58VD-3.281        DUWAMISH WATERWAY AND RIVER              DUWAMISH-GREEN
   WA      WAQZ45UE-123.319      SPOKANE RIVER                            MIDDLE SPOKANE
   WA      WAQZ45UE-123.65       SPOKANE RIVER                            MIDDLE SPOKANE
   WA      WAQZ45UE-152.353      SPOKANE RIVER                            MIDDLE SPOKANE
   WA      WAQZ45UE-81.693       LONG LAKE (RESERVOIR)                    LOWER SPOKANE
   WA      WAYB86JO-206.746      SNAKE RIVER                              MIDDLE SNAKE
   WA      WA46119G4I4           COLUMBIA RIVER                           ESQUATZEL COULEE




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   State   Waterbody ID          Waterbody Name                            Region
   WA      WA46119G7E3           COLUMBIA RIVER                            ESQUATZEL COULEE
   WA      WA46123C5E5           COLUMBIA RIVER                            GRAYS-ELOKOMAN
   WA      WA47122B7J9           CASE INLET AND DANA PASSAGE               KITSAP
   WA      WA48122H3D3           WHATCOM LAKE                              NOOKSACK
   WA      WAJI23XG-5.98         CHELAN RIVER                              CHELAN
   WA      WATF15AC-.002         CLEAR CREEK                               KITSAP
   WA      WADH90GX-0            DUWAMISH WATERWAY AND RIVER               DUWAMISH-GREEN
   WA      WAHM20EV-.6           WENATCHEE RIVER                           WENATCHEE
   WA      WAIG58VD-12.189       DUWAMISH WATERWAY AND RIVER               DUWAMISH-GREEN
   WA      WAQZ45UE-132.897      SPOKANE RIVER                             MIDDLE SPOKANE
   WA      WA46122A8A5           COLUMBIA RIVER                            LEWIS
   WA      WAYB86JO-14.472       SNAKE RIVER                               LOWER SNAKE
   WA      WA45120H3A5           COLUMBIA RIVER                            ROCK-GLADE
   WA      WAQZ45UE-94.079       SPOKANE RIVER                             LOWER SPOKANE
   WA      WAQZ45UE-96.37        SPOKANE RIVER                             LOWER SPOKANE
   WA      WAEB21AR-48.64        YAKIMA RIVER                              LOWER YAKIMA
   WA      WAQZ45UE-136.584      SPOKANE RIVER                             MIDDLE SPOKANE
   WA      WARL09XF-0            HYLEBOS WATERWAY                          PUYALLUP-WHITE
   WA      WA46123B2E7           COLUMBIA RIVER                            GRAYS-ELOKOMAN
   WA      WA47122C5E6           PUGET SOUND (SOUTH)                       CHAMBERS-CLOVER
   WA      WA48117J7C7           COLUMBIA RIVER                            UPPER LAKE ROOSEVELT
   WA      WA618HVI-00U-XXU-00   MCINTOSH LAKE                             DESCHUTES
   WA      WA47118C0F6           SPRAGUE LAKE                              PALOUSE
   WA      WA45122G7J1           VANCOUVER LAKE                            SALMON-WASHOUGAL
   WA      WA47119B3A2           MOSES LAKE                                LOWER CRAB
   WA      WA729WNB-18N-02W-38   WARD LAKE                                 DESCHUTES
   WA      WA630CWH-24N-40E-13   WEST MEDICAL LAKE                         UPPER CRAB-WILSON
   WA      WA329BEX-19N-02E-20   AMERICAN LAKE                             CHAMBERS-CLOVER
   WA      WA670DAB-25N-04E-05   GREEN LAKE                                CEDAR-SAMMAMISH
   WA      WA47119J0D4           BANKS LAKE                                GRAND COULEE
   WA      WA878IBO-24N-01W-32   KITSAP LAKE                               KITSAP
   WA      WA47122H2E6           WASHINGTON LAKE                           CEDAR-SAMMAMISH
   WI      WI1500095             MILWAUKEE RIVER                           MILWAUKEE
                                 MILWAUKEE RIVER -- LIME KILN DAM
   WI      WI15000_96            UPSTREAM                                  MANITOWOC
                                 MILWAUKEE R ESTUARY AOC - MENOMONEE
   WI      WI16000122            R                                         MILWAUKEE
   WI      WI1653500_141         NESHONOC LAKE                             LA CROSSE-PINE
   WI      WI2050000226          CHIPPEWA RIVER MAINSTEM                   LOWER CHIPPEWA
                                 CHIPPEWAU RIVER HOLCOMBE
                                 DOWNSTREAM TO DELLS DAM AT EAU
   WI      WI2050000228          CLAIRE                                    LOWER CHIPPEWA
   WI      WI2050000_225         CHIPPEWA RIVER
   WI      WI2050000_675         CHIPPEWA RIVER                            UPPER CHIPPEWA
   WI      WI21300246            CEDAR CREEK                               MILWAUKEE
   WI      WI241600_307          LAKE WINNECONNE                           WOLF RIVER
   WI      WI242800_311          POYGAN LAKE                               WOLF RIVER
   WI      WI2843800357          ST LOUIS RIVER AOC                        BEARTRAP-NEMADJI
   WI      WI94800554            AHNAPEE RIVER                             DOOR-KEWAUNEE
   WI      WI_000012_588         LAKE MICHIGAN
                                 LAKE SUPERIOR AND TRIBUTARIES UP TO THE
   WI      WI_000013_589         FIRST IMPASSABLE BARRIER
                                 MISSISSIPPI RIVER -- CHIPPEWA RIVER TO
   WI      WI_000034_590         LOCK AND DAM 6




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   State   Waterbody ID        Waterbody Name                                Region
                               MISSISSIPPI RIVER -- LOCK AND DAM 6 TO
   WI      WI_000036_591       ROOT RIVER (MN)
                               MISSISSIPPI RIVER -- ROOT RIVER (MN) TO
   WI      WI_000037_592       WISCONSIN RIVER
                               MISSISSIPPI RIVER -- WISCONSIN RIVER TO
   WI      WI_000038_593       LOCK AND DAM 11
   WI      WI804600_468        LAKE MONONA                                   UPPER ROCK
   WI      WI805400_470        LAKE MENDOTA                                  UPPER ROCK
   WI      WI_000017_593       MISSISSIPPI RIVER - WISCONSIN PORTION (3)
                               ST. CROIX RIVER -- ST. CROIX FALLS TO MISS.
   WI      WI_000026_602       RIVER
   WI      WI11790018          FOX R. LOWER SEG 1 (1)                        LOWER FOX
   WI      WI117900_22         FOX RIVER AT BUFFALO LAKE                     UPPER FOX
                               WISCONSIN RIVER - MERRIL DAM TO PRAIRIE
   WI      WI117990025         DU SAC DAM                                    CASTLE ROCK
   WI      WI90700538          KEWAUNEE RIVER                                DOOR-KEWAUNEE
   WI      WI137710070         PETENWELL FLOWAGE - WISCONSIN RIVER           CASTLE ROCK
   WI      WI139900_74         LAKE BUTTE DES MORTS                          UPPER FOX
                               WOLF RIVER BELOW SHAWANO DAM TO
   WI      WI241300305         STATE HWY 156                                 WOLF RIVER
                               WOLF RIVER FROM SHAWANO DAM TO LAKE
   WI      WI241300_306        POYGAN
                               BLACK RIVER -- BLACK RIVER FALLS TO
   WI      WI1676700_707       MISSISSIPPI RIVER                             BLACK RIVER
   WI      WI1769900177        TREMPEALEAU RIVER BELOW ARCADIA               TREMPEALEAU
                               SHEBOYGAN RIVER BELOW FRANKLIN
   WI      WI50700403          DOWNSTREAM TO SHEBOYGAN FALLS                 MANITOWOC-SHEBOYGAN
                               MENOMINEE RIVER (PIER'S GORGE TO
   WI      WI609000_417        LOWER SCOTT FLOWAGE)                          MENOMINEE
                               MANITOWOC R. (MOUTH TO CONFLUENCE
   WI      WI71000427          WITH NORTH BRANCH)                            MANITOWOC-SHEBOYGAN
   WI      WI71300430          BRANCH RIVER IN MANITOWOC CO.                 MANITOWOC-SHEBOYGAN
   WI      WI742500435         FOX RIVER (III) (BELOW BARSTOW IMP)           UPPER FOX
                               FOX RIVER (ILL), INCLUDING LAKE TICHIGAN
                               DOWNSTREAM OF CONFLUENCE WITH
   WI      WI742500_436        UNNAMED TRIB NEAR CTH A IN WAUKESHA           UPPER FOX
                               MANITOWOC R. (CONFLUENCE WITH N. BR.
   WI      WI77900444          TO CHILTON)                                   MANITOWOC-SHEBOYGAN
                               ROCK RIVER (STATE LINE TO JANESVILLE
   WI      WI788800451         WWTP)                                         UPPER ROCK
   WI      WI79900462          PINE CREEK                                    MANITOWOC-SHEBOYGAN
   WI      WI80200466          JORDAN CREEK                                  MANITOWOC-SHEBOYGAN
                               WISCONSIN RIVER -- PRAIRIE DU SAC DAM TO
   WI      WI1179900_26        MISS. R.                                      LOWER WISCONSIN
   WI      WI131100_59         LAKE WINNEBAGO                                LAKE WINNEBAGO
   WI      WI134570066         CASTLE ROCK FLOWAGE - WISCONSIN RIVER         CASTLE ROCK
   WI      WI146100_87         BIG GREEN LAKE
                               ROOT RIVER FROM ITS MOUTH UPSTREAM
   WI      WI2900365           TO THE HORLICK DAM IN THE CITY OF RACINE      PIKE-ROOT
   WI      WI829700_480        CRAWFISH RIVER AT COLUMBUS MILLPOND           CRAWFISH
   WI      WI830300481         ROCK CREEK AT HOOPERS MILLPOND                CRAWFISH
   WI      WI84000494          EAST TWIN RIVER UPSTREAM TO FIRST DAM         MANITOWOC-SHEBOYGAN
   WI      WI848800_497        LAC LA BELLE                                  UPPER ROCK
   WI      WI11790019          FOX R. LOWER SEG. 2 (1)                       LOWER FOX
                               FOX RIVER -- SWAN LAKE DOWNSTREAM TO
   WI      WI117900_21         PORTAGE




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   WI      WI742500432         FOX R (III) (AB BROOKFIELD WWTP)           UPPER FOX
                               FOX RIVER (ILL) UPSTREAM OF CTH K IN
   WI      WI742500_676        WAUKESHA CO.                               UPPER FOX
   WI      WI788800449         ROCK RIVER (ABOVE HWY 14)                  UPPER ROCK
   WI      WI788800450         ROCK RIVER (JANESVILLE TO HWY 14)          UPPER ROCK
   WI      WI799500464         BADFISH CREEK IN DANE CO                   UPPER ROCK
   WI      WI13080058          NEENAH SLOUGH                              LOWER FOX
   WI      WI97700_566         CLARK LAKE                                 DOOR-KEWAUNEE
                               FOX RIVER (FROM PORTAGE NORTH TO, BUT
   WI      WI11790020          NOT INCLUDING BUFFALO LAKE)                UPPER FOX
   WI      WI50700402          SHEBOYGAN RIVER                            MANITOWOC-SHEBOYGAN
                               ROCK RIVER -- INDIANFORD DAM TO ILLINOIS
   WI      WI788800_453        BORDER
   WI      WI79900463          PINE CREEK                                 MANITOWOC-SHEBOYGAN
   WI      WI13370063          FOND DU LAC RIVER                          LAKE WINNEBAGO
                               MILWAUKEE R. ESTURARY AOC - MILWAUKEE
   WI      WI1500094           R.                                         MILWAUKEE
   WI      WI_000025_601       ST LOUIS BAY AOC                           BEARTRAP-NEMADJI
   WI      WI117900_149        FOX R SEG. 3 LOWER (1)                     LOWER FOX
   WI      WI609000416         MENOMINEE R. IN MARINETTE COUNTY           MANITOWOC-SHEBOYGAN
                               FOX R (III) (BARSTOW TO BROOKFIELD
   WI      WI742500433         WWTP)                                      UPPER FOX
                               MILWAUKEE R ESTUARY AOC (OUTER
   WI      WI15010_97          HARBOR TO LM)                              MILWAUKEE
                               MILWAUKEE R. ESTUARY AOC -
   WI      WI3382              KINNICKINNIC R.                            MILWAUKEE
   WI      WI_000027603        TRIBUTARY TO EAST RIVER                    LOWER FOX
   WI      WI2050000227        CHIPPEWA RIVER NEAR EAU CLAIRE             LOWER CHIPPEWA
                               MISSISSIPPI RIVER -- LOCK AND DAM 11 TO
   WI      WI_000035_594       STATE LINE
   WI      WI1884700_215       SUPERIOR BAY AOC                           BEARTRAP-NEMADJI
   WI      WI15800_115         JACKSON PARK POND                          MILWAUKEE
   WI      WI1_6               GREEN BAY AOC (INNER BAY) (1)              LAKE MICHIGAN
   WV      WVK-LO_02           KANAWHA RIVER (LOWER)
   WV      WVK-LO_03           KANAWHA RIVER (LOWER)
   WV      WVK-LO_05           KANAWHA RIVER (LOWER)
   WV      WVK-UP_01           KANAWHA RIVER (UPPER)
   WV      WVK-LO_01           KANAWHA RIVER (LOWER)
   WV      WVO-32-M-(L1)_00    ELK FORK LAKE
   WV      WVPSB_04            SOUTH BRANCH POTOMAC RIVER
   WV      WVPSB_05            SOUTH BRANCH POTOMAC RIVER
   WV      WVMW_01             WEST FORK RIVER
   WV      WVMCS_01            SHAVERS FORK
   WV      WVMCS_02            SHAVERS FORK
   WV      WVKN-(L1)_00        BLUESTONE LAKE
   WV      WVPSB_02            SOUTH BRANCH POTOMAC RIVER
   WV      WVPSB_03            SOUTH BRANCH POTOMAC RIVER
   WV      WVKNB_01            BLUESTONE RIVER
   WV      WVKNB_02            BLUESTONE RIVER
   WV      WVO-LO_01           OHIO RIVER (LOWER)
   WV      WVOMI_01            MIDDLE ISLAND CREEK
   WV      WVOMI_02            MIDDLE ISLAND CREEK
   WV      WVMC-(L1)_00        CHEAT LAKE
   WV      WVO-LO_02           OHIO RIVER (LOWER)
   WV      WVO-LO_03           OHIO RIVER (LOWER)




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   State   Waterbody ID        Waterbody Name               Region
   WV      WVO-MN_04           OHIO RIVER (MIDDLE NORTH)
   WV      WVO-MN_05           OHIO RIVER (MIDDLE NORTH)
   WV      WVO-MN_06           OHIO RIVER (MIDDLE NORTH)
   WV      WVO-MN_07           OHIO RIVER (MIDDLE NORTH)
   WV      WVO-MN_08           OHIO RIVER (MIDDLE NORTH)
   WV      WVO-MN_09           OHIO RIVER (MIDDLE NORTH)
   WV      WVO-MS_01           OHIO RIVER (MIDDLE SOUTH)
   WV      WVO-MS_02           OHIO RIVER (MIDDLE SOUTH)
   WV      WVO-MS_06           OHIO RIVER (MIDDLE SOUTH)
   WV      WVO-UN_00           OHIO RIVER (UPPER NORTH)
   WV      WVO-US_02           OHIO RIVER (UPPER SOUTH)
   WV      WVO-US_05           OHIO RIVER (UPPER SOUTH)
   WV      WVOG-(L1)_00        R D BAILEY LAKE
   WV      WVMCS_03            SHAVERS FORK
   WV      WVMCS_04            SHAVERS FORK
   WV      WVMT-(L1)_00        TYGART LAKE
   WV      WVK-UP_02           KANAWHA RIVER (UPPER)
   WV      WVLKH_00            HUGHES RIVER
   WV      WVPSB_01            SOUTH BRANCH POTOMAC RIVER
   WV      WVKP-33_00          FLAT FORK
   WV      WVO-MN_01           OHIO RIVER (MIDDLE NORTH)
   WV      WVO-MS_03           OHIO RIVER (MIDDLE SOUTH)
   WV      WVO-US_04           OHIO RIVER (UPPER SOUTH)
   WV      WVO-MN_03           OHIO RIVER (MIDDLE NORTH)
   WV      WVK-LO_04           KANAWHA RIVER (LOWER)
   WV      WVO-MN_10           OHIO RIVER (MIDDLE NORTH)
   WV      WVO-MS_04           OHIO RIVER (MIDDLE SOUTH)
   WV      WVO-MS_05           OHIO RIVER (MIDDLE SOUTH)
   WV      WVO-US_01           OHIO RIVER (UPPER SOUTH)
   WV      WVO-US_03           OHIO RIVER (UPPER SOUTH)
   WV      WVO-MN_02           OHIO RIVER (MIDDLE NORTH)




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            Exhibit
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 Exhibit C- U.S.G.S. HUC 12 Watersheds that contain and/or are
 immediately adjoining a U.S. EPA 303(d) water body impaired by PCBs
  States       HUC12          Name
  AL,GA,TN     060200011204   Lower Nickajack Lake-Tennessee River
  AL           031501051003   Weiss Lake-Coosa River
  AL           031501060203   Big Cove Creek
  AL           031501060204   Turkey Town Creek
  AL           031501060309   H. Neely Henry Lake-Coosa River
  AL           031501060406   Ohatchee Creek-Tallasseehatchee Creek
  AL           031501060408   Lower Cane Creek
  AL           031501060409   Woods Island-Coosa River
  AL           031501060507   Tuskehadky Branch-Choccolocco Creek
  AL           031501060512   Emorai Church-Choccolocco Creek
  AL           031501060514   Jackson Shoals-Choccolocco Creek
  AL           031501060601   Trout Creek
  AL           031501060602   Leather Creek-Broken Arrow Creek
  AL           031501060603   Embry Bend-Coosa River
  AL           031501060604   Blue Eye Creek
  AL           031501060605   Broken Arrow Shoals-Coosa River
  AL           031501060703   Lower Talledega Creek
  AL           031501060801   Poorhouse Branch
  AL           031501060802   Haw Branch-Clear Creek
  AL           031501060803   Rabbit Branch
  AL           031501060809   Fanning Branch
  AL           031501060810   Spring Creek-Coosa River
  AL,TN        060300010201   Jones Creek-Tennessee River
  AL           031501070106   Lower Tallaseehatchee Creek
  AL           031501070205   Lower Yellowleaf Creek
  AL           031501070301   Kahatchee Creek
  AL           031501070302   Beeswax Creek
  AL           031501070303   Cohabie Creek-Cedar Creek
  AL           031501070304   Hay Spring Branch
  AL           031501070405   Buxahatchee Creek
  AL           031501070406   Lower Waxahatchee Creek
  AL           031501070501   Peckerwood Creek
  AL           031501070502   Paint Creek
  AL           031501070503   Spring Creek-Lay Lake
  AR,TN        080101000703   Loosahatchie Bar-Mississippi River
  CA           180201550405   Sevenmile Creek-Sacramento River
  CA           180701060402   Big Dalton Wash
  CA           180701060606   Coyote Creek-San Gabriel River
  CA           180701060701   Long Beach Harbor



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 States        HUC12          Name
 CA            180701060702   Alamitos Bay
 CA            180701060703   San Pedro Bay
 CA            180702010001   Anaheim Bay
 CA            180702010002   Huntington Beach-Pacific Ocean
 CA            180702020308   Lake Elsinore
 CA            180702030102   Big Bear Lake
 CA            180702030103   Siberia Creek-Bear Creek
 DE,MD         020402050501   Muddy Run
 CA            180201560601   Salt Creek
 CA            180201560605   Butler Slough-Sacramento River
 CA            180201560607   Rodeo Creek-Sacramento River
 CA            180201570404   Harbean Slough-Pine Creek
 CA            180201570604   Kusal Slough-Mud Creek
 CA            180201570703   Hoag Slough-Sacramento River
 CA            180201570704   Murphy Slough-Sacramento River
 CA            180400030303   McLeod Lake-Mormon Slough
 CA            180400030501   Burns Cutoff-San Joaquin River
 CA            180400030502   Roberts Island-Trapper Slough
 CA            180400030504   Fivemile Creek-San Joaquin River
 CA            180400030903   Venice Island-Little Connection Slough
 CA            180400030906   Middle River-San Joaquin River
 CA            180400030907   Markley Canyon-San Joaquin River
 CA            180702040103   Lower San Diego Creek
 CA            180702040201   Newport Bay
 CA            180702040202   Buck Gully-Frontal Pacific Ocean
 CN,NY         041201040000   041201040000
 CN,NY         041502000100   Amherst Island-Frontal Lake Ontario
 CN,NY         041502000200   Lake Ontario
 DE,MD         020600020204   Long Creek-Back Creek
 DE,MD         020600020206   Bohemia River
 DE,MD         020600020301   Upper Sassafras River
 DE,NJ         020402040000   Delaware River-Delaware Bay
 CA            180201590201   Thermalito Afterbay
 CA            180201590202   Oregon Gulch-Feather River
 CA            180201590502   Ellis Lake-Feather River
 CA            180201590503   Clark Slough-Feather River
 CA            180201610402   Natomas Main Drainage Canal-Sacramento River
 CN,NY         041504081507   Outlet Great Chazy River
 CN,NY,VT      041504090000   041504090000
 CN,VT         041504081102   Carman Brook-Missisquoi Bay
 CN,VT         041504081203   Mud Creek
 CA            180201630605   Watson Hollow



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 States        HUC12          Name
 CA            180201630606   Toe Drain-Cache Slough
 CA            180201630701   Lake Greenhaven-Sacramento River
 CA            180201630702   Beaver Lake-Sacramento River
 CA            180201630703   Threemile Slough-Sacramento River
 CA            180703040903   Rice Canyon-Sweetwater River
 CA            180703041202   San Diego Bay
 CA            180101020605   Humboldt Bay
 CA            180101020606   Tabic Bluff-Frontal Pacific Ocean
 CA            180500010109   American Canyon-Frontal Suisun Bay Estuaries
 CA            180500010202   Las Trampas Creek
 CA            180500010303   Arroyo del Hambre-Frontal Suisun Bay Estuaries
 CA            180500010401   Suisun Bay Estuaries
 CA            180500010402   Suisun Bay Islands
 CA            180500010403   Suisun Bay
 CA            180500020401   American Canyon Creek-Frontal San Pablo Bay Estuaries
 CA            180500020607   Miller Creek-Frontal San Pablo Bay Estuaries
 CA            180500020701   San Pablo Creek
 CA            180500020702   Pinole Creek-Frontal San Pablo Bay Estuaries
 CA            180500020801   San Pablo Bay Estuaries
 CA            180500020802   San Pablo Bay
 CA            180500020902   Larkspur Creek-Frontal San Francisco Bay Estuaries
                              Arroyo Corte Madera Del Presidio-Frontal San Francisco Bay
 CA            180500020903   Estuaries
 CA            180500020904   Cerrito Creek-Frontal San Francisco Bay Estuaries
 CA            180500020905   Lobos Creek-Frontal San Francisco Bay Estuaries
 CA            180500021001   Angel Island-San Francisco Bay Estuaries
 CA            180500021002   Richardson Bay-San Francisco Bay
 CA            180500030104   San Felipe Creek
 CA            180500030105   Anderson Lake-Coyote Creek
 CA            180500030202   Metcalfe Canyon-Coyote Creek
 CA            180500030403   Stevens Creek
 CA            180500040302   Lower Arroyo Mocho
 CA            180500040405   Lake Del Valle-Arroyo Valle
 CA            180500040803   San Leandro Creek
 CA            180500040805   Sausal Creek-Frontal San Francisco Bay Estuaries
 CA            180500040903   Colma Creek-Frontal San Francisco Bay Estuaries
 CA            180500040904   Visitacion Valley-Frontal San Francisco Bay Estuaries
 CA            180500041001   San Francisco Bay Estuaries
 CA            180500041002   Oakland Inner Harbor-San Francisco Bay
 CA            180500050201   Arroyo Sausal
 CA            180500060204   San Pedro Creek-Frontal Pacific Ocean
 CA            180600020103   Tequisquita Slough




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 States        HUC12          Name
 CA            180600020206   Lower Pacheco Creek
 CA            181002010609   Town of Biskra Palms-Whitewater River
 CA            180600020801   Upper Pajaro River
 CA            180600020804   Watsonville Slough Frontal
 CA            180600020805   Lower Pajaro River
 CA            181002010705   City of Indio-Whitewater River
 CA            181002010802   Town of Thermal-Whitewater River
 CA            181002010804   Guadalupe Creek-Whitewater River
 CA            180201041201   Deadmans Reach-Sacramento River
 CA            180201041202   The Lagoon-Sacramento River
 CA            180201041203   Packer Lake-Sacramento River
 CA            180201110201   Upper American River
 CA            180201110202   Lower American River
 CA            180201110301   Upper Steelhead Creek
 CA            180201110303   Lower Steelhead Creek
 CT            010802050502   Stoughton Brook-Connecticut River
 CT            010802050505   Goff Brook-Connecticut River
 CT            010802050506   Reservoir Brook-Connecticut River
 CT            010802050702   Mill Creek-Connecticut River
 CT            010802050901   Deep River-Connecticut River
 CT            010802050903   Eightmile River
 CT            010802050904   Falls River
 CT            010802050905   Joshua Creek-Connecticut River
 CA            180201210405   Almanor Peninsula-Frontal Lake Almanor
 CA            180201210406   Lake Almanor
 CA            180201210407   Clear Creek-North Fork Feather River
 CA            180201210408   Mosquito Creek-North Fork Feather River
 CA            180201210601   Chips Creek
 CA            180201210602   Bucks Creek
 CA            180201210603   Milk Ranch Creek-North Fork Feather River
 CA            180201210606   Camp Creek-North Fork Feather River
 CA            180201210703   Concow Creek
                              Little West Fork West Branch Feather River-West Branch Feather
 CA            180201210704   River
 CA            180201210705   Dark Canyon-West Branch Feather River
 CA            180201210801   French Creek
 CA            180201210802   Berry Creek
 CA            180201210803   Chino Creek-North Fork Feather River
 CA            180201210804   Potter Ravine-North Fork Feather River
 CA            180600051503   Limekiln Creek-Salinas River
 CA            180600051506   Quial Creek
 CA            180600051507   180600051507-Salinas River




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 States           HUC12          Name
 CA               180600051508   El Toro Creek
 CA               180600051509   Alisal Creek-Salinas River
 CA,MX            180703041300   Mission Beach-Frontal Pacific Ocean
 CA               180600060705   Meadow Creek-Frontal Pacific Ocean
 CN,MI            040900040000   040900040000
 CN,MI,OH,PA      041202000100   Pelee Island
 CN,MI,NY,OH,PA   041202000300   Lake Erie
 CT,MA            010802050102   Pecousic Brook-Connecticut River
 CT,MA            010802050105   Freshwater Brook-Connecticut River
 CT,NY,RI         020302030000   Long Island Sound
 DC,MD            020700100102   Lower Rock Creek
 DC,MD            020700100201   Northwest Branch Anacostia River
 CA               180201230601   Little Grass Valley Reservoir-South Fork Feather River
 CA               180201230602   Lost Creek
 CA               180201230603   Rock Creek-South Fork Feather River
 CA               180201230604   Oroleve Creek-South Fork Feather River
 CA               180201230605   Sucker Run
 CA               180201230606   Oregon Gulch-South Fork Feather River
 CA               180201230704   Fall River
 CA               180201230705   Brush Creek-Middle Fork Feather River
 CA               180201230706   Frey Creek-Middle Fork Feather River
 CA               180201230707   East Fork Canyon Creek-Feather River
 DC,MD            020700100204   Beaverdam Creek-Anacostia River
 DC,VA            020700100103   Pimmit Run-Potomac River
 DC,MD,VA         020700100301   Four Mile Run-Potomac River
 DC,MD,VA         020700100307   Little Hunting Creek-Potomac River
 DE               020402050403   Lower Brandywine Creek
 DE               020402050503   Middle Christina River
 DE               020402050504   Little Mill Creek
 DE               020402050505   Lower Christina River
 DE               020402050602   Shellpot Creek-Frontal Delaware River
 DE               020402050703   Red Lion Creek-Frontal Delaware River
 CA               180201260502   Best Slough-Bear River
 CA               180600150201   Bear Creek-San Lorenzo River
 CA               180600150202   Zayante Creek-San Lorenzo River
 CA               180600150203   Carbonera Creek-San Lorenzo River
 CA               180600150305   Monterey Bay
 CA               180701010203   Arundell Barranca-Frontal Pacific Ocean
 DE               020402050705   Chesapeake and Delaware Canal-Frontal Delaware River
 DE               020402050802   Appoquinimink River-Frontal Delaware River
 DE               020402070301   Upper Saint Jones River
 DE               020402070302   Issac Branch



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 States        HUC12          Name
 DE            020402070304   Lower Saint Jones River
 CA            180701030201   Mugu Lagoon
 CA            180701030202   McGrath Lake-Frontal Pacific Ocean
 CA            180701040104   Cold Creek-Malibu Creek
 CA            180701040202   Arroyo Sequit-Frontal Pacific Ocean
 CA            180701040203   Zuma Canyon-Frontal Pacific Ocean
 CA            180701040204   Solstice Canyon-Frontal Santa Monica Bay
 CA            180701040300   Ballona Creek
 CA            180701040401   Garapito Creek
 CA            180701040402   Santa Monica Canyon
 CA            180701040403   Santa Monica Beach-Frontal Santa Monica Bay
 CA            180701040500   Manhattan Beach-Frontal Santa Monica Bay
 CA            180701050402   Compton Creek-Los Angeles River
 CA            180701060102   Lower Dominguez Channel
 IL            071300031002   Matanzas Lake-Illinois River
 IL            071300031003   East Branch Illinois River-Illinois River
 IL            071300031004   Elm Creek-Illinois River
 IL            071300031005   Dutchmans Creek-Illinois River
 IL            071300031102   Curry Lake-Illinois River
 IL            071300040101   Lake Sibley-Mackinaw River
 IL            071300040105   Town of Colfax-Mackinaw River
 IL            071300040301   Patton Creek-Mackinaw River
 IN            041000040604   Snyder Ditch-Saint Marys River
 IN            041000040606   Junk Ditch-Saint Marys River
 IN            041000050102   Bullerman Ditch-Maumee River
 IN            041000050103   Sixmile Creek-Maumee River
 IN            041000050105   Bottern Ditch-Maumee River
 IN            041000050106   Marsh Ditch-Maumee River
 IN            051201030402   Rees Ditch-Mississinewa River
 IN            051201030404   Holdren Ditch-Mississinewa River
 IN            051201030501   Hoppas Ditch-Mississinewa River
 IN            051201030502   Lake Branch-Mississinewa River
 IN            051201030504   Back Creek
 HI            200600000401   Halawa Stream-Frontal Pacific Ocean
 HI            200600000402   Waiawa Stream-Frontal Pacific Ocean
 HI            200600000403   Waikele Stream-Frontal Pacific Ocean
 HI            200600000404   Honouliuli Stream-Frontal Pacific Ocean
 IL            071300040305   Loving Branch-Mackinaw River
 IL            071300040503   Denman Creek-Mackinaw River
 IL            071300040703   Alloway Creek-Mackinaw River
 IL            071300040804   Indian Creek
 IL            071300040806   Danforth Cemetery-Mackinaw River



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 States        HUC12          Name
 IL            071300040808   Horseshoe Lake-Mackinaw River
 IN            050800030103   Nettle Creek
 IN            050800030104   Little Creek-Whitewater River
 IN            050800030105   Symonds Creek
 IN            050800030108   Pronghorn Run-Whitewater River
 IN            051201030508   Deer Creek
 IN            051201030510   Branch Creek-Mississinewa River
 IN            051201030511   Boots Creek-Mississinewa River
 IN            051201030601   Hummel Creek-Mississinewa River
 IN            051201030603   Grant Creek-Mississinewa River
 IN            051201030604   Forked Branch-Mississinewa River
 IN            051201030605   Mississinewa Lake-Mississinewa River
 IL            070801040801   Headwaters Cedar Creek
 IL            071401060702   Sugar Creek-Big Muddy River
 IL            071401060704   Cambon Lake-Big Muddy River
 IL            071401060806   Crab Orchard Lake-Crab Orchard Creek
 IL            071401060809   Little Crab Orchard Creek-Crab Orchard Creek
 IL,IN         040400010603   Calumet River-Frontal Lake Michigan
 IN            051201030606   Town of Peoria-Mississinewa River
 IN            051201040201   Benward Ditch-Eel River
 IN            051201040202   Johnson Drain-Eel River
 IN            051201040203   Krider Ditch-Eel River
 IN            051201040204   Solon Ditch-Eel river
 IN            051201040302   Shoenauer Ditch-Spring Creek
 IN            051201040304   County Farm Ditch-Eel River
 IN            051201040401   Mishler Ditch-Eel River
 IN            051201040402   Hurricane Creek-Eel River
 IN            051201040403   Plunge Creek-Eel River
 IN            051201040404   Simonton Creek-Eel River
 IN            051201040407   Swank Creek-Eel River
 IN            051201040502   Otter Creek-Eel River
 IL            070900031201   Waddams Creek
 IL            070900031203   Town of Damascus-Pecatonica River
 IL            070900031204   Preston Creek-Pecatonica River
 IL            071200030104   North Shore Channel
 IL            071200030105   Middle North Branch Chicago River
 IL            071200030106   Lower North Branch Chicago River
 IL            071200030107   South Branch Chicago River-Chicago Sanitary and Ship Canal
 IL            071200030204   Thorn Creek
 IL,IN         051201110904   Hawks Creek-Wabash River
 IL,IN         051201111103   Oxendine Bayou-Wabash River
 IL,IN         051201111106   Town of Riverview-Wabash River



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 States        HUC12          Name
 IL,IN         051201111303   Kelley Bayou-Wabash River
 IL,IN         051201111603   Buzzard Pond-Wabash River
 IL,IN         051201111701   Sugar Creek-Wabash River
 IL,IN         051201111703   Old Busseron Creek-Wabash River
 IL,IN         051201111903   Robeson Pond-Wabash River
 IL,IN         051201130201   England Ditch-Wabash River
 IL,IN         051201130204   Big Slough-Wabash River
 IL,IN         051201130206   Wabash Pond-Wabash River
 IL,IN         051201130304   Greathouse Creek-Wabash River
 IL,IN         051201130305   Scott Ditch-Wabash River
 IL,IN         051201130601   Goose Pond-Wabash River
 IL,IN         051201130602   Onion Creek-French Creek
 IL,IN         051201130603   Big Bayou-Wabash River
 IL,IN         051201130801   Harmony Creek-Wabash River
 IL,IN         051201130803   Rush Creek-Wabash River
 IL,IN         051201130804   Brushy Slough-Wabash River
 IL,IN         051201130805   Wabash Ditch-Wabash River
 IL,IN         051201130901   Pitcher Creek-Wabash River
 IL,IN         051201130902   Sandy Slough-Wabash River
 IL,IN         051201130903   Grassy Slough-Levy Slough
 IL,IN         051201130904   Willow Pond Slough-Wabash River
 IL,IN         071200011204   Williams Ditch
 IL,IN         071200011205   Beaver Lake Ditch-Kankakee River
 IN            050800030405   Fall Creek-Whitewater River
 IN            050800030408   Bear Creek-Whitewater River
 IL            070900031406   Wickham Creek-Pecatonica River
 IL            071200030403   Calumet Sag Channel
 IL            071200030404   Midlothian Creek
 IL            071200040302   Bull Creek-Des Plaines River
 IL            071200040401   Upper Salt Creek
 IL            071200040402   Middle Salt Creek
 IL            071200040403   Addison Creek
 IL            071200040404   Lower Salt Creek
 IL            071200040503   McDonald Creek-Des Plaines River
 IL            071200040504   Willow Creek
 IL            071200040505   Weller Creek-Des Plaines River
 IL            071200040506   Bensenville Ditch-Des Plaines River
 IL            071200040702   Saganashkee Slough-Calumet Sag Channel
 IL            071200040705   Maple Lake-Chicago Sanitary and Ship Canal
 IL            071200040706   Goose Lake-Des Plaines River
 IL            071200040802   Middle West Branch Du Page River
 IL            071200040805   Lower West Branch Du Page River



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 States        HUC12          Name
 IL            071200040806   Upper Du Page River
 IL            071200040808   Middle Du Page River
 IL            071200040810   Lower Du Page River
 IL            071200040905   Des Plaines River
 IL            071300050802   Hermon Creek
 IL            071402010101   Headwaters Lake Fork
 IL            071402010102   East Lake Fork
 IL            071402010104   Upper Lake Fork
 IL            071402010105   Middle Lake Fork
 IL,IN         071200020502   Whaley Ditch
 IL,IN         071200020507   North Sheldon South Concord Ditch-Iroquois River
 IL,IN         071200020705   Yeagers Curve-Sugar Creek
 IN            050800030605   Yellow Bank Creek-Whitewater River
 IN            050800030706   Clear Creek-Lick Creek
 IN            050800030711   Simpson Creek-East Fork Whitewater River
 IL            070900031602   City of Pecatonica-Pecatonica River
 IL            070900031603   Tunnison Creek-Pecatonica River
 IL            070900050104   City of Rockton-Rock River
 IL            070900050107   Spring Creek-Rock Creek
 IL            071200050204   Crave Creek-Granary Creek
 IL            071200050206   Town of Godley-Mazon River
 IL            071200050501   Jackson Creek-Mazon River
 IL            071200050502   Claypool Ditch
 IL            071200050503   Spring Run-Mazon River
 IL            071200050701   Heidecke Lake-Illinois River
 IL            071402010106   Lower Lake Fork
 IL            071402010107   Outlet Lake Fork
 IL            071402010202   Kaskaskia Ditch
 IL            071402010203   Twomile Slough
 IL            071402010204   Kaskaskia Ditch-Kaskaskia River
 IL            071402010206   Town of Ficklin-Kaskaskia River
 IL            071402010401   West Fork Kaskaskia River
 IL            071402010402   Town of Chesterville-Kaskaskia River
 IL,IN         071200030305   Town of Black Oak-Little Calumet River
 IL,IN         071200030407   Grand Calumet River-Little Calumet River
 IN,KY         051402011202   Jackson Creek-Ohio River
 IL,IN,KY      051402020705   Sibley Creek-Ohio River
 IL,KY         051402030102   Gold Hill-Ohio River
 IL,KY         051402030303   Camp Creek-Ohio River
 IL,KY         051402030306   Peters Creek-Ohio River
 IL,KY         051402030504   Threemile Creek-Ohio River
 IL,KY         051402030704   Givens Creek-Ohio River



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 States        HUC12          Name
 IL,KY         051402030705   McGilligan Creek-Ohio River
 IL,KY         051402030904   Sisters Islands-Ohio River
 IL,KY         051402030905   Dog Creek-Ohio River
 IL,KY         051402060102   Mud Creek-Ohio River
 IL,KY         051402060202   Sevenmile Creek-Ohio River
 IL,KY         051402060701   Bayou Creek-Ohio River
 IL,KY         051402060702   Redstone Creek-Ohio River
 IL,KY         051402060703   Hess Bayou-Ohio River
 IL,KY         051402060704   City of Cairo-Ohio River
 IA,IL,MO      071100010601   Greys Island-Mississippi River
 IL,MO         071100010603   Headwaters Buck Run-Mississippi River
 IL,MO         071100010605   Buck Run-Mississippi River
 IL,MO         071100011005   Goose Lake-Mississippi River
 IL,MO         071100011006   Curtis Creek-Mississippi River
 IN            050800030713   Richalnd Creek-East Fork Whitewater River
 IN            050800030714   Hanna Creek
 IN            050800030715   Ellys Creek-East Fork Whitewater River
 IN            050800030716   Templeton Creek
 IN            050800030717   Brookville Lake-East Fork Whitewater River
 IN            050800030803   Big Cedar Creek
 IL            070900050401   City of Rockford-Rock River
 IL            070900050406   Mill Creek
 IL            070900050407   Lake Louise-Rock River
 IL            070900050408   Silver Creek-Rock River
 IL            071200050705   Bills Run-Illinois River
 IL            071200050801   Armstrong Run-Illinois River
 IL            071200050802   South Kickapoo Creek-Illinois River
 IL            071200050803   Wallbridge Creek-Illinois River
 IL            071200061008   Squaw Creek
 IL            071200061009   Nippersink Lake-Fox River
 IL            071200061010   Pistakee Lake-Fox River
 IL            071200061102   Griswold Lake-Fox River
 IL            071200061105   Cary Creek-Fox River
 IL            071200061202   Spring Creek-Fox River
 IL            071402010405   Town of Cooks Mills-Kaskaskia River
 IL            071402010406   Coon Creek-Kaskaskia River
 IL,MO         071100040301   Ghost Hollow-Mississippi River
 IL,MO         071100040303   Bay Island-Mississippi River
 IL,MO         071100040505   Fools Creek-Mississippi River
 IL,MO         071100040604   Gilbert Island-Mississippi River
 IL,MO         071100040701   Noix Creek-Mississippi River
 IL,MO         071100040702   Buffalo Creek-Mississippi River



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 States        HUC12          Name
 IL,MO         071100041002   Ramsey Creek-Mississippi River
 IL,MO         071100041004   Bryants Creek-Mississippi River
 IL,MO         071100041101   Gresham Hollow-Mississippi River
 IL,MO         071100041109   Dogtown Hollow-Mississippi River
 IL,MO         071100090106   Cuivre Island-Mississippi River
 IL,MO         071100090401   Marais Temps Clair-Mississippi River
 IL,MO         071100090402   City of Alton-Mississippi River
 IL,MO         071100090403   City of Woodriver-Mississippi River
 IL,MO         071401010401   Maline Creek-Mississippi River
 IL,MO         071401010403   Schoenberger Creek-Mississippi River
 IL,MO         071401010507   Palmer Creek-Mississippi River
 IL,MO         071401010603   Carr Creek-Mississippi River
 IL,MO         071401010807   Meissner Island-Mississippi River
 IL,MO         071401010904   Old Maeystown Creek-Mississippi River
 IL,MO         071401010905   Brickleys Hollow-Mississippi River
 IL,MO         071401010909   Prairie Du Rocher Creek-Mississippi River
 IL,MO         071401010910   Moro Island-Mississippi River
 IL,MO         071401050405   Neelys Creek-Mississippi River
 IL,MO         071401050502   Flora Creek-Mississippi River
 IL,MO         071401050503   Cape La Croix Creek-Mississippi River
 IL,MO         071401050801   Holden Creek-Mississippi River
 IL,MO         071401050802   Powers Island-Mississippi River
 IL,KY,MO      071401050804   Big Lake Bayou-Mississippi River
 IL,WI         040400020501   Waukegan River-Frontal Lake Michigan
 IL,WI         070600050306   Kelsey Branch-Galena River
 IN            050800030805   Blackburn Creek-Whitewater River
 IN            050800030806   Johnson Fork-Whitewater River
 IN            050902030304   Salt Fork-Tanners Creek
 IN            050902030403   Allen Branch-South Hogan Creek
 IN            050902030404   Elk Run-North Hogan Creek
 IL            070900050604   Gale Creek-Rock River
 IL            070900050606   Plum Creek-Rock River
 IL            070900050610   Town of Nelson-Rock River
 IL            071200061206   Jelkes Creek-Fox River
 IL            071200070104   Norton Creek-Fox River
 IL            071200070106   Town of Geneva-Fox River
 IL            071200070109   Mastodon Lake-Fox River
 IL            071200070111   Town of Oswego-Fox River
 IL            071300110301   Little Creek-Illinois River
 IL            071402010701   Asa Creek-Lake Shelbyville
 IL,WI         070900021502   City of Beloit-Rock River
 IL,WI         070900031006   Indian Creek-Pecatonica River



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 States        HUC12          Name
 IL,WI         070900031202   Muddy Creek-Pecatonica River
 IL,WI         070900031604   Pecatonica River
 IL,WI         070900040803   Sugar River
 IN            050902030604   Caesar Creek-Laughery Creek
 IN            050902030702   Laughery Creek
 IN            051201010601   Jamstutz Ditch-Wabash River
 IN            051201010602   Threemile Creek-Wabash River
 IN            051201010604   Rice Ditch-Wabash River
 GA            031501020705   Lick Creek-Salacoa Creek
 GA            031501020802   Willbanks Branch-Coosawattee River
 GA            031501020805   Town of Audubon-Coosawattee River
 IL            071200070602   Hollenback Creek-Fox River
 IL            071200070603   Clear Creek-Fox River
 IL            071200070604   Roods Creek-Fox River
 IL            071200070605   Mission Creek-Fox River
 IL            071200070606   Brumbach Creek-Fox River
 IL            071200070609   Goose Creek-Fox River
 IL            071300010201   Illinois Canyon-Illinois River
 IL            071300010203   La Salle Canyon-Illinois River
 IL            071300060405   City of Decatur-Lake Decatur
 IL            071300060408   Sand Creek
 IL            071300060409   Big Creek-Long Creek
 IL            071300110304   Camp Creek-Illinois River
 IL,WI         071200060907   Nippersink Creek
 IL,WI         071200061005   Channel Lake
 IL,WI         071200061006   Bassett Creek-Fox River
 IN            040400010105   Trail Creek
 IN            040400010403   Coffee Creek-East Arm Little Calumet River
 IN            051201010703   Stites Ditch-Rock Creek
 IN            051201010704   Elkenberry Ditch-Rock Creek
 IN            051201010801   Johns Creek-Wabash River
 IN            051201010804   Griffin Ditch-Wabash River
 IA            102400120102   West Platte River-Platte River
 IL            070900051001   Spring Slough-Rock River
 IL            070900051002   Ramsey Slough-Rock River
 IL            070900051004   Portland Creek-Rock River
 IL            070900051101   Mineral Spring Creek
 IL            070900051104   Canoe Creek-Rock River
 IL            070900051302   Case Creek-Rock River
 IL            071300010804   Depue Lake-Illinois River
 IL            071300011001   Coffee Creek-Illinois River
 IL            071300060801   Spring Creek-Sangamon River



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 States        HUC12          Name
 IL            071300060804   Goose Neck Slough-Sangamon River
 IL            071300060806   Blind Horse Ridege-Sangamon River
 IL            071300110802   Flint Creek-Illinois River
 IN            040400010508   Little Calumet River-Deep River
 IN            040400010509   Willow Creek-Burns Ditch
 IN            040500010803   Lake James-Crooked Creek
 IA            070802051507   Silver Creek-Cedar River
 IA,IL         070600050404   Spruce Creek-Mississippi River
 IA,IL         070600050406   Crooked Slough-Mississippi River
 IA,IL         070600051201   Beaver Creek-Mississippi River
 IA,IL         070600051202   Spring Lake-Mississippi River
 IA,IL         070600051203   Deer Creek-Mississippi River
 IA,IL         070801010204   Cattail Slough-Mississippi River
 IA,IL         070801010402   Cordova Slough-Mississippi River
 IA,IL         070801010404   McCarty Creek-Mississippi River
 IA,IL         070801010406   Sugar Creek-Mississippi River
 IA,IL         070801010601   Kickapoo Slu-Mississippi River
 IA,IL         070801010603   Coal Creek-Mississippi River
 IA,IL         070801010605   Fourth Slough-Mississippi River
 IA,IL         070801010705   Boston Bay-Mississippi River
 IA,IL         070801040603   Huron Chute-Mississippi River
 IA,IL         070801041103   Benton Bay-Mississippi River
 IA,IL         070801041502   Dry Branch-Mississippi River
 IA,IL         070801041505   Fish Lake-Mississippi River
 IA,IL         070801041704   Spillman Creek-Mississippi River
 IA,IL         070801041705   Tyson Creek-Mississippi River
 IA,IL         070801041802   Jack Creek-Mississippi River
 IA,IL         070801041805   Waggoner Creek-Mississippi River
 IA,IL,MO      070801041806   Cedar Glen Creek-Mississippi River
 IA,IL,WI      070600050202   Frentress Lake-Mississippi River
 IA,IL,WI      070600050205   Little Menominee River-Mississippi River
 IL            070900060205   Headwaters Kishwaukee River
 IL            070900060208   City of Marengo-Kishwaukee River
 IL            070900060504   City of Sycamore-East Branch South Branch Kishwaukee River
 IL            071300011004   Senachwine Lake-Illinois River
 IL            071300011102   Town of Whitefield-Crow Creek
 IL            071300011301   Thenius Creek-Illinois River
 IL            071300011302   Strawn Creek-Illinois River
 IL            071300011403   Gilfillan Creek-Senachwine Creek
 IL            071300011503   Douglas Lake-Richland Creek
 IL            071300011602   Coal Creek-Farm Creek
 IL            071300110805   Little Blue Creek-Illinois River



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 States        HUC12          Name
 IL            071300110807   Buckhorn Creek-Illinois River
 IL            071300110809   Bee Creek-Illinois River
 IL            071300111002   East Panther Creek-Illinois River
 IL            071300111003   Crater Creek-Illinois River
 IL            071300111004   Old Macoupin Creek-Illinois River
 IL            071300111006   Possum Creek-Illinois River
 IN            040500011106   VanNatta Ditch-Pigeon River
 IN            051201011301   Huntington Lake-Wabash River
 IN            051201011303   Town of Andrews-Wabash River
 IN            051201011305   Hanging Rock-Wabash River
 IN            051201011401   Enyeart Creek-Wabash River
 IL            070900060601   South Branch South Branch Kishwaukee River
 IL            070900060602   North Branch South Branch Kishwaukee River
 IL            070900060603   City of De Kalab-South Branch Kishwaukee River
 IL            070900060605   Town of Five Points-South Branch Kishwaukee River
 IL            070900060607   Owens Creek
 IL            070900060608   Bull Run-South Branch Kishwaukee River
 IL            070900060609   South Branch Kishwaukee River
 IL            070900060801   City of Belvidere-Kishwaukee River
 IL            070900060802   City of Perryville-Kishwaukee River
 IL            070900060803   Kishwaukee River
 IL            071300011702   Blalock Creek-Illinois River
 IL            071300011703   Blue Creek-Illinois River
 IL            071300011704   Funks Run-Illinois River
 IL            071300011705   Tenmile Creek-Illinois River
 IN            040500011503   Oliver Lake-Little Elkhart Creek
 IN            051201011403   Burr Creek-Wabash River
 IN            051201011405   Kentner Creek
 IN            051201011406   Gilbert Branch-Wabash River
 IN            051201011407   Daniel Creek-Wabash River
 IA,MN,WI      070600010505   Town of New Albin-Mississippi River
 IL            051201141001   McHenry Slough-Little Wabash River
 IL            051201150103   Panther Fork-Horse Creek
 IL            071300070708   Hoover Branch-Sugar Creek
 IL            071300070802   Black Branch-South Fork Sangamon River
 IN            040500011702   Lake Wawasee-Turkey Creek
 IN            051201011507   Bear Creek-Pipe Creek
 IN            051201011602   Prairie Ditch-Wabash River
 IN            051201011603   Lowe Ditch-Wabash River
 IN            051201020105   Miller Ditch-Salamonie River
 IA,NE         102300060601   Carter Lake-Missouri River
 IA,WI         070600010702   Clear Creek-Mississippi River



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 States        HUC12          Name
 IA,WI         070600010705   Buck Creek-Mississippi River
 IA,WI         070600010707   Leitner Creek-Mississippi River
 IA,WI         070600011001   Picatee Creek-Mississippi River
 IA,WI         070600011003   City of Prairie du Chien-Mississippi River
 IA,WI         070600030704   Lock and Dam Number Ten-Mississippi River
 IA,WI         070600030705   Miners Creek-Mississippi River
 IA,WI         070600030706   Plum Creek-Mississippi River
 IA,WI         070600030707   McCartney Branch-Mississippi River
 IA,WI         070600030708   Sinnipee Creek-Mississippi River
 WI            070700051804   Lane Creek-Wisconsin River
 IL            051201150207   Crabapple Branch-Skillet Fork
 IL            051201150211   Crooked Creek-Skillet Fork
 IL            051201150305   Shoe Creek-Skillet Fork
 IL            051201150307   Skillet Fork Lagoon-Skillet Fork
 IL            071300030101   Kickapoo Creek
 IL            071300030103   Hickory Run-Kickapoo Creek
 IL            071300030203   Clark Branch
 IL            071300030204   Nixon Run-Kickapoo Creek
 IL            071300030205   Big Hollow Creek-Kickapoo Creek
 IL            071300080402   Clear Lake-Sangamon River
 IL            071300080403   Willow Branch-Sangamon River
 IL            071300080406   Town Branch-Sangamon River
 IN            040500011904   Goshen Dam Pond-Elkhart River
 IN            040500012202   City of Elkhart-Saint Joseph River
 IN            051201020108   Glenn Miller Ditch-Salamonie River
 IN            051201020201   Twomile Ditch-Salamonie River
 IN            051201020202   Beaver Creek-Salamonie River
 IN            051201020203   Stoney Creek-Salamonie River
 IN            051201020301   Scuffle Creek-Salamonie River
 IN            051201020303   Shadle Drain-Salamonie River
 IL            051201150503   Prairie Creek-Skillet Fork
 IL            051201150507   Limekiln Creek-Skillet Fork
 IL            051201150508   Wilson Creek-Skillet Fork
 IL            071300030206   Dry Run-Kickapoo Creek
 IL            071300030304   Pekin Lake-Illinois River
 IL            071300080602   Concord Creek-Sangamon River
 IL            071300080603   Clary Creek
 IL            071300080604   Latimore Creek-Sangamon River
 IL            071300080702   Little Panther Creek
 IL            071300080801   Middle Creek
 IL            071300080802   Pecan Creek-Sangamon River
 IL            071300080803   Jobs Creek



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 States        HUC12          Name
 IL            071300080804   Indian Run-Sangamon River
 IL            071300080805   Lost Creek-Sangamon River
 IL            071401010402   Horseshoe Lake
 IL            071401010502   Schoenberger Creek
 IL            071401060101   Limestone Creek-Casey Fork
 IL            071401060103   Town of Mount Vernon-Casey Fork
 IN            040500012203   Eller Ditch-Saint Joseph River
 IN            040500012205   Auten Ditch-Saint Joseph River
 IN            041000030604   Smith Ditch-Cedar Creek
 IN            041000030707   Dosch Ditch-Cedar Creek
 IN            041000030803   Swartz Cannahan Ditch-Saint Joseph River
 IN            041000030804   Cedarville Reservoir-Saint Joseph River
 IN            041000030805   Ely Run-Saint Joseph River
 IN            051201020306   Morrison Ditch-Salamonie River
 IN            051201020401   Weasel Creek-Salamonie River
 IN            051201020402   Richland Creek
 IN            051201020403   Majencia Creek
 IN            051201020404   Rush Creek
 IN            051201020405   Salamonie Lake-Salamonie River
 IN            051201020406   Indian Creek-Salamonie River
 IN            051201030104   Porter Creek-Mississinewa River
 IL            051201090202   Crystal Lake Park-Saline Branch Drainage Ditch
 IL            070600050307   Galena River
 IL,MO         071100040703   Calumet Creek-Mississippi River
 IL            071300030601   Little Lamarsh Creek-Illinois River
 IL            071300030603   Rice Lake-Illinois River
 IL            071300030605   Buckheart Creek-Illinois River
 IL            071300030606   Coal Creek-Illinois River
 IL            071401060301   Dodds Creek-Casey Fork
 IL            071401060302   Atchison Creek-Rend Lake
 IN            041000030806   Becketts Run-Saint Joseph River
 IN            051201030105   Mud Creek-Mississinewa River
 IN            051201030202   Bear Creek
 IN            051201030203   Fetid Creek-Mississinewa River
 IN            051201030206   Dinner Creek-Mississinewa River
 KY            051100020603   Sinking Creek-West Fork Drakes Creek
 KY            051100020606   Lick Creek-West Fork Drakes Creek
 KY            051100020607   Lower Middle Fork Drakes Creek-Drakes Creek
 MI            040500060207   Seely Creek
 MI            040500060208   Honey Lake-Flat River
 MI            040500060209   Page Creek-Flat River
 MI            040500060301   Taylor Drain-Libhart Creek



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 States        HUC12          Name
 MI            040500060302   Libhart Creek
 MI            040500060303   Bacon Creek-Prairie Creek
 MI            040500060304   Pickerel Lake-Prairie Creek
 MI            040500060305   Bow Pond
 MI            040500060306   Prairie Creek
 MI            040500060307   Dry Creek-Grand River
 MI            040500060308   Sessions Creek
 MI            040500060309   Bellemy Creek-Grand River
 MI            040500060310   Crooked Creek-Grand River
 MI            040500060311   Lake Creek
 MI            040500060312   Toles Creek-Grand River
 MI            040500060313   Lee Creek-Grand River
 MI            040500060401   Hickory Creek-Rogue River
 MI            040500060402   Duke Creek
 MI            040500060403   Spring Creek-Rogue River
 MI            040500060404   Nash Creek
 MI            040500060405   Ball Creek-Rogue River
 MI            040500060406   Cedar Creek
 MI            040500060407   Freska Lake-Rogue River
 MI            040500060408   Stegman Creek-Rogue River
 MI            040500060501   Bear Creek
 MI            040500060502   Egypt Creek-Grand River
 MI            040500060503   Mill Creek
 MI            040500060504   Indian Mill Creek
 MI            040500060505   Headwaters Plaster Creek
 MI            040500060506   Plaster Creek
 MI            040500060507   Lamberton Creek-Grand River
 MI            040500060508   Sharps Creek-Buck Creek
 MI            040500060509   East Branch Rush Creek
 MI            040500060510   Buck Creek
 MI            040500060511   Rush Creek
 MI            040500060512   Town of Walker-Grand River
 MI            040500060601   North Branch Crockery Creek
 MI            040500060602   Eastland Drain-Crockery Creek
 MI            040500060603   Rio Grande Creek-Crockery Creek
 IN            051201080410   Hog Back Hill-Big Pine Creek
 IN            051201080502   Jordan Creek-Wabash River
 IN            051201080503   Lost Creek-Wabash River
 IN            051202010110   Truitt Ditch-White River
 IN            051202010111   Muncie Creek-White River
 IN            051202010204   Macedonia Creek-Buck Creek
 IN            051202010303   Thurston Ditch-Killbuck Creek



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 States        HUC12          Name
 IN            051202010305   York Prairie Creek-White River
 IN            051202081002   Sheeks Lake-East Fork White River
 IN            051202081005   Crooked Creek-East Fork White River
 IN            051202081006   Henshaw Bend-East Fork White River
 IN,KY         051401040107   Big Run-Ohio River
 IN,KY         051401041001   Flippins Run-Ohio River
 IN,KY         051401041002   French Creek-Ohio River
 IN,KY         051401041004   Potato Run-Ohio River
 IN,KY         051401041403   Watson Run-Ohio River
 IN,KY         051401041405   Lick Run-Ohio River
 IN,KY         051402010703   South Yellow Creek Fork-Ohio River
 IN,KY         051402011204   Kolb Ditch-Ohio River
 IN,KY,OH      050902030204   Garrison Creek-Ohio River
 IN,MI         040400010102   White Ditch-Frontal Lake Michigan
 IN,MI         040400010104   East Branch Trail Creek
 IN,MI         040500010701   Headwaters Prairie River
 IN,MI         040500010801   Snow Lake
 IN,MI         040500010805   Himebaugh Drain-Fawn River
 IN,MI         040500010806   Clear Lake-Fawn River
 IN,MI         040500010807   Wegner Ditch-Fawn River
 IN,MI         040500011107   Stag Lake-Pigeon River
 IN,MI         040500011303   Trout Creek
 IN,MI         040500011304   Black Creek-Saint Joseph River
 IN,MI         040500011305   York Township Ditch-Saint Joseph River
 IN,MI         040500011403   Christiana Lake-Christiana Creek
 IN,MI         040500012001   Washington Tap Ditch-Saint Joseph River
 KY            051100020903   Rays Branch-Barren River
 KY            051100030203   Wolf Lick Creek
 KY            051100030204   Headwaters Mud River
 KY            051100030205   Motts Lick Creek-Mud River
 KY            051100030206   Austin Creek-Mud River
 KY            051100030209   Deerlick Creek-Mud River
 KY            051100030501   Spur Creek-Green River
 MD            020700110904   Jutland Creek-Frontal Potomac River
 ME            010600010402   Fore River
 MI            040500060604   Lawrence Drain-Crockery Creek
 MI            040500060605   Brandy Creek-Crockery Creek
 MI            040500060701   East Fork
 MI            040500060702   Headwaters Sand Creek
 MI            040500060703   Sand Creek
 MI            040500060704   Dear Creek
 MI            040500060705   Ottawa Creek-Grand River



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 States        HUC12          Name
 MI            040500060706   Bass Creek
 MI            040500060707   Bass River
 MI            040500060708   Jubb Bayou-Grand River
 MI            040500060709   Pottawatomie Bayou
 MI            040500060710   Norris Creek
 MI            040500060711   Spring Lake
 MI            040500060712   Lloyd Bayou-Grand River
 MI            040500070101   Butternut Creek
 MI            040500070102   Milbourn Allen and Crane Drain-Thornapple River
 MI            040500070103   Thornapple Drain
 MI            040500070104   Fish Creek-Little Thornapple River
 MI            040500070105   Hayes Drain-Thornapple River
 MI            040500070201   Darken and Boyer Drain-Thornapple River
 MI            040500070202   Lacey Creek
 MI            040500070203   Thompson Creek-Thornapple River
 MI            040500070204   Shanty Creek
 MI            040500070205   Quaker Brook
 MI            040500070206   Scipio Creek-Thornapple River
 MI            040500070207   Headwaters Mud Creek
 MI            040500070208   Mud Creek
 MI            040500070209   High Bank Creek
 MI            040500070210   Cedar Creek
 MI            040500070211   Thornapple Lake-Thornapple River
 MI            040500070301   Jordan Lake-Little Thornapple River
 MI            040500070302   Woodland Creek-Little Thornapple River
 MI            040500070303   Messer Brook-Coldwater River
 MI            040500070304   Duck Creek
 MI            040500070305   Pratt Lake Creek
 MI            040500070306   Bear Creek
 MI            040500070307   Bullhead Drain-Coldwater River
 MI            040500070401   Fall Creek
 MI            040500070402   Butler Creek-Thornapple River
 MI            040500070403   Glass Creek
 MI            040500070404   Algonquin Lake-Thornapple River
 MI            040500070405   Duncan Creek
 MI            040500070406   Turner Creek-Thornapple River
 MI            040500070407   McCords Creek-Thornapple River
 MI            040500070408   Thornapple River
 IN            051201080507   Flint Creek-Wabash River
 IN            051201080510   Turkey Run-Wabash River
 IN            051201080603   Fall Branch-Wabash River
 IN            051202010306   Shoemaker Ditch-White River



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 States        HUC12          Name
 IN            051202010307   Moon Branch-Killbuck Creek
 IN            051202010308   Turkey Creek-White River
 IN            051202010310   Town of Perkinsville-White River
 IN            051202040102   Summit Lake Reservoir-Big Blue River
 IN            051202081404   Beech Creek-East Fork White River
 IN            051202081406   Friends Creek-East Fork White River
 IN            051202081407   Plaster Creek-East Fork White River
 IN            051202081502   Hoffman Run-East Fork White River
 IN            051202081504   Sugar Creek-East Fork White River
 IN,MI         040500012003   Puterbaugh Creek
 IN,MI         040500012004   Sheep Creek-Saint Joseph River
 IN,MI         040500012201   Cebas Creek
 IN,MI         040500012207   Pinhook Lake-Saint Joseph River
 IN,MI         040500012208   Dutch Corners-Saint Joseph River
 IN,MI         040500012209   Brandywine Creek
 IN,MI         040500012601   McCoy Creek
 IN,MI         071200010202   Chain-O-Lakes Ditch-Geyer Ditch
 IN,MI,OH      041000030301   Nettle Creek
 IN,OH         041000030305   Bear Creek
 IN,OH         041000030406   Cornell Ditch-Fish Creek
 IN,OH         041000030502   Big Run
 IN,OH         041000030505   Willow Run-Saint Joseph River
 IN,OH         041000030506   Hoodelmier Ditch-Saint Joseph River
 IN            041000030802   Metcalf Ditch-Saint Joseph River
 IN,OH         041000040302   Black Creek
 IN,OH         041000040304   Duck Creek
 IN,OH         041000040305   Town of Willshire-Saint Marys River
 MI            040601010104   Hamlin Lake-Big Sable River
 MI            040601010202   South Branch Lincoln River
 MI            040601010203   Lincoln Lake-Lincoln River
 MI            040601010301   McDuffee Creek
 MI            040601010302   Headwaters Little South Branch Pere Marquette River
 MI            040601010303   Middle Branch Pere Marquette River
 MI            040601010304   Pease Creek-Little South Branch Pere Marquette River
 MI            040601010401   Beaver Creek
 MI            040601010402   Winnepesaug Creek-Big South Branch Pere Marquette River
 MI            040601010403   Cedar Creek
 MI            040601010404   Freeman Creek-Big South Branch Pere Marquette River
 MI            040601010405   Ruby Creek-Big South Branch Pere Marquette River
 MI            040601010406   Carr Creek-Big South Branch Pere Marquette River
 MI            040601010501   Cole Creek-Baldwin River
 MI            040601010502   Sanborn Creek



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 States        HUC12          Name
 MI            040601010503   Baldwin River
 MI            040601010504   Danaher Creek-Pere Marquette River
 MI            040601010505   Tank Creek-Pere Marquette River
 MI            040601010506   Weldon Creek-Pere Marquette River
 MI            040601010507   Black Creek-Pere Marquette River
 MI            040601010508   Swan Creek-Pere Marquette River
 MI            040601010509   Pere Marquette Lake-Pere Marquette River
 MI            040601010604   North Branch Pentwater River
 MI            040601010605   Pentwater Lake-Pentwater River
 MI            040601010903   Pierson Drain
 MI            040601010904   White Lake-White River
 MI            040601011002   Cooper Creek-Frontal Lake Michigan
 MI            040601011004   Bigsbie Lake-Frontal Lake Michigan
 MI            040601011005   Silver Creek
 MI            040601011007   Flower Creek
 MI            040601011008   Duck Creek
 MI            040601011009   Little Black Creek-Frontal Lake Michigan
 MI            040601011010   Muskegon Newaygo Drain-Black Creek
 MI            040601011011   Mona Lake-Black Creek
 IN            051201080604   Rock Creek-Wabash River
 IN            051201080607   Bear Creek-Wabash River
 IN            051201080608   Mallory Branch-Wabash River
 IN            051202010405   Lilly Creek-Pipe Creek
 IN            051202010406   Swanfelt Ditch-Pipe Creek
 IN            051202010407   Shell Cemetary-Pipe Creek
 IN            051202040103   Elliott Run-Big Blue River
 IN            051202040105   Knightstown Spring-Buck Creek
 IN            051202040106   Westwood Run-Big Blue River
 IN            051202040108   Goose Creek-Big Blue River
 IN            051202081506   Birch Creek-East Fork White River
 IN            051202081508   Bear Creek-East Fork White River
 IN            051202081509   Mud Creek-East Fork White River
 IN            051202090102   Youngs Creek-Patoka River
 IN            051202090103   Little Patoka River-Patoka Lake
 IN            051202090104   Dumpling Branch-Patoka River
 IN            051202090105   Lick Fork-Patoka Lake
 IN            051202090106   Painter Creek-Patoka River
 IN            051202090404   Calmut Run-Patoka River
 IN,OH         041000050202   North Chaney Ditch-Maumee River
 KS            110300100202   Town of Yoder-Arkansas River
 KS            110300110308   City of Hutchinson-Cow Creek
 KS            110300120501   Headwaters Chisholm Creek



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 States        HUC12          Name
 KS            110300120502   Middle Fork Chisholm Creek-Little Arkansas River
 KS            110300130106   Big Slough-Arkansas River
 KS            110300130301   Spring Creek-Arkansas River
 IN            051201040509   Town of Roann-Eel River
 IN            051201040601   Flowers Creek-Eel River
 IN            051201040603   Washonis Creek-Eel River
 IN            051201080803   Collett Pond-Wabash River
 IN            051202010606   Weasel Creek-Cicero Creek
 IN            051202010610   Morse Reservoir-Cicero Creek
 IN            051202010701   Dyers Creek-White River
 IN            051202090406   Crooked Creek-Patoka River
 IN            051202090602   Rock Creek-Patoka River
 IN            051202090603   Mill Creek-Patoka River
 IN            051202090604   Sugar Creek-Patoka River
 IN            051202090605   Flat Creek-Patoka River
 IN,OH         050800020803   Beals Run-Indian Creek
 IN,OH         050800020907   Doublelick Run-Great Miami River
 IN,OH         050800030707   Short Creek-East Fork Whitewater River
 IN,OH         050800030810   Jameson Creek-Whitewater River
 DE,MD,PA      020402050502   Upper Christina River
 DC,MD,VA      020700081005   Nichols Run-Potomac River
 MD            020700100203   Northeast Branch Anacostia River
 MD,VA         020700110106   Tank Creek-Potomac River
 MD,VA         020700110207   Passapatanzy Creek-Potomac River
 MD,VA         020700110303   Chotank Creek-Potomac River
 MD,VA         020700110305   Gambo Creek-Potomac River
 IN            051201040704   Town of Hoover-Eel River
 IN            051201040705   Mud Branch-Eel River
 IN            051201050104   Grants Run-Wabash River
 IN            051201081207   Byrd Branch-Big Raccoon Creek
 IN            051201081208   Mansfield Reservoir-Big Raccoon River
 IN            051202010703   William Lock Ditch-Stony Creek
 IN            051202010704   William Lehr Ditch-Stony Creek
 IN            051202010705   Mallery Granger Ditch-White River
 IN            051202010808   Flatfork Creek-Fall Creek
 IN            051202010809   Thorpe Creek-Geist Reservoir
 IN            051202010904   Devon Creek-Fall Creek
 IN            051202090802   Robinson Creek-Patoka River
 IN            051202090804   Yellow Creek-Patoka River
 IN            051202090805   Indian Creek-Patoka River
 IN            051202090806   Trippet Ditch-Patoka River
 IN            051202090807   Hull Ditch-Patoka River



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 States        HUC12          Name
 IN,OH         051201030101   Little Mississinewa River
 IN,OH         051201030102   Gray Branch-Mississinewa River
 IN,OH         051201030103   Jordon Creek-Mississinewa River
 MD,VA         020700111001   Outlet Potomac River
 MD,VA         020801010000   Lower Chesapeake Bay
 MD,VA         020801110401   Pitts Creek
 MD,VA         020801110402   Bullbegger Creek-Pocomoke River
 MD,VA         020801110501   Marumsco Creek-Pocomoke Sound
 MD,VA         020801110502   East Creek-Pocomoke Sound
 MD,VA         020801110704   Pocomoke Sound
 IN            051201050206   Keeps Creek-Wabash River
 IN            051201050303   Pleasant Run-Wabash River
 IN            051201081503   Rock Run-Big Raccoon Creek
 IN            051201081504   Town of Mecca-Big Raccoon Creek
 IN            051201081602   Dry Branch-Wabash River
 IN            051201081603   Shell Lake-Wabash River
 IN            051202011002   Vestal Ditch-White River
 IN            051202011003   Carmel Creek-White River
 IN            051202011005   Delaware Creek-Crooked Creek
 IN            051202011006   Howland Ditch-White River
 IN            051202011106   Fishback Creek
 IN            051202011107   Irishman Run-Eagle Creek
 IN            051202011108   Eagle Creek Reservoir-Eagle Creek
 IN            051202011110   Ristow Branch-Eagle Creek
 IN            051202040806   De Prez Ditch-Big Blue River
 IN            051202040807   Shaw Ditch-Big Blue River
 IN            051202040903   Lick Creek-Driftwood River
 IN            051401010806   Jacobs Creek-Silver Creek
 IN            051401040402   Lazy Creek-Little Indian Creek
 IN            051401040403   Raccoon Branch-Indian Creek
 IN            051401040502   Indian Creek
 MD,WV         020700020803   Green Spring Run-North Branch Potomac River
 MD,WV         020700030801   Purslane Run-Potomac River
 IN            051201050506   Kuns Ditch-Bachelor Run
 IN            051201050507   Munson Ditch-Deer Creek
 IN            051201050508   Robinson Branch-Deer Creek
 IN            051201050602   Bowen Ditch-Wabash River
 IN            051201081605   Town of Montezuma-Wabash River
 IN            051201081607   Feather Creek-Wabash River
 IN            051202011201   Pogues Run-White River
 IN            051202011205   Dollar Hide Creek-White River
 IN            051202011206   Pleasant Run Creek



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 States        HUC12          Name
 IN            051401040905   Hickman Branch-Blue River
 IN            051401041107   Mill Creek-Little Blue River
 IN            051402010405   City of New Boston-Anderson River
 IN            051402011006   Red Bush-Little Pigeon Creek
 IN            051402020306   Licking Creek-Pigeon Creek
 MA            010700050103   Lake Cochituate-Sudbury River
 IN            051201050603   Harrison Creek-Wabash River
 IN            051201060105   Tippecanoe Lake-Tippecanoe River
 IN            051201060202   Pike Lake-Deeds Creek
 IN            051201060203   Winola Lake-Eagle Creek
 IN            051201060205   Ruple Ditch-Tippecanoe River
 IN            051201060302   Pole Run Ditch-Tippecanoe River
 IN            051201060303   Palestine Lake-Trimble Creek
 IN            051201060305   Danner Ditch-Tippecanoe River
 IN            051201060401   Shatto Ditch-Tippecanoe River
 IN            051201060405   Clarence Baker Ditch-Tippecanoe River
 IN            051201060406   Redinger Ditch-Tippecanoe River
 IN            051201060409   Reister Creek-Tippecanoe River
 IN            051201100302   Little Sugar Creek
 IN            051201100303   Town of Linnsburg-Walnut Fork Sugar Creek
 IN            051202011310   Monical Branch-White Lick Creek
 IN            051202011402   Goose Creek-White River
 IN            051202011407   Sinking Creek-White River
 IN            051202011503   Highland Creek-White River
 IN            051202011603   Sand Creek-Indian Creek
 IN            051202050601   Town of Geneva-Flatrock River
 IN            051202050602   Sidney Branch-Flatrock River
 IN            071200010104   Headwaters Potato Creek
 IN            071200010105   Kartoffel Creek-Potato Creek
 IN            071200010106   Minnow Branch-Pine Creek
 IN            071200010203   Geyer Ditch
 IN            071200010204   Laskowski Ditch-Kankakee River
 IN            071200010206   Aldrich Ditch
 IN            071200010208   Lower Fish Lake-Little Kankakee River
 IN            071200010209   County Line Ditch-Kankakee River
 MI            040301080301   North Branch Sturgeon River
 MI            040301080302   Gestner Branch-West Branch Sturgeon River
 MI            040301080303   Mill Pond-West Branch Sturgeon River
 MI            040301080304   Genes Pond Dam-East Branch Sturgeon River
 MI            040301080305   Sixmile Creek-East Branch Sturgeon River
 MI            040301080306   Skunk Creek-East Branch Sturgeon River
 IN            051201060509   Zink Lake-Tippecanoe River



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 States        HUC12          Name
 IN            051201060601   Lake Maxinkuckee
 IN            051201060603   Slonaker Ditch-Tippecanoe River
 IN            051201060604   Bartee Ditch-Tippecanoe River
 IN            051201060606   Dilts Anstis Ditch-Tippecanoe River
 IN            051201060608   Tyler Weisjahn Ditch-Tippecanoe River
 IN            051201100406   Hazel Creek-Sugar Creek
 IN            051201100407   Town of Garfield-Sugar Creek
 IN            051202011702   Burkhart Creek-White River
 IN            051202011703   Fall Creek-White River
 IN            051202011704   Indian Creek-White River
 IN            051202020105   Buck Creek-Beanblossom Creek
 IN            051202020106   Stout Creek-Beanblossom Creek
 IN            051202020107   Indian Creek-Beanblossom Creek
 IN            051202020108   Jacks Defeat Creek-Beanblossom Creek
 IN            051202060205   Opossum Creek-East Fork White River
 IN            071200010309   Lake of the Woods-Yellow river
 IN            071200010403   Travis Ditch
 MA            010900030104   Mumford River
 MA            010900030105   Singletary Brook-Blackstone River
 MA            020200030603   Phillips Creek-Hoosic River
 MI            040301080307   Peronto Lake-East Branch Sturgeon River
 MI            040301080308   West Branch Sturgeon River
 MI            040301080309   Hancock Creek-East Branch Sturgeon River
 MI            040301080401   Tailings Pond Outlet-Pine Creek
 MI            040301080402   Seiberts Creek-Pine Creek
 MI            040301080403   Breen Creek-Sturgeon River
 MI            040301080404   Cassidy Creek-Sturgeon River
 MI            040301080405   Beaver Creek-Sturgeon River
 MI            040301080406   Pine Creek
 MI            040301080407   Hamilton Creek
 MI            040301080408   Black Creek-Sturgeon River
 MI            040301080708   Pemenee Creek
 MI            040301080801   Holmes Creek-Little Cedar River
 MI            040301080802   Schetter Creek-Little Cedar River
 MI            040301080803   Hays Creek
 MI            040301080804   Ross Creek-Little Cedar River
 MI            040301080805   Little Kelley Creek-Little Cedar River
 MI            040301080901   Little Shakey Creek-Shakey River
 MI            040301080907   Phillips Creek
 MI            040301080911   Hanson Creek-Little River
 MI            040301080912   Little River
 MI            040301090106   West Branch Ford River



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 States        HUC12          Name
 MI            040301090205   Fivemile Creek-Ford River
 MI            040301090301   Sunny Brook-Frontal Green Bay
 MI            040301090303   Deer Creek-Frontal Green Bay
 MI            040301090410   Elwood Creek-Cedar River
 MI            040301090501   Fowler Creek-Frontal Green Bay
 MI            040301090502   Birch Creek-Frontal Green Bay
 IN            051201060903   Budd Fisher Ditch-Tippecanoe River
 IN            051201060904   Stout Ditch-Tippecanoe River
 IN            051201061201   Weltzin Ditch-Tippecanoe River
 IN            051201061202   Harp Ditch-Tippecanoe River
 IN            051201061207   Headwaters Honey Creek
 IN            051201061208   Lake Shafer-Tippecanoe River
 IN            051201061301   Pike Creek-Tippecanoe River
 IN            051201100602   Liberty Chapel-Black Creek
 IN            051201100604   Mill Creek-Sugar Creek
 IN            051201100606   Corner Creek-Sugar Creek
 IN            051201100607   Welchel Branch-Sugar Creek
 IN            051201100609   Roaring Creek-Sugar Creek
 IN            051202020202   Limestone Creek-White River
 IN            051202020203   Fall Creek-White River
 IN            051202020205   Elliston Creek-White River
 IN            051202020210   Mills Creek-White River
 IN            051202020211   Goose Creek-White River
 IN            051202020301   Little Richland Creek-Richland Creek
 IN            051202020302   Blakeman Hollow-Richland Creek
 IN            051202060302   Muddy Fork Sand Creek
 IN            071200010404   Salisbury Ditch
 IN            071200010405   Johanni Ditch-Kankakee River
 IN            071200010408   Marquardt Ditch-Kankakee River
 IN            071200010501   Town of Argos-Wolf Creek
 IN            071200010502   Dixon Lake-Yellow River
 IN            071200010503   Clifton Ditch-Yellow River
 IN            071200010504   Eagle Creek
 IN            071200010505   Bickel Ditch-Yellow River
 IN            071200010506   Cavanaugh Ditch-Yellow River
 IN            071200010602   Cedar Lake Ditch-Craigmile Ditch
 IN,KY         051402010204   Bull Creek-Ohio River
 IN,KY         051402010205   Indian Creek-Ohio River
 IN,KY         051402010805   City of Rockport-Ohio River
 IN,KY         051402011203   Cowhide Slough-Ohio River
 IN,KY         051402020401   Eagle Creek-Ohio River
 IN,KY         051402020602   Diamond Island-Ohio River



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 States        HUC12          Name
 IN,KY         051402020605   Beaverdam Creek-Ohio River
 MA,NY,VT      020200030605   Hemlock Brook-Hoosic River
 NY,VT         020200030803   Ladd Brook-Hoosic River
 MA,RI         010900030205   Mill River
 MA,RI         010900030206   Emerson Brook-Blackstone River
 MA,RI         010900030208   Peters River-Blackstone River
 MA,VT         020200030602   North Branch Hoosic River
 MD            020600010000   Upper Chesapeake Bay
 MD            020600020302   Lower Sassafras River
 MI            040400010101   Painterville Drain-Frontal Lake Michigan
 MI            040400010202   East Branch Galien River
 MI            040400010207   Kirktown Creek-Galien River
 MI            040400010208   Town of Union Pier-Galien River
 MI            040500010101   Carpenter Lake-South Branch Hog Creek
 MI            040500010102   Duck Lake-South Branch Hog Creek
 MI            040500010104   Coldwater Lake
 MI            040500010105   Marble Lake
 MI            040500010106   East Branch Sauk River
 MI            040500010107   Blackhawk Millpond-Coldwater River
 MI            040500010108   Mud Creek
 MI            040500010109   South Branch Hog Creek
 MI            040500010110   Hog Creek
 MI            040500010111   Hodunk Pond-Coldwater River
 MI            040500010201   Beebe Lake-Beebe Creek
 MI            040500010202   Beebe Creek
 MI            040500010203   Mill Pond-Saint Joseph River
 MI            040500010204   Sand Creek
 MI            040500010205   Soap Creek-Saint Joseph River
 MI            040500010206   Old Homer Lake-Saint Joseph River
 MI            040500010207   Tekonsha Creek
 MI            040500010208   Wilder Lake-Saint Joseph River
 MI            040500010209   Burnett Creek-Saint Joseph River
 MI            040500010301   Nottawa Lake-Nottawa Creek
 MI            040500010302   Mud Creek-Nottawa Creek
 MI            040500010303   Alder Creek
 MI            040500010304   Pine Creek
 MI            040500010305   Bear Creek
 MI            040500010306   Mud Lake-Nottawa Creek
 MI            040500010401   Corey Lake-Swan Creek
 MI            040500010402   Little Swan Creek
 MI            040500010403   Spencer Creek-Saint Joseph River
 MI            040500010404   Swan Creek



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 States        HUC12          Name
 MI            040500010405   Mud Lake-Saint Joseph River
 MI            040500010406   Sturgeon Lake-Saint Joseph River
 MI            040500010501   Headwaters Portage River
 MI            040500010502   Gourdneck Creek
 MI            040500010503   Portage Creek
 MI            040500010504   Butternut Creek-Bear Creek
 MI            040500010505   Indian Lake-Portage River
 MI            040500010506   Goose Lake Drain-Portage River
 MI            040500010601   Upper Flowerfield Creek
 MI            040500010602   Middle Flowerfield Creek
 IN            051201061304   Lake Freeman-Tippecanoe River
 IN            051201061309   Wallys Woods Lake-Tippecanoe River
 IN            051201110604   South Salt Creek-Wabash River
 IN            051201110605   Izaak Walton Lake-Wabash River
 IN            051202020404   Kelly Branch-White River
 IN            051202060501   Peters Lake-Thompson Slough
 IN            051202060502   Heddy Run-East Fork White River
 IN            051202060503   Beatty Walker Ditch-East Fork White River
 IN            071200010705   Laramore Ditch-Kankakee River
 IN            071200010802   Hanna Arm of Tuesburg Ditch
 IN            071200010806   Origer Ditch-Kankakee River
 IN            071200010807   Rassmussen Ditch-Kankakee River
 MI            040500010603   Pickerel Lake-Rocky River
 MI            040500010604   Lower Flowerfield Creek
 MI            040500010605   Four County Drain-Rocky River
 MI            040500010606   Kerr Creek-Rocky River
 MI            040500010702   Gilead Lake-Prairie River
 MI            040500010703   Stewart Lake Drain-Prairie River
 MI            040500010704   Prairie River Lake-Prairie River
 MI            040500010705   Spring Creek
 MI            040500010706   Templare Lake-Prairie River
 MI            040500010707   Bullhead Lake-Prairie River
 MI            040500010808   Sherman Mill Creek
 MI            040500010809   Fawn River Drain-Fawn River
 MI            040500010901   Headwaters Little Portage Creek
 MI            040500010902   Little Portage Creek
 MI            040500010903   Sturgis Dam-Saint Joseph River
 MI            040500010904   City of Florence-Saint Joseph River
 MI            040500011301   Headwaters Mill Creek
 MI            040500011302   Wood Lake-Mill Creek
 MI            040500011401   Headwaters Christiana Creek
 MI            040500011402   Diamond Lake-Christiana Creek



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 States        HUC12          Name
 MI            040500012210   City of Niles-Saint Joseph River
 MI            040500012301   Spring Creek-Dowagiac River
 MI            040500012302   Silver Creek
 MI            040500012303   Bunker Lake-Dowagiac Creek
 MI            040500012304   La Grange Lake-Dowagiac Creek
 MI            040500012305   Indian Lake-Dowagiac River
 MI            040500012306   Pokagon Creek
 MI            040500012307   Peavine Creek-Dowagiac River
 MI            040500012308   McKinzie Creek-Dowagiac River
 MI            040500012401   Lawton Drain-South Branch Paw Paw River
 MI            040500012402   East Branch Paw Paw River
 MI            040500012403   Cambell Creek-North Branch Paw Paw River
 MI            040500012404   Chase Lake-Brandywine Creek
 MI            040500012405   South Branch Paw Paw River
 MI            040500012406   Hayden Creek-North Branch Paw Paw River
 MI            040500012501   Brush Creek
 MI            040500012502   Headwaters Paw Paw River
 MI            040500012503   Mud Lake Drain
 MI            040500012504   Hog Creek-Paw Paw River
 MI            040500012505   Paw Paw Lake
 MI            040500012506   Mill Creek
 MI            040500012507   Ryno Drain-Paw Paw River
 MI            040500012508   Blue Creek-Paw Paw River
 MI            040500012509   Ox Creek-Paw Paw River
 MI            040500012602   Webster Lake-Saint Jospeh River
 MI            040500012603   Lake Chapin-Saint Joseph River
 MI            040500012604   Love Creek-Saint Joseph River
 IN            051201070104   Middle Fork Ditch
 IN            051201070107   Kokomo Waterworks Reservoir Number Two-Wildcat Creek
 IN            051201070108   Taylor Run-Kokomo Creek
 IN            051201070109   Cannon-Goyer Ditch-Wildcat Creek
 IN            051202020504   Gilbert Creek-White River
 IN            051202020506   Vertrees Ditch-White River
 IN            051202020507   Kane Ditch-Smothers Creek
 IN            051202020508   McGinnis Levee-White River
 IN            051202060601   Ball Richard Ditch-East Fork White River
 IN            051202060602   Wayman Ditch-East Fork White River
 IN            051202060603   Stuckwish Ditch-East Fork White River
 IN            071200010809   Davis Ditch-Kankakee River
 IN            071200010901   Headwaters Wolf Creek
 IN            071200010902   Hickam Lateral-Wolf Creek
 IN            071200010903   Delehanty Ditch-Hodge Ditch



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 States        HUC12          Name
 IN            071200011002   West Branch Crooked Creek
 IN            071200011003   Headwaters Crooked Creek
 IN            071200011004   Koselki Ditch-Crooked Creek
 IN            071200011006   Hannon Ditch-Crooked Creek
 MD            020600030104   Church Creek-Bush River
 MD            020600030105   Bush River
 MD            020600030405   Beaverdam Run
 MD            020600030406   Lock Raven Reservoir-Gunpowder Falls
 MD            020600030502   Long Green Creek-Gunpowder Falls
 MD            020600030702   Redhouse Creek-Back River
 MD            020600030703   Back River-Frontal Chesapeake Bay
 MI            040500012605   Lemon Creek-Saint Joseph River
 MI            040500012606   Pipestone Creek
 MI            040500012607   Hickory Creek
 MI            040500012608   Big Meadow Drain-Saint Joseph River
 MI            040500020101   Plummerville Creek-Frontal Lake Michigan
 MI            040500020102   Deerlick Creek-Frontal Lake Michigan
 MI            040500020103   Brandywine Creek
 MI            040500020301   Little Pigeon Creek-Frontal Lake Michigan
 MI            040500020302   Headwaters Pigeon River
 MI            040500020303   Pigeon River
 MI            040500020402   South Branch Macatawa River
 MI            040500020403   Middle Macatawa River
 MI            040500020404   North Branch Macatawa River
 MI            040500020406   Lower Macatawa River
 MI            040500020407   Pine Creek
 MI            040500020408   Lake Macatawa
 MI            040500030101   Upper North Branch Kalamazoo River
 MI            040500030102   Spring Arbor and Concord Drain
 MI            040500030103   Middle North Branch Kalamazoo River
 MI            040500030104   Lower North Branch Kalamazoo River
 MI            040500030201   Horseshoe Lake-South Branch Kalamazoo River
 MI            040500030202   Cobb Lake-South Branch Kalamazoo River
 MI            040500030203   Beaver Creek-South Branch Kalamazoo River
 MI            040500030204   Swains Lake Drain-South Branch Kalamazoo River
 IN            051201070205   Hog Run-Middle Fork Wildcat Creek
 IN            051201070304   Talbert Ditch-South Fork Wildcat Creek
 IN            051201070308   Jenkins Ditch-South Fork Wildcat Creek
 IN            051201111601   Turtle Creek Lake-Turtle Creek
 IL,IN         051201111602   Turtle Creek-Wabash River
 IN            071200011008   Ahlgrim Ditch
 IN            071200011010   Cobb Creek-Kankakee River



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 States        HUC12          Name
 IN            071200011103   Brown Levee Ditch-Kankakee River
 IL,KY,MO      080101000103   Town of Wickliffe-Mississippi River
 KY,OH,WV      050901030101   Solida Creek-Ohio River
 KY,OH         050901030105   Pond Run-Ohio River
 KY,OH         050901030107   Grays Branch-Ohio River
 KY,OH         050901030606   Munn Run-Ohio River
 KY,OH         050902010204   Briery Branch-Ohio River
 KY,OH         050902010207   Rock Run-Ohio River
 MD            020600031202   Curtis Creek-Curtis Bay
 MD            020600031203   Northwest Harbor-Patapsco River
 MD            020600031204   Patapsco River-Frontal Chesapeake Bay
 MD            020600040404   Saint Jerome Creek-Frontal Chesapeake Bay
 ME            010300031606   Great Moose Lake
 ME            010300031702   Upper Sebasticook River
 ME            010300031806   Sebasticook Lake
 ME            010300031903   East Branch Sebasticook River
 ME            010300031904   Middle Sebasticook River
 ME            010300032106   Lower Sebasticook River
 MI            040500030205   Lampson Run Drain
 MI            040500030206   Riverside Cemetery-South Branch Kalamazoo River
 MI            040500030301   Narrow Lake-Battle Creek
 MI            040500030302   Relaid Mills Drain-Battle Creek
 MI            040500030303   Big Creek
 MI            040500030304   Headwaters Indian Creek
 MI            040500030305   Indian Creek
 MI            040500030306   Dillon Relaid Drain-Battle Creek
 MI            040500030307   Townline Brook Drain-Battle Creek
 MI            040500030308   Ackley Creek-Battle Creek
 MI            040500030309   Clear Lake-Battle Creek
 MI            040500030310   Headwaters Wanadoga Creek
 MI            040500030311   Wanadoga Creek
 MI            040500030312   Spring Lakes-Battle Creek
 MI            040500030401   Headwaters South Branch Rice Creek
 MI            040500030402   South Branch Rice Creek
 MI            040500030403   North Branch Rice Creek
 MI            040500030404   Wilder Creek
 MI            040500030405   Rice Creek
 MI            040500030406   Montcalm Lake-Kalamazoo River
 MI            040500030407   Buckhorn Lake-Kalamazoo River
 MI            040500030408   Pigeon Creek-Kalamazoo River
 MI            040500030409   Harper Creek
 MI            040500030410   Minges Brook



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 States        HUC12          Name
 MI            040500030411   Willow Creek-Kalamazoo River
 MI            040500030501   Headwaters Wabascon Creek
 MI            040500030502   Wabascon Creek
 MI            040500030503   Harts Lake-Kalamazoo River
 MI            040500030504   Sevenmile Creek
 MI            040500030505   Headwaters Augusta Creek
 MI            040500030506   Augusta Creek
 MI            040500030507   Gull Creek
 MI            040500030508   Eagle Lake-Kalamazoo River
 MI            040500030509   City of Galesburg-Kalamazoo River
 MI            040500030601   Comstock Creek
 MI            040500030602   West Fork Portage Creek
 MI            040500030603   Portage Creek
 MI            040500030604   Davis Creek-Kalamazoo River
 MI            040500030605   Spring Brook
 MI            040500030606   Averill Lake-Kalamazoo River
 MI            040500030607   Silver Creek-Kalamazoo River
 MI            040500030701   Gun Lake-Gun River
 MI            040500030702   Fenner Creek-Gun River
 MI            040500030703   Woodside Cemetery-Gun River
 MI            040500030801   Green Lake Creek
 MI            040500030802   Fales Drain-Rabbit River
 MI            040500030803   Miller Creek
 MI            040500030804   Bear Creek
 MI            040500030805   Buskirk Creek-Rabbit River
 MI            040500030806   Headwaters Little Rabbit River
 MI            040500030807   Little Rabbit River
 MI            040500030808   Pigeon Creek-Rabbit River
 MI            040500030809   Black Creek
 MI            040500030810   Silver Creek-Rabbit River
 MI            040500030811   Stink Lake-Rabbit River
 MI            040500030901   Sand Creek
 MI            040500030902   Base Line Creek
 MI            040500030903   Pine Creek
 MI            040500030904   Schnable Brook
 MI            040500030905   Trowbridge Dam-Kalamazoo River
 MI            040500030906   Tannery Creek-Kalamazoo River
 MI            040500030907   Lake Allegan-Kalamazoo River
 MI            040500030908   Swan Creek
 MI            040500030909   Bear Creek-Kalamazoo River
 MI            040500030910   Mann Creek
 MI            040500030911   Peach Orchid Creek-Kalamazoo River



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 States        HUC12          Name
 MI            040500030912   Goshorn Creek-Kalamazoo River
 MI            040500040101   Wolf Lake
 MI            040500040102   Grass Lake Drain
 MI            040500040103   Center Lake
 MI            040500040104   Skiff Lake-Grand River
 MI            040500040105   Booth Drain-Grand River
 MI            040500040106   Hurd Narvin Drain-Grand River
 MI            040500040201   Cahoogan Creek
 MI            040500040202   Headwaters Portage River
 MI            040500040203   Orchard Creek
 MI            040500040204   Portage Lake-Portage River
 MI            040500040205   Batteese Creek
 MI            040500040206   White Lake-Portage River
 MI            040500040207   Portage River
 IN            051201070310   Town of Mulberry-South Fork Wildcat Creek
 IN            051201070311   Town of Dayton-South Fork Wildcat Creek
 IN            051201070401   West Fork Little Wildcat Creek
 IN            051201070402   Little Wildcat Creek
 IN            051201070403   Kitty Run-Wildcat Creek
 IN            051201070405   Dearinger Ditch-Wildcat Creek
 IL,IN         051201111901   Smalls Creek-Wabash River
 IN            051202020803   Smothers Creek-White River
 IN            051202020804   Bens Creek-White River
 IN            051202020903   Hawkins Creek-White River
 IN            051202020907   Jackson Pond-White River
 IN            051202021001   Lick Creek-White River
 IN            051202021003   Buckhorn Creek-White River
 IN            051202070604   Quick Creek-White Oak Branch
 IN            071200011306   Cedar Creek
 IN            071200020201   Keefe Ditch
 IN            071200020203   Nesius Ditch-Bice Ditch
 IN            071200020206   Bice Ditch-Slough Creek
 IN            071200020303   Dexter Ditch-Iroquois River
 KS            102701040501   Stone Horse Creek-Kansas River
 KS            102701040502   Lake Dabanawa-Mud Creek
 KS            102701040503   Baldwin Creek-Kansas River
 KS            102701040505   City of Linwood-Kansas River
 KY            050702020203   Lick Creek-Levisa Fork
 KY            050702020204   Grapevine Creek-Levisa Fork
 KY            051100010204   Long Branch-Robinson Creek
 KY            051100010205   Wilson Creek-Robinson Creek
 KY,OH         050902010210   Quicks Run-Ohio River



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 States        HUC12          Name
 KY,OH         050902010601   Crooked Creek-Ohio River
 KY,OH         050902010605   Lawrence Creek-Ohio River
 KY,OH         050902030201   Town of Newport-Ohio River
 KY,OH         050902030202   Dry Creek-Ohio River
 KY,TN         051100020602   Sharps Branch-West Fork Drakes Creek
 MI            040500040208   Huntoon Creek
 MI            040500040209   Western Creek-Grand River
 MI            040500040210   Perry Creek-Grand River
 MI            040500040301   Indian Brook-Sandstone Creek
 MI            040500040302   Mackey Brook-Sandstone Creek
 MI            040500040303   Sandstone Creek
 MI            040500040304   Willow Creek
 MI            040500040305   Otter Creek-Spring Brook
 MI            040500040306   Peacock Extension-Spring Brook
 MI            040500040307   Spring Brook
 MI            040500040308   Kettler and Norris Drain-Grand River
 MI            040500040401   Handy Howell Drain-Red Cedar River
 MI            040500040402   Middle Branch Red Cedar River
 MI            040500040403   Handy Drain Number 5-Red Cedar River
 MI            040500040404   Headwaters West Branch Red Cedar River
 MI            040500040405   West Branch Red Cedar River
 MI            040500040406   Kalamink Creek
 MI            040500040407   Wolf Creek-Red Cedar River
 MI            040500040408   Hayhoe Drain-Doan Creek
 MI            040500040409   Dietz Creek
 MI            040500040410   Doan Creek
 MI            040500040411   Squaw Creek-Red Cedar River
 MI            040500040501   Deer Creek
 MI            040500040502   Sloan Creek
 MI            040500040503   Coon Creek-Red Cedar River
 MI            040500040504   Pine Lake Outlet
 MI            040500040505   Mud Creek
 MI            040500040506   Headwaters Sycamore Creek
 MI            040500040507   Sycamore Creek
 MI            040500040508   Herron Creek-Red Cedar River
 MI            040500040601   Headwaters Looking Glass River
 MI            040500040602   Howard Drain-Looking Glass River
 MI            040500040603   Kellog Drain-Looking Glass River
 MI            040500040604   Buck Branch-Vermillion Creek
 MI            040500040605   Vermillion Creek
 MI            040500040606   Leisure Lakes-Looking Glass River
 MI            040500040607   Mud Creek-Looking Glass River



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 States        HUC12          Name
 MI            040500040608   Remey Chandler Drain
 MI            040500040609   Turkey Creek Drain-Looking Glass River
 MI            040500040610   Summers Drain-Looking Glass River
 MI            040500040611   Husted and Landenburg Drain-Looking Glass River
 MI            040500040612   Kramer Drain-Looking Glass River
 MI            040500040701   Columbia Creek
 MI            040500040702   Skinner Extension Drain-Grand River
 MI            040500040703   Silver Creek-Grand River
 MI            040500040704   Carrier Creek-Grand River
 MI            040500040705   Sandstone Creek-Grand River
 MI            040500040706   Frayer Creek-Grand River
 MI            040500040707   Winchell and Union Drain-Sebewa Creek
 MI            040500040708   Sebewa Creek
 MI            040500040709   Cryderman Lake Drain-Grand River
 MI            040500040710   Goose Creek-Grand River
 MI            040500050101   Spring Brook-Maple River
 MI            040500050102   Coon Creek-Bear Creek
 MI            040500050103   Alder Creek
 MI            040500050104   Little Maple River
 MI            040500050105   Town of Ovid-Maple River
 MI            040500050201   Baker Creek
 MI            040500050202   Stevens Drain-Maple River
 MI            040500050203   Nile Drain-Bear Creek
 MI            040500050204   Ferdon Creek-Maple River
 IN            051201070406   Petes Run-Wildcat Creek
 IN            051201070407   Hurricane Creek-Wildcat Creek
 IN            051201070408   Town of Owasco-Wildcat Creek
 IN            051201070409   Dry Run-Wildcat Creek
 IN            051201080103   Haywood Ditch-Wea Creek
 IN            051201080104   Elliott Ditch
 IN            051202021006   Robb Creek-White River
 IN            051202021007   Claypole Pond-White River
 IN            051202070905   Mill Creek-Muscatatuck River
 IN            051202080104   Greasy Creek-East Fork White River
 IN            071200020305   Moore Ditch-Iroquois River
 IN            071200020402   Turner Ditch-Iroquois River
 IN            071200020405   Hickory Branch-Iroquois River
 IN            071200020503   Strole Ditch-Iroquois River
 KY            050702030504   Georges Creek-Levisa Fork
 KY            050702030505   Griffin Creek-Levisa Fork
 KY            051100010306   Casey Creek-Green River
 KY            051100010307   White Oak Creek-Green River



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 States        HUC12          Name
 KY            051100010308   Butler Creek-Green River
 KY,VA         050702010306   Pawpaw Creek
 KY,VA,WV      050702010307   Upper Elk Creek-Knox Creek
 KY,VA         050702020202   Feds Creek-Levisa Fork
 KY,WV         050702010308   Beech Creek-Tug Fork
 KY,WV         050702010310   Blackberry Creek-Tug Fork
 MI            040500050205   River Styx-Pine Creek
 MI            040500050206   North Shade Drain
 MI            040500050207   Pine Creek
 MI            040500050208   Collier Creek-Maple River
 MI            040500050301   West Branch Fish Creek
 MI            040500050302   Upper Fish Creek
 MI            040500050303   Country Ditch Number One Hundred Thirty-One
 MI            040500050304   Butternut Creek
 MI            040500050305   Middle Fish Creek
 MI            040500050306   Lower Fish Creek
 MI            040500050401   Spaulding Drain
 MI            040500050402   Bad Creek
 MI            040500050403   Holden Drain-Stony Creek
 MI            040500050404   Muskrat Creek
 MI            040500050405   Kloeckner and Fuller Creek-Stony Creek
 MI            040500050406   Ruel Drain-Stony Creek
 MI            040500050501   South Fork Hayworth Creek
 MI            040500050502   Doty Brook-Hayworth Creek
 MI            040500050503   Hayworth Creek
 MI            040500050504   Reynolds and Sessions Drain-Maple River
 MI            040500050505   Bower Drain-Maple River
 MI            040500060101   Clear Lake-Black Creek
 MI            040500060102   Fifth Lake
 MI            040500060103   Townline Creek-Flat River
 MI            040500060104   Mud Lake-Flat River
 MI            040500060105   Hunter Lake-Flat River
 MI            040500060106   Alder Creek Drain-Black Creek
 MI            040500060107   Clear Creek
 MI            040500060108   Coopers Creek
 MI            040500060109   Perch Lake-Flat River
 MI            040500060201   Wabasis Creek
 MI            040500060202   County Farm Pond-Dickerson Creek
 MI            040500060203   Twin Lakes-Dickerson Creek
 MI            040500060204   Long Lake
 MI            040500060205   Dickerson Creek
 MI            040500060206   Sanderson Lake-Flat River



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 States        HUC12          Name
 IN            051201080106   Kenny Ditch-Wea Creek
 IN            051201080203   Cedar Hollow-Wabash River
 IN            051201080303   Goose Creek-Mud Pine Creek
 IN            051201080304   Spring Branch-Mud Pine Creek
 IN            051202010101   Owl Creek-White River
 IN            051202010102   Peach Creek-White River
 IN            051202010103   Eightmile Creek-White River
 IN            051202010105   Sparrow Creek-White River
 IN            051202010109   Mud Creek-White River
 IN            051202080302   Clifty Creek-East Fork White River
 IN            051202080304   Rock Lick Branch-East Fork White River
 IN            051202080801   Jackson Creek-Clear Creek
 IN            051202080802   May Creek-Clear Creek
 IN            051202080803   Little Clear Creek-Clear Creek
 IN            051202080805   Knob Creek-Little Salt Creek
 IN            051202080806   Wolf Creek-Salt Creek
 IN            051202080807   Goose Creek-Salt Creek
 IN            071200020701   Upper Sugar Creek-Sugar Creek
 IN            071200021301   Hanger Ditch-Beaver Creek
 IN            071200021302   Deardruff Ditch-Beaver Creek
 IN            071200030406   Headwaters Grand Calumet River
 IN,KY         050902030802   Taylor Creek-Ohio River
 IN,KY         050902030804   Middle Creek-Ohio River
 IN,KY         050902030808   Lick Creek-Ohio River
 IN,KY         050902031004   Big Sugar Creek-Ohio River
 IN,KY         050902031006   Craigs Creek-Ohio River
 IN,KY         050902031009   Hunt Creek-Ohio River
 IN,KY         050902031010   McCools Creek-Ohio River
 IN,KY         051401010301   Locust Creek-Ohio River
 IN,KY         051401010302   Crooked Creek-Ohio River
 IN,KY         051401010304   Big Saluda Creek-Ohio River
 IN,KY         051401010305   Barebone Creek-Ohio River
 IN,KY         051401010602   Pattons Creek-Ohio River
 IN,KY         051401010603   Bull Creek-Ohio River
 IN,KY         051401010604   Little Huckleberry Creek-Ohio River
 IN,KY         051401010605   Lentzier Creek-Ohio River
 IN,KY         051401010906   Fourmile Creek-Ohio River
 IN,KY         051401040102   Tioga Creek-Ohio River
 KY            050901030305   Smoky Creek-Tygarts Creek
 KY            050901030401   Leatherwood Branch-Tygarts Creek
 KY            050901030402   Little Oak Creek-Tygarts Creek
 KY            050901030403   White Oak Creek-Tygarts Creek



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 States        HUC12          Name
 KY            050901030404   Schultz Creek
 KY            050901030405   Lower White Oak Creek-Tygarts Creek
 MI            040802020101   Big Cranberry Lake-North Branch Chippewa River
 MI            040802020102   Benjamin Creek-North Branch Chippewa River
 MI            040802020103   Bulls Creek-North Branch Chippewa River
 MI            040802020104   Brown Creek-West Branch Chippewa River
 MI            040802020201   Bamber Creek-Chippewa River
 MI            040802020202   Lake Issabella-Chippewa River
 MI            040802020203   Lake Windaga-Walker Creek
 MI            040802020204   Coldwater River
 MI            040802020205   Schofield Creek-North Branch Chippewa River
 MI            040802020206   Hogg Creek-North Branch Chippewa River
 MI            040802020207   Johnson Creek-Chippewa River
 MI            040802020301   Pony Creek
 MI            040802020302   Miller Creek-Pine River
 MI            040802020303   Skunk Creek-Pine River
 MI            040802020304   Wolf Creek
 MI            040802020305   Christianson Oil Field-Pine River
 MI            040802020306   North Branch Pine River
 MI            040802020307   Bass Lake Drain-Pine River
 MI            040802020308   Carpenter Creek-Pine River
 MI            040802020309   Village of Sumner-Pine River
 MI            040802020310   Coles Creek
 MI            040802020311   Honeyoey Creek
 MI            040802020312   Newark and Arcadia Drain-Pine River
 MI            040802020401   Headwaters Bush Creek
 MI            040802020402   Bush Creek
 MI            040802020403   Sugar Creek-Pine River
 MI            040802020404   Sucker Creek-Pine River
 MN            070102030605   City of Elk River-Mississippi River
 MN            070200041204   Echo Creek-Minnesota River
 MN            070200120502   City of Le Sueur-Minnesota River
 MN            070200120503   City of Henderson-Minnesota River
 MN            070200120901   Robert Creek-Minnesota River
 MN            070200120902   City of Belle Plain-Minnesota River
 MN            070200121102   City of Shakopee-Minnesota River
 MN            070200121106   Eagle Creek-Minnesota River
 MN            070200121109   Black Dog Lake-Minnesota River
 MN            070200121110   Minnesota River
 MI            040802020501   Mission Creek-Chippewa River
 MI            040802020502   Patcher Drain-Salt Creek
 MI            040802020503   Childs Creek-Salt Creek



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 States        HUC12          Name
 MI            040802020504   Onion Creek
 MI            040802020505   Salt Creek
 MI            040802020506   Salt Drain-Little Salt Creek
 MI            040802020507   Little Salt Creek
 MI            040802020508   Dice Drain-Chippewa River
 MN            070200041206   Middle Creek-Minnesota River
 MN            070200041207   Smith Creek-Minnesota River
 MN            090203030704   Red Lake River
 MN,ND         090201040401   County Ditch No 1-Red River
 MN,ND         090201040402   City of Wolverton-Red River
 MN,ND         090201040403   City of Hickson-Red River
 MN,ND         090201040501   Town of Briarwood-Red River
 MN,ND         090201040504   City of Fargo-Red River
 MN,ND         090201040506   Town of Oakport-Red River
 MS,TN         080102110103   Lower Nonconnah Creek
 MN            070802010201   Headwaters Cedar River
 MN            070802010204   Green Valley Ditch-Cedar River
 MN            070802010206   City of Austin-Cedar River
 MN,ND         090201070101   County Ditch No 6-Red River
 MN,ND         090201070104   County Ditch No 49-Red River
 MN,ND         090201070106   County Ditch No 13-Red River
 MN,ND         090201070601   Love Lake-Red River
 MN,ND         090201070603   Grandin Lake-Red River
 MN,ND         090201070605   Augustana Church-Red River
 MN,ND         090203010401   Judicial Ditch No 54-Red River
 MN,ND         090203010402   Salem Cemetery-Red River
 MN,ND         090203010403   County Ditch No 77-Red River
 MN,ND         090203010404   County Ditch No 19-Red River
 MN,ND         090203010704   Ost Valle Church-Red River
 MN,ND         090203010705   City of Grand Forks-Red River
 MN,ND         090203060501   Town of North Grand Forks-Red River
 MN,ND         090203060504   Judicial Ditch Number Sixtynine-Red River
 MI            040601040103   Houdek Creek-Lake Leelanau
 MI            040601040206   Platte Lake-Platee River
 MI            040601040302   Green Lake
 MI            040601040303   Little Betsie River-Betsie River
 MI            040601040305   Crystal Lake Outlet
 MI            040601040307   Betsie Lake-Betsie River
 MI            040601040401   Shalda Creek-Frontal Lake Michigan
 MI            040601040402   Crystal Run
 MI            040601040403   Otter Creek-Frontal Lake Michigan
 MI            040601040404   Arcadia Lake



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 States        HUC12          Name
 MI            040601040405   Portage Lake
 MI            040601040406   Lower Herring Lake-Frontal Lake Michigan
 MN,ND         090203060601   City of Oslo-Red River
 MN,ND         090203060602   Horseshoe Lake-Red River
 MN,ND         090203060603   Judicial Ditch Number Nine-Red River
 MN            070102060306   Long Lake-Rice Creek
 MN            070102060402   Shingle Creek
 MN            070102060605   Minnehaha Creek
 MN            070102060701   Cloquet Island-Mississippi River
 MN            070102060702   Durnam Island-Mississippi River
 MN            070102060703   Saint Anthony Falls-Mississippi River
 MN            070102060805   Harriet Island-Mississippi River
 MN            070102060901   Schmidt Lake-Mississippi River
 MN            070102060903   Spring Lake-Mississippi River
 MN            070200070403   City of Morton-Minnesota River
 MN            070200070405   Threemile Creek-Minnesota River
 MN            070200070407   County Ditch Number Ten-Minnesota River
 MN            070300050401   Forest Lake-Sunrise River
 MN            070400010209   City of Hastings-Vermillion River
 MN            070400010210   Vermillion River
 MN            070200070602   Huelskamp Creek-Minnesota River
 MN            070200070604   City of New Ulm-Minnesota River
 MN            070200071002   City of Courtland-Minnesota River
 MN            070200071003   Minnewankon Falls-Minnesota River
 MN            070200071102   City of Mankato-Minnesota River
 MN            070200071107   City of Saint Peter-Minnesota River
 MN,WI         070300050201   Long Meadows Lake-Saint Croix River
 MN,WI         070300050207   Lagoo Creek-Saint Croix River
 MN,WI         070300050602   Nevers Dam-Saint Croix River
 MN,WI         070300050605   Big Rock Creek-Saint Croix River
 MN,WI         070300050902   Osceola Creek-Saint Croix River
 MN,WI         070300050903   McLeods Slough-Saint Croix River
 MN,WI         070300050905   Square Lake-Saint Croix River
 MN,WI         070300050908   Silver Creek-Saint Croix River
 MN,WI         070300051201   City of Stillwater-Lake Saint Croix
 MN,WI         070300051205   Trout Brook-Lake Saint Croix
 MN,WI         070300051206   Saint Croix River
 MN,WI         070400010102   Lock and Dam Number Three-Mississippi River
 MN,WI         070400010403   City of Red Wing-Mississippi River
 MN,WI         070400010705   Lake Pepin
 MN,WI         070400030601   City of Wabasha-Mississippi River
 MN,WI         070400030604   City of Buffalo City-Mississippi River



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 States        HUC12          Name
 MN,WI         070400030606   Fountain City-Mississippi River
 MN,WI         070400030610   City of Winona-Mississippi River
 MN,WI         070400060101   Shingle Creek-Mississippi River
 MN,WI         070400060103   Lake Onalaska-Mississippi River
 MN,WI         070400060502   City of La Crosse-Mississippi River
 MN,WI         070600010504   Lock and Dam Number Eight-Mississippi River
 MN            070102070503   Green Lake
 MI            040900040101   Wolfrom Drain-Bell Branch
 MI            040900040102   Bell Branch
 MI            040900040103   Smith Drain-Upper River Rouge
 MI            040900040201   Johnson Drain
 MI            040900040202   Tonquish Creek
 MI            040900040203   Newburgh Lake-Middle River Rouge
 MI            040900040204   Maple Grove Cemetery-Middle River Rouge
 MI            040900040301   Fellows Creek
 MI            040900040302   Molt Drain-Lower River Rouge
 MI            040900040303   Perrin Drain-Lower River Rouge
 MI            040900040401   Quarton Lake
 MI            040900040402   Franklin Branch
 MI            040900040403   Headwaters River Rouge
 MI            040900040404   Pebble Creek-River Rouge
 MI            040900040405   Eliza Howell Park-River Rouge
 MI            040900040406   Ashcroft Sherwood Drain-River Rouge
 MI            040900040407   Woodmere Cemetery-River Rouge
 MI            040900040502   Brownstone Creek
 MI            040900040503   Huntington Creek-Frontal Lake Erie
 MI            040900050101   Pontiac Lake-Huron River
 MI            040900050102   Hayes Creek-Huron River
 MI            040900050103   Norton Creek
 MI            040900050104   Pettibone Creek
 MI            040900050105   Sherwood Creek-Huron River
 MI            040900050106   Kent Lake-Huron River
 MI            040900050107   Woodruff Creek
 MI            040900050108   Novi Lyons Drain-Davis Creek
 MI            040900050109   Inchwagh Lake
 MI            040900050110   Davis Creek
 MI            040900050111   South Ore Creek
 MI            040900050112   Ore Lake-Huron River
 MI            040900050201   Pleasant Lake
 MI            040900050202   Letts Creek
 MI            040900050203   North Fork Mill Creek
 MI            040900050204   Sutton Lake-Mill Creek



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 States        HUC12          Name
 MI            040900050301   Whitmore Lake
 MI            040900050302   Arms Creek
 MI            040900050303   Mill Pond-Honey Creek
 MI            040900050304   Upper Portage Creek
 MI            040900050305   Middle Portage Creek
 MI            040900050306   Lower Portage Creek
 MI            040900050307   Portage Lake-Huron River
 MI            040900050308   Honey Creek
 MI            040900050309   Barton Pond-Huron River
 MI            040900050401   Fleming Creek
 MN            070200090702   Hall Lake-Center Creek
 MN            070400030607   Pleasant Valley Creek
 MI            040900050402   Swift Drain-Huron River
 MI            040900050403   Ford Lake-Huron River
 MI            040900050404   Belleville Lake-Huron River
 MI            040900050405   Griggs Drain-Huron River
 MI            040900050406   Silver Creek
 MI            040900050407   Bancroft Noles Drain-Huron River
 MI            041000010101   Mouille Creek-Frontal Lake Erie
 MI            041000010102   North Branch Swan Creek
 MI            041000010104   Swan Creek
 MI            041000010107   Stony Creek
 MI            041000010201   Plum Creek
 MI            041000010202   La Plaisance Creek-Frontal Lake Erie
 MI            041000010204   Otter Creek
 MI            041000010205   Little Lake Creek-Frontal Lake Erie
 MI            041000020101   Goose Creek
 MI            041000020102   Norvell Lake-River Raisin
 MI            041000020103   Sweezey Lake-River Raisin
 MI            041000020104   Norvell Manchester Drain-River Raisin
 MI            041000020105   Town of Manchester-River Raisin
 MI            041000020106   Iron Creek
 MI            041000020107   Evans Creek
 MI            041000020108   Red Mill Pond-River Raisin
 MI            041000020201   Hazen Creek
 MI            041000020202   Stony Creek-South Branch River Raisin
 MI            041000020203   Black Creek
 MI            041000020204   Wolf Creek
 MI            041000020205   Savage Drain-River Raisin
 MI            041000020206   South Branch River Raisin
 MI            041000020302   Baker and May Drain-Black Creek
 MI            041000020305   Gleason Brook-Black Creek



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 States        HUC12          Name
 MI            041000020306   Big Meadow Drain-Black Creek
 MI            041000020307   Floodwood Creek-River Raisin
 MI            041000020308   Camp Drain-River Raisin
 MI            041000020309   Little River Raisin
 MI            041000020310   Dunlap Drain-River Raisin
 MI            041000020401   Headwaters Saline River
 MI            041000020402   Wood Outlet Drain-Salina River
 MI            041000020403   Koch Warner Drain-Saline River
 MI            041000020404   Headwaters Macon Creek
 MI            041000020405   South Branch Macon Creek
 MN            070200091103   Blue Earth River
 MI            041000020406   Bear Swamp Creek
 MI            041000020407   North Branch Macon Creek
 MI            041000020408   Macon Creek
 MI            041000020409   Saline River
 MI            041000020410   Willow Run-River Raisin
 MI,OH         041000010301   Shantee Creek
 MI,OH         041000010302   Halfway Creek
 MI,OH         041000010304   Headwaters Tenmile Creek
 MI,OH         041000010305   North Tenmile Creek
 MI,OH         041000010306   Tenmile Creek
 MI,OH         041000010308   Sibley Creek-Ottawa River
 MI,OH         041000010309   Detwiler Ditch-Frontal Lake Erie
 MI,OH         041000020303   Nile Ditch
 MI,OH         041000020304   Little Bear Creek-Bear Creek
 MI,WI         040301080701   Twin Falls Dam-Menominee River
 MI,WI         040301080702   Henry Ford Dam-Menominee River
 MN            070200040207   City of Granite Falls-Minnesota River
 MN            070400040502   Zumbro Lake-Zumbro River
 MN            070400040504   City of Zumbro Falls-Zumbro River
 MN            070400040507   Silver Spring Creek-Zumbro River
 MI,WI         040301080704   Big Quninnesec Dam-Menominee River
 MI,WI         040301080705   Little Quinnesec Falls-Menominee River
 MI,WI         040301080706   Sturgeon Dam-Menominee River
 MI,WI         040301080707   Silver Creek-Menominee River
 MI,WI         040301080710   Chalk Hill Dam-Menominee River
 MI,WI         040301080711   White Rapids Dam-Menominee River
 MI,WI         040301080712   Squaw Creek-Menominee River
 MI            040301080902   Shakey River
 MI,WI         040301080906   The Oxbow-Menominee River
 MI,WI         040301080908   Grand Rapid Dam-Menominee River
 MI,WI         040301080909   Maggies Island-Menomonee River



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 States        HUC12          Name
 MI,WI         040301080913   Menominee River
 MN            070102020604   Cedar Island Lake-Sauk River
 MN            070200110305   Cobb River
 MN            070400040512   Zumbro River
 MN            070102020607   Sauk River
 MN            070102030103   City of Saint Cloud-Mississippi River
 MN            070200041004   County Ditch Number One Hundred Four-Minnesota River
 MN            070200041007   County Ditch Number Two-Minnesota River
 MN            070200110607   Le Sueur River
 NC,VA         030101060301   Hawtree Creek
 NC,VA         030101060302   Great Creek-Lake Gaston
 NC            030202010801   Upper Crabtree Creek
 NC            030202010803   Middle Crabtree Creek
 NC            030202010804   Lower Crabtree Creek
 NC            030202011101   Walnut Creek
 NC            030202011103   Poplar Creek-Neuse River
 MT            100301021201   City of Great Falls-Missouri River
 MT            100301021204   Rainbow Dam-Missouri River
 ND            090201070103   Rose Valley Cemetery
 NC            030401030604   Tuckertown Reservoir-Yadkin River
 NC            030401030605   Beaverdam Creek-Yadkin River
 NC,TN         060102040403   Chilhowee Lake-Little Tennessee River
 NC,VA         030101030906   Danville-Dan River
 NC,VA         030101060205   Blue Mud Creek-Smith Creek
 NY            020401010206   Trout Creek
 NY            041402011503   Geddes Brook-Ninemile Creek
 NY            041402011509   Onondaga Lake
 OH            041100010101   Lake Brunswick-Plum Creek
 OH            041100010102   North Branch West Branch Rocky River
 OH            041100010103   Headwaters West Branch Rocky River
 OH            041100010104   Mallet Creek
 OH            041100010105   City of Medina-West Branch Rocky River
 OH            041100010106   Cossett Creek-West Branch Rocky River
 OH            041100010107   City of Olmsted Falls-Plum Creek
 OH            041100010108   Baker Creek-West Branch Rocky River
 OH            041100010201   Headwaters East Branch Rocky River
 OH            041100010202   Baldwin Creek-East Branch Rocky River
 OH            041100010203   Rocky River
 OH            041100010204   Cahoon Creek-Frontal Lake Erie
 OH            041100010301   East Fork of East Branch Black River
 OH            041100010302   Headwaters West Fork East Branch Black River
 OH            041100010303   Coon Creek-East Branch Black River



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 States        HUC12          Name
 OH            041100010401   Town of Litchfield-East Branch Black River
 OH            041100010402   Salt Creek-East Branch Black River
 OH            041100010403   Willow Creek
 OH            041100010404   Jackson Ditch-East Branch Black River
 OH            041100010501   Charlemont Creek
 OH            041100010502   Upper West Branch Black River
 OH            041100010503   Wellington Creek
 OH            041100010504   Middle West Branch Black River
 OH            041100010505   Plum Creek
 OH            041100010506   Lower West Branch Black River
 OH            041100010601   French Creek
 OH            041100010602   Black River
 OH            041100010603   Heider Ditch-Frontal Lake Erie
 OH            041100010702   Lower Beaver Creek
 OH            041100010703   Quarry Creek-Frontal Lake Erie
 OH            041100020101   East Branch Reservoir-East Branch Cuyahoga River
 OH            041100020102   West Branch Cuyahoga River
 OH            041100020103   Tare Creek-Cuyahoga River
 OH            041100020104   Ladue Reservoir-Bridge Creek
 OH            041100020105   Black Brook
 OH            041100020106   Sawyer Brook-Cuyahoga River
 OH            041100020201   Potter Creek-Breakneck Creek
 OH            041100020202   Feeder Canal-Breakneck Creek
 OH            041100020203   Lake Rockwell-Cuyahoga River
 OH            041100020302   Mogadore Reservoir-Little Cuyahoga River
 OH            041100020303   Wingfoot Lake Outlet-Little Cuyahoga River
 OH            041100020304   City of Akron-Little Cuyahoga River
 OH            041100020305   Fish Creek-Cuyahoga River
 OH            041100020401   Mud Brook
 OH            041100020402   Yellow Creek
 OH            041100020403   Furnace Run
 OH            041100020404   Brandywine Creek
 OH            041100020405   Boston Run-Cuyahoga River
 OH            041100020501   Pond Brook
 OH            041100020502   Headwaters Tinkers Creek
 OH            041100020503   Headwaters Chippewa Creek
 OH            041100020504   Town of Twinsburg-Tinkers Creek
 OH            041100020505   Willow Lake-Cuyahoga River
 OH            041100020602   Village of Independence-Cuyahoga River
 OH            041100020604   Town of Cuyahoga Heights-Cuyahoga River
 OH            041100020605   City of Cleveland-Cuyahoga River
 OH            041100030102   West Branch Ashtabula River



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 States        HUC12          Name
 OH            041100030104   Middle Ashtabula River
 OH            041100030105   Lower Ashtabula River
 OH            041100030201   Indian Creek-Frontal Lake Erie
 OH            041100030202   Cowles Creek
 OH            041100030204   McKinley Creek-Frontal Lake Erie
 OH            041100030403   Town of Willoughby-Chagrin River
 NJ            020402010103   Middle Crosswicks Creek
 NJ            020402010105   Lower Crosswicks Creek
 NJ            020402010401   Blacks Creek
 NJ            020402010402   Crafts Creek
 NJ            020402010406   Assiscunk Creek
 NJ            020402020101   Headwaters Mount Misery Brook
 NJ            020402020102   Mount Misery Brook
 NJ            020402020103   Gaunts Brook-North Branch Rancocas Creek
 NJ            020402020104   Powells Run-North Branch Rancocas Creek
 NJ            020402020201   Friendship Creek
 NJ            020402020203   Little Creek-Southwest Branch South Branch Rancocas Creek
 NJ            020402020204   Jade Run-South Branch Rancocas Creek
 NJ            020402020302   Rancocas Creek
 NJ            020402020401   Pennsauken Creek
 NJ            020402020404   Cooper River
 NJ            020402020501   North Branch Big Timber Creek
 NJ            020402020502   South Branch Big Timber Creek
 NJ            020402020503   Big Timber Creek
 NJ            020402020506   Manuta Creek
 NJ            020402020606   Raccoon Creek
 NJ            020402060101   Game Creek
 DE,NJ         020402060103   Whooping John Creek-Frontal Delaware River
 DE,NJ         020402060105   Mill Creek-Frontal Delaware River
 DE,NJ         020402060106   Salem River-Frontal Delaware River
 NJ            020402060201   Cedar Brook-Alloway Creek
 NJ            020402060202   Town of Quinton-Alloway Creek
 DE,NJ         020402060203   Alloway Creek-Frontal Delaware River
 NJ            020402060301   Upper Cohansey River
 NJ            020402060302   Middle Cohansey River
 NJ            020402060303   Lower Cohansey River
 NJ            020402060403   Upper Muddy Run
 NM            130202110504   San Jose Arroyo-Rio Grande
 NM            130202110803   China Canyon-Rio Grande
 NM            130202110804   Cedar Canyon-Elephant Butte Reservoir
 NM            130202110806   Ash Canyon-Elephant Butte Reservoir
 NY            041402011605   Outlet Skaneateles Lake



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 States        HUC12          Name
 NY            041402011606   Skaneateles Creek
 NY            041402011607   Stark Pond - Seneca River
 NY            041402011609   Dead Creek
 NY            041402011611   Crooked Brook-Seneca River
 NY            041402030204   Oswego River
 OH            041100030501   Marsh Creek
 OH            041100030502   City of Euclid-Frontal Lake Erie
 OH            041100030504   Doan Brook-Frontal Lake Erie
 OH            041100040101   Dead Branch
 OH            041100040102   Lake Estabook-Grand River
 OH            041100040103   Baughman Creek
 OH            041100040104   Center Creek-Grand River
 OH            041100040105   Coffee Creek-Grand River
 OH            041100040106   Swine Creek
 OH            041100040201   Upper Rock Creek
 OH            041100040301   Phelps Creek
 OH            041100040302   Hoskins Creek
 OH            041100040303   Mill Creek-Grand River
 OH            041100040304   Mud Creek
 OH            041100040305   Plumb Creek-Grand River
 OH            041100040501   Badger Run-Three Brothers Creek
 NJ            020402060404   Lower Muddy Run
 NJ            020402060503   Manantico Creek
 NJ            020402060504   Buckshutem Creek
 NJ            020402060505   White Marsh Run-Maurice River
 NJ            020402060506   Manumuskin River
 NJ            020402060507   Muskee Creek-Maurice River
 NJ            020402060601   Sarah Run-Stow Creek
 DE,NJ         020402060602   Mad Horse Creek-Frontal Delaware Bay
 NJ            020402060603   Stow Creek-Frontal Delaware Bay
 NJ            020402060604   Back Creek-Frontal Delaware Bay
 NJ            020402060605   Oranoaken Creek-Frontal Delware Bay
 NJ            020402060701   Fishing Creek-Frontal Delaware Bay
 NJ            020402060702   Dennis Creek-Frontal Delaware Bay
 NJ            020402060703   West Creek-Frontal Delaware Bay
 NJ            020403010103   Poplar Brook-Frontal Atlantic Ocean
 NJ            020403010104   Shark River-Frontal Atlantic Ocean
 NJ            020403010105   Lower Manasquan River
 NJ            020403010201   North Branch Metedeconk River
 NJ            020403010202   South Branch Metedeconk River
 NJ            020403010203   Cedar Bridge Branch-Metedeconk River
 NJ            020403010301   Upper Toms River



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 States           HUC12          Name
 NJ               020403010303   Union Branch
 NJ               020403010305   Middle Toms River
 NJ               020403010306   Lower Toms River
 NJ               020403010404   Silver Bay-Barnegat Bay
 NJ               020403010406   Gunning River-Barnegat Bay
 NJ               020403010407   Oyster Creek-Barnegat Bay
 NJ               020403010501   Upper Oswego River
 NJ               020403010502   Lower Oswego River
 NM               130600110909   Dark Canyon Draw
 NM               130600111001   Chalk Bluff Draw-Pecos River
 NY               041501011401   Pleasant Lake-Black River
 NY               041501011404   Kelsey Creek-Black River
 NY               041501020101   Kents Creek
 NY               041501020102   Fox Creek-Frontal Lake Ontario
 NY               041501020103   Three Mile Creek-Frontal Lake Ontario
 NY               041501020202   Horse Creek-Frontal Lake Ontario
 NY               041501020203   Sherwin Creek-Frontal Lake Ontario
 NY               041501020303   Lower Perch River
 NY               041501020402   Muskellunge Creek-Frontal Lake Ontario
 NY               041503020201   Tamarack Creek
 NY               041503020202   Upper Little River
 NY               041503020203   Lower Little River
 OH               041100040502   Bronson Creek-Grand River
 OH               041100040607   Red Creek-Grand River
 OH               041201010703   Town of North Kingsville-Frontal Lake Erie
 CN,MI,NY,OH,PA   041202000200   041202000200-Frontal Lake Erie
 OH               050301010401   East Branch Middle Fork Little Beaver Creek
 OH               050301010402   Headwaters Middle Fork Little Beaver Creek
 OH               050301010403   Stone Mill Run-Middle Fork Little Beaver Creek
 OH               050301010404   Middle Run-Middle Fork Little Beaver Creek
 OH               050301010405   Elk Run-Middle Fork Little Beaver Creek
 OH               050301010501   Cold Run
 OH               050301010504   Patterson Creek-West Fork Little Beaver Creek
 OH               050301010601   Longs Run
 OH               050301010604   Little Bull Creek
 OH               050301010605   Headwaters Bull Creek
 OH               050301010609   Rough Run-Little Beaver Creek
 OH               050301010701   Headwaters Yellow Creek
 OH               050301010702   Elkhorn Creek
 OH               050301010703   Upper North Fork
 OH               050301010704   Long Run-Yellow Creek
 OH               050301010801   Town Fork



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 States        HUC12          Name
 OH            050301010802   Riley Run
 OH            050301010803   Salt Run-North Fork Yellow Creek
 OH            050301010804   Hollow Rock Run-Yellow Creek
 OH            050301011001   Upper Cross Creek
 OH            050301011002   Salem Creek
 OH            050301011003   Middle Cross Creek
 OH            050301011004   McIntyre Creek
 OH            050301011005   Lower Cross Creek
 OH            050301030201   Deer Creek
 OH            050301030202   Willow Creek
 OH            050301030203   Mill Creek
 OH            050301030204   Island Creek-Mahoning River
 OH            050301030301   Kale Creek
 OH            050301030302   Headwaters West Branch Mahoning River
 OH            050301030303   Barrel Run
 OH            050301030304   Michael J Kirwan Reservoir-West Branch Mahoning River
 OH            050301030305   Marys Lake-West Branch Mahoning River
 OH            050301030306   Charley Run Creek-Mahoning River
 OH            050301030401   Headwaters Eagle Creek
 OH            050301030402   South Fork Eagle Creek
 OH            050301030403   Camp Creek-Eagle Creek
 OH            050301030404   Tinker Creek
 OH            050301030405   Outlet Eagle Creek
 OH            050301030406   Chocolate Run-Mahoning River
 OH            050301030603   City of Warren-Mahoning River
 OH            050301030701   Upper Meander Creek
 OH            050301030703   Lower Meander Creek
 OH            050301030705   Little Squaw Creek-Mahoning River
 OH,PA         050301030807   Dry Run-Mahoning River
 NJ            020403010602   Sleeper Branch
 NJ            020403010603   Upper Mullica River
 NJ            020403010604   Nescochague Creek
 NJ            020403010606   Middle Mullica River
 NJ            020403010608   Bass River
 NJ            020403010610   Lower Mullica River
 NJ            020403010701   Mill Creek-Manahawkin Bay
 NJ            020403010703   Cedar Run-Manahawkin Bay
 NJ            020403010704   Tuckerton Creek-Little Egg Harbor
 NJ            020403010705   Great Bay-Frontal Atlantic Ocean
 NJ,NY         020403010800   020403010800-Atlantic Ocean
 NJ            020403020204   Stephen Creek-Great Egg Harbor River
 NJ            020403020403   Absecon Bay



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 States        HUC12          Name
 NM            130600111002   Lake McMillan-Pecos River
 NM            130600111007   Lake Avalon-Pecos River
 NM            130600111008   Esperanza Draw-Pecos River
 NM            130600111203   Six Mile Dam-Pecos River
 NM            130600111204   Scoggin Flat-Pecos River
 NM            130600111401   Harroun Lake-Pecos River
 NM            130600111402   Willow Lake
 NM            130600111403   Pierce Canyon-Pecos River
 NM            130600111405   Pickett Draw-Pecos River
 NM            130600111406   130600111406
 NM            130600111407   Coad Tank-Pecos River
 NM            130700010101   Brushy Draw
 NY            041503040502   McConnell Creek-Grass River
 NY            041503050703   Village of Potsdam-Raquette River
 NY            041503050704   Plum Brook
 NY            041503050705   Squeak Brook
 NY            041503050706   Hutchins Creek-Raquette River
 OH            050301060301   Crabapple Creek
 OH            050301060302   Headwaters Wheeling Creek
 OH            050301060303   Cox Run-Wheeling Creek
 OH,WV         050301060304   Flat Run-Wheeling Creek
 OH            050302010802   Middle Fork Duck Creek
 OH            050302010901   Headwaters West Fork Duck Creek
 OH            050302010902   Buffalo Run-West Fork Duck Creek
 OH            050302010903   New Years Creek-Duck Creek
 OH            050302010904   Sugar Creek-Duck Creek
 OH            050302020301   Horse Cave Creek
 OH            050302020302   Headwaters East Branch Shade River
 OH            050302020303   Big Run-East Branch Shade River
 OH            050302020304   Spruce Creek-Shade River
 OH            050302040204   Turkey Run-Rush Creek
 OH            050302040401   Headwaters Hocking River
 OH            050302040402   Baldwin Run
 OH            050302040403   Pleasant Run
 OH            050302040404   Tarhe Run-Hocking River
 OH            050302040405   Buck Run-Hocking River
 OH            050302040601   Clear Fork
 OH            050302040602   Scott Creek
 OH            050302040603   Oldtown Creek
 OH            050302040604   Fivemile Creek
 OH            050302040605   Harper Run-Hocking River
 NJ            020403020404   Cape May Harbor-Cape May Inlet



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 States        HUC12          Name
 NJ            020403020405   Great Channel-Hereford Inlet
 NJ            020403020406   Townsend Channel-Townsends Inlet
 NJ            020403020407   Corson Inlet-Ludlam Bay
 NJ            020403020408   Great Egg Harbor Bay-Great Egg Harbor Inlet
 NJ            020403020500   Great Egg Harbor Inlet-Atlantic Ocean
 NJ,NY         020301010404   Sparkill Creek-Hudson River
 NJ,NY         020301010405   East River-Hudson River
 NJ,NY         020301030103   Lower Wanaque River
 NJ,NY         020301040201   Woodbridge Creek-Arthur Kill
 NJ,NY         020301040204   Morses Creek-Arthur Kill
 NJ,NY         020301040205   Upper Bay-The Narrows
 NJ,NY         020301040403   Waackaack Creek-Frontal Raritan Bay
 NJ,NY         020301040404   Staten Island East-Raritan Bay
 NJ,NY         020301040405   Lower Bay
 NJ,NY         020401040308   Lower Neversink River
 NJ,NY,PA      020401040505   Shingle Kill-Delaware River
 NJ,PA         020401040704   Shimers Brook-Delaware River
 NJ,PA         020401040705   Hornbecks Creek-Delaware River
 NJ,PA         020401041005   Vancampens Brook-Delaware River
 NJ,PA         020401050601   Allegheny Creek-Delaware River
 NJ,PA         020401050603   Buckhorn Creek-Delaware River
 NJ,PA         020401050605   Lopatcong Creek-Delaware River
 NY            041503060409   Town of Hogansburg-Saint Regis River
 OH            050302040801   Hamley Run-Hocking River
 OH            050400010101   Headwaters Tuscarawas River
 OH            050400010102   Pigeon Creek
 OH            050400010103   Hudson Run
 OH            050400010104   Wolf Creek
 OH            050400010105   Portage Lakes-Tuscarawas River
 OH            050400010201   Headwaters Chippewa Creek
 OH            050400010202   Hubbard Creek-Chippewa Creek
 OH            050400010203   Little Chippewa Creek
 OH            050400010204   Styx River
 OH            050400010205   Tommy Run-Chippewa Creek
 OH            050400010206   Red Run
 OH            050400010207   Silver Creek-Chippewa Creek
 OH            050400010301   Pancake Creek-Tuscarawas River
 OH            050400010302   Nimisila Reservoir-Nimisila Creek
 OH            050400010303   Lake Lucern-Nimisila Creek
 OH            050400010304   Fox Run
 OH            050400010305   Town of Canal Fulton-Tuscarawas River
 OH            050400010306   Headwaters Newman Creek



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 States        HUC12          Name
 OH            050400010307   Town of North Lawrence-Newman Creek
 OH            050400010308   Sippo Creek
 OH            050400010309   West Sippo Creek-Tuscarawas River
 OH            050400010401   Conser Run
 OH            050400010402   Middle Branch Sandy Creek
 OH            050400010403   Pipes Fork-Still Fork
 OH            050400010404   Muddy Fork
 OH            050400010405   Reeds Run-Still Fork
 OH            050400010406   Headwaters Sandy Creek
 OH            050400010501   Swartz Ditch-Middle Branch Nimishillen Creek
 OH            050400010502   East Branch Nimishillen Creek
 OH            050400010503   West Branch Nimishillen Creek
 OH            050400010504   Middle Branch Nimishillen Creek-Nimishillen Creek
 OH            050400010505   Sherrick Run-Nimishillen Creek
 OH            050400010506   Town of East Sparta-Nimishillen Creek
 OH            050400010601   Hugle Run
 OH            050400010602   Pipe Run
 OH            050400010603   Black Run
 OH            050400010604   Little Sandy Creek
 OH            050400010605   Armstrong Run-Sandy Creek
 OH            050400010606   Indian Run-Sandy Creek
 OH            050400010607   Bear Run-Sandy Creek
 OH            050400010701   Upper Conotton Creek
 NJ,PA         020401050904   Harihokake Creek-Delaware River
 NJ,PA         020401050908   Paunnacussing Creek-Delaware River
 NJ,PA         020401050909   Pidcock Creek-Delaware River
 NJ,PA         020401050910   Jacobs Creek-Delaware River
 NJ,PA         020401050911   Buck Creek-Delaware River
 NJ,PA         020402010404   Van Sciver Lake-Delaware River
 NJ,PA         020402010407   Burlington Island-Delaware River
 NJ,PA         020402020305   Swede Run-Delaware River
 NJ,PA         020402020403   Pompeston Creek-Delaware River
 NJ,PA         020402020405   Petty Island-Delaware River
 NJ,PA         020402020507   Woodbury Creek-Delaware River
 DE,NJ,PA      020402020607   Repaupo Creek-Delaware River
 DE,NJ,PA      020402020608   Oldmans Creek-Delaware River
 NY            020200010509   Sucker Brook-Schroon River
 NY            020200010603   Alder Brook-Trout Brook
 NY            020200010605   Valentine Pond-Schroon River
 NY            041504080206   La Chute
 NY            041504080302   Putnam Creek
 NY            041504080303   Bullwagga Bay



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 States        HUC12          Name
 NY            041504080601   Mill Brook
 NY            041504080707   Lower Bouquet River
 NY            041504081402   Salmon River
 NY            041504081601   Willsboro Bay
 OH            050400011202   Wetmore Creek-Tuscarawas River
 OH            050400011203   Wolf Creek-Tuscarawas River
 OH            050400011204   Wolf Run-Tuscarawas River
 OH            050400011303   Boggs Fork
 OH            050400011704   Pone Run-Tuscarawas River
 OH            050400011802   Mud Run-Tuscarawas River
 OH            050400011804   Blue Ridge Run-Tuscarawas River
 OH            050400011903   White Eyes Creek
 OH            050400011904   Morgan Run-Tuscarawas River
 OH            050400020104   Whetstone Creek
 OH            050400020201   Village of Pavonia-Black Fork Mohican River
 OH            050400020202   Seymour Run-Black Fork Mohican River
 OH            050400020203   Headwaters Rocky Fork
 OH            050400020204   Outlet Rocky Fork
 OH            050400020205   Charles Mill-Black Fork Mohican River
 NY            020200030303   Batten Kill
 NY            020200030502   Clendon Brook-Hudson River
 NY            020200030506   Glens Falls Feeder Canal-Hudson River
 NY            020200030508   Slocum Creek-Hudson River
 NY            020200031002   Nipmoose Brook-Hoosic River
 NY            020200031006   Hoosic River
 NY            020200031101   McAuley Brook-Hudson River
 NY            020200031104   Mill Hollow Brook-Hudson River
 NY            020200031106   McDonald Creek-Hudson River
 NY            020200031107   Troy Reservoir-Hudson River
 OH            050400030502   Little Killbuck Creek-Killbuck Creek
 OH            050400030905   Darling Run-Walhonding River
 OH            050400030908   Crooked Run-Walhonding River
 OH            050400040101   Headwaters Wakatomika Creek
 OH            050400040102   Winding Fork
 OH            050400040103   Brushy Fork
 OH            050400040104   Jug Run-Wakatomika Creek
 OH            050400040201   Black Run-Wakatomika Creek
 OH            050400040202   Mill Fork
 OH            050400040203   Little Wakatomika Creek
 OH            050400040204   Town of Frazeysburg-Wakatomika Creek
 OH            050400040301   Robinson Run-Muskingum River
 OH            050400040302   Monroe Basin-Muskingum River



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 States        HUC12          Name
 OH            050400040305   Blount Run-Muskingum River
 OH            050400040802   Flat Run-Muskingum River
 OH            050400040803   Duncan Run-Muskingum River
 OH            050400040805   Blue Rock Creek-Muskingum River
 OH            050400040806   Oilspring Run-Muskingum River
 OH            050400040808   Bell Creek-Muskingum River
 OH            050400040809   Olney Run-Muskingum River
 NM            130201010909   Lower Embudo Creek
 NM            130201011101   Canada Comanche
 NM            130201011102   Arroyo Hondo-Rio Grande
 NM            130201011104   Canada de la Entranas-Rio Grande
 NM            130201011105   Arroyo del Palacio-Rio Grande
 NM            130201011107   Arroyo de los Chavez-Rio Grande
 NM            130201011205   Arroyo de Jaconito-Pojoaque River
 NM            130201011303   Los Alamos Canyon
 NM            130201020804   Outlet Rio Puerco
 NM            130201020905   Arroyo del Yeso-Arroyo Seco
 NM            130201021003   Canada de la Fuertes-Rio Chama
 NY            020200040301   Hurlbut Glen Brook-Mohawk River
 NY            020200040302   Wheelers Creek-Mohawk River
 NY            020200040303   Sixmile Creek
 NY            020200040306   Lower Ninemile Creek
 NY            020200040307   Old Erie Canal-Mohawk River
 NY            020200040308   Roberts Creek-Saquoit Creek
 NY            020200040309   Mud Creek-Saquoit Creek
 NY            020200040310   Crane Creek-Mohawk River
 NY            020200040311   Reall Creek-Mohawk River
 NY            020200040604   North Creek-West Canada Creek
 NY            020200040702   Ferguson Creek-Mohawk River
 NY            020200040706   Bridenbecker Creek-Mohawk River
 NY            020200040707   Beaver Brook-Mohawk River
 NY            020200040709   Crum Creek-Mohawk River
 NY,PA         041201010401   Freelings Creek-Frontal Lake Erie
 OH            050400041105   Congress Run-Muskingum River
 OH            050400041203   Cat Creek-Muskingum River
 OH            050400041204   Devol Run-Muskingum River
 OH            050400060404   Slim Creek
 OH            050400060501   Claylick Creek
 OH            050400060502   Lost Run
 OH            050400060503   Rocky Fork
 OH            050400060504   Bowling Green Run-Licking River
 NM            130201021006   Abiquiu Reservoir-Rio Chama



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 States        HUC12          Name
 NM            130201021601   Canada de Tio Alfonso-Rio Chama
 NM            130201021602   Rio del Oso
 NM            130201021603   Arroyo del Palacio-Rio Chama
 NM            130202010102   Headwaters Santa Fe River
 NM            130202010202   Outlet Canada Ancha
 NM            130202010203   Canada de Buey-Rio Grande
 NM            130202010204   Water Canyon-Rio Grande
 NM            130202010205   Alamo Canyon-Rio Grande
 NM            130202010206   Rio Chiquito
 NM            130202010207   Capulin Canyon-Rio Grande
 NM            130202010209   Canada de Cochiti-Rio Grande
 OH            050600010401   Gander Run-Scioto River
 OH            050600010402   Panther Creek
 OH            050600010403   Wolf Creek-Scioto River
 OH            050600010404   Wildcat Creek
 OH            050600010405   Town of La Rue-Scioto River
 OH            050600010406   Glade Run-Scioto River
 OH            050600010502   Davids Run-Scioto River
 OH            050600010505   Ottawa Creek-Scioto River
 OH            050600010604   Lower Mill Creek
 OH            050600010704   Moors Run-Scioto River
 OH            050600010801   Headwaters Olentangy River
 OH            050600010802   Mud Run
 OH            050600010803   Flat Run
 OH            050600010804   Town of Caledonia-Olentangy River
 OH            050600010901   Shaw Creek
 OH            050600010902   Headwaters Whetstone Creek
 OH            050600010903   Claypool Run-Whetstone Creek
 OH            050600011001   Otter Creek-Olentangy River
 OH            050600011002   Grave Creek
 OH            050600011003   Beaver Run-Olentangy River
 OH            050600011004   Qu Qua Creek
 OH            050600011005   Brondige Run-Olentangy River
 OH            050600011006   Indian Run-Olentangy River
 OH            050600011007   Delaware Run-Olentangy River
 OH            050600011101   Deep Run-Olentangy River
 OH            050600011102   Rush Run-Olentangy River
 OH            050600011103   Outlet Olentangy River
 OH            050600011201   Eversole Run
 OH            050600011202   O'Shaughnessy Dam-Scioto River
 OH            050600011204   Hayden Run-Scioto River
 OH            050600011205   Roberts Millkin Ditch-Scioto River



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 States        HUC12          Name
 OH            050600011701   Pawpaw Creek
 OH            050600011702   Headwaters Walnut Creek
 OH            050600011703   Poplar Creek
 OH            050600011704   Sycamore Creek
 OH            050600011705   Town of Carroll-Walnut Creek
 OH            050600011801   George Creek
 OH            050600011802   Tussing Ditch-Walnut Creek
 OH            050600011803   Turkey Run
 OH            050600011804   Bull Run-Little Walnut Creek
 OH            050600011805   Big Run-Walnut Creek
 OH            050600011806   Mud Run-Walnut Creek
 OH            050600011901   Headwaters Big Darby Creek
 OH            050600011902   Spain Creek-Big Darby Creek
 OH            050600011903   Buck Run
 OH            050600011904   Sugar Run
 OH            050600011905   Robinson Run-Big Darby Creek
 OH            050600012001   Headwaters Treacle Creek
 OH            050600012002   Proctor Run-Treacle Creek
 OH            050600012003   Headwaters Little Darby Creek
 OH            050600012004   Spring Fork
 OH            050600012005   Barron Creek-Little Darby Creek
 NM            130202030101   Arroyo Venada-Rio Grande
 NM            130202030103   Arroyo de la Baranca-Rio Grande
 NM            130202030104   Sandia Wash-Rio Grande
 NM            130202030107   Town of Corrales-Rio Grande
 NM            130202030108   City of Paradise Hills-Rio Grande
 NM            130202030303   Rinconada Canyon-Rio Grande
 NM            130202030305   City of Armijo-Rio Grande
 NM            130202030306   Isleta Lakes-Rio Grande
 NY,VT         020200030804   Browns Brook-Hoosic River
 NY,VT         041504080104   Charter Brook-Lake Champlain
 NY,VT         041504080304   McKenzie Brook-Lake Champlain
 NY,VT         041504080602   Hoisington Brook-Lake Champlain
 NY            041504081602   Dead Creek
 NY            041504081603   Little Chazy River
 NY,VT         041504081604   Lake Champlain
 OH            041000010303   Prairie Ditch
 OH            041000010307   Heldman Ditch-Ottawa River
 OH            041000030302   Cogsworth Cemetary-Saint Joseph River
 OH            041000030303   Eagle Creek
 OH            041000030304   Village of Montpelier-Saint Joseph River
 OH            041000030306   West Buffalo Cemetary-Saint Joseph River



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 States        HUC12          Name
 OH            041000030501   Bluff Run-Saint Joseph River
 OH            041000030503   Russell Run-Saint Joseph River
 OH            041000040101   Muddy Creek
 OH            041000040102   Center Branch
 OH            041000040103   East Branch
 OH            041000040104   Kopp Creek
 OH            041000040105   Sixmile Creek
 OH            041000040106   Fourmile Creek-Saint Marys River
 OH            041000040201   Hussey Creek
 OH            041000040202   Eightmile Creek
 OH            041000040203   Blierdofer Ditch
 OH            041000040204   Twelvemile Creek
 OH            041000040205   Prairie Creek-Saint Marys River
 OH            041000040301   Little Black Creek
 OH            041000040303   Yankee Run-Saint Marys River
 OH            041000050205   Sixmile Cutoff-Maumee River
 OH            041000050207   Sulphur Creek-Maumee River
 OH            041000050208   Snooks Run-Maumee River
 OH            041000060301   Bates Creek-Tiffin River
 OH            041000060302   Leatherwood Creek
 OH            041000060303   Flat Run-Tiffin River
 OH            041000060404   Lower Lick Creek
 OH            041000060501   Beaver Creek
 OH            041000060502   Brush Creek
 OH            041000060503   Village of Stryker-Tiffin River
 OH            041000060504   Coon Creek-Tiffin River
 OH            041000060602   Mud Creek
 OH            050600012006   Thomas Ditch-Little Darby Creek
 OH            050600012101   Worthington Ditch-Big Darby Creek
 OH            050600012102   Silver Ditch-Big Darby Creek
 OH            050600012201   Hellbranch Run
 OH            050600012202   Gay Run-Big Darby Creek
 OH            050600012203   Greenbrier Creek-Big Darby Creek
 OH            050600012204   Lizard Run-Big Darby Creek
 OH            050600012302   Kian Run-Scioto River
 OH            050600012303   Grant Run-Scioto River
 OH            050600012304   Grove Run-Scioto River
 OH            050600012306   Jackson Township Cemetery-Scioto River
 OH            050600020401   Hargus Creek
 OH            050600020402   Yellowbud Creek
 OH            050600020403   Lick Run-Scioto River
 OH            050600020404   Congo Creek



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 States        HUC12          Name
 OH            050600020405   Scippo Creek
 OH            050600020406   Blackwater Creek-Scioto River
 OH            050600020502   Dry Run-Scioto River
 OH            050600020503   Ross Lake-Scioto River
 OH            050600020601   Beech Fork
 OH            050600020602   Headwaters Salt Creek
 OH            050600020603   Laurel Run
 OH            050600020604   Pine Creek
 OH            050600020605   Blue Creek-Salt Creek
 OH            050600021001   Indian Creek
 OH            050600021002   Dry Run
 OH            050600021003   Headwaters Walnut Creek
 OH            050600021004   Lick Run-Walnut Creek
 OH            050600021005   Stony Creek-Scioto River
 OH            050600021105   Meadow Run-Scioto River
 OH            050600021304   Boswell Run-Scioto River
 NM            110800030701   Wade Canyon-Canadian River
 NM            110800030702   Perra Draw
 NM            110800030704   Conchas Reservoir-Canadian River
 NY            020501050503   Lower Newtown Creek
 NY            041201010201   Beaver Creek-Frontal Lake Erie
 NY            041201010202   Scott Creek-Frontal Lake Erie
 NY            041201010204   Little Canadaway Creek-Frontal Lake Erie
 NY            041201010301   Slippery Rock Creek-Frontal Lake Erie
 NY            041201010302   Bournes Creek-Frontal Lake Erie
 OH            041000060603   Webb Run
 OH            041000060604   Buckskin Creek-Tiffin River
 OH            041000070301   Upper Hog Creek
 OH            041000070302   Middle Hog Creek
 OH            041000070303   Little Hog Creek
 OH            041000070304   Lower Hog Creek
 OH            041000070305   Lost Creek
 OH            041000070306   Lima Reservoir-Ottawa River
 OH            041000070401   Little Ottawa River
 OH            041000070402   Dug Run-Ottawa River
 OH            041000070403   Honey Run
 OH            041000070404   Pike Run
 OH            041000070405   Leatherwood Ditch
 OH            041000070406   Beaver Run-Ottawa River
 OH            041000070501   Sugar Creek
 OH            041000070502   Plum Creek
 OH            041000070503   Village of Kalida-Ottawa River



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 States        HUC12          Name
 OH            041000070904   Big Run-Auglaize River
 OH            050600021602   Big Run-Scioto River
 OH            050600021603   Miller Run-Scioto River
 KY,OH         050600021605   Carroll Run-Scioto River
 OH            050600030101   Headwaters Paint Creek
 OH            050600030102   East Fork Paint Creek
 OH            050600030103   Washington Court House Reservoir-Paint Creek
 OH            050600030407   Big Branch-Rattlesnake Creek
 OH            050600030601   Indian Creek-Paint Creek
 OH            050600030602   Farmers Run-Paint Creek
 OH            050600030603   Cliff Creek-Paint Creek
 OH            050600030701   Buckskin Creek
 OH            050600030704   Sulphur Lick-Paint Creek
 OH            050600031001   Black Run
 OH            050600031003   Outlet Paint Creek
 OH            050800010103   Indian Lake-Great Miami River
 OH            050800010301   Cherokee Mans Run
 OH            050800010302   Rennick Creek-Great Miami River
 OH            050800010303   Rum Creek
 OH            050800010304   Blue Jacket Creek
 OH            050800010305   Bokengehalas Creek
 OH            050800010306   Brandywine Creek-Great Miami River
 OH            050800010401   McKees Creek
 OH            050800010402   Lee Creek
 OH            050800010403   Stony Creek
 OH            050800010404   Little Indian Creek-Indian Creek
 OH            050800010405   Plum Creek
 OH            050800010406   Turkeyfoot Creek-Great Miami River
 OH            050800010603   Turtle Creek
 NY            020200060104   Sweet Milk Creek-Poeston Kill
 NY            020200060206   Vly Creek-Normans Kill
 NY            020200060302   Rensselaer Lake-Hudson River
 NY            020200060304   Moordener Kill
 NY            020200060305   Papscanee Creek-Hudson River
 NY            020200060401   Vloman Kill
 NY            020200060403   Hannacrois Creek
 NY            020200060404   Schodack Creek
 NY            020200060405   Vlockie Kill-Hudson River
 NY            020200060406   Coxsackie Creek
 NY            020200060407   Mill Creek-Hudson River
 NY            020200060608   Valatie Kill
 NY            020200060609   Stockport Creek-Kinderhook Creek



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 States        HUC12          Name
 NY            041201020210   Big Indian Creek-Cattaraugus Creek
 NY            041201030306   Buffalo River
 NY            041201030401   Smoke Creek
 NY            041201030402   Rush Creek-Frontal Lake Erie
 NY            041201030505   Middle Eighteenmile Creek
 NY            041201030506   Lower Eighteenmile Creek
 NY            041201030601   Little Sister Creek-Frontal Lake Erie
 NY            041201030603   Big Sister Creek
 NY            041201030604   Delaware Creek-Frontal Lake Erie
 OH            041000070905   Lapp Ditch-Auglaize River
 OH            041000080101   Cessna Creek
 OH            041000080102   Headwaters Blanchard River
 OH            041000080103   The Outlet-Blanchard River
 OH            041000080104   Potato Run
 OH            041000080105   Ripley Run-Blanchard River
 OH            041000080201   Brights Ditch
 OH            041000080202   The Outlet
 OH            041000080203   Findlay Upground Reservoir Number One-Blanchard River
 OH            041000080204   Lye Creek
 OH            041000080205   City of Findlay-Blanchard River
 OH            041000080301   Upper Eagle Creek
 OH            041000080302   Lower Eagle Creek
 OH            041000080303   Aurand Run
 OH            041000080304   Howard Run-Blanchard River
 OH            050800010702   Mosquito Creek
 OH            050800010703   Brush Creek-Great Miami River
 OH            050800010705   Garbry Creek-Great Miami River
 OH            050800010805   Ramp Run-Great Miami River
 OH            050800011501   Macochee Creek
 OH            050800011502   Headwaters Mad River
 OH            050800011503   Kings Creek
 OH            050800011504   Glady Creek-Mad River
 OH            050800011601   Muddy Creek
 OH            050800011602   Dugan Run
 OH            050800011604   Nettle Creek
 OH            050800011603   Anderson Creek
 OH            050800011605   Storms Creek
 OH            050800011606   Chapman Creek
 OH            050800011607   Bogles Run-Mad River
 OH            050800011702   Headwaters Buck Creek
 OH            050800011801   Moore Run
 OH            050800011802   Pondy Creek-Mad River



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 States        HUC12          Name
 OH            050800011803   Mill Creek
 OH            050800011804   Donnels Creek
 OH            050800011805   Rock Run-Mad River
 OH            050800011806   Jackson Creek-Mad River
 OH            050800011901   Mud Creek-Drylick Run
 OH            050800011902   Mud Run
 OH            050800011903   Huffman Dam-Mad River
 OH            050800011904   City of Dayton-Mad River
 OH            050800012004   Pleasant Run-Honey Creek
 OH            050800012005   Poplar Creek-Great Miami River
 OH            050800020101   North Branch Wolf Creek
 OH            050800020102   Headwaters Wolf Creek
 OH            050800020103   Dry Run-Wolf Creek
 OH            050800020104   Holes Creek
 OH            050800020105   Town of Oakwood-Great Miami River
 OH            050800020106   Opossum Creek-Great Miami River
 OH            050800020201   Millers Fork
 OH            050800020202   Headwaters Twin Creek
 OH            050800020203   Swamp Creek
 NM            110800050203   Outlet Garita Creek
 NM            110800050308   Lower Cuervo Creek
 NM            110800050404   Saladito Creek-Conchas River
 NM            110800050407   Outlet Trementina Creek
 NM            110800050408   Conchas Lake
 NY            020200060808   Hans Vosen Kill-Catskill Creek
 NY            020200060908   Plattekill Creek-Esopus Creek
 NY            020200061006   Klein Kill-Roeliff Jansen Kill
 NY            020200061101   Murderers Creek-Hudson River
 NY            020200061102   Sawyer Kill-Hudson River
 NY            020200061103   Stony Creek
 NY            020200061105   Mudder Kill-Hudson River
 NY            041201040505   Bear Ridge-Tonawanda Creek
 NY            041201040601   Twomile Creek-Niagara River
 CN,NY         041201040602   Grand Island-Niagara River
 NY            041201040603   Cayuga Creek
 NY            041201040604   City of North Tonawanda-Niagara River
 CN,NY         041201040605   Niagara Falls-Niagara River
 NY            041300010101   Round Pond Creek
 NY            041300010102   Larkin Creek
 NY            041300010103   Northrup Creek
 NY            041300010104   Slater Creek-Frontal Lake Ontario
 NY            041300010201   Brockport Creek-Otis Creek



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 States        HUC12          Name
 NY            041300010204   Salmon Creek
 NY            041300010303   Sandy Creek
 NY            041300010304   Yanty Creek
 NY            041300010305   Bald Eagle Creek
 NY            041300010306   Brighton Cliff-Frontal Lake Ontario
 NY            041300010408   Outlet Oak Orchard Creek
 NY            041300010503   Middle Johnson Creek
 OH            041000080501   Tiderishi Creek
 OH            041000080502   Ottawa Creek
 OH            041000080503   Moffitt Ditch
 OH            041000080504   Dukes Run
 OH            041000080505   Dutch Run
 OH            041000080506   Village of Gilboa-Blanchard River
 OH            041000080601   Cranberry Creek
 OH            041000080602   Pike Run-Blanchard River
 OH            041000080604   Bear Creek
 OH            041000080605   Deer Creek-Blanchard River
 OH            041000090201   Preston Run-Maumee River
 OH            041000090203   Wade Creek-Maumee River
 OH            050800020204   Price Creek
 OH            050800020205   Lesley Run-Twin Creek
 OH            050800020301   Bantas Fork
 OH            050800020302   Aukerman Creek
 OH            050800020303   Toms Run
 OH            050800020304   Town of Gratis-Twin Creek
 OH            050800020305   Little Twin Creek
 OH            050800020306   Town of Germantown-Twin Creek
 OH            050800020404   Dry Run-Great Miami River
 OH            050800020701   Elk Creek
 OH            050800020702   Browns Run-Great Miami River
 OH            050800020703   Shaker Creek
 OH            050800020704   Dicks Creek
 OH            050800020705   Gregory Creek
 OH            050800020706   Town of New Miami-Great Miami River
 OH            050800020901   Pleasant Run
 OH            050800020902   Banklick Creek-Great Miami River
 OH            050800020903   Paddys Run
 OH            050800020904   Owl Creek-Great Miami River
 OH            050800020905   Taylor Creek
 OH            050800020906   Jordan Creek-Great Miami River
 OH            050901030201   Hales Creek
 OH            050901030202   Headwaters Pine Creek



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 States        HUC12          Name
 OH            050901030203   Little Pine Creek
 OH            050901030204   Howard Run-Pine Creek
 OH            050901030205   Lick Run-Pine Creek
 NJ            020301030205   Lower Ramapo River
 NJ            020301030404   Lower Rockaway River
 NJ            020301030502   Lower Pequannock River
 NJ            020301030503   Morris Canal-Pompton River
 NY            020200080102   Black Creek
 NY            020200080103   Crum Elbow Creek
 NY            020200080104   Fallsburg Creek-Hudson River
 NY            020200080106   Twaalfskill Creek-Hudson River
 NY            020200080306   Wiccopee Creek-Fishkill Creek
 NY            020200080406   Silver Stream-Moodna Creek
 NY            020200080501   Lattintown Creek
 NY            020200080502   Quassaic Creek
 NY            020200080503   Breakneck Brook-Hudson River
 NY            020200080504   Popolopen Creek
 NY            020200080505   Foundry Brook-Hudson River
 NY            020301010103   Cedar Pond Brook
 NY            020301010104   Minisceongo Creek
 NY            020301010105   Furnace Brook-Hudson River
 NY            020301010307   Bailey Brook-Croton River
 NY            020301010401   Sparta Brook-Hudson River
 NY            020301010402   Pocantico River
 NY            020301020103   Lower Bronx River
 NY            020301020104   Flushing Creek-Flushing Bay
 NY            020301020105   Westchester Creek-East River
 NY            020301020201   Hutchinson River-Eastchester Bay
 NY            020301020202   Sheldrake River-Mamaroneck River
 NY            020301020203   East Creek-Frontal Long Island Sound
 NY            020302010101   Alley Creek-Little Neck Bay
 NY            020302010102   Mitchells Creek-Manhasset Bay
 NY            020302010103   Glen Cove Creek-Hempstead Harbor
 NY            020302010104   East Creek-Frontal Long Island Sound
 NY            020302010201   Mill Neck Creek-Oyster Bay Harbor
 NY            020302010202   Cold Spring Harbor-Frontal Long Island Sound
 NY            020302010203   Lloyd Harbor-Frontal Huntington Bay
 NY            041300010504   Lower Johnson Creek
 NY            041300010601   Marsh Creek-Frontal Lake Ontario
 NY            041300010603   Keg Creek-Frontal Lake Ontario
 NY            041300010702   East Branch Eighteenmile Creek
 NY            041300010703   Headwaters Eighteenmile Creek



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 States        HUC12          Name
 NY            041300010704   Eighteenmile Creek
 NY            041300010801   Hopkins Creek-Frontal Lake Ontario
 NY            041300010802   East Branch Twelvemile Creek
 CN,NY         041300010902   Fourmile Creek-Frontal Lake Ontario
 NY            041300030101   Upper Conesus Creek
 NY            041300030102   Middle Conesus Creek
 NY            041300030202   Canadice Lake-Outlet Canadice Lake
 OH            041000090204   Garret Creek
 OH            041000090206   Village of Napoleon-Maumee River
 OH            041000090207   Creager Cemetery-Maumee River
 OH            041000090403   Dry Creek-Maumee River
 OH            041000090510   Lick Creek-Maumee River
 OH            041000090602   Sugar Creek-Maumee River
 OH            041000090603   Haskins Road Ditch-Maumee River
 OH            041000090701   Ai Creek
 OH            041000090901   Grassy Creek Diversion
 OH            050902010604   Big Threemile Creek
 OH            050902020101   Headwaters Little Miami River
 OH            050902020102   North Fork Little Miami River
 OH            050902020103   Buffenbarger Cemetery-Little Miami River
 OH            050902020104   Yellow Springs Creek-Little Miami River
 OH            050902020201   North Fork Massies Creek
 OH            050902020202   South Fork Massies Creek
 OH            050902020203   Massies Creek
 OH            050902020204   Little Beaver Creek
 OH            050902020205   Beaver Creek
 OH            050902020206   Shawnee Creek-Little Miami River
 OH            050902020501   Sugar Creek
 OH            050902020502   Captain Nathan Lammes Creek-Little Miami River
 OH            050902020503   Glady Run
 OH            050902020504   Newman Run-Little Miami River
 OH            050902020801   Ferris Run-Little Miami River
 OH            050902020804   Halls Creek-Little Miami River
 NJ            020301030606   Great Piece Meadows-Passaic River
 NJ            020301030703   Lower Saddle River
 NJ            020301030801   Preakness Brook-Passaic River
 NJ            020301030802   Peckman River-Passaic River
 NJ            020301030803   Weasel Brook-Passaic River
 NJ            020301030804   Third River-Passaic River
 NJ            020301030805   Second River-Passaic River
 NJ            020301030904   Overpeck Creek
 NJ            020301030905   Middle Hackensack River



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 States        HUC12          Name
 NJ            020301030906   Lower Hackensack River
 NJ            020301040103   South Branch Rahway River
 NJ            020301040104   Lower Rahway River
 NJ            020301040203   Newark Bay
 NJ            020301040301   Willow Brook-Swimming River Reservoir
 NJ            020301040302   Swimming River
 NJ            020301040303   Navesink River
 NJ            020301040304   Shrewsbury River
 NJ            020301040401   Matawan Creek
 NJ            020301040402   Compton Creek-Frontal Sandy Hook Bay
 NY            020302010204   Northport Bay-Frontal Huntington Bay
 NY            020302010301   Town of Crab Meadow-Frontal Long Island Sound
 NY            020302010302   Nissequogue River-Frontal Long Island Sound
 NY            020302010303   West Meadow Creek-Frontal Smithtown Bay
 NY            020302010304   Mount Sinai Harbor-Frontal Long Island Sound
 NY            020302010401   Wading River-Frontal Long Island Sound
 NY            020302010402   Mattituck Creek-Frontal Long Island Sound
 NY            020302010403   Fishers Island-Frontal Long Island Sound
 NY            020301040501   Hook Creek-Head of Bay
 NY            020301040502   Grassy Bay-Jamaica Bay
 NY            020301040503   Island Channel-Jamaica Bay
 NY            020301040504   Gerritsen Creek-Rockaway Inlet
 NY            020301040505   Town of Coney Island-Frontal Gravesend Bay
 NY            020302020201   Massapequa Creek
 NY            020302020202   Seaford Creek-South Oyster Bay
 NY            020302020203   Freeport Creek
 NY            020302020205   Milburn Creek-Middle Bay
 NY            020302020206   Reynolds Channel-East Rockaway Inlet
 NY            020302020207   Bellmore Creek-East Bay
 NY            020302020302   Carmans River
 NY            020302020303   Patchogue River-Frontal Patchogue Bay
 NY            020302020304   Swan River-Great South Bay
 NY            041300030703   Town of Gates-Genesee River
 NY            041300030704   Genesee River
 NY            041401010101   Rice Creek
 NY            041401010103   Ninemile Creek
 NY            041401010205   Blind Sodus Creek-Frontal Lake Ontario
 NY            041401010301   Wolcott Creek
 NY            041401010302   Mudge Creek
 NY            041401010402   Sodus Bay
 NY            041401010502   Salmon Creek
 NY            041401010503   Mink Creek-Frontal Lake Ontario



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 States        HUC12          Name
 NY            041401010601   Town of Williamson-Salmon Creek
 NY            041401010602   Bear Creek
 NY            041401010603   Mill Creek-Frontal Lake Ontario
 NY            041401010604   Fourmile Creek
 NY            041401010703   Allen Creek
 NY            041401010704   Thomas Creek-Irondequoit Creek
 NY            041401010705   Irondequoit Creek
 NY            041401010706   Irondequoit Bay
 NY            041401010707   West Creek-Frontal Lake Ontario
 NY            041401020102   Stony Creek
 NY            041401020103   Little Stony Creek-Frontal Lake Ontario
 NY            041401020401   Skinner Creek
 NY            041401020402   Lindsey Creek
 NY            041401020403   Little Sandy Creek
 NY            041401020404   North Pond
 NY            041401020602   Prince Brook-Salmon River
 NY            041401020701   Beaverdam Brook
 OH            041000090903   Crooked Creek-Maumee River
 OH            041000090904   Delaware Creek-Maumee River
 OH            041000100102   Needles Creek
 OH            041000100104   Town of Rudolph-Middle Branch Portage River
 OH            041000100202   East Branch Portage River
 OH            041000100204   Rhodes Ditch-South Branch Portage River
 OH            041000100301   North Branch Portage River
 OH            041000100302   Town of Pemberville-Portage River
 OH            041000100401   Sugar Creek
 OH            041000100402   Lacarpe Creek-Portage River
 OH            041000100501   Little Portage River
 OH            041000100502   Portage River
 OH            041000100503   Lacarpe Creek-Frontal Lake Erie
 OH            041000100601   Upper Toussaint Creek
 OH            041000100602   Packer Creek
 OH            041000100603   Lower Toussaint Creek
 OH            041000100701   Turtle Creek-Frontal Lake Erie
 OH            041000100702   Crane Creek-Frontal Lake Erie
 OH            041000100703   Cedar Creek-Frontal Lake Erie
 OH            041000100704   Wolf Creek-Frontal Lake Erie
 OH            041000100706   Otter Creek-Frontal Lake Erie
 OH            041000110103   Mills Creek
 OH            041000110104   Plum Brook-Frontal Sandusky Bay
 OH            050902020903   Salt Run-Little Miami River
 OH            050902021402   Polk Run-Little Miami River



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 States        HUC12          Name
 OH            050902021403   Horner Run-Little Miami River
 OH            050902021405   Dry Run-Little Miami River
 OH            050902021406   Clough Creek-Little Miami River
 OH            050902030101   East Fork Mill Creek-Mill Creek
 OH            050902030102   West Fork Mill Creek
 OH            050902030103   Sharon Creek-Mill Creek
 OH            050902030104   Congress Run-Mill Creek
 OH            050902030105   West Fork Mill Creek-Mill Creek
 OH            051201010201   Chickasaw Creek
 OH            051201010202   Headwaters Beaver Creek
 OH            051201010203   Coldwater Creek
 OH            051201010204   Grand Lake-St Marys
 OH,PA         041100030101   East Branch Ashtabula River
 OH,PA         041100030103   Upper Ashtabula River
 OH,PA         041201010605   Marsh Run-Conneaut Creek
 OH,PA         041201010702   Turkey Creek-Frontal Lake Erie
 OH,PA         050301010602   Honey Creek
 OH,PA         050301010603   Headwaters North Fork Little Beaver Creek
 OH,PA         050301010606   Leslie Run-Bull Creek
 OH,PA         050301010607   Dilworth Run-North Fork Little Beaver Creek
 OH,PA         050301010608   Brush Run-North Fork Little Beaver Creek
 OH,PA         050301010610   Bieler Run-Little Beaver Creek
 OH,PA         050301020104   McMichael Creek-Frontal Pymatuning Reservoir
 OH,PA         050301020105   Pymatuning Reservoir
 NJ            020301050405   Tennent Brook-South River
 NM            130600070404   Shaw Lake-Pecos River
 NM            130600070502   Comanche Draw
 NM            130600070503   Chain Lakes-Pecos River
 NM            130600070504   Town of Midway-Pecos River
 NM            130600070507   Dimmitt Lake-Pecos River
 NM            130600070604   Lake Van-Pecos River
 NY            020302020305   Brown Creek-Great South Bay
 NY            020302020401   Connetquot River
 NY            020302020402   Orowoc Creek-Great Cove
 NY            020302020405   East Channel-Range Channel
 NY            020302020406   Santapogue Creek-Great South Bay
 NY            020302020407   West Channel-Dickerson Channel
 NY            020302020504   Flanders Bay
 NY            020302020505   Great Peconic Bay
 NY            020302020506   Little Peconic Bay
 NY            020302020601   Forge River-Moriches Bay
 NY            020302020602   East River-Moriches Bay



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 States        HUC12          Name
 NY            020302020603   Quantuck Bay-Shinnecock Bay
 NY            020302020604   Heady Creek-Shinnecock Bay
 NY            020302020701   Shelter Island Sound-Northwest Harbor
 NY            020302020702   Shelter Island Sound-Orient Harbor
 NY            020302020703   Coecles Inlet-Threemile Harbor
 NY            020302020704   Acabonack Harbor-Gardiners Bay
 NY            020302020705   Gardiners Bay
 NY            020302020801   Gardiners Island-Frontal Block Island Sound
 NY            020302020802   Lake Montauk-Frontal Block Island Sound
 NY            020302020803   Fishers Island-Frontal Block Island Sound
 NY            020302020901   Great South Bay-Atlantic Ocean
 NY            020302020902   Moriches Bay-Atlantic Ocean
 NJ,NY         020302020903   020302020903-Atlantic Ocean
 NY            041401020702   Salmon River Resevoir-Salmon River
 NY            041401020704   Orwell Creek-Salmon River
 NY            041401020705   Salmon River
 NY            041401020802   Grindstone Creek
 NY            041401020903   Little Salmon River
 NY            041401021001   Butterfly Creek
 NY            041401021003   Otter Branch-Frontal Lake Ontario
 NY            041401021004   Wine Creek-Frontal Lake Ontario
 OH            041000110201   Little Pickerel Creek-Frontal Sandusky Bay
 OH            041000110203   Pickerel Creek-Frontal Sandusky Bay
 OH            041000110401   Paramour Creek
 OH            041000110402   Loss Creek-Sandusky River
 OH            041000110403   Riley Reservoir-Sandusky River
 OH            041000110404   Grass Run
 OH            041000110405   Town of Wyandot-Sandusky River
 OH            041000110503   Carroll Ditch
 OH            041000110701   Little Sandusky River
 OH            041000110702   Town of Upper Sandusky-Sandusky River
 OH            041000110703   Negro Run
 OH            041000110704   Cranberry Run-Sandusky River
 OH            041000110705   Sugar Run-Sandusky River
 OH            041000110904   Thorn Run-Sandusky River
 OH            041000110905   Mile Run-Sandusky River
 OH            041000111103   Willow Creek-Sandusky River
 OH            041000111105   Spicer Creek-Sandusky River
 OH            041000111302   Indian Creek-Sandusky River
 OH            041000111303   Yellow Swale-Sandusky River
 OH            041000111404   Town of Lindsey-Muddy Creek
 OH            041000111405   Town of Gypsum-Frontal Sandusky Bay



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 States        HUC12          Name
 OH            041000120204   Town of Vermilion-Vermilion River
 OH            041000120301   Sugar Creek-Frontal Lake Erie
 OH            041000120303   Cranberry Creek-Frontal Lake Erie
 OH            041000120304   Old Woman Creek
 OH,PA         050301030809   Coffee Run-Mahoning River
 OH,PA,WV      050301011103   Carpenter Run-Ohio River
 OH,WV         050301011106   Hardin Run-Ohio River
 OH,WV         050301011109   Wills Creek-Ohio River
 OH,WV         050301061202   Salt Run-Ohio River
 OH,WV         050301061204   Glenns Run-Ohio River
 OH,WV         050301061205   Boggs Run-Ohio River
 OH,WV         050301061206   Wegee Creek-Ohio River
 OH,WV         050301061207   Pipe Creek-Ohio River
 OH,WV         050301061208   Big Run-Ohio River
 OH,WV         050302011001   Stillhouse Run-Ohio River
 OH,WV         050302011004   Haynes Run-Ohio River
 OH,WV         050302011005   Patton Run-Ohio River
 OH,WV         050302011006   Mill Creek-Ohio River
 OH,WV         050302011007   Leith Run-Ohio River
 OH,WV         050302011009   Cow Creek-Ohio River
 OH,WV         050302011010   Bull Creek-Ohio River
 OH,WV         050302020102   Mile Run-Ohio River
 OH,WV         050302020106   Sandy Creek-Ohio River
 OH,WV         050302020404   Forked Run-Ohio River
 OH,WV         050302020802   Groundhog Creek-Ohio River
 OH,WV         050302020803   Oldtown Creek-Ohio River
 OH,WV         050302020804   West Creek-Ohio River
 OH,WV         050302020805   Broad Run-Ohio River
 OH,WV         050302020904   Crooked Creek-Ohio River
 OH,WV         050901010103   Long Run-Ohio River
 OH,WV         050901010704   Flatfoot Creek-Ohio River
 OH,WV         050901010709   Paddy Creek-Ohio River
 KY,OH,WV      050901011007   Buffalo Creek-Ohio River
 NJ            020301050504   Green Brook
 NJ            020301050505   Lawrence Brook
 NJ            020301050506   Mile Run-Raritan River
 NJ            020301050507   Mill Brook-Raritan River
 NM            130600071105   Outlet Cottonwood Creek
 NM            130600071204   City of Artesia-Eagle Creek
 NM            130600071303   Lake Tolliver-Pecos River
 NM            130600071305   Buffalo Valley-Pecos River
 NM            130600071309   Lake Arthur-Pecos River



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 States        HUC12          Name
 NM            130600071310   130600071310-Pecos River
 NM            130600071403   Logan Draw-Pecos River
 NM            130600071405   Brainard Lake-Pecos River
 NM,TX         130700010106   Red Bluff Reservoir-Pecos River
 DE,PA         020402050307   Red Clay Creek
 PA,WV         050200040707   Cheat Lake-Cheat River
 SC            030501080303   Lower Duncan Creek
 SC            030501080502   Outlet Enoree River
 SC            030601010408   Lower Twelvemile Creek-Keowee River
 SC            030601010503   Lower Coneross Creek
 SC            030601010802   Outlet Keowee River-Hartwell Lake
 SC            030601010803   Upper Seneca River
 PA            020503011001   Hallowing Run-Susquehanna River
 RI            010900040502   Woonasquatucket River
 RI            010900040609   Pawtuxet River
 RI            010900040901   Seekonk River-Providence River
 PA            020501071002   Tenmile Run-Susquehanna River
 PA            020501071003   Logan Run-Susquehanna River
 PA            020501071006   City of Sunbury-Susquehanna River
 PA            020503050407   Trindle Spring Run
 PA            020503050408   Sears Run-Conodoguinet Creek
 PA            020503050502   Upper Yellow Breeches Creek
 PA            020402010203   LIttle Neshaminy Creek
 PA            020402010204   Cooks Run-Neshaminy Creek
 PA            020402030407   Middle Tulpehocken Creek
 PA            020402030409   Lower Tulpehocken Creek
 PA            020402030604   Laurel Run-Schuylkill River
 PA            020402030609   Angelica Creek-Schuylkill River
 PA            050301040101   McKee Run-Beaver River
 TX            120301050102   Coombs Creek-Trinity River
 TN            060102040306   Ballplay Creek
 TN            060102040307   Middle Tellico River
 TN            060102040308   Notchy Creek
 TN            060102040309   Lower Tellico River
 NC,TN         060102040404   Citico Creek
 TN            060102040405   Ninemile Creek
 TN            060102040406   Little Toqua Creek-Tellico Lake
 TN            060102040501   Baker Creek
 TN            060102040502   Island Creek-Tellico lake
 TN            060102040503   Bat Creek
 TN            060102040504   Fork Creek
 TN            060102040505   Sinking Creek-Tellico Lake



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 States        HUC12          Name
 TN            060102070302   East Fork Poplar Creek
 TN            060102070303   Lower Poplar Creek
 TN            060102070405   Outlet Clinch River
 TX            120301050108   Fivemile Creek-Trinity River
 TX            120301050203   Prairie Creek-Trinity River
 TX            120301050205   Parsons Slough-Trinity River
 TN            060200011202   Upper Nickajack Lake-Tennessee River
 TN            060200011203   Middle Nickajack Lake-Tennessee River
 TX            111403050309   Brutons Creek
 TX            120301050402   Old Channel East Fork Trinity River-Trinity River
 TX            120301050403   Smith Creek-Trinity River
 TX            120301050407   Bois d'Arc Creek-Trinity River
 TX            120301050408   Caney Creek-Trinity River
 TX            120301050501   Bridge Creek-Trinity River
 TX            120301050504   Trinidad Lake-Trinity River
 TX            120301050505   The Cutoff-Trinity River
 TX            120301050506   Wildcat Creek-Trinity River
 TN            060200040306   Outlet Sequatchie River
 TN            060400010702   Beech Creek
 TX            120301060507   White House Ridge-East Fork Trinity River
 TX            120301070312   Walnut Creek-Cedar Creek
 TX            120302030307   Cotton Bayou-Frontal Trinity Bay
 TN            080102100308   Outlet Wolf River
 TN            080102110201   Cypress Creek
 TN,VA         060101020204   Rockhouse Run-South Fork Holston River
 TN,VA         060101020403   South Holston Lake-South Fork Holston River
 TN,VA         060101020404   Spring Creek
 TN,VA         060101020405   Painter Spring Branch-South Fork Holston River
 TN,VA         060101020501   Little Creek-Beaver Creek
 TX            120301020105   Farmers Branch-West Fork Trinity River
 TX            120301020305   Dutch Branch-Benbrook Lake
 TX            120301020307   Lake Como-Clear Fork Trinity River
 TX            120301020405   Rush Creek-Village Creek
 TX            120301020501   Marine Creek-West Fork Trinity River
 TX            120301020504   Sycamore Creek-West Fork Trinity River
 TX            120301020505   Headwaters Walker Branch
 TX            120301020506   Walker Branch-West Fork Trinity River
 TX            120301020701   Hurricane Creek-West Fork Trinity River
 TX            120301020706   Delaware Creek-West Fork Trinity River
 TX            120401040402   Country Club Bayou-Brays Bayou
 TX            120401040502   Lower Sims Bayou
 TX            120401040605   Middle Greens Bayou



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 States        HUC12          Name
 TX            120401040606   Lower Greens Bayou
 TX            120401040701   Hunting Bayou
 TX            120401040702   Carpenters Bayou
 TX            120401040703   Vince Bayou-Buffalo Bayou
 TX            120401040704   Jackson Bayou-San Jacinto River
 TX            120401040705   Highlands Reservoir-San Jacinto River
 TX            120401040706   Goose Creek-Frontal Galveston Bay
 TX            120402020100   East Fork Double Bayou
 TX            120402020300   Spindletop Ditch
 TX            120402020400   Cane Bayou
 TX            120402030105   Ellis Branch-Cedar Bayou
 TX            120402030106   Cedar Point Lateral-Cedar Bayou
 TX            120402030200   Cedar Bayou-Frontal Galveston Bay
 TX            120402040100   Clear Creek-Frontal Galveston Bay
 TX            120402040200   Dickinson Bayou
 TX            120402040300   Halls Bayou
 TX            120402040400   Mustang Bayou
 TX            120402050400   Lower Oyster Creek
 TN            060102010110   Roddy Branch-Little River
 TN            060102010204   Upper Fort Louden Lake
 TN            060102010211   Outlet Fort Louden Lake
 TN            060102010302   Town Creek-Tennessee River
 WV            050200010502   Left Fork Sandy Creek-Sandy Creek
 WV            050200010705   Hackers Creek-Tygart Valley River
 WV            050200010706   Tygart Lake-Tygart Valley River
 WV            050200010709   Guyses Run-Tygart Valley River
 WV            050200020102   Skin Creek
 WV            050200020105   Polk Creek-West Fork River
 WV            050200020305   Isaacs Creek-West Fork River
 WV            050200020306   Sycamore Creek-West Fork River
 WV            050200020602   Limestone Run-West Fork River
 WV            050200020604   Coons Run-West Fork River
 MT            170102100403   Beaver Creek-Stillwater River
 WV            050200040301   First Fork-Shavers Fork
 WV            050200040302   Red Run-Shavers Fork
 WV            050200040303   Taylor Run-Shavers Fork
 WV            050200040304   Haddix Run-Shavers Fork
 MT            170102100506   Whitefish Lake
 MT            170102100508   Whitefish River-Whitefish
 MT            170102100509   Whitefish River-Motichka Creek
 WV            050302010404   Nutter Fork-Middle Island Creek
 WV            050302010406   Conaway Run-Middle Island Creek



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 States        HUC12          Name
 WV            050302010504   Gorrell Run-Middle Island Creek
 WV            050302010506   Buffalo Run-Middle Island Creek
 WV            050302010509   Willow Island Creek-Middle Island Creek
 WV            050302020602   Elk Fork
 WI            070700021707   Townline Reservoir-Little Eau Pleine River
 WI            070700021803   Mosinee Flowage-Wisconsin River
 WI            070700021804   Hog Creek
 WI            070700021805   Little Eau Claire River
 WI            070700021806   Johnson Creek
 WI            070700021807   Lake Dubay-Wisconsin River
 WI            070700030302   City of Stevens Point-Wisconsin River
 WI            070700030304   Rocky Run-Wisconsin River
 WI            070700030306   Biron Flowage-Wisconsin River
 WI            070700030603   Fourteenmile Creek
 WI            070700030701   City of Wisconsin Rapids-Wisconsin River
 WI            070700030704   Fivemile Creek-Wisconsin River
 WI            070700030705   Petenwell Lake-Wisconsin River
 WI            070700030804   Lower Big Roche a Cri Creek
 WI            070700030904   Friendship Lake-Little Roche a Cri Creek
 WI            070700031301   Little Yellow River-Yellow River
 WV            050302031009   Macfarlan Creek-South Fork Hughes River
 WV            050302031103   Hughes River
 WV            050302031210   Lee Creek-Little Kanawha River
 WV            050302031306   Neal Run-Little Kanawha River
 WV            050500020904   Widemouth Creek-Bluestone River
 WV            050500020907   Blacklick Creek-Bluestone River
 WV            050500020908   Mountain Creek-Bluestone River
 WV            050500020909   Little Bluestone River-Bluestone River
 WV            050500021002   Lick Creek-Bluestone Lake
 WV            050500021003   Toms Run-Bluestone Lake
 MT            170102110402   Town of Bigfork-Swan River
 WI            070700031803   Castle Rock Lake-Wisconsin River
 WI            070700031809   Town of Marion-Wisconsin River
 WI            070700031903   Plainville Creek-Wisconsin River
 WI            070700031906   Hulburt Creek-Wisconsin River
 WI            070700031908   Long Lake-Wisconsin River
 ID,WA         170601070201   Dry Creek-Snake River
 WV            050500060304   Boomer Branch-Kanawha River
 WV            050500060306   Hughes Creek-Kanawha River
 WV            050500060403   Fields Creek-Kanawha River
 WV            050500060405   Rush Creek-Kanawha River
 WV            050500080103   Flat Fork



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 States        HUC12          Name
 WV            050500080104   Rock Creek-Pocatalico River
 WV            050500080303   Tyler Creek-Kanawha River
 WV            050500080304   Scary Creek-Kanawha River
 WV            050500080308   Buffalo Creek-Kanawha River
 WA            170601080505   Cherry Creek-Palouse River
 WA            170601080606   Lower Negro Creek
 WI            070700050105   Duck Creek-Wisconsin River
 WI            070700050202   Rowan Creek
 WI            070700050203   Whalen Bay-Wisconsin River
 WI            070700050205   Prentice Creek-Wisconsin River
 WI            070700050206   Prairie du Sac Dam-Wisconsin River
 WI            070700050303   Dunbar Creek-Wisconsin River
 WV            050500080602   Little Sixteenmile Creek-Kanawha River
 WV            050500080603   Tenmile Creek-Kanawha River
 WV            050500080604   Fivemile Creek-Kanawha River
 WV            050701010503   Big Cub Creek-Guyandotte River
 WA            170601100403   Dalton Lake-Snake River
 WA            170601100404   Snake River
 WI            070700051201   Marsh Creek-Wisconsin River
 WI            070700051202   Wilson Creek-Wisconsin River
 WI            070700051205   Cruson Slough-Wisconsin River
 WI            070700051207   Avoca Lake-Wisconsin River
 WI            070700051701   Indian Creek-Wisconsin River
 WI            070700051702   Byrds Creek-Wisconsin River
 WI            070700051705   Feather Island-Wisconsin River
 WI            070700051707   Clear Creek-Wisconsin River
 WI            070700051802   Little Kickapoo Creek-Wisconsin River
 WA            170601070203   Yakawawa Canyon-Snake River
 WA            170200090304   First Creek-Lake Chelan
 WA            170200090305   Lake Chelan-Chelan River
 WA            170200100308   Number Two Canyon-Columbia River
 WA            170300010301   Keechelus Lake
 WA            170300010705   McPherson Canyon-Yakima Creek
 MT            170102080208   Rose Creek-Frontal Flathead River
 WA            170200011204   Fivemile Creek-Franklin D Roosevelt Lake
 WA            170200110708   Nahahum Canyon-Wenatchee River
 WA            170300030206   City of Yakima-Yakima River
 WA            170300030501   Wapato Dam-Yakima River
 WA            170300030506   City of Toppenish-Yakima River
 WI            070900010503   Lac La Belle-Oconomowoc River
 WI            070900011001   Nolan Creek-Crawfish River
 WI            070900011003   Rock Creek



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 States        HUC12          Name
 MT            170102080301   Town of Somers-Flathead Lake
 MT            170102080302   Stoner Creek
 MT            170102080303   Big Lodge Creek-Frontal Flathead Lake
 MT            170102080306   Town of Elmo-Frontal Flathead Lake
 MT            170102080307   Wymore Lake-Frontal Flathead Lake
 MT            170102080308   Jette Lake- Frontal Flathead Lake
 MT            170102080401   Town of Woods Bay-Frontal Flathead Lake
 MT            170102080402   Yellow Bay Creek-Frontal Flathead Lake
 MT            170102080403   Boulder Creek-Frontal Flathead Lake
 MT            170102080404   Town of Polson-Frontal Flathead Lake
 MT            170102080501   Flathead Lake
 WA            170200130201   Malloy Prairie
 WA            170200140102   Osborn Bank Lake-Banks Lake
 WA            170300031002   Coulee Drain-Yakima River
 WA            170300031203   Webber Canyon-Yakima River
 WA            170300031205   Yakima River
 WI            070900020602   Sixmile Creek
 WI            070900020604   Lake Mendota-Yahara River
 WI            070900020701   Starkweather Creek
 WI            070900020702   Lake Monona-Yahara River
 WI            070900020703   Lake Waubesa-Yahara River
 WI            070900020802   Rutland Branch-Badfish Creek
 WI            070900020803   Badfish Creek
 WI            070900020905   Yahara River
 WI            070900021003   Lake Koshkonong-Rock River
 WI            070900021006   Town of Newville-Rock River
 WI            070900021202   Bass Creek
 WI            070900021302   Willies Pond-Rock River
 WI            070900021303   City of Janesville-Rock River
 WA            170200050202   Buffalo Lake
 WA            170200150302   Moses Lake
 WI            071200060102   Village of Sussex-Fox River
 WA            170102160203   Davis Creek-Pend Oreille River
 WA            170103050402   Chester Creek-Spokane River
 WA            170103070105   Nine Mile Reservoir-Spokane River
 WA            170103070106   Little Sandy Canyon-Spokane River
 WA            170103070107   Whitney Canyon-Spokane River
 WA            170200150904   Potholes Reservoir
 WA            170200151012   Town of Jericho-Lower Crab Creek
 WA            170200160106   McCoy Canyon-Columbia River
 WA            170200160201   Locke Island-Columbia River
 WA            170200160204   White Bluffs-Columbia River



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 States        HUC12          Name
 WA            170200160305   Eagle Lakes
 WI            071200060105   City of Waukesha-Fox River
 WI            071200060304   Wind Lake Drainage Canal
 WI            071200060703   Mill Brook-Fox River
 WI            071200060704   Village of Big Bend-Fox River
 WI            071200060705   Tichigan Lake-Fox River
 WI            071200060707   Long Lake-Fox River
 WI            071200061002   Spring Brook-Fox River
 WI            071200061003   Palmer Creek-Fox River
 WV            020700010305   Smith Creek-South Branch Potomac River
 WV            020700010306   Hayes Gap Run-South Branch Potomac River
 WV            020700010308   Mill Run-South Branch Potomac River
 WV            020700010309   Briggs Run-South Branch Potomac River
 WV            020700010310   Hoglan Run-South Branch Potomac River
 WV            020700010601   Hutton Run-South Branch Potomac River
 WV            020700010603   Fort Run-South Branch Potomac River
 WV            020700010604   Stony Run-South Branch Potomac River
 WV            020700010605   Sawmill Run-South Branch Potomac River
 WV            020700010607   McDowell Run-South Branch Potomac River
 WV            020700010608   Fox Run-South Branch Potomac River
 MD,WV         020700010609   Abernathy Run-South Branch Potomac River
 ID,WA         170103050304   Cable Creek-Spokane River
 ID,WA         170103050306   Liberty Creek-Spokane River
 WA            170103070402   Blue Creek-Spokane River
 WA            170103080306   Dartford Creek-Little Spokane River
 OR,WA         170701011407   Philippi Canyon-Lake Umatilla
 OR            170900100504   Saum Creek-Tualatin River
 OR            170900120104   Oswego Creek-Willamette River
 OR            170900120101   Upper Johnson Creek
 OR            170900120103   Lower Johnson Creek
 OR            170900120202   Balch Creek-Willamette River
 WA            171100040602   Lake Whatcom
 WA            171100040604   Chuckanut Creek-Frontal Bellingham Bay
 WA            171100070203   Skagit River
 WA            170701021105   Walla Walla River
 WA            171100120400   Lake Washington-Sammamish River
 WA            171100130305   Green River
 OR,WA         170800010802   Woodard Creek-Columbia River
 WA            171100160201   Spurgeon Creek-Deschutes River
 OR,WA         170800060500   Baker Bay-Columbia River
 WA            170800010605   Lacamas Creek
 WA            170800050306   Foster Creek-Cowlitz River



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 States        HUC12          Name
 WA            171100190204   Miller Creek-Frontal East Passage
 WA            171100190205   Hylebos Creek-Frontal Commencement Bay
 WA            171100190301   City of Tacoma-Frontal Commencement Bay
 WA            171100190401   Hartstene Island
 WA            171100190503   Ellis Creek-Frontal Budd Inlet
 WA            171100190610   Key Peninsula-Frontal Case Inlet
 WA            171100190705   Chico Creek-Frontal Sinclair Inlet
 WA            171100190706   Barker Creek-Frontal Dyes Inlet
 WA            171100191000   Port Orchard Sound
 WA            171100191200   Puget Sound
 OR,WA         170800030200   Hayden Island-Columbia River
 WA            171100200514   Lake Aldwell-Elwha River
 OR,WA         170800030900   Cathlamet Channel-Columbia River
 OR,WA         170800030104   Lake River-Frontal Columbia River
 WA            171100100103   Hancock Creek-North Fork Snoqualmie River
 OR            170900030611   McCarthy Slough-Willamette River
 OR            170900050604   Morgan Creek-North Santiam River
 OR            170900070101   Bashaw Creek-Willamette River
 OR            170900070102   Ash Creek
 OR            170900070106   Lower Rickreall Creek
 OR            170900070107   Wilkerson Creek-Willamette River
 OR            170900070301   Croisan Creek-Willamette River
 OR            170900070302   Spring Valley Creek
 OR            170900070303   Glenn Creek-Willamette River
 OR            170900070304   Lambert Slough-Willamette River
 OR            170900070305   Champoeg Creek
 OR            170900070306   Chehalem Creek
 OR            170900070307   Hess Creek-Willamette River
 OR            170900070401   Corral Creek-Willamette River
 OR            170900070402   Coffee Lake Creek-Willamette River
 OR            170900070403   Parrott Creek-Beaver Creek
 OR            170900070405   Tanner Creek-Willamette River
 OR            170900080703   Hawn Creek-Yamhill River
 WA            171001030402   Dillenbaugh Creek-Chehalis River
 WA            171001030404   Scammon Creek-Chehalis River
 OR            170900090607   Molalla River
 VA            020801020105   Fleets Bay-Frontal Chesapeake Bay
 VA            020801020301   Carvers Creek-Piankatank River
 VA            020801020302   Wilton Creek-Piankatank River
 VA            020801020303   Milford Haven-Frontal Chesapeake Bay
 VA            020801020401   Beaverdam Swamp
 VA            020801020402   Crany Creek-Fox Mill Run



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 States        HUC12          Name
 VA            020801020403   Ware River
 VA            020802030804   Sycamore Creek-James River
 VA            020802031101   Ballinger Creek-James River
 VA            030101020903   Panhandle Creek-John H Kerr Reservoir
 VA            030101031004   Sandy Creek (West)-Dan River
 VT            041504030704   Winooski River
 VT            041504050306   Lamoille River
 VT            041504080301   East Creek
 VT            041504080402   Little Otter Creek
 VT            041504080502   Lewis Creek
 VT            041504080801   La Platte River
 VT            041504080802   Munroe Brook-Shelburne Bay
 VT            041504080901   Malletts Creek
 VT            041504080902   Malletts Bay
 VT            041504081202   Mill River
 VT            041504081204   St Albans Bay-Lake Champlain
 UT            160202010302   White Lake-Frontal Utah Lake
 UT            160202010601   Clyde Knoll-Frontal Utah Lake
 UT            160202010602   Enoch Canyon-Frontal Utah Lake
 UT            160202010803   Lower American Fork-Frontal Utah Lake
 UT            160202010804   Dry Canyon-Frontal Utah Lake
 UT            160202010900   Utah Lake
 UT            160202011002   Jordan River-Dry Creek
 VA            020801020405   East River
 VA            020801020406   Winter Harbor-Frontal Chesapeake Bay
 VA            020801020407   Severn River-Frontal Mobjack Bay
 VA            020801030503   Flat Run-Mountain Run
 VA            020801030603   Rock Run-Rappahannock River
 VA            020802031102   Rock Island Creek-James River
 VA            020802031104   Little George Creek-James River
 VA            030101040704   Buffalo Creek-Dan River
 WI            040301010101   Molash Creek-Frontal Lake Michigan
 WI            040301010105   East Twin River
 WI            040301010205   West Twin River
 UT            160202020504   Lower Spanish Fork-Frontal Utah Lake
 UT            160202020604   Benjamin Slough-Frontal Utah Lake
 VA            020802031403   Hunts Creek-Slate River
 VA            020802031501   Bremo Creek-James River
 VA            020802031502   Bear Garden Creek-James River
 VA            030101060203   Flat Creek-Lake Gaston
 WI            040301010403   Pine Creek
 WI            040301010404   City of Chilton-South Branch Manitowoc River



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 States        HUC12          Name
 WI            040301010407   Killsnake River
 WI            040301010408   South Branch Manitowoc River
 WI            040301010501   Upper Branch River
 WI            040301010502   Middle Branch River
 WI            040301010503   Lower Branch River
 WI            040301010603   Cato Falls-Manitowoc River
 WI            040301010604   Little Manitowoc River-Frontal Lake Michigan
 WI            040301010605   Manitowoc River
 WI            040301010702   Pine Creek-Frontal Lake Michigan
 WI            040301010703   Point Creek
 WI            040301010704   Centerville Creek-Frontal Lake Michigan
 WI            040301010705   Sevenmile Creek-Frontal Lake Michigan
 WI            040301010804   Lower Pigeon Creek
 WI            040301011004   Lower Onion River
 WI            040301011107   Otter Creek-Sheboygan River
 WI            040301011108   City of Sheboygan Falls-Sheboygan River
 WI            040301011109   Sheboygan River-Frontal Lake Michigan
 WI            040301011201   Black River
 WI            040301011202   Barr Creek-Frontal Lake Michigan
 WI            040301011203   Sucker Creek-Frontal Lake Michigan
 WI            040301020101   Mink River-Frontal Lake Michigan
 WI            040301020102   Three Springs Creek-Frontal Lake Michigan
 WI            040301020103   Mud Lake-Frontal Lake Michigan
 WI            040301020104   Fish Creek-Frontal Green Bay
 WI            040301020105   Kangaroo Lake-Frontal Lake Michigan
 WI            040301020106   Hibbard Creek
 WI            040301020107   Logan Creek-Frontal Lake Michigan
 WI            040301020108   Egg Harbor-Frontal Green Bay
 WI            040301020109   Lilly Bay Creek-Frontal Lake Michigan
 WI            040301020110   Big Creek-Frontal Sturgeon Bay
 WI            040301020201   Stony Creek-Frontal Lake Michigan
 WI            040301020204   Ahnapee River
 WI            040301020205   Mashek Creek-Frontal Lake Michigan
 WI            040301020301   Headwaters Kewaunee River
 WI            040301020304   Casco Creek-Kewaunee River
 WI            040301020305   Kewaunee River
 WI            040301020401   Strawberry Creek-Frontal Sturgeon Bay
 WI            040301020402   Larson Creek-Frontal Green Bay
 WI            040301020403   Keyes Creek-Frontal Green Bay
 WI            040301020404   Sugar Creek-Frontal Green Bay
 WI            040301020405   Renard Creek-Frontal Green Bay
 WI            040301020406   Red River-Frontal Green Bay



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 States        HUC12          Name
 WI            040301020407   Gilson Creek-Frontal Green Bay
 WI            040301030103   Pensaukee River
 WI            040301030104   Kirchner Creek-Frontal Green Bay
 WI            040301030203   Tibbet Creek-Frontal Green Bay
 WI            070700021003   Kennedy Creek-Big Rib River
 WI            070700021304   Silver Creek-Eau Claire River
 WI            070700021401   County Line Creek-Wisconsin River
 WI            070700021402   Jim Moore Creek-Wisconsin River
 WI            070700021403   Eau Claire Flowage-Wisonsin River
 VA            020801040102   Hazel Run-Rappahannock River
 VA            020801040203   Goldenvale Creek-Rappahannock River
 VA            020801040301   Portobago Creek-Rappahannock River
 VA            020801040302   Elmwood Creek
 VA            020801040303   Peedee Creek-Rappahannock River
 WI            040301030205   North Branch Suamico River-Suamico River
 WI            040301040506   Oconto River
 WI            040301050605   Little River-Frontal Lake Michigan
 WI            040301050606   Peshtigo River-Frontal Lake Michigan
 WI            040301050607   Thomas Slough-Frontal Lake Michigan
 VA            020802050401   Hooper Rock Creek-James River
 VA            020802050403   Picketts Creek Reservoir-James River
 VA            020802050501   Solomons Creek-James River
 VA            020802050504   Mohawk Creek-James River
 VA            020802050601   Fine Creek-James River
 VA            020802050603   Little River-James River
 VA            020802050606   East Branch Tuckahoe Creek-James River
 VA            020802050607   Little Westham Creek-James River
 WI            040302010601   Portage Canal-Fox River
 WI            040302010603   Good Earth Creek-Fox River
 WI            040302010604   Buffalo Lake-Fox River
 WI            040302010605   Puckaway Lake-Fox River
 WI            040302010901   Silver Creek
 WI            040302010902   Big Green Lake
 VA            020801050502   Gravel Run-Mattaponi River
 VA            020801050504   Aylett Creek-Mattaponi River
 VA            020801050601   Garnetts Creek
 VA            020801050602   Courthouse Creek-Mattaponi River
 VA            020801050603   Heartquake Creek-Mattaponi River
 VA            020801050604   Corbin Creek-Mattaponi River
 VA            020802060201   Bailey Creek-James River
 VA            020802060205   Flowerdew Hundred Creek-James River
 VA            020802060301   Wards Creek



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 States        HUC12          Name
 WI            040302011201   Spring Brook
 WI            040302011202   Daggetts Creek
 WI            040302011203   Brooks Cemetary
 WI            040302011205   Lake Butte des Mortes-Fox River
 WI            040302020901   School Section Creek-Wolf River
 WI            040302020902   Schoenick Creek
 WI            040302020903   Navarino Marsh-Wolf River
 WI            040302020904   Outagamie State Wildlife Area-Wolf River
 TX            121003020402   Upper Leon Creek
 TX            121003020405   Middle Leon Creek
 TX            121003020406   Lower Leon Creek
 VA            020801060403   Gold Mine Creek
 VA            020801060404   Christopher Creek-North Anna River
 VA            020801060501   Clear Creek-Pamunkey Creek
 VA            020801060502   Terrys Run
 VA            020801060503   Plentiful Creek-Pamunkey Creek
 VA            020801060601   Contrary Creek
 VA            020801060602   Pigeon Run-Lake Anna
 VA            020802060302   Kittewan Creek-James River
 VA            020802060304   Sunken Meadow Pond-James River
 WI            040302021403   Village of Shiocton-Wolf River
 WI            040302021404   Black Otter Lake-Wolf River
 WI            040302021902   Partridge Crop Lake-Wolf River
 WI            040302021906   Partridge Lake-Wolf River
 WI            040302022003   Pine River-Frontal Lake Poygan
 WI            040302022006   Willow Creek
 WI            040302022103   Alder Creek
 WI            040302022104   Pumpkinseed Creek
 WI            040302022106   Lake Poygan
 WI            040302030101   City of Oshkosh-Frontal Lake Winnebago
 WI            040302030102   Willow Harbor-Frontal Lake Winnebago
 WI            040302030103   Van Dyne Creek-Frontal Lake Winnebago
 VA            020403040304   Smith Island Inlet-The Thorofare
 VA            020801060603   Elk Creek-Lake Anna
 VA            020801061002   Moncuin Creek
 VA            020801061102   Mill Creek-Pamunkey River
 VA            020802060604   Yarmouth Creek-Chickahominy River
 VA            020802060605   Morris Creek-Chickahominy River
 VA            020802060802   Skiffes Creek-James River
 WI            040302030204   Eldorado Marsh-Fond Du Lac River
 WI            040302030301   De Neveu Creek-Frontal Lake Winnebago
 WI            040302030302   Taycheedah Creek-Frontal Lake Winnebago



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 States        HUC12          Name
 WI            040302030303   Pipe Creek-Frontal Lake Winnebago
 WI            040302030304   City of Utowana Beach-Frontal Lake Winnebago
 WI            040302030401   Lake Winnebago
 WI            040302040101   Dead Horse Bay-Frontal Green Bay
 WI            040302040105   Trout Creek
 WI            040302040106   Lower Duck Creek
 WI            040302040201   Little Lake Butte des Mortes
 WI            040302040202   Mud Creek
 WI            040302040205   Garners Creek-Fox River
 WI            040302040304   Lower East River
 WI            040302040401   Point du Sable-Frontal Green Bay
 WI            040302040405   City of Green Bay-Fox River
 WI            040400020101   Wind Point-Frontal Lake Michigan
 WI            040400020102   Oak Creek
 WI            040400020306   City of Racine-Root River
 WI            040400020401   City of Kenosha-Frontal Lake Michigan
 WI            040400030202   Kettle Moraine Lake-Milwaukee River
 WI            040400030204   Auburn Lake Creek-Milwaukee River
 WI            040400030207   Village of Kewaskum-Milwaukee River
 WI            040400030208   Silver Creek-Milwaukee River
 WI            040400030209   Village of Newburg-Milwaukee River
 WI            040400030304   Cedar Creek
 WI            040400030405   Menomonee River
 WI            040400030501   Kinnickinnic River
 WI            040400030601   Fox Point-Frontal Lake Michigan
 VA            020403040404   Sand Shoal Inlet-Atlantic Ocean
 VA            020403040501   Rudee Inlet-Atlantic Ocean
 VA            020403040502   020403040502-Atlantic Ocean
 VA            020700050301   Lewis Creek
 VA            020700050302   Falling Spring Run-Middle River
 VA            020801070102   Philbates Creek-York River
 VA            020801070203   Carter Creek-York River
 VA            020801080101   Poquoson River-Frontal Chesapeake Bay
 VA            020801080102   Northwest Branch Back River
 VA            020801080103   Southwest Branch Back River
 VA            020801080104   Back River-Frontal Chesapeake Bay
 VA            020802060803   Lawnes Creek
 VA            020802060804   Morrisons Creek-James River
 VA            020802060901   Warwick River
 VA            020802060904   Jones Creek-Pagan River
 VA            020802060906   Cooper Creek-James River
 VA            030102040604   Falling Run-Meherrin River



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 States        HUC12          Name
 WI            040400030602   Town of Freedonia-Milwaukee River
 WI            040400030603   Village of Grafton-Milwaukee River
 WI            040400030604   Pigeon Creek-Milwaukee River
 WI            040400030606   Milwaukee River
 VA            020801080201   Lynnhaven River
 VA            020801080202   Little Creek-Frontal Chesapeake Bay
 VA            020801110601   Messongo Creek-Frontal Pocomoke Sound
 VA            020801110602   Guilford Creek-Frontal Pocomoke Sound
 VA            020801110702   Deep Creek-Frontal Pocomoke Sound
 VA            020801110703   Onancock Creek-Frontal Pocomoke Sound
 VA            020801110801   Pungoteague Creek-Frontal Chesapeake Bay
 VA            020801110802   Nandua Creek-Frontal Chesapeake Bay
 VA            020801110803   Occohannock Creek-Frontal Chesapeake Bay
 VA            030102051202   West Neck Creek
 VA            050500011003   Miller Creek-Reed Creek
 VA            020700050705   Paine Run-South River
 VA            020700050801   Big Run-South Fork Shenandoah River
 VA            020700050901   Fultz Run-South Fork Shenandoah River
 VA            020700050903   Stony Run-South Fork Shenandoah River
 VA            020700050904   Hawksclaw Creek-South Fork Shenandoah River
 VA            020801110804   Warehouse Creek-Nassawadox Creek
 VA            020801110901   Hungars Creek-Frontal Chesapeake Bay
 VA            020801110902   Cherrystone Inlet-Frontal Chesapeake Bay
 VA            050500011501   Big Macks Creek
 VA            050500011502   Upper Claytor Lake-New River
 VA            050500011505   Thorne Springs Branch-Peak Creek
 VA            050500011506   Lower Claytor Lake-New River
 VA            050500011801   Connellys Run-New River
 VA            050500011803   Stroubles Creek-New River
 VA            050500011806   Dry Branch-New River
 VA            050500020301   Bear Spring Branch-New River
 WI            070300051105   Outlet Kinnickinnic River
 VA            020802010502   Falling Spring Creek-Jackson River
 VA            020802010503   Indian Draft Creek-Jackson River
 VA            020802080201   New Mill Creek-Southern Branch Elizabeth River
 VA            020802080203   Deep Creek-Southern Branch Elizabeth River
 VA            020802080204   Eastern Branch Elizabeth River
 VA            020802080205   Western Branch Elizabeth River
 VA            020802080206   Elizabeth River
 VA            020802080301   Streeter Creek-Frontal Hampton Roads
 VA            020802080302   Willoughby Bay-Frontal Hampton Roads
 VA            020802080303   Hampton River-Frontal Hampton Roads



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 States        HUC12          Name
 VA            050500020304   Little Stony Creek-New River
 VA,WV         050702010304   Right Fork Straight Fork-Knox Creek
 VA,WV         050702010305   Guess Fork-Knox Creek
 VA            050702020101   Garden Creek
 VA            050702020102   Grassy Creek-Levisa Fork
 VA            050702020105   Big Prater Creek-Levisa Fork
 VA,WV         050702020106   Slate Creek
 VA            050702020201   Home Creek-Levisa Fork
 WI            070400050501   Trout Run Creek-Trempealeau River
 WI            070400050502   Keller Creek-Trempealeau River
 WI            070400050504   Pine Creek-Trempealeau River
 WI            070400060310   Neshonoc Lake-La Crosse River
 WI            070400071208   Grant Creek-Black River
 VA            020802080304   Hampton Roads
 VA            030101010301   Sawmill Hallow-Roanoke River
 VA            030101010404   Peters Creek-Roanoke River
 VA            030101010601   Standiford Creek-Smith Mountain Lake
 VA            030101010602   Gills Creek
 VA            030101010603   Bull Run-Smith Mountain Lake
 VA            030101010702   Beaverdam Creek
 VA            030101010704   Bettys Creek-Smith Mountain Lake
 VA            030101010705   Craddock Creek-Smith Mountain Lake
 VA            060101010201   Robertson Branch-North Fork Holston River
 VA            060101020307   Cedar Creek-Middle Fork Holston River
 VA            060101020401   Fifteenmile Creek
 VA            060101020402   Spoon Gap Creek-Wolf Creek
 WI            070400071209   Van Loon Lake-Black River
 VA            020700080702   Big Branch-Goose Creek
 VA            030101011301   Clay Branch-Leesville Lake
 VA            030101011404   Roaring Run-Big Otter River
 VA            060102050503   Toms Creek-Guest River
 VA,WV         020700010303   East Dry Run-South Branch Potomac River
 WI            070500050104   French Creek-Chippewa River
 WI            070500050108   Old Abe Lake-Chippewa River
 TX            121102080100   Llano Grande Lake-Arroyo Colorado
 MD,VA         020700081004   Difficult Run
 VA            020700100302   Cameron Run
 VA            020700100402   Accotink Creek
 VA            020700100703   Middle Bull Run
 VA            020802020501   Bennetts Run-Maury River
 VA            030101011405   Machine Creek
 VA            030101011406   Johns Creek-Little Otter River



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 States        HUC12          Name
 VA            030101020104   Buffalo Creek-Roanoke River
 VA            030101020105   Whipping Creek-Roanoke River
 VA            030101020401   Childrey Creek-Roanoke River
 VA,WV         050500020305   Stony Creek
 VA,WV         050500020601   Brush Creek-Rich Creek
 VA,WV         050500020602   Clendennin Creek-Bluestone Lake
 VA,WV         050500020901   Brush Fork-Bluestone River
 VA,WV         050500020903   Laurel Fork-Bluestone River
 VA,WV         050500021001   Adair Run-Bluestone Lake
 WI            070500050308   Lake Wissota
 WI            070500050501   Trout Creek-Chippewa River
 WI            070500050502   Beaver Creek-Chippewa River
 WI            070500050705   Taylor Creek-Chippewa River
 WI            070500050902   Coon Creek-Chippewa River
 WI            070500050904   Old Elk Lake-Chippewa River
 WI            070500050906   Duscham Creek-Chippewa River
 WI            070500051202   City of Durand-Chippewa River
 WI            070500051203   Spring Creek-Chippewa River
 WI            070500051205   Little Plum Creek-Chippewa River
 TX            121102080300   Upper Pilot Channel-Laguna Madre
 TX            121102080600   La Feria Main Canal-Arroyo Colorado
 TX            121102080700   Line V Canal-Arroyo Colorado
 VA            020700100705   Lower Bull Run
 VA            020801020102   Great Wicomico River
 MD,VA         020801020103   Cockrell Creek-Frontal Chesapeake Bay
 VA            020801020104   Dividing Creek-Frontal Chesapeake Bay
 VA            020802030101   Otter Creek-James River
 VA            020802030301   Judith Creek-James River
 VA            020802030305   Opossum Creek-James River
 VA            020802030401   Archer Creek-James River
 VA            020802030402   Stonewall Creek-James River
 VA            020802030403   Christian Mill Creek-James River
 VA            020802030405   Allens Creek-James River
 VA            030101020404   Buckskin Creek-Roanoke River
 VA            030101020405   Hunting Creek-Roanoke River
 VA            030101020601   Sandy Creek-Roanoke River
 VA            030101020604   Cargills Creek-Roanoke River
 VA            030101020701   Otter Creek-Bluestone Creek
 VA            030101020702   Little Bluestone Creek
 VA            030101020703   Goodell Creek-Bluestone Creek
 VA            030101020704   Sandy Creek-John H Kerr Reservoir
 NY,VT         041504010307   Poultney River-Head of Lake Champlain



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 States        HUC12          Name
 VT            041504020502   Otter Creek
 OH            050302040606   Dorr Run-Hocking River
 NM            130201021005   Canones Creek
 MI            040301100102   Bruce Creek-Black River
 MI            040301100103   Black River
 MI            040301100104   West Branch Middle Branch Escanaba River
 MI            040301100109   Green Creek
 MI            040301100111   Bear Creek-Middle Branch Escanaba River
 MI            040301100201   Flat Rock Creek
 MI            040301100202   McGregor Creek-West Branch Escanaba River
 MI            040301100203   Big Brook
 MI            040301100204   Bryan Creek
 MI            040301100205   Cody Creek-West Branch Escanaba River
 MI            040301100206   Gleason Creek-West Branch Escanaba River
 MI            040301100301   Wilson Creek-Escanaba River
 MI            040301100303   Little West Branch
 MI            040301100304   Boney Falls Basin-Escanaba River
 MI            040301100305   Squaw Creek
 MI            040301100306   Hunters Brook
 MI            040301100307   Bobs Creek-Escanaba River
 MI            040301100308   Bichler Creek-Escanaba River
 MI            040301110208   Black George Creek-Frontal Little Bay De Noc
 MI            040301110209   Squaw Creek
 MI            040301110210   Portage Creek-Frontal Little Bay De Noc
 MI            040301120101   Southtown Creek-Frontal Lake Michigan
 MI            040301120102   Snyder Creek-Frontal Lake Michigan
 MI            040301120103   Bursaw Creek
 MI            040301120104   Puffy Creek-Frontal Lake Michigan
 MI            040301120105   Valentine Creek-Frontal Big Bay De Noc
 MI            040301120203   Dana Lake-Sturgeon River
 MI            040301120204   Eighteenmile Creek
 MI            040301120205   Little Black Creek-Sturgeon River
 MI            040301120206   Mormon River-Sturgeon River
 MI            040301120207   Sturgeon River
 MI            040301120209   Big River-Frontal Big Bay De Noc
 MI            040601020104   Houghton Lake
 MI            040601060203   Twomile Ditch-Fox River
 MI            040601060207   Dead Creek-Fox River
 MI            040601060302   Walsh Creek
 MI            040601060303   C-Three Pool-Walsh Creek
 MI            040601060304   Walsh Ditch
 MI            040601060305   Holland Ditch



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 States        HUC12          Name
 MI            040601060402   Middle Branch Stutts Creek
 MI            040601060403   North Branch Stutts Creek
 WI            070500010509   White Birch Creek-Chippewa River
 WI            070500010704   Amacoy Lake-Chippewa River
 WI            070500010904   Holcolmbe Flowage-Chippewa River
 MI            040601020308   North Branch Creek-West Branch Clam River
 MI            040601020309   West Branch Clam River
 MI            040601020310   Dyer Lake-Clam River
 MI            040601020401   Wolf Creek
 MI            040601020402   Bear Creek-Muskegon River
 MI            040601020403   South Branch Town Line Creek
 MI            040601020404   Town Line Creek
 MI            040601020503   Middle Branch River
 MI            040601020504   Dishwash Creek-Muskegon River
 MI            040601020505   Doc and Tom Creek
 MI            040601020506   Whetstone Creek-Muskegon River
 MI            040601020507   Chippewa Creek-Muskegon River
 MI            040601020601   Big Stone Creek
 MI            040601020602   East Branch Hersey River
 MI            040802010204   Farm Drain-Cedar River
 MI            040802010301   Newton Creek
 MI            040802010302   Harden Creek-South Branch Tobacco River
 MI            040802010303   Sanford Creek-South Branch Tobacco River
 MI            040802010304   Bailey Creek-South Branch Tobacco River
 MI            040802010305   Middle Branch Tobacco River
 MI            040802010306   Spike Horn Creek-North Branch Tobacco River
 MI            040802010307   North Branch Tobacco River
 MI            040802010308   Little Cedar River
 MI            040802010309   Coolidge Drain-Tobacco River
 MI            040802040102   Hunters Creek
 MI            040802050204   White Creek
 MI            040802050206   Sucker Creek
 MI            040802050301   Goodings Creek
 MI            040802050302   Perry Creek
 MI            040802050304   Dead Creek
 MI            040601020405   Floodwood Creek
 MI            040601020406   Cranberry Creek-Muskegon River
 MI            040601050708   Belangers Creek-Frontal Grand Traverse Bay
 MI            040601060101   South Manistique Lake
 MI            040601060407   Creighton River
 MI            040601060409   Section Nineteen Creek-West Branch Manistique River
 MI            040601060410   Hickey Creek



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 States        HUC12          Name
 MI            040601060411   Stutts Creek
 MI            040802040401   Whipple Drain-Flint River
 MI            040802040402   Hasler Creek
 MI            040802040403   Holloway Reservoir-Flint River
 MI            040802040404   Duck Creek-Kearsley Creek
 MI            040802040405   Cummings Drain-Kearsley Creek
 MI            040802040406   Black Creek
 MI            040802040407   Butternut Creek
 MI            040802040408   Kearsley Creek
 MI            040802040409   Clark Drain-Flint River
 MI            040802040410   Gilkey Creek-Flint River
 MI,WI         040301060504   Brule River
 MI            040601020202   Dead Stream
 MI            040601020203   Haymarsh Creek
 MI            040601020204   Headwaters West Branch Muskegon
 MI            040601020205   West Branch Muskegon
 MI            040601020206   Headwaters Butterfield Creek
 MI            040601020806   Little Whitefish Lake
 MI            040601020807   Big Creek
 MI            040601020808   Quigley Creek-Little Muskegon River
 MI            040601020809   Tamarack Creek
 MI            040601020810   Handy Creek-Little Muskegon River
 MI            040601020901   Croton Dam Pond-Muskegon River
 MI            040601020902   Bigelow Creek
 MI            040601020903   Penoyer Creek-Muskegon River
 MI            040601020904   Fourmile Creek-Muskegon River
 MI            040601020905   Brooks Creek
 MI            040601030701   Tippy Dam Pond-Manistee River
 MI            040601030702   Pine Creek-Manistee River
 MI            040601030703   Larson Creek-Manistee River
 MI            040601030704   Claybank Creek-Manistee River
 MI            040601030705   Manistee Lake-Manistee River
 MI            040700050211   Gregg Creek-Black River
 MI            040700050102   Little Rainy River
 MI            040601020207   Dead Stream Flooding-Muskegon River
 MI            040601020208   Butterfield Creek
 MI            040601020209   Nellsville Ditch-Muskegon River
 MI            040601020301   Mitchell Creek
 MI            040601020302   Lake Cadillac-Clam River
 MI            040601020303   Pleasant Lake-Clam River
 MI            040601020304   Cunnerson Creek-Clam River
 MI            040601020305   Mosquito Creek



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 States        HUC12          Name
 MI            040601020306   Taylor Creek-Clam River
 MI            040601020307   Town of Falmouth-Clam River
 MI            040601021003   Bear Creek
 MI            040802030305   Headwaters Potato Creek
 MI            040802030306   Potato Creek
 MI            040802030307   Upper Beaver Creek
 MI            040802030308   Middle Beaver Creek
 MI            040802030310   South Fork Bad River
 MI            040802030311   Lower Beaver Creek
 MI            040700050207   Canada Creek
 MI            040601030308   Eddington Creek-Manistee River
 MI            040601030309   Peterson Creek
 MI            040601030310   Hinton Creek-Manistee River
 MI            040601030401   North Branch Pine River
 MI            040601030402   East Branch Pine River
 MI            040601030403   Coe Creek
 MI            040601030404   Beaver Creek-Pine River
 MI            040601030405   Poplar Creek-Pine River
 MI            040601030406   Wildcat Swamp-Pine River
 MI            040601030501   Dutchman Creek-Bear Creek
 MI            040601060503   Delias Run-Indian River
 MI            040601060504   Little Murphy Creek-Indian River
 MI            040601060505   Big Murphy Creek
 MI            040601060506   Iron Creek-Indian River
 MI            040601060507   Dead Creek
 MI            040601060508   Smith Creek
 MI            040601060509   Indian Lake-Indian River
 MI            040601060601   Bear Creek
 MI            040802030101   Marion and Genoa Drain-South Branch Shiawasee River
 MI            040802030103   Cook Lake-South Branch Shiawasee River
 MI            040802030104   Bogue Creek
 MI            040802030105   Yellow River Drain
 MI            040802030109   Runyan Creek
 MI            040802030110   South Branch Shiawasee River
 MI            040802030111   Byron Millpond-Shiawasee River
 MI            040802030201   Jones Creek
 MI            040802030203   Holly Drain
 MI            040802030204   Webb Creek
 MI            040802030205   Scribner Drain-Shiawassee River
 MI            040802030206   Osburn Drain-Shiawassee River
 MI            040802040207   Fitch Drain-North Branch Flint River
 MI            040802040208   Crystal Creek-North Branch Flint River



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 States        HUC12          Name
 MI            040802040301   Kimball Drain
 MI            040802040302   Dollar Lake-Swartz Creek
 MI            040802040303   Zimmerman Branch-Thread Creek
 MI            040802040304   West Branch Swartz Creek
 MI            040802040305   Indian Creek-Swartz Creek
 MI            040802040306   Thread Creek
 MI            040601020501   Green Creek
 MI            040601020502   Crocker Creek-Middle Branch River
 MI            040601021004   Muskegon Lake-Muskegon River
 MI            040601030102   Goose Creek
 MI            040601030106   Manistee Lake-North Branch Manistee River
 MI            040601030107   Big Cannon Creek
 MI            040601030108   North Branch Manistee River
 MI            040601050305   Spencer Creek-Torch Lake
 MI            040601050405   Elk Lake-Elk River
 MI            040601050501   Crofton Creek-North Branch Boardman River
 MI            040601050502   South Branch Boardman River
 MI            040601050503   North Branch Boardman River
 MI            040601050504   Brown Bridge Pond-Boardman River
 MI            040802040104   Farmers Creek
 MI            040802040106   South Branch Flint River
 MI            040802040203   Indian Creek
 MI            040900030106   Krohn Drain-Stony Creek
 MI            040900030107   West Branch Stony Creek
 MI            040900030108   Pontiac Creek-Clinton River
 MI            040900030109   Stony Creek
 MI            040900030110   Paint Creek
 MI            040900030111   Galloway Creek-Clinton River
 MI            040900030201   Gibson Drain-Plum Brook
 MI            040601050607   Susan Creek-Frontal Lake Michigan
 MI            040601050701   McGeach Creek-Frontal Grand Traverse Bay
 MI            040802010502   McDonald Drain-North Branch Salt River
 MI            040802030405   Weeks Drain
 MI            040802030406   Hatch Run-Swan Creek
 MI            040802030407   Swan Creek
 MI            040802030408   Marsh Creek
 MI            040802030409   Birch Run
 MI            040802040204   Wilson Drain-North Branch Flint River
 MI            040802040205   Squaw Lake-Squaw Creek
 MI            040802040206   Squaw Creek
 MI            040802040504   Armstrong Creek-Flint River
 MI            040802040505   Crawford Drain-Misteguay River



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 States        HUC12          Name
 MI            040802040506   Onion Creek-Misteguay River
 MN,WI         070300011202   Hay Creek-Saint Croix River
 MN,WI         070300011203   City of Danbury-Saint Croix River
 MN,WI         070300011205   Barrett Creek-Saint Croix River
 MI            040601020603   Lincoln Creek
 MI            040601020604   Burt Creek-Hersey River
 MI            040601020605   Twin Creek-Muskegon River
 MI            040601020606   Hersey River
 MI            040601020607   Cat Creek-Muskegon River
 MI            040601020701   Buckhorn Creek-Muskegon River
 MI            040601020702   Dalziel Creek-Muskegon River
 MI            040601050702   Birch Lake-Frontal Grand Traverse Bay
 MI            040601050703   Petobego Pond-Frontal East Arm Grand Traverse Bay
 MI            040601050704   Acme Creek-Frontal East Arm Grand Traverse Bay
 MI            040601050706   Prescott Lake-Frontal Grand Traverse Bay
 MI            040601050707   Cedar Creek-Frontal West Arm Grand Traverse Bay
 MI            040802030106   North Ore Creek
 MI            040802030107   Patterson Hooy Drain-Shiawasee River
 MI            040802030108   Lake Ponemah-Shiawasee River
 MI            040802040307   Carman Creek-Swartz Creek
 MI            040802040501   Cole Creek-Flint River
 MI            040802040502   Freeman Drain-Flat River
 MI            040802040503   Brent Run
 MI            040900030202   Meckler Drain-Red Run
 MI            040900030203   Big Beaver Creek
 MI            040900030204   Plum Brook
 MI            040900030311   Middle Branch Clinton River
 MI            040900030312   Hafel Drain-North Branch Clinton River
 MI            040900030401   Harrington Drain
 MI            040900030402   Cranberry Marsh Drain-Clinton River
 MI            040601020703   Ryan Creek
 MI            040601020704   Cold Spring Creek-Muskegon River
 MI            040601020705   Bennett Creek-Muskegon River
 MI            040601020706   Hardy Dam Pond-Muskegon River
 MI            040601020801   West Branch Little Muskegon River
 MI            040601020802   East Branch Little Muskegon River
 MI            040601020803   Brackway Creek-Little Muskegon River
 MI            040601020804   Brandy Creek-Tamarack Creek
 MI            040601020805   Weatherby Drain-Tamarack Creek
 MI            040601020906   Minnie Creek-Muskegon River
 MI            040601021001   Cedar Creek
 MI            040601021002   Mosquito Creek-Muskegon River



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 States        HUC12          Name
 MI            040601030109   Big Devil Creek-Manistee River
 MI            040601030201   Little Cannon Creek
 MI            040601030202   Maple Creek-Manistee River
 MI            040601030203   Ham Creek
 MI            040601030204   Hopkins Creek
 MI            040601030205   Hopkins Creek-Manistee River
 MI            040601030206   Fife Lake Outlet
 MI            040601030207   Chase Creek-Manistee River
 MI            040601030208   Manton Creek-Manistee River
 MI            040601030209   Buttermilk Creek-Manistee River
 MI            040601030301   Anderson Creek
 MI            040601030302   Soper Creek-Manistee River
 MI            040601030303   Cole Creek-Manistee River
 MI            040601030304   Fletcher Creek
 MI            040601030305   Burkett Creek-Manistee River
 MI            040601030306   Hodenpyl Dam Pond-Manistee River
 MI            040601030307   Slagle Creek
 MI            040601030502   Little Bear Creek
 MI            040601030503   Lemon Creek-Bear Creek
 MI            040601030504   Little Beaver Creek-Bear Creek
 MI            040601030505   Boswell Creek-Bear Creek
 MI            040601030601   Twin Creek
 MI            040601030602   Lincoln Creek-Little Manistee River
 MI            040601030603   Stronach Creek
 MI            040601030604   Elbow Lake-Little Manistee River
 MI            040601030605   Tank Creek-Little Manistee River
 MI            040601030606   Old Stronach Cemetery-Little Manistee River
 MI            040601050204   Jordan River
 MI            040601050206   South Arm Lake Charlevoix
 MI            040601050207   Loeb Creek-Lake Charlevoix
 MI            040601050505   East Creek
 MI            040601050506   Jaxon Creek-Boardman River
 MI            040601050507   Boardman Lake-Boardman River
 MI            040601060306   Driggs River
 MI            040601060307   Mead Creek
 MI            040601060308   Pine Creek-Manistique River
 MI            040601060309   Duck Creek
 MI            040601060310   Marsh Creek-Manistique River
 MI            040601060412   Hay Meadow Creek-West Branch Manistique River
 MI            040601060602   Merwin Creek-Manistique River
 MI            040601060603   Sturgeon Hole Creek
 MI            040601060604   Jamestown Slough-Manistique River



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 States        HUC12          Name
 MI            040601070201   East Mile Creek-Frontal Lake Michigan
 MI            040601070204   Lower Millecoquins River
 MI            040601070205   Rock River
 MI            040601070206   Crow River
 MI            040601070207   Point Patterson Creek-Frontal Lake Michigan
 MI            040601070208   Hudson Creek-Frontal Lake Michigan
 MI            040601070209   Milakokia River
 MI            040601070210   Bulldog Creek
 MI            040601070211   Marblehead Creek-Frontal Lake Michigan
 MI            040802010103   West Branch Tittabawassee River
 MI            040802010104   Elk Lake Creek-Titabawassee River
 MI            040802010201   Middle Branch Cedar River-Cedar River
 MI            040802010202   North Branch Cedar River
 MI            040802010203   Wiggins Lake-Cedar River
 MI            040802010401   Long Lake Creek-Sugar River
 MI            040802010402   Sugar River
 MI            040802010403   Smallwood Lake-Tittabawassee River
 MI            040802010408   Black Creek-Tittabawassee River
 MI            040802010501   Spring Creek-South Branch Salt River
 MI            040802040507   Reed Drain-Misteguay River
 MI            040802010503   South Branch Salt River
 MI            040802010504   North Branch Salt River
 MI            040802010505   Bluff Creek
 MI            040802010506   Howard Creek-Salt River
 MI            040802010507   Mud Creek-Salt River
 MI            040802010601   Carrol Creek
 MI            040802010605   Bullock Creek
 MI            040802030207   Sawyer Drain-Shiawassee River
 MI            040802030208   Mickels Creek-Shiawassee River
 MI            040802030209   Deer Creek-Shiawassee River
 MI            040802030312   Pickerel Creek
 MI            040802030313   Wolf Creek-Bad River
 MI            040802030401   Bear Creek
 MI            040802030402   Jo Drain
 MI            040802030403   Fleming Drain
 MI            040802030404   Whitmore Drain
 MI            040802040508   Northwood Creek
 MI            040802040509   Mitchell Creek-Misteguay River
 MI            040802040510   Pine Run
 MI            040802040511   Silver Creek
 MI            040802040512   Misteguay River
 MI            040802040513   Spring Brook Drain-Flat River



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 States        HUC12          Name
 MI            040802050103   Gerstenberger Drain-South Branch Cass River
 MI            040802050105   Middle Branch Cass River
 MI            040802050106   Stony Creek-South Branch Cass River
 MI            040802050110   Greenman Creek-South Branch Cass River
 MI            040802050201   Clark Drain-North Branch White Creek
 MI            040802050202   North Branch White Creek
 MI            040802050203   South Branch White Creek
 MI            040900020104   Massac Creek-Frontal Anchor Bay
 MI            040900020106   Harms Drain-Frontal Anchor Bay
 MI            040900020200   Clinton River Spillway-Frontal Lake Saint Clair
 MI            040900030101   Green Lake-Clinton River
 MI            040900030102   Sashabaw Creek
 MI            040900030103   Loon Lake-Clinton River
 MI            040900030104   Paint Creek Drain
 MI            040900030105   Lake Orion-Paint Creek
 MI            040900030205   McCoy Drain-Red Run
 MI            040900030306   Coon Creek
 MI            040900030307   Yates Drain-Middle Branch Clinton River
 MI            040900030308   Healy Drain
 MI            040900030309   Gloede Ditch
 WI            070500010307   Moores Bay-Lake Chipppewa
 WI            070500010501   Radison Flowage-Chippewa River
 WI            070500010702   Clear Creek-Chippewa River
 MI            040700050213   Bowen Creek-Black River
 CA            181002041600   Salton Sea
 CA            181002040401   Midway Well
 CA            181002040405   181002040405
 CA            181002040801   Town of El Centro
 CA,MX         181002040802   Ash Main Canal-Alamo River
 CA            181002040803   Town of Fuller-Alamo River
 CA            181002040804   Gieselmann Lake-Alamo River
 CA            181002040805   Ramer Lake-Alamo River
 CA            181002040807   Town of Calipatria-Alamo River
 CA            181002041008   Salt Creek Slough
 CA,MX         181002041101   Upper New River
 CA            181002041103   Middle New River
 CA            181002041104   Lower New River
 CA            181002041303   181002041303
 CA            181002041304   181002041304
 CA            181002041309   Town of Niland-Frontal Salton Sea
 CA            181002041401   181002041401
 CA            181002041402   Obsidian Butte-Frontal Salton Sea



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 States        HUC12          Name
 CA            181002041403   181002041403-Frontal Salton Sea
 CA            181002041404   Kane Spring-Frontal Salton Sea
 MA            010802010702   Stony Brook-Connecticut River
 MA            010802010610   Dry Brook-Connecticut River
 MA            010802010602   Russellville Brook-Connecticut River
 MA            010802020204   Beaver Brook-Millers River
 MA            010802020201   Otter River
 MA            010802020205   Mill Brook-Millers River
 MA            010802020207   Lyons Brook-Millers River
 MA            010802020206   Moss Brook-Millers River
 MA            010802010503   Fourmile Brook-Connecticut River
 MA,NH         010700061207   Fish Brook-Merrimack River
 MA,NH,VT      010802010501   Pauchaug Brook-Connecticut River
 MA,NH         010802020202   Lawrence Brook
 MA,NH         010802020203   Tully River
 MA,NH         010700061206   Limit Brook-Merrimack River
 MA,NH         010802020103   Tarbell Brook-Millers River
 MA,NH         010700061404   Outlet Merrimack River
 NH            010600031003   Taylor River
 ME            010600031105   Appledore Island
 MA,NH         010600031005   Hampton River-Frontal Atlantic Ocean
 NH            010600030901   Winnicut River
 NH            010600031002   Berrys Brook-Frontal Rye Harbor
 NH            010600030806   Squamscott River
 NH            010600030904   Great Bay
 NH            010600030709   Lamprey River
 ME,NH         010600031001   Piscataqua River-Frontal Portsmouth Harbor
 NH            010600030902   Oyster River
 NH            010600030903   Bellamy River
 ME,NH         010600030507   Lower Salmon Falls River
 ME,NH         010600030506   Middle Salmon Falls River
 NH            010600030608   Lower Cocheco River
 CN,MI         040900020000   040900020000
 MI            040301100101   Halfway Creek-Middle Branch Escanaba River
 MI            040301100105   Greenwood Reservoir Outlet-Middle Branch Escanaba River
 MI            040301100106   Schweitzer Creek
 MI            040301100107   Goose Lake Outlet
 MI            040301100108   Warner Creek-East Branch Escanaba River
 MI            040301100110   East Branch Escanaba River
 MI            040301100302   Sawmill Creek
 MI            040301120201   West Branch Sturgeon River
 MI            040301120202   Camp R Creek-Sturgeon River



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 States        HUC12          Name
 MI            040601020101   Higgins Lake
 MI            040601020102   Denton Creek
 MI            040601020103   Backus Creek
 MI            040601020201   Willow Run
 MI            040601030101   Frenchman Creek-Manistee River
 MI            040601030103   Lost Lake-Manistee River
 MI            040601030104   Portage Creek-Manistee River
 MI            040601030105   Black Creek-Manistee River
 MI            040601050203   North Branch Boyne River
 MI            040601050205   Boyne River
 MI            040601050601   French Farm Creek-Frontal Trails End Bay
 MI            040601050603   Wycamp Creek-Frontal Lake Michigan
 MI            040601050604   Horseshoe Bend-Frontal Lake Michigan
 MI            040601050605   Fivemile Creek-Frontal Lake Michigan
 MI            040601060102   Black Creek
 MI            040601060103   Locke Creek-Manistique Lake
 MI            040601060201   West Branch Fox River
 MI            040601060202   Little Fox River-Fox River
 MI            040601060204   Camp Seven Creek-East Branch Fox River
 MI            040601060205   Deer Creek-East Branch Fox River
 MI            040601060206   East Branch Fox River
 MI            040601060301   Negro Creek-Driggs River
 MI            040601060401   Beaver Creek-North Branch Stutts Creek
 MI            040601060404   South Branch Stutts Creek
 MI            040601060405   Star Creek
 MI            040601060406   Stoner Creek-Creighton River
 MI            040601060408   Prairie Creek-Hickey Creek
 MI            040601060501   Squaw Creek-Indian River
 MI            040601060502   Little Indian River
 MI            040601070101   Cut River-Frontal Lake Michigan
 MI            040601070102   Point Aux Chenes River
 MI            040601070104   Bervoort River
 MI            040601070105   Davenport Creek-Frontal Lake Michigan
 MI            040601070106   Hog Island Creek
 IL,IN,MI,WI   040602000000   Lake Michigan
 MI            040802010101   Middle Branch Tittabawassee River
 MI            040802010102   East Branch Tittabawassee River
 MI            040802010404   Little Molasses River
 MI            040802010405   Molasses River
 MI            040802010406   Black Creek-Tittabawassee River
 MI            040802010407   Wixom Lake-Tittabawassee River
 MI            040802010602   Grass Creek-Sturgeon Creek



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 States        HUC12          Name
 MI            040802010603   Sturgeon Creek
 MI            040802010604   Prairie Creek-Tittabawassee River
 MI            040802010606   Sarle Drain-Tittabawassee River
 MI            040802030410   Ferguson Bayou-Shiawassee River
 MI            040802040101   Whigville Creek-South Branch Flint River
 MI            040802040103   Pine Creek-South Branch Flint River
 MI            040802040105   Plum Creek Drain-South Branch Flint River
 MI            040802040201   Elm Creek-North Branch Flint River
 MI            040802040202   Gravel Creek-North Branch Flint River
 MI            040802050101   Spring Drain-South Branch Cass River
 MI            040802050102   Duff Creek-South Branch Cass River
 MI            040802050104   Hartel Drain-Middle Branch Cass River
 MI            040802050107   South Fork Cass River
 MI            040802050108   Tyre Drain-North Branch Cass River
 MI            040802050109   North Branch Cass River
 MI            040802050205   Cedar Run-White Creek
 MI            040802050207   Butternut Creek-White Creek
 MI            040802050208   Scott Drain-White Creek
 MI            040802050209   Moore Drain-White Creek
 MI            040802050303   Millington Creek-Cass River
 MI            040802050305   Cole Creek-Cass River
 MI            040802050306   Town of Bridgeport-Cass River
 MI            040900020101   Swartout Creek-Frontal Anchor Bay
 MI            040900030301   McKay Ditch-North Branch Clinton River
 MI            040900030302   Highbank Creek
 MI            040900030303   East Branch Coon Creek
 MI            040900030304   Farley Drain-North Branch Clinton River
 MI            040900030305   East Pond Creek
 MI            040900030310   Deer Creek-North Branch Clinton River
 MI            040900010407   Baird Drain-Belle River
 MI            040900010307   Bunce Creek-Frontal Saint Clair River
 MI            040900010305   Rattle Run
 MI            040900010306   Pine River
 MI            040900010302   South Branch Pine River
 MI            040900010401   North Branch Belle River
 MI            040900010304   Holland Drain-Pine River
 CN,MI         040803000100   Joseph Island-Frontal Lake Huron
 MI            040900010206   Kolb Drain-South Branch Mill Creek
 MI            040900010214   Stocks Creek-Black River
 MI            040900010212   Mill Creek
 MI            040900010204   Brant Lake Drain-North Branch Mill Creek
 MI            040900010210   White Drain-Mill Creek



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 States        HUC12          Name
 MI            040900010207   South Branch Mill Creek
 MI            040900010213   Glyshaw Drain-Black River
 MI            040900010205   Madison Drain-Elk Lake Creek
 MI            040900010208   North Branch Mill Creek
 MI            040801040207   Milwaukee Creek-Frontal Lake Huron
 MI            040900010209   Thompson Drain-Mill Creek
 MI            040900010203   Silver Creek
 MI            040900010201   Jackson Creek-Black Creek
 MI            040900010105   Lapeer and Sanilac Drain-Elk Creek
 MI            040900010211   Plum Creek-Black River
 CN,MI         040803000200   Manitoulin Island
 MI            040801040206   Birch Creek
 MI            040900010202   Black Creek
 MI            040900010106   East Branch Speaker and Maple Valley Drain
 MI            040900010108   Elk Flynn and Maple Valley Drain-Elk Creek
 MI            040900010107   McDonald Drain
 MI            040900010114   Mills Creek-Black River
 MI            040900010110   Potts Drain
 MI            040900010109   Beals Frizzle Drain-Elk Creek
 MI            040900010111   Elk Creek
 MI            040802060201   Crow Island-Saginaw River
 MI            040900010113   Papst Drain-Black River
 MI            040802060103   Trombley Drain-Cheboyganing Creek
 MI            040900010112   Carsonville Drain-Black River
 MI            040802060203   Dutch Creek
 MI            040801030102   Quanicassee River
 MI            040900010103   Berry Drain
 MI            040801040204   Miller Creek-Frontal Lake Huron
 MI            040801020204   Bradford Creek-Kawkawlin River
 MI            040801040203   Sherman Creek-Frontal Lake Huron
 MI            040900010104   Wilkins Drain-Black River
 MI            040801030101   Walther Drain-Frontal Lake Huron
 MI            040801030105   Wisner Cemetery-Frontal Lake Huron
 MI            040801020206   Millpond Drain-Kawkawlin River
 MI            040801040202   Big Creek-Frontal Lake Huron
 MI            040900010102   Pelton Drain-Black River
 MI            040801040201   Indian Creek-Frontal Lake Huron
 MI            040801030107   Wiscoggin Drain-Frontal Lake Huron
 MI            040900010101   Darlington Drain-Black River
 MI            040801040111   Benhke Creek-Frontal Lake Huron
 MI            040801030110   Sebewaing River
 MI            040801020106   Gregory Drain-Frontal Lake Huron



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 States        HUC12          Name
 MI            040801020109   Tebo Drain
 MI            040801040110   County Line Creek-Frontal Lake Huron
 MI            040801040109   White Rock Creek-Frontal Lake Huron
 MI            040801020107   Pinconning River
 MI            040801020104   White Feather Creek-Frontal Lake Huron
 MI            040801020105   Saganing River
 MI            040801030403   Mud Creek-Frontal Lake Huron
 MI            040801040105   Spring Creek-Frontal Lake Huron
 MI            040801020103   Pine River
 MI            040801030204   Campau Drain-Pigeon River
 MI            040801010411   Saverine Creek
 MI            040801010502   Hemenway Drain-Frontal Lake Huron
 MI            040801010412   Townline Creek-Rifle River
 MI            040801040104   Ocha Creek-Frontal Lake Huron
 MI            040801040103   Willow Creek
 MI            040801030408   Grind Stone City-Frontal Lake Huron
 MI            040801030407   New River
 MI            040801010501   Plains Creek-Big Creek
 MI            040801010503   Schnitzelbank Creek-Frontal Lake Huron
 MI            040801010504   Mason Creek-Frontal Lake Huron
 MI            040801010405   Flowage Lake-West Branch Rifle River
 MI            040801010104   Dead Creek
 MI            040700070101   Lake Saint Helen-South Branch Au Sable River
 MI            040801010105   Tawas Lake-Tawas River
 MI            040700070103   South Creek-South Branch Au Sable River
 MI            040700070104   Robinson Creek
 MI            040700070107   Hudson Creek-South Branch Au Sable River
 MI            040700070102   East Creek
 MI            040700070106   Beaver Creek
 MI            040700070709   State Ditch-Au Sable River
 MI            040700070705   South Branch River
 MI            040700070109   Douglas Creek-South Branch Au Sable River
 MI            040700070708   Foote Dam-Au Sable River
 MI            040700070105   Headwaters Beaver Creek
 MI            040700070707   Cooke Dam-Au Sable River
 MI            040700070404   Headwaters West Branch Big Creek
 MI            040700070401   Loon Lake
 MI            040700070403   Hunt Creek
 MI            040700070108   Thayer Creek
 MI            040700070706   Smith Creek-Au Sable River
 MI            040700070703   Wilbur Creek
 MI            040700070601   Wallace Creek



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 States        HUC12          Name
 MI            040700070606   Roy Creek
 MI            040700070405   East Branch Big Creek
 MI            040700070402   Mack Lake
 MI            040700070110   Sauger Creek-South Branch Au Sable River
 MI            040700070605   South Branch Pine River
 MI            040700070609   Van Etten Lake-Pine River
 MI            040700070406   West Branch Big Creek-Big Creek
 MI            040700070308   Shellenbarger Lake-Au Sable River
 MI            040700070608   Duval Creek-Pine River
 MI            040700070310   Conners Marsh-Au Sable River
 MI            040700070602   McGillis Creek
 MI            040700070309   Wakeley Creek-Au Sable River
 MI            040700070704   Bamfield Creek-Au Sable River
 MI            040700070702   Penoyer Creek-Au Sable River
 MI            040700070501   Sohn Creek-Au Sable River
 MI            040700070701   Blockhouse Creek-Au Sable River
 MI            040700070505   Comins Creek-Au Sable River
 MI            040700070607   Van Etten Creek
 MI            040700070504   Cherry Creek-Au Sable River
 MI            040700070502   Honeywell Creek-Au Sable River
 MI            040700070603   West Branch Pine River
 MI            040700070306   Simpson Creek-Au Sable River
 MI            040700070604   East Branch Pine River
 MI            040700070304   Bright Lake
 MI            040700060502   West Branch River
 MI            040700070503   Perry Creek
 MI            040700070305   East Branch Au Sable River
 MI            040700060201   Marsh Creek
 MI            040700070208   West Branch Big Creek
 MI            040700070303   Kolke Creek
 MI            040700060202   Pike Creek-Upper South Branch Thunder Bay River
 MI            040700070209   East Branch Big Creek-Big Creek
 MI            040700070302   Bradford Creek
 MI            040700060503   Sucker Creek
 MI            040700070210   Carter Creek-North Branch Au Sable River
 MI            040700060501   Little North Creek
 MI            040700070205   Tea Lake-East Branch Big Creek
 MI            040700030406   Cedar Lake-Frontal Lake Huron
 MI            040700070206   Middle Branch Big Creek
 MI            040700070202   Chub Creek
 MI            040700060103   Little Wolf Creek
 MI            040700060102   McGinn Creek



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 States        HUC12          Name
 MI            040700030405   Black River
 MI            040700060504   Hubbard Lake-Lower South Branch Thunder Bay River
 MI            040700060303   Hunt Creek
 MI            040700070301   Lake Tecon-Kolke Creek
 MI            040700070207   Crapo Creek-North Branch Au Sable River
 MI            040700060305   Gilchrist Creek
 MI            040700070204   Big Bear Lake-West Branch Big Creek
 MI            040700030401   Cranberry Creek-Frontal Lake Huron
 MI            040700070203   Turtle Creek-North Branch Au Sable River
 MI            040700060304   Crooked Creek-Thunder Bay River
 MI            040700060104   Widner Creek-Wolf Creek
 MI            040700060203   Turtle Creek-Upper South Branch Thunder Bay River
 MI            040700060101   Beaver Creek
 MI            040700060505   Simmons Creek-Lower South Branch Thunder Bay River
 MI            040700060301   Barger Creek-Thunder Bay River
 MI            040700060307   Edwards Creek-Thunder Bay River
 MI            040700060105   Evans Creek-Wolf Creek
 MI            040700040301   South Branch Pigeon River-Pigeon River
 MI            040700050201   Saunders Creek-Black River
 MI            040700040101   Mossback Creek-Sturgeon River
 MI            040700060302   Smith Creek-Thunder Bay River
 MI            040700060306   Miller Creek
 MI            040700060309   Sucker Creek-Thunder Bay River
 MI            040700060204   Fletcher Pond-Upper South Branch Thunder Bay River
 MI            040700060506   Butterfield Creek-Lower South Branch Thunder Bay River
 MI            040700060308   Brush Creek
 MI            040700050202   Round Lake-Black River
 MI            040700040302   Lansing Club Pond-Pigeon River
 MI            040700050301   Mud Creek
 MI            040700030301   Schmidt Creek-Frontal Lake Huron
 MI            040700050302   Black Lake
 MI            040700040209   Hasler Creek-Burt Lake
 MI            040700030206   Ocqueoc Lake-Ocqueoc River
 MI            040700040204   Four Lakes-Maple River
 MI            040700050303   Owens Creek-Black River
 MI            040700040402   Mullet Creek
 MI            040700040206   Cold Creek-Maple River
 MI            040700040403   Mullet Lake
 MI            040700040203   Brush Creek
 MI            040700030104   Black Mallard River
 MI            040700050304   Black River
 MI            040700040207   Maple River



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 States        HUC12          Name
 MI            040700040205   Douglas Lake
 MI            040700040404   Tannery Gully-Cheboygan River
 MI            040700030101   Mill Creek-Frontal Lake Huron
 MI            040700020307   Rabbit Back Creek-Frontal Lake Huron
 MI            040700060507   King Creek-Lower South Branch Thunder Bay River
 MI            040700060602   Bean Creek
 MI            040700040102   Club Stream
 MI            040700060310   Jewett Creek-Thunder Bay River
 MI            040700030403   North Branch Devils River-Devils River
 MI            040700040104   Pickeral Creek-Sturgeon River
 MI            040700050204   Stewart Creek-Black River
 MI            040700050206   Montague Creek-Canada Creek
 MI            040700050203   East Branch Black River
 MI            040700040103   Thumb Lake-West Branch Sturgeon River
 MI            040700060401   Long Lake Creek-North Branch Thunder Bay River
 MI            040700060601   Truax Creek
 MI            040700030309   Grass Creek-Frontal Lake Huron
 MI            040700040303   Cornwall Creek-Pigeon River
 MI            040700060603   Gaffney Creek-Thunder Bay River
 MI            040700040106   Stewart Creek-Sturgeon River
 MI            040700060605   Fall Creek-Thunder Bay River
 MI            040700040105   West Branch Sturgeon River
 MI            040700060604   Lake Winyah-Thunder Bay River
 MI            040700050101   Rainy Lake-Rainy River
 MI            040700040304   MacAndrews Lake-Little Pigeon River
 MI            040700060403   Lost Lake-North Branch Thunder Bay River
 MI            040700050205   McMasters Creek
 MI            040700050208   Tomahawk Creek
 MI            040700050209   Silver Lake-Black River
 MI            040700040305   McIntosh Creek-Pigeon River
 MI            040700030306   Lake Esau-Frontal Lake Huron
 MI            040700060405   Erskine Creek-North Branch Thunder Bay River
 MI            040700060404   Sunken Lake-North Branch Thunder Bay River
 MI            040700050210   Gokee Creek-Milligan Creek
 MI            040700040201   Minnehaha Creek
 MI            040700060402   Quinn Creek
 MI            040700050103   East Branch Rainy River-Rainy River
 MI            040700040107   Beebe Creek-Sturgeon River
 MI            040700040401   Crumley Creek
 MI            040700040202   Pickerel Lake
 MI            040700040307   Wilkes Creek-Pigeon River
 MI            040700050212   Milligan Creek



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 States        HUC12          Name
 MI            040700040306   Little Pigeon River
 MI            040700030304   Little Trout River
 MI            040700050104   Cold Creek-Rainy River
 MI            040700030302   Trout River
 MI            040700040208   Crooked River
 MI            040700020302   Beaver Tail Creek-Frontal Lake Huron
 MI            040700020301   Albany Creek-Frontal Lake Huron
 MI            040700020303   McKay Creek-Frontal Lake Huron
 MI            040700020211   Garden Hill Creek-Pine River
 MI            040700020210   Elmhirst Creek-Pine River
 MI            040700020208   Chub Creek
 MI            040700010402   Carlton Creek-Frontal Saint Marys River
 MI            040700010403   Gogomain River
 MI            040700020207   Bear Creek
 MI            040700020203   Biscuit Creek
 MI            040700020202   Hemlock Creek-Pine River
 MI            040700010401   Fairview Cemetery-Frontal Saint Marys River
 MI            040700020209   Trout Lake-Pine River
 MI            040700010307   Lower Munuscong River
 MI            040700020206   North Pine River
 MI            040700020205   Black Creek
 MI            040700020201   Lumpson Creek-Pine River
 MI            040700010206   Little Munuscong River
 MI            040700020204   Prey Creek-North Pine River
 CN,MI,MN      040203000200   Isle Royale
 MI            040201020203   Tamarack River
 MI            040201020103   Grosbeck Creek-Cisco Branch Ontonagon River
 MI,WI         040201020102   Tenderfoot Creek
 MI            040201020204   McGinty Creek-Middle Branch Ontonagon River
 MI            040201020104   Twomile Creek
 MI            040201020402   Trout Brook
 MI            040201020401   Slate River
 MI            040201020108   Bluff Creek
 MI            040201020109   Sucker Creek
 MI            040201020107   Cisco Branch Ontonagon River
 MI            040201020205   Aho Creek-Middle Branch Ontonagon River
 MI            040202010101   Nelson Creek-Chocolay River
 MI            040201020302   Stony Creek
 MI            040201020303   Jumbo River
 MI            040201020301   Johns Creek-East Branch Ontonagon River
 MI            040202020302   South Branch Hendrie River
 MI            040201020106   Tenmile Creek



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 States        HUC12          Name
 MI            040202020201   Third Creek
 MI            040201020110   Kostlenick Creek-South Branch Ontonagon River
 MI            040201020304   Smith Creek-East Branch Ontonagon River
 MI            040202020303   West Branch Hendrie River
 MI            040202020104   Teaspoon Creek
 MI            040201020207   Tom Creek-Middle Branch Ontonagon River
 MI            040202020105   Headwaters Teaspoon Creek
 MI            040202020202   West Branch Sage River
 MI            040202020301   Upper Hendrie River
 MI            040202010304   Au Train River
 MI            040201020105   Iddings Creek-Tenmile Creek
 MI            040202020203   East Branch Sage River
 MI            040201020208   Pietala Creek-Baltimore River
 MI            040201020206   Trout Creek
 MI            040202010205   Deer Lake-Frontal Lake Superior
 MI            040201020209   Clear Creek
 MI            040201020403   Merriweather Creek
 MI            040202020204   Sage River
 MI            040201020404   Lake Gogebic-West Branch Ontonagon River
 MI            040202010201   Sand River
 MI            040202020304   Middle Hendrie River
 MI            040202010501   Gongeau Creek-Frontal Lake Superior
 MI            040201050106   Compeau Creek-Frontal Lake Superior
 MI            040202010504   Mosquito River-Frontal Lake Superior
 MI            040201010101   Omans Creek-Frontal Lake Superior
 MI            040201020305   Beaver Creek
 MI            040202020103   Mud Lake-Tahquamenon River
 MI            040201010206   Sand Island Creek-Black River
 MI            040202010503   Miners River
 MI            040201020306   Kitts Creek-East Branch Ontonagon River
 MI            040202020107   Sixteen Creek-Tahquamenon River
 MI            040201020406   Mill Creek
 MI            040202020305   Lower Hendrie River
 MI            040202020402   Grants Creek-East Branch Tahquamenon River
 MI            040201020111   Farmer Creek-South Branch Ontonagon River
 MI            040202020102   East Creek-Tahquamenon River
 MI            040201010102   Sahwa Creek-Frontal Lake Superior
 MI            040202020403   Riley Creek-East Branch Tahquamenon River
 MI            040202020502   Gimlet Creek
 MI            040202020401   Creek Number Eight-East Branch Tahquamenon River
 MI            040201020407   Erickson Creek-West Branch Ontonagon River
 MI            040201010310   Peboan Creek-Presque Island River



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 States        HUC12          Name
 MI            040201050205   Reany Creek-Dead River
 MI            040201020210   Baltimore River
 MI            040202020106   Silver Creek-Tahquamenon River
 MI            040202020501   Auger Creek
 MI            040201020405   Cascade Creek
 MI            040201020211   Spring Creek-Middle Branch Ontonagon River
 MI            040201020408   West Branch Ontonagon River
 MI            040202020504   Hiawatha Creek-Tahquamenon River
 MI            040201010102   Sahwa Creek-Frontal Lake Superior
 MI            040202020101   Syphon Creek-Tahquamenon River
 MI            040201020307   Newholm Creek
 MI            040202030103   Naomikong Creek-Frontal Lake Superior
 MI            040201050103   Harlow Creek
 MI            040201010105   Union River-Frontal Lake Superior
 MI            040202020503   Murphy Creek
 MI            040202020404   East Branch Tahquamenon River
 MI            040201020309   Deer Lick Creek-East Branch Ontonagon River
 MI            040202010505   Bear Creek-Frontal Lake Superior
 MI            040202020505   Poppe Creek-Tahquamenon River
 MI            040201050202   Mulligan Creek-Dead River
 MI            040201040203   Greenier Creek-West Branch Sturgeon River
 MI            040202020506   Callam Creek-Tahquamenon River
 MI            040201010108   Pine Creek-Frontal Lake Superior
 MI            040201010109   Duck Creek-Frontal Lake Superior
 MI            040201010110   Cranberry River
 MI            040201010112   Floodwood River-Frontal Lake Superior
 MI            040201010111   Potato River
 MI            040202020507   Bowers Creek-Tahquamenon River
 MI            040202010507   Sable Creek-Frontal Lake Superior
 MN            040101020402   Talmadge Creek-Frontal Lake Superior
 MI            040202020508   Cheney Creek-Tahquamenon River
 MI            040201050605   Silver River
 MI            040201020409   Mill Creek-Ontonagon River
 MN            040101020404   Lester River
 MI            040202010509   Muskallonge Lake-Frontal Lake Superior
 MI            040201050303   Yellow Dog River-Iron River
 MI            040202010606   Wabash Creek-Two Hearted River
 MI            040201030101   Paddys Creek-Frontal Lake Superior
 MI            040201030103   Flintsteel River
 MN            040101020303   Lower Knife River
 MI            040202010802   Little Two Hearted River
 MI            040201030106   Firesteel River



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 States        HUC12          Name
 MI            040201050401   Salmon Trout River
 MI            040201050608   Peterson Creek-Frontal Lake Superior
 MI            040201050601   Little Carp River-Frontal Keweenaw Bay
 MI            040201030108   West Sleeping River-Frontal Lake Superior
 MI            040201030108   West Sleeping River-Frontal Lake Superior
 MI            040201050603   Little Silver Creek-Frontal Keweenaw Bay
 MI            040202010803   Carp River-Frontal Lake Superior
 MI            040201030507   Lahti Creek-Frontal Lake Superior
 MI            040201030202   Little Elm River-Frontal Lake Superior
 MI            040201030306   Pike River
 MI            040201040211   White Creek-Sturgeon River
 MI            040201030203   Elm River
 MI            040201030206   Tear Lake-Frontal Lake Superior
 MI            040201030204   Graveraet River
 MI            040201030302   Pilgrim River
 MI            040201030205   Salmon Trout River
 MI            040201030305   Torch Bay-Portage Lake
 MI            040201030301   Boston Creek
 MI            040201030307   Portage Lake-Portage River
 MI            040201030505   Mud Lake Creek
 MI            040201030304   Torch Lake
 MI            040201030504   Traverse River
 MI            040201030401   Hills Creek-Frontal Lake Superior
 MI            040201030402   Gratiot River
 MI            040201030503   Tobacco River
 MI            040201030506   Big Betsy River-Frontal Lake Superior
 MI            040201030403   Silver Lake-Frontal Lake Superior
 MI            040201030502   Little Gratiot River
 MI            040201030405   Silver River-Frontal Lake Superior
 MI,WI         040103020109   Montreal River
 MI            040201020308   Bond Creek-East Branch Ontonagon River
 MI            040201050403   Little Huron River-Frontal Lake Superior
 CN,MI,MN      040203000100   Nodaway Point-Frontal Lake Superior
 MN            040101020405   City of Duluth-Frontal Lake Superior
 MN,WI         040103010504   Allouez Bay-Frontal Lake Superior
 WI            040103010503   Nemadji River
 WI            040103010601   Bardon Creek-Frontal Lake Superior
 WI            040103010602   Poplar River-Frontal Lake Superior
 WI            040103010603   Middle River
 WI            040103010607   Lower Amnicon River-Frontal Lake Superior
 WI            040103010608   Dutchman Creek-Frontal Lake Superior
 WI            040103010705   Lower Bois Brule River



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 States        HUC12          Name
 WI            040103010806   Iron River
 WI            040103010807   Reefer Creek-Frontal Lake Superior
 WI            040103010901   Sand River
 WI            040103010902   Saxine Creek-Frontal Lake Superior
 WI            040103010904   Bark River-Frontal Lake Superior
 WI            040103010908   Larson Creek-Frontal Lake Superior
 WI            040103011002   Raspberry River-Frontal Lake Superior
 WI            040103011003   Red Cliff Creek-Frontal Lake Superior
 WI            040103011004   Pikes Creek
 WI            040103011007   Onion Rivers-Frontal Chequamegon Bay
 WI            040103011008   Whittlesey Creek-Frontal Chequamegon Bay
 WI            040103011101   Beartrap Creek-Frontal Chequamegon Bay
 WI            040103011105   Fish Creek-Frontal Chequamegon Bay
 WI            040103020703   Graveyard Creek-Frontal Lake Superior
 WI            040103020705   Bad River-Frontal Lake Superior
 CN,MI,MN,WI   040203000300   Lake Superior
 CN,MI         040803000300   Lake Huron
 MI            040700010201   Waiska Creek-Frontal Saint Marys River
 MI            040700010202   Frechette Creek-Frontal Saint Marys River
 CN,MI         040700010000   040700010000
 MI            040700030103   Greene Creek-Frontal Lake Huron
 MI,WI         040201020101   Cisco Lake-Cisco Branch Ontonagon River
 MI            040201020201   Duck Creek
 MI            040201020202   Henderson Creek-Middle Branch Ontonagon River
 IN,KY         051401010904   Fall Run-Ohio River
 MN            040101011201   Kadunce River-Frontal Lake Superior
 MN            040101011202   City of Grand Marais-Frontal Lake Superior
 MN            090300010506   Moose Lake
 MN,WI         040102011603   Spirit Lake-Saint Louis River
 MN,WI         040102011604   Saint Louis River
 MN            040102011505   Thompson Reservoir-Saint Louis River
 MN            040101011105   Batpism River
 MN            040101011304   Caribou River
 MN,WI         040102011601   Red River-Saint Louis River
 MN            040102011503   City of Cloquet-Saint Louis River
 MN            040101010401   Headwaters Brule River
 MN            040101010302   Reservation River
 MN            040101011303   Two Island River
 MN            040101010301   Town of Grand Portage-Frontal Lake Superior
 MN            040101010304   Carlson Creek-Frontal Lake Superior
 MN            040101011302   City of Tofte-Frontal Lake Superior
 MN            040101011301   City of Lutsen-Frontal Lake Superior



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 States        HUC12          Name
 MN            040101010503   Devil Track River
 MN            040101010604   Lower Cascade River
 CN,MN         040101010208   Pigeon River
 MN            040101010409   Brule River
 MN            040101010705   Poplar River
 MN            040101011305   Taconite Harbor-Frontal Lake Superior
 MN            040101020406   Sucker River
 MN            040101020605   City of Two Harbors-Frontal Lake Superior
 MN            040101020602   Encampment River
 MN            040101020601   City of Castle Danger-Frontal Lake Superior
 MN            040101020503   Nelsens Creek-Frontal Lake Superior
 MN            040101020502   Split Rock River
 MN            040101020501   City of Silver Bay-Frontal Lake Superior
 CN,MI         040900010000   040900010000
 MI            040801040205   Twin Hill Creek-Frontal Lake Huron
 NY            041300010206   Cowsucker Creek-Frontal Lake Ontario
 NY            041300010205   Buttonwood Creek-Frontal Braddock Bay
 MN,ND         090203110502   County Ditch Number 55-Red River
 MN,ND         090203110503   City of Drayton-Red River
 MN,ND         090203110505   Town of Mattson-Red River
 MN,ND         090203110801   County Ditch Number 39-Red River
 MN,ND         090203110802   Lake Stella-Red River
 CN,MN,ND      090203110804   City of Pembina-Red River
 CT            011000020302   Little River
 CT            011000040102   Tenmile River
 CT            011000040103   Headwaters Quinnipiac River
 CT            011000040104   Muddy River
 CT            011000040105   Outlet Quinnipiac River
 CT            011000040208   Indian River-Frontal Long Island Sound
 CT            011000040301   Mill River
 CT            011000040302   West River
 CT            011000040304   Cove River-Frontal Long Island Sound
 CT            011000051302   Housatonic River-Frontal Long Island Sound
 CT            011000060301   Pequonnock River-Frontal Long Island Sound
 CT            011000060303   Rooster River-Frontal Long Island Sound
 CT,MA         011000050204   Ironwork Brook-Housatonic River
 CT,MA         011000050303   Blackberry River
 CT,MA         011000050306   Carse Brook-Housatonic River
 CT,NY         011000060401   Rippowam River-Frontal Stamford Harbor
 CT,NY         011000060405   Horseneck Brook-Frontal Long Island Sound
 MA            011000050101   West Branch Housatonic River
 MA            011000050103   East Branch Housatonic River



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 States        HUC12          Name
 MA            011000050104   Sackett Brook-Housatonic River
 MA            011000050105   Goose Pond Brook-Housatonic River
 MA            011000050107   Konkapot Brook-Housatonic River
 MA,NY         011000050201   Williams River
 MA,NY         011000050202   Green River
 ME,NH         010600031106   York Harbor-Atlantic Ocean
 ME,NH         010600031004   Rye Harbor-Atlantic Ocean
 MA            010900010701   Fuller Brook-Charles River
 MA            010900010703   Beaver Brook-Charles River
 MA            010900010801   Headwaters Neponset River
 MA            010900010802   East Branch Neponset River
 MA            010900010803   Outlet Neponset River
 MA            010900010903   Hingham Bay-Frontal Quincy Bay
 MA            010900011009   Quincy Bay
 MA            010900011010   Strawberry Ledge-Massachusetts Bay
 MA            010900011005   Boston Harbor
 MA            010900010704   Outlet Charles River
 MA            010900011006   Broad Sound-Massachusetts Bay
 MA            010900010502   Mystic River
 MA            010900020403   Outlet Buzzards Bay
 MA            010900020501   Noquochoke Lake
 MA            010900020401   Acushnet River
 TX            120402050500   Freeport Harbor Channel-Gulf of Mexico
 MA,NH         010600031006   Hampton Harbor Inlet-Atlantic Ocean
 HI            200600000600   Mamala Bay-Pacific Ocean
 NY,RI         020302020804   Block Island Sound
 CN,NY         041503090407   Wheeler Creek-Frontal Saint Lawrence River
 CN,NY         041503090602   Prescott-St. Lawrence River
 NY            041503100101   Tibbits Creek
 CN,NY         041503100102   Iroquois Dam-St. Lawrence River
 NY            041503100103   Little Sucker Brook-Sucker Brook
 NY            041503100201   Brandy Brook
 NY            041503100203   Coles Creek-Frontal Saint Lawrence River
 CN,NY         041503100104   Ogden Island-St. Lawrence River
 CN,NY         041503100206   Moses-Saunders Dam-St. Lawrence River
 CN,NY         041503100402   Cornwall Island-St. Lawrence River
 MA,NH         010700061402   Creek Brook-Merrimack River
 WA            171100190900   South Puget Sound
 WA            171100190304   Sequalitchew Creek-Frontal Cormorant Passage
 DE,NJ         020403030601   Delaware Seashore State Park-Atlantic Ocean
 MI            040301060102   Winslow Creek-North Branch Paint River
 NY            041401010206   Amherst Island-Frontal Lake Ontario



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 States        HUC12          Name
 IN            040500011003   Long Lake-Pigeon Creek
 IN            040500011004   Headwaters Turkey Creek
 IN            040500011504   Waterhouse Ditch-Henderson Lake Ditch
 IN            040500011505   Oviate Ditch-Middle Branch Elkhart River
 IN            040500011601   Rivir Lake-Forker Creek
 IN            040500012204   Willow Creek-Saint Joseph River
 IN            041000030403   Hamiton Lake
 IN            041000030602   Dibbling Ditch-Cedar Creek
 IN,MI         040500010103   Tallahassee Drain
 IN,MI         041000030203   West Fork West Branch Saint Joseph River
 AL,GA         031501050206   Ballplay Creek-Coosa River
 AL            031501050207   Coosa River-Weiss Lake
 AL            031501050303   Cowan Creek
 AL            031501050304   Three Mile Creek-Spring Creek
 AL            031501050605   Chattooga River-Upper Weiss Lake
 AL            031501050807   Mud Creek-Spring Creek
 AL,GA,TN      060200011204   Lower Nickajack Lake-Tennessee River
 AL            031501051001   Jones Branch-Yellow Creek
 AL            031501051002   Weiss Lake
 AL            031501051003   Weiss Lake-Coosa River
 AL            031501060204   Turkey Town Creek
 AL,TN         060300010201   Jones Creek-Tennessee River
 AR,TN         080101000703   Loosahatchie Bar-Mississippi River
 DE            020402070403   Spring Creek
 DE            020402070405   Murderkill River-Frontal Delaware Bay
 DE            020402070406   Brockonbridge Gut-Frontal Delaware Bay
 DE            020402070503   Middle Mispillion River
 DE            020402070504   Slaughter Creek-Frontal Delaware Bay
 DE            020402070505   Lower Cedar Creek
 DE            020402070506   Lower Missipillion River
 DE            020402070507   Grecos Canal-Delaware Bay
 DE            020402070602   Primehook Creek
 DE            020402070603   Beaverdam Creek-Broadkill River
 DE            020402070604   Canary Creek-Broadkill River
 CA            180701060402   Big Dalton Wash
 CA            180701060701   Long Beach Harbor
 DE            020402070605   Breakwater Harbor-Delaware Bay
 DE            020403030101   Wolfe Glade-Lewes and Rehoboth Canal
 DE            020403030104   Lewes and Rehoboth Canal-Frontal Rehoboth Bay
 DE            020403030205   White Creek-Frontal Indian River Bay
 DE            020403030206   Indian River-Frontal Indian River Bay
 DE,NJ         020402040000   Delaware River-Delaware Bay



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 States        HUC12          Name
 DE,PA         020402050303   East Branch White Clay Creek
 DE,PA         020402050402   Middle Brandywine Creek
 DC,MD         020700100102   Lower Rock Creek
 DC,MD         020700100201   Northwest Branch Anacostia River
 DC,MD         020700100204   Beaverdam Creek-Anacostia River
 DC,VA         020700100103   Pimmit Run-Potomac River
 DC,MD,VA      020700100301   Four Mile Run-Potomac River
 DC,MD,VA      020700100307   Little Hunting Creek-Potomac River
 DE            020402050403   Lower Brandywine Creek
 DE            020402050503   Middle Christina River
 DE            020402050504   Little Mill Creek
 DE            020402050505   Lower Christina River
 DE            020402050601   Stoney Creek-Frontal Delaware River
 DE            020402050602   Shellpot Creek-Frontal Delaware River
 DE            020402050701   Broad Dyke Canal-Frontal Delaware River
 DE            020402050702   Army Creek-Frontal Delaware River
 DE            020402050703   Red Lion Creek-Frontal Delaware River
 DE            020402050704   Dragon Creek-Frontal Delaware River
 DE            020402050705   Chesapeake and Delaware Canal-Frontal Delaware River
 DE            020402050801   Augustine Creek-Frontal Delaware River
 DE            020402050802   Appoquinimink River-Frontal Delaware River
 DE            020402050803   Blackbird Creek-Frontal Delaware River
 DE            020402070101   Duck Creek
 DE            020402070102   Smryna River
 DE            020402070103   Cedar Swamp-Frontal Delaware Bay
 DE            020402070202   Lower Lepsic River
 DE            020402070203   Duck Creek-Frontal Delaware Bay
 DE            020402070204   Simons River-Frontal Delaware Bay
 DE            020402070205   Little River-Frontal Delaware Bay
 DE            020402070301   Upper Saint Jones River
 DE            020402070302   Issac Branch
 DE            020402070303   Tidbury Creek
 DE            020402070304   Lower Saint Jones River
 CA            180701020904   Harmon Canyon-Santa Clara River
 CA            180701030202   McGrath Lake-Frontal Pacific Ocean
 CA            180701040300   Ballona Creek
 CA            180701040403   Santa Monica Beach-Frontal Santa Monica Bay
 CA            180701050302   Santa Anita Wash-Rio Hondo
 IL,IN         040400010603   Calumet River-Frontal Lake Michigan
 IL            071200030107   South Branch Chicago River-Chicago Sanitary and Ship Canal
 IL,KY         051402060701   Bayou Creek-Ohio River
 IL,WI         040400020501   Waukegan River-Frontal Lake Michigan



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 States        HUC12          Name
 GA,TN         060200011003   Chattanooga Creek
 IL            040400020502   Diversey Harbor-Frontal Lake Michigan
 IL            040400020503   Oakwoods Cemetery-Frontal Lake Michigan
 MD            020700100303   Henson Creek
 MD            020700100305   Piscataway Creek
 MD            020700110102   Marbury Run-Mattawoman Creek
 MD            020700110302   Burgess Creek-Nanjemoy Creek
 MD            020700110304   Port Tobacco River
 MD            020700110306   Piccowaxen Creek-Frontal Potomac River
 MD            020700110504   Charleston Creek-Wicomico River
 MD            020700110505   Whites Neck Creek-Frontal Potomac RIver
 MD            020700110701   Saint Clements Creek-Frontal Potomac RIver
 MD            020700110703   Glebe Run-Breton Bay
 MD            020700110704   Poplar Hill Creek-Frontal Potomac River
 MD            020700110903   Saint George Creek-Saint Marys River
 MD            020700110904   Jutland Creek-Frontal Potomac River
 MD,PA         020600020102   North East Creek
 DC,MD,VA      020700081005   Nichols Run-Potomac River
 MD            020700100203   Northeast Branch Anacostia River
 MD,VA         020700100805   Occoquan Bay-Potomac River
 MD,VA         020700110106   Tank Creek-Potomac River
 MD,VA         020700110207   Passapatanzy Creek-Potomac River
 MD,VA         020700110303   Chotank Creek-Potomac River
 MD,VA         020700110305   Gambo Creek-Potomac River
 MD,VA         020700110602   Rosier Creek-Frontal Potomac River
 MD,VA         020700110604   Popes Creek-Frontal Potomac River
 MD,VA         020700110802   Nomini Creek-Frontal Potomac River
 MD,VA         020700110803   Lower Machodoc Creek-Frontal Potomac River
 MD,VA         020700111001   Outlet Potomac River
 MD            020600010000   Upper Chesapeake Bay
 MD            020600020104   North East River-Frontal Chesapeake Bay
 MD            020600020105   Elk Neck-Frontal Chesapeake Bay
 MD            020600030501   Little Gunpowder Falls
 MD            020600030502   Long Green Creek-Gunpowder Falls
 MD            020600030601   Whitemarsh Run-Bird River
 MD            020600030602   Gunpowder River-Frontal Chesapeake Bay
 MD            020600030702   Redhouse Creek-Back River
 MD            020600030703   Back River-Frontal Chesapeake Bay
 MD            020600030902   Dead Run-Gywnns Falls
 MD            020600031102   Deep Run-Patapsco River
 MD            020600031103   Herbert Run-Patapsco River
 MD            020600031202   Curtis Creek-Curtis Bay



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 States        HUC12          Name
 MD            020600031203   Northwest Harbor-Patapsco River
 MD            020600031204   Patapsco River-Frontal Chesapeake Bay
 MT            100401030703   Upper Big Spring Creek
 MT            100401030704   Casino Creek
 MT            100401030705   Boyd Creek
 MT            100401030706   Middle Big Spring Creek
 MT            100401030707   Burnette Creek
 MT            100401030708   Lower Big Spring Creek
 MT            100401030711   Outlet Big Spring Creek
 MT            100401030905   Scotchman Coulee-Judith River
 NC,VA         030101020806   Beaver Pond Creek South-Grassy Creek
 NC,VA         030101020902   Island Creek
 NC,VA         030101021003   Nutbush Creek-John H Kerr Reservoir
 NC,VA         030101021004   Eastland Creek-John H Kerr Reservoir
 NY            020501010103   Oaks Creek
 NJ            020401050907   Alexauken Creek
 NJ            020402010103   Middle Crosswicks Creek
 NJ            020402010104   Doctors Creek
 NJ            020402010105   Lower Crosswicks Creek
 NJ            020402010401   Blacks Creek
 NJ            020402010402   Crafts Creek
 NJ            020402010406   Assiscunk Creek
 NJ            020402020104   Powells Run-North Branch Rancocas Creek
 NJ            020402020202   Barton Run-Southwest Branch South Branch Rancocas Creek
 NJ            020402020203   Little Creek-Southwest Branch South Branch Rancocas Creek
 NJ            020402020204   Jade Run-South Branch Rancocas Creek
 NJ            020402020302   Rancocas Creek
 NJ            020402020401   Pennsauken Creek
 NJ            020402020404   Cooper River
 NJ            020402020503   Big Timber Creek
 NJ            020402020506   Manuta Creek
 NJ            020402020606   Raccoon Creek
 NJ            020402060101   Game Creek
 NJ            020402060102   Headwaters Salem River
 DE,NJ         020402060103   Whooping John Creek-Frontal Delaware River
 DE,NJ         020402060105   Mill Creek-Frontal Delaware River
 DE,NJ         020402060106   Salem River-Frontal Delaware River
 NJ            020402060201   Cedar Brook-Alloway Creek
 NJ            020402060202   Town of Quinton-Alloway Creek
 DE,NJ         020402060203   Alloway Creek-Frontal Delaware River
 NJ            020402060301   Upper Cohansey River
 NJ            020402060302   Middle Cohansey River



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 States        HUC12          Name
 NJ            020402060303   Lower Cohansey River
 NJ            020402060402   Reed Branch-Still Run
 NJ            020402060403   Upper Muddy Run
 NY            020501010304   Lower Schenevus Creek
 NJ            020402060504   Buckshutem Creek
 NJ            020402060507   Muskee Creek-Maurice River
 NJ            020402060601   Sarah Run-Stow Creek
 DE,NJ         020402060602   Mad Horse Creek-Frontal Delaware Bay
 NJ            020402060603   Stow Creek-Frontal Delaware Bay
 NJ            020402060604   Back Creek-Frontal Delaware Bay
 NJ            020402060605   Oranoaken Creek-Frontal Delware Bay
 NJ            020402060701   Fishing Creek-Frontal Delaware Bay
 NJ            020402060702   Dennis Creek-Frontal Delaware Bay
 NJ            020402060703   West Creek-Frontal Delaware Bay
 NY            020501010406   Lower Charlotte Creek
 NY            020501010603   Ostego Lake-Susquehanna River
 NY            020501010604   Red Creek-Susquehanna River
 NY            020501010605   Goodyear Lake-Susquehanna River
 NJ            020403010705   Great Bay-Frontal Atlantic Ocean
 NJ,NY         020403010800   020403010800-Atlantic Ocean
 NJ            020403020301   Upper Tuckahoe River
 NJ            020403020302   Middle Tuckahoe River
 NJ            020403020303   Lower Tuckahoe River
 NJ            020403020403   Absecon Bay
 NY            020501010606   Oneonta Creek-Susquehanna River
 NJ            020403020404   Cape May Harbor-Cape May Inlet
 NJ            020403020405   Great Channel-Hereford Inlet
 NJ            020403020406   Townsend Channel-Townsends Inlet
 NJ            020403020407   Corson Inlet-Ludlam Bay
 NJ            020403020408   Great Egg Harbor Bay-Great Egg Harbor Inlet
 NJ            020403020500   Great Egg Harbor Inlet-Atlantic Ocean
 NY            020501011005   Lower Ouleout Creek
 NY            020501011102   Brier Creek-Susquehanna River
 NY            020501011103   Sand Hill Creek-Susquehanna River
 NJ,PA         020401050908   Paunnacussing Creek-Delaware River
 NJ,PA         020401050909   Pidcock Creek-Delaware River
 NJ,PA         020401050910   Jacobs Creek-Delaware River
 NJ,PA         020401050911   Buck Creek-Delaware River
 NJ,PA         020402010404   Van Sciver Lake-Delaware River
 NJ,PA         020402010407   Burlington Island-Delaware River
 NJ,PA         020402020305   Swede Run-Delaware River
 NJ,PA         020402020403   Pompeston Creek-Delaware River



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 States        HUC12          Name
 NJ,PA         020402020405   Petty Island-Delaware River
 NJ,PA         020402020507   Woodbury Creek-Delaware River
 DE,NJ,PA      020402020607   Repaupo Creek-Delaware River
 DE,NJ,PA      020402020608   Oldmans Creek-Delaware River
 NY            020501011104   Carrs Creek
 NY            020501011105   Martin Brook-Susquehanna River
 NY            020501011201   Bennettsville Creek
 NY            020501011202   Kelsey Brook
 NY            020501011203   Yaleville Brook-Susquehanna River
 NY            020501011205   Cornell Creek-Susquehanna River
 NY            020501011206   Belden Brook-Susquehanna River
 NY            020501011207   Ouaquaga Creek-Susquehanna River
 NY            020501011208   Occanum Creek-Susquehanna River
 NY            020501011313   Park Creek-Susquehanna River
 NY,PA         020501011209   Cascade Creek-Susquehanna River
 NY,PA         020501011307   Trowbridge Creek
 NY,PA         020501011308   Mitchell Creek-Susquehanna River
 NY,PA         020501011310   Snake Creek
 NY,PA         020501011311   Little Snake Creek
 NY,PA         020501011312   Carlin Creek
 NY            020501030201   Little Choconut Creek-Susquehanna River
 NY            020501030205   Patterson Creek-Susquehanna River
 NY            020501030206   Tracy Creek-Susquehanna River
 NY            020501030409   Lower East Branch Owego Creek-Owego Creek
 NY,PA         020501030704   Sackett Creek-Susquehanna River
 NY,PA         020501030706   Parks Creek-Susquehanna River
 NY            020501030502   Little Nanticoke Creek
 NY            020501030503   Pumpelly Creek-Susquehanna River
 NY            020501030505   Hunts Creek-Susquehanna River
 NJ            020301050301   Upper Stony Brook
 NJ            020301050302   Lower Stony Brook
 NJ            020401050802   Miry Run
 NJ            020401050803   Lower Assunpink Creek
 PA            020402050105   Lower East Branch Brandywine Creek
 PA            020402050203   Doe Run
 PA            020402050205   Lower West Branch Brandywine Creek
 PA            020402050304   West Branch Red Clay Creek
 PA            020402050305   East Branch Red Clay Creek
 PA            020402050401   Upper Brandywine Creek
 DE,PA         020402050307   Red Clay Creek
 DE,PA         020402050308   Lower White Clay Creek
 PA            020501011305   Canawacta Creek-Susquehanna River



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 States        HUC12          Name
 PA            020501030707   Satterlee Creek-Susquehanna River
 PA            020501060501   Spaulding Creek-Susquehanna River
 PA            020501060502   Laning Creek-Susquehanna River
 PA            020501060503   Rummerfield Creek-Susquehanna River
 PA            020501061303   Lower Bowman Creek
 PA            020501061404   Little Tuscarora Creek-Susquehanna River
 PA            020501061405   Little Mehoopany Creek-Susquehanna River
 PA            020501061406   Mill Run-Lower Susquehanna River
 PA            020501061408   Gardner Creek
 PA            020501061409   Obendoffers Creek-Susquehanna River
 PA            020501070110   Red Spring Run-Lackawanna River
 PA            020501070201   Abrahams Creek
 PA            020501070205   Brown Creek-Susquehanna River
 PA            020501070206   Nanticoke Creek
 PA            020501070207   Newport Creek
 PA            020501070208   Warrior Creek-Susquehanna River
 PA            020501070302   Hunlock Creek
 PA            020501070307   Salem Creek-Susquehanna River
 PA            020501071001   Briar Creek
 PA            020501071002   Tenmile Run-Susquehanna River
 PA            020501071003   Logan Run-Susquehanna River
 PA            020501071006   City of Sunbury-Susquehanna River
 PA            020402010301   Mill Creek-Neshaminy Creek
 PA            020402010302   Ironworks Creek-Mill Creek
 PA            020402010303   Core Creek-Neshaminy Creek
 PA            020402010403   Martins Creek
 PA            020402010405   Silver Lake-Mill Creek
 PA            020402020301   Poquessing Creek
 PA            020402020303   Upper Pennypack Creek
 PA            020402020304   Lower Pennypack Creek
 PA            020402020402   Tacony Creek-Frankford Creek
 PA            020402020504   Cobbs Creek
 PA            020402020505   Darby Creek
 PA            020402020601   Crum Creek
 PA            020402020602   Ridley Creek
 PA            020402020603   East Branch Chester Creek
 PA            020402020604   West Branch Chester Creek
 PA            020402020605   Chester Creek
 PA            020402030103   Lower Little Schuylkill River
 PA            020402030201   Eisenhuth Reservoir-Mill Creek
 PA            020402030202   West West Branch Schuylkill River
 PA            020402030203   West Branch Schuylkill River



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 States        HUC12          Name
 PA            020402030204   Headwaters Schuylkill River
 PA            020402030205   Deer Lake-Pine Creek
 PA            020402030206   Bear Creek
 PA            020402030207   Mahannon Creek-Schuylkill River
 PA            020402030307   Lower Maiden Creek
 PA            020402030407   Middle Tulpehocken Creek
 PA            020402030408   Cacoosing Creek
 PA            020402030409   Lower Tulpehocken Creek
 PA            020402030503   Lower Manatawny Creek
 PA            020402030602   Irish Creek
 PA            020402030603   Pigeon Creek-Schuylkill River
 PA            020402030604   Laurel Run-Schuylkill River
 PA            020402030609   Angelica Creek-Schuylkill River
 PA            020402030611   Sixpenny Creek-Schuylkill River
 PA            050301010103   Canonsburg Lake-Little Chartiers Creek
 PA            050301010104   Middle Chartiers Creek
 PA            050301010105   Millers Run
 PA            050301010106   Robinson Run
 PA            050301010107   Lower Chartiers Creek
 PA            020402030902   Lower Wissahickon Creek
 PA            020402031002   Sprogles Run-Schuylkill River
 PA            020402031004   Little Valley Creek-Valley Creek
 PA            020402031006   Mingo Creek-Schuylkill River
 PA            020402031007   Plymouth Creek-Schuylkill River
 PA            020402031008   City of Philadelphia-Schuylkill River
 PA            050301010303   Kilbuck Run-Ohio River
 TN            060102010602   Upper Watts Bar Lake
 TN            060102010603   Lower Watts Bar Lake
 TN            060102070405   Outlet Clinch River
 TN            060200010601   Clear Creek-Tennessee River
 TN            060200011201   Suck Creek
 TN            060200011202   Upper Nickajack Lake-Tennessee River
 TN            060200011203   Middle Nickajack Lake-Tennessee River
 TN            060200040306   Outlet Sequatchie River
 TN            080102100305   Grays Creek-Wolf River
 TN            080102100306   White Station Creek-Wolf River
 TN            080102100307   Fletcher Creek
 TN            080102100308   Outlet Wolf River
 TN            060101040308   Outlet Holston River
 TN            060101070405   Outlet French Broad River
 TN            060102010204   Upper Fort Louden Lake
 TN            060102010208   Turkey Creek



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 States        HUC12          Name
 TN            060102010209   Gallagher Creek
 TN            060102010210   Lower Fort Louden Lake
 TN            060102010211   Outlet Fort Louden Lake
 TN            060102010302   Town Creek-Tennessee River
 TN            060102010306   Riley Creek-Tennessee River
 TN            060102010403   Lower Whites Creek
 TN            060102010503   Lower Piney River
 WA            170300010106   Lower Cle Elum River
 WA            170300010301   Keechelus Lake
 WA            170300010304   Mosquito Creek-Yakima River
 WA            170300010306   Little Creek-Yakima River
 WA            170300010307   Crystal Creek-Yakima River
 WA            170300010408   Naneum Creek-Wilson Creek
 WA            170300010505   Morrison Canyon-Yakima River
 WA            170300010506   Dry Creek
 WA            170300010507   Robinson Creek-Yakima River
 WA            170300010510   Currier Creek
 WA            170300010511   Manastash Creek-Yakima River
 WA            170300010701   Umtanum Creek
 WA            170300010704   Lower Lmuma Creek
 WA            170300010705   McPherson Canyon-Yakima Creek
 WA            170300010707   Lower Selah Creek
 WA            170300010708   Roza Creek-Yakima River
 WA            170300010709   City of Selah-Yakima River
 WA            170300020108   Lower Bumping River
 WA            170300020201   Rock Creek
 WA            170300020202   Lost Creek-Naches River
 WA            170300020206   Lower Rattlesnake Creek
 WA            170300020207   Dry Creek-Naches River
 WA            170300020208   Waterworks Canyon-Naches River
 WA            170300020312   Naches River
 WA            170300030206   City of Yakima-Yakima River
 WA            170300030403   Wanity Slough-Marion Drain
 WA            170300030501   Wapato Dam-Yakima River
 WA            170300030502   Racehorse Canyon
 WA            170300030503   Town of Zillah-Yakima River
 WA            170300030506   City of Toppenish-Yakima River
 WA            170300030607   Snake Creek-Toppenish Creek
 WA            170300030807   Outlet Satus Creek
 WA            170300031002   Coulee Drain-Yakima River
 WA            170300031003   Horseshoe Lake-Yakima River
 WA            170300031004   Byron Ponds-Yakima River



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 States        HUC12          Name
 WA            170300031005   Spring Creek
 WA            170300031006   Snipes Creek
 WA            170300031007   City of Prosser-Yakima River
 WA            170300031201   Corral Creek
 WA            170300031202   Badlands Lakes-Yakima River
 WA            170300031203   Webber Canyon-Yakima River
 WA            170300031205   Yakima River
 WA            170103050402   Chester Creek-Spokane River
 WA            170103070105   Nine Mile Reservoir-Spokane River
 ID,WA         170103050304   Cable Creek-Spokane River
 ID,WA         170103050306   Liberty Creek-Spokane River
 WA            171100040601   Squalicum Creek-Frontal Bellingham Bay
 WA            171100040604   Chuckanut Creek-Frontal Bellingham Bay
 WA            171100040700   Bellingham Bay
 VA            030101020903   Panhandle Creek-John H Kerr Reservoir
 VA            030101020904   Butcher Creek
 VA            030101040704   Buffalo Creek-Dan River
 VA            030101060201   Cotton Creek-Lake Gaston
 VA            030101010301   Sawmill Hallow-Roanoke River
 VA            030101010401   Buffalo Creek-Tinker Creek
 VA            030101010402   Carvin Creek
 VA            030101010403   Glade Creek-Tinker Creek
 VA            030101010404   Peters Creek-Roanoke River
 VA            030101010405   Back Creek
 VA            030101011203   Back Creek-Goose Creek
 VA            030101011302   Old Womans Creek-Leesville Lake
 VA            030101011303   Bishop Creek-Roanoke River
 VA            030101011304   Little Sycamore Creek-Sycamore Creek
 VA            030101011305   Reed Creek-Roanoke River
 VA            030101011401   Stony Creek-Big Otter River
 VA            020700100306   Dogue Creek
 VA            020700100401   Pohick Creek
 VA            020700100402   Accotink Creek
 VA            030101011406   Johns Creek-Little Otter River
 VA            030101011505   Troublesome Creek-Big Otter River
 VA            030101020101   Beechtree Creek-Roanoke River
 VA            030101020102   Seneca Creek
 VA            030101020103   Straightstone Creek
 VA            030101020104   Buffalo Creek-Roanoke River
 VA            030101020105   Whipping Creek-Roanoke River
 VA            030101020207   Hat Creek-Falling River
 VA            030101020303   Rough Creek-Cub Creek



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  States        HUC12          Name
  VA            030101020304   Louse Creek-Cub Creek
  VA            030101020401   Childrey Creek-Roanoke River
  VA            020700100803   Belmont Bay-Occoquan River
  VA            020700100804   Neabsco Creek
  VA            020700110104   Quantico Creek
  VA            020700110105   Chopawamsic Creek
  VA            020700110203   Lower Aquia Creek
  VA            020700110204   Accokeek Creek
  MD,VA         020700110206   Beaverdam Run-Potomac Creek
  MD,VA         020700110601   Upper Machodoc Creek
  VA            020700110603   Mattox Creek
  VA            020700110801   Nomini Creek
  VA            030101020402   Catawba Creek
  VA            030101020403   Turnip Creek
  VA            030101020404   Buckskin Creek-Roanoke River
  VA            030101020405   Hunting Creek-Roanoke River
  VA            030101020506   Lipscomb Branch-Roanoke Creek
  VA            030101020601   Sandy Creek-Roanoke River
  VA            030101020603   Ashcake Creek-Difficult Creek
  VA            030101020604   Cargills Creek-Roanoke River
  VA            030101020701   Otter Creek-Bluestone Creek
  VA            030101020702   Little Bluestone Creek
  VA            030101020703   Goodell Creek-Bluestone Creek
  VA            030101020704   Sandy Creek-John H Kerr Reservoir
  IL,IN,MI,WI   040602000000   Lake Michigan
  CN,MI         040803000100   Joseph Island-Frontal Lake Huron
  MI            040801020206   Millpond Drain-Kawkawlin River
  CN,MI         040803000300   Lake Huron
  DE,MD         020403030602   Fenwick Island-Atlantic Ocean
  DE,NJ         020403030601   Delaware Seashore State Park-Atlantic Ocean
  OR            170900120201   Columbia Slough




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            Exhibit
              D



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   Exhibit D - TMDL Fund Entities
    Class Member             State      Population         TMDL Fund Allocation
    Agoura Hills CA          CA                 20,693     $              -
    Alameda CA               CA                 79,061     $      1,132,168
    Alameda County CA        CA              1,650,306     $        886,528
    Albany CA                CA                 19,729     $        184,340
    American Canyon CA       CA                 20,350     $        396,258
    Antioch CA               CA                111,074     $      2,137,719
    Arcadia CA               CA                 58,359     $        918,335
    Artesia CA               CA                 16,846     $        208,624
    Azusa CA                 CA                 49,749     $        570,455
    Baldwin Park CA          CA                 76,337     $        163,262
    Bellflower CA            CA                 77,681     $        782,562
    Belmont CA               CA                 27,192     $         32,672
    Belvedere CA             CA                  2,124     $         30,356
    Benicia CA               CA                 28,121     $        701,325
    Berkeley CA              CA                121,487     $      1,351,736
    Beverly Hills CA         CA                 34,477     $        518,438
    Bradbury CA              CA                  1,078     $         14,314
    Brentwood CA             CA                 60,599     $          4,012
    Brisbane CA              CA                  4,716     $        256,513
    Buena Park CA            CA                 83,113     $        374,395
    Burlingame CA            CA                 30,449     $        448,909
    Calabasas CA             CA                 24,113     $          4,116
    Carson CA                CA                 92,710     $      2,549,767
    Cerritos CA              CA                 50,436     $        945,816
    Claremont CA             CA                 35,934     $          5,242
    Colma CA                 CA                  1,512     $        100,008
    Compton CA               CA                 97,410     $      1,263,867
    Concord CA               CA                129,014     $              -
    Contra Costa County CA   CA              1,137,194     $      2,037,149
    Corte Madera CA          CA                  9,868     $        195,496
    Costa Mesa CA            CA                113,092     $      1,039,972
    Covina CA                CA                 48,466     $        732,419
    Culver City CA           CA                 39,317     $        612,568
    Cypress CA               CA                 48,877     $        476,369
    Daly City CA             CA                106,941     $      1,061,286
    Downey CA                CA                113,066     $      2,023,189
    Duarte CA                CA                 21,763     $        133,664
    East Palo Alto CA        CA                 29,823     $          4,180
    El Cerrito CA            CA                 25,459     $        310,316
    El Monte CA              CA                115,657     $        510,340
    El Segundo CA            CA                 16,860     $        374,243
    Emeryville CA            CA                 11,782     $        179,763
    Fairfield CA             CA                114,545     $        277,162
    Foster City CA           CA                 34,297     $        392,748
    Fremont CA               CA                233,378     $        436,504
    Gardena CA               CA                 59,961     $        748,837
    Glendora CA              CA                 51,947     $        794,395
    Hawaiian Gardens CA      CA                 14,448     $        128,557
    Hawthorne CA             CA                 87,835     $        358,279
    Hayward CA               CA                159,147     $        416,221
    Hercules CA              CA                 25,413     $        312,976
    Hermosa Beach CA         CA                 19,750     $        186,340
    Hillsborough CA          CA                 11,477     $        102,506
    Huntington Beach CA      CA                200,541     $      2,900,179
    Huntington Park CA       CA                 58,780     $        292,466
    Industry CA              CA                    207     $         91,377
    Inglewood CA             CA                110,470     $        476,945
    Irvine CA                CA                265,721     $      3,436,919




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   Class Member               State     Population        TMDL Fund Allocation
   Irwindale CA               CA                 1,429    $        336,854
   La Palma CA                CA                15,762    $        218,892
   La Verne CA                CA                32,413    $        470,764
   Lakewood CA                CA                80,997    $      1,057,361
   Larkspur CA                CA                12,392    $        202,756
   Lawndale CA                CA                33,086    $        272,794
   Lomita CA                  CA                20,665    $        231,568
   Long Beach CA              CA               469,435    $      7,500,000
   Los Alamitos CA            CA                11,646    $        384,557
   Los Angeles CA             CA             3,969,262    $      7,500,000
   Los Angeles County CA      CA           10,120,540     $      7,500,000
   Lynwood CA                 CA                71,087    $        604,583
   Malibu CA                  CA                12,861    $        447,183
   Manhattan Beach CA         CA                35,664    $        297,999
   Marin County CA            CA               260,633    $      1,114,148
   Martinez CA                CA                38,324    $        411,291
   Menlo Park CA              CA                33,986    $         80,927
   Mill Valley CA             CA                14,355    $        169,217
   Millbrae CA                CA                22,773    $        272,000
   Milpitas CA                CA                77,878    $         36,800
   Monrovia CA                CA                37,079    $        533,554
   Mountain View CA           CA                80,852    $        103,825
   Napa CA                    CA                79,781    $         24,401
   Napa County CA             CA               141,185    $         44,217
   Newark CA                  CA                45,857    $         86,078
   Newport Beach CA           CA                86,647    $      1,654,029
   Norwalk CA                 CA               106,002    $      1,699,001
   Novato CA                  CA                55,939    $        521,555
   Oakland CA                 CA               420,798    $      7,192,424
   Oakley CA                  CA                40,680    $         42,441
   Orange CA                  CA               140,434    $        201,377
   Orange County CA           CA             3,170,707    $      2,935,215
   Orinda CA                  CA                19,510    $        189,967
   Oxnard CA                  CA               207,754    $        490,785
   Pacifica CA                CA                39,247    $        392,978
   Palo Alto CA               CA                67,406    $         92,136
   Palos Verdes Estates CA    CA                13,558    $        162,604
   Paramount CA               CA                54,840    $        659,623
   Pasadena CA                CA               141,833    $        130,049
   Petaluma CA                CA                60,486    $         66,433
   Pico Rivera CA             CA                63,542    $        662,299
   Piedmont CA                CA                11,385    $         94,129
   Pinole CA                  CA                19,328    $        286,305
   Pittsburg CA               CA                70,797    $        115,492
   Pleasant Hill CA           CA                34,906    $            254
   Pomona CA                  CA               152,637    $          3,128
   Rancho Palos Verdes CA     CA                42,343    $        610,132
   Redondo Beach CA           CA                67,905    $        773,491
   Redwood City CA            CA                85,328    $        499,157
   Richmond CA                CA               109,652    $      3,007,116
   Rio Vista CA               CA                 8,613    $        225,425
   Rolling Hills CA           CA                 1,883    $         50,975
   Rolling Hills Estates CA   CA                 8,216    $        177,925
   San Bruno CA               CA                43,166    $        473,533
   San Carlos CA              CA                29,903    $        102,862
   San Dimas CA               CA                34,283    $        554,970
   San Francisco CA           CA               872,795    $      7,500,000
   San Francisco County CA    CA               872,795    $         15,745
   San Jose CA                CA             1,030,359    $      4,056,560
   San Leandro CA             CA                90,666    $      1,542,489
   San Mateo CA               CA               104,420    $        846,027
   San Mateo County CA        CA               768,204    $        879,488




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   Class Member             State     Population          TMDL Fund Allocation
   San Pablo CA             CA                31,018      $        285,636
   San Rafael CA            CA                58,932      $        952,713
   Santa Ana CA             CA               334,175      $      2,906,205
   Santa Clara CA           CA               126,561      $         19,144
   Santa Clara County CA    CA             1,929,581      $        226,185
   Santa Fe Springs CA      CA                17,983      $        803,192
   Santa Monica CA          CA                92,330      $      1,002,686
   Sausalito CA             CA                 7,137      $        113,567
   Seal Beach CA            CA                24,437      $        795,932
   Sierra Madre CA          CA                11,040      $        103,589
   Signal Hill CA           CA                11,621      $        282,056
   Solano County CA         CA               439,300      $        159,931
   Sonoma County CA         CA               503,249      $          3,766
   South El Monte CA        CA                20,837      $             28
   South Gate CA            CA                95,396      $        689,539
   South San Francisco CA   CA                67,286      $      1,100,928
   Suisun City CA           CA                29,391      $         64,721
   Sunnyvale CA             CA               153,633      $         65,825
   Temple City CA           CA                36,301      $        100,556
   Tiburon CA               CA                 9,156      $        191,591
   Torrance CA              CA               146,660      $      3,502,280
   Tustin CA                CA                80,357      $        309,236
   Union City CA            CA                75,438      $        162,439
   Vallejo CA               CA               121,064      $      3,393,786
   Ventura County CA        CA               848,921      $        352,691
   Vernon CA                CA                   113      $        153,563
   Walnut CA                CA                29,971      $         10,653
   West Covina CA           CA               107,607      $      1,029,593
   West Hollywood CA        CA                36,614      $        260,591
   Whittier CA              CA                86,732      $         13,794
   Middletown DE            DE                21,174      $         43,104
   Post Falls ID            ID                31,546      $        251,576
   Beach Park IL            IL                13,990      $        224,337
   Burbank IL               IL                28,996      $         19,253
   Chicago IL               IL             2,718,946      $      7,500,000
   Cook County IL           IL             5,199,000      $      7,500,000
   Evanston IL              IL                75,302      $        649,272
   Evergreen Park IL        IL                19,708      $        160,558
   Glencoe IL               IL                 8,946      $        101,504
   Highland Park IL         IL                29,699      $            145
   Highwood IL              IL                 5,353      $         53,198
   Kenilworth IL            IL                 2,541      $         35,139
   Lake Bluff IL            IL                 5,675      $         70,459
   Lake County IL           IL               704,644      $      7,500,000
   Lake Forest IL           IL                19,410      $        170,030
   North Chicago IL         IL                29,941      $        461,812
   Waukegan IL              IL                88,174      $      1,408,941
   Wilmette IL              IL                27,357      $        301,080
   Winnetka IL              IL                12,494      $         86,058
   Winthrop Harbor IL       IL                 6,777      $        159,433
   Zion IL                  IL                24,072      $        430,032
   Lake County IN           IN               704,192      $      5,173,472
   Lake Station IN          IN                12,048      $        392,806
   LaPorte County IN        IN               110,254      $        909,490
   Porter County IN         IN               167,522      $        821,537
   Aberdeen MD              MD                15,534      $        105,445
   Anne Arundel County MD   MD               567,665      $      5,097,000
   Baltimore County MD      MD               828,616      $      7,500,000
   Baltimore MD             MD               615,849      $      7,500,000
   Cecil County MD          MD               102,567      $        347,860
   Charles County MD        MD               157,336      $      4,981,108
   District Heights MD      MD                 5,990      $          1,510




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    Class Member                State             Population                   TMDL Fund Allocation
    Elkton MD                   MD                        15,681               $         10,531
    Harford County MD           MD                       250,361               $      1,208,741
    Havre de Grace MD           MD                        13,468               $              -
    Laurel MD                   MD                        25,885               $          1,236
    Montgomery County MD        MD                     1,040,245               $      3,476,862
    Prince George's County MD   MD                       907,939               $      6,501,271
    Allegan County MI           MI                       114,995               $      1,101,089
    Berrien County MI           MI                       154,473               $      2,905,049
    Grand Beach MI              MI                           277               $         18,321
    Ottawa County MI            MI                       283,907               $      5,491,048
    Anderson County TN          TN                        75,583               $         58,529
    Blount County TN            TN                       128,259               $        356,849
    Chattanooga TN              TN                       177,104               $      3,578,523
    Farragut TN                 TN                        22,210               $        644,877
    Hamilton County TN          TN                       357,858               $        307,689
    Knox County TN              TN                       455,650               $      1,696,564
    Knoxville TN                TN                       185,193               $      3,341,160
    Lenoir City TN              TN                         9,077               $        352,859
    Loudon County TN            TN                        51,348               $        402,600
    Marion County TN            TN                        28,351               $        125,921
    Maryville TN                TN                        28,448               $         15,306
    Oak Ridge TN                TN                        28,956               $      1,092,659
    Roane County TN             TN                        52,862               $        302,591
    Signal Mountain TN          TN                         8,531               $         64,551
    Montgomery County VA        VA                        98,254               $        103,514
    Radford VA                  VA                        17,420               $         17,428
    Roanoke County VA           VA                        93,371               $      1,731,041
    Roanoke VA                  VA                        99,572               $      2,916,930
    Salem VA                    VA                        25,438               $        451,610
    Vinton VA                   VA                         8,043               $        201,475
    Benton County WA            WA                       193,652               $        242,507
    Ellensburg WA               WA                        19,763               $        355,225
    Kennewick WA                WA                        80,153               $        217,105
    Richland WA                 WA                        54,742               $        652,831
    Selah WA                    WA                         7,723               $        156,239
    Spokane County WA           WA                       497,143               $      3,055,641
    Spokane Valley WA           WA                        95,794               $      2,899,820
    Spokane WA                  WA                       214,990               $      5,529,441
    Union Gap WA                WA                         6,154               $        107,294
    West Richland WA            WA                        14,216               $        291,179
    Yakima County WA            WA                       249,691               $        940,112
    Yakima WA                   WA                        93,572               $        521,351
    Brown Deer WI               WI                        12,051               $        280,853
    Caledonia WI                WI                        24,841               $        518,588
    Cudahy WI                   WI                        18,980               $        426,157
    Fox Point WI                WI                         6,705               $        129,170
    Glendale WI                 WI                        13,078               $        362,552
    Grafton WI                  WI                        11,583               $        323,548
    Howard WI                   WI                        19,318               $        622,483
    Kenosha County WI           WI                       167,954               $        791,879
    Mequon WI                   WI                        23,476               $        713,530
    Milwaukee County WI         WI                       948,301               $      4,034,109
    Mount Pleasant WI           WI                        26,699               $        266,217
    North Bay WI                WI                           237               $          5,404
    Pleasant Prairie WI         WI                        20,759               $        273,529
    Racine County WI            WI                       194,913               $      1,637,385
    Sheboygan County WI         WI                       115,099               $        761,910
    Shorewood WI                WI                        13,423               $        133,471
    Suamico WI                  WI                        12,535               $        271,677
    Whitefish Bay WI            WI                        14,061               $        154,407
   “–“ indicates $0 due to no impervious surface areas within the TMDL land area.




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               Exhibit E- Qualifying Sediment Site Entities
               City of Newark, New Jersey

               New York City, New York

               City of Seattle, Washington

               King County, Washington

               Port of Seattle, Washington

               City of Tukwila, Washington

               City of Portland, Oregon

               Port of Portland, Oregon

               City of Tacoma, Washington

               Port of Tacoma, Washington

               City of San Diego, California

               Port of San Diego, California




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Sediment Sites Fund- Allocation Application


Class Member: ______________________________________________________


Class Member Contact Information:
Contact Person: _______________________ Phone Number: _________________
Email Address: _____________________________________________________


Qualifying Sediment Site Entity (must be one of 12 Qualifying Sediment Site
Entities; only one qualifying Sediment Site per Application):
__________________________________________________________________


Please provide an initial summary description of the Class Member’s role,
involvement, or responsibility in the qualifying Sediment Site, focusing on the
regulatory or legal responsibility, and the costs or expenses related to and caused
by PCB contamination, specific to the Class Member. The Class Member may
continue this summary by attaching no more than two (2) pages typed, 14-point
font, entitled “Sediment Sites Fund—Initial Summary Description.”
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Please provide known total amounts in dollars for the following categories of
damages (undocumented totals will be considered speculative or inapplicable):
Total past costs/expenses spent for PCB-caused remediation of the Sediment Site:
$______________________________


Total past costs/expenses spent for PCB-caused mitigation required due to the
Sediment Site:
$_______________________________


Total future costs/expenses, as estimated including with documents and evidence,
for PCB-caused remediation of the Sediment Site:
$_______________________________


Total future costs/expenses, as estimated including with documents and evidence,
for PCB-caused mitigation due to the Sediment Site:
$_______________________________


Please provide a summary description of any other important factors or
information that may be relevant to the Special Master’s allocation, focusing on the
regulatory or legal responsibility, and the costs or expenses related to and caused
by PCB contamination, specific to the Class Member. The Class Member may
continue this summary by attaching no more than two (2) pages typed, 14-point
font entitled “Sediment Sites Fund—Other Important Factors and Information.”
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Please provide a summary description of other relevant named Responsible Parties,
and what impact, if any, those other relevant named Responsible Parties will have
on the information provided above, including cost-sharing or cost reduction for the
Class Member. Please continue this summary by attaching no more than two (2)
page typed, 14-point font entitled “Sediment Sites Fund—Other Responsible
Parties.”
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Please provide a total Sediment Site Fund award requested by the Class Member:
$_________________________________________________________________


Please attach no more than 25 pages of supporting documentation and evidence of
your summary description, past and future costs and expenses, and other important
factors and information that may be relevant to the Special Master’s allocation.
Only the first 25 pages submitted will be considered by the Special Master.
I hereby declare under penalty of perjury under the laws of the state of
__________________ that the information within this application and its
attachments are true and correct to the best of my knowledge. Executed this ___
day of _____________ at ____________________(County),
___________________ (State).
Signed: _________________________________________
      (Must be signed by the Contact Person named above)


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Application Instructions and Information:


Please fill out this Sediment Sites Allocation Application to the best of your
knowledge and the knowledge of the qualifying Class Member. Please return your
completed application to [INSERT EMAIL] no later than [INSERT DATE]. Late
applications will not be considered by the Special Master. Qualifying Class
Members that do not return a completed application or that return a late application
will receive an allocation by the Special Master based on the good faith, best
efforts of the Allocation Experts to complete an application for the qualifying class
member. Qualifying Class Members that do not return a completed application or
that return a late application will forfeit the right to the one (1) appeal to the
Special Master but will not forfeit the receipt of Reserve Funds distributed pro-rata
after all Appeals are exhausted and decided by the Special Master.


For any questions about this application or process, you may contact Lead Class
Counsel Scott Summy, John Fiske, or Carla Burke of Baron & Budd, P.C., at
PCBClassAction@BaronBudd.com; the Special Master at [INSERT EMAIL]; or
the Allocation Experts at [INSERT EMAIL].




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            Exhibit
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Part A- Litigating Entities- Special Needs Fund- Allocation
Application


Litigating Entity: ____________________________________________________


Litigating Entity Contact Information:
Contact Person: _______________________ Phone Number: _________________
Email Address: _____________________________________________________


Did the Litigating Entity file a lawsuit? If yes, what date?
__________________________________________________________________
Did the Litigating Entity obtain a successful order on a motion to dismiss?
__________________________________________________________________
Did the Litigating Entity serve a Rule 26(f) Initial Disclosure on Defendants?
__________________________________________________________________
Did the Litigating Entity participate in other discovery such as written discovery,
document production, and public records act requests? If yes, please describe the
extent of such discovery including number of interrogatories propounded and
responded to, the number of documents produced, and the number of documents
provided pursuant to a public records act request.
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Did the Litigating Entity participate in other discovery such as site visits,
depositions of public entity personnel, depositions of retained expert witnesses,
preparation of expert witness reports, exchange of expert witness reports, or other
discovery efforts such as discovery motions? If yes, please describe the extent of
such discovery including number of site visits, depositions, reports, or other efforts
such as discovery motions.
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Did the Litigating Entity participate in a motion for summary judgment, motion in
limine, Daubert motion, or other significant pre-trial motion? If yes, please
describe the extent of such motion practice.
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Is the Litigating Entity a Named Class Action Representative? If yes, was the
Litigating Entity involved in the negotiation of the Class Action Settlement?
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Did the Litigating Entity oppose and/or litigate a counterclaim or cross-claim filed
against it by Defendants?
__________________________________________________________________
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Please describe the Litigating Entities’ in-house efforts and costs, including but not
limited to the number of lawyers actively involved in the litigation, the number of
non-lawyer public entity personnel actively involved in the litigation, costs
absorbed by the public entity (rather than initially advanced by outside counsel), if
any, and any other information regarding in-house efforts and costs.
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Please provide a total Part A award requested by the Litigating Entity:
$_________________________________________________________________
Please attach no more than 25 pages of supporting documentation and evidence
that may be relevant to the Special Master’s allocation. Only the first 25 pages
submitted will be considered by the Special Master.
I hereby declare under penalty of perjury under the laws of the state of
__________________ that the information within this application and its
attachments are true and correct to the best of my knowledge. Executed this ___
day of _____________ at ____________________(County),
___________________ (State).
Signed: _________________________________________
      (Must be signed by the Contact Person named above)


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Application Instructions and Information:
Please fill out this Litigating Entities Part A Special Needs Fund Allocation
Application to the best of your knowledge and the knowledge of the Litigating
Entity. Please return your completed application to [INSERT EMAIL] no later
than [INSERT DATE]. Late applications will not be considered by the Special
Master. Litigating Entities that do not timely return a completed application forfeit
any right to Part A funds.
For any questions about this application or process, you may contact Lead Class
Counsel Scott Summy, John Fiske, or Carla Burke of Baron & Budd, P.C., at
PCBClassAction@BaronBudd.com; the Special Master at [INSERT EMAIL]; or
the Allocation Experts at [INSERT EMAIL].




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 Part B- Significant Benefit or Cost- Special Needs Fund- Allocation
 Application


 Class Member: ____________________________________________________


 Class Member Contact Information:
 Contact Person: _______________________ Phone Number: _________________
 Email Address: _____________________________________________________


 Please describe the Class Member’s actions or work resulting in a significant
 regional, state, or national benefit regarding PCB contamination related to
 stormwater. The Class Member may continue this summary by attaching no more
 than two (2) pages typed, 14-point font, entitled “Part B- Significant Benefit.”
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 Please describe the Class Member’s additional cost or expense, which is not
 covered by the Monitoring Fund, TMDL Fund, Sediment Fund, or Special Needs
 Part A Fund, resulting from PCB contamination related to stormwater. The Class
 Member may continue this summary by attaching no more than two (2) pages
 typed, 14-point font, entitled “Part B- Significant Cost.”
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 Please provide a total Special Needs Part B award requested by the Class Member:
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Please attach no more than twenty-five (25) pages of supporting documentation
and evidence that may be relevant to the Special Master’s allocation. Only the first
25 pages submitted will be considered by the Special Master.


I hereby declare under penalty of perjury under the laws of the state of
__________________ that the information within this application and its
attachments are true and correct to the best of my knowledge. Executed this ___
day of _____________ at ____________________(County),
___________________ (State).


Signed: _________________________________________
      (Must be signed by the Contact Person named above)


Application Instructions and Information:


Please fill out this Litigating Entities Part B Special Needs Fund Allocation
Application to the best of your knowledge and the knowledge of the Class
Member. Please return your completed application to [INSERT EMAIL] no later
than [INSERT DATE]. Late applications will not be considered by the Special
Master. Class Members that do not timely return a completed application forfeit
any right to Part B funds.


For any questions about this application or process, you may contact Lead Class
Counsel Scott Summy, John Fiske, or Carla Burke of Baron & Budd, P.C., at
PCBClassAction@BaronBudd.com; the Special Master at [INSERT EMAIL]; or
the Allocation Experts at [INSERT EMAIL].




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              I



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            UNITED STATES DISTRICT COURT
            FOR THE CENTRAL DISTRICT OF
            CALIFORNIA WESTERN DIVISION


                                          Case No.: 2:16-cv-03493-FMO-AS

                                          NOTICE OF PENDENCY OF
                                          CLASS-ACTION PROPOSED
                                          SETTLEMENT AND COURT-
                                          APPROVAL HEARING


       TO: As of June 24, 2020 only, but not later, all NPDES Phase I and II
city, town, village, borough, township, and independent port district MS4
permittees with jurisdictional boundaries within a HUC 12 Watershed that
contains and/or is immediately adjoining a 303(d) water body impaired by
PCBs and all NPDES Phase I and II county MS4 permittees with urbanized,
unincorporated boundaries within a HUC 12 Watershed that contains and/or is
immediately adjoining a 303(d) water body impaired by PCBs.

    THIS IS A COURT-APPROVED NOTICE. PLEASE READ THIS
NOTICE CAREFULLY, AS THE PROPOSED SETTLEMENT
DESCRIBED BELOW MAY AFFECT YOUR LEGAL RIGHTS AND
PROVIDE YOU POTENTIAL BENEFITS. THIS IS NOT A NOTICE OF
A LAWSUIT AGAINST YOU OR A SOLICITATION FROM A
LAWYER.

 I.    WHAT IS THE PURPOSE OF THIS NOTICE?

       The purpose of this Notice is (i) to advise you of a proposed settlement
(referred to as the "Settlement") of the above-captioned consolidated lawsuits
(the "Action") pending against Monsanto Company, Solutia Inc., and
Pharmacia LLC (the former Monsanto Company), (collectively, "Defendant"
or “Monsanto”) in the United States District Court for the Central District of
California (the "Court"); (ii) to summarize your rights in connection with the
Settlement; and (iii) to inform you of a Court hearing to consider whether to
grant final approval of the Settlement, to be held on [DATE/TIME] before the
                                         1



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Honorable Fernando M. Olguin, United States District Judge of the United
States District Court for the Central District of California, located at 350 W.
First St., Los Angeles, California 90012.

 II.    WHAT IS THE ACTION ABOUT?

      Plaintiffs City of Long Beach, Mayor and City Council of Baltimore,
City of Berkeley, City of Chula Vista, County of Los Angeles, City of Oakland,
City of Portland, Port of Portland, City of San Diego, City of San Jose, and
City of Spokane filed lawsuits against Defendant in district courts in their
respective jurisdictions. In their complaints, Plaintiffs asserted that Defendant
manufactured a class of industrial chemicals called polychlorinated biphenyls
(“PCBs”) between the 1930s and 1977 and stated various causes of action against
Defendant for alleged PCB-related impairments to the environment, including to
water bodies. Plaintiffs alleged that PCBs are present at sites and public properties,
including in stormwater, stormwater and wastewater systems, water bodies,
sediment, natural resources, fish and wildlife. Plaintiffs sought compensatory
damages and injunctive and equitable relief.

      On _____, the Court entered an order certifying the Action as a class
action, and specifically certifying a Nationwide Class defined as: As of June
24, 2020 only, but not later, all NPDES Phase I and II city, town, village,
borough, township, and independent port district MS4 permittees with
jurisdictional boundaries within a HUC 12 Watershed that contains
and/or is immediately adjoining a 303(d) water body impaired by PCBs
and all NPDES Phase I and II county MS4 permittees with urbanized,
unincorporated boundaries within a HUC 12 Watershed that contains
and/or is immediately adjoining a 303(d) water body impaired by PCBs.
The claims certified for class-action treatment include claims that Defendant’s
PCBs and PCB-containing products were defectively designed, that the risks
of environmental harm associated with PCBs and PCB-containing products
outweighed the benefits of their uses, that Defendant failed to warn of the risks
of harm associated with PCBs and PCB-containing products, and that Plaintiffs
and the Settlement Class Members suffered property damage as a result of PCB
contamination.

       Defendant denies that class certification was or remains appropriate
                                          2



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 (except for purposes of the proposed settlement), denies that its PCBs and PCB-
 containing products were defectively designed, denies that the risks of
 environmental harm associated with PCBs and PCB-containing products
 outweigh their benefits, denies that it acted unlawfully, and asserts various
 legal and factual defenses against Plaintiffs' claims.

       The parties reached a settlement before the Court resolved the claims and
 defenses of the parties in the Action. Therefore, the Court never resolved
 whether Defendant did anything wrong.

       This Notice should not be understood as an expression of any opinion by
 the Court as to the merits of the Plaintiffs’ claims or Defendant’s defenses.
 Plaintiffs and Defendant recognize that to resolve these and other important
 issues would be time-consuming, uncertain, and expensive, which is part of the
 reason for the Settlement.

III.      WHO IS PART OF THE PROPOSED SETTLEMENT?

        Plaintiffs and Defendant have entered into an agreement to settle the
 Action (the "Settlement Agreement"). The Court has preliminarily approved
 the Settlement Agreement as fair, reasonable, and adequate. The Court will hold
 a final Court Approval Hearing, as described below, to consider whether to
 make the settlement final.

        You are a Class Member if you are:

       • As of June 24, 2020 only, but not later, an NPDES Phase I or II city,
         town, village, borough, township, or independent port district MS4
         permittee with jurisdictional boundaries within a HUC 12
         Watershed that contains and/or is immediately adjoining a 303(d)
         water body impaired by PCBs;

                                            OR

       • As of June 24, 2020 only, but not later, an NPDES Phase I or II
         county MS4 permittees with urbanized, unincorporated
         boundaries within a HUC 12 Watershed that contains and/or is
                                        3



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         immediately adjoining a 303(d) water body impaired by PCBs.

      If you received this Notice about the proposed settlement in the mail,
 then you have been identified as an Initial Settlement Class Member
 according to the parties’ records.

       Initial Settlement Class Members have been identified in accordance
 with the Class Definition using three publicly maintained and available
 databases, as follows: (1) the U.S. EPA 303(d) list of bodies of water impaired
 by PCBs; (2) USGS HUC 12 Watersheds; (3) U.S. Census Bureau.

IV.      WHAT ARE THE KEY TERMS OF THE PROPOSED
         SETTLEMENT?

       The key terms of the proposed Settlement are as follows.

        1. Settlement Amount. Defendant has agreed to pay up to five hundred
 and fifty million dollars ($550,000,000) as the total and maximum dollar
 amount Defendant will be obligated to pay as a net class benefit if the Court
 grants final approval and all other contingencies are met. This amount includes
 all payments (i) to Settlement Class Members in exchange for the Release (as
 described below), and (ii) to the Plaintiffs as class-representative awards (as
 described below). The Settlement Amount does not include the amount to be
 paid to Plaintiffs' attorneys for attorneys' fees and expenses actually incurred
 in the Action (as described below). The Settlement Amount also does not
 include the reasonable costs and expenses incurred in (1) the notice process, which
 includes all costs incurred in connection with preparing, printing, publishing, and
 mailing the Direct Notice; and (2) the administration process, which includes all
 costs and expenses incurred to hire a Class Action Settlement Administrator and
 costs of processing claims and administering the Settlement Agreement. Defendant
 will pay for the costs of the notice process and the costs necessary to process claims
 and administer the Settlement Agreement. The costs and expenses for
 implementing the Allocation by the Special Master will be split equally between
 the Parties; however, Defendant’s share of costs and expenses shall not exceed
 $100,000. Any additional costs and expenses for implementing the Allocation shall
 be paid from Class Counsel’s Attorneys’ Fees and Expenses. No costs and expenses
 for implementing the Allocation shall be paid from the Settlement Fund.
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      2. Settlement Benefit. Each Settlement Class Member who has not
excluded itself from the Class will be eligible to receive a settlement check(s)
from the Class Action Settlement Administrator based on the Settlement Class
Allocation method developed by Lead Class Counsel, the Special Master, and
the Named Class Plaintiffs’ consulting experts, which has been approved by
the Court as fair and reasonable.
         The Settlement Amount will be allocated among four separate funds
for Class Members. Any amount allocated to a Settlement Class Member in the
Monitoring Fund or TMDL Fund that opts out of the Settlement, will be reallocated
to Settlement Class Members pursuant to the Settlement Agreement. You may be
eligible to receive a payment from one or more of these funds. You are
required to apply to receive payment from certain funds.
(a)      Monitoring Fund. The Monitoring Fund will include $42,895,000.
Every Settlement Class Member will receive a minimum payment from
the Monitoring Fund as consideration for a Release. The funds are intended
to pay for PCB sampling and/or any other mitigation efforts in the Settlement
Class Member’s sole discretion, as part of compliance with applicable law.
The amount of Monitoring Fund payments are based on each Settlement Class
Member’s NDPES Permittee status as Phase I or Phase II and each Settlement
Class Member’s population as follows:
        (1) Phase I ≥ 100,000 pop. and Phase I independent port districts each
            receive $30,000
        (2) Phase I < 100,000 pop. each receive $20,000
        (3) Phase II ≥ 100,000 pop. and Phase II independent port districts
            each receive $25,000
        (4) Phase II < 100,000 pop. each receive $15,000


(b)     TMDL Fund. The TMDL Fund will include $250,000,000. Not every
Settlement Class Member is eligible to receive payment from the TMDL
Fund. A Settlement Class Member will receive a payment from the TMDL
Fund if the Settlement Class Member is subject to and/or responsible for a
TMDL, TMDL Alternative, or TMDL Direct-to-Implementation regulation,
promulgated or updated after January 1, 2010, wherein PCB is a named
constituent.

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        The amount of TMDL Fund payments are determined by the following
 TMDL Allocation Calculation: for all TMDL Fund Entities, multiply (1) the
 total jurisdictional area within any HUC-12 Watershed that contains a 303(d)
 water body with a PCB TMDL, by (2) the USGS Geodatabase Imperviousness
 of such jurisdictional area (known as “Weighted Imperviousness”). Then,
 proportionally normalize all Weighted Imperviousness values to calculate a
 weighted, relative percentage for each TMDL Fund Entity. Lastly, multiply (1)
 the weighted, relative percentage for each TMDL Fund Entity, by (2) the total
 fund less Population Factor Awards. A 0.7 multiplier is applied to any TMDL
 Fund Entity with a population of less than one hundred thousand (100,000). To
 account for large populations as a factor in the equitable allocation of the
 TMDL Fund, each TMDL Fund Entity town, city, village, borough, or
 township with a population of more than 1 million, and each TMDL Fund
 Entity county with a population of more than 2 million, will receive a
 Population Factor Award of $2 million. No Settlement Class Member will
 recover more than seven million five hundred thousand dollars ($7,500,000)
 under the TMDL Fund, regardless of whether a Population Factor Award
 would otherwise have provided for an amount greater than $7,500,000.


 (c)     Sediment Sites Fund. The Sediment Sites Fund will initially receive
 $150,000,000. Not every Settlement Class Member is eligible to receive
 payment from the Sediment Sites Fund. A Settlement Class Member will
 receive a payment from the Sediment Sites Fund if the Settlement Class
 Member is a Noticed Party/Potentially Responsible Party or named
 Responsible Party in at least one of three types of regulated Sediment Sites
 wherein PCBs have contaminated sediments due to stormwater contribution.
 The three types of Sediments Sites include only the following: (1) U.S. EPA
 Superfund Sites, (2) U.S. EPA Large Sediment Sites, and/or (3) Clean Water
 Act Category 4b Sites/Waters. The following is a list of Sediment Sites
 wherein at least one Initial Settlement Class Member is a Noticed Party/
 Potentially Responsible Party or named Responsible Party due to stormwater
 contribution of PCBs: Diamond Alkali-Lower Passaic River (Newark, New
 Jersey); Newtown Creek (New York, New York); Gowanus Canal (New York,
 New York); Lower Duwamish Waterway (Seattle, Washington); Portland
 Harbor (Portland, Oregon); Commencement Bay, Near Shore/Tide Flats
 (Tacoma, Washington); Harbor Island (Lead) (Seattle, Washington); Pacific
 Sound Resources (Seattle, Washington); San Diego Bay (San Diego,
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 California). Class Members who are eligible for Sediment Sites Fund payments
 are “Qualifying Sediment Site Entities.” The following is the list of the twelve
 (12) Initial Settlement Class Members that are Noticed Parties/Potentially
 Responsible Parties or named Responsible Parties, due to stormwater
 contribution of PCBs, in at least one Sediment Site: City of Newark, New
 Jersey; City of New York, New York; City of Seattle, Washington; King
 County, Washington; Port of Seattle, Washington; City of Tukwila,
 Washington; City of Tacoma, Washington; Port of Tacoma, Washington; City
 of Portland, Oregon; Port of Portland, Oregon; City of San Diego, California;
 Port of San Diego, California.

        The Sediment Sites Fund will be allocated among Qualifying Sediment
 Site Entities identified in Paragraph 79(c) of the Settlement Agreement, other
 than any Opt-Out Litigating Entity, by a court-appointed Special Master. The
 Special Master shall use the Sediment Sites Application to inform, guide, and
 design an equitable allocation among all eligible applicants based on the
 totality and relativity of the following PCB-caused factors: past costs and
 expenses spent as of the date of the application for Sediment Site remediation;
 past costs and expenses spent as of the date of the application for other
 mitigation required due to the Sediment Site; documented and evidenced future
 costs and expenses that will be spent for Sediment Site remediation;
 documented and evidenced future costs and expenses that will be spent for
 mitigation required due to the Sediment Site; and any other important factors
 or information deemed relevant by the Special Master. The Special Master will
 rely solely on the application and documents submitted and will not include
 oral advocacy, presentation, interview, or interactive process. All applications
 and documents submitted to the Special Master for the Allocation will be and
 will remain confidential.

     Applications must be submitted within 65 days of the Preliminary
 Approval Order. Applications may be submitted electronically to
 www.PCBClassAction.com, Attn: Judge Jay Gandhi.

       If a Qualifying Sediment Site Entity fails to provide a Sediment Sites
 Application, the Special Master will work with the Allocation Experts to
 determine, upon application completed by the Allocation Experts, the
 allocation amount that could have been otherwise allocated to the Qualifying
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Sediment Site Entity that did not submit an application. For each Opt-Out
Litigating Entity Qualifying Sediment Site Entity, the Sediment Sites Fund will
be reduced by $12,500,000 ($150,000,000/12=$12,500,000) and this amount
will be subtracted from the total Settlement Fund, with the balance of the
Sediment Sites Fund being allocated to the Non-Opt-Out Qualifying Sediment
Site Entities.

       The Special Master may, but is not required to, create an appeals process
by utilizing a Sediment Sites Appeals Reserve Fund of up to ten percent (10%)
of the $150,000,000 fund. If created by the Special Master, the appeals process
will allow for one (1) de novo appeal from each eligible applicant, and any
decisions will be at the discretion of the Special Master. The appeals process,
if any, shall be conducted within an efficient time-frame so as not to hinder the
progress of the overall Allocation. The appeals process, if any, shall include
only a two (2) page written appeal explaining the basis for the appeal, referring
only to the original application as evidence of such basis. Any Sediment Sites
Appeals Reserve Funds remaining after all appeals have been decided by the
Special Master shall be redistributed to all Sediment Site Settlement Class
Members on a pro-rata basis. All final decisions of the Special Master, after
any appeals process, if any, will be final, binding, and unappealable.


(d)    Special Needs Fund.       The Special Needs Fund will receive
$107,105,000, further allocated into two separate parts known as Special
Needs Fund, Part A and Special Needs Fund, Part B. Settlement Class
Members must apply to receive payment from these funds. Not every
Settlement Class Member is eligible to receive payment from the Special
Needs Funds.

      1.    Special Needs Fund, Part A. Special Needs Fund, Part A is
allocated $57,105,000. Not every Settlement Class Member is eligible for a
payment from Special Needs Fund, Part A, which is intended to compensate and
accommodate those Litigating Entities whose time, energy, effort, attorney work
product, costs, expenses, and risk of litigation helped to cause the entire Class
Settlement, for the benefit of all 2,528 Initial Settlement Class Members.

       Payment from Special Needs Fund, Part A is available only to those
Initial Settlement Class Members that are “Litigating Entities” --- i.e., Class
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Members that (1) have filed tort, public nuisance, and/or product liability
lawsuits against Defendant for PCB contamination of stormwater and
sediment, and/or (2) that are Named Class Members --- who submit Special
Needs Fund, Part A Applications. Litigating Entities include only the following
fifteen (15) Initial Settlement Class Members: City of Chula Vista, City of San
Diego, Unified Port District of San Diego, City of Long Beach, County of Los
Angeles, City of San Jose, City of Berkeley, City of Oakland, City of Portland,
Port of Portland, City of Seattle, City of Tacoma, City of Spokane, City of
Baltimore, and County of Baltimore.

       The Special Master will equitably and reasonably allocate Part A funds,
upon application, based on the totality and relativity of the following factors:
whether outside counsel was retained; whether a lawsuit was filed; how long
the lawsuit was filed at the time of Preliminary Class Approval; the case
posture and procedure of any lawsuit; the amount, time, energy, cost, and
productivity during discovery with Defendant; the retention of experts; the
development of expert testimony and reports; the preparation and presentation
of experts for deposition; the litigation of significant motions, including but not
limited to motions to dismiss, discovery motions, motions for summary
judgment or adjudication, in limine motions, and other motions; and any other
important factors or information deemed relevant by the Special Master as
having a significant impact on, or catalyst for, this Settlement. The Special
Master will rely solely on the application and documents submitted and will
not include oral advocacy, presentation, interview, or interactive process. All
applications and documents submitted to the Special Master for the Allocation
will be and will remain confidential, and subject to Evidence Code section 408
and state law equivalent code sections, to this Settlement Allocation process
and shall not be disclosed or shared beyond the review of the following: the
Special Master, the Allocation Experts, Lead Class Counsel, the Class Action
Settlement Administrator, and the Court. The Claims Administrator shall also
provide Monsanto with a quarterly accounting of the Settlement Funds and any
distributions made as part of the Allocation. The standard for any judicial
oversight or review, if any, of the Special Master will be a “de novo” standard.
The Special Master will give attention and consideration to any Litigating
Entity that has incurred attorneys’ fees to outside counsel, other than Lead or
Co-Class Counsel. The Special Master will reasonably and equitably prioritize
and reimburse any Litigating Entity that, through outside counsel other than
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 Lead or Co-Class Counsel, incurred reasonable, documented out-of-pocket
 litigation costs. Litigating Entities that retained outside counsel, and that were
 not under contract for representation by Lead or Co-Class Counsel, may apply
 for and receive, subject to Special Master Allocation, an equitable and
 reasonable allocation for such outside counsel, including attorneys’ fees and
 costs. Nothing herein shall prevent any Litigating Entity from applying for and
 receiving, subject to Special Master Allocation, an equitable allocation for in-
 house or general counsel fees, overhead, salaries, time, energy, costs,
 resources, and/or attention, including but not limited to city attorneys, county
 counsel, and/or general counsel.
       Not every Settlement Class Member who submits a Special Needs
 Fund, Part A Application will receive payment from this Fund. Certain
 Settlement Class Members are not eligible to receive payment, or payment for
 certain categories, from the Special Needs Fund, Part A:
     • Settlement Class Members that are not Litigating Entities shall not
       recover from the Special Needs Fund, Part A.
     • Litigating Entities, which as of October 2019, were under contract for
       representation by Lead or Co-Class Counsel shall not recover for
       outside counsel fees or costs in the Special Needs Fund, Part A.
     • Litigating Entities that do not timely return a completed application will
       not receive any payment from the Special Needs Fund, Part A.

     Applications must be submitted within 65 days of the Preliminary
 Approval Order. Applications may be submitted electronically to
 www.PCBClassAction.com, Attn: Judge Jay Gandhi.

       The Special Master may, but is not required to, create an appeals process
 by utilizing a Part A Appeals Reserve Fund of up to ten percent (10%) of the
 $57,105,000 fund. If created by the Special Master, the appeals process will
 allow for one (1) de novo appeal from each eligible applicant, and any decisions
 will be the discretion of the Special Master. The appeals process, if any, shall
 be conducted within an efficient time-frame so as not to hinder the progress of
 the overall Allocation. The appeals process, if any, shall include only a two (2)
 page written appeal explaining the basis for the appeal, referring only to the
 original application as evidence of such basis. Any Part A Appeals Reserve
 Funds remaining after all appeals have been decided by the Special Master shall
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be redistributed to all Litigating Entities on a pro-rata basis. All final decisions
of the Special Master, after any appeals process, if any, will be final, binding,
and unappealable.

       2.    Special Needs Fund, Part B. Special Needs Fund, Part B, is
allocated $50,000,000. Not every Settlement Class Member is eligible for a
payment from Special Needs Fund, Part B, which is intended to compensate
those Settlement Class Members who apply and make a showing, in the
discretion of the Special Master, of a significant regional, state, or national
benefit, cost, or contribution regarding 303(d) bodies of water impaired by PCBs
through stormwater and/or dry weather runoff, and such benefit, cost, or
contribution is not otherwise encompassed within any other part of this
Allocation.
         The Special Master will equitably and reasonably allocate Part B funds
among only those Settlement Class Members who apply for funds. Settlement
Class Members that do not timely return a completed application forfeit any
right to Part B Funds. Application does not guarantee that the Special Master
will allocate Part B Funds to the applicant. Some Part B applicants may not
receive any Part B Funds. The Special Master shall use the Special Needs
Fund, Part B Application to inform, guide, and design an equitable allocation
among all eligible applicants. The Special Master will rely solely on the
application and documents submitted and will not include oral advocacy,
presentation, interview, or interactive process. All applications and documents
submitted to the Special Master for the Allocation will be and will remain
confidential, and subject to Evidence Code section 408 and state law equivalent
code sections, to this Settlement Allocation process and shall not be disclosed
or shared beyond the review of the following: the Special Master, the
Allocation Experts, Lead Class Counsel, the Class Action Settlement
Administrator, and the Court. At the discretion of the Special Master,
Defendant may have access to the information for business purposes only, such
as insurance or other business needs, provided however that such materials are
maintained by Defendant as confidential to the extent legally allowable. The
Class Action Settlement Administrator shall also provide Monsanto with a
quarterly accounting of the Settlement Funds and any distributions made as
part of the Allocation. Documents related to the Portland Harbor Superfund
Site shall remain confidential in any event during the pendency of the Portland
Harbor Superfund Site action. Settlement Class Members that do not timely

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return a completed application forfeit any right to Part B Funds.

    Applications must be submitted within 65 days of the Preliminary
Approval Order. Applications may be submitted electronically to
www.PCBClassAction.com, Attn: Judge Jay Gandhi.


        The Special Master may, but is not required to, create an appeals
process by utilizing a Part B Appeals Reserve Fund of up to ten percent (10%)
of the $50,000,000 fund. If created by the Special Master, the appeals process
will allow for one (1) de novo appeal from each eligible applicant, and any
decisions, including regarding eligibility, will be the discretion of the Special
Master. The appeals process, if any, shall be conducted within an efficient
time-frame so as not to hinder the progress of the overall Allocation. The
appeals process, if any, shall include only a two (2) page written appeal
explaining the basis for the appeal, referring only to the original application as
evidence of such basis. Any Part B Appeals Reserve Funds remaining after all
appeals have been decided by the Special Master shall be redistributed to all
Part B awarded applicants only on a pro-rata basis. Part B applicants who did
not receive an award under either an initial application or an appeal will not
receive any pro-rata distribution after all appeals are exhausted. All final
decisions of the Special Master, after any appeals process, if any, will be final,
binding, and unappealable.
        The Special Master may, in his sole discretion, fairly and reasonably,
and consistent with the intention and general structure of the terms of the
Allocation, equitably balance monetary allocations to Settlement Class
Members to the extent that any did not receive a proper and appropriate
Allocation in accordance with the terms herein.

       3.     Payment of Settlement Benefit. Settlement benefits vary based on the
Settlement Members’ status as described above. Subject to Paragraph 79(e) of the
Settlement Agreement, Monsanto Company, on behalf of the entities described in
Paragraphs 14 and 42 of the Settlement Agreement, agrees to pay, within thirty (30)
days of the Effective Date, into the Class Action Settlement Administrator’s escrow
account a lump sum up to Five Hundred and Fifty Million Dollars ($550,000,000).
The payment shall be made to Settlement Class Members as soon as possible and at
the earliest reasonable direction by the Special Master to the Claims Administrator.

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       4.    Release. Plaintiffs and all Settlement Class Members who have not
excluded themselves from the Class will release certain claims against the
Defendant, its affiliates, certain predecessors and successors, and other parties set
forth in the Settlement Agreement. This is referred to as the "Release." Generally
speaking, the Release will prevent any Settlement Class Member from bringing any
lawsuit or making any claims that Defendant’s PCBs and PCB-containing products
were defectively designed, that the risks of environmental harm associated with
PCBs and PCB-containing products outweighed the benefits of their uses, that
Defendant failed to warn of the risks of harm associated with PCBs and PCB-
containing products, and that Plaintiffs and the Class suffered property damage as a
result of PCB contamination. The terms of the Release, as set forth in the Settlement
Agreement, can be found in the Addendum at the end of this Notice.

      The Release, as set forth in Paragraphs 106-108, and Paragraph 41, of
the Settlement Agreement and the Addendum to this Notice, will be effective
as to every Settlement Class Member who has not excluded itself from the
Class, regardless whether or not that Settlement Class Member receives a
Settlement Benefit.

       5.     Attorney Fee/Litigation Cost and Class Representative Awards. The
Court will determine the amount of attorneys' fees and expenses to award to Class
Counsel from the Settlement Amount for investigating the facts and law in the
Action, litigating the Action since 2015, and negotiating the proposed Settlement of
the Action. Class Counsel will request an award of all Attorneys’ Fees and Expenses
in a total amount of $98,000,000 to be paid by Defendant. Class Counsel will make
their request in a motion for attorneys' fees and litigation costs to be filed with the
Court at least 60 days before the Final Approval Hearing. After the motion for
attorneys' fees and litigation costs is filed, copies will be available from Class
Counsel, the Settlement website, or from the Court docket.

      Any attorneys' fees, litigation costs, or award to the class representatives
approved by the Court will be paid by Defendant exclusively and will not be paid
from the class benefit Settlement Amount.

      6.     Settlement Administration. In addition to the Settlement Amount,
Defendant has agreed to pay the reasonable costs of (1) the notice process, which
includes all costs incurred in connection with preparing, printing, publishing, and

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mailing the Direct Notice; and (2) the administration process, which includes all
costs and expenses incurred to hire a Class Action Settlement Administrator and
costs of processing claims and administering the Settlement Agreement. No costs
and expenses for implementing the Allocation shall be paid from the Settlement
Fund.

      7.     Dismissal of the Action. If the Settlement is approved by the Court and
becomes final, the Action will be dismissed with prejudice. If the Settlement is not
approved by the Court or does not become final for any reason, the Action will
continue, and Class Members will not be entitled to receive any Settlement Benefit.

THE PARAGRAPHS ABOVE PROVIDE ONLY A GENERAL
SUMMARY OF THE TERMS OF THE PROPOSED SETTLEMENT.
YOU CAN REVIEW THE SETTLEMENT AGREEMENT ITSELF FOR
MORE INFORMATION ABOUT THE EXACT TERMS OF THE
SETTLEMENT. THE SETTLEMENT AGREEMENT IS AVAILABLE
FROM LEAD CLASS COUNSEL.

 V.     WHO REPRESENTS THE SETTLEMENT CLASS?

       The Court has appointed the attorneys from the following law firms to act as
counsel for the Class (referred to as "Lead Class Counsel " or "Plaintiffs' Counsel")
for purposes of the proposed settlement:

  Scott Summy                                   summy@baronbudd.com
  Carla Burke Pickrel                           cburkepickrel@baronbudd.com
  Baron & Budd, P.C.                            jfiske@baronbudd.com
  3102 Oak Lawn Avenue,
  Ste. 1100
  Dallas, Texas 75219
  (214) 521-3605

  John Fiske
  Baron & Budd, P.C.
  11440 West Bernardo Court, Suite
  265
  San Diego, CA 92127
  858-251-7424
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 VI.    WHAT ARE THE REASONS FOR THE PROPOSED
        SETTLEMENT?

       Plaintiffs and Defendant agreed on all of the terms of the proposed
 Settlement through extensive arms-length negotiations between Plaintiffs'
 Counsel and Counsel for the Defendant, with the able assistance of a third-
 party mediator, Hon. Jay C. Gandhi (Ret.) of JAMS. The parties have entered
 into the proposed Settlement after weighing the benefits of the Settlement
 against the probabilities of success or failure in the Action, and against the
 delays that would be likely if the Action proceeded to trial and, after trial, to
 appeal.

        Plaintiffs and Plaintiffs' Counsel have concluded that the proposed
 Settlement provides substantial benefits to the Class, avoids prolonged
 litigation, and is in the best interests of the Class. Plaintiffs and Plaintiffs'
 Counsel have concluded that the proposed Settlement is fair, reasonable, and
 adequate.

       Defendant firmly denies any wrongdoing and any liability whatsoever,
 but believes that it is in its best interest to settle the Action on the terms set
 forth in the Settlement Agreement in order to avoid further expense,
 uncertainty, inconvenience, and business disruption as a result of the Action.

VII.    WHAT DO YOU NEED TO KNOW AND DO NOW?

       You CAN PARTICIPATE IN THE SETTLEMENT. You do not need to
 do anything in order to participate in the Settlement and be represented by
 Plaintiffs and Plaintiffs' Counsel. You will not be billed for their services. If
 you do nothing, you will be eligible to receive the Monitoring Fund Payment
 described in this Notice and certain Class Members also will be eligible to
 receive payments from the TMDL Fund. You may apply for additional
 payments from the Sediment Sites Fund and the Special Needs Funds, Parts A
 and B by submitting applications to the Special Master. Plaintiffs' Counsel will
 receive a fee only if the Court approves the Settlement and the fee award, if
 any, will be set by the Court. If you participate in the Settlement, you will be
 bound by any judgment or other final disposition of the Action, including the
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 Release set forth in the Settlement Agreement, and will be precluded from
 pursuing claims against Defendant separately if those claims are within the
 scope of the Release.

       You CAN OPT OUT OF THE SETTLEMENT. If you do not wish to be a
 Class Member, and do not want to participate in the Settlement and receive a
 Settlement Benefit Check, you may exclude yourself from the Class by
 completing and mailing a notice of intention to opt-out (referred to as an "Opt-
 Out").

       To be treated as valid, the Opt-Out must be sent via certified or first class
 mail to the Class Action Settlement Administrator at the address below.

             Class Action Settlement Administrator
             Steven Weisbrot of Angeion Group, LLC
             1650 Arch Street, Suite 2210
             Philadelphia, PA 19103

       The Opt-Out must be postmarked on, or personally delivered, no later
 than [DATE].

       The Opt-Out must bear the signature of the Settlement Class Member
 (even if represented by counsel), and the Settlement Class Member’s current
 address and telephone number. If the Settlement Class Member has entered into
 a written or oral agreement to be represented by counsel, the request for
 exclusion shall also be signed by the attorney who represents the Settlement
 Class Member.

       Any Settlement Class Member who has not timely and properly filed an
 Opt-Out will be bound by the Settlement and all subsequent proceedings,
 orders, and judgments, including, but not limited to, the Release and Final
 Approval Order. Any Settlement Class Member who elects to opt out of the
 Settlement Class pursuant to this Agreement shall not be entitled to any
 Settlement Benefit.

       Settlement Class Members who have elected to Opt Out of the Settlement
 Class may withdraw their Opt-Out requests prior to the Effective Date, but only
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if they accept the benefits and terms of this Settlement and dismiss with
prejudice any other pending action against Defendant arising out of PCB-
related impairments to the environment, including water bodies.

      Lead Class Counsel shall have the right to contact persons who file Opt-
Outs and to challenge the timeliness and validity of any Opt-Out requests, as
well as the right to effect the withdrawal of any exclusion filed in error and any
exclusion request which a Settlement Class Member wishes to withdraw for
purposes of participating in the Settlement as set forth in this Agreement. The
Court shall determine whether any of the contested Opt-Outs are valid.

      You CAN OBJECT OR TAKE OTHER ACTIONS. Any Settlement Class
Member who has not successfully excluded itself (“Opted-Out”) may object to
the Settlement. To exercise this objection right, the Settlement Class Member
must provide written notice of the objection via certified or first class mail to
the Court and the Class Action Settlement Administrator at the addresses below:

            United States District Court for the Central District of California
            350 W. First Street
            Los Angeles, California, 90012

            Class Action Settlement Administrator
            Steven Weisbrot of Angeion Group, LLC
            1650 Arch Street, Suite 2210
            Philadelphia, PA 19103


        The Objection must be postmarked on, or personally delivered, no later
than [DATE].
          The objection must bear the signature of the Settlement Class
Member (even if represented by counsel), the Settlement Class Member’s
current address and telephone number, and state the exact nature of the
objection including any legal support the Settlement Class Member wishes to
introduce in support of the objection, and whether or not the Settlement Class
Member intends to appear at the Final Approval Hearing. If the Settlement
Class Member is represented by counsel, the objection shall also be signed by
the attorney who represents the Settlement Class Member and state whether the
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 attorney representing the objector will appear at the Final Approval Hearing.
            Any Settlement Class Member who fails to comply with these
 provisions shall waive and forfeit any and all rights to appear separately and/or
 to object, and shall be bound by all the terms of this Settlement Agreement and
 by all subsequent proceedings, orders and judgments, including, but not limited
 to, the Release, the Final Order and the Final Judgment in the Actions. The
 exclusive means for any challenge to this Settlement shall be through the
 provisions of Section VI of the Settlement Agreement. Without limiting the
 foregoing, any challenge to the Settlement or Final Approval Order shall be
 pursuant to appeal under the Federal Rules of Appellate Procedure and not
 through a collateral attack.
            Any Settlement Class Member who objects to the Settlement shall be
 entitled to all of the benefits of the Settlement if this Settlement Agreement and
 the terms contained herein are approved, as long as the objecting Settlement
 Class Member complies with all requirements of this Settlement Agreement
 applicable to Settlement Class Members, including the timely submission of an
 Application and other requirements herein.

       Appearances at the Court Approval Hearing. It is not necessary for you
       to appear at the final Court Approval Hearing. If you have not excluded
       yourself from the Class and wish to appear and/or speak at the hearing,
       whether personally or through a lawyer, then you must properly file a
       Notice of Appearance in the Action with the Clerk of Court of the United
       States District Court for the Central District of California, and you must
       mail or hand-deliver a copy of the Notice of Appearance to Class
       Counsel and Counsel for the Defendant at the addresses set forth below,
       by [DATE]. If you choose to participate at the hearing, you will not be
       permitted to raise matters that you could have raised, but did not raise, in
       a properly submitted and valid objection (as described above) without the
       Court 's approval.

       Other Motions or Submissions Concerning the Action or the
       Settlement. It is not necessary for you to submit any motion concerning
       the Action or Settlement to the Court. If you have not excluded yourself
       from the Settlement and want to submit a motion to the Court concerning
       the Settlement or the Action, however, then you must properly file a
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        motion, together with all supporting documents, in the Action with the
        Clerk of Court of the United States District Court for the Central District
        of California, and must mail or hand-deliver a copy of the motion,
        together with all supporting documents, to Class Counsel and Counsel
        for the Defendant at the addresses set forth below, by [DATE].

VIII.    WHAT WILL HAPPEN AT THE FINAL COURT APPROVAL
         HEARING?

          The Court will hold the final Court Approval Hearing in Courtroom 80
  of the First Street U.S. Courthouse, located at 350 W. 1st St., Los Angeles,
  California, 90012, on [DATE/TIME]. At that time, the Court will determine,
  among other things, (i) whether the Settlement should be finally approved as
  fair, reasonable, and adequate, (ii) whether the Action should be dismissed with
  prejudice pursuant to the terms of the Settlement Agreement, (iii) whether
  Class Members should be bound by the Release set forth in the Agreement, (iv)
  the amount of attorneys' fees and costs to be awarded to Plaintiffs' Counsel, if
  any, and (v) the amount of the award to be made to Plaintiffs for their services
  as class representatives, if any. The Court approval hearing may be postponed,
  adjourned, or continued by Order of the Court without further notice to the
  Class.

 IX.     HOW CAN YOU GET ADDITIONAL INFORMATION ABOUT
         THE ACTION, THE PROPOSED SETTLEMENT, THE
         SETTLEMENT AGREEMENT, OR THE NOTICE?

        The descriptions of the Action, the Settlement, and the Settlement
  Agreement in this Notice are only a general summary. In the event of a conflict
  between this Notice and the Settlement Agreement, the terms of the Settlement
  Agreement control. All papers filed in this case, including the full Settlement
  Agreement, are available for you to inspect and copy (at your cost) at the office
  of the Clerk of Court, the Settlement website, or online through PACER. A
  copy of the Settlement Agreement also may be obtained from Class Counsel by
  contacting them at the addresses or telephone numbers set forth above. Any
  questions concerning this Notice, the Settlement Agreement, or the Settlement
  may be directed to Class Counsel. You may also seek the advice and counsel of
  your own attorney, at your own expense, if you desire.

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 DO NOT WRITE OR TELEPHONE THE COURT, THE CLERK'S
 OFFICE, OR DEFENDANT WITH ANY QUESTIONS ABOUT THIS
 NOTICE, THE SETTLEMENT, OR THE SETTLEMENT
 AGREEMENT.

 X.     WHAT ARE THE ADDRESSES YOU MAY NEED?

       Lead Class Counsel:                       Co-Class Counsel:

  Scott Summy                                John Gomez
  Carla Burke Pickrel                        GOMEZ TRIAL ATTORNEYS
  BARON & BUDD, P.C.                         655 W. Broadway, Ste. 1700
  3102 Oak Lawn Avenue, Ste. 1100            San Diego, California 92101
  Dallas, Texas 75219
  (214) 521-3605                             Richard Gordon
                                             Martin Wolf
  John Fiske
  BARON & BUDD, P.C.                         GORDON, WOLF & CARNEY
  11440 West Bernardo Court, Suite           100 W. Pennsylvania Ave, Ste. 100
  265                                        Towson, Maryland 21204
  San Diego, CA 92127
  (858) 251-7424                             John R. Wertz
                                             2345 Willow Street
                                             San Diego, California 9210




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       Defendant’s Counsel:

Mark D. Anstoetter
Brent Dwerlkotte
SHOOK, HARDY & BACON LLP
2555 Grand Blvd.
Kansas City, Missouri 64108
(816) 474-6550

        Settlement Administrator:

Steven Weisbrot
Angeion Group, LLC
1650 Arch Street, Suite 2210
Philadelphia, PA 19103

XI.    WHAT YOU MUST INCLUDE IN ANY DOCUMENT YOU SEND
       REGARDING THE ACTION.

      In sending any document to the Settlement Administrator, the Court,
Class Counsel, or Defendant’s Counsel, it is important that both your envelope
and any documents inside contain the following case name and identifying
number:

    City of Long Beach v. Monsanto Co., et al., CASE NO.: 2:16-cv-03493-
FMO-AS.

      You must also include your full name, address, email address, and a
telephone number where you can be reached.




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  XII.    WHAT IMPORTANT DEADLINES YOU NEED TO KNOW.

  DATE               Any notices of appearances and motions must be hand-
                     delivered or postmarked and mailed to the Court and hand-
                     delivered or postmarked and mailed to Class Counsel and
                     Defendant’s Counsel.

  DATE               All opt-outs must be postmarked and mailed to the
                     Settlement Administrator.

  DATE               Any objections must be hand-delivered or postmarked and
                     mailed to the Court and hand-delivered or postmarked and
                     mailed to Class Counsel and Defendant's Counsel.

  DATE               Court Approval Hearing




   _________________________                    Dated:
   The Honorable Fernando M. Olguin
   UNITED STATES DISTRICT
   JUDGE




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ADDENDUM

      As noted in Section IV of the Notice, the terms of the Release, and
definitions of terms, as embodied in Paragraphs 41-43 and 106-108 of the
Settlement Agreement, are reproduced below.

41. “Released Claims” means all claims which were or could have been alleged
in the Action, including but not limited to any claim for attorneys’ fees, expenses,
and costs. Nothing in this Settlement Agreement will preclude or affect any action
under the Comprehensive Response, Compensation and Liability Act (“CERCLA”)
or similar state Superfund statutes and applicable regulations, or under any other
laws or regulations. This Agreement shall in no way affect any administrative test
claims related to the California Water Board. The Releases provided herein shall be
mutual between Plaintiffs, Settlement Class Members, and Releasing Persons, on
the one hand, and Defendant and Released Persons on the other hand. Releasing
Persons release only Released Persons as defined herein.

42. “Released Persons” means Defendant and any Affiliate of Defendant,
including but not limited, to Bayer AG, Pfizer Inc., and Eastman Chemical
Company. “Affiliate” under this Settlement means each and all past, present, or
future, direct or indirect, predecessors, successors (including but not limited to
successors by merger or acquisition), parents (including intermediate parents and
ultimate parents), subsidiaries, affiliated or related companies, divisions,
partnerships, and joint ventures; and any past, present, or future officer, director,
shareholder, employee, partner, trustee, representative, agent, servant, insurer,
attorney, predecessor, successor, or assignee of any of the above.

43. “Releasing Persons” shall include Named Class Plaintiffs and all Settlement
Class Members, and each of their past, present, or future, direct or indirect,
predecessors, successors (including but not limited to successors by merger or
acquisition), parents (including intermediate parents and ultimate parents),
subsidiaries, affiliated or related companies, divisions, partnerships, and joint
ventures; and any past, present, or future officer, director, shareholder, employee,
partner, trustee, representative, agent, servant, insurer, attorney, predecessor,
successor, or assignee of any of the above.

                         VIII. MUTUAL RELEASE

106. Upon entry of the Final Approval Order, Defendant and Released Persons
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will have released all claims arising from PCB contamination that were or could
have been alleged against any Named Class Plaintiffs, Settlement Class Members,
and/or Releasing Persons. Upon entry of the Final Approval Order, the Releasing
Persons will have released the Released Persons from the Released Claims. All
Releases provided herein shall be mutual between Plaintiffs, Class Members, and
Releasing Persons, on the one hand, and Defendant and Released Persons on the
other hand. Nothing in this Agreement shall affect or limit any defenses Defendant
may have in or against any Additionally, Defendant is entitled to protection from
contribution and/or indemnity claims or actions asserted against Defendant by any
person or persons who are not parties to this Settlement Agreement for any Released
Claims, including but not limited to any defense based on protection from
contribution claims or actions under any applicable federal, state, or local law.

107. Each Settlement Class Member agrees to be responsible for any liens,
interests, actions, or claims made by any third party, in a derivative manner, for or
against the portion of Settlement Funds allocated to each Settlement Class Member,
including without limitation, any derivative actions or claim asserted by any
insurers, agents, representatives, successors, predecessors, assigns, and attorneys,
bankruptcy trustees, and any and all other persons, firms, corporations, associations,
and other legal entities who may claim through them in a derivative manner.

108. If any Settlement Class Member brings an action or asserts a claim against
Defendant contrary to the terms of the Settlement Agreement, Defendant shall
provide Lead Class Counsel with a copy of the Settlement Class Member’s
complaint. Lead Class Counsel agrees to contact counsel of record for the Settlement
Class Member and advise him or her of the Settlement Agreement.




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            Exhibit
              J



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              June 30, 2020                                                                                                               Mark D. Anstoetter

                                                                                             2555 Grand Blvd.
                                                                                   Kansas City, Missouri 64108
              Attorney General                                                                  t 816.474.6550
                                                                                              dd 816.559.2497
                                                                                                 f 816.421.5547
              Re:    Notice of Proposed Class Action Settlement Pursuant to 28 U.S.C. § manstoetter@shb.com
              1715

              Dear Attorney General:

                      Pursuant to the Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1715,
              Defendant Monsanto Company, through undersigned counsel, writes to give
              notice of a proposed nationwide class settlement in: City of Long Beach v.
              Monsanto Co., Case No. 2:16-CV-03493-FMO-AS (C.D. Ca.). On June 24,
              2020, the Parties filed a Joint Motion for Preliminary Approval of Class
              Action Settlement.

                      The parties’ Settlement Agreement contemplates that the Court will
              certify a class, for settlement purposes only, defined as: “As of June 24, 2020
              only, but not later, all NPDES Phase I and II city, town, village, borough,
              township, and independent port district MS4 permittees with jurisdictional
              boundaries within a HUC 12 Watershed that contains and/or is immediately
              adjoining a 303(d) water body impaired by PCBs and all NPDES Phase I and
              II county MS4 permittees with urbanized, unincorporated boundaries within
              a HUC 12 Watershed that contains and/or is immediately adjoining a 303(d)
              water body impaired by PCBs.”

                      Enclosed with this letter are the following documents: (1) the Third
              Amended Complaint filed in City of Long Beach v. Monsanto Co.; City of
              Chula Vista v. Monsanto Co.; and (2) the Notice of Motion and Joint Motion
              for Preliminary Approval of Class Action Settlement and corresponding
              exhibits, which includes, among other things, the settlement agreement, the
              proposed notice of settlement, and exclusion rights to class members.

                    The Court has not scheduled a preliminary approval hearing or final
              approval hearing.

                      There are no other agreements between class counsel and counsel for
              Defendant at this time. No final judgment or notice of dismissal has been
              issued. There are no written judicial opinions related to the information
              described in 28 U.S.C. §§ 1715(b)(3)-(6). Enclosed with this letter is a listing



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              of the names of the class members who reside in each state. At this time, it is
              not feasible to provide the estimated shares of their claims.
                                                                                                                                            Attorney General
              Thank you for your attention to this matter.
                                                                                                                                                    June 30, 2020
                                                                                                                                                           Page 2
              Sincerely,


              /s/ Mark D. Anstoetter
              Mark D. Anstoetter

              Attorney for Monsanto Company




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